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MARY K. POWERS                                   Clm No 170001    Filed In Cases: 607
11450 W. MICHIGAN AVENUE                         Class                Claim Detail Amount         Final Allowed Amount
PARMA, MI 49269
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value        $10,000.00




LESTA PRESTON                                    Clm No 170002    Filed In Cases: 607
3098 WOLVERINE                                   Class                Claim Detail Amount         Final Allowed Amount
ANN ARBOR, MI 48108
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value        $10,000.00




ANDRE R. SEWELL                                  Clm No 170003    Filed In Cases: 607
12027 STRASBURG                                  Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48205
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




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WILLIAM, PRITCHET                                Clm No 170004    Filed In Cases: 607
14054 HURON STREET                               Class                Claim Detail Amount         Final Allowed Amount
TAYLOR, MI 48180
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




BETTY PROUTY                                     Clm No 170005    Filed In Cases: 607
11403 WINDING WAY                                Class                Claim Detail Amount         Final Allowed Amount
GALESBURG, MI 49053
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




PATRICIA PULLIAM                                 Clm No 170006    Filed In Cases: 607
1564 FULLERTON STREET                            Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48238
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




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EMOGENE PYE                                      Clm No 170007    Filed In Cases: 607
1857 SHENANDOAH DRIVE                            Class                Claim Detail Amount         Final Allowed Amount
TROY, MI 48085
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




WILLOREE HILTON                                  Clm No 170008    Filed In Cases: 607
6094 GLENIS                                      Class                Claim Detail Amount         Final Allowed Amount
TAYLOR, MI 48180
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




IAIN RAE                                         Clm No 170009    Filed In Cases: 607
251 SE 8TH AVENUE                                Class                Claim Detail Amount         Final Allowed Amount
DEERFIELD BEACH, FL 33441
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              5-Oct-2015
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  Claim Face Value        $10,000.00




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IRENE RAMSDEN                                     Clm No 170010    Filed In Cases: 607
1510 KERN ROAD                                    Class                Claim Detail Amount         Final Allowed Amount
REESE, MI 48757
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




PARALEE RAMSEY                                    Clm No 170011    Filed In Cases: 607
P.O. BOX 55                                       Class                Claim Detail Amount         Final Allowed Amount
PINE APPLE, AL 36768
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




AARON EMERSON                                     Clm No 170012    Filed In Cases: 607
2500 WOODROW WILSON BLVD                          Class                Claim Detail Amount         Final Allowed Amount
APT. #2
                                                  UNS                                $1.00
WEST BLOOMFIELD, MI 48324
                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




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DAVID RAYMAN                                     Clm No 170013    Filed In Cases: 607
1797 104TH AVENUE                                Class                Claim Detail Amount         Final Allowed Amount
OTSEGO, MI 49078
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




ALLEN REINGARDT                                  Clm No 170014    Filed In Cases: 607
111 E. BROADWAY                                  Class                Claim Detail Amount         Final Allowed Amount
WHITE PIGEON, MI 49099
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




LAMAR A. RESPRESS                                Clm No 170015    Filed In Cases: 607
16235 LAMPLIGHTER CT,APT 1320                    Class                Claim Detail Amount         Final Allowed Amount
SOUTHFIELD, MI 48075
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




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ROSIE L. REYNOLDS                                Clm No 170016    Filed In Cases: 607
16665 EDMORE DRIVE                               Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48205
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




PATRICIA A. RICHTER                              Clm No 170017    Filed In Cases: 607
1320 RUCKER BLVD,APT B8                          Class                Claim Detail Amount         Final Allowed Amount
ENTERPRISE, AL 36330
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




JANICE E. RIES                                   Clm No 170018    Filed In Cases: 607
127 N. EAST STREET                               Class                Claim Detail Amount         Final Allowed Amount
MORENCI, MI 49256
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




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RUTH RIGGINS                                      Clm No 170019    Filed In Cases: 607
29328 LANCASTER DRIVE,APT 206                     Class                Claim Detail Amount         Final Allowed Amount
SOUTHFIELD, MI 48034
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




SANDRA K. ROBBINS                                 Clm No 170020    Filed In Cases: 607
P.O. BOX 905                                      Class                Claim Detail Amount         Final Allowed Amount
KINGSTON, TN 37763
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




BRENDA ROBERTS                                    Clm No 170021    Filed In Cases: 607
2413 ANDRUS STREET                                Class                Claim Detail Amount         Final Allowed Amount
HAMTRAMCK, MI 48212
                                                  UNS                                $1.00

                                                                                     $1.00


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ROGER ROBERTSON                                  Clm No 170022    Filed In Cases: 607
3480 WEST CARSON CITY ROAD                       Class                Claim Detail Amount         Final Allowed Amount
SHERIDAN, MI 48884
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




ADRIAN ROBINSON                                  Clm No 170023    Filed In Cases: 607
19135 ADDISON DRIVE                              Class                Claim Detail Amount         Final Allowed Amount
SOUTHFIELD, MI 48075
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




ERMA F. ROBINSON                                 Clm No 170024    Filed In Cases: 607
356 BRIDGEHAMPTON STREET                         Class                Claim Detail Amount         Final Allowed Amount
SANDUSKY, MI 48471
                                                 UNS                                $1.00

                                                                                    $1.00


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  Claim Face Value             $1.00




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ERMA F. ROBINSON                                 Clm No 170025    Filed In Cases: 607
356 BRIDGEHAMPTON STREET                         Class                Claim Detail Amount         Final Allowed Amount
SANDUSKY, MI 48471
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




EDWARD T. ROBINSON                               Clm No 170026    Filed In Cases: 607
3232 RABIDUE ROAD                                Class                Claim Detail Amount         Final Allowed Amount
CLYDE TWP., MI 48049
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value        $10,000.00




MICHAEL J. ROE                                   Clm No 170027    Filed In Cases: 607
1506 1ST AVENUE NW,APT. 7                        Class                Claim Detail Amount         Final Allowed Amount
MANDAN, ND 58554
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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MICHAEL J. ROE                                    Clm No 170028    Filed In Cases: 607
1506 1ST AVENUE NW,APT. 7                         Class                Claim Detail Amount         Final Allowed Amount
MANDAN, ND 58554
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




MARK ROGERS                                       Clm No 170029    Filed In Cases: 607
47072 WESTLAKE DRIVE                              Class                Claim Detail Amount         Final Allowed Amount
SHELBY TOWNSHIP, MI 48315
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




DOROTHY BONE                                      Clm No 170030    Filed In Cases: 607
10326 SOUTH BRAY RD                               Class                Claim Detail Amount         Final Allowed Amount
CLIO, MI 48420
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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DORIS ROSE                                       Clm No 170031    Filed In Cases: 607
2638 ARBOR GLEN DRIVE,APT. 214                   Class                Claim Detail Amount         Final Allowed Amount
TWINSBURG, OH 44087
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




THOMAS ROSS                                      Clm No 170032    Filed In Cases: 607
9026 ROHNS ST                                    Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48213
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




SALVATORE RUSSO                                  Clm No 170033    Filed In Cases: 607
35743 COLLINGWOOD DRIVE                          Class                Claim Detail Amount         Final Allowed Amount
STERLING HEIGHTS, MI 48312
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




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WILLIAM RUTHVEN                                  Clm No 170034    Filed In Cases: 607
10836 S.E. 50TH AVENUE                           Class                Claim Detail Amount         Final Allowed Amount
BELLEVIEW, FL 34420
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




THERESA J. RUTKOWSKI                             Clm No 170035    Filed In Cases: 607
457 7TH STREET SW                                Class                Claim Detail Amount         Final Allowed Amount
HICKORY, NC 28602
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




THERESA J. RUTKOWSKI                             Clm No 170036    Filed In Cases: 607
457 7TH STREET SW                                Class                Claim Detail Amount         Final Allowed Amount
HICKORY, NC 28602
                                                 UNS                                $1.00

                                                                                    $1.00


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MARILYN SANDERSON                                Clm No 170037    Filed In Cases: 607
25358 CLAIRVIEW DRIVE                            Class                Claim Detail Amount         Final Allowed Amount
DEARBORN HGTS, MI 48127
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




JANICE SANDORA                                   Clm No 170038    Filed In Cases: 607
25250 QUARTER DECK STREET                        Class                Claim Detail Amount         Final Allowed Amount
HARRISON TWP., MI 48045
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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BARBARA A. SAUERS                                Clm No 170039    Filed In Cases: 607
5381 GREY STAG COURT                             Class                Claim Detail Amount         Final Allowed Amount
SUWANEE, GA 30024
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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DABNEY, SCALES                                   Clm No 170040    Filed In Cases: 607
312 S. HUBBARD COURT, APT. 1                     Class                Claim Detail Amount         Final Allowed Amount
WESTLAND, MI 48186
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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NANCY SCHREMS                                    Clm No 170041    Filed In Cases: 607
8083 CRESTON DRIVE                               Class                Claim Detail Amount         Final Allowed Amount
FREELAND, MI 48623
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value              $1.00




GOLDEN SCHULTZ                                   Clm No 170042    Filed In Cases: 607
350 THIRD STREET                                 Class                Claim Detail Amount         Final Allowed Amount
MANISTEE, MI 49660
                                                 UNS                                $1.00

                                                                                    $1.00


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  Claim Face Value              $1.00




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LORI J. SCHWEMIN                                 Clm No 170043    Filed In Cases: 607
5249 HAMPSHIRE AVENUE N                          Class                Claim Detail Amount         Final Allowed Amount
CRYSTAL, MN 55428
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed               5-Oct-2015
  Bar Date
  Claim Face Value              $1.00




THERESA SCOTT                                    Clm No 170044    Filed In Cases: 607
27777 DEQUINDRE,APT. 420                         Class                Claim Detail Amount         Final Allowed Amount
MADISON HEIGHTS, MI 48071
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed               5-Oct-2015
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  Claim Face Value              $1.00




CAROL S. SEIBEL                                  Clm No 170045    Filed In Cases: 607
6209 S. BYRON ROAD                               Class                Claim Detail Amount         Final Allowed Amount
DURAND, MI 48429
                                                 UNS                                $1.00

                                                                                    $1.00


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  Claim Face Value              $1.00




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BRADLEY M. SELF                                  Clm No 170046    Filed In Cases: 607
149 RIVERSIDE DRIVE                              Class                Claim Detail Amount         Final Allowed Amount
BENTON, TN 37307
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value        $10,000.00




FRANCIS SERAZIO                                  Clm No 170047    Filed In Cases: 607
5247 KENDAL STREET                               Class                Claim Detail Amount         Final Allowed Amount
DEARBORN, MI 48126
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




MICHAEL SEWELL                                   Clm No 170048    Filed In Cases: 607
6297 SATIN WOOD DRIVE                            Class                Claim Detail Amount         Final Allowed Amount
BURLINGTON, KY 41005
                                                 UNS                                $1.00

                                                                                    $1.00


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  Claim Face Value             $1.00




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YVONNE SHAFT                                      Clm No 170049    Filed In Cases: 607
3519 SNOWY LANE                                   Class                Claim Detail Amount         Final Allowed Amount
SAGINAW, MI 48601
                                                  UNS                                $1.00

                                                                                     $1.00


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ROBERT SHANNON                                    Clm No 170050    Filed In Cases: 607
905 TYLER DRIVE                                   Class                Claim Detail Amount         Final Allowed Amount
EATON RAPIDS, MI 48827
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




KENNETH SHAW                                      Clm No 170051    Filed In Cases: 607
22788 COTTAGE CT.,BLDG 9, APT 107                 Class                Claim Detail Amount         Final Allowed Amount
NOVI, MI 48375
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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GARY SHELLENBARGER                                Clm No 170052    Filed In Cases: 607
33815 HATHAWAY STREET                             Class                Claim Detail Amount         Final Allowed Amount
LIVONIA, MI 48150
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




TERRI ARTHUR                                      Clm No 170053    Filed In Cases: 607
2106 KANAWHA BLVD. EAST,APT. B516                 Class                Claim Detail Amount         Final Allowed Amount
CHARLESTON, WV 25311
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




RONALD SHEPARD                                    Clm No 170054    Filed In Cases: 607
10210 BABCOCK ROAD                                Class                Claim Detail Amount         Final Allowed Amount
LAINGSBURG, MI 48848
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




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LASHONDA MCKINNEY                                Clm No 170055    Filed In Cases: 607
4020 28th STREET                                 Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48210
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




NANCY J. SHERRILL                                Clm No 170056    Filed In Cases: 607
4370 APPLETON TERRACE                            Class                Claim Detail Amount         Final Allowed Amount
NORTH PORT, FL 34286
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




DONALD SIEGLER                                   Clm No 170057    Filed In Cases: 607
11950 CORDUROY ROAD,P.O. BOX 152                 Class                Claim Detail Amount         Final Allowed Amount
CURTICE, OH 43412
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              5-Oct-2015
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  Claim Face Value        $10,000.00




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ALFONSO SIERRA                                    Clm No 170058    Filed In Cases: 607
4562 N. JADEMOOR DRIVE                            Class                Claim Detail Amount         Final Allowed Amount
BEVERLY HILLS, FL 34465
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




DONALD SILSBE                                     Clm No 170059    Filed In Cases: 607
296 WOODY CIRCLE                                  Class                Claim Detail Amount         Final Allowed Amount
TRYON, NC 28782
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




CONNIE SIMMONS                                    Clm No 170060    Filed In Cases: 607
P.O. BOX 615                                      Class                Claim Detail Amount         Final Allowed Amount
GOLDSTON, NC 27252
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




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CONNIE SIMMONS                                    Clm No 170061    Filed In Cases: 607
P.O. BOX 615                                      Class                Claim Detail Amount         Final Allowed Amount
GOLDSTON, NC 27252
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




JAMES SIMMONS                                     Clm No 170062    Filed In Cases: 607
P.O. BOX 980523                                   Class                Claim Detail Amount         Final Allowed Amount
YPSILANTI, MI 48197
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




JAMES SIMMONS                                     Clm No 170063    Filed In Cases: 607
P.O. BOX 980523                                   Class                Claim Detail Amount         Final Allowed Amount
YPSILANTI, MI 48197
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




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WESLEY SIMS                                       Clm No 170064    Filed In Cases: 607
28675 KRAUTER STREET                              Class                Claim Detail Amount         Final Allowed Amount
GARDEN CITY, MI 48135
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




KIMBERLEY F. BAILEY                               Clm No 170065    Filed In Cases: 607
7169 ASPEN ROAD                                   Class                Claim Detail Amount         Final Allowed Amount
LEXINGTON, MI 48450
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




EDITH M. SKINNER                                  Clm No 170066    Filed In Cases: 607
P.O. BOX 1581                                     Class                Claim Detail Amount         Final Allowed Amount
HANFORD, CA 93230
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




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RICHARD SMETANKA                                 Clm No 170067    Filed In Cases: 607
37390 FIORE TRAIL                                Class                Claim Detail Amount         Final Allowed Amount
CLINTON TOWNSHIP, MI 48036
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value        $10,000.00




RICHARD SMETANKA                                 Clm No 170068    Filed In Cases: 607
37390 FIORE TRAIL                                Class                Claim Detail Amount         Final Allowed Amount
CLINTON TOWNSHIP, MI 48036
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value        $10,000.00




CECIL SMITH                                      Clm No 170069    Filed In Cases: 607
24720 MANISTEE STREET                            Class                Claim Detail Amount         Final Allowed Amount
OAK PARK, MI 48237
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




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WILLA M. SMITH                                   Clm No 170070    Filed In Cases: 607
616 THIRD AVENUE                                 Class                Claim Detail Amount         Final Allowed Amount
PONTIAC, MI 48340
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




DENISE K. SMITH                                  Clm No 170071    Filed In Cases: 607
26816 KIRKWAY CIRCLE                             Class                Claim Detail Amount         Final Allowed Amount
WOODHAVEN, MI 48183
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




ANDREA SMITH                                     Clm No 170072    Filed In Cases: 607
655 LAWRENCE STREET                              Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48202
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




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WILLIAM SMITH                                    Clm No 170073    Filed In Cases: 607
490 HEARD STREET                                 Class                Claim Detail Amount         Final Allowed Amount
FLOVILLA, GA 30216
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




WILLIAM SMITH                                    Clm No 170074    Filed In Cases: 607
26803 STANFORD DR. E.                            Class                Claim Detail Amount         Final Allowed Amount
SOUTHFIELD, MI 48033
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




ADRIAN SMOTHERS                                  Clm No 170075    Filed In Cases: 607
5870 ABBEY STREET                                Class                Claim Detail Amount         Final Allowed Amount
KALAMAZOO, MI 49048
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




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NORMA E. SOCIA                                    Clm No 170076    Filed In Cases: 607
142 FILLMORE PLACE                                Class                Claim Detail Amount         Final Allowed Amount
BAY CITY, MI 48708
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




JUDY L. SPENCER                                   Clm No 170077    Filed In Cases: 607
9757 MONROE STREET                                Class                Claim Detail Amount         Final Allowed Amount
ST. HELEN, MI 48656
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




ROBERT SR                                         Clm No 170078    Filed In Cases: 607
204 MISSOURI AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
LYNN HAVEN, FL 32444
                                                  UNS                                $1.00

                                                                                     $1.00


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EDITH M. SKINNER                                  Clm No 170079    Filed In Cases: 607
P.O. BOX 1581                                     Class                Claim Detail Amount         Final Allowed Amount
HANFORD, CA 93230
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




DONNA STACKS                                      Clm No 170080    Filed In Cases: 607
17724 HENRY STREET                                Class                Claim Detail Amount         Final Allowed Amount
MELVINDALE, MI 48122
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




MICHAEL D. WOHLFORD                               Clm No 170081    Filed In Cases: 607
4147 PINECREEK ROAD,APT 2                         Class                Claim Detail Amount         Final Allowed Amount
GRANDVILLE, MI 49418
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




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DANIEL J. STEPANSKI                              Clm No 170082    Filed In Cases: 607
23019 SHOREVIEW STREET                           Class                Claim Detail Amount         Final Allowed Amount
ST. CLAIR SHORES, MI 48082
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




REGINALD K. STEPHENS                             Clm No 170083    Filed In Cases: 607
7600 WIRE GRASS ROAD                             Class                Claim Detail Amount         Final Allowed Amount
ORRUM, NC 28369
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




GWENDOLYN M. PARKER                              Clm No 170084    Filed In Cases: 607
2111 VIA MADONNA                                 Class                Claim Detail Amount         Final Allowed Amount
CARROLLTON, TX 75006
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




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EDDIE STEVERSON                                   Clm No 170085    Filed In Cases: 607
15875 SARATOGA STREET                             Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48205
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




RICHARD W. STEWART                                Clm No 170086    Filed In Cases: 607
9952 KENNEDY STREET                               Class                Claim Detail Amount         Final Allowed Amount
BELLEVILLE, MI 48111
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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FRENCH STEWART                                    Clm No 170087    Filed In Cases: 607
589 STEWART ROAD                                  Class                Claim Detail Amount         Final Allowed Amount
MACON, MS 39341
                                                  UNS                                $1.00

                                                                                     $1.00


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PATRICIA STOUTEN                                  Clm No 170088    Filed In Cases: 607
4818 Dellview Court                               Class                Claim Detail Amount         Final Allowed Amount
Hudsonville, MI 49426
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




GEORGE STRANGE                                    Clm No 170089    Filed In Cases: 607
1821 HELENA AVENUE                                Class                Claim Detail Amount         Final Allowed Amount
HARTLAND, MI 48353
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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FRED STRICKLAND                                   Clm No 170090    Filed In Cases: 607
314 W. MONTANA STREET                             Class                Claim Detail Amount         Final Allowed Amount
HIGHLAND PARK, MI 48203
                                                  UNS                                $1.00

                                                                                     $1.00


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SANDRA STRICKLAND                                 Clm No 170091    Filed In Cases: 607
28103 IMPERIAL DRIVE, APT. 312                    Class                Claim Detail Amount         Final Allowed Amount
WARREN, MI 48093
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value              $1.00




PATRICIA STROBA                                   Clm No 170092    Filed In Cases: 607
PO BOX 66                                         Class                Claim Detail Amount         Final Allowed Amount
SALINE, MI 49113
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




MARTHA SYDNOR                                     Clm No 170093    Filed In Cases: 607
P.O. BOX 583                                      Class                Claim Detail Amount         Final Allowed Amount
OAK HILL, WV 25901
                                                  UNS                                $1.00

                                                                                     $1.00


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BRENDA TANK                                       Clm No 170094    Filed In Cases: 607
8902 CEDAR POINT RD                               Class                Claim Detail Amount         Final Allowed Amount
OREGON, OH 43616
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




GLENDA TATUM                                      Clm No 170095    Filed In Cases: 607
5640 SANTOVITO STREET                             Class                Claim Detail Amount         Final Allowed Amount
PAHRUMP, NV 89061
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




GLORIA HUNT                                       Clm No 170096    Filed In Cases: 607
27551 H DRIVE NORTH                               Class                Claim Detail Amount         Final Allowed Amount
ALBION, MI 49224
                                                  UNS                                $1.00

                                                                                     $1.00


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JOAN THOMPSON                                    Clm No 170097    Filed In Cases: 607
2303 LAUREL LINDALE RD.                          Class                Claim Detail Amount         Final Allowed Amount
NEW RICHMOND, OH 45157
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              5-Oct-2015
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FREDERICK D. MIDDLETON                           Clm No 170098    Filed In Cases: 607
3139 MORLEY ROAD                                 Class                Claim Detail Amount         Final Allowed Amount
SHAKER HEIGHTS, 44122
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              5-Oct-2015
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JOANNE L. THORINGTON                             Clm No 170099    Filed In Cases: 607
1697 W. NIELSON ROAD                             Class                Claim Detail Amount         Final Allowed Amount
SANFORD, MI 48657
                                                 UNS                                $1.00

                                                                                    $1.00


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DORIS M. TICE                                    Clm No 170100    Filed In Cases: 607
5455 HAYES TOWER ROAD                            Class                Claim Detail Amount         Final Allowed Amount
GAYLORD, MI 49735
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




CAROLYN TILLMAN                                  Clm No 170101    Filed In Cases: 607
PO BOX 372                                       Class                Claim Detail Amount         Final Allowed Amount
SAGINAW, MI 48606
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




VERLA TINDALL                                    Clm No 170102    Filed In Cases: 607
1405 8TH AVE NW                                  Class                Claim Detail Amount         Final Allowed Amount
ARDMORE, OK 73401
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value        $10,000.00




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DIANE TINSLEY                                     Clm No 170103    Filed In Cases: 607
2582 W. RIVER DRIVE                               Class                Claim Detail Amount         Final Allowed Amount
GLADWIN, MI 48624
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




LUCY TIPTON                                       Clm No 170104    Filed In Cases: 607
5452 WOODLAND RIDGE DRIVE                         Class                Claim Detail Amount         Final Allowed Amount
FLINT, MI 48532
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




EMILIA TODD                                       Clm No 170105    Filed In Cases: 607
17545 EDWARDS                                     Class                Claim Detail Amount         Final Allowed Amount
SOUTHFIELD, MI 48076
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                           36 of 3075

ESSIE B. TOWNSEND                                 Clm No 170106    Filed In Cases: 607
123 W. BAKER STREET                               Class                Claim Detail Amount         Final Allowed Amount
FLINT, MI 48505
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




JOHN TRESNAN                                      Clm No 170107    Filed In Cases: 607
1001 MICHIGAN AVENUE                              Class                Claim Detail Amount         Final Allowed Amount
MONROE, MI 48162-3009
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




KARL TROPF                                        Clm No 170108    Filed In Cases: 607
43430 INTERLAKEN DRIVE                            Class                Claim Detail Amount         Final Allowed Amount
STERLING HEIGHTS, MI 48313
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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MATTIE R. WILCOX                                 Clm No 170109    Filed In Cases: 607
3867 LONG CABIN DRIVE                            Class                Claim Detail Amount         Final Allowed Amount
GREEN MEADOWS 99,MACON, GA 31204
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed               5-Oct-2015
  Bar Date
  Claim Face Value              $1.00

  Duplicate Claim No   19164




SHIVON TUCKER                                    Clm No 170110    Filed In Cases: 607
76 W. BUENA VISTA                                Class                Claim Detail Amount         Final Allowed Amount
HIGHLAND PARK, MI 48203
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed               5-Oct-2015
  Bar Date
  Claim Face Value              $1.00




DEBBRA TUNE                                      Clm No 170111    Filed In Cases: 607
9325 DIXIE HIGHWAY                               Class                Claim Detail Amount         Final Allowed Amount
BIRCH RUN, MI 48415
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed               5-Oct-2015
  Bar Date
  Claim Face Value              $1.00




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CHARLES TURK                                     Clm No 170112    Filed In Cases: 607
13906 ARLINGTON STREET                           Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48212
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




MELVIN TURNER                                    Clm No 170113    Filed In Cases: 607
29412 SPRING HILL DRIVE                          Class                Claim Detail Amount         Final Allowed Amount
SOUTHFIELD, MI 48076
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




JUDITH A. UEBERROTH                              Clm No 170114    Filed In Cases: 607
455 S. GOODYEAR STREET                           Class                Claim Detail Amount         Final Allowed Amount
OREGON, OH 43616-2914
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value        $10,000.00




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CYNTHIA A. FOSKETT                               Clm No 170115    Filed In Cases: 607
909 MOORE STREET                                 Class                Claim Detail Amount         Final Allowed Amount
DAVISON, MI 48423
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




MAUREEN VanBUHLER                                Clm No 170116    Filed In Cases: 607
7754 CORBIN DRIVE                                Class                Claim Detail Amount         Final Allowed Amount
CANTON, MI 48187
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




RONALD J. VanHOE                                 Clm No 170117    Filed In Cases: 607
5747 SHERWOOD DRIVE                              Class                Claim Detail Amount         Final Allowed Amount
PORTAGE, MI 49024
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              5-Oct-2015
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  Claim Face Value        $10,000.00




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JANICE E. VanHORN                                 Clm No 170118    Filed In Cases: 607
7450 MONROE ROAD                                  Class                Claim Detail Amount         Final Allowed Amount
LAMBERTVILLE, MI 48144
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




KAY J. VanWYNEN                                   Clm No 170119    Filed In Cases: 607
884 WELLS STREET                                  Class                Claim Detail Amount         Final Allowed Amount
SOUTH HAVEN, MI 49090
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




BRUCE A. VARDON                                   Clm No 170120    Filed In Cases: 607
178 Carlisle Way                                  Class                Claim Detail Amount         Final Allowed Amount
Myrtle Beach, SC 29579
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




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JOHN, VARGO                                      Clm No 170121    Filed In Cases: 607
8867 COUNTRY VIEW DRIVE                          Class                Claim Detail Amount         Final Allowed Amount
SPARTA, MI 49345
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




JUDITH VENDITTI                                  Clm No 170122    Filed In Cases: 607
4077 GROVELAND S.W.                              Class                Claim Detail Amount         Final Allowed Amount
NAVARRE, OH 44662-9720
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value        $10,000.00




REGINA M. VERMETT                                Clm No 170123    Filed In Cases: 607
26727 LENOX STREET                               Class                Claim Detail Amount         Final Allowed Amount
MADISON HEIGHTS, MI 48071
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




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PENNY S. WALI                                    Clm No 170124    Filed In Cases: 607
4578 MANITOU DRIVE                               Class                Claim Detail Amount         Final Allowed Amount
OKEMOS, MI 48864
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




ESTHER L. WALKER                                 Clm No 170125    Filed In Cases: 607
23650 TWINING DRIVE                              Class                Claim Detail Amount         Final Allowed Amount
SOUTHFIELD, MI 48075
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




JUDITH B. WALL                                   Clm No 170126    Filed In Cases: 607
204 BUTTERFLY DRIVE                              Class                Claim Detail Amount         Final Allowed Amount
FORT OGLETHORPE, GA 30742
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




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JOANN WALTERS                                    Clm No 170127    Filed In Cases: 607
5418 ROLIND DRIVE                                Class                Claim Detail Amount         Final Allowed Amount
MONTGOMERY, AL
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value              $1.00




HENRY WARREN                                     Clm No 170128    Filed In Cases: 607
3630 HERITAGE PARKWAY                            Class                Claim Detail Amount         Final Allowed Amount
DEARBORN, MI 48124
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value              $1.00




JOHN WARRIOR                                     Clm No 170129    Filed In Cases: 607
231 SPRINGVIEW DRIVE,APT. 806                    Class                Claim Detail Amount         Final Allowed Amount
BATTLE CREEK, MI 49037
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value              $1.00




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MELVIN WASHINGTON                                 Clm No 170130    Filed In Cases: 607
5710 GRIGGS DRIVE                                 Class                Claim Detail Amount         Final Allowed Amount
FLINT, MI 48504
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




DEBRA WATKINS                                     Clm No 170131    Filed In Cases: 607
923 NORTH MAIN STREET                             Class                Claim Detail Amount         Final Allowed Amount
LIMA, OH 45801
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




KATHERINE J. WATKINS                              Clm No 170132    Filed In Cases: 607
1518 SHERIDAN AVENUE                              Class                Claim Detail Amount         Final Allowed Amount
SAGINAW, MI 48601
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




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DORIS E. WEBER                                   Clm No 170133    Filed In Cases: 607
1711 W. DANSVILLE ROAD                           Class                Claim Detail Amount         Final Allowed Amount
MASON, MI 48854
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




FREDDIE WEIERS                                   Clm No 170134    Filed In Cases: 607
5936 S. MOUNT TOM ROAD                           Class                Claim Detail Amount         Final Allowed Amount
ROSE CITY, MI 48654
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




JAMES WEINZIERL                                  Clm No 170135    Filed In Cases: 607
14421 MORAVIAN MANOR CIRCLE                      Class                Claim Detail Amount         Final Allowed Amount
STERLING HEIGHTS, MI 48312
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




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VIVIAN JOHNSON- WELCH                            Clm No 170136    Filed In Cases: 607
6544 FIRWOOD STREET                              Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48210
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




CAROLYN S. LATTIN                                Clm No 170137    Filed In Cases: 607
35452 EDGETON COURT,APT. 203                     Class                Claim Detail Amount         Final Allowed Amount
FARMINGTON HILLS, MI 48335
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




ROSCOE WEST                                      Clm No 170138    Filed In Cases: 607
62 EAST MAIN STREET,APARTMENT 5                  Class                Claim Detail Amount         Final Allowed Amount
ALLIANCE, OH 44601
                                                 UNS                                $1.00

                                                                                    $1.00


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  Claim Face Value             $1.00




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CECILIA WESTBROOK                                Clm No 170139    Filed In Cases: 607
24164 EDGEMONT                                   Class                Claim Detail Amount         Final Allowed Amount
SOUTHFIELD, MI 48033
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




PATRICIA PERRY                                   Clm No 170140    Filed In Cases: 607
363 NORWAY STREET                                Class                Claim Detail Amount         Final Allowed Amount
YORK, PA 17403
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




NANCY WHALEY                                     Clm No 170141    Filed In Cases: 607
63133 16TH AVENUE                                Class                Claim Detail Amount         Final Allowed Amount
BANGOR, MI 49013
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              5-Oct-2015
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  Claim Face Value        $10,000.00




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GLORIA WHITE                                      Clm No 170142    Filed In Cases: 607
1484 ROBERT BRADBY DRIVE,APT. A                   Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48207
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




LORETTA MORGAN                                    Clm No 170143    Filed In Cases: 607
5870 W. Co. Rd. 275 S.                            Class                Claim Detail Amount         Final Allowed Amount
N. Vernon, IN 47265
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




DONYELL A. WILLIAMS                               Clm No 170144    Filed In Cases: 607
219 BRADLEY STREET                                Class                Claim Detail Amount         Final Allowed Amount
SAGINAW, MI 48601-4702
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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PHYLLIS WILCOX                                    Clm No 170145    Filed In Cases: 607
2308 STATE STREET                                 Class                Claim Detail Amount         Final Allowed Amount
YPSILANTI, MI 48198
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




LINDA WILLETTS                                    Clm No 170146    Filed In Cases: 607
605 JOHN ROLFE DRIVE                              Class                Claim Detail Amount         Final Allowed Amount
MONROE, MI 48162
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




DONNA M. BLASZCZAK                                Clm No 170147    Filed In Cases: 607
42023 WATERFALL ROAD                              Class                Claim Detail Amount         Final Allowed Amount
NORTHVILLE, MI 48168
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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VERNICE ALEXANDER                                Clm No 170148    Filed In Cases: 607
20100 WOODINGHAM DRIVE                           Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48221
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




ORA L. WILLIAMS                                  Clm No 170149    Filed In Cases: 607
8650 N. EVANGELINE ST.                           Class                Claim Detail Amount         Final Allowed Amount
DEARBORN HEIGHTS, MI 48127
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




BONNIE S. WILLIAMS                               Clm No 170150    Filed In Cases: 607
33121 BERNICE AVENUE                             Class                Claim Detail Amount         Final Allowed Amount
PAW PAW, MI 49079
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




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JAMES WILLIAMSON                                  Clm No 170151    Filed In Cases: 607
806 E. 4TH STREET                                 Class                Claim Detail Amount         Final Allowed Amount
MONROE, MI 48161
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




LLOYD WILSON                                      Clm No 170152    Filed In Cases: 607
4286 COUNTY HIGHWAY C                             Class                Claim Detail Amount         Final Allowed Amount
NEILLSVILLE, WI 54456
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




TERRY WILSON                                      Clm No 170153    Filed In Cases: 607
1530 NORTH CHURCH STREET                          Class                Claim Detail Amount         Final Allowed Amount
KALAMAZOO, MI 49007
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




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EMMA WINDHAM                                     Clm No 170154    Filed In Cases: 607
11653 MARTIN ROAD,APT. 4                         Class                Claim Detail Amount         Final Allowed Amount
WARREN, MI 48093
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed               5-Oct-2015
  Bar Date
  Claim Face Value         $10,000.00




ESTHER WINTERLEE                                 Clm No 170155    Filed In Cases: 607
2665 S. COUNTY ROAD 489                          Class                Claim Detail Amount         Final Allowed Amount
LEWISTON, MI 49756
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed               5-Oct-2015
  Bar Date
  Claim Face Value              $1.00




DONALD WOLFE                                     Clm No 170156    Filed In Cases: 607
5325 OTTAWA RIVER ROAD                           Class                Claim Detail Amount         Final Allowed Amount
TOLEDO, OH 43611
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed               5-Oct-2015
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  Claim Face Value              $1.00




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SARAH N. THOMPSON                                 Clm No 170157    Filed In Cases: 607
1498 WINGATE                                      Class                Claim Detail Amount         Final Allowed Amount
YPSILANTI, MI 48198
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




THELMA WOODS                                      Clm No 170158    Filed In Cases: 607
22860 KENWYCK DRIVE                               Class                Claim Detail Amount         Final Allowed Amount
SOUTHFIELD, MI 48034
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




WILLIAM WORTHING                                  Clm No 170159    Filed In Cases: 607
4765 MALONEY ROAD                                 Class                Claim Detail Amount         Final Allowed Amount
PINCONNING, MI 48650
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




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JUDITH HUTYRA                                    Clm No 170160    Filed In Cases: 607
23447 DONALDSON                                  Class                Claim Detail Amount         Final Allowed Amount
CLINTON TOWNSHIP, MI 48035
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value        $10,000.00




JUDITH HUTYRA                                    Clm No 170161    Filed In Cases: 607
23447 DONALDSON                                  Class                Claim Detail Amount         Final Allowed Amount
CLINTON TOWNSHIP, MI 48035
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value        $10,000.00




BETTY D. WRIGHT                                  Clm No 170162    Filed In Cases: 607
18220 ALTA VISTA DRIVE                           Class                Claim Detail Amount         Final Allowed Amount
SOUTHFIELD, MI 48075
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




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ELAINE R. ZACK                                   Clm No 170163    Filed In Cases: 607
2184 LONDON BRIDGE DRIVE                         Class                Claim Detail Amount         Final Allowed Amount
ROCHESTER HILLS, MI 48307
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value        $10,000.00




DAVID ZELEK                                      Clm No 170164    Filed In Cases: 607
9014 CROSLEY                                     Class                Claim Detail Amount         Final Allowed Amount
REDFORD, MI 48239
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $1.00




DONNA L. ZELLA                                   Clm No 170165    Filed In Cases: 607
38227 AVONDALE STREET                            Class                Claim Detail Amount         Final Allowed Amount
WESTLAND, MI 48186
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $1.00




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DONNA L. ZIEGLER                                  Clm No 170166    Filed In Cases: 607
4043 E. COLORADO STREET                           Class                Claim Detail Amount         Final Allowed Amount
LONG BEACH, CA 90814
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




PHILIP ZIEGLER                                    Clm No 170167    Filed In Cases: 607
14051 EDGEWOOD STREET                             Class                Claim Detail Amount         Final Allowed Amount
LIVONIA, MI 48154
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Mitcheal Alle Veenstra                            Clm No 170168    Filed In Cases: 607
1400 E. Lovers Lane                               Class                Claim Detail Amount         Final Allowed Amount
Arlington, TX 76010
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value       $10,000.00




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Gloria Achman                                        Clm No 170169    Filed In Cases: 607
110 Sunny South Trailer Court                        Class                Claim Detail Amount         Final Allowed Amount
Enterprise, AL 36330
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   5-Oct-2015
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   Claim Face Value             $10,000.00




Sharon Adams                                         Clm No 170170    Filed In Cases: 607
124 Holly Street                                     Class                Claim Detail Amount         Final Allowed Amount
Ridgedale, MO 65739
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   5-Oct-2015
   Bar Date
   Claim Face Value             $10,000.00




John Adams                                           Clm No 170171    Filed In Cases: 607
2844 David St                                        Class                Claim Detail Amount         Final Allowed Amount
Riverside, CA 92506-4131
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   5-Oct-2015
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   Claim Face Value             $10,000.00




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Carol Adams                                       Clm No 170172    Filed In Cases: 607
14237 Washington Ave.                             Class                Claim Detail Amount         Final Allowed Amount
Sturtevant, WI 53177
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Sally Lou Addis                                   Clm No 170173    Filed In Cases: 607
4975 Whipple Lake Road                            Class                Claim Detail Amount         Final Allowed Amount
Clarkston, MI 48348
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Roy Aeschliman                                    Clm No 170174    Filed In Cases: 607
1010 Elm Ave E                                    Class                Claim Detail Amount         Final Allowed Amount
Hector, MN 55342-4501
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Paul Agnello                                      Clm No 170175    Filed In Cases: 607
2400 Indian Sinks Court                           Class                Claim Detail Amount         Final Allowed Amount
Brighton, MI 48114
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Alice A. Alexander                                Clm No 170176    Filed In Cases: 607
888 Vercelli St                                   Class                Claim Detail Amount         Final Allowed Amount
Deltona, FL 32725
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Gladys Alford                                     Clm No 170177    Filed In Cases: 607
1026 Avenue J                                     Class                Claim Detail Amount         Final Allowed Amount
Bogalusa, LA 70427
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Linda McIntosh                                    Clm No 170178    Filed In Cases: 607
16431 Southeast Windswept Waters Drive            Class                Claim Detail Amount         Final Allowed Amount
Damascus, OR 97089
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Paul David Allen                                  Clm No 170179    Filed In Cases: 607
720 Lakeview Drive                                Class                Claim Detail Amount         Final Allowed Amount
Parkersburg, WV 26104
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Dennis C. Allen                                   Clm No 170180    Filed In Cases: 607
3125 Chisholm Trail                               Class                Claim Detail Amount         Final Allowed Amount
Enid, OK 73701-1237
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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Glen Allinson                                     Clm No 170181    Filed In Cases: 607
2003 Timber Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Alabaster, AL 35007
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Kathryn Planalp                                   Clm No 170182    Filed In Cases: 607
10534 Chestnut Hill Court                         Class                Claim Detail Amount         Final Allowed Amount
Fishers, IN 46037
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Jeffrey A. Ambrose                                Clm No 170183    Filed In Cases: 607
1809 West Boonville New Harmony Rd                Class                Claim Detail Amount         Final Allowed Amount
Evansville, IN 47725
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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Lisa L. Anderson                                  Clm No 170184    Filed In Cases: 607
500 Farrow Place                                  Class                Claim Detail Amount         Final Allowed Amount
Coldwater, MS 38618
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Magdaline Anderson                                Clm No 170185    Filed In Cases: 607
2916 Fairview Drive                               Class                Claim Detail Amount         Final Allowed Amount
Ashtabula, OH 44004
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Mark Anderson                                     Clm No 170186    Filed In Cases: 607
914 S. Woodhaven Ln.                              Class                Claim Detail Amount         Final Allowed Amount
Holyoke, MN 55797
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Janice Anderson                                   Clm No 170187    Filed In Cases: 607
25519 Reaves Rd                                   Class                Claim Detail Amount         Final Allowed Amount
Opp, AL 36467
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Carmen Armijo                                     Clm No 170188    Filed In Cases: 607
4214 Sentinel Place                               Class                Claim Detail Amount         Final Allowed Amount
Pueblo, CO 81008
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Emma Armontrout                                   Clm No 170189    Filed In Cases: 607
110 Hittridge Rd.                                 Class                Claim Detail Amount         Final Allowed Amount
Eldon, MO 65026
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Regina Arnauskas                                  Clm No 170190    Filed In Cases: 607
4609 Primrose Lane                                Class                Claim Detail Amount         Final Allowed Amount
Omaha, NE 68157
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Katherine R. Arndt                                Clm No 170191    Filed In Cases: 607
1651 Engle Molers Rd                              Class                Claim Detail Amount         Final Allowed Amount
Harpers Ferry, WV 25425
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Danielle M. Lange                                 Clm No 170192    Filed In Cases: 607
4143 South Township Road #151                     Class                Claim Detail Amount         Final Allowed Amount
Tiffin, OH 44883
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value        $10,000.00




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Mary H. McClellan-Aronen                            Clm No 170193    Filed In Cases: 607
33211 38th Ave. S.                                  Class                Claim Detail Amount         Final Allowed Amount
Federal Way, WA 98001
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
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   Claim Face Value            $10,000.00




Ann E. Averill                                      Clm No 170194    Filed In Cases: 607
6725 161st Avenue SE, Unit B                        Class                Claim Detail Amount         Final Allowed Amount
Bellevue, WA 98006
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
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   Claim Face Value            $10,000.00




Margaret Clark                                      Clm No 170195    Filed In Cases: 607
2817 NE 242nd Ave.                                  Class                Claim Detail Amount         Final Allowed Amount
Camas, WA 98607
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


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Lylia Ayoub                                       Clm No 170196    Filed In Cases: 607
19000 Gulf Blvd                                   Class                Claim Detail Amount         Final Allowed Amount
Indian Shores, FL 33785
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Edith Badgett                                     Clm No 170197    Filed In Cases: 607
2074 North Druid Circle                           Class                Claim Detail Amount         Final Allowed Amount
Clearwater, FL 33764
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Shawna Bagnato                                    Clm No 170198    Filed In Cases: 607
988 Cochrans Mill Rd                              Class                Claim Detail Amount         Final Allowed Amount
Pittsburgh, PA 15236
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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  Claims Details                                                                                           67 of 3075

Barbara Griggs                                    Clm No 170199    Filed In Cases: 607
1720 Pine Needle Lane                             Class                Claim Detail Amount         Final Allowed Amount
Elberton, GA 30635
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Shirley D. Baird                                  Clm No 170200    Filed In Cases: 607
301 Willow Ave.                                   Class                Claim Detail Amount         Final Allowed Amount
New Glasgow, Nova Scotia B2H 2A1
                                                  UNS                          $10,000.00
Canada
                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




James Baker                                       Clm No 170201    Filed In Cases: 607
413 4th Avenue East                               Class                Claim Detail Amount         Final Allowed Amount
Alexandria, MN 56308
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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  Claims Details                                                                                           68 of 3075

Shirlee Baker                                     Clm No 170202    Filed In Cases: 607
13218 Avenue N                                    Class                Claim Detail Amount         Final Allowed Amount
Chicago, IL 60633
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Roy Bale                                          Clm No 170203    Filed In Cases: 607
17812 Quiet Springs Ave                           Class                Claim Detail Amount         Final Allowed Amount
Nampa, ID 83687-5237
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Joyce Ball                                        Clm No 170204    Filed In Cases: 607
3207 Lindenwood Drive                             Class                Claim Detail Amount         Final Allowed Amount
Dearborn, MI 48120
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                           69 of 3075

Arthur Ball                                       Clm No 170205    Filed In Cases: 607
326 Riddle Place                                  Class                Claim Detail Amount         Final Allowed Amount
Newport, KY 41071
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Ronald Ballinger                                  Clm No 170206    Filed In Cases: 607
1008 Broadway                                     Class                Claim Detail Amount         Final Allowed Amount
Neosho, MO 64850
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Nayeli L Baltazar                                 Clm No 170207    Filed In Cases: 607
6433 Maeve Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Rockford, IL 61107
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Cheryl Bandini                                    Clm No 170208    Filed In Cases: 607
8812 Crescent Dr.                                 Class                Claim Detail Amount         Final Allowed Amount
Huntington Beach, CA 92646
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Ronald Banks                                      Clm No 170209    Filed In Cases: 607
4618 Sun Valley Dr. SW                            Class                Claim Detail Amount         Final Allowed Amount
Albuquerque, NM 87105
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Linda L. Barbee                                   Clm No 170210    Filed In Cases: 607
5405 Old Dixie Hwy                                Class                Claim Detail Amount         Final Allowed Amount
Evensville, TN 37332
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




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Ione A. Barber                                    Clm No 170211    Filed In Cases: 607
PO Box 369                                        Class                Claim Detail Amount         Final Allowed Amount
Pickford, MI 49774
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Randy L. Barnard                                  Clm No 170212    Filed In Cases: 607
23211 Frays Frontier Dr.                          Class                Claim Detail Amount         Final Allowed Amount
Sturgis, MI 49091
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Hazel Barnes                                      Clm No 170213    Filed In Cases: 607
2368 Memorial Church Road                         Class                Claim Detail Amount         Final Allowed Amount
Kenly, NC 27542
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




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  Claims Details                                                                                           72 of 3075

Cynthia Barnes                                    Clm No 170214    Filed In Cases: 607
720 South Rollins                                 Class                Claim Detail Amount         Final Allowed Amount
Centralia, MO 65240
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Diane Barnett                                     Clm No 170215    Filed In Cases: 607
5029 Valley View Road                             Class                Claim Detail Amount         Final Allowed Amount
Edina, MN 55436
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Susan Barry                                       Clm No 170216    Filed In Cases: 607
#2 RD 1633                                        Class                Claim Detail Amount         Final Allowed Amount
Farmington, NM 87401
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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LaVern Bartram                                     Clm No 170217    Filed In Cases: 607
1517 NW Eden St                                    Class                Claim Detail Amount         Final Allowed Amount
Roseburg, OR 97470-5133
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Mark Basnett                                       Clm No 170218    Filed In Cases: 607
8212 Briarwood Dr.                                 Class                Claim Detail Amount         Final Allowed Amount
Broadview Heights, OH 44147
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Michael Batchelor                                  Clm No 170219    Filed In Cases: 607
1206 Norton                                        Class                Claim Detail Amount         Final Allowed Amount
Alton, IL 62002
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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   Claim Face Value           $10,000.00




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  Claims Details                                                                                            74 of 3075

Kenneth Beal                                       Clm No 170220    Filed In Cases: 607
1248 Curtis Ave                                    Class                Claim Detail Amount         Final Allowed Amount
Excelsior Springs, MO 64024
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Debra Rudi                                         Clm No 170221    Filed In Cases: 607
223 Cypress Dr.                                    Class                Claim Detail Amount         Final Allowed Amount
Woodland, CA 95695
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Pamela Beck                                        Clm No 170222    Filed In Cases: 607
39 Clark Street                                    Class                Claim Detail Amount         Final Allowed Amount
Waterloo, NY 13165
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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   Claim Face Value           $10,000.00




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  Claims Details                                                                                           75 of 3075

Daniel Lee Becker                                 Clm No 170223    Filed In Cases: 607
1571 8th St. NE A                                 Class                Claim Detail Amount         Final Allowed Amount
Auburn, WA 98002
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Aubrey Beeler                                     Clm No 170224    Filed In Cases: 607
711 Chestnut Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Cooper, TX 75432
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Donna Bellar                                      Clm No 170225    Filed In Cases: 607
3 West Court                                      Class                Claim Detail Amount         Final Allowed Amount
West Alexandria, OH 45381
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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Carmen Benson                                     Clm No 170226    Filed In Cases: 607
1720 23rd Street South                            Class                Claim Detail Amount         Final Allowed Amount
Fargo, ND 58103
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Lawrence Bergum                                   Clm No 170227    Filed In Cases: 607
2625A Tanbark Way                                 Class                Claim Detail Amount         Final Allowed Amount
Missoula, MT 59808-5418
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Patrick Berry                                     Clm No 170228    Filed In Cases: 607
6010 Powerline Road                               Class                Claim Detail Amount         Final Allowed Amount
Ft. Lauderdale, FL 33309
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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  Claims Details                                                                                           77 of 3075

Carol Lee Betkis                                  Clm No 170229    Filed In Cases: 607
232 Prairie Ridge Drive                           Class                Claim Detail Amount         Final Allowed Amount
Minooka, IL 60447
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Judith A Bice                                     Clm No 170230    Filed In Cases: 607
2655 Nebraska Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Palm Harbor, FL 34684
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Karen Draus                                       Clm No 170231    Filed In Cases: 607
543 Cedar St.                                     Class                Claim Detail Amount         Final Allowed Amount
Munster, IN 46321
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value       $10,000.00




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Loren Bjornstad                                   Clm No 170232    Filed In Cases: 607
3245 17th Ave S Apt 101                           Class                Claim Detail Amount         Final Allowed Amount
Fargo, ND 58103-4529
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Fred Black                                        Clm No 170233    Filed In Cases: 607
207 Vine St                                       Class                Claim Detail Amount         Final Allowed Amount
Easley, SC 29640
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




James Blair                                       Clm No 170234    Filed In Cases: 607
4995 Manchester Ave. NW                           Class                Claim Detail Amount         Final Allowed Amount
North Lawrence, OH 44666
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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Kay L. Blan                                       Clm No 170235    Filed In Cases: 607
888 Halstead Ter.                                 Class                Claim Detail Amount         Final Allowed Amount
The Villages, FL 32162
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Mary Bloom                                        Clm No 170236    Filed In Cases: 607
1431 Wallaceville Road                            Class                Claim Detail Amount         Final Allowed Amount
Titusville, PA 16354
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Janey Bohle                                       Clm No 170237    Filed In Cases: 607
1006 Phillip Dr.                                  Class                Claim Detail Amount         Final Allowed Amount
Glen Burnie, MD 21061
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value       $10,000.00




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Barbara J. Aerni, Co-PR                           Clm No 170238    Filed In Cases: 607
304 E. Beardsley St.                              Class                Claim Detail Amount         Final Allowed Amount
Clarks, NE 68628
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Debra Wicht, Co-Executor                          Clm No 170239    Filed In Cases: 607
543 Johnson Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Grand Island, NE 68803
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Kenneth Bond                                      Clm No 170240    Filed In Cases: 607
8580 Haven Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Rogers, AR 72756
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Alyson Carrothers                                 Clm No 170241    Filed In Cases: 607
18255 South Redfir Drive                          Class                Claim Detail Amount         Final Allowed Amount
Beavercreek, OR 97004
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




James M. Bortnick, Co-Executor                    Clm No 170242    Filed In Cases: 607
2332 N. Parkridge St.                             Class                Claim Detail Amount         Final Allowed Amount
Wichita, KS 67205
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Diane L. Scharpf, Co-Executor                     Clm No 170243    Filed In Cases: 607
5635 South Elmira                                 Class                Claim Detail Amount         Final Allowed Amount
Springfield, MO 65810
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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  Claims Details                                                                                           82 of 3075

Carolyn S. Boughman                               Clm No 170244    Filed In Cases: 607
1922 S. Nan-Del Lane                              Class                Claim Detail Amount         Final Allowed Amount
Portland, IN 47371
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




James Bounds                                      Clm No 170245    Filed In Cases: 607
1137 King Ave SW                                  Class                Claim Detail Amount         Final Allowed Amount
Wadena, MN 56482
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Barbara Bouplon                                   Clm No 170246    Filed In Cases: 607
197 Church Street                                 Class                Claim Detail Amount         Final Allowed Amount
Hoosick Falls, NY 12090
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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  Claims Details                                                                                           83 of 3075

Joyce T. Bowen                                    Clm No 170247    Filed In Cases: 607
200 Hunting Rd                                    Class                Claim Detail Amount         Final Allowed Amount
Needham Heights, MA 02494-2125
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Crystal Alshawa                                   Clm No 170248    Filed In Cases: 607
2184 Black Oak Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Columbus, OH 43229
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Denna Gooch                                       Clm No 170249    Filed In Cases: 607
3063 Fox Chaple Drive                             Class                Claim Detail Amount         Final Allowed Amount
Columbus, OH 43232
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                           84 of 3075

Roy Bradley                                       Clm No 170250    Filed In Cases: 607
127 Rock Creek Lane                               Class                Claim Detail Amount         Final Allowed Amount
Mena, AR 71953
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Juanita Bramlett                                  Clm No 170251    Filed In Cases: 607
255 Oakridge Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Odenville, AL 35120
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Sharon A. Brandt                                  Clm No 170252    Filed In Cases: 607
3606 Lake Meadow Drive                            Class                Claim Detail Amount         Final Allowed Amount
Valparaiso, IN 46385
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                           85 of 3075

Linda Pearl Brantley                              Clm No 170253    Filed In Cases: 607
4949 Brantley Road                                Class                Claim Detail Amount         Final Allowed Amount
Groveland, FL 34736
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Carol Braun                                       Clm No 170254    Filed In Cases: 607
704 County Road 16 SE                             Class                Claim Detail Amount         Final Allowed Amount
Rochester, MN 55904
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Mattie Bredell                                    Clm No 170255    Filed In Cases: 607
3639 Yorktown Drive                               Class                Claim Detail Amount         Final Allowed Amount
Waldorf, MD 20611
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                           86 of 3075

Nathan W. Brefeld                                 Clm No 170256    Filed In Cases: 607
13043 North 2900 East Rd.                         Class                Claim Detail Amount         Final Allowed Amount
Ellsworth, IL 61737
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Vanessa Allen                                     Clm No 170257    Filed In Cases: 607
2036 E 171st Court                                Class                Claim Detail Amount         Final Allowed Amount
South Holland, IL 60473
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Gwendolyne Brooks                                 Clm No 170258    Filed In Cases: 607
10301-A N. 97th Dr.                               Class                Claim Detail Amount         Final Allowed Amount
Peoria, AZ 85345
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




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  Claims Details                                                                                           87 of 3075

William Brooksher Jr.                             Clm No 170259    Filed In Cases: 607
900 East Main St.                                 Class                Claim Detail Amount         Final Allowed Amount
Park Hills, MO 63601
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Marcia D. Kirkpatrick                             Clm No 170260    Filed In Cases: 607
190 Dove Hollow Trail                             Class                Claim Detail Amount         Final Allowed Amount
Georgetown, TX 78633
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




David Brown                                       Clm No 170261    Filed In Cases: 607
97 Macland Circle                                 Class                Claim Detail Amount         Final Allowed Amount
Bremen, GA 30110
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value       $10,000.00




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  Claims Details                                                                                           88 of 3075

Lela M. Brown                                     Clm No 170262    Filed In Cases: 607
5622 West Glendale Avenue                         Class                Claim Detail Amount         Final Allowed Amount
Glendale, AZ 85301
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Stephanie Hinesley                                Clm No 170263    Filed In Cases: 607
1515 Stormhaven Way                               Class                Claim Detail Amount         Final Allowed Amount
Greenwood, IN 46143
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Shirley Persons                                   Clm No 170264    Filed In Cases: 607
5893 E. 43rd                                      Class                Claim Detail Amount         Final Allowed Amount
Indianapolis, IN 46226
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                           89 of 3075

Roger Brown                                       Clm No 170265    Filed In Cases: 607
24003 Birch Ln.                                   Class                Claim Detail Amount         Final Allowed Amount
North Olmsted, OH 44070
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Louise A. Bruer                                   Clm No 170266    Filed In Cases: 607
PO Box 67                                         Class                Claim Detail Amount         Final Allowed Amount
Olalla, WA 98359
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Diane Turrill                                     Clm No 170267    Filed In Cases: 607
2409 Lakeview Drive                               Class                Claim Detail Amount         Final Allowed Amount
LeHigh Acres, FL 33936
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Wilma Bryant                                      Clm No 170268    Filed In Cases: 607
3298 Maxwell Rd.                                  Class                Claim Detail Amount         Final Allowed Amount
Autryville, NC 28318
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Tyson G. Bryant                                   Clm No 170269    Filed In Cases: 607
6223 S 31st West Avenue                           Class                Claim Detail Amount         Final Allowed Amount
Tulsa, OK 74132
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Anne Gray Bubb                                    Clm No 170270    Filed In Cases: 607
2222 Bahia Drive                                  Class                Claim Detail Amount         Final Allowed Amount
La Jolla, CA 92037
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Carl Buchanan                                     Clm No 170271    Filed In Cases: 607
3624 Eisenhower Ave                               Class                Claim Detail Amount         Final Allowed Amount
Bakersfield, CA 93309-6026
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Ralph F. Howes                                    Clm No 170272    Filed In Cases: 607
717 Indiana Avenue                                Class                Claim Detail Amount         Final Allowed Amount
LaPorte, IN 46350
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




William Buhan                                     Clm No 170273    Filed In Cases: 607
1420 Ridgeview Cir                                Class                Claim Detail Amount         Final Allowed Amount
Auburn, CA 95603-6004
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                           92 of 3075

Timothy Paul Bunt                                 Clm No 170274    Filed In Cases: 607
105 Hitching Post Circle                          Class                Claim Detail Amount         Final Allowed Amount
Cropwell, AL 35054
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Nancy Osborn                                      Clm No 170275    Filed In Cases: 607
14 Squamscott Ave                                 Class                Claim Detail Amount         Final Allowed Amount
Derry, NH 03038
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Elizabeth P. Caffee                               Clm No 170276    Filed In Cases: 607
6304 Heritage Point South                         Class                Claim Detail Amount         Final Allowed Amount
Lockport, NY 14094
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value         $10,000.00




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  Claims Details                                                                                           93 of 3075

Ellen Calvert                                     Clm No 170277    Filed In Cases: 607
302 North Rambo Rd                                Class                Claim Detail Amount         Final Allowed Amount
Medical Lake, WA 99022
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




WIlliam Camley                                    Clm No 170278    Filed In Cases: 607
3 Oak St                                          Class                Claim Detail Amount         Final Allowed Amount
Maynard, MA 01754
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Kenneth Campbell                                  Clm No 170279    Filed In Cases: 607
7908 West Congress                                Class                Claim Detail Amount         Final Allowed Amount
Duson, LA 70529
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Yolanda Gomez-Pohl                                Clm No 170280    Filed In Cases: 607
2204 Evans Ct. SW                                 Class                Claim Detail Amount         Final Allowed Amount
Albuquerque, NM 87105
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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John Canelas                                      Clm No 170281    Filed In Cases: 607
53 Clark St.                                      Class                Claim Detail Amount         Final Allowed Amount
Ludlow, MA 01056
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Maria G. Segoviano                                Clm No 170282    Filed In Cases: 607
11034 Lull St.                                    Class                Claim Detail Amount         Final Allowed Amount
Sun Valley, CA 91352
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                             95 of 3075

David Carbin                                        Clm No 170283    Filed In Cases: 607
2741 Hickman Road                                   Class                Claim Detail Amount         Final Allowed Amount
Poplar Bluff, MO 63901
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Betty G. Carden                                     Clm No 170284    Filed In Cases: 607
707 Riverside Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Gadsen, AL 35903
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
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   Claim Face Value            $10,000.00




Nola Dzen                                           Clm No 170285    Filed In Cases: 607
756 East Third Street, Unit1                        Class                Claim Detail Amount         Final Allowed Amount
South Boston, MA 02127
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


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  Claims Details                                                                                           96 of 3075

Mark Aaron Carpenter                              Clm No 170286    Filed In Cases: 607
6514 West Sierra St.                              Class                Claim Detail Amount         Final Allowed Amount
Glendale, AZ 85304
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Barbara Jensen-Carpenter                          Clm No 170287    Filed In Cases: 607
12912 Cottage Mill Place                          Class                Claim Detail Amount         Final Allowed Amount
Midlothian, VA 23114
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Debra Williams                                    Clm No 170288    Filed In Cases: 607
2760 Sharon Depoy Road                            Class                Claim Detail Amount         Final Allowed Amount
Greenville, KY 42345
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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  Claims Details                                                                                           97 of 3075

Frank Casale                                      Clm No 170289    Filed In Cases: 607
268 Shumpert Road                                 Class                Claim Detail Amount         Final Allowed Amount
West Columbia, SC 29172
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Jerry Cassano                                     Clm No 170290    Filed In Cases: 607
33924 Harrison Lane                               Class                Claim Detail Amount         Final Allowed Amount
Denham Springs, LA 70706
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Heather Vaughn                                    Clm No 170291    Filed In Cases: 607
2225 N. Fulton Ave.                               Class                Claim Detail Amount         Final Allowed Amount
Evansville, IN 47710
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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  Claims Details                                                                                           98 of 3075

Bruce Chambers                                    Clm No 170292    Filed In Cases: 607
33970 West Spring Creek Rd                        Class                Claim Detail Amount         Final Allowed Amount
Alma, KS 66401
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Ayla Chapman                                      Clm No 170293    Filed In Cases: 607
14644 West Lake Ridge Drive, #1                   Class                Claim Detail Amount         Final Allowed Amount
Eagle River, AK 99577
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




William Chappell                                  Clm No 170294    Filed In Cases: 607
719 South Ave.                                    Class                Claim Detail Amount         Final Allowed Amount
Piscataway, NJ 08854
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                           99 of 3075

Merlin Christisen                                 Clm No 170295    Filed In Cases: 607
405 Moon Lane                                     Class                Claim Detail Amount         Final Allowed Amount
Perryville, MO 63775
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Joan Cira                                         Clm No 170296    Filed In Cases: 607
W4419 Highway 33                                  Class                Claim Detail Amount         Final Allowed Amount
Horicon, WI 53032
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Walter D. Clack                                   Clm No 170297    Filed In Cases: 607
467 Sevier Street                                 Class                Claim Detail Amount         Final Allowed Amount
Hixson, TN 37343
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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  Claims Details                                                                                          100 of 3075

Timothy Clark                                     Clm No 170298    Filed In Cases: 607
322 North Riley                                   Class                Claim Detail Amount         Final Allowed Amount
Indianapolis, IN 46201
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Tonja Denise Siwula                               Clm No 170299    Filed In Cases: 607
315 Commodore Drive                               Class                Claim Detail Amount         Final Allowed Amount
McDonald, PA 15425
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Betty L. Claxton                                  Clm No 170300    Filed In Cases: 607
85 Chevelle Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Chatsworth, GA 30705
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                          101 of 3075

Tracy Cook                                        Clm No 170301    Filed In Cases: 607
2835 Vallejo St.,                                 Class                Claim Detail Amount         Final Allowed Amount
San Francisco, CA 94123
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Edna Clegg                                        Clm No 170302    Filed In Cases: 607
9761 Fall Valley Way                              Class                Claim Detail Amount         Final Allowed Amount
Sacramento, CA 95829
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Carol A. Cocco                                    Clm No 170303    Filed In Cases: 607
14475 Rialto Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Brooksville, FL 34613
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Richard Cohan                                     Clm No 170304    Filed In Cases: 607
6734 Lunar Dr.                                    Class                Claim Detail Amount         Final Allowed Amount
Anchorage, AK 99504
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Linda Cohn                                        Clm No 170305    Filed In Cases: 607
5103 Pine Trail Drive                             Class                Claim Detail Amount         Final Allowed Amount
Durham, NC 27712
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Clyde Rex Coker Jr.                               Clm No 170306    Filed In Cases: 607
1568 Jeff Davis School Rd.                        Class                Claim Detail Amount         Final Allowed Amount
Meridian, MS 39301
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                          103 of 3075

Sandra Roth                                       Clm No 170307    Filed In Cases: 607
618 Hemlock Dr                                    Class                Claim Detail Amount         Final Allowed Amount
Crown Point, IN 46307
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Zelda Collier                                     Clm No 170308    Filed In Cases: 607
54 New Street                                     Class                Claim Detail Amount         Final Allowed Amount
Camilla, GA 31730
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Wanda F. Collingwood                              Clm No 170309    Filed In Cases: 607
104 Country Lane Loop                             Class                Claim Detail Amount         Final Allowed Amount
Payette, ID 83661
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                          104 of 3075

Sandra Collins                                    Clm No 170310    Filed In Cases: 607
320 Muskingum Drive                               Class                Claim Detail Amount         Final Allowed Amount
Marietta, OH 45750
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Judith Collins                                    Clm No 170311    Filed In Cases: 607
P.O. Box 1581                                     Class                Claim Detail Amount         Final Allowed Amount
Chatham, MA 02669
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Francesca Concialdi                               Clm No 170312    Filed In Cases: 607
1024 S. Beechwood Drive                           Class                Claim Detail Amount         Final Allowed Amount
Mt. Prospect, IL 60056
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                             105 of 3075

James Conley                                         Clm No 170313    Filed In Cases: 607
13410 13th South                                     Class                Claim Detail Amount         Final Allowed Amount
Tacoma, WA 98444
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   5-Oct-2015
   Bar Date
   Claim Face Value             $10,000.00




Frances Conlin                                       Clm No 170314    Filed In Cases: 607
15355 Navion Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Port St. Lucie, FL 34987-2522
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   5-Oct-2015
   Bar Date
   Claim Face Value             $10,000.00




Robert Converse                                      Clm No 170315    Filed In Cases: 607
4720 S 85th Circle                                   Class                Claim Detail Amount         Final Allowed Amount
Lincoln, NE 68526
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   5-Oct-2015
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   Claim Face Value             $10,000.00




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Catherine Cooney                                    Clm No 170316    Filed In Cases: 607
920 Livingston Street                               Class                Claim Detail Amount         Final Allowed Amount
Tewksbury, MA 01876
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Wayne Cooper                                        Clm No 170317    Filed In Cases: 607
202 I Long Hwy                                      Class                Claim Detail Amount         Final Allowed Amount
Little Compton, RI 02837
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Betty Rednour                                       Clm No 170318    Filed In Cases: 607
415 Plainview Heights Circle                        Class                Claim Detail Amount         Final Allowed Amount
Greeneville, TN 37745
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
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   Claim Face Value            $10,000.00




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  Claims Details                                                                                          107 of 3075

Nancy Godwin                                      Clm No 170319    Filed In Cases: 607
1745 Jack Warner Parkway #C22                     Class                Claim Detail Amount         Final Allowed Amount
Tuscaloosa, AL 35401
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Charlotte A. Fowler                               Clm No 170320    Filed In Cases: 607
18221 N 67th Dr.                                  Class                Claim Detail Amount         Final Allowed Amount
Glendale, AZ 85308
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Sue Ann Costello                                  Clm No 170321    Filed In Cases: 607
119 Bradley Dr.                                   Class                Claim Detail Amount         Final Allowed Amount
Carlinville, IL 62626
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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  Claims Details                                                                                           108 of 3075

Daniel Costigan                                    Clm No 170322    Filed In Cases: 607
1547 Milwaukee Street                              Class                Claim Detail Amount         Final Allowed Amount
Belafield, WI 53018
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Ennette Cotter                                     Clm No 170323    Filed In Cases: 607
2830 Eisenhower Drive                              Class                Claim Detail Amount         Final Allowed Amount
Racine, WI 53405
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Laurie Gale                                        Clm No 170324    Filed In Cases: 607
1106 NW B St.                                      Class                Claim Detail Amount         Final Allowed Amount
Blue Springs, MO 64015-3653
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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   Claim Face Value           $10,000.00




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Kevin R. Cousert                                  Clm No 170325    Filed In Cases: 607
5573 Rockway Drive                                Class                Claim Detail Amount         Final Allowed Amount
New Palestine, IN 46163
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Elmer Cox                                         Clm No 170326    Filed In Cases: 607
1754 Superior                                     Class                Claim Detail Amount         Final Allowed Amount
Wyandotte, MI 48192
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Carolyn Crabill                                   Clm No 170327    Filed In Cases: 607
2870 Wayne Road                                   Class                Claim Detail Amount         Final Allowed Amount
Wilmington, OH 45177
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                          110 of 3075

MaReese Cragoe                                    Clm No 170328    Filed In Cases: 607
200 Oak Drive                                     Class                Claim Detail Amount         Final Allowed Amount
Luverne, MN 56156
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Peter Stork                                       Clm No 170329    Filed In Cases: 607
1116 Melbrook Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Munster, IN 46321
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Brenda M. Nazareth                                Clm No 170330    Filed In Cases: 607
91 Estelle Drive                                  Class                Claim Detail Amount         Final Allowed Amount
South Kingstown, RI 02892
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




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  Claims Details                                                                                          111 of 3075

Pamela Aldstadt-Crawford                          Clm No 170331    Filed In Cases: 607
197 School House Rd                               Class                Claim Detail Amount         Final Allowed Amount
Somerset, NJ 08873
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Janet Cretella                                    Clm No 170332    Filed In Cases: 607
5693 Cove Circle,                                 Class                Claim Detail Amount         Final Allowed Amount
Naples, FL 34119
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




John Crispin                                      Clm No 170333    Filed In Cases: 607
16055 Geeselake Lane                              Class                Claim Detail Amount         Final Allowed Amount
Montpelier, VA 23192
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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Hilary M. Critchfield                              Clm No 170334    Filed In Cases: 607
PO Box 64                                          Class                Claim Detail Amount         Final Allowed Amount
Harbert, MI 49115
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Terrence Croslis                                   Clm No 170335    Filed In Cases: 607
4599 North Church Street (rear entrance)           Class                Claim Detail Amount         Final Allowed Amount
Whitehall, PA 18052
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Rebecca E. Cross                                   Clm No 170336    Filed In Cases: 607
311 S MarFran Court                                Class                Claim Detail Amount         Final Allowed Amount
Eaton, IN 47338
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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   Claim Face Value           $10,000.00




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James Michael Crouch                              Clm No 170337    Filed In Cases: 607
3834 CR 507                                       Class                Claim Detail Amount         Final Allowed Amount
Brazoria, TX 77422
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Malissa K Crowe                                   Clm No 170338    Filed In Cases: 607
1351 S. Sharon Chapel Rd.                         Class                Claim Detail Amount         Final Allowed Amount
West Lafayette, IN 47906
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




James F Crowley                                   Clm No 170339    Filed In Cases: 607
38 S Wind Dr                                      Class                Claim Detail Amount         Final Allowed Amount
Plymouth, MA 02360
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value         $10,000.00




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Sondra Cruise                                     Clm No 170340    Filed In Cases: 607
2840 Lake Rockwell Rd                             Class                Claim Detail Amount         Final Allowed Amount
Ravenna, OH 44266-8017
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Tina C. Stanfield                                 Clm No 170341    Filed In Cases: 607
8639 Harmony Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Soddy-Daisy, TN 37379
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Josephine Marie Culbertson                        Clm No 170342    Filed In Cases: 607
1502 S Tenth                                      Class                Claim Detail Amount         Final Allowed Amount
Lamar, CO 81052
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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Joyce M. Cummings                                 Clm No 170343    Filed In Cases: 607
14290 US Highway 82                               Class                Claim Detail Amount         Final Allowed Amount
Eupora, MS 39744
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Michele Curry                                     Clm No 170344    Filed In Cases: 607
807 River Knolls Ct                               Class                Claim Detail Amount         Final Allowed Amount
Dayton, NV 89403
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




John Kemp                                         Clm No 170345    Filed In Cases: 607
PO Box 355                                        Class                Claim Detail Amount         Final Allowed Amount
Egg Harbor, WI 54209
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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  Claims Details                                                                                          116 of 3075

James E. Cwiklinski                               Clm No 170346    Filed In Cases: 607
7219 Elstead Ave                                  Class                Claim Detail Amount         Final Allowed Amount
Greendale, WI 53129
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Norman Dalke                                      Clm No 170347    Filed In Cases: 607
530 Berry Way                                     Class                Claim Detail Amount         Final Allowed Amount
La Habra, CA 90631-5956
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Antonietta D'Ambrosio                             Clm No 170348    Filed In Cases: 607
1315 7th St NW                                    Class                Claim Detail Amount         Final Allowed Amount
Calgary, Alberta T2M 3H3
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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  Claims Details                                                                                          117 of 3075

Carolyn L. Dammann                                Clm No 170349    Filed In Cases: 607
P.O. Box 281                                      Class                Claim Detail Amount         Final Allowed Amount
Springfield, AR 72157
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Jacalyn Danchise-Edie                             Clm No 170350    Filed In Cases: 607
4021 W. Charleston Ave.                           Class                Claim Detail Amount         Final Allowed Amount
Glendale, AZ 85308
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Connie L Darling                                  Clm No 170351    Filed In Cases: 607
207 Goodhope Rd                                   Class                Claim Detail Amount         Final Allowed Amount
Three Rivers, TX 78071
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                          118 of 3075

Robert Dash                                       Clm No 170352    Filed In Cases: 607
41 South St.                                      Class                Claim Detail Amount         Final Allowed Amount
Byfield, MA 01922
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Edward David                                      Clm No 170353    Filed In Cases: 607
507 Saint Girons Court                            Class                Claim Detail Amount         Final Allowed Amount
Punta Gorda, FL 33950
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Sylvia Davis                                      Clm No 170354    Filed In Cases: 607
40 South Chester Rd.                              Class                Claim Detail Amount         Final Allowed Amount
Chester, ME 04457
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Ernest Davis Jr.                                  Clm No 170355    Filed In Cases: 607
Lot 192 N Trails End                              Class                Claim Detail Amount         Final Allowed Amount
Washington, NC 27889
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Jo Ann Davis                                      Clm No 170356    Filed In Cases: 607
16521 Lake Heather Drive                          Class                Claim Detail Amount         Final Allowed Amount
Tampa, FL 33618
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Tony Davis                                        Clm No 170357    Filed In Cases: 607
5713 Farragon Hill Ln                             Class                Claim Detail Amount         Final Allowed Amount
Wendell, NC 27591
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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Margaret Davis                                    Clm No 170358    Filed In Cases: 607
102 Washington Blvd W                             Class                Claim Detail Amount         Final Allowed Amount
Portsmouth, OH 45663
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Dianne Fernandez                                  Clm No 170359    Filed In Cases: 607
P.O. Box 21349                                    Class                Claim Detail Amount         Final Allowed Amount
Houston, TX 77226
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Gracieta S. Small                                 Clm No 170360    Filed In Cases: 607
321 Pike Ave                                      Class                Claim Detail Amount         Final Allowed Amount
Attleboro, MA 02703
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Kathleen C Deates                                 Clm No 170361    Filed In Cases: 607
W4623 Lakeview Ave.                               Class                Claim Detail Amount         Final Allowed Amount
Merrill, WI 54452
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Patricia A DeCesare                               Clm No 170362    Filed In Cases: 607
5906 Viramar Road                                 Class                Claim Detail Amount         Final Allowed Amount
Toledo, OH 43611
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Anthony DeCesco                                   Clm No 170363    Filed In Cases: 607
26215 W. Chicago                                  Class                Claim Detail Amount         Final Allowed Amount
Redford, MI 48239
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                          122 of 3075

Susan DeGhelder                                   Clm No 170364    Filed In Cases: 607
10209 N Spruce Ave                                Class                Claim Detail Amount         Final Allowed Amount
Kansas City, MO 64156
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Lenore Sprague                                    Clm No 170365    Filed In Cases: 607
P.O. Box 761                                      Class                Claim Detail Amount         Final Allowed Amount
Cedarburg, WI 53012
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Sandra Dell'Angelo                                Clm No 170366    Filed In Cases: 607
3439 Sally Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Steger, IL 60475
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                          123 of 3075

Desseree McGhee- DeLoach                          Clm No 170367    Filed In Cases: 607
946 Wahalak Road                                  Class                Claim Detail Amount         Final Allowed Amount
Butler, AL 36904
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Michael Dennen                                    Clm No 170368    Filed In Cases: 607
PO Box 758                                        Class                Claim Detail Amount         Final Allowed Amount
Sagamore, MA 02561
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




George Denney                                     Clm No 170369    Filed In Cases: 607
29761 SW Allen Street                             Class                Claim Detail Amount         Final Allowed Amount
Okeechobee, FL 34974
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                          124 of 3075

Violet "Kathy" Mustain                            Clm No 170370    Filed In Cases: 607
954 South 1100 East                               Class                Claim Detail Amount         Final Allowed Amount
Salt Lake City, UT 84105
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Clarence Deroshia                                 Clm No 170371    Filed In Cases: 607
7535 Little Canada Rd                             Class                Claim Detail Amount         Final Allowed Amount
Cheboygan, MI 49721
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Joan Desrochers                                   Clm No 170372    Filed In Cases: 607
396 Old Stafford Road                             Class                Claim Detail Amount         Final Allowed Amount
Tolland, CT 06084
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Jon P. Desrosiers                                 Clm No 170373    Filed In Cases: 607
PO Box 11172                                      Class                Claim Detail Amount         Final Allowed Amount
Westminster, CA 92685
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Rosa Diaz De Leon                                 Clm No 170374    Filed In Cases: 607
430 San Leandro Dr                                Class                Claim Detail Amount         Final Allowed Amount
Diamond Bar, CA 91765
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Lionel C Jaime                                    Clm No 170375    Filed In Cases: 607
P. O. Box 17581                                   Class                Claim Detail Amount         Final Allowed Amount
San Antonio, TX 78217
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Ashley M. Lockhart                                Clm No 170376    Filed In Cases: 607
283 Dill Loop                                     Class                Claim Detail Amount         Final Allowed Amount
Hamilton, AL 35570
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




David Dioguardi                                   Clm No 170377    Filed In Cases: 607
6S 330 Greenwich Ct.                              Class                Claim Detail Amount         Final Allowed Amount
Naperville, IL 60540
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Maria V. Murillo                                  Clm No 170378    Filed In Cases: 607
PO BOX 2503                                       Class                Claim Detail Amount         Final Allowed Amount
Henderson, TX 75653
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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  Claims Details                                                                                          127 of 3075

Debra Dixon                                       Clm No 170379    Filed In Cases: 607
1706 W. Spicerville Hwy.                          Class                Claim Detail Amount         Final Allowed Amount
Charlotte, MI 48813
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Josephine Dodson                                  Clm No 170380    Filed In Cases: 607
8700 Post Oak Lane                                Class                Claim Detail Amount         Final Allowed Amount
San Antonio, TX 78217
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Diana Dominguez                                   Clm No 170381    Filed In Cases: 607
1847 Honey Springs Rd.                            Class                Claim Detail Amount         Final Allowed Amount
Jamul, CA 91935
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Donald Donahue                                    Clm No 170382    Filed In Cases: 607
1898 Gragg                                        Class                Claim Detail Amount         Final Allowed Amount
Centralia, IL 62801
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Gwendolyn Donahue                                 Clm No 170383    Filed In Cases: 607
3390 Circle S Drive                               Class                Claim Detail Amount         Final Allowed Amount
Idaho Falls, ID 83406
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Kathleen A. Donnell                               Clm No 170384    Filed In Cases: 607
PO Box 386                                        Class                Claim Detail Amount         Final Allowed Amount
Basking Ridge, NJ 07920
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                          129 of 3075

Helen Mary Donnelly                               Clm No 170385    Filed In Cases: 607
303 Carolina Backroad                             Class                Claim Detail Amount         Final Allowed Amount
Charlestown, RI 02813
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Richard Donovan                                   Clm No 170386    Filed In Cases: 607
115 Forest Park Blvd                              Class                Claim Detail Amount         Final Allowed Amount
Janesville, WI 53545
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Bonney Droubay                                    Clm No 170387    Filed In Cases: 607
3875 N. Rowberry Lane                             Class                Claim Detail Amount         Final Allowed Amount
Tooele, UT 84074
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Shelly A. Bracken                                 Clm No 170388    Filed In Cases: 607
4626 Landchester Rd.                              Class                Claim Detail Amount         Final Allowed Amount
Cleveland, OH 44109
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Joyce Duncan                                      Clm No 170389    Filed In Cases: 607
46820 Country Lane                                Class                Claim Detail Amount         Final Allowed Amount
Macolmb, MI 48044
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Mary L. Duncan                                    Clm No 170390    Filed In Cases: 607
3601 King Drive S.W.                              Class                Claim Detail Amount         Final Allowed Amount
Cedar Rapids, IA 52404
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Shirley Dunlap                                    Clm No 170391    Filed In Cases: 607
584 Pleasant Street                               Class                Claim Detail Amount         Final Allowed Amount
Milton, MA 02186
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Mary J Duschen                                    Clm No 170392    Filed In Cases: 607
3175 Pennsylvania Ave.                            Class                Claim Detail Amount         Final Allowed Amount
Dubuque, IA 52001
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Gerald D. Thomassie Jr.                           Clm No 170393    Filed In Cases: 607
319 Leo St.                                       Class                Claim Detail Amount         Final Allowed Amount
Patterson, LA 70392
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                          132 of 3075

Marie Eastman                                     Clm No 170394    Filed In Cases: 607
69 Deacon Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Hollis, NH 03049
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Margaret Ebel                                     Clm No 170395    Filed In Cases: 607
167 Gates Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Jersey City, NJ 07305
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Frankie Bibbins                                   Clm No 170396    Filed In Cases: 607
111 Anglers Way                                   Class                Claim Detail Amount         Final Allowed Amount
Beaufort, NC 28516
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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Randolph Scott Carpenter                          Clm No 170397    Filed In Cases: 607
Major Scott Carpenter                             Class                Claim Detail Amount         Final Allowed Amount
HHC, 3 BSB, APO AE 09016
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Yolanda Edmiston                                  Clm No 170398    Filed In Cases: 607
271 Tinkers Trail                                 Class                Claim Detail Amount         Final Allowed Amount
Aurora, OH 44202
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Lucy Edwards                                      Clm No 170399    Filed In Cases: 607
P.O. Box 211                                      Class                Claim Detail Amount         Final Allowed Amount
Balsam Grove, NC 28708-9688
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




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  Claims Details                                                                                          134 of 3075

Jessica B. Brothers                               Clm No 170400    Filed In Cases: 607
10546 Dragonfly Drive                             Class                Claim Detail Amount         Final Allowed Amount
Nampa, ID 83687
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Maria J. Santiago Efre                            Clm No 170401    Filed In Cases: 607
#290-Urbanizacion Hermanas Davila                 Class                Claim Detail Amount         Final Allowed Amount
Bayamon, 00959
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Donald Eldredge                                   Clm No 170402    Filed In Cases: 607
2534 Norma Street                                 Class                Claim Detail Amount         Final Allowed Amount
Titusville, FL 32780
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




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  Claims Details                                                                                            135 of 3075

Barbara Jean Elkins                                 Clm No 170403    Filed In Cases: 607
4260 SE 20th Place, Unit 305                        Class                Claim Detail Amount         Final Allowed Amount
Cape Corral, FL 33904
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Alan Ellenson                                       Clm No 170404    Filed In Cases: 607
17021 15th St SE                                    Class                Claim Detail Amount         Final Allowed Amount
Gardner, ND 58042
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Julie Tabb                                          Clm No 170405    Filed In Cases: 607
8806 Blooming Grove Drive                           Class                Claim Detail Amount         Final Allowed Amount
Camby, IN 46113
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
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   Claim Face Value            $10,000.00




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Jimmy Ellzey                                      Clm No 170406    Filed In Cases: 607
20 Altamont Dr                                    Class                Claim Detail Amount         Final Allowed Amount
Laurel, MS 39440
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Willie Mae Ely                                    Clm No 170407    Filed In Cases: 607
4110 Old Rockmart Road SE                         Class                Claim Detail Amount         Final Allowed Amount
Silver Creek, GA 30173
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Florence Endrizzi                                 Clm No 170408    Filed In Cases: 607
337 McCoys Creek Circle                           Class                Claim Detail Amount         Final Allowed Amount
Oakboro, NC 28129-9026
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




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Wayne Ensley                                      Clm No 170409    Filed In Cases: 607
11909 River Rock Lane                             Class                Claim Detail Amount         Final Allowed Amount
Caldwell, ID 83607
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Mary Ann Erickson                                 Clm No 170410    Filed In Cases: 607
34 Grand Place                                    Class                Claim Detail Amount         Final Allowed Amount
Newtown, CT 06470
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Harold Erickson                                   Clm No 170411    Filed In Cases: 607
1626 Win-Dale Drive                               Class                Claim Detail Amount         Final Allowed Amount
Racine, WI 53402
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Walice Essavi                                     Clm No 170412    Filed In Cases: 607
3765 Hood Ct                                      Class                Claim Detail Amount         Final Allowed Amount
Turlock, CA 95382
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Robert Evans                                      Clm No 170413    Filed In Cases: 607
6300 Dalebrook Drive                              Class                Claim Detail Amount         Final Allowed Amount
Richmond, VA 23234
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Shirley M. Fabrizi                                Clm No 170414    Filed In Cases: 607
870 Pinellas Bayway South                         Class                Claim Detail Amount         Final Allowed Amount
St. Petersburg, FL 33715
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




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Deborah A. Fagan                                  Clm No 170415    Filed In Cases: 607
P.O. Box 1638                                     Class                Claim Detail Amount         Final Allowed Amount
Hobbs, NM 88241
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Tina Kay Amro                                     Clm No 170416    Filed In Cases: 607
130 Heath St., NW                                 Class                Claim Detail Amount         Final Allowed Amount
Cedar Rapids, IA 52405
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Dale Ann Bose                                     Clm No 170417    Filed In Cases: 607
4430 31st Ave                                     Class                Claim Detail Amount         Final Allowed Amount
Kenosha, WI 53144
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Rachel A. Sipe                                    Clm No 170418    Filed In Cases: 607
12 Coates St.                                     Class                Claim Detail Amount         Final Allowed Amount
Bridgeport, PA 19405
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Jason J. Farley                                   Clm No 170419    Filed In Cases: 607
6214 Halstad Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Lonsdale, MN 55046
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Mitchell James Farrell                            Clm No 170420    Filed In Cases: 607
1739 Billy Casper St.                             Class                Claim Detail Amount         Final Allowed Amount
El Paso, TX 79936
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Sigrid O. Farwell                                 Clm No 170421    Filed In Cases: 607
600 Coffman St                                    Class                Claim Detail Amount         Final Allowed Amount
Longmont, CO 80501
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Randy Gene Federick                               Clm No 170422    Filed In Cases: 607
590 Power Street                                  Class                Claim Detail Amount         Final Allowed Amount
Fowlerville, MI 48836
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Charles Fedrick                                   Clm No 170423    Filed In Cases: 607
1050 Hardesty Blvd                                Class                Claim Detail Amount         Final Allowed Amount
Akron, OH 44320
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Jennifer G. Fehrenbacher                          Clm No 170424    Filed In Cases: 607
181 Hilltop Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Washington, NC 27889
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Gracie L. Felty                                   Clm No 170425    Filed In Cases: 607
4121 Brookhill Drive                              Class                Claim Detail Amount         Final Allowed Amount
Owensborro, KY 42303
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Robert Ferg                                       Clm No 170426    Filed In Cases: 607
2334 Hansen Ave                                   Class                Claim Detail Amount         Final Allowed Amount
Racine, WI 53405
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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Patricia Ferguson                                  Clm No 170427    Filed In Cases: 607
3108 Bayview Dr                                    Class                Claim Detail Amount         Final Allowed Amount
Memphis, TN 38127
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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   Claim Face Value           $10,000.00




Linda Faye Jones                                   Clm No 170428    Filed In Cases: 607
106 Westview Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Excelsior Springs, MO 64024
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Karen G. Wysong                                    Clm No 170429    Filed In Cases: 607
470 Big Stone Road                                 Class                Claim Detail Amount         Final Allowed Amount
Beavercreek, OH 45434
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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Angela Johnson                                    Clm No 170430    Filed In Cases: 607
209 Shapard Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Shelbyville, TN 37160
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Kim A. Beattie                                    Clm No 170431    Filed In Cases: 607
208 W Main St                                     Class                Claim Detail Amount         Final Allowed Amount
West Branch, IA 52358
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Larry Fitzgerald                                  Clm No 170432    Filed In Cases: 607
4006 Donair Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Sandusky, OH 44870
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Lois Florence                                     Clm No 170433    Filed In Cases: 607
4034 Bahama Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Corpus Christi, TX 78411
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Martha A. Flower                                  Clm No 170434    Filed In Cases: 607
5861 County Road 13                               Class                Claim Detail Amount         Final Allowed Amount
Bryan, OH 43506
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Kelly Ritter                                      Clm No 170435    Filed In Cases: 607
844 East Woodside Drive                           Class                Claim Detail Amount         Final Allowed Amount
Griffith, IN 46319
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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David Flynn                                       Clm No 170436    Filed In Cases: 607
1711 Candlewood Lane                              Class                Claim Detail Amount         Final Allowed Amount
New Bern, NC 28562
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




David A. Meredith                                 Clm No 170437    Filed In Cases: 607
114 Kelsey Way                                    Class                Claim Detail Amount         Final Allowed Amount
Fincastle, VA 24090
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Doris Janette Foley                               Clm No 170438    Filed In Cases: 607
580 Guinevere Court                               Class                Claim Detail Amount         Final Allowed Amount
McDonough, GA 30252
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Jimmy Forcum                                      Clm No 170439    Filed In Cases: 607
107 Cambridge Street                              Class                Claim Detail Amount         Final Allowed Amount
Carl Junction, MO 64834
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Donald Robert Forest                              Clm No 170440    Filed In Cases: 607
158 CH. Belette                                   Class                Claim Detail Amount         Final Allowed Amount
Orford, Quebec J1X6X7
                                                  UNS                          $10,000.00
Canada
                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Daniel R. Fowler                                  Clm No 170441    Filed In Cases: 607
PO Box 282                                        Class                Claim Detail Amount         Final Allowed Amount
Tacoma, WA 98401-0282
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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William E. Freese                                 Clm No 170442    Filed In Cases: 607
11137 Main Street                                 Class                Claim Detail Amount         Final Allowed Amount
Sharonville, OH 45241
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Elizabeth A. Hanke                                Clm No 170443    Filed In Cases: 607
4041 160th Lane NW                                Class                Claim Detail Amount         Final Allowed Amount
Andover, MN 55304
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Maria "Nikki" N. Pethtel                          Clm No 170444    Filed In Cases: 607
26085 W. Sequoia Dr.                              Class                Claim Detail Amount         Final Allowed Amount
Buckeye, AZ 85396
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




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Martha Frye                                       Clm No 170445    Filed In Cases: 607
157 Mesa Raven Dr                                 Class                Claim Detail Amount         Final Allowed Amount
Longs, SC 29568-7552
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Juanita Fuentez                                   Clm No 170446    Filed In Cases: 607
1015 Rice Dr                                      Class                Claim Detail Amount         Final Allowed Amount
Colorado Springs, CO 80905
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Clifford Fulton                                   Clm No 170447    Filed In Cases: 607
1545 Rice Ave                                     Class                Claim Detail Amount         Final Allowed Amount
Lima, OH 45805
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                          150 of 3075

Shannon Bullock                                   Clm No 170448    Filed In Cases: 607
8773 Lariat Circle                                Class                Claim Detail Amount         Final Allowed Amount
Fort Worth, TX 76244
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Jeri L. Ganz                                      Clm No 170449    Filed In Cases: 607
15504 Logarto Lane                                Class                Claim Detail Amount         Final Allowed Amount
Burnsville, MN 55306
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Mary Ann Garden                                   Clm No 170450    Filed In Cases: 607
11412 W Sheriac St                                Class                Claim Detail Amount         Final Allowed Amount
Wichita, KS 67209-4096
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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Emory E. Gargon III                               Clm No 170451    Filed In Cases: 607
6509 Apple Blossom Ride                           Class                Claim Detail Amount         Final Allowed Amount
Columbia, MD 21044
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Sharon Gaston                                     Clm No 170452    Filed In Cases: 607
191 East Lakeland Way                             Class                Claim Detail Amount         Final Allowed Amount
Allyn, WA 98524
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Telesfor (Zeke) Gaunt Jr                          Clm No 170453    Filed In Cases: 607
180 Hammer Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Johnstown, PA 15905
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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  Claims Details                                                                                          152 of 3075

Bonnie Gilbert                                    Clm No 170454    Filed In Cases: 607
208 W. Valleybrook Drive                          Class                Claim Detail Amount         Final Allowed Amount
Califon, NJ 07830
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Arthur J. Gerczak                                 Clm No 170455    Filed In Cases: 607
19903 Ransten                                     Class                Claim Detail Amount         Final Allowed Amount
Spring, TX 77379
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Glenn Germaine                                    Clm No 170456    Filed In Cases: 607
264 Woodland Ridge Drive                          Class                Claim Detail Amount         Final Allowed Amount
Highlands, NC 28741
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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Lizabeth L. Gianas                                Clm No 170457    Filed In Cases: 607
119 Hillview Drive                                Class                Claim Detail Amount         Final Allowed Amount
Joplin, MO 64804
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Barbara Giangrande                                Clm No 170458    Filed In Cases: 607
237 Collignon Way 2A                              Class                Claim Detail Amount         Final Allowed Amount
Rivervale, NJ 07675
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Violet Gibbs                                      Clm No 170459    Filed In Cases: 607
3625 Unit C Strawberry Fields Grove               Class                Claim Detail Amount         Final Allowed Amount
Colorado Springs, CO 80906
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                          154 of 3075

Thomas Gibson                                     Clm No 170460    Filed In Cases: 607
179 Cedar St.                                     Class                Claim Detail Amount         Final Allowed Amount
White Bear Lake, MN 55110
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Lorraine A. Giese                                 Clm No 170461    Filed In Cases: 607
8198 S. Yukon St.                                 Class                Claim Detail Amount         Final Allowed Amount
Littleton, CO 80128
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Allan E. Gillespie                                Clm No 170462    Filed In Cases: 607
348 Harper Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Danville, CA 94526
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value         $10,000.00




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  Claims Details                                                                                          155 of 3075

James B. Gilliam                                  Clm No 170463    Filed In Cases: 607
3720 Bunker Hill Road                             Class                Claim Detail Amount         Final Allowed Amount
Cookeville, TN 38506
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Rodney L. Gilmer                                  Clm No 170464    Filed In Cases: 607
28 Cody Drive                                     Class                Claim Detail Amount         Final Allowed Amount
Honea Path, SC 29654
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Francis Giovanangelo                              Clm No 170465    Filed In Cases: 607
248 Albion Street Apt 248                         Class                Claim Detail Amount         Final Allowed Amount
Wakefield, MA 01880
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




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  Claims Details                                                                                          156 of 3075

Paul Glantz                                       Clm No 170466    Filed In Cases: 607
2 Westwoods Road                                  Class                Claim Detail Amount         Final Allowed Amount
Great Neck, NY 11020
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




William Gliwa                                     Clm No 170467    Filed In Cases: 607
1220 Campanile Rd                                 Class                Claim Detail Amount         Final Allowed Amount
Waterloo, NE 68069-6614
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Jennifer Killets                                  Clm No 170468    Filed In Cases: 607
3327 Blackman Road                                Class                Claim Detail Amount         Final Allowed Amount
Murfreesboro, TN 37129
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                          157 of 3075

Luz Gomez                                         Clm No 170469    Filed In Cases: 607
2206 Blueberry Lane                               Class                Claim Detail Amount         Final Allowed Amount
Pasadena, TX 77502
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Aida Perez                                        Clm No 170470    Filed In Cases: 607
5 Parcelas Loarte                                 Class                Claim Detail Amount         Final Allowed Amount
Barceloneta, PR 00617-2918
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Sharon Scanlon                                    Clm No 170471    Filed In Cases: 607
P. O. Box 745502                                  Class                Claim Detail Amount         Final Allowed Amount
Arvada, CO 80006
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




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William Lee Graham                                Clm No 170472    Filed In Cases: 607
958 Robertson Church Rd                           Class                Claim Detail Amount         Final Allowed Amount
Dublin, GA 31021
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Debra Grant                                       Clm No 170473    Filed In Cases: 607
2211 Redwood St Apt 223                           Class                Claim Detail Amount         Final Allowed Amount
Vallejo, CA 94590
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Bonny I Falany                                    Clm No 170474    Filed In Cases: 607
14787 E. Temple Dr.                               Class                Claim Detail Amount         Final Allowed Amount
Aurora, CO 80015
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Donnie H. Holder                                  Clm No 170475    Filed In Cases: 607
209 Meadow Woods Dr.                              Class                Claim Detail Amount         Final Allowed Amount
Kyle, TX 78640
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Lawrence Gray                                     Clm No 170476    Filed In Cases: 607
5911 Toebbe Ln                                    Class                Claim Detail Amount         Final Allowed Amount
Louisville, KY 40229-1364
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Schelle Gray                                      Clm No 170477    Filed In Cases: 607
PO Box 653                                        Class                Claim Detail Amount         Final Allowed Amount
Somerville, NJ 08876
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




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Barbara Green                                     Clm No 170478    Filed In Cases: 607
2200 Dilloway Drive                               Class                Claim Detail Amount         Final Allowed Amount
Midland, MI 48640
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Darla Green                                       Clm No 170479    Filed In Cases: 607
14128 Duck Creek Rd                               Class                Claim Detail Amount         Final Allowed Amount
Salem, OH 44460-9600
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Maria Thelma Green                                Clm No 170480    Filed In Cases: 607
233 Riverside Dr.                                 Class                Claim Detail Amount         Final Allowed Amount
Uvalde, TX 78801
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Renee C. Cuevas                                    Clm No 170481    Filed In Cases: 607
1323 Puls Street                                   Class                Claim Detail Amount         Final Allowed Amount
Oceanside, CA 92058
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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   Claim Face Value           $10,000.00




Barbara C. Grein                                   Clm No 170482    Filed In Cases: 607
1739 Village Townhome Drive                        Class                Claim Detail Amount         Final Allowed Amount
Pasadena, TX 77504
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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   Claim Face Value           $10,000.00




Shelvia Jo Ross                                    Clm No 170483    Filed In Cases: 607
P.O. Box 55                                        Class                Claim Detail Amount         Final Allowed Amount
Parkdale, AR 71661
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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Edward Grimm                                      Clm No 170484    Filed In Cases: 607
723 Carnegie Drive                                Class                Claim Detail Amount         Final Allowed Amount
Inverness, FL 34450
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Joyce Grisham                                     Clm No 170485    Filed In Cases: 607
752 Logans Way                                    Class                Claim Detail Amount         Final Allowed Amount
Blanco, TX 78606
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Richard Gula                                      Clm No 170486    Filed In Cases: 607
728 Main Street                                   Class                Claim Detail Amount         Final Allowed Amount
Acushnet, MA 02743
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Cleta Haas                                        Clm No 170487    Filed In Cases: 607
1335 Cedarcliff Drive                             Class                Claim Detail Amount         Final Allowed Amount
Beavercreek, OH 45434
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Ilene Janice Hagen                                Clm No 170488    Filed In Cases: 607
947 Highway 14                                    Class                Claim Detail Amount         Final Allowed Amount
Knoxville, IA 50138
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Stanley Haggard                                   Clm No 170489    Filed In Cases: 607
Route 2, Box 1553                                 Class                Claim Detail Amount         Final Allowed Amount
Checotah, OK 74426
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Michelle Swogger                                  Clm No 170490    Filed In Cases: 607
958 Crown Street                                  Class                Claim Detail Amount         Final Allowed Amount
Sebastian, FL 32958
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Tujuanna Brown                                    Clm No 170491    Filed In Cases: 607
36 Old Griffin Road                               Class                Claim Detail Amount         Final Allowed Amount
Hampton, GA 30228
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Debra LeTourneau                                  Clm No 170492    Filed In Cases: 607
16641 437th Ave                                   Class                Claim Detail Amount         Final Allowed Amount
Henry, SD 57243
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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  Claims Details                                                                                          165 of 3075

Catherine Squashingroff                           Clm No 170493    Filed In Cases: 607
2169 W Volunteer Way                              Class                Claim Detail Amount         Final Allowed Amount
Springfield, MO 65803
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Joanne Halverson                                  Clm No 170494    Filed In Cases: 607
16508 State Hwy 27                                Class                Claim Detail Amount         Final Allowed Amount
Ferryville, WI 54628
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Harold Hamans                                     Clm No 170495    Filed In Cases: 607
73 Barrystone Rd                                  Class                Claim Detail Amount         Final Allowed Amount
Juliette, GA 31046
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                          166 of 3075

Wanda Katherine Hamby                             Clm No 170496    Filed In Cases: 607
6547 W 35th St                                    Class                Claim Detail Amount         Final Allowed Amount
Tulsa, OK 74107
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Vicki Hamlett                                     Clm No 170497    Filed In Cases: 607
5313 Doral Circle                                 Class                Claim Detail Amount         Final Allowed Amount
Plano, TX 75093
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Kevin Lee Hammer                                  Clm No 170498    Filed In Cases: 607
255 R. Tooley Road                                Class                Claim Detail Amount         Final Allowed Amount
Tompkinsville, KY 42167
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Lisa Bennett                                      Clm No 170499    Filed In Cases: 607
6709 West Point Dr                                Class                Claim Detail Amount         Final Allowed Amount
Hixon, TN 37343
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Mary A Hanlin                                     Clm No 170500    Filed In Cases: 607
506 S. Elm St.                                    Class                Claim Detail Amount         Final Allowed Amount
Elmwood, IL 61529
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Huda Hanna                                        Clm No 170501    Filed In Cases: 607
27831 Perth Street                                Class                Claim Detail Amount         Final Allowed Amount
Livonia, MI 48154
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Robert Hanscom                                    Clm No 170502    Filed In Cases: 607
12941 Johnson Street N                            Class                Claim Detail Amount         Final Allowed Amount
Blaine, MN 55434
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Frances H Hansen                                  Clm No 170503    Filed In Cases: 607
P.O. Box 3603                                     Class                Claim Detail Amount         Final Allowed Amount
Arlington, WA 98223
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Howard Hansen                                     Clm No 170504    Filed In Cases: 607
1809 5th St                                       Class                Claim Detail Amount         Final Allowed Amount
Marysville, WA 98270
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Marvin H. Harden                                  Clm No 170505    Filed In Cases: 607
11504 Mary Catherine Court                        Class                Claim Detail Amount         Final Allowed Amount
Clinton, MD 20735
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Mary Harris                                       Clm No 170506    Filed In Cases: 607
218 Old Sharon Road                               Class                Claim Detail Amount         Final Allowed Amount
Mercer, PA 16137
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Patricia L. Harris                                Clm No 170507    Filed In Cases: 607
4332 Brookridge Rd                                Class                Claim Detail Amount         Final Allowed Amount
Roanoke, VA 24014
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




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Renay E. Harvey                                      Clm No 170508    Filed In Cases: 607
9631 W. Coco Circle, Unit 107                        Class                Claim Detail Amount         Final Allowed Amount
LIttleton, CO 80128
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   5-Oct-2015
   Bar Date
   Claim Face Value             $10,000.00




James Allan Young                                    Clm No 170509    Filed In Cases: 607
369 N. 800 E.                                        Class                Claim Detail Amount         Final Allowed Amount
Payson, UT 84651
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   5-Oct-2015
   Bar Date
   Claim Face Value             $10,000.00




Allen Watts                                          Clm No 170510    Filed In Cases: 607
7320 Brenda Way                                      Class                Claim Detail Amount         Final Allowed Amount
Rohnert Park, CA 94928
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


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Dennis Hayden                                     Clm No 170511    Filed In Cases: 607
3615 Nottingham Dr NW                             Class                Claim Detail Amount         Final Allowed Amount
Rochester, MN 55901
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Ronald J. Hays                                    Clm No 170512    Filed In Cases: 607
2317 Primrose St                                  Class                Claim Detail Amount         Final Allowed Amount
Pittsburgh, PA 15203
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




James W. Helman                                   Clm No 170513    Filed In Cases: 607
32177 Burnt Timber Trail                          Class                Claim Detail Amount         Final Allowed Amount
North Ridgeville, OH 44039
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value          $10,000.00




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Theresa M. Hendricks                              Clm No 170514    Filed In Cases: 607
710 South Hanley Road 12B                         Class                Claim Detail Amount         Final Allowed Amount
Clayton, MO 63105
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Brenda Hendrix                                    Clm No 170515    Filed In Cases: 607
5 Concord Drive                                   Class                Claim Detail Amount         Final Allowed Amount
White Hall, AR 71062
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Robert Henke                                      Clm No 170516    Filed In Cases: 607
14729 Springwood Drive                            Class                Claim Detail Amount         Final Allowed Amount
Baxter, MN 56425
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Kathy Hensley                                     Clm No 170517    Filed In Cases: 607
2208 Delcy Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Rockford, IL 61107
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




David Hernandez                                   Clm No 170518    Filed In Cases: 607
5507 East Farmdale                                Class                Claim Detail Amount         Final Allowed Amount
Mesa, AZ 85206
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Andrew Hetzel                                     Clm No 170519    Filed In Cases: 607
311 E Chicago St Ste 410                          Class                Claim Detail Amount         Final Allowed Amount
Milwaukee, WI 53202-5896
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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David A. Heyerly                                  Clm No 170520    Filed In Cases: 607
507 Marshall St.                                  Class                Claim Detail Amount         Final Allowed Amount
Decatur, IN 46733
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Craig Hirsh                                       Clm No 170521    Filed In Cases: 607
7031 Broken Oak Drive                             Class                Claim Detail Amount         Final Allowed Amount
St. Louis, MO 63129
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Curt Blois                                        Clm No 170522    Filed In Cases: 607
6505 Zenobia Street                               Class                Claim Detail Amount         Final Allowed Amount
Arvada, CO 80003
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Lillian Holloman                                  Clm No 170523    Filed In Cases: 607
12207 Sutton Estates Dr.                          Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32223
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Sherri Holm                                       Clm No 170524    Filed In Cases: 607
12813 N 39th Drive                                Class                Claim Detail Amount         Final Allowed Amount
Phoenix, AZ 85029
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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Sharon Homeier                                    Clm No 170525    Filed In Cases: 607
307 Langford                                      Class                Claim Detail Amount         Final Allowed Amount
Kenyon, MN 55946
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Felisitas Hooper                                  Clm No 170526    Filed In Cases: 607
2622 Monroe Street                                Class                Claim Detail Amount         Final Allowed Amount
Omaha, NE 68107
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Ginger Horton                                     Clm No 170527    Filed In Cases: 607
61 Echo Hills Dr                                  Class                Claim Detail Amount         Final Allowed Amount
Fairview, NC 28730-
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Margaret Hosfield                                 Clm No 170528    Filed In Cases: 607
158 Old Clairton Rd.                              Class                Claim Detail Amount         Final Allowed Amount
Pleasant Hills, PA 15236
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Doris J. Spinillo                                 Clm No 170529    Filed In Cases: 607
1192 Parkview Road                                Class                Claim Detail Amount         Final Allowed Amount
Galesburg, IL 61401
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Evelyn L. Howland                                 Clm No 170530    Filed In Cases: 607
176 Red Bud Dr.                                   Class                Claim Detail Amount         Final Allowed Amount
Wood River, IL 62095
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Angela M Keil                                     Clm No 170531    Filed In Cases: 607
210 Blossom Terrace                               Class                Claim Detail Amount         Final Allowed Amount
Washington, IL 61571
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Linda L. Meier                                    Clm No 170532    Filed In Cases: 607
1813 Meadow Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Pekin, IL 61554
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




MaryEllen Hubbard                                 Clm No 170533    Filed In Cases: 607
593 Wards Corner Rd.                              Class                Claim Detail Amount         Final Allowed Amount
Loveland, OH 45140
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Maria Ann Huckabee                                Clm No 170534    Filed In Cases: 607
5281 Angelus Rd.                                  Class                Claim Detail Amount         Final Allowed Amount
Ruby, SC 29741
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Donald Hudson                                     Clm No 170535    Filed In Cases: 607
P.O. Box 59                                       Class                Claim Detail Amount         Final Allowed Amount
Foley, MO 63347
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Debra S. Huffman                                  Clm No 170536    Filed In Cases: 607
279 Mystic Court                                  Class                Claim Detail Amount         Final Allowed Amount
Chesnee, SC 29323
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Deborah Bogner                                    Clm No 170537    Filed In Cases: 607
29290 River Road                                  Class                Claim Detail Amount         Final Allowed Amount
Cloverdale, CA 95425
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Mary Ann Praweckyj                                Clm No 170538    Filed In Cases: 607
308 Amelia Street                                 Class                Claim Detail Amount         Final Allowed Amount
Montclare, PA 19453
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value       $10,000.00




Georgia Hunter                                    Clm No 170539    Filed In Cases: 607
P. O. Box 115                                     Class                Claim Detail Amount         Final Allowed Amount
Fontana Dam, NC 28733
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Danny Huskey                                      Clm No 170540    Filed In Cases: 607
8688 Brenda Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Harrison, TN 37341
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                          181 of 3075

Donna Jean Hyames                                 Clm No 170541    Filed In Cases: 607
N7260 County Rd B                                 Class                Claim Detail Amount         Final Allowed Amount
Westfield, WI 53964
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Rupert Iaukea                                     Clm No 170542    Filed In Cases: 607
181 Northeast Villas Court                        Class                Claim Detail Amount         Final Allowed Amount
Tallahassee, FL 32303
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Ricky Icenogle                                    Clm No 170543    Filed In Cases: 607
5147 Dekalb Way                                   Class                Claim Detail Amount         Final Allowed Amount
Stone Mountain, GA 30087
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




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Robert Inks                                       Clm No 170544    Filed In Cases: 607
3625 Kipling Dr                                   Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32808-7413
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




John Isaac                                        Clm No 170545    Filed In Cases: 607
627 Beachfront Drive                              Class                Claim Detail Amount         Final Allowed Amount
Evansville, IN 47715
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Deborah Winters                                   Clm No 170546    Filed In Cases: 607
1748 Grandview Drive                              Class                Claim Detail Amount         Final Allowed Amount
Rochester Hills, MI 48306
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




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  Claims Details                                                                                          183 of 3075

Matthew Ivicic                                    Clm No 170547    Filed In Cases: 607
148 Forge Rd                                      Class                Claim Detail Amount         Final Allowed Amount
Bellefonte, PA 16823-8678
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Beverly Ivins                                     Clm No 170548    Filed In Cases: 607
512 Knob Hill Dr NW                               Class                Claim Detail Amount         Final Allowed Amount
Cleveland, TN 37312
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Carol Owen-Jabs                                   Clm No 170549    Filed In Cases: 607
P.O. Box 92                                       Class                Claim Detail Amount         Final Allowed Amount
Willows, CA 95988
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




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Sherry L. Eaton                                   Clm No 170550    Filed In Cases: 607
14025 W. Austrian Court                           Class                Claim Detail Amount         Final Allowed Amount
Homer Glen, IL 60491
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Mary B. Jacobs                                    Clm No 170551    Filed In Cases: 607
62 West Street                                    Class                Claim Detail Amount         Final Allowed Amount
Shelby, OH 44875
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Leon Jacobs                                       Clm No 170552    Filed In Cases: 607
1300 Kevin Way                                    Class                Claim Detail Amount         Final Allowed Amount
Turlock, CA 95382-1345
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Linda James                                       Clm No 170553    Filed In Cases: 607
5800 Pratt Rd                                     Class                Claim Detail Amount         Final Allowed Amount
College Station, TX 77845
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Randall E Jameyson                                Clm No 170554    Filed In Cases: 607
20808 State Route 511                             Class                Claim Detail Amount         Final Allowed Amount
Wellington, OH 44090
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Harley Janssen                                    Clm No 170555    Filed In Cases: 607
4008 West 14th Place                              Class                Claim Detail Amount         Final Allowed Amount
Yuma, AZ 85364
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




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Carol M Jaso                                       Clm No 170556    Filed In Cases: 607
41512 Walnut Ave.                                  Class                Claim Detail Amount         Final Allowed Amount
Long Beach, CA 90807
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Marjorie Jazuk                                     Clm No 170557    Filed In Cases: 607
1060 East Point Wilson Road                        Class                Claim Detail Amount         Final Allowed Amount
Shelton, WA 98584
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Donald C. Jenkins Jr                               Clm No 170558    Filed In Cases: 607
401 Washington                                     Class                Claim Detail Amount         Final Allowed Amount
McGregor, TX 76657
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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   Claim Face Value           $10,000.00




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Taylor Jenkins                                    Clm No 170559    Filed In Cases: 607
824 West Florida Avenue                           Class                Claim Detail Amount         Final Allowed Amount
Nampa, ID 83686
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Darla Jennings                                    Clm No 170560    Filed In Cases: 607
546 6th Avenue South                              Class                Claim Detail Amount         Final Allowed Amount
Clinton, IA 52732
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Delores (Dee) Jerrell                             Clm No 170561    Filed In Cases: 607
9 Dunbarton Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Bella Vista, AR 72715
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Faviola Isabel Alaniz                             Clm No 170562    Filed In Cases: 607
2110 N Raayburn Ct.                               Class                Claim Detail Amount         Final Allowed Amount
Pasadena, TX 77502
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Ida Deloris Johnson                               Clm No 170563    Filed In Cases: 607
512 Finley Street                                 Class                Claim Detail Amount         Final Allowed Amount
Durham, NC 27705
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Jenella Tweedy                                    Clm No 170564    Filed In Cases: 607
202 Spruce Street                                 Class                Claim Detail Amount         Final Allowed Amount
Montrose, IA 52639
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value       $10,000.00




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Antonette Johnson                                 Clm No 170565    Filed In Cases: 607
PO Box 542                                        Class                Claim Detail Amount         Final Allowed Amount
Elgin, OR 97827
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Lee Johnson                                       Clm No 170566    Filed In Cases: 607
2490 60th St. NW                                  Class                Claim Detail Amount         Final Allowed Amount
Willmar, MN 56201
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Carl Eugene Johnson                               Clm No 170567    Filed In Cases: 607
5012 Pond Road                                    Class                Claim Detail Amount         Final Allowed Amount
Cloverdale, IN 46120
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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  Claims Details                                                                                          190 of 3075

Frederick Johnson                                 Clm No 170568    Filed In Cases: 607
2734A N. 50th Street                              Class                Claim Detail Amount         Final Allowed Amount
Milwaukee, WI 53210
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Ronald Johnson                                    Clm No 170569    Filed In Cases: 607
10715 Central Park Avenue                         Class                Claim Detail Amount         Final Allowed Amount
New Port Richey, FL 34655
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




William Johnson                                   Clm No 170570    Filed In Cases: 607
412 Main St.                                      Class                Claim Detail Amount         Final Allowed Amount
Dorchester, NJ 08316
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Lula M. Joiner                                        Clm No 170571   Filed In Cases: 607
P.O. Box 207                                          Class               Claim Detail Amount         Final Allowed Amount
Montrose, AL 36559
                                                      UNS                         $10,000.00

                                                                                  $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Catholic Family Services for the Estate of Anthony    Clm No 170572   Filed In Cases: 607
Jonas
915 Columbus                                          Class               Claim Detail Amount         Final Allowed Amount
Bay City, MI 48708
                                                      UNS                         $10,000.00

                                                                                  $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Sherman Jones                                         Clm No 170573   Filed In Cases: 607
145 Maryland Drive                                    Class               Claim Detail Amount         Final Allowed Amount
O'Fallon, MO 63366
                                                      UNS                         $10,000.00

                                                                                  $10,000.00


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Susan Jozwicki                                    Clm No 170574    Filed In Cases: 607
W136S6953 Hale Park Dr                            Class                Claim Detail Amount         Final Allowed Amount
Muskego, WI 53150-3245
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Marilyn J. Judson                                 Clm No 170575    Filed In Cases: 607
4983 W River Chase Road                           Class                Claim Detail Amount         Final Allowed Amount
Herriman, UT 84096
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Johannes Kajan                                    Clm No 170576    Filed In Cases: 607
35 West 205 Crescent Drive                        Class                Claim Detail Amount         Final Allowed Amount
West Dundee, IL 60118
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Elizabeth Kamuf                                   Clm No 170577    Filed In Cases: 607
10107 Timberwood Circle                           Class                Claim Detail Amount         Final Allowed Amount
Louisville, KY 40223
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Lee E. Kantor                                     Clm No 170578    Filed In Cases: 607
14075 Goldeneye Ct.                               Class                Claim Detail Amount         Final Allowed Amount
Rogers, MN 55374
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Mary Klekotka                                     Clm No 170579    Filed In Cases: 607
3621 Brown Road                                   Class                Claim Detail Amount         Final Allowed Amount
Boyne Falls, MI 49713
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Robert Keisker                                    Clm No 170580    Filed In Cases: 607
6525 Antire Road                                  Class                Claim Detail Amount         Final Allowed Amount
High Ridge, MO 63049
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Margie Keller                                     Clm No 170581    Filed In Cases: 607
105 Red Oak Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Boerne, TX 78006
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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Barbara H. Kelp                                   Clm No 170582    Filed In Cases: 607
243 Tuck-A-Way Ridge Dr.                          Class                Claim Detail Amount         Final Allowed Amount
Nashville, IN 47448
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Anna Marie Kendall                                Clm No 170583    Filed In Cases: 607
503 Cleveland St.                                 Class                Claim Detail Amount         Final Allowed Amount
Tipton, IN 46072
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Harold Victor Kennedy                             Clm No 170584    Filed In Cases: 607
1003 N. Kirby Street                              Class                Claim Detail Amount         Final Allowed Amount
Gilbert, AZ 85234
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Sandra Kennedy                                    Clm No 170585    Filed In Cases: 607
307 E Bougainvillea Rd                            Class                Claim Detail Amount         Final Allowed Amount
Lehigh Acres, FL 33936
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Bonnie V. Kessler                                 Clm No 170586    Filed In Cases: 607
PO Box 7                                          Class                Claim Detail Amount         Final Allowed Amount
Amberson, PA 17210
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Carla Kimball                                     Clm No 170587    Filed In Cases: 607
1320 Hidden Springs Lane                          Class                Claim Detail Amount         Final Allowed Amount
Two Harbors, MN 55616
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Darell W. Kingsnorth                              Clm No 170588    Filed In Cases: 607
P.O. Box 96                                       Class                Claim Detail Amount         Final Allowed Amount
Esmond, IL 60129
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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Randy S. Kircher                                  Clm No 170589    Filed In Cases: 607
N1986 Beechnut Drive                              Class                Claim Detail Amount         Final Allowed Amount
Campbellsport, WI 53010
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Kristina Parent                                   Clm No 170590    Filed In Cases: 607
W3079 Old 16 Road                                 Class                Claim Detail Amount         Final Allowed Amount
Salem, WI 54669
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Kevin Klapka                                      Clm No 170591    Filed In Cases: 607
4830 Wilson Road, Ste. 300                        Class                Claim Detail Amount         Final Allowed Amount
Humble, TX 77396
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




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Susan Klune-Goddard                               Clm No 170592    Filed In Cases: 607
115 Ammons Street                                 Class                Claim Detail Amount         Final Allowed Amount
Lakewood, CO 80226
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Andrew Knapp                                      Clm No 170593    Filed In Cases: 607
119 Budlong Street                                Class                Claim Detail Amount         Final Allowed Amount
Hillsdale, MI 49242
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




David Knight                                      Clm No 170594    Filed In Cases: 607
458 Ashville Rd                                   Class                Claim Detail Amount         Final Allowed Amount
Oxford, PA 19363-2313
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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LaDonna L. Hayes                                  Clm No 170595    Filed In Cases: 607
10972 North 1940                                  Class                Claim Detail Amount         Final Allowed Amount
Elk City, OK 73644
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Joseph Kolbert                                    Clm No 170596    Filed In Cases: 607
8049 Villa Rosarito St                            Class                Claim Detail Amount         Final Allowed Amount
Las Vegas, NV 89131
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Otis Kortz                                        Clm No 170597    Filed In Cases: 607
6673 Dyer Rd SW                                   Class                Claim Detail Amount         Final Allowed Amount
South Boardman, MI 49680-9406
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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Dolores L. Kountz                                 Clm No 170598    Filed In Cases: 607
6325 Tara Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Poland, OH 44514
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Janet L Kramer                                    Clm No 170599    Filed In Cases: 607
6914 E Diamond Street                             Class                Claim Detail Amount         Final Allowed Amount
Scottsdale, AZ 85257
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




William Kranstuber                                Clm No 170600    Filed In Cases: 607
7432 Millrace Ln                                  Class                Claim Detail Amount         Final Allowed Amount
Northfield, OH 44067
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Carl Kreifels                                     Clm No 170601    Filed In Cases: 607
2451 Kipling St                                   Class                Claim Detail Amount         Final Allowed Amount
Lakewood, CO 80215
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Mark Kreikemeier                                  Clm No 170602    Filed In Cases: 607
191 Hwy 30                                        Class                Claim Detail Amount         Final Allowed Amount
North Bend, NE 68649
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Connie J. Kroells                                 Clm No 170603    Filed In Cases: 607
1313 Oriole Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Waconia, MN 55387
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Patricia Marie Kroll                              Clm No 170604    Filed In Cases: 607
3023 175th Street                                 Class                Claim Detail Amount         Final Allowed Amount
Charlotte, IA 52731
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Merry Kruschke                                    Clm No 170605    Filed In Cases: 607
1757 N Kedzie Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Chicago, IL 60647
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




John Ksioszk                                      Clm No 170606    Filed In Cases: 607
S74 W24595 Windsor Court                          Class                Claim Detail Amount         Final Allowed Amount
Waukesha, WI 53189
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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Kevin Kumpf                                       Clm No 170607    Filed In Cases: 607
4818 Echovalley St. NW                            Class                Claim Detail Amount         Final Allowed Amount
North Canton, OH 44720
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Lance S. Kuntzman                                 Clm No 170608    Filed In Cases: 607
348 Bishop Terrace                                Class                Claim Detail Amount         Final Allowed Amount
Hyannis, MA 02601
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Andrea Oswald                                     Clm No 170609    Filed In Cases: 607
14075 Cherryhill Dr.                              Class                Claim Detail Amount         Final Allowed Amount
Beaverton, OR 97008
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value       $10,000.00




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Karen Lacy                                            Clm No 170610    Filed In Cases: 607
213 Mimosa St                                         Class                Claim Detail Amount         Final Allowed Amount
Branson, MO 65616
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    5-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




Cynthia A. Hopkins                                    Clm No 170611    Filed In Cases: 607
1108 Horseshoe Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Pueblo, CO 81001
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    5-Oct-2015
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   Claim Face Value              $10,000.00




Deborah Ladig                                         Clm No 170612    Filed In Cases: 607
11710 Southlake Drive, Unit 49                        Class                Claim Detail Amount         Final Allowed Amount
Houston, TX 77077
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    5-Oct-2015
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   Claim Face Value              $10,000.00




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Shane T. Feller                                   Clm No 170613    Filed In Cases: 607
2470 Pinto Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Norco, CA 92860-2720
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Marlene P Lambert                                 Clm No 170614    Filed In Cases: 607
10924 Central Park Ave.                           Class                Claim Detail Amount         Final Allowed Amount
New Port Richey, FL 34655
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Aaron Lambert                                     Clm No 170615    Filed In Cases: 607
589 Lambert Road                                  Class                Claim Detail Amount         Final Allowed Amount
Conway, SC 29526
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




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Randy L. Lamb                                     Clm No 170616    Filed In Cases: 607
5414 Potter Rd.                                   Class                Claim Detail Amount         Final Allowed Amount
Burton, MI 48509
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Davis Lane                                        Clm No 170617    Filed In Cases: 607
10700 Fondren Rd                                  Class                Claim Detail Amount         Final Allowed Amount
Houston, TX 77096
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Ernest Langbein                                   Clm No 170618    Filed In Cases: 607
5 Cleveland Ave                                   Class                Claim Detail Amount         Final Allowed Amount
Buckhannon, WV 26201
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Roger Paradis                                      Clm No 170619    Filed In Cases: 607
8A Howland St.                                     Class                Claim Detail Amount         Final Allowed Amount
Plymouth, MA 02360
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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   Claim Face Value           $10,000.00




Connie Lathouwers                                  Clm No 170620    Filed In Cases: 607
740 Rustic Ranch Lane                              Class                Claim Detail Amount         Final Allowed Amount
Lincoln, CA 95648
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Terry Latunski                                     Clm No 170621    Filed In Cases: 607
419 N. Division Ave, Unit B                        Class                Claim Detail Amount         Final Allowed Amount
Madison, SD 57042
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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   Claim Face Value           $10,000.00




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Doris Lawrance                                    Clm No 170622    Filed In Cases: 607
1195 Cadet Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Kalamazoo, MI 49009
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




George Lawrence                                   Clm No 170623    Filed In Cases: 607
246 Prairietown Road                              Class                Claim Detail Amount         Final Allowed Amount
Dorsey, IL 62021
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Warren Lawrence                                   Clm No 170624    Filed In Cases: 607
15740 Poplar Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Vicksburg, MI 49097
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Neil Le Sage                                       Clm No 170625    Filed In Cases: 607
945 North Pasadena Unit 115                        Class                Claim Detail Amount         Final Allowed Amount
Mesa, AZ 852014316
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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Patricia Nolan                                     Clm No 170626    Filed In Cases: 607
3508 Casanova Dr.                                  Class                Claim Detail Amount         Final Allowed Amount
San Mateo, CA 94403
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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Betty LeBlanc                                      Clm No 170627    Filed In Cases: 607
1234 East Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Westwego, LA 70094
                                                   UNS                          $10,000.00

                                                                                $10,000.00


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Charles LeCroy                                    Clm No 170628    Filed In Cases: 607
4665 Eisenview Dr                                 Class                Claim Detail Amount         Final Allowed Amount
Grovetown, GA 30813
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Clifford A. Ledet Sr.                             Clm No 170629    Filed In Cases: 607
2600 Arizona Drive                                Class                Claim Detail Amount         Final Allowed Amount
Marrero, LA 70072
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Misty Meacham                                     Clm No 170630    Filed In Cases: 607
4247 E Comanche Dr                                Class                Claim Detail Amount         Final Allowed Amount
Cottonwood, AZ 86326
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Guy Lehouillier                                   Clm No 170631    Filed In Cases: 607
518 New Settlement Rd.                            Class                Claim Detail Amount         Final Allowed Amount
South Hiram, ME 04041
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Catherine Lepro                                   Clm No 170632    Filed In Cases: 607
68 Blackstone St.                                 Class                Claim Detail Amount         Final Allowed Amount
Stoughton, MA 02072
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Gail Lester                                       Clm No 170633    Filed In Cases: 607
37 Broadview Drive                                Class                Claim Detail Amount         Final Allowed Amount
San Rafael, CA 94901
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Victoria LeVasseur                                Clm No 170634    Filed In Cases: 607
1708 5th St. East                                 Class                Claim Detail Amount         Final Allowed Amount
St. Paul, MN 55106
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Jacques Levesque. Co-SPAM                         Clm No 170635    Filed In Cases: 607
6 Cornfield Dr.                                   Class                Claim Detail Amount         Final Allowed Amount
Springvale, ME 04083
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Suzanne Nadeau, Co-SPAM                           Clm No 170636    Filed In Cases: 607
21 Tasker Street                                  Class                Claim Detail Amount         Final Allowed Amount
Saco, ME 04072
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Cynthia Bush                                      Clm No 170637    Filed In Cases: 607
1341 Benton Street                                Class                Claim Detail Amount         Final Allowed Amount
Rockford, IL 61107
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Louise Lewis                                      Clm No 170638    Filed In Cases: 607
152 Ranch Wood Drive                              Class                Claim Detail Amount         Final Allowed Amount
West Haven, CT 06516
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Darrell W. Lewis                                  Clm No 170639    Filed In Cases: 607
950 S. McKnight Blvd.                             Class                Claim Detail Amount         Final Allowed Amount
St. Louis, MO 63124
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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  Claims Details                                                                                          214 of 3075

Beverly Lewis                                     Clm No 170640    Filed In Cases: 607
141 South 1st Street                              Class                Claim Detail Amount         Final Allowed Amount
Paris, ID 83261
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Charlotte L Lewis                                 Clm No 170641    Filed In Cases: 607
9308 Maynardville Highway                         Class                Claim Detail Amount         Final Allowed Amount
Maynardville, TN 37807
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Lyle Lidholm                                      Clm No 170642    Filed In Cases: 607
611 S 7th Street                                  Class                Claim Detail Amount         Final Allowed Amount
Watertown, WI 53094
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




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Darlene Liljedahl                                 Clm No 170643    Filed In Cases: 607
2082 Cowern Pl. E.                                Class                Claim Detail Amount         Final Allowed Amount
North St. Paul, MN 55109
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Tami Jo Day                                       Clm No 170644    Filed In Cases: 607
14204 North Sandstone Avenue                      Class                Claim Detail Amount         Final Allowed Amount
Skiatook, OK 74070
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Wayne Lindbloom                                   Clm No 170645    Filed In Cases: 607
44025 N 12th Way                                  Class                Claim Detail Amount         Final Allowed Amount
New River, AZ 85087
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




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  Claims Details                                                                                          216 of 3075

Ronald F Lindley                                  Clm No 170646    Filed In Cases: 607
758 Shawnee Road                                  Class                Claim Detail Amount         Final Allowed Amount
Pocahontas, IL 62275
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Arline Lippin                                     Clm No 170647    Filed In Cases: 607
17 Kimberly Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Ocean, NJ 07712
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Irene Victor                                      Clm No 170648    Filed In Cases: 607
99 Scorpios Island St                             Class                Claim Detail Amount         Final Allowed Amount
Henderson, NV 89012
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                          217 of 3075

Texelda F Lockard                                 Clm No 170649    Filed In Cases: 607
114 Waterside Dr.                                 Class                Claim Detail Amount         Final Allowed Amount
Maumelle, AR 72113
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Christine Cleaveland                              Clm No 170650    Filed In Cases: 607
1431 N. Court Street                              Class                Claim Detail Amount         Final Allowed Amount
Rockford, IL 61103
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Margaret Irene Loggins                            Clm No 170651    Filed In Cases: 607
410 Loggins Road                                  Class                Claim Detail Amount         Final Allowed Amount
Piney Creek, NC 28663
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                          218 of 3075

Candy Nelson                                      Clm No 170652    Filed In Cases: 607
5308 South 382nd Street                           Class                Claim Detail Amount         Final Allowed Amount
Auburn, WA 98001
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Larry W Long                                      Clm No 170653    Filed In Cases: 607
107 Moock Road                                    Class                Claim Detail Amount         Final Allowed Amount
Southgate, KY 41071
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Debra A. Johns                                    Clm No 170654    Filed In Cases: 607
4035 Ridge Rd.                                    Class                Claim Detail Amount         Final Allowed Amount
Brewton, AL 36426
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                          219 of 3075

Charles Lopas                                     Clm No 170655    Filed In Cases: 607
430 N 18th St                                     Class                Claim Detail Amount         Final Allowed Amount
Grand Junction, CO 81501
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Barbara Elaine Lorfing                            Clm No 170656    Filed In Cases: 607
11983 County Rd 296                               Class                Claim Detail Amount         Final Allowed Amount
Oakwood, TX 75855
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Ronald P. Losensky                                Clm No 170657    Filed In Cases: 607
10237 W 21st Street N                             Class                Claim Detail Amount         Final Allowed Amount
Wichita, KS 67205
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Allan Losh                                        Clm No 170658    Filed In Cases: 607
121 Roosevelt Street                              Class                Claim Detail Amount         Final Allowed Amount
Cedar Falls, IA 50613
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Donald R. Lowe                                    Clm No 170659    Filed In Cases: 607
6561 U.S. 59 Hwy                                  Class                Claim Detail Amount         Final Allowed Amount
Oskaloosa, KS 66066
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Diane Lowers                                      Clm No 170660    Filed In Cases: 607
138 Horvath Farms Road                            Class                Claim Detail Amount         Final Allowed Amount
Hermitage, PA 16148
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                          221 of 3075

James H. Funk                                     Clm No 170661    Filed In Cases: 607
95 Riverview Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Paulsboro, NJ 08066
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Patsy Ludwig                                      Clm No 170662    Filed In Cases: 607
9743 Forest View Ct.                              Class                Claim Detail Amount         Final Allowed Amount
Elk Grove, CA 95757
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Barbara Lundquist                                 Clm No 170663    Filed In Cases: 607
2259 Flint Ridge                                  Class                Claim Detail Amount         Final Allowed Amount
Sister Bay, WI 54234
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Bradford Lupton                                   Clm No 170664    Filed In Cases: 607
213 Lakewood Ct Apt 6                             Class                Claim Detail Amount         Final Allowed Amount
O Fallon, IL 62269-2260
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Nancy Levy                                        Clm No 170665    Filed In Cases: 607
1877 Schoen St.                                   Class                Claim Detail Amount         Final Allowed Amount
Baldwin, NY 11510
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Jeanne A. Mackey                                  Clm No 170666    Filed In Cases: 607
3229 County Road 327                              Class                Claim Detail Amount         Final Allowed Amount
Moulton, AL 35650
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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John Magnes                                       Clm No 170667    Filed In Cases: 607
13528 Nantucket Court                             Class                Claim Detail Amount         Final Allowed Amount
Ocean City, MD 21842
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Wanda Mahan                                       Clm No 170668    Filed In Cases: 607
125 Wanda Way                                     Class                Claim Detail Amount         Final Allowed Amount
Hurst, TX 76053
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Joseph Malinowski                                 Clm No 170669    Filed In Cases: 607
27404 123rd St.                                   Class                Claim Detail Amount         Final Allowed Amount
Pierz, MN 56364
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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  Claims Details                                                                                           224 of 3075

Mark E. Malvitch                                   Clm No 170670    Filed In Cases: 607
60 Newcastle Road                                  Class                Claim Detail Amount         Final Allowed Amount
Peabody, MA 01960
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Tamara W. Mangrum, Special Administrator           Clm No 170671    Filed In Cases: 607
14659 S. 1690 West                                 Class                Claim Detail Amount         Final Allowed Amount
Bluffdale, UT 84065
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Scarlet A. Manion                                  Clm No 170672    Filed In Cases: 607
P.O. Box 6592                                      Class                Claim Detail Amount         Final Allowed Amount
Lafayette, IN 47903
                                                   UNS                          $10,000.00

                                                                                $10,000.00


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Mary Alice Manning                                Clm No 170673    Filed In Cases: 607
1560 Bullhead Bluff Road                          Class                Claim Detail Amount         Final Allowed Amount
Folkston, GA 31537
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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Jan Cunningham                                    Clm No 170674    Filed In Cases: 607
19011 Sandtrap Ct.                                Class                Claim Detail Amount         Final Allowed Amount
Humble, TX 77346
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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Marayart Mark                                     Clm No 170675    Filed In Cases: 607
12927 Northeast 26th Place                        Class                Claim Detail Amount         Final Allowed Amount
Bellevue, WA 98005
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Emily Marmo                                       Clm No 170676    Filed In Cases: 607
1830 Dixieanna St. Apt 606                        Class                Claim Detail Amount         Final Allowed Amount
Hollywood, FL 33020
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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Dorothy Marquart                                  Clm No 170677    Filed In Cases: 607
PO Box 654                                        Class                Claim Detail Amount         Final Allowed Amount
Conroe, TX 77305-0654
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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Chris Graham                                      Clm No 170678    Filed In Cases: 607
1149 Doctor Bowers Rd.                            Class                Claim Detail Amount         Final Allowed Amount
Little Mountain, SC 29075
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Richard Martel                                    Clm No 170679    Filed In Cases: 607
P.O. Box 66929                                    Class                Claim Detail Amount         Final Allowed Amount
Albuquerque, NM 87193-6929
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Robert Martin                                     Clm No 170680    Filed In Cases: 607
1613 Katherine St                                 Class                Claim Detail Amount         Final Allowed Amount
New Castle, PA 16105-2032
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




George Martinez                                   Clm No 170681    Filed In Cases: 607
PO Box 247                                        Class                Claim Detail Amount         Final Allowed Amount
McIntosh, NM 87032
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                          228 of 3075

Yvonne K. Marzell                                 Clm No 170682    Filed In Cases: 607
6550 West Lake Drive                              Class                Claim Detail Amount         Final Allowed Amount
Fremont, MI 49412
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Esquipula Mascarenas                              Clm No 170683    Filed In Cases: 607
1630 Banbury Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Carrolton, TX 75006
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Shirley Louise Babb                               Clm No 170684    Filed In Cases: 607
566 Rose Ave.                                     Class                Claim Detail Amount         Final Allowed Amount
Sebring, FL 33870
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Reva Mathenia                                     Clm No 170685    Filed In Cases: 607
9823 Flatland Trail                               Class                Claim Detail Amount         Final Allowed Amount
Converse, TX 78109
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Joyce Ann Maurer                                  Clm No 170686    Filed In Cases: 607
1518 E. 1650th Street                             Class                Claim Detail Amount         Final Allowed Amount
Brownstown, IL 62418
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Artie Maxwell                                     Clm No 170687    Filed In Cases: 607
501 E Main Street                                 Class                Claim Detail Amount         Final Allowed Amount
Savannah, MO 64485
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                          230 of 3075

Geraldean Mayer                                   Clm No 170688    Filed In Cases: 607
8423 Flat Creek Rd.                               Class                Claim Detail Amount         Final Allowed Amount
Kershaw, SC 29067
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Stanton Mayfield                                  Clm No 170689    Filed In Cases: 607
6955 Bergstrom Drive                              Class                Claim Detail Amount         Final Allowed Amount
Rockford, IL 61103
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Nina Mayo                                         Clm No 170690    Filed In Cases: 607
15510 Cypress Garden Drive                        Class                Claim Detail Amount         Final Allowed Amount
Tomball, TX 77377
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




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  Claims Details                                                                                          231 of 3075

John McAndrew                                     Clm No 170691    Filed In Cases: 607
117 Tannery Street                                Class                Claim Detail Amount         Final Allowed Amount
Harrison Valley, PA 16927
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Dean Francis McBride                              Clm No 170692    Filed In Cases: 607
205 E. Dells Road                                 Class                Claim Detail Amount         Final Allowed Amount
Silver Lake, WI 53170
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Thomas Edward McBride                             Clm No 170693    Filed In Cases: 607
2027 87th Place                                   Class                Claim Detail Amount         Final Allowed Amount
Kenosha, WI 53143
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




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  Claims Details                                                                                           232 of 3075

Diane McCandless                                   Clm No 170694    Filed In Cases: 607
31594 Dean Road                                    Class                Claim Detail Amount         Final Allowed Amount
Cambridge Springs, PA 16403
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Mary F McCarty                                     Clm No 170695    Filed In Cases: 607
2706 N 102 Street                                  Class                Claim Detail Amount         Final Allowed Amount
Kansas City, KS 66109
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Charles McClanahan                                 Clm No 170696    Filed In Cases: 607
260 Beech Crk                                      Class                Claim Detail Amount         Final Allowed Amount
Jamboree, KY 41553-9014
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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   Claim Face Value           $10,000.00




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  Claims Details                                                                                          233 of 3075

Donald McClory Jr                                 Clm No 170697    Filed In Cases: 607
10 Crestview Road                                 Class                Claim Detail Amount         Final Allowed Amount
Littleton, MA 01460
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Rhonda McConaughey                                Clm No 170698    Filed In Cases: 607
20514 Wind Rose Bend Drive                        Class                Claim Detail Amount         Final Allowed Amount
Spring, TX 77379
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Karen Caswell                                     Clm No 170699    Filed In Cases: 607
910 S. 11th Street                                Class                Claim Detail Amount         Final Allowed Amount
Escabana, MI 49829
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                          234 of 3075

Paul McCord                                       Clm No 170700    Filed In Cases: 607
1924 SW 54th Ln                                   Class                Claim Detail Amount         Final Allowed Amount
Cape Coral, FL 33914-6870
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Charles McCoy                                     Clm No 170701    Filed In Cases: 607
5773 N Meadows                                    Class                Claim Detail Amount         Final Allowed Amount
Columbus, OH 43229
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Jordanne M. Gossman                               Clm No 170702    Filed In Cases: 607
6209 Taverneer Lane                               Class                Claim Detail Amount         Final Allowed Amount
Spotsylvania, VA 22551
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




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  Claims Details                                                                                          235 of 3075

Rulon McDaniel                                    Clm No 170703    Filed In Cases: 607
19 North 100 West                                 Class                Claim Detail Amount         Final Allowed Amount
Alpine, UT 84004
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Randall G McDowell                                Clm No 170704    Filed In Cases: 607
2015 Silver Lake Blvd.                            Class                Claim Detail Amount         Final Allowed Amount
Frankfort, KY 40601
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Mary Wilson                                       Clm No 170705    Filed In Cases: 607
197 I.M. Graham Rd                                Class                Claim Detail Amount         Final Allowed Amount
Kingstree, SC 29556
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                          236 of 3075

Andrew McFarland                                  Clm No 170706    Filed In Cases: 607
881 W. Cornelia Avenue #3                         Class                Claim Detail Amount         Final Allowed Amount
Chicago, IL 60657
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Don McGohan                                       Clm No 170707    Filed In Cases: 607
23 Hwy. 154                                       Class                Claim Detail Amount         Final Allowed Amount
Casa, AR 72025
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Donald M. McHugh                                  Clm No 170708    Filed In Cases: 607
1710 Imperial Road                                Class                Claim Detail Amount         Final Allowed Amount
Norfolk, NE 68701
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                          237 of 3075

Janet McInerney                                   Clm No 170709    Filed In Cases: 607
763 Wintercreeper Dr.                             Class                Claim Detail Amount         Final Allowed Amount
Longs, SC 29568
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Kenneth D. McKim                                  Clm No 170710    Filed In Cases: 607
5046 42nd Avenue SW                               Class                Claim Detail Amount         Final Allowed Amount
Seattle, WA 98136
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Frank McKinnon                                    Clm No 170711    Filed In Cases: 607
Box 298                                           Class                Claim Detail Amount         Final Allowed Amount
Winnepeg Beach, MB R0C3G0
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Timothy McLellan                                  Clm No 170712    Filed In Cases: 607
5400 Sumter Ave. North                            Class                Claim Detail Amount         Final Allowed Amount
New Hope, MN 55428
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Clyde McManus                                     Clm No 170713    Filed In Cases: 607
5875 E. Hwy 20                                    Class                Claim Detail Amount         Final Allowed Amount
Ukiah, CA 95482
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Mary McMillin                                     Clm No 170714    Filed In Cases: 607
63 Periwinkle Drive                               Class                Claim Detail Amount         Final Allowed Amount
Olmsted Falls, OH 44138
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Mark Lowder                                       Clm No 170715    Filed In Cases: 607
P.O. Box 1284                                     Class                Claim Detail Amount         Final Allowed Amount
Albemarle, NC 28002
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Jacqueline McQuarn                                Clm No 170716    Filed In Cases: 607
128 N Swall Dr Ph 2                               Class                Claim Detail Amount         Final Allowed Amount
Los Angeles, CA 90048-6807
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




George Meisinger                                  Clm No 170717    Filed In Cases: 607
9105 Macallan Rd NE                               Class                Claim Detail Amount         Final Allowed Amount
Albuquerque, NM 87109
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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  Claims Details                                                                                             240 of 3075

Jack Menges                                          Clm No 170718    Filed In Cases: 607
15994 Floating Bridge Rd                             Class                Claim Detail Amount         Final Allowed Amount
Three Rivers, MI 49093-9771
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   5-Oct-2015
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   Claim Face Value             $10,000.00




Glenn Messmer                                        Clm No 170719    Filed In Cases: 607
9132 Bretshire Dr                                    Class                Claim Detail Amount         Final Allowed Amount
Dallas, TX 75228
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   5-Oct-2015
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   Claim Face Value             $10,000.00




Isabell Metree                                       Clm No 170720    Filed In Cases: 607
3605 South Indian River Drive                        Class                Claim Detail Amount         Final Allowed Amount
Ft. Pierce, FL 34982
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   5-Oct-2015
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   Claim Face Value             $10,000.00




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  Claims Details                                                                                          241 of 3075

Nevin Meyer                                       Clm No 170721    Filed In Cases: 607
70360 Shady Lane                                  Class                Claim Detail Amount         Final Allowed Amount
White Pigeon, MI 49099
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Dorothy Jean Meyer                                Clm No 170722    Filed In Cases: 607
1621 N. 4th Ave W                                 Class                Claim Detail Amount         Final Allowed Amount
Newton, IA 50208
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Earl E. Meyers                                    Clm No 170723    Filed In Cases: 607
S6053 South Shore Road                            Class                Claim Detail Amount         Final Allowed Amount
Baraboo, WI 53913
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Diana Middendorf                                  Clm No 170724    Filed In Cases: 607
2121 N 3rd Street                                 Class                Claim Detail Amount         Final Allowed Amount
Fayetteville, IL 62258
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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Barbara Hazazer                                   Clm No 170725    Filed In Cases: 607
111 Southern Trace                                Class                Claim Detail Amount         Final Allowed Amount
Franklin, NC 28734
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Joseph P. Miklos III                              Clm No 170726    Filed In Cases: 607
2043 Hawkcrest Drive East                         Class                Claim Detail Amount         Final Allowed Amount
Saint Johns, FL 32259
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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Karen E Miklos                                    Clm No 170727    Filed In Cases: 607
9301 Bluff Road                                   Class                Claim Detail Amount         Final Allowed Amount
Eastover, SC 29044
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Sam Miles                                         Clm No 170728    Filed In Cases: 607
P.O. Box 155                                      Class                Claim Detail Amount         Final Allowed Amount
Tatums, OK 73487
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Susie Faye Millard                                Clm No 170729    Filed In Cases: 607
1028 South Providence Road                        Class                Claim Detail Amount         Final Allowed Amount
Hazelton, PA 18202
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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Barbara S. Miller                                 Clm No 170730    Filed In Cases: 607
117 Brant Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Marietta, OH 45750
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Karen J Miller                                    Clm No 170731    Filed In Cases: 607
8766 Junction Road                                Class                Claim Detail Amount         Final Allowed Amount
Frankenmuth, MI 48734
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Margaret A. Miller                                Clm No 170732    Filed In Cases: 607
4420 Hughes Rd.                                   Class                Claim Detail Amount         Final Allowed Amount
Owendale, MI 48754
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Loretta Miller                                    Clm No 170733    Filed In Cases: 607
1512 SW Nichols Drive                             Class                Claim Detail Amount         Final Allowed Amount
Boynton Beach, FL 33426
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Phyllis I Miller                                  Clm No 170734    Filed In Cases: 607
6320 Oak Court                                    Class                Claim Detail Amount         Final Allowed Amount
South Bend, IN 46614
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Teresa D. Miller                                  Clm No 170735    Filed In Cases: 607
450 McPherson Lane NW                             Class                Claim Detail Amount         Final Allowed Amount
Charleston, TN 37310
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Samuel Miller                                     Clm No 170736    Filed In Cases: 607
750 Jones Rd                                      Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32220
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Lillie C. Mills                                   Clm No 170737    Filed In Cases: 607
PO Box 12488                                      Class                Claim Detail Amount         Final Allowed Amount
Jackson, TN 38308
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Marguerite Minier                                 Clm No 170738    Filed In Cases: 607
115 Franklin St Apt 206                           Class                Claim Detail Amount         Final Allowed Amount
Sandusky, OH 44870
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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Vickie M Camp                                     Clm No 170739    Filed In Cases: 607
PO Box 346                                        Class                Claim Detail Amount         Final Allowed Amount
Courtland, MS 38620
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Sally Minor                                       Clm No 170740    Filed In Cases: 607
15383 Mount Eaton Road                            Class                Claim Detail Amount         Final Allowed Amount
Rittman, OH 44270
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Taylar Allyn Lain                                 Clm No 170741    Filed In Cases: 607
3201 Van Buren                                    Class                Claim Detail Amount         Final Allowed Amount
Chattanooga, TN 37415
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Denise Kent                                       Clm No 170742    Filed In Cases: 607
26 Fox Rd.                                        Class                Claim Detail Amount         Final Allowed Amount
Bogue Chitto, MS 39629
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Cynthia A. Moffitt                                Clm No 170743    Filed In Cases: 607
13472 South 36th St.                              Class                Claim Detail Amount         Final Allowed Amount
Bellevue, NE 68123
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Richard Molstad                                   Clm No 170744    Filed In Cases: 607
12 6th St NE Apt 213                              Class                Claim Detail Amount         Final Allowed Amount
Osseo, MN 55369-1059
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Shanemarie Vaughn                                  Clm No 170745    Filed In Cases: 607
3900 Flowering Stream Way                          Class                Claim Detail Amount         Final Allowed Amount
Oviedo, FL 32766
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Lee Monk                                           Clm No 170746    Filed In Cases: 607
PO Box 1067                                        Class                Claim Detail Amount         Final Allowed Amount
Los Alamitos, CA 90720-1067
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Lisa K. Monson                                     Clm No 170747    Filed In Cases: 607
37438 Nature Ave.                                  Class                Claim Detail Amount         Final Allowed Amount
Aitkin, MN 56431
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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   Claim Face Value           $10,000.00




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Jaddie Ann Montgomery                             Clm No 170748    Filed In Cases: 607
PO Box 22                                         Class                Claim Detail Amount         Final Allowed Amount
Lorado, WV 25630
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Marion Richard Montgomery                         Clm No 170749    Filed In Cases: 607
10978 FM 2022 North                               Class                Claim Detail Amount         Final Allowed Amount
Grapeland, TX 75844
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Walter Montgomery                                 Clm No 170750    Filed In Cases: 607
609 Wilkerson Rd SW                               Class                Claim Detail Amount         Final Allowed Amount
Rome, GA 30165-6611
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




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Peter Monzo                                       Clm No 170751    Filed In Cases: 607
1019 Mollbore Terrace                             Class                Claim Detail Amount         Final Allowed Amount
Philadelphia, PA 19148
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Beatriz Morales                                   Clm No 170752    Filed In Cases: 607
3910 Spring Hill Avenue                           Class                Claim Detail Amount         Final Allowed Amount
Las Vegas, NV 89121
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Betty J. Wade                                     Clm No 170753    Filed In Cases: 607
15 Northland Dr                                   Class                Claim Detail Amount         Final Allowed Amount
Decatur, IL 62526
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Margaret Morgan                                   Clm No 170754    Filed In Cases: 607
434 Jefferson Street                              Class                Claim Detail Amount         Final Allowed Amount
Eatontown, NJ 07724
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Bonnie J. Morrall                                 Clm No 170755    Filed In Cases: 607
1578 County Road 135                              Class                Claim Detail Amount         Final Allowed Amount
Maywood, MO 63454
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Diane L. Boegner, Co-PR                           Clm No 170756    Filed In Cases: 607
2107 Radcliffe Ave.                               Class                Claim Detail Amount         Final Allowed Amount
Flint, MI 48503
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Paula Boegner, Co-PR                              Clm No 170757    Filed In Cases: 607
22755 Brookdale St.                               Class                Claim Detail Amount         Final Allowed Amount
Farmington, MI 48336
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Shirley M. Painter                                Clm No 170758    Filed In Cases: 607
2416 Welsh Run Road                               Class                Claim Detail Amount         Final Allowed Amount
Ruckersville, VA 22968
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Gail Ward                                         Clm No 170759    Filed In Cases: 607
PO Box 73                                         Class                Claim Detail Amount         Final Allowed Amount
Kirkwood, DE 19708
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value       $10,000.00




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  Claims Details                                                                                          254 of 3075

David Morrison                                    Clm No 170760    Filed In Cases: 607
1710 Bonow Ave                                    Class                Claim Detail Amount         Final Allowed Amount
Wisconsin Rapids, WI 54495-1766
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Cheryl Morrison                                   Clm No 170761    Filed In Cases: 607
4503 Briarwood                                    Class                Claim Detail Amount         Final Allowed Amount
Royal Oak, MI 48073
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Shelley Rector                                    Clm No 170762    Filed In Cases: 607
4730 35th Avenue N                                Class                Claim Detail Amount         Final Allowed Amount
Reile's Acres, ND 58102
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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Saundra Mosby                                     Clm No 170763    Filed In Cases: 607
34150 Sailboat Ct                                 Class                Claim Detail Amount         Final Allowed Amount
Brighton, IL 62012
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




James Walter Mossoney                             Clm No 170764    Filed In Cases: 607
1301 Heatherdowns Drive                           Class                Claim Detail Amount         Final Allowed Amount
Defiance, OH 43512
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Jean Weible                                       Clm No 170765    Filed In Cases: 607
1246 Pinehurst                                    Class                Claim Detail Amount         Final Allowed Amount
Defiance, OH 43512
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Dieter Mudrow                                     Clm No 170766    Filed In Cases: 607
501 Island Rd.                                    Class                Claim Detail Amount         Final Allowed Amount
Morgan, UT 84050
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Dwight Murchison                                  Clm No 170767    Filed In Cases: 607
3952 Iowa Street                                  Class                Claim Detail Amount         Final Allowed Amount
San Diego, CA 92104-3040
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




F. Richard Hitt                                   Clm No 170768    Filed In Cases: 607
433 - 76th Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
St. Pete Beach, FL 33706
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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Shirley Musick                                    Clm No 170769    Filed In Cases: 607
178 White Cedar Lane                              Class                Claim Detail Amount         Final Allowed Amount
Yorktown, VA 23693
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Gary Myers                                        Clm No 170770    Filed In Cases: 607
8030 Old Mooringsport Rd                          Class                Claim Detail Amount         Final Allowed Amount
Shreveport, LA 71107-9260
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Suzanne E. Myers                                  Clm No 170771    Filed In Cases: 607
599 Hyatt Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Campbell, OH 44405
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Ronnie Nash                                       Clm No 170772    Filed In Cases: 607
513 Campsen Villa Court                           Class                Claim Detail Amount         Final Allowed Amount
Spartanburg, SC 29301
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Alejandro Navarro                                 Clm No 170773    Filed In Cases: 607
414 Riverdale Dr Apt F                            Class                Claim Detail Amount         Final Allowed Amount
Glendale, CA 91204-1554
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Carmencita Octavo Navarro                         Clm No 170774    Filed In Cases: 607
15135 Calle Barcelona                             Class                Claim Detail Amount         Final Allowed Amount
Chino Hills, CA 91709
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Thomas Nelms                                      Clm No 170775    Filed In Cases: 607
330 Matchlock Cmns                                Class                Claim Detail Amount         Final Allowed Amount
Spartanburg, SC 29302-4441
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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James A. Nelson Jr.                               Clm No 170776    Filed In Cases: 607
2248 Brenda Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Abilene, TX 79606
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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John Nelson                                       Clm No 170777    Filed In Cases: 607
7181 Bayview Dr                                   Class                Claim Detail Amount         Final Allowed Amount
Tofte, MN 55615
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Geraldine Nelson                                  Clm No 170778    Filed In Cases: 607
13439 185th Lane NW                               Class                Claim Detail Amount         Final Allowed Amount
Elk River, MN 55330
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Cleora J. Nelson                                  Clm No 170779    Filed In Cases: 607
24 Brentwood Ct                                   Class                Claim Detail Amount         Final Allowed Amount
Scottsbluff, NE 69361
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Theresa Czaplewski                                Clm No 170780    Filed In Cases: 607
15215 Ohio Street                                 Class                Claim Detail Amount         Final Allowed Amount
Omaha, NE 68116
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Lois Nieder                                         Clm No 170781    Filed In Cases: 607
1100 Stover Street                                  Class                Claim Detail Amount         Final Allowed Amount
Fort Collins, CO 80524
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
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   Claim Face Value            $10,000.00




Kris E. Noland                                      Clm No 170782    Filed In Cases: 607
12624 West 95th Street South                        Class                Claim Detail Amount         Final Allowed Amount
Clearwater, KS 67026
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
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   Claim Face Value            $10,000.00




Estie Norris                                        Clm No 170783    Filed In Cases: 607
5062 Austell Powder Springs Road                    Class                Claim Detail Amount         Final Allowed Amount
Clarkdale, GA 30111
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


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Barbara B Novak                                   Clm No 170784    Filed In Cases: 607
2221 Lobrook Ct                                   Class                Claim Detail Amount         Final Allowed Amount
Amelia, OH 45102
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Mary Nowakowski                                   Clm No 170785    Filed In Cases: 607
14607 State Road 17                               Class                Claim Detail Amount         Final Allowed Amount
Culver, IN 46511
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Roseanne Nowlan                                   Clm No 170786    Filed In Cases: 607
3308 Harriet Ave. SO                              Class                Claim Detail Amount         Final Allowed Amount
Minneapolis, MN 55408
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                          263 of 3075

Charles J. Patnaude Sr.                           Clm No 170787    Filed In Cases: 607
1249 LaPaloma Drive                               Class                Claim Detail Amount         Final Allowed Amount
Port Orange, FL
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Mary C. O'Brien                                   Clm No 170788    Filed In Cases: 607
1810 Church Street                                Class                Claim Detail Amount         Final Allowed Amount
Johnsburg, IL 60051
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Anna O'Connor                                     Clm No 170789    Filed In Cases: 607
3221 West Beaubien Drive                          Class                Claim Detail Amount         Final Allowed Amount
Phoenix, AZ 85027
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




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Marilyn Lucile O'Daniel                           Clm No 170790    Filed In Cases: 607
41646 North Emerald Lake Drive                    Class                Claim Detail Amount         Final Allowed Amount
Anthem, AZ 85086
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Lillian Olsen                                     Clm No 170791    Filed In Cases: 607
410 Banana Cay Dr Apt F                           Class                Claim Detail Amount         Final Allowed Amount
South Daytona, FL 32119-2970
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Patricia Opel                                     Clm No 170792    Filed In Cases: 607
7845 North Street                                 Class                Claim Detail Amount         Final Allowed Amount
Russells Point, OH 43348
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




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  Claims Details                                                                                          265 of 3075

Darlene Orehek                                    Clm No 170793    Filed In Cases: 607
8292 Labont Way                                   Class                Claim Detail Amount         Final Allowed Amount
Eden Prairie, MN 55344
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Jesus Orozco                                      Clm No 170794    Filed In Cases: 607
4416 G St.                                        Class                Claim Detail Amount         Final Allowed Amount
San Diego, CA 92102
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Priscilla Ortiz                                   Clm No 170795    Filed In Cases: 607
2420 West Hermosa Dr.                             Class                Claim Detail Amount         Final Allowed Amount
San Antonio, TX 78201
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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  Claims Details                                                                                          266 of 3075

Cynthia R. Ortiz                                  Clm No 170796    Filed In Cases: 607
1715 Fillmore St.                                 Class                Claim Detail Amount         Final Allowed Amount
Davenport, IA 52804
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Tamara Hiatt                                      Clm No 170797    Filed In Cases: 607
472 N. Brigham Ave.                               Class                Claim Detail Amount         Final Allowed Amount
American Fork, UT 84003
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Walter Ostendorf                                  Clm No 170798    Filed In Cases: 607
11200 Dutch Road                                  Class                Claim Detail Amount         Final Allowed Amount
Delphos, OH 45833
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                          267 of 3075

Ermal S. Oswald                                   Clm No 170799    Filed In Cases: 607
3336 East North Union                             Class                Claim Detail Amount         Final Allowed Amount
Bay City, MI 48706
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Joy Owens                                         Clm No 170800    Filed In Cases: 607
611 N Cave Spring St                              Class                Claim Detail Amount         Final Allowed Amount
Cedartown, GA 30125-2101
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




John A Padiasek                                   Clm No 170801    Filed In Cases: 607
W127S9643 Scott Krause Dr.                        Class                Claim Detail Amount         Final Allowed Amount
Muskego, WI 53150
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




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Margaret L. Chinea                                Clm No 170802    Filed In Cases: 607
27 Lakeview Terrace                               Class                Claim Detail Amount         Final Allowed Amount
Sussex, NJ 07461
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Gail L. Hack                                      Clm No 170803    Filed In Cases: 607
17437 58th Rd.                                    Class                Claim Detail Amount         Final Allowed Amount
Union Grove, WI 53182
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Elizabeth Parker                                  Clm No 170804    Filed In Cases: 607
3417 Fremont Ave. So.                             Class                Claim Detail Amount         Final Allowed Amount
Minneapolis, MN 55408
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Benjamin Pasquini                                 Clm No 170805    Filed In Cases: 607
112 Larchwood Circle                              Class                Claim Detail Amount         Final Allowed Amount
Welland, ON L3C 6T3
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Teresa Presley                                    Clm No 170806    Filed In Cases: 607
3004 Falcon Ridge Court                           Class                Claim Detail Amount         Final Allowed Amount
Jeffersonville, IN 47130
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Barbara Patterson                                 Clm No 170807    Filed In Cases: 607
715 Bresslyn Rd                                   Class                Claim Detail Amount         Final Allowed Amount
Nashville, TN 37205
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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  Claims Details                                                                                          270 of 3075

Teddy Patterson                                   Clm No 170808    Filed In Cases: 607
14135 Penick Rd                                   Class                Claim Detail Amount         Final Allowed Amount
Waller, TX 77484-4971
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Philip Paul                                       Clm No 170809    Filed In Cases: 607
4732 N 200 East                                   Class                Claim Detail Amount         Final Allowed Amount
Kokomo, IN 46979
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Linda S. Pauscher                                 Clm No 170810    Filed In Cases: 607
3261 Austin Circle                                Class                Claim Detail Amount         Final Allowed Amount
Sarasota, FL 34231
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Roy E. Shaffer                                      Clm No 170811    Filed In Cases: 607
1316 Fox Ridge                                      Class                Claim Detail Amount         Final Allowed Amount
Easton, PA 18040
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Sheila P. Mitchell                                  Clm No 170812    Filed In Cases: 607
154 E Mossy Head Main Street                        Class                Claim Detail Amount         Final Allowed Amount
Defuniak Springs, FL 32435
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Larry D. Waldau                                     Clm No 170813    Filed In Cases: 607
2542 Sweetwater Circle                              Class                Claim Detail Amount         Final Allowed Amount
Lafayette, CO 80026
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
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   Claim Face Value            $10,000.00




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Daniel C. Anderson                                Clm No 170814    Filed In Cases: 607
1606 Burke Rd                                     Class                Claim Detail Amount         Final Allowed Amount
Middle River, MD 21220
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Duston Poirier                                    Clm No 170815    Filed In Cases: 607
75 Chandler Dr,                                   Class                Claim Detail Amount         Final Allowed Amount
Fredericton, New Brunswick E3B 5S6
                                                  UNS                          $10,000.00
Canada
                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Brunheilde Polowyj                                Clm No 170816    Filed In Cases: 607
512 High Street                                   Class                Claim Detail Amount         Final Allowed Amount
Phoenixville, PA 19460
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




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Donnie Poteet                                     Clm No 170817    Filed In Cases: 607
3264 Gordon-Landis Rd                             Class                Claim Detail Amount         Final Allowed Amount
Arcanum, OH 45304
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Ollie Washington Cooper                           Clm No 170818    Filed In Cases: 607
4423 Ridgewood Road                               Class                Claim Detail Amount         Final Allowed Amount
Tuscaloosa, AL 35404
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




James Potter                                      Clm No 170819    Filed In Cases: 607
128 Lynch Farm Dr                                 Class                Claim Detail Amount         Final Allowed Amount
Newark, DE 19713
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Leslie Ann Powell                                 Clm No 170820    Filed In Cases: 607
12437 Pine Grove Court                            Class                Claim Detail Amount         Final Allowed Amount
Holly, MI 48442
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Cody Powers                                       Clm No 170821    Filed In Cases: 607
3756 Rial Road                                    Class                Claim Detail Amount         Final Allowed Amount
McEwen, TN 37101
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Sylvester Poxleitner                              Clm No 170822    Filed In Cases: 607
35621 Corral Rd NE                                Class                Claim Detail Amount         Final Allowed Amount
Kelliher, MN 56650-9814
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Ethel Preiss                                      Clm No 170823    Filed In Cases: 607
2010 York Road, Apt. 105                          Class                Claim Detail Amount         Final Allowed Amount
Jamison, PA 18929
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Alvin L. Presby Jr.                               Clm No 170824    Filed In Cases: 607
129 Ridge Road                                    Class                Claim Detail Amount         Final Allowed Amount
Bath, ME 04530
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Larry M. Pridemore                                Clm No 170825    Filed In Cases: 607
2845 E. Market Street NE                          Class                Claim Detail Amount         Final Allowed Amount
Warren, OH 44483
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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David Prince                                      Clm No 170826    Filed In Cases: 607
1805 Tremont Street                               Class                Claim Detail Amount         Final Allowed Amount
Dover, OH 44622
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Floyd Proctor Jr.                                 Clm No 170827    Filed In Cases: 607
4325 West Hampton Place Circle                    Class                Claim Detail Amount         Final Allowed Amount
St. Charles, MO 63304-7999
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Leo Prokott                                       Clm No 170828    Filed In Cases: 607
17960 S.E. 92nd Amory Ave.                        Class                Claim Detail Amount         Final Allowed Amount
The Villages, FL 32162
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Jack Pruett                                       Clm No 170829    Filed In Cases: 607
10720 Orchard Walk Terr.                          Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32257
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Adrienne (Donna) A. Psihos                        Clm No 170830    Filed In Cases: 607
11974 Germaine Terrace                            Class                Claim Detail Amount         Final Allowed Amount
Eden Prairie, MN 55347
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Vicki Purdy                                       Clm No 170831    Filed In Cases: 607
604 William St                                    Class                Claim Detail Amount         Final Allowed Amount
Kewanee, IL 61443
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Jack Purkey                                       Clm No 170832    Filed In Cases: 607
61 Cornell Circle                                 Class                Claim Detail Amount         Final Allowed Amount
Pueblo, CO 81005
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




James Quaderer                                    Clm No 170833    Filed In Cases: 607
2033 E McLean Ave                                 Class                Claim Detail Amount         Final Allowed Amount
Burton, MI 48529-1737
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Darryl Quimby                                     Clm No 170834    Filed In Cases: 607
15223 E Hutchinson Circle                         Class                Claim Detail Amount         Final Allowed Amount
Houston, TX 77071
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Benito Quiroz                                     Clm No 170835    Filed In Cases: 607
10715 Felton Ave                                  Class                Claim Detail Amount         Final Allowed Amount
Lennox, CA 90304
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Ruth Raby                                         Clm No 170836    Filed In Cases: 607
112 Snow Dr.                                      Class                Claim Detail Amount         Final Allowed Amount
Castalia, OH 44824
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Rhea Anderson                                     Clm No 170837    Filed In Cases: 607
5 Robin Hood Ranch                                Class                Claim Detail Amount         Final Allowed Amount
Oak Brook, IL 60523
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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Daniel Raether                                     Clm No 170838    Filed In Cases: 607
PO Box 68852                                       Class                Claim Detail Amount         Final Allowed Amount
Grand Rapids, MI 49516-8852
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Wilfred Ragas                                      Clm No 170839    Filed In Cases: 607
237 Briarwood Dr                                   Class                Claim Detail Amount         Final Allowed Amount
Gretna, LA 70056
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Petere Neville Stork, Esq.                         Clm No 170840    Filed In Cases: 607
1116 Melbrook Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Munster, IN 46321
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




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  Claims Details                                                                                          281 of 3075

Donja Reedus                                      Clm No 170841    Filed In Cases: 607
5551 S. Clarendon St                              Class                Claim Detail Amount         Final Allowed Amount
Detroit, MI 48204
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Christophe Pichard                                Clm No 170842    Filed In Cases: 607
83 Hollenbeck Ave                                 Class                Claim Detail Amount         Final Allowed Amount
Great Barrington, MA 01230
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Cheryl L. Carter                                  Clm No 170843    Filed In Cases: 607
514 South Brentwood Dr.                           Class                Claim Detail Amount         Final Allowed Amount
Mt. Laurel, NJ 08054
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                          282 of 3075

Karl Regalado                                     Clm No 170844    Filed In Cases: 607
2336 River Hills Lane                             Class                Claim Detail Amount         Final Allowed Amount
Bolingbrook, IL 60490
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




John Reid                                         Clm No 170845    Filed In Cases: 607
24033 Countryside Dr                              Class                Claim Detail Amount         Final Allowed Amount
Minooka, IL 60447
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Frances Reisdorph                                 Clm No 170846    Filed In Cases: 607
481 North First Ave                               Class                Claim Detail Amount         Final Allowed Amount
Forsyth, MT 59327
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Bruce Carter                                      Clm No 170847    Filed In Cases: 607
995 Millville Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Hamilton, OH 45013
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Carol Ann Reitzes                                 Clm No 170848    Filed In Cases: 607
3644 Castlewood Lane                              Class                Claim Detail Amount         Final Allowed Amount
Cincinnati, OH 45248
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Lisa Knight                                       Clm No 170849    Filed In Cases: 607
PO Box 110383                                     Class                Claim Detail Amount         Final Allowed Amount
Lakewood Ranch, FL 34211
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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Shirley Ressler                                   Clm No 170850    Filed In Cases: 607
231 Beckley Street                                Class                Claim Detail Amount         Final Allowed Amount
Wernersville, PA 19565
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




John Reuer                                        Clm No 170851    Filed In Cases: 607
26400 Reuer Dr.                                   Class                Claim Detail Amount         Final Allowed Amount
Finlayson, MN 55735
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Estela Reyes                                      Clm No 170852    Filed In Cases: 607
215 S 4th St. East                                Class                Claim Detail Amount         Final Allowed Amount
Green River, WY 82935
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                          285 of 3075

Janis Pearson                                     Clm No 170853    Filed In Cases: 607
12606 Pheasant Run                                Class                Claim Detail Amount         Final Allowed Amount
Buda, TX 78610
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Angelo Riccio                                     Clm No 170854    Filed In Cases: 607
211 Woodrow Ave.                                  Class                Claim Detail Amount         Final Allowed Amount
Santa Cruz, CA 95060
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Robert Richardson                                 Clm No 170855    Filed In Cases: 607
307 Riverview Dr. South                           Class                Claim Detail Amount         Final Allowed Amount
Nokomis, FL 34275
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Raymond Rider                                       Clm No 170856    Filed In Cases: 607
12 Huron St                                         Class                Claim Detail Amount         Final Allowed Amount
Norwalk, OH 44857-2222
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Loretta Perno-Wagner                                Clm No 170857    Filed In Cases: 607
251 S. Ocotillo Ave.                                Class                Claim Detail Amount         Final Allowed Amount
Benson, AZ 85602
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Sherry L. Starr                                     Clm No 170858    Filed In Cases: 607
1191 West Five Point Highway                        Class                Claim Detail Amount         Final Allowed Amount
Charlotte, MI 48813
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


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Richard Roberts                                    Clm No 170859    Filed In Cases: 607
215 Widney St                                      Class                Claim Detail Amount         Final Allowed Amount
Saint Joe, IN 46785-9703
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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   Claim Face Value           $10,000.00




Geraldine Roberts                                  Clm No 170860    Filed In Cases: 607
1218 Thomason Drive                                Class                Claim Detail Amount         Final Allowed Amount
Fort Walton Beach, FL 32547
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Loretta Robertson                                  Clm No 170861    Filed In Cases: 607
327 N Main St                                      Class                Claim Detail Amount         Final Allowed Amount
Danville, IA 52623
                                                   UNS                          $10,000.00

                                                                                $10,000.00


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Joanne C. Robison                                 Clm No 170862    Filed In Cases: 607
1601 East Lakeshore Drive                         Class                Claim Detail Amount         Final Allowed Amount
Twin Lakes, WI 53181
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Dominic Rocco                                     Clm No 170863    Filed In Cases: 607
20 Lake Somerset Circle                           Class                Claim Detail Amount         Final Allowed Amount
Okatie, SC 29909
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Lucia Rodriguez                                   Clm No 170864    Filed In Cases: 607
146 De Anza Drive                                 Class                Claim Detail Amount         Final Allowed Amount
San Jacinto, CA 92583
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Adan Ronquillo                                      Clm No 170865    Filed In Cases: 607
511 E San Ysidro Blvd # 6044                        Class                Claim Detail Amount         Final Allowed Amount
San Ysidro, CA 92173-3150
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Gloria Ross                                         Clm No 170866    Filed In Cases: 607
18814 Water Tower Road                              Class                Claim Detail Amount         Final Allowed Amount
Carlyle, IL 62231
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Lloyd Rotz                                          Clm No 170867    Filed In Cases: 607
17802 Lost Pond Lane                                Class                Claim Detail Amount         Final Allowed Amount
Spring Lake, MI 49456
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  5-Oct-2015
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Eleanor Hill Royer                                Clm No 170868    Filed In Cases: 607
2 Lomond Dr.                                      Class                Claim Detail Amount         Final Allowed Amount
Batesville, AR 72501
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Pauline Royston                                   Clm No 170869    Filed In Cases: 607
577 Michigan Road                                 Class                Claim Detail Amount         Final Allowed Amount
Eaton Rapids, MI 48827
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Karen Johnson                                     Clm No 170870    Filed In Cases: 607
9525 US 78                                        Class                Claim Detail Amount         Final Allowed Amount
Ladson, SC 29456
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Rosemarie Ruggeri                                 Clm No 170871    Filed In Cases: 607
2378 Evenglow Ave                                 Class                Claim Detail Amount         Final Allowed Amount
Spring Hill, FL 34609
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Tammy Russell                                     Clm No 170872    Filed In Cases: 607
15202 S Howards Mill Rd                           Class                Claim Detail Amount         Final Allowed Amount
Mulino, OR 97042
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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June Russell                                      Clm No 170873    Filed In Cases: 607
73373 Country Club Dr Apt 203                     Class                Claim Detail Amount         Final Allowed Amount
Palm Desert, CA 92260-8630
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Tracy J. Ryan                                     Clm No 170874    Filed In Cases: 607
513 Birch Street                                  Class                Claim Detail Amount         Final Allowed Amount
Westerville, OH 43082
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Carrie Ryles                                      Clm No 170875    Filed In Cases: 607
2326 West Olive Street                            Class                Claim Detail Amount         Final Allowed Amount
Milwaukee, WI 53209
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Miraya Sallee                                     Clm No 170876    Filed In Cases: 607
P.O. Box 1793                                     Class                Claim Detail Amount         Final Allowed Amount
Alma, AR 72921
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Kenneth Salscheider                               Clm No 170877    Filed In Cases: 607
765 S Anza Street                                 Class                Claim Detail Amount         Final Allowed Amount
El Cajon, CA 92020
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Sheila W. Collier                                 Clm No 170878    Filed In Cases: 607
PO Box 5941                                       Class                Claim Detail Amount         Final Allowed Amount
Abilene, TX 79604
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Rogelio Sanchez                                   Clm No 170879    Filed In Cases: 607
2473 Anna Dr Apt C                                Class                Claim Detail Amount         Final Allowed Amount
Santa Clara, CA 95050-4404
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Betty Sarros                                      Clm No 170880    Filed In Cases: 607
22920 Burnham Ave                                 Class                Claim Detail Amount         Final Allowed Amount
Chicago Heights, IL 60411
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Scott Saunders                                    Clm No 170881    Filed In Cases: 607
122 W. Aster Drive                                Class                Claim Detail Amount         Final Allowed Amount
Chandler, AZ 85248
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Robert H. Sawyer                                  Clm No 170882    Filed In Cases: 607
1382 Newtown Langhorne Rd                         Class                Claim Detail Amount         Final Allowed Amount
Newtown, PA 18940
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Shirley Schlemer                                  Clm No 170883    Filed In Cases: 607
220 Burns Farm Blvd. N                            Class                Claim Detail Amount         Final Allowed Amount
Edwardsville, IL 62025
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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Patricia G. Schmitt                               Clm No 170884    Filed In Cases: 607
314 White Oak Drive                               Class                Claim Detail Amount         Final Allowed Amount
Morton, IL 61550
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Klaus Schneider                                   Clm No 170885    Filed In Cases: 607
9816 N 67th St                                    Class                Claim Detail Amount         Final Allowed Amount
Scottsdale, AZ 85253-1306
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




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  Claims Details                                                                                          296 of 3075

Frank Schoeben                                    Clm No 170886    Filed In Cases: 607
17433 Kodiak Ave W                                Class                Claim Detail Amount         Final Allowed Amount
Lakeville, MN 55044
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Amanda Swann                                      Clm No 170887    Filed In Cases: 607
9614 Alabama HWY 69 S                             Class                Claim Detail Amount         Final Allowed Amount
Bremen, AL 35033
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




John Schutz                                       Clm No 170888    Filed In Cases: 607
11845 Road 27.1                                   Class                Claim Detail Amount         Final Allowed Amount
Dolores, CO 81323
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Rose-Marie Schweitzer                             Clm No 170889    Filed In Cases: 607
7100 Serrano Dr                                   Class                Claim Detail Amount         Final Allowed Amount
Benbrook, TX 76126-2213
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Carl Scoville                                     Clm No 170890    Filed In Cases: 607
1443 19th Street                                  Class                Claim Detail Amount         Final Allowed Amount
Cameron, WI 54822
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Sara Mary Sears                                   Clm No 170891    Filed In Cases: 607
162 Canyon Ct                                     Class                Claim Detail Amount         Final Allowed Amount
Sanford, NC 27332
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Colette M. Seeley                                 Clm No 170892    Filed In Cases: 607
364 West Calle Sedillo                            Class                Claim Detail Amount         Final Allowed Amount
Sahuarita, AZ 85629
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Michael Sepi                                      Clm No 170893    Filed In Cases: 607
630 Roosevelt St                                  Class                Claim Detail Amount         Final Allowed Amount
Kent, OH 44240-3347
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Melissa Sepulveda                                 Clm No 170894    Filed In Cases: 607
Cond. Portal de la Reina                          Class                Claim Detail Amount         Final Allowed Amount
Rio Piedras, PR 00924
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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Jean C Sharpe                                     Clm No 170895    Filed In Cases: 607
1201 Overstream Lane                              Class                Claim Detail Amount         Final Allowed Amount
Matthews, NC 28105
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Nancy Ann Shearon                                 Clm No 170896    Filed In Cases: 607
411 Glenstone Road                                Class                Claim Detail Amount         Final Allowed Amount
Dexter, MO 63841
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




James Short                                       Clm No 170897    Filed In Cases: 607
PO Box 540                                        Class                Claim Detail Amount         Final Allowed Amount
Speedwell, TN 37870-0540
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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Dorothy L. Shortt                                 Clm No 170898    Filed In Cases: 607
4445 Clovewood Street                             Class                Claim Detail Amount         Final Allowed Amount
Ladson, SC 29456
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Jodi S. Elmquist, Co-Rep                          Clm No 170899    Filed In Cases: 607
210 Russell St.                                   Class                Claim Detail Amount         Final Allowed Amount
Warren, PA 16365
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Steven J. Siliano, Co-Rep                         Clm No 170900    Filed In Cases: 607
6 Edgemont Dr.                                    Class                Claim Detail Amount         Final Allowed Amount
Warren, PA 16365
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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Emma Silva                                        Clm No 170901    Filed In Cases: 607
17325 North Bryant Road                           Class                Claim Detail Amount         Final Allowed Amount
Tahlequah, OK 74464
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Tanja Silver                                      Clm No 170902    Filed In Cases: 607
59 West St                                        Class                Claim Detail Amount         Final Allowed Amount
Bordentown, NJ 08505
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Melanie Hall                                      Clm No 170903    Filed In Cases: 607
2921 Brandywine Ave                               Class                Claim Detail Amount         Final Allowed Amount
Anchorage, AK 99502
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Patricia Simonson                                 Clm No 170904    Filed In Cases: 607
4495 Lake Ave S Apt 328                           Class                Claim Detail Amount         Final Allowed Amount
White Bear Lake, MN 55110-3482
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Sylvia S. Burns                                   Clm No 170905    Filed In Cases: 607
609 Miller Road                                   Class                Claim Detail Amount         Final Allowed Amount
Greenville, SC 29607
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Abdul Y Sinaid                                    Clm No 170906    Filed In Cases: 607
19 Zerlyn Ave                                     Class                Claim Detail Amount         Final Allowed Amount
Hamilton, OH 45013
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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Richard Sisco                                     Clm No 170907    Filed In Cases: 607
PO Box 647                                        Class                Claim Detail Amount         Final Allowed Amount
Ulysses, KS 67880
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Kenneth R. Sisk                                   Clm No 170908    Filed In Cases: 607
605 North Byers Avenue                            Class                Claim Detail Amount         Final Allowed Amount
Joplin, MO 64801
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Channel Sisneros                                  Clm No 170909    Filed In Cases: 607
67500 West 4000th North                           Class                Claim Detail Amount         Final Allowed Amount
Corinne, UT 84307
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Ronald Skeel                                      Clm No 170910    Filed In Cases: 607
302 Beck Lane                                     Class                Claim Detail Amount         Final Allowed Amount
Lafayette, IN 47909
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Larry G. Slater                                   Clm No 170911    Filed In Cases: 607
10769 Gun Lake Rd.                                Class                Claim Detail Amount         Final Allowed Amount
Middleville, MI 49333
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Mitchell Slavensky                                Clm No 170912    Filed In Cases: 607
3303 Pope Ave                                     Class                Claim Detail Amount         Final Allowed Amount
Sacramento, CA 95821
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Edward Slempa                                     Clm No 170913    Filed In Cases: 607
PO Box 428                                        Class                Claim Detail Amount         Final Allowed Amount
Onalaska, WA 98570
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Margie Smith                                      Clm No 170914    Filed In Cases: 607
597 Game Ridge Road                               Class                Claim Detail Amount         Final Allowed Amount
Smithville, TN 37166
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




James Smith                                       Clm No 170915    Filed In Cases: 607
PO Box 242                                        Class                Claim Detail Amount         Final Allowed Amount
Gansevoort, NY 12831
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Rex Smith                                         Clm No 170916    Filed In Cases: 607
256 Shady Wood Dr                                 Class                Claim Detail Amount         Final Allowed Amount
Union Hall, VA 24176-3840
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Walter Smith                                      Clm No 170917    Filed In Cases: 607
7520 New Haven Rd                                 Class                Claim Detail Amount         Final Allowed Amount
Harrison, OH 45030-9729
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Myrtle I. Smoot                                   Clm No 170918    Filed In Cases: 607
160 Briarwood St                                  Class                Claim Detail Amount         Final Allowed Amount
Camden, TN 38320
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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James Somerville                                  Clm No 170919    Filed In Cases: 607
546 Madison Blvd                                  Class                Claim Detail Amount         Final Allowed Amount
Freedom, PA 15042
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Lugene C Sorrell                                  Clm No 170920    Filed In Cases: 607
1434 6th St NW                                    Class                Claim Detail Amount         Final Allowed Amount
Cairo, GA 39828
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Romaine Soucy                                     Clm No 170921    Filed In Cases: 607
1110 S 9th St.                                    Class                Claim Detail Amount         Final Allowed Amount
Mount Vernon, WA 98274
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Phyllis Spaude                                    Clm No 170922    Filed In Cases: 607
W6757 Greenridge Drive                            Class                Claim Detail Amount         Final Allowed Amount
Greenville, WI 54942
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Louann J. Speegle                                 Clm No 170923    Filed In Cases: 607
3207 Germantown Place SW                          Class                Claim Detail Amount         Final Allowed Amount
Decatur, AL 35603
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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Larry Speer                                       Clm No 170924    Filed In Cases: 607
6375 Seton Court                                  Class                Claim Detail Amount         Final Allowed Amount
Magalia, CA 95954
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Judith A Spihlman                                 Clm No 170925    Filed In Cases: 607
21919 St. Rose                                    Class                Claim Detail Amount         Final Allowed Amount
Highland, IL 62249
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Diane A. Stachura                                 Clm No 170926    Filed In Cases: 607
1269 Northwest Catawba Rd.                        Class                Claim Detail Amount         Final Allowed Amount
Port Clinton, OH 43452
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Patrick Stafford                                  Clm No 170927    Filed In Cases: 607
P.O. Box 682                                      Class                Claim Detail Amount         Final Allowed Amount
Mansfield, IL 61854
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Janet Stangel                                     Clm No 170928    Filed In Cases: 607
1963 Orrie Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Green Bay, WI 54304
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Grace T Stanziale                                 Clm No 170929    Filed In Cases: 607
609 Jonquil Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Madison, OH 44057
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Henry Starcher                                    Clm No 170930    Filed In Cases: 607
4492 US Highway 6                                 Class                Claim Detail Amount         Final Allowed Amount
Linesville, PA 16424
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Betty Stauffer                                    Clm No 170931    Filed In Cases: 607
29447 Hwy D                                       Class                Claim Detail Amount         Final Allowed Amount
Marceline, MO 64658
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Ann Stawicki                                      Clm No 170932    Filed In Cases: 607
2333 Notre Dame Road                              Class                Claim Detail Amount         Final Allowed Amount
Costa Mesa, CA 92626
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Mary Ann C. Steckhan                              Clm No 170933    Filed In Cases: 607
7350 South Lovers Lane                            Class                Claim Detail Amount         Final Allowed Amount
Franklin, WI 53132
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                          312 of 3075

James Steigerwaldt                                Clm No 170934    Filed In Cases: 607
506 Quail Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Cranberry Township, PA 16066
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Clifford Steinke                                  Clm No 170935    Filed In Cases: 607
9893 Hartford Pike                                Class                Claim Detail Amount         Final Allowed Amount
Dillsboro, IN 47018
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Kathy Milani                                      Clm No 170936    Filed In Cases: 607
4091 Toenges                                      Class                Claim Detail Amount         Final Allowed Amount
St Louis, MO 63116
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




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Christy J Stephens                                Clm No 170937    Filed In Cases: 607
1893 Stanbro Rd                                   Class                Claim Detail Amount         Final Allowed Amount
Ionia, MI 48846
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Mary M Steward                                    Clm No 170938    Filed In Cases: 607
3440 Lower River Road                             Class                Claim Detail Amount         Final Allowed Amount
Grants Pass, OR 97526
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Robert J. Stewart                                 Clm No 170939    Filed In Cases: 607
82 Harding Ave.                                   Class                Claim Detail Amount         Final Allowed Amount
Edison, NJ 08820
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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  Claims Details                                                                                          314 of 3075

Joyce E. Stickline                                Clm No 170940    Filed In Cases: 607
7974 South Trenton Street                         Class                Claim Detail Amount         Final Allowed Amount
Centennial, CO 80112
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Sue A. Stickling                                  Clm No 170941    Filed In Cases: 607
822 N. Ft. Thomas Ave., Apt. 1W                   Class                Claim Detail Amount         Final Allowed Amount
Ft. Thomas, KY 41075
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Kimberly Sue Stordahl                             Clm No 170942    Filed In Cases: 607
2721 Louisiana Ave S                              Class                Claim Detail Amount         Final Allowed Amount
Minneapolis, MN 55426
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




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Harriette Dorko                                   Clm No 170943    Filed In Cases: 607
12 Federal Twist Rd.                              Class                Claim Detail Amount         Final Allowed Amount
Stockton, NJ 08559
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Elizabeth Milne                                   Clm No 170944    Filed In Cases: 607
5402 Meadow Hill Loop                             Class                Claim Detail Amount         Final Allowed Amount
Lady Lake, FL 32159
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




George Justus Straubmuller                        Clm No 170945    Filed In Cases: 607
1880 East Buckshutem Road                         Class                Claim Detail Amount         Final Allowed Amount
Millville, NJ 08332
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




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Gregory Stremmel                                  Clm No 170946    Filed In Cases: 607
106 Acorn Dr.                                     Class                Claim Detail Amount         Final Allowed Amount
Mt. Royal, NJ 08061
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Robert Suhaka                                     Clm No 170947    Filed In Cases: 607
620 Tuscany Dr.                                   Class                Claim Detail Amount         Final Allowed Amount
Algonquin, IL 60102
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Jimmie Sumerel                                    Clm No 170948    Filed In Cases: 607
P.O. Box 511                                      Class                Claim Detail Amount         Final Allowed Amount
Four Oaks, NC 27524
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Andrea Fletcher                                   Clm No 170949    Filed In Cases: 607
1850 Adams Ave.                                   Class                Claim Detail Amount         Final Allowed Amount
Tyrone, PA 16686
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Dorothy J. Svetich                                Clm No 170950    Filed In Cases: 607
6607 N Mount Hawley Road                          Class                Claim Detail Amount         Final Allowed Amount
Peoria, IL 61614
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Kathryn M. Swaldi                                 Clm No 170951    Filed In Cases: 607
3705 William Trace                                Class                Claim Detail Amount         Final Allowed Amount
Bryan, TX 77808
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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Barbara Sweet                                     Clm No 170952    Filed In Cases: 607
1686 Southwood Dr.                                Class                Claim Detail Amount         Final Allowed Amount
Ashland, OH 44805
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Allen Symonds                                     Clm No 170953    Filed In Cases: 607
3680 Flamingo Ave SW                              Class                Claim Detail Amount         Final Allowed Amount
Wyoming, MI 49509-3865
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Richard Szyszka                                   Clm No 170954    Filed In Cases: 607
2491 Juniper Ct                                   Class                Claim Detail Amount         Final Allowed Amount
Tulare, CA 93274-6166
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Mary S Tatum                                      Clm No 170955    Filed In Cases: 607
P.O. Box 28                                       Class                Claim Detail Amount         Final Allowed Amount
Roanoke, AL 36274
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Loretta G Taylor                                  Clm No 170956    Filed In Cases: 607
6611 Manning Street                               Class                Claim Detail Amount         Final Allowed Amount
San Diego, CA 92111
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Pauline Templeton                                 Clm No 170957    Filed In Cases: 607
1113 NW Westridge Street                          Class                Claim Detail Amount         Final Allowed Amount
Vancouver, WA 98665
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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Willard Templeton                                 Clm No 170958    Filed In Cases: 607
609 South Avery Drive                             Class                Claim Detail Amount         Final Allowed Amount
Moore, OK 73160
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Carol Lipthratt                                   Clm No 170959    Filed In Cases: 607
4544 Old Jesup Road                               Class                Claim Detail Amount         Final Allowed Amount
Brunswick, GA 31525
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Karen Thomas                                      Clm No 170960    Filed In Cases: 607
417 Sand Valley Lane                              Class                Claim Detail Amount         Final Allowed Amount
Shreveport, LA 71107
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Donald W. Thomas Jr.                              Clm No 170961    Filed In Cases: 607
7944 Magnolia Bend Court                          Class                Claim Detail Amount         Final Allowed Amount
Kissimmee, FL 34747
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Alice Thompson                                    Clm No 170962    Filed In Cases: 607
6308 Robert E Lee Drive                           Class                Claim Detail Amount         Final Allowed Amount
Fairfield, OH 45014
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Catherine Lee Street                              Clm No 170963    Filed In Cases: 607
966 Fred Jones Road                               Class                Claim Detail Amount         Final Allowed Amount
Hardin, KY 42048
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




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  Claims Details                                                                                          322 of 3075

Thomas Rider                                      Clm No 170964    Filed In Cases: 607
1299 Briarwood Drive                              Class                Claim Detail Amount         Final Allowed Amount
San Luis Obispo, CA 93401
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Robert Tighe                                      Clm No 170965    Filed In Cases: 607
1811 22nd Ave S                                   Class                Claim Detail Amount         Final Allowed Amount
Escanaba, MI 49829-1926
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Ronald Tigue                                      Clm No 170966    Filed In Cases: 607
217 Whispering Wind Dr                            Class                Claim Detail Amount         Final Allowed Amount
Georgetown, TX 78633-4540
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




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Judith N. Titsworth                               Clm No 170967    Filed In Cases: 607
13282 N State Hwy 1                               Class                Claim Detail Amount         Final Allowed Amount
Robinson, IL 62454
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Delores A. Tlachac                                Clm No 170968    Filed In Cases: 607
1053 Newtols Street                               Class                Claim Detail Amount         Final Allowed Amount
Green Bay, WI 54302
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




Lori Tringali                                     Clm No 170969    Filed In Cases: 607
260 Country Club Road Suite 210                   Class                Claim Detail Amount         Final Allowed Amount
Eugene, OR 97401
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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Virginia Carol Trombley                           Clm No 170970    Filed In Cases: 607
127 Rand Hill Road                                Class                Claim Detail Amount         Final Allowed Amount
Morrisonville, NY 12962
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Maria Trubiano                                    Clm No 170971    Filed In Cases: 607
911 Avenue S                                      Class                Claim Detail Amount         Final Allowed Amount
Brooklyn, NY 11223-3249
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Donald Tucker                                     Clm No 170972    Filed In Cases: 607
2357 Concord Church Rd                            Class                Claim Detail Amount         Final Allowed Amount
Greensboro, NC 27406
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Bonnie Tully                                      Clm No 170973    Filed In Cases: 607
1070 CR 1640                                      Class                Claim Detail Amount         Final Allowed Amount
Roff, OK 74865
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Linda Uitenbroek                                  Clm No 170974    Filed In Cases: 607
1277 Saint Patrick Way                            Class                Claim Detail Amount         Final Allowed Amount
Sun Prairie, WI 53950
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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James Michael Valach Sr.                          Clm No 170975    Filed In Cases: 607
6529 Cecil's Chapel Road                          Class                Claim Detail Amount         Final Allowed Amount
Hiwassee, VA 24347
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Christopher T. Valocchi                           Clm No 170976    Filed In Cases: 607
11991 North 111th Way                             Class                Claim Detail Amount         Final Allowed Amount
Scottsdale, AZ 85259
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value          $10,000.00




Richard Glenn Van Dyke Jr.                        Clm No 170977    Filed In Cases: 607
9680 Ouleout Rd                                   Class                Claim Detail Amount         Final Allowed Amount
North Brookfield, NY 13418
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Dianne R. Van Huysen                              Clm No 170978    Filed In Cases: 607
PO Box 732                                        Class                Claim Detail Amount         Final Allowed Amount
Central Lake, MI 49622
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




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Judy O. Van Ness                                  Clm No 170979    Filed In Cases: 607
7732 Homeplace Court                              Class                Claim Detail Amount         Final Allowed Amount
Mechanicsville, VA 23111
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value        $10,000.00




Rhonda Vitou                                      Clm No 170980    Filed In Cases: 607
224 Melbourne Ave.                                Class                Claim Detail Amount         Final Allowed Amount
Indialantic, FL 32903
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value        $10,000.00




Tricha L. Vann                                    Clm No 170981    Filed In Cases: 607
1960 Case Ave., E                                 Class                Claim Detail Amount         Final Allowed Amount
St. Paul, MN 55119
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Michael Vargas                                    Clm No 170982    Filed In Cases: 607
511 Platt St                                      Class                Claim Detail Amount         Final Allowed Amount
Toledo, OH 43605-2136
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Rose Vars                                         Clm No 170983    Filed In Cases: 607
33 Beers Rd                                       Class                Claim Detail Amount         Final Allowed Amount
Easton, CT 06612
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Frances M. Tanori                                 Clm No 170984    Filed In Cases: 607
2467 Flint Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
San Jose, CA 95148
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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  Claims Details                                                                                          329 of 3075

Henry Vassar                                      Clm No 170985    Filed In Cases: 607
77 Shady Oak Drive                                Class                Claim Detail Amount         Final Allowed Amount
Godfrey, IL 62035
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Loveen Veath                                      Clm No 170986    Filed In Cases: 607
3701 Scotsdale Dr.                                Class                Claim Detail Amount         Final Allowed Amount
Swansea, IL 62226
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Thomas Anderson                                   Clm No 170987    Filed In Cases: 607
1123 Eder Lane                                    Class                Claim Detail Amount         Final Allowed Amount
West Bend, WI 53095
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Susan Comiskey                                    Clm No 170988    Filed In Cases: 607
PO Box 426                                        Class                Claim Detail Amount         Final Allowed Amount
Magdalena, NM 87825
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Harold Waddell                                    Clm No 170989    Filed In Cases: 607
555 Alison Dr Apt 15                              Class                Claim Detail Amount         Final Allowed Amount
Hummelstown, PA 17036-1848
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Gayle Wagner                                      Clm No 170990    Filed In Cases: 607
3815 Fall Branch Dr.                              Class                Claim Detail Amount         Final Allowed Amount
Katy, TX 77450
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                          331 of 3075

Richard Rosene                                    Clm No 170991    Filed In Cases: 607
135 West Centennieal Drive                        Class                Claim Detail Amount         Final Allowed Amount
Medford, NJ 08055
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Max Walt                                          Clm No 170992    Filed In Cases: 607
229 East Washington St.                           Class                Claim Detail Amount         Final Allowed Amount
Colorado Springs, CO 80907
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Carolyn Walters                                   Clm No 170993    Filed In Cases: 607
4 Spencer Street, Unit D                          Class                Claim Detail Amount         Final Allowed Amount
Middleboro, MA 02346
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                          332 of 3075

Patty Blair                                       Clm No 170994    Filed In Cases: 607
3 North Michigan Street                           Class                Claim Detail Amount         Final Allowed Amount
Oswego, KS 67356
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Melba M. Ware                                     Clm No 170995    Filed In Cases: 607
1517 E 83rd Street                                Class                Claim Detail Amount         Final Allowed Amount
Chicago, IL 60619
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Ramona Warren                                     Clm No 170996    Filed In Cases: 607
P.O. Box 2015                                     Class                Claim Detail Amount         Final Allowed Amount
Alma, AR 72921
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Alice Gee                                          Clm No 170997    Filed In Cases: 607
2704 Willow Park Street                            Class                Claim Detail Amount         Final Allowed Amount
Richland Phillips, TX 76118
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




James D. Watson                                    Clm No 170998    Filed In Cases: 607
2508 Park View Drive                               Class                Claim Detail Amount         Final Allowed Amount
Austin, TX 78728
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Janie Chapin                                       Clm No 170999    Filed In Cases: 607
990 S Fulton Ave                                   Class                Claim Detail Amount         Final Allowed Amount
Fort Lupton, CO 80621
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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   Claim Face Value           $10,000.00




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  Claims Details                                                                                           334 of 3075

Minnie M. Weaver                                   Clm No 171000    Filed In Cases: 607
11347 Hickory Hill Rd.                             Class                Claim Detail Amount         Final Allowed Amount
Fort Plain, NY 13339
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Lawrence Weinman                                   Clm No 171001    Filed In Cases: 607
7716 Trailside Estates Blvd                        Class                Claim Detail Amount         Final Allowed Amount
Austin, TX 78724-6381
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Joanne Weinner                                     Clm No 171002    Filed In Cases: 607
20524 Eastview Curve                               Class                Claim Detail Amount         Final Allowed Amount
Farmington, MN 55024
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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Wayne Alan Weita                                  Clm No 171003    Filed In Cases: 607
5834 Fieldcrest Drive                             Class                Claim Detail Amount         Final Allowed Amount
Galloway, OH 43119
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Latonia Martel                                    Clm No 171004    Filed In Cases: 607
928 St Charles Street                             Class                Claim Detail Amount         Final Allowed Amount
Moberly, MO 65270
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Audrey Boyd                                       Clm No 171005    Filed In Cases: 607
26851 County Road 139                             Class                Claim Detail Amount         Final Allowed Amount
Verndale, MN 56481
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Fay Weldon                                        Clm No 171006    Filed In Cases: 607
1039 Red Lion Road                                Class                Claim Detail Amount         Final Allowed Amount
Newcastle, DE 19720
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Lawrence Elliott                                  Clm No 171007    Filed In Cases: 607
6400 Xerxes Ave. S.                               Class                Claim Detail Amount         Final Allowed Amount
Edina, MN 54423
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Alta B. Wenger                                    Clm No 171008    Filed In Cases: 607
PO Box 63                                         Class                Claim Detail Amount         Final Allowed Amount
Sellersville, PA 18960
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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  Claims Details                                                                                          337 of 3075

Barbara Ann Merrill                               Clm No 171009    Filed In Cases: 607
P.O. Box 1958                                     Class                Claim Detail Amount         Final Allowed Amount
Belleview, FL 34421
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Wanda Wesner                                      Clm No 171010    Filed In Cases: 607
1805 Lake Park Dr                                 Class                Claim Detail Amount         Final Allowed Amount
Raleigh, NC 27612
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Keith T. West                                     Clm No 171011    Filed In Cases: 607
4240 Portsmouth Blvd., Suite A419                 Class                Claim Detail Amount         Final Allowed Amount
Chesapeake, VA 23321
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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  Claims Details                                                                                          338 of 3075

Sandra O. White                                   Clm No 171012    Filed In Cases: 607
4029 Evans Street                                 Class                Claim Detail Amount         Final Allowed Amount
Pulaski, VA 24301
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Gwendolyn Whitecotton                             Clm No 171013    Filed In Cases: 607
880811 S 3450 Rd.                                 Class                Claim Detail Amount         Final Allowed Amount
Chandler, OK 74834
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Peggy Whitney                                     Clm No 171014    Filed In Cases: 607
433 West Northgate Parkway                        Class                Claim Detail Amount         Final Allowed Amount
Toledo, OH 43612
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




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Allan Widdifield                                  Clm No 171015    Filed In Cases: 607
3204A Timbermill Ave                              Class                Claim Detail Amount         Final Allowed Amount
Bowling Green, KY 42104
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Joseph M. Wilkinson Jr.                           Clm No 171016    Filed In Cases: 607
35 Narcissus Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Levittown, PA 19057
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Janet R Wilkinson                                 Clm No 171017    Filed In Cases: 607
7220 Fenway Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Las Vegas, NV 89147
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Deborah I. Ford                                    Clm No 171018    Filed In Cases: 607
2978 Robb Cir                                      Class                Claim Detail Amount         Final Allowed Amount
Lakewood, CO 80215
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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   Claim Face Value           $10,000.00




Harvey Williams                                    Clm No 171019    Filed In Cases: 607
27-56420 Range Road 23                             Class                Claim Detail Amount         Final Allowed Amount
Sturgeon County, AB T0A 1N4
                                                   UNS                          $10,000.00
Canada
                                                                                $10,000.00


   Date Filed                 5-Oct-2015
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   Claim Face Value           $10,000.00




Jerome Williams                                    Clm No 171020    Filed In Cases: 607
1763 Culleoka Hwy                                  Class                Claim Detail Amount         Final Allowed Amount
Culleoka, TN 38451
                                                   UNS                          $10,000.00

                                                                                $10,000.00


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   Claim Face Value           $10,000.00




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Kathleen Westfield                                Clm No 171021    Filed In Cases: 607
1408 E. Susquehanna Avenue                        Class                Claim Detail Amount         Final Allowed Amount
Philadelphia, PA 19125
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Sherri D. Quarles Williams                        Clm No 171022    Filed In Cases: 607
19594 Highway 175                                 Class                Claim Detail Amount         Final Allowed Amount
Pelican, LA 71063
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Virgil Williams                                   Clm No 171023    Filed In Cases: 607
3825 Bristol Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Pontoon Beach, IL 62040
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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Tina Marie McMurry                                Clm No 171024    Filed In Cases: 607
589 Bolivar Hwy                                   Class                Claim Detail Amount         Final Allowed Amount
Jackson, TN 38301
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Willie Lynn Rushing                               Clm No 171025    Filed In Cases: 607
61 Harvey Johnson Rd                              Class                Claim Detail Amount         Final Allowed Amount
Jackson, TN 38301
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Tracy Parker                                      Clm No 171026    Filed In Cases: 607
1316 Agnes St.                                    Class                Claim Detail Amount         Final Allowed Amount
Ocean Springs, MS 39564
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Connie Wilson                                     Clm No 171027    Filed In Cases: 607
115 Elizabeth Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Newark, NJ 07108
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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   Claim Face Value        $10,000.00




Edward Wilson                                     Clm No 171028    Filed In Cases: 607
1403 8 1/2 Ave SE                                 Class                Claim Detail Amount         Final Allowed Amount
Rochester, MN 55904-5377
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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Darren Wilson                                     Clm No 171029    Filed In Cases: 607
283 Northwood Villas                              Class                Claim Detail Amount         Final Allowed Amount
Parkersburg, WV 26104
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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Ricky Wisehart                                    Clm No 171030    Filed In Cases: 607
808 Little Hampton Lane                           Class                Claim Detail Amount         Final Allowed Amount
Gotha, FL 34734
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Tonia Y. Moyler                                   Clm No 171031    Filed In Cases: 607
520 Pittsboro St.                                 Class                Claim Detail Amount         Final Allowed Amount
Houston, MS 38851
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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   Claim Face Value          $10,000.00




Lori Anne Bennett                                 Clm No 171032    Filed In Cases: 607
P.O. Box 62696                                    Class                Claim Detail Amount         Final Allowed Amount
Colorado Springs, CO 80962
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




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  Claims Details                                                                                          345 of 3075

Carol Wood                                        Clm No 171033    Filed In Cases: 607
9740 Yellow Pine Street NW                        Class                Claim Detail Amount         Final Allowed Amount
Coon Rapids, MN 55433
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Ralph Woodstock                                   Clm No 171034    Filed In Cases: 607
376 Springbrook Drive                             Class                Claim Detail Amount         Final Allowed Amount
Otsego, MI 49078
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Gene Wright                                       Clm No 171035    Filed In Cases: 607
PO Box 121                                        Class                Claim Detail Amount         Final Allowed Amount
Brooksville, MS 39739-0121
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




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Wynne Wright                                      Clm No 171036    Filed In Cases: 607
10901 W. Roundelay Circle                         Class                Claim Detail Amount         Final Allowed Amount
Sun City, AZ 85351
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Christine L. Augusta                              Clm No 171037    Filed In Cases: 607
12 St. James Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Milton, NH 03851
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Kimberly Stanley                                  Clm No 171038    Filed In Cases: 607
237 12 1/2 Avenue East                            Class                Claim Detail Amount         Final Allowed Amount
West Fargo, ND 58078
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




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  Claims Details                                                                                          347 of 3075

Noreen Young                                      Clm No 171039    Filed In Cases: 607
4430 South Shore Road                             Class                Claim Detail Amount         Final Allowed Amount
Hadley, NY 12835
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Stephanie Guyette                                 Clm No 171040    Filed In Cases: 607
4527 East McLellan Road                           Class                Claim Detail Amount         Final Allowed Amount
Mesa, AZ 85205
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Charles S. Zahnley                                Clm No 171041    Filed In Cases: 607
500 Tyler NE, Space 116                           Class                Claim Detail Amount         Final Allowed Amount
Albuquerque, NM 87113
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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Walter Zamiatowski                                Clm No 171042    Filed In Cases: 607
W6033 Leith Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Pearson, WI 54462
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Renee Zeoli                                       Clm No 171043    Filed In Cases: 607
36 Roosevelt Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Nesconset, NY 11767
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Carol Zumwalt Culpepper                           Clm No 171044    Filed In Cases: 607
19009 Averill Parkway                             Class                Claim Detail Amount         Final Allowed Amount
Sandy, OR 97055
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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Julia Caroselli                                     Clm No 171045    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Dawn Garland                                        Clm No 171046    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Anthony Angelucci                                   Clm No 171047    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




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  Claims Details                                                                                            350 of 3075

Deborah Bannon                                      Clm No 171048    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Americo Basile                                      Clm No 171049    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Herbert Benton                                      Clm No 171050    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


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   Claim Face Value                 $1.00




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Thomas F. Berry                                     Clm No 171051    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Kevin Blaine                                        Clm No 171052    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Linda Blashak                                       Clm No 171053    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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Shirley Bodo                                        Clm No 171054    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Anthony Bolinsky                                    Clm No 171055    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Pearlina Bolton                                     Clm No 171056    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Eleanor Bowman                                      Clm No 171057    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Bernadette Brady                                    Clm No 171058    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Ellen Brown                                         Clm No 171059    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Barbara Burkhardt                                   Clm No 171060    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Thomas Cain                                         Clm No 171061    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Daniel Campagna                                     Clm No 171062    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Jean Campese                                        Clm No 171063    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Anthony Capelli                                     Clm No 171064    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Dennis Caputo                                       Clm No 171065    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Nancy Liddell                                       Clm No 171066    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Connie Carducci                                     Clm No 171067    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Evelyn Chandler                                     Clm No 171068    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Richard Cibroski                                    Clm No 171069    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Barbara Clark                                       Clm No 171070    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Cathy Markowitz                                     Clm No 171071    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




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Ernest Cowell                                       Clm No 171072    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Herbert Daley, Jr.                                  Clm No 171073    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Joseph DeSouza                                      Clm No 171074    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




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David Dezso                                         Clm No 171075    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Lenore Dickerson                                    Clm No 171076    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Jacob DiGuiseppe                                    Clm No 171077    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


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   Bar Date
   Claim Face Value                 $1.00




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Patricia Ziegler                                    Clm No 171078    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Carol Ebersole                                      Clm No 171079    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Marvin Edwards                                      Clm No 171080    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                            361 of 3075

Leslie Kim Basner                                   Clm No 171081    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Sharyn Erb-Nelson                                   Clm No 171082    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Edward Evans                                        Clm No 171083    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
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   Claim Face Value            $10,000.00




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Diane Payne                                         Clm No 171084    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Valori Ferrigno                                     Clm No 171085    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Robert Fetterolf                                    Clm No 171086    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                            363 of 3075

Betsy Fitch                                         Clm No 171087    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




William Gabriel                                     Clm No 171088    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Deborah Yockey                                      Clm No 171089    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
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   Claim Face Value            $10,000.00




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  Claims Details                                                                                            364 of 3075

Clarence Gillespie                                  Clm No 171090    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Robert Gramm                                        Clm No 171091    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Janet Hamilton                                      Clm No 171092    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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John Hilbeck                                        Clm No 171093    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Charles Hofelder                                    Clm No 171094    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Mary Alice Hoffman                                  Clm No 171095    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                            366 of 3075

Catherine Hogan                                     Clm No 171096    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Charles Hoyt                                        Clm No 171097    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Wendy Hughes                                        Clm No 171098    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


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   Claim Face Value                 $1.00




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John Irwin                                          Clm No 171099    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Dolores Janischek                                   Clm No 171100    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Janet Johnson                                       Clm No 171101    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


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   Claim Face Value                 $1.00




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John Kirschnek, Jr.                                 Clm No 171102    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Edwin Klock                                         Clm No 171103    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




George Korn                                         Clm No 171104    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


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   Claim Face Value                 $1.00




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Vera Kudrick                                        Clm No 171105    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Pattie Leigh                                        Clm No 171106    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Wilhelmina Anderson                                 Clm No 171107    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
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   Claim Face Value            $10,000.00




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  Claims Details                                                                                            370 of 3075

James Long                                          Clm No 171108    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Joan Madden                                         Clm No 171109    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Terrence Long                                       Clm No 171110    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


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   Claim Face Value                 $1.00




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Joseph Marvian, Jr.                                 Clm No 171111    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Elisa Stewart                                       Clm No 171112    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
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   Claim Face Value            $10,000.00




Brian McAstocker                                    Clm No 171113    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                            372 of 3075

Edward McElroy                                      Clm No 171114    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Marie McGill                                        Clm No 171115    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Beth McKeown                                        Clm No 171116    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


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   Claim Face Value            $10,000.00




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  Claims Details                                                                                            373 of 3075

Santina Montagano                                   Clm No 171117    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
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   Claim Face Value            $10,000.00




Cynthia DeFelice                                    Clm No 171118    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
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   Claim Face Value            $10,000.00




Barbara Morris                                      Clm No 171119    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


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   Claim Face Value                 $1.00




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David Mullen                                        Clm No 171120    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


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   Claim Face Value                 $1.00




Stephen Mercadante                                  Clm No 171121    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


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   Claim Face Value                 $1.00




William Murray                                      Clm No 171122    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                            375 of 3075

Jacqueline Roverano                                 Clm No 171123    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Susan Novak                                         Clm No 171124    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Margaret Nugent                                     Clm No 171125    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


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   Claim Face Value                 $1.00




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John O'Keefe                                        Clm No 171126    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Theodosia Patterson                                 Clm No 171127    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Charlene Pattie                                     Clm No 171128    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                            377 of 3075

Henry Pettinati                                     Clm No 171129    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Francis Porter                                      Clm No 171130    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Kay Reed                                            Clm No 171131    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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John Reed                                           Clm No 171132    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Janet Robbins                                       Clm No 171133    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Joanne Rodgers                                      Clm No 171134    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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William Roverano                                    Clm No 171135    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Barbara Bishop                                      Clm No 171136    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Alice Rzucidlo                                      Clm No 171137    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Walter Saunders                                     Clm No 171138    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Jane Sawicki                                        Clm No 171139    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Donna Schenkel                                      Clm No 171140    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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Mark Schwartz                                       Clm No 171141    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
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   Claim Face Value            $10,000.00




Frances Skinner                                     Clm No 171142    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Michael Sokolovich                                  Clm No 171143    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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Regina Johnston                                     Clm No 171144    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Littleton Spence                                    Clm No 171145    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Cheryl Schnittjer                                   Clm No 171146    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


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   Claim Face Value                 $1.00




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John Stanton                                        Clm No 171147    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Harry Stewart                                       Clm No 171148    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Elizabeth Doody                                     Clm No 171149    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
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   Claim Face Value            $10,000.00




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David Szkolnicki                                    Clm No 171150    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




John Tatarelli                                      Clm No 171151    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




William Walsh                                       Clm No 171152    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


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   Claim Face Value                 $1.00




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Raymond Walter                                      Clm No 171153    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Alf Walters                                         Clm No 171154    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Diane Weinstock                                     Clm No 171155    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
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   Claim Face Value            $10,000.00




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James Whaley                                        Clm No 171156    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Patricia Cape                                       Clm No 171157    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
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   Claim Face Value            $10,000.00




Linda Bresset                                       Clm No 171158    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                          $10,000.00
Philadelphia, PA 19102
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
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   Claim Face Value            $10,000.00




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Kathryn White                                       Clm No 171159    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Linda Windt                                         Clm No 171160    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Paul Woodward                                       Clm No 171161    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


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Kathleen Yoders                                     Clm No 171162    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Doris Yorden                                        Clm No 171163    Filed In Cases: 607
c/o Nass Cancelliere Brenner                        Class                Claim Detail Amount         Final Allowed Amount
1515 Market Street
                                                    UNS                                $1.00
Philadelphia, PA 19102
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Carol Ambler                                        Clm No 171164    Filed In Cases: 607
1347 Paradise Ave                                   Class                Claim Detail Amount         Final Allowed Amount
Belle Vernon PA 15012
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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Harold Barnhart                                   Clm No 171165    Filed In Cases: 607
651 New Castle Rd                                 Class                Claim Detail Amount         Final Allowed Amount
Butler PA 16001
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Josephine Bloskey                                 Clm No 171166    Filed In Cases: 607
217 West Market St                                Class                Claim Detail Amount         Final Allowed Amount
Danville PA 17821
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Lori Brenzo                                       Clm No 171167    Filed In Cases: 607
204 38th St                                       Class                Claim Detail Amount         Final Allowed Amount
Beaver Falls PA 15010
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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Loretta Burke                                     Clm No 171168    Filed In Cases: 607
348 Meridian Rd                                   Class                Claim Detail Amount         Final Allowed Amount
Butler PA 16001
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




John Sawchak                                      Clm No 171169    Filed In Cases: 607
4350 June Dr                                      Class                Claim Detail Amount         Final Allowed Amount
West Mifflin PA 15122
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




George Chavanic                                   Clm No 171170    Filed In Cases: 607
50 Heavens Way                                    Class                Claim Detail Amount         Final Allowed Amount
Lewis Run PA 16738
                                                  UNS                                $1.00

                                                                                     $1.00


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Nolan Conner                                      Clm No 171171    Filed In Cases: 607
PO Box 143                                        Class                Claim Detail Amount         Final Allowed Amount
Curllsville PA 16221
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Michelle Conner                                   Clm No 171172    Filed In Cases: 607
1132 Saxonburg Rd                                 Class                Claim Detail Amount         Final Allowed Amount
Saxonburg PA 16056
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Connie Corbin                                     Clm No 171173    Filed In Cases: 607
5449 Dogtown Rd                                   Class                Claim Detail Amount         Final Allowed Amount
Kingwood WV 26537
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value       $10,000.00




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Richard Ellis                                     Clm No 171174    Filed In Cases: 607
946 Shenango Rd                                   Class                Claim Detail Amount         Final Allowed Amount
Beaver Falls PA 15010
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Maureen Gallagher                                 Clm No 171175    Filed In Cases: 607
2656 Quiet Water Cove                             Class                Claim Detail Amount         Final Allowed Amount
Annapolis MD 21401
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Robert Gutknecht                                  Clm No 171176    Filed In Cases: 607
2012 Aloca Dr                                     Class                Claim Detail Amount         Final Allowed Amount
Arnold PA 15068
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Judith Hankey                                     Clm No 171177    Filed In Cases: 607
1503 Stone Ridge Blvd                             Class                Claim Detail Amount         Final Allowed Amount
Butler PA 16001
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Linda Hilinski                                    Clm No 171178    Filed In Cases: 607
750 Spring Grove Rd                               Class                Claim Detail Amount         Final Allowed Amount
Pittsburgh PA 15215
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Janet Hoffman                                     Clm No 171179    Filed In Cases: 607
93 Baiker St                                      Class                Claim Detail Amount         Final Allowed Amount
Johnstown PA 15902
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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Jane Jividen                                      Clm No 171180    Filed In Cases: 607
3137 Ingalls Rd                                   Class                Claim Detail Amount         Final Allowed Amount
Gallipolis OH 45631
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




James Ike Johnson                                 Clm No 171181    Filed In Cases: 607
41 Denmar Rd                                      Class                Claim Detail Amount         Final Allowed Amount
PO Box 245
                                                  UNS                                $1.00
Hillsboro WV 24946
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Linda Jones                                       Clm No 171182    Filed In Cases: 607
1203 Princeton Station Rd                         Class                Claim Detail Amount         Final Allowed Amount
New Castle PA 16101
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




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Bonnie Justice                                    Clm No 171183    Filed In Cases: 607
1401 Boulevard Dr                                 Class                Claim Detail Amount         Final Allowed Amount
Belpre OH 45714
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Karen Kittle                                      Clm No 171184    Filed In Cases: 607
110 Lexington Dr                                  Class                Claim Detail Amount         Final Allowed Amount
McKeesport PA 15135
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Melva Kohler                                      Clm No 171185    Filed In Cases: 607
596 Lindsay Rd                                    Class                Claim Detail Amount         Final Allowed Amount
Carnegie PA 15106
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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Andrew Krawchyk, Jr.                              Clm No 171186    Filed In Cases: 607
1213 Sixth St                                     Class                Claim Detail Amount         Final Allowed Amount
New Brighton PA 15066
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Frederick Mackey                                  Clm No 171187    Filed In Cases: 607
PO Box 81                                         Class                Claim Detail Amount         Final Allowed Amount
148 Waverly St
                                                  UNS                                $1.00
Waverly WV 26184
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Anthony Marinelli                                 Clm No 171188    Filed In Cases: 607
630 Beverly Rd                                    Class                Claim Detail Amount         Final Allowed Amount
Pittsburgh PA 15243
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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Anthony Marinelli                                 Clm No 171189    Filed In Cases: 607
630 Beverly Rd                                    Class                Claim Detail Amount         Final Allowed Amount
Pittsburgh PA 15243
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Carol Truffa                                      Clm No 171190    Filed In Cases: 607
1232 Woodbourne Ave                               Class                Claim Detail Amount         Final Allowed Amount
Pittsburgh PA 15226
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Carl Mazzetti                                     Clm No 171191    Filed In Cases: 607
107 Fezell Rd                                     Class                Claim Detail Amount         Final Allowed Amount
Freedom PA 15042
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Harold McGarvey                                   Clm No 171192    Filed In Cases: 607
119 Dogwood Rd                                    Class                Claim Detail Amount         Final Allowed Amount
Chicora PA 16025
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Millie Messina                                    Clm No 171193    Filed In Cases: 607
717 Center St                                     Class                Claim Detail Amount         Final Allowed Amount
McKeesport PA 15132
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Leigh Ann Moffa                                   Clm No 171194    Filed In Cases: 607
73 Duncan Station Rd                              Class                Claim Detail Amount         Final Allowed Amount
McKeesport PA 15135
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Janice Murphey                                    Clm No 171195    Filed In Cases: 607
2223 Masonic Dr                                   Class                Claim Detail Amount         Final Allowed Amount
Bldg 5 FL 2
                                                  UNS                          $10,000.00
Sewickley PA 15143
                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Jeanne Murray                                     Clm No 171196    Filed In Cases: 607
5792 Ella Hollow Rd                               Class                Claim Detail Amount         Final Allowed Amount
Elizabeth PA 15037
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Rosemary Nemeth                                   Clm No 171197    Filed In Cases: 607
3142 Estate Dr                                    Class                Claim Detail Amount         Final Allowed Amount
Oakdale PA 15071
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Tammy Purinton                                    Clm No 171198    Filed In Cases: 607
1247 Denniston Ave                                Class                Claim Detail Amount         Final Allowed Amount
Pittsburgh PA 15217
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Karen Remensnyder                                 Clm No 171199    Filed In Cases: 607
930 N Lincoln Ave                                 Class                Claim Detail Amount         Final Allowed Amount
APT 3B
                                                  UNS                          $10,000.00
Pittsburgh PA 15233
                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Russell Rosenberger Jr.                           Clm No 171200    Filed In Cases: 607
126 Southern Valley Ct                            Class                Claim Detail Amount         Final Allowed Amount
Mars PA 16046
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Edward Schmidt, III                               Clm No 171201    Filed In Cases: 607
1028 Palm Ct                                      Class                Claim Detail Amount         Final Allowed Amount
Jeannette PA 15644
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Doris Scott                                       Clm No 171202    Filed In Cases: 607
220 Cole Rd                                       Class                Claim Detail Amount         Final Allowed Amount
Sarver PA 16055
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




William J. Sheret                                 Clm No 171203    Filed In Cases: 607
1741 Sprint Ln                                    Class                Claim Detail Amount         Final Allowed Amount
Holiday FL 34691
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                          402 of 3075

Sara Sidney                                       Clm No 171204    Filed In Cases: 607
1403 Clearview St                                 Class                Claim Detail Amount         Final Allowed Amount
White Oak PA 15131
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Isabella Thompson                                 Clm No 171205    Filed In Cases: 607
35 Jennings Dr                                    Class                Claim Detail Amount         Final Allowed Amount
Palmyra VA 22963
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Carol Van Camp                                    Clm No 171206    Filed In Cases: 607
183 Varner Rd                                     Class                Claim Detail Amount         Final Allowed Amount
Walker WV 26180
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                            403 of 3075

Carmen Malone                                       Clm No 171207    Filed In Cases: 607
6901 Hickory View Lane                              Class                Claim Detail Amount         Final Allowed Amount
Chattanooga, TN 37421
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




George Potts                                        Clm No 171208    Filed In Cases: 607
277 Winterhaven Lane                                Class                Claim Detail Amount         Final Allowed Amount
Brownsville, TX 78526
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Nancy Tatum                                         Clm No 171209    Filed In Cases: 607
6705 Ballard Drive, Room 243                        Class                Claim Detail Amount         Final Allowed Amount
Chattanooga, TN 37421
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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Melvin Poole Jr.                                  Clm No 171210    Filed In Cases: 607
1456 Lewis Chapel Road                            Class                Claim Detail Amount         Final Allowed Amount
Graysville TN 37338
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Judy Brown                                        Clm No 171211    Filed In Cases: 607
69 Mountain View Circle                           Class                Claim Detail Amount         Final Allowed Amount
Dunlap TN 37327
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Sandra Parrott                                    Clm No 171212    Filed In Cases: 607
625 Falls View Drive                              Class                Claim Detail Amount         Final Allowed Amount
Hixson, TN 37343
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          405 of 3075

Frances Webb                                      Clm No 171213    Filed In Cases: 607
4214 Dupont Street                                Class                Claim Detail Amount         Final Allowed Amount
Chattanooga TN 37412
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Rita Aglira                                       Clm No 171214    Filed In Cases: 607
2929 S. Juniper St.                               Class                Claim Detail Amount         Final Allowed Amount
Philadelphia, PA 19148
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Carol Ann Menschner                               Clm No 171215    Filed In Cases: 607
5 Stacy Drive                                     Class                Claim Detail Amount         Final Allowed Amount
Yardley, PA 19067
                                                  UNS                                $1.00

                                                                                     $1.00


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Cynthia Atkinson                                  Clm No 171216    Filed In Cases: 607
14072 Erwin Street                                Class                Claim Detail Amount         Final Allowed Amount
Philadelphia, PA 19116
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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Thomas M. Bartos                                  Clm No 171217    Filed In Cases: 607
915 Big Bear Court                                Class                Claim Detail Amount         Final Allowed Amount
Gibsonia, PA 15044
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Joseph G. Beausejour                              Clm No 171218    Filed In Cases: 607
409 Teakwood Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Southern Pines, NC 28387
                                                  UNS                                $1.00

                                                                                     $1.00


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Laura Benardo                                     Clm No 171219    Filed In Cases: 607
931 Glenwood Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Glen Campbell, PA 15742
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




ROGER PATRICK BLIGH                               Clm No 171220    Filed In Cases: 607
2567 County Road 4472                             Class                Claim Detail Amount         Final Allowed Amount
Warren, TX 77664
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Lydia Bracaliello                                 Clm No 171221    Filed In Cases: 607
1014 Strawberry Avenue                            Class                Claim Detail Amount         Final Allowed Amount
Vineland, NJ 08360
                                                  UNS                                $1.00

                                                                                     $1.00


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Annice Bradley                                    Clm No 171222    Filed In Cases: 607
1850 Bradley Drive                                Class                Claim Detail Amount         Final Allowed Amount
Harrisburg, PA 17110
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Dorothy M. Brooks                                 Clm No 171223    Filed In Cases: 607
3120 Chatham St.                                  Class                Claim Detail Amount         Final Allowed Amount
Philadelphia, PA 19134
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Patricia Schildt                                  Clm No 171224    Filed In Cases: 607
2570 Locust Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Ronkonkoma, NY 11779
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Regina A. Buccieri                                Clm No 171225    Filed In Cases: 607
P.O. Box 222                                      Class                Claim Detail Amount         Final Allowed Amount
Tuscarora, PA 17982
                                                  UNS                                $1.00

                                                                                     $1.00


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Rosemary E. Calhoun                               Clm No 171226    Filed In Cases: 607
868 Garrison Road                                 Class                Claim Detail Amount         Final Allowed Amount
Monroeville, NJ 08343
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Mary E. Campbell                                  Clm No 171227    Filed In Cases: 607
P.O. Box 696                                      Class                Claim Detail Amount         Final Allowed Amount
Amherst, VA 24521
                                                  UNS                                $1.00

                                                                                     $1.00


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William E. Carper                                 Clm No 171228    Filed In Cases: 607
13121 Clock Tower Parkway                         Class                Claim Detail Amount         Final Allowed Amount
Hudson, FL 34667
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Linda M. Clare                                    Clm No 171229    Filed In Cases: 607
705 Smokey Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Spring Creek, NV 89815
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Clara I. Clark                                    Clm No 171230    Filed In Cases: 607
1 Circle Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Union, MO 63084
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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Neil P. Clark                                     Clm No 171231    Filed In Cases: 607
1513 James Rd.                                    Class                Claim Detail Amount         Final Allowed Amount
Wynnewood, PA 19096
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Joanne K. Class                                   Clm No 171232    Filed In Cases: 607
209 Oakland Place                                 Class                Claim Detail Amount         Final Allowed Amount
North Wales, PA 19454
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Steven Clay                                       Clm No 171233    Filed In Cases: 607
9 Eve Avenue                                      Class                Claim Detail Amount         Final Allowed Amount
Lebanon, PA 17046
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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Joanne Clevenger                                  Clm No 171234    Filed In Cases: 607
101 Honeyflower Drive                             Class                Claim Detail Amount         Final Allowed Amount
Trenton, NJ 08620
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Margaret Comerford                                Clm No 171235    Filed In Cases: 607
423 W. Central Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Bushnell, FL 33513
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Margaret G. Constantine                           Clm No 171236    Filed In Cases: 607
c/o Cynthia Harris                                Class                Claim Detail Amount         Final Allowed Amount
c/o Cynthia Harris
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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Frederick P. Corsey, Jr                           Clm No 171237    Filed In Cases: 607
262 Park Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Woodbury, NJ 08096
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Timothy M. Criswell                               Clm No 171238    Filed In Cases: 607
11 Essex Court                                    Class                Claim Detail Amount         Final Allowed Amount
Norristown, PA 19403
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Joseph J. Cucinotti                               Clm No 171239    Filed In Cases: 607
166 Braddock Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Blue Anchor, NJ 08037
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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Renee Cummings                                    Clm No 171240    Filed In Cases: 607
3423 W. 129th Street                              Class                Claim Detail Amount         Final Allowed Amount
Cleveland, OH 44111
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




JOSEPH R. CUMMONS                                 Clm No 171241    Filed In Cases: 607
127 Greenbrook Drive                              Class                Claim Detail Amount         Final Allowed Amount
Levittown, PA 19055
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Deloris Cunitz                                    Clm No 171242    Filed In Cases: 607
8219 Delta Circle                                 Class                Claim Detail Amount         Final Allowed Amount
Louisville, KY 40228
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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Jeanne V. Kramer                                  Clm No 171243    Filed In Cases: 607
20 N.E. Shue String Lane                          Class                Claim Detail Amount         Final Allowed Amount
Schuylkill Haven, PA 17972
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




CALVIN DAMON                                      Clm No 171244    Filed In Cases: 607
126 Delaware Drive                                Class                Claim Detail Amount         Final Allowed Amount
Milford PA 18337
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Ellen M. Seidt                                    Clm No 171245    Filed In Cases: 607
110 Grande Blvd.                                  Class                Claim Detail Amount         Final Allowed Amount
Sinking Spring, PA 19608
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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Roberta G. DeVries                                Clm No 171246    Filed In Cases: 607
4506 Briar Hill West                              Class                Claim Detail Amount         Final Allowed Amount
Lafayette Hill, PA 19444
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




WILLIAM J. DIXON                                  Clm No 171247    Filed In Cases: 607
17 Arlington Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Maple Shade, NJ 08052
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




MICHAEL A. EORIO                                  Clm No 171248    Filed In Cases: 607
405 W. Linden Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Linden NJ 07036
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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Karen L. Zeak                                     Clm No 171249    Filed In Cases: 607
729 Fairfield Drive                               Class                Claim Detail Amount         Final Allowed Amount
Duncanville, PA 16635
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




E. JoAnn Fallowfield                              Clm No 171250    Filed In Cases: 607
1600 Glenhurst Drive                              Class                Claim Detail Amount         Final Allowed Amount
Snellville, GA 30078
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Edward Faulkner                                   Clm No 171251    Filed In Cases: 607
2523 N. Douglas St.                               Class                Claim Detail Amount         Final Allowed Amount
Philadelphia, PA 19132
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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No Personal Rep Yet Appointed                        Clm No 171252    Filed In Cases: 607
c/o Paul, Reich & Myers, P.C.                        Class                Claim Detail Amount         Final Allowed Amount
1608 Walnut Street, Suite 500
                                                     UNS                                $1.00
Philadelphia, PA 19103
                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




Teresa Fitzpatrick                                   Clm No 171253    Filed In Cases: 607
21 Douglas Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
Franklinville, NJ 08322
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




James Floyd, Jr.                                     Clm No 171254    Filed In Cases: 607
11 West Mowry Street                                 Class                Claim Detail Amount         Final Allowed Amount
Chester, PA 19013
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   6-Oct-2015
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   Claim Face Value             $10,000.00




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Marie C. Foreaker                                 Clm No 171255    Filed In Cases: 607
P.O. Box 337                                      Class                Claim Detail Amount         Final Allowed Amount
Albrightsville, PA 18210
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Kevin Franceschini                                Clm No 171256    Filed In Cases: 607
408 1st Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
Haddon Heights, NJ 08035
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Terry Franks                                      Clm No 171257    Filed In Cases: 607
84 Park Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
Hallstead, PA 18822
                                                  UNS                                $1.00

                                                                                     $1.00


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JOHN A. FRESA                                     Clm No 171258    Filed In Cases: 607
1515 Liberty St.                                  Class                Claim Detail Amount         Final Allowed Amount
Allentown, PA 18102
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Barbara A. Fries                                  Clm No 171259    Filed In Cases: 607
231 Poplar Street                                 Class                Claim Detail Amount         Final Allowed Amount
Spring City, PA 19475
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Judy Geier                                        Clm No 171260    Filed In Cases: 607
4631 4th Street S.E.                              Class                Claim Detail Amount         Final Allowed Amount
Heaton, ND 58418
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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David B. Gillespie                                Clm No 171261    Filed In Cases: 607
540 E. Norwegian Street                           Class                Claim Detail Amount         Final Allowed Amount
Pottsville, PA 17901
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




JAMES D. GORDON                                   Clm No 171262    Filed In Cases: 607
4550 Cove Circle                                  Class                Claim Detail Amount         Final Allowed Amount
No. 206
                                                  UNS                                $1.00
St. Petersburg, FL 33708
                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Charlotte Gozditis                                Clm No 171263    Filed In Cases: 607
Charlotte Gozditis                                Class                Claim Detail Amount         Final Allowed Amount

                                                  UNS                                $1.00

                                                                                     $1.00


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Personal Rep. Recently Deceased                      Clm No 171264    Filed In Cases: 607
c/o Paul, Reich & Myers, P.C.                        Class                Claim Detail Amount         Final Allowed Amount
1608 Walnut Street, Suite 500
                                                     UNS                          $10,000.00
Philadelphia, PA 19103
                                                                                  $10,000.00


   Date Filed                   6-Oct-2015
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   Claim Face Value             $10,000.00




Gayle Angeli                                         Clm No 171265    Filed In Cases: 607
100 Mel Oak Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Chapel Hill, NC 27516
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




Constaine E. Griffen                                 Clm No 171266    Filed In Cases: 607
49 Pilgrim Road                                      Class                Claim Detail Amount         Final Allowed Amount
Brentwood, NY 11717
                                                     UNS                                $1.00

                                                                                        $1.00


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Michael T. Griffith                               Clm No 171267    Filed In Cases: 607
2471 Browns Chapel Road                           Class                Claim Detail Amount         Final Allowed Amount
Union Point, GA 30669
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Daniel C. Gushue                                  Clm No 171268    Filed In Cases: 607
3535 Marvin St.                                   Class                Claim Detail Amount         Final Allowed Amount
Annandale, VA 22003
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Pamela M. Gutschall                               Clm No 171269    Filed In Cases: 607
57 Doran Road                                     Class                Claim Detail Amount         Final Allowed Amount
Philipsburg, PA 16866
                                                  UNS                                $1.00

                                                                                     $1.00


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Julie A. Hale                                     Clm No 171270    Filed In Cases: 607
1010 Kendale Road                                 Class                Claim Detail Amount         Final Allowed Amount
Red Lion, PA 17356
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




Angela L. Hamer                                   Clm No 171271    Filed In Cases: 607
3676 Galburgh Court North                         Class                Claim Detail Amount         Final Allowed Amount
Indianapolis, IN 46234
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Robert Hammond                                    Clm No 171272    Filed In Cases: 607
21 Marsad Dr.                                     Class                Claim Detail Amount         Final Allowed Amount
Old Bridge, NJ 08857
                                                  UNS                                $1.00

                                                                                     $1.00


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Penelope Hannons                                  Clm No 171273    Filed In Cases: 607
582 Bellevue Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Trenton, NJ 08618
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




GLENN L. HARMON                                   Clm No 171274    Filed In Cases: 607
18 Balfour Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Claymont, DE 19703
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Ronnie G. Hasty                                   Clm No 171275    Filed In Cases: 607
12505 SW 6th Street                               Class                Claim Detail Amount         Final Allowed Amount
Yukon, OK 73099
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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Linda J. Hiester                                  Clm No 171276    Filed In Cases: 607
2001 Duke Street                                  Class                Claim Detail Amount         Final Allowed Amount
Laureldale, PA 19605
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Roger Lee Hindle                                  Clm No 171277    Filed In Cases: 607
3033 Michael Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Belle, WV 25015
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Gerald Hohenstein                                 Clm No 171278    Filed In Cases: 607
2309 Oxfordshire Road                             Class                Claim Detail Amount         Final Allowed Amount
Furlong, PA 18925
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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  Claims Details                                                                                          427 of 3075

Judy B. Hughes                                    Clm No 171279    Filed In Cases: 607
370 East Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Clayton, NJ 08312
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




ROBERT L. HULETTE                                 Clm No 171280    Filed In Cases: 607
615 Millie Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Frankfort, KY 40601
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




PHILIP E. JARRETT                                 Clm No 171281    Filed In Cases: 607
5091 Maplewood Road                               Class                Claim Detail Amount         Final Allowed Amount
West Topsham, VT 05086
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                          428 of 3075

Elizabeth A. Jones                                Clm No 171282    Filed In Cases: 607
4028 Penn Road                                    Class                Claim Detail Amount         Final Allowed Amount
Plymouth Meeting, PA 19462
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Sandra Kasmarcik                                  Clm No 171283    Filed In Cases: 607
215 Commercial Street                             Class                Claim Detail Amount         Final Allowed Amount
Theresa, NY 13691
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Marc Kaufman                                      Clm No 171284    Filed In Cases: 607
36255 Bainbridge Road                             Class                Claim Detail Amount         Final Allowed Amount
Solon, OH 44139
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                          429 of 3075

Arthur J. Kay                                     Clm No 171285    Filed In Cases: 607
403 N.E. 8th Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Okeechobee, FL 34972
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Ethel Kennedy                                     Clm No 171286    Filed In Cases: 607
602 E. Jacksonville Avenue                        Class                Claim Detail Amount         Final Allowed Amount
Villas, NJ 08251
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Jean Kilgore                                      Clm No 171287    Filed In Cases: 607
208 Mansfield Drive                               Class                Claim Detail Amount         Final Allowed Amount
Broadway, NC 27505
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                          430 of 3075

ROLAND KING                                       Clm No 171288    Filed In Cases: 607
348 Zeralda Street                                Class                Claim Detail Amount         Final Allowed Amount
Philadelphia, PA 19144
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Catherine M. Kirk                                 Clm No 171289    Filed In Cases: 607
14847 N. 29th Street                              Class                Claim Detail Amount         Final Allowed Amount
Phoenix, AZ 85032
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Douglas A. Knisely                                Clm No 171290    Filed In Cases: 607
192 Ben Claar Road                                Class                Claim Detail Amount         Final Allowed Amount
Claysburg, PA 16625
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                          431 of 3075

Bryan N. Kubic                                    Clm No 171291    Filed In Cases: 607
35 Fern Drive                                     Class                Claim Detail Amount         Final Allowed Amount
Manchester, PA 17345
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Elizabeth M. Lackus                               Clm No 171292    Filed In Cases: 607
234 Sundance Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Milton, DE 19968
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Sandra J. Lewis                                   Clm No 171293    Filed In Cases: 607
199 Oak Street                                    Class                Claim Detail Amount         Final Allowed Amount
South Amboy, NJ 08879
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                           432 of 3075

Joanne C. Lightcap                                 Clm No 171294    Filed In Cases: 607
c/o Plexus Scientific Corp.                        Class                Claim Detail Amount         Final Allowed Amount
Alexandria, VA 22312
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




JOSEPH LEE MACK                                    Clm No 171295    Filed In Cases: 607
8 Venice Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
Bristol, PA 19007
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Patricia A. Maffei                                 Clm No 171296    Filed In Cases: 607
1001 Beech Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Glenolden, PA 19036
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                           433 of 3075

Judith Mancuso                                     Clm No 171297    Filed In Cases: 607
828 Green Valley Drive                             Class                Claim Detail Amount         Final Allowed Amount
Philadelphia, PA 19128
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Clyde E. Manley                                    Clm No 171298    Filed In Cases: 607
c/o Connie Amado POA                               Class                Claim Detail Amount         Final Allowed Amount
5525 Hedge Brooke Drive NW
                                                   UNS                          $10,000.00
Acworth, GA 30101
                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




James C. Markovsky                                 Clm No 171299    Filed In Cases: 607
3453 Smokey Mountain Circle                        Class                Claim Detail Amount         Final Allowed Amount
El Dorado Hills, CA 95762
                                                   UNS                          $10,000.00

                                                                                $10,000.00


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  Claims Details                                                                                          434 of 3075

Elaine F. Matkowsky                               Clm No 171300    Filed In Cases: 607
871 S. Main Street                                Class                Claim Detail Amount         Final Allowed Amount
Williamstown, NJ 08094
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




KENNETH E. MCAFEE                                 Clm No 171301    Filed In Cases: 607
325 N. Green Street                               Class                Claim Detail Amount         Final Allowed Amount
Clayton, NJ 08312
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Cynthia M. McCall                                 Clm No 171302    Filed In Cases: 607
27 S. 4th Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Apt. B-10
                                                  UNS                                $1.00
Coatesville, PA 19320
                                                                                     $1.00


   Date Filed             6-Oct-2015
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Richard A. McClean                                Clm No 171303    Filed In Cases: 607
1494 Nash Trail                                   Class                Claim Detail Amount         Final Allowed Amount
East Tawas, MI 48730
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Barry Spencer, Sr.                                Clm No 171304    Filed In Cases: 607
4172 Newhall St.                                  Class                Claim Detail Amount         Final Allowed Amount
Philadelphia, PA 19140
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Patricia A. McCutcheon                            Clm No 171305    Filed In Cases: 607
408 Walter Street                                 Class                Claim Detail Amount         Final Allowed Amount
Philadelphia, PA 19111
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          436 of 3075

Thomas P. McFadden                                Clm No 171306    Filed In Cases: 607
1111 Hollywood Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Havertown, PA 19083
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Carrie Ann Gardner                                Clm No 171307    Filed In Cases: 607
524 Park Meadow Drive                             Class                Claim Detail Amount         Final Allowed Amount
Pottsville, PA 17901
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




James P. McKenna                                  Clm No 171308    Filed In Cases: 607
1624 Potter Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Pottstown, PA 19464
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                          437 of 3075

Charlotte A. McLaughlin                           Clm No 171309    Filed In Cases: 607
63H Winthrop Road                                 Class                Claim Detail Amount         Final Allowed Amount
Monroe Township, NJ 08831
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Carole Y. McNair                                  Clm No 171310    Filed In Cases: 607
7355 Romeo Road                                   Class                Claim Detail Amount         Final Allowed Amount
Pennsauken, NJ 08110
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




Barbara M. McSweeney                              Clm No 171311    Filed In Cases: 607
723 Darby Road                                    Class                Claim Detail Amount         Final Allowed Amount
Ridley Park, PA 19078
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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Elsie McWilliams                                  Clm No 171312    Filed In Cases: 607
51-10 Revere Road                                 Class                Claim Detail Amount         Final Allowed Amount
Drexel Hill, PA 19026
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Betty J. Messaris                                 Clm No 171313    Filed In Cases: 607
108 Dovenshire Drive                              Class                Claim Detail Amount         Final Allowed Amount
Crossville, TN 38558
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Harry D. Miller                                   Clm No 171314    Filed In Cases: 607
158 Dorado Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Sewell, NJ 08080
                                                  UNS                                $1.00

                                                                                     $1.00


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FRANK K. NETHKEN                                  Clm No 171315    Filed In Cases: 607
6507 Lacelike Row                                 Class                Claim Detail Amount         Final Allowed Amount
Columbia, MD 21045
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Kimberly K. Netland                               Clm No 171316    Filed In Cases: 607
906 Patricia Lane N.W.                            Class                Claim Detail Amount         Final Allowed Amount
Bagley, MN 56621
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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Carole J. O'Donnell                               Clm No 171317    Filed In Cases: 607
9229 Leon Street                                  Class                Claim Detail Amount         Final Allowed Amount
Philadelphia, PA 19114
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          440 of 3075

Crystal Painter                                   Clm No 171318    Filed In Cases: 607
P.O. Box 22                                       Class                Claim Detail Amount         Final Allowed Amount
Shepherdstown, WV 25443
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Deborah A. Papaneri                               Clm No 171319    Filed In Cases: 607
652 Clayton Road                                  Class                Claim Detail Amount         Final Allowed Amount
Williamstown, NJ 08094
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Julia V. Pellechia                                Clm No 171320    Filed In Cases: 607
802 Selma Street                                  Class                Claim Detail Amount         Final Allowed Amount
Norristown, PA 19401
                                                  UNS                                $1.00

                                                                                     $1.00


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Betty Jane Thompson Pet                            Clm No 171321    Filed In Cases: 607
2519 North Waverly Drive                           Class                Claim Detail Amount         Final Allowed Amount
Bossier City, LA 71111
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




Deborah M. Phillingame                             Clm No 171322    Filed In Cases: 607
18509 Hardwood Creek Road                          Class                Claim Detail Amount         Final Allowed Amount
Stoney Creek, VA 23882-2054
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Marianne D'Antonio                                 Clm No 171323    Filed In Cases: 607
301 South Cedar Lane                               Class                Claim Detail Amount         Final Allowed Amount
Upper Darby, PA 19082
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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BERNICE C. PINKOWICZ                              Clm No 171324    Filed In Cases: 607
3155 Richard Road                                 Class                Claim Detail Amount         Final Allowed Amount
Aston, PA 19014
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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Bonnie Ploucher                                   Clm No 171325    Filed In Cases: 607
9148 Old Newtown Road                             Class                Claim Detail Amount         Final Allowed Amount
Philadelphia, PA 19115
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Jean P. Oraschewsky                               Clm No 171326    Filed In Cases: 607
2117 Haverford Road                               Class                Claim Detail Amount         Final Allowed Amount
Ardmore, PA 19003
                                                  UNS                                $1.00

                                                                                     $1.00


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Jean P. Oraschewsky                               Clm No 171327    Filed In Cases: 607
2117 Haverford Road                               Class                Claim Detail Amount         Final Allowed Amount
Ardmore, PA 19003
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Jean P. Oraschewsky                               Clm No 171328    Filed In Cases: 607
2117 Haverford Road                               Class                Claim Detail Amount         Final Allowed Amount
Ardmore, PA 19003
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Roslyn Randazzo                                   Clm No 171329    Filed In Cases: 607
PO Box 879423                                     Class                Claim Detail Amount         Final Allowed Amount
Wasilla, AK 99687
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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Thomas S. Riddle                                  Clm No 171330    Filed In Cases: 607
11631 N 40th Place                                Class                Claim Detail Amount         Final Allowed Amount
Phoenix, AZ 85028
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Nilda Rivera                                      Clm No 171331    Filed In Cases: 607
17353 Camelot Dr.                                 Class                Claim Detail Amount         Final Allowed Amount
Lowell, IN 46356
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Amos Rogers                                       Clm No 171332    Filed In Cases: 607
61 Prospect Ave                                   Class                Claim Detail Amount         Final Allowed Amount
Bryn Mawr, PA 19010
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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Richard A. Rosenbaum                              Clm No 171333    Filed In Cases: 607
8 Edward Road                                     Class                Claim Detail Amount         Final Allowed Amount
Hatboro, PA 19040
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Morris Rubin                                      Clm No 171334    Filed In Cases: 607
8940 Krewstown Rd.                                Class                Claim Detail Amount         Final Allowed Amount
Apt. 102
                                                  UNS                                $1.00
Philadelphia, PA 19115
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Candida McGibbney                                 Clm No 171335    Filed In Cases: 607
8540 E. McDowell Road                             Class                Claim Detail Amount         Final Allowed Amount
Mesa, AZ 85207
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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Helen Sacarakis                                   Clm No 171336    Filed In Cases: 607
1520 Kadel Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Bethlehem, PA 18018
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Jeffrey J. Schnee                                 Clm No 171337    Filed In Cases: 607
508 Radcliffe St.                                 Class                Claim Detail Amount         Final Allowed Amount
Bristol , PA 19007
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Eileen Martin                                     Clm No 171338    Filed In Cases: 607
106 Sterling Drive                                Class                Claim Detail Amount         Final Allowed Amount
North Wales, PA 19454
                                                  UNS                                $1.00

                                                                                     $1.00


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Jamie L. Young                                    Clm No 171339    Filed In Cases: 607
2948 Lexington Road                               Class                Claim Detail Amount         Final Allowed Amount
Louisville, KY 40206
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Brenda Fulmer                                     Clm No 171340    Filed In Cases: 607
219 Krystal Ct.                                   Class                Claim Detail Amount         Final Allowed Amount
Saylorsburg, PA 18353
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Arnet Stonestreet                                 Clm No 171341    Filed In Cases: 607
124 Crooked Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Gilbertsville, PA 19525
                                                  UNS                                $1.00

                                                                                     $1.00


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Amy M. Strunk                                     Clm No 171342    Filed In Cases: 607
2237 Chew Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Franklinville, NJ 08322
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Ann Swann                                         Clm No 171343    Filed In Cases: 607
3584 Oakhill Road                                 Class                Claim Detail Amount         Final Allowed Amount
Philadelphia, PA 19154
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




DANIEL L. SWOPE                                   Clm No 171344    Filed In Cases: 607
421 Black Walnut Drive                            Class                Claim Detail Amount         Final Allowed Amount
Kearneysville, WV 25430
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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Joseph Thorn                                      Clm No 171345    Filed In Cases: 607
631 Highland Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Morton, PA 19070
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Pamela Toni                                       Clm No 171346    Filed In Cases: 607
1326 Garden Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Niagara Falls, NY 14305
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Beatrice F. Toomey                                Clm No 171347    Filed In Cases: 607
534 Andrew Road                                   Class                Claim Detail Amount         Final Allowed Amount
Springfield, PA 19064
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Linda P. Torres                                   Clm No 171348    Filed In Cases: 607
122 Greenbriar Circle                             Class                Claim Detail Amount         Final Allowed Amount
Lancaster, PA 17603
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Joleen B. Trujillo                                Clm No 171349    Filed In Cases: 607
10200 2nd St. N.W., #51                           Class                Claim Detail Amount         Final Allowed Amount
Albuquerque, NM 87114
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Joleen B. Trujillo                                Clm No 171350    Filed In Cases: 607
10200 2nd St. N.W., #51                           Class                Claim Detail Amount         Final Allowed Amount
Albuquerque, NM 87114
                                                  UNS                                $1.00

                                                                                     $1.00


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Selena Ross Musler                                 Clm No 171351    Filed In Cases: 607
11264 Evans Trail                                  Class                Claim Detail Amount         Final Allowed Amount
Beltsville, MD 20705
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value                $1.00




Frank E. Whalen                                    Clm No 171352    Filed In Cases: 607
514 W. Moreland Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Horsham, PA 19044
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value                $1.00




Danielle Y. Green                                  Clm No 171353    Filed In Cases: 607
501 Meadowbrook Drive                              Class                Claim Detail Amount         Final Allowed Amount
Huntingdon Valley, PA 19006-6832
                                                   UNS                                $1.00

                                                                                      $1.00


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Debra Eliassen                                    Clm No 171354    Filed In Cases: 607
22 E. Mill St.                                    Class                Claim Detail Amount         Final Allowed Amount
Elysburg, PA 17824
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Samuel J. Moretti                                 Clm No 171355    Filed In Cases: 607
5447 Golden Arrow Lane                            Class                Claim Detail Amount         Final Allowed Amount
Raleigh, NC 27613
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Vivian Zimmerman                                  Clm No 171356    Filed In Cases: 607
372 Locust Lane.                                  Class                Claim Detail Amount         Final Allowed Amount
Milton, PA 17847
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Rosemarie Zuchinski                               Clm No 171357    Filed In Cases: 607
201 E. Mary Street                                Class                Claim Detail Amount         Final Allowed Amount
Old Forge, PA 18518
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Jody Wayne Peabody Ryan                           Clm No 171358    Filed In Cases: 607
15471 Crown Oaks Drive                            Class                Claim Detail Amount         Final Allowed Amount
Montgomery, TX 77316
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             2-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Maria Bridges                                     Clm No 171359    Filed In Cases: 607
11302 Par One                                     Class                Claim Detail Amount         Final Allowed Amount
San Antonio, TX 78221
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             2-Oct-2015
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Carolyn Coffman                                      Clm No 171360    Filed In Cases: 607
548 North Holston River Drive                        Class                Claim Detail Amount         Final Allowed Amount
Kingsport, TN 37760
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   2-Oct-2015
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   Claim Face Value             $10,000.00




Richard Dillon                                       Clm No 171361    Filed In Cases: 607
2821 Allen Walker Rd                                 Class                Claim Detail Amount         Final Allowed Amount
Grove Hill, AL 36451
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   2-Oct-2015
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   Claim Face Value                  $1.00




Donna Elliott                                        Clm No 171362    Filed In Cases: 607
29330 Bill McLin Rd                                  Class                Claim Detail Amount         Final Allowed Amount
Livingston, LA 70754
                                                     UNS                                $1.00

                                                                                        $1.00


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Della Jordan                                      Clm No 171363    Filed In Cases: 607
344 North Susong Street                           Class                Claim Detail Amount         Final Allowed Amount
Newport, TN 37821
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                2-Oct-2015
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   Claim Face Value               $1.00




Gladys Gregg                                      Clm No 171364    Filed In Cases: 607
4950 Government Blvd. #121                        Class                Claim Detail Amount         Final Allowed Amount
Mobile, AL 36693
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                2-Oct-2015
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William Justice                                   Clm No 171365    Filed In Cases: 607
398 I 30 E                                        Class                Claim Detail Amount         Final Allowed Amount
Mount Pleasant, TX 75466
                                                  UNS                                $1.00

                                                                                     $1.00


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Wynell Perkins                                    Clm No 171366    Filed In Cases: 607
325 Willow Wood Street                            Class                Claim Detail Amount         Final Allowed Amount
Murphy, TX 75094
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             2-Oct-2015
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   Claim Face Value       $10,000.00




Curtis Renfro                                     Clm No 171367    Filed In Cases: 607
P.O. Box 3583                                     Class                Claim Detail Amount         Final Allowed Amount
Midland, TX 79702
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             2-Oct-2015
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   Claim Face Value       $10,000.00




Ruth Renfro                                       Clm No 171368    Filed In Cases: 607
P.O. Box 599                                      Class                Claim Detail Amount         Final Allowed Amount
Cypress, TX 77410
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Ignazio Alfieri                                   Clm No 171369    Filed In Cases: 607
184 East 8th Street                               Class                Claim Detail Amount         Final Allowed Amount
Oswego, NY 13126
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Alton Barcomb                                     Clm No 171370    Filed In Cases: 607
15 Melody Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Plattsburgh, NY 12901
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Aileen Beach                                      Clm No 171371    Filed In Cases: 607
137 Fair Oaks Court NE                            Class                Claim Detail Amount         Final Allowed Amount
Cleveland, TN 37323
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Larry Behage                                      Clm No 171372    Filed In Cases: 607
1520 E. Capitol Expwy #137                        Class                Claim Detail Amount         Final Allowed Amount
San Jose, CA 95121
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                5-Oct-2015
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Louis Belfield                                    Clm No 171373    Filed In Cases: 607
PO Box 4                                          Class                Claim Detail Amount         Final Allowed Amount
Phoenix, NY 13135
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                5-Oct-2015
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   Claim Face Value               $1.00




Janette Bohrer                                    Clm No 171374    Filed In Cases: 607
1067 Township Rd. 1443                            Class                Claim Detail Amount         Final Allowed Amount
Ashland, OH 44805
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                5-Oct-2015
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Nicholas Brindak, Jr.                             Clm No 171375    Filed In Cases: 607
104 Clearview Road                                Class                Claim Detail Amount         Final Allowed Amount
Syracuse, NY 13214
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Linda Brown                                       Clm No 171376    Filed In Cases: 607
228 8th Street                                    Class                Claim Detail Amount         Final Allowed Amount
Chalmette, LA 70043
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Alice Carson                                      Clm No 171377    Filed In Cases: 607
48 Doyle Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Buffalo, NY 14207
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                                460 of 3075

Merle Chapin                                            Clm No 171378    Filed In Cases: 607
405 Wurlitzer Drive                                     Class                Claim Detail Amount         Final Allowed Amount
North Tonawanda, NY 14120
                                                        UNS                                $1.00

                                                                                           $1.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Frank B. Iacovangelo, as Public Administrator           Clm No 171379    Filed In Cases: 607
180 Canal View Blvd.                                    Class                Claim Detail Amount         Final Allowed Amount
Suite 100
                                                        UNS                          $10,000.00
Rochester, NY 14623
                                                                                     $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Elaine Gasner                                           Clm No 171380    Filed In Cases: 607
452 County Highway 132                                  Class                Claim Detail Amount         Final Allowed Amount
Hagaman, NY 12086
                                                        UNS                          $10,000.00

                                                                                     $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




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  Claims Details                                                                                          461 of 3075

Raymond Geiser                                    Clm No 171381    Filed In Cases: 607
222 Paradise Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Tonawanda, NY 14150
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Linda Gielow                                      Clm No 171382    Filed In Cases: 607
7209 Schultz Road                                 Class                Claim Detail Amount         Final Allowed Amount
North Tonawanda, NY 14120
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Geraldine Gill                                    Clm No 171383    Filed In Cases: 607
P.O. Box 371                                      Class                Claim Detail Amount         Final Allowed Amount
Sanborn, NY 14132
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




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  Claims Details                                                                                          462 of 3075

Sandra Gimber                                     Clm No 171384    Filed In Cases: 607
112 Winfield Road                                 Class                Claim Detail Amount         Final Allowed Amount
Rochester, NY 14622
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Marcia Goff                                       Clm No 171385    Filed In Cases: 607
4120 Glen Gary Road East                          Class                Claim Detail Amount         Final Allowed Amount
Lakeland, FL 33813
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Madonna Guzzo                                     Clm No 171386    Filed In Cases: 607
244 Cumberland Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Buffalo, NY 14220
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              5-Oct-2015
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   Claim Face Value             $1.00




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Rita Hake                                          Clm No 171387    Filed In Cases: 607
132 Cemetery Road                                  Class                Claim Detail Amount         Final Allowed Amount
Lancaster, NY 14086
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Judy Heiler                                        Clm No 171388    Filed In Cases: 607
5665 Southwestern Boulevard #43A                   Class                Claim Detail Amount         Final Allowed Amount
Hamburg, NY 14075
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Robert Hutchison, Jr.                              Clm No 171389    Filed In Cases: 607
3469 Creekview Drive                               Class                Claim Detail Amount         Final Allowed Amount
Hamburg, NY 14075
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed              5-Oct-2015
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   Claim Face Value                $1.00




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John Iorfida                                      Clm No 171390    Filed In Cases: 607
8730 Wolcott Road                                 Class                Claim Detail Amount         Final Allowed Amount
Clarence Center, NY 14032
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Clifford Johnson                                  Clm No 171391    Filed In Cases: 607
18203 Fountain Grove Way                          Class                Claim Detail Amount         Final Allowed Amount
Olney, MD 20832
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Mary Carolyn Judd                                 Clm No 171392    Filed In Cases: 607
8955 Indian Springs Road                          Class                Claim Detail Amount         Final Allowed Amount
Frederick, MD 21702
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               5-Oct-2015
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   Claim Face Value         $10,000.00




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  Claims Details                                                                                          465 of 3075

Linda Cornell                                     Clm No 171393    Filed In Cases: 607
8139 County Route 333                             Class                Claim Detail Amount         Final Allowed Amount
Campbell, NY 14821
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Terry Kuehn                                       Clm No 171394    Filed In Cases: 607
6457 Waterscape Ridge                             Class                Claim Detail Amount         Final Allowed Amount
Gainesville, GA 30506
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




David Laures                                      Clm No 171395    Filed In Cases: 607
80 Sharon Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Tonawanda, NY 14150
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                          466 of 3075

Phillip Lewis                                     Clm No 171396    Filed In Cases: 607
5121 Country Club Trail                           Class                Claim Detail Amount         Final Allowed Amount
Lewiston, NY 14092
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Phillip Lewis                                     Clm No 171397    Filed In Cases: 607
5121 Country Club Trail                           Class                Claim Detail Amount         Final Allowed Amount
Lewiston, NY 14092
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Joyce Lovell                                      Clm No 171398    Filed In Cases: 607
5276 Mayfield Court                               Class                Claim Detail Amount         Final Allowed Amount
Clarence, NY 14031
                                                  UNS                                $1.00

                                                                                     $1.00


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Linda Marschall                                   Clm No 171399    Filed In Cases: 607
302 Maryview Drive                                Class                Claim Detail Amount         Final Allowed Amount
Webster, NY 14850
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Charlotte Monacelli                               Clm No 171400    Filed In Cases: 607
512 A Bahia Circle                                Class                Claim Detail Amount         Final Allowed Amount
Ocala, FL 34472
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




Norma Moon                                        Clm No 171401    Filed In Cases: 607
4484 North Fork Rd.                               Class                Claim Detail Amount         Final Allowed Amount
Westfield, PA 16950
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Marie Mosher                                      Clm No 171402    Filed In Cases: 607
134 Frazier Street                                Class                Claim Detail Amount         Final Allowed Amount
Brockport, NY 14420
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




Joseph Muir                                       Clm No 171403    Filed In Cases: 607
14 Sawmill Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Ledyard, CT 06339
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Blyn Nadeau                                       Clm No 171404    Filed In Cases: 607
114 Madison Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Madison, ME 04950
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Kenneth Nowak                                     Clm No 171405    Filed In Cases: 607
1321 Maple Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Niagara Falls, NY 14305
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              5-Oct-2015
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   Claim Face Value             $1.00




Mary O'Connor                                     Clm No 171406    Filed In Cases: 607
5720 E Lake Road                                  Class                Claim Detail Amount         Final Allowed Amount
Conesus, NY 14435
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              5-Oct-2015
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   Claim Face Value             $1.00




Betty Paige                                       Clm No 171407    Filed In Cases: 607
16630 Southeast 115th Avenue                      Class                Claim Detail Amount         Final Allowed Amount
Weirsdale, FL 32195
                                                  UNS                                $1.00

                                                                                     $1.00


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Dorothy Peck                                      Clm No 171408    Filed In Cases: 607
24218 Hewitt Park Circle                          Class                Claim Detail Amount         Final Allowed Amount
Carthage, NY 13619
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Christopher Mazur                                 Clm No 171409    Filed In Cases: 607
c/o 730 Main St                                   Class                Claim Detail Amount         Final Allowed Amount
Niagara Falls, NY 14301
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Cynthia Braxton                                   Clm No 171410    Filed In Cases: 607
2313 Chapin Road                                  Class                Claim Detail Amount         Final Allowed Amount
Silver Creek, NY 14136
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
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Elizabeth Pooley                                  Clm No 171411    Filed In Cases: 607
300 Gallant Fox Way                               Class                Claim Detail Amount         Final Allowed Amount
Apt. 812
                                                  UNS                          $10,000.00
Knoxville, TN 37923
                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Judith Cwierley                                   Clm No 171412    Filed In Cases: 607
960 N. Hewitt Drive                               Class                Claim Detail Amount         Final Allowed Amount
Lewiston, NY 14092
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




David Ransom                                      Clm No 171413    Filed In Cases: 607
262 Commercial Street                             Class                Claim Detail Amount         Final Allowed Amount
Genessee, PA 16923
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Regina Raymond                                    Clm No 171414    Filed In Cases: 607
275 Harbor Hill Drive                             Class                Claim Detail Amount         Final Allowed Amount
Rochester, NY 14617
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




Mary Linda Reals                                  Clm No 171415    Filed In Cases: 607
1301 Nottingham Rd.                               Class                Claim Detail Amount         Final Allowed Amount
Apt. B203
                                                  UNS                          $10,000.00
Jamesville, NY 13078
                                                                               $10,000.00


   Date Filed             5-Oct-2015
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   Claim Face Value       $10,000.00




Marlena Belsito                                   Clm No 171416    Filed In Cases: 607
143 Cresthilll Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Tonawanda, NY 14150
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
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Betty Schrader                                    Clm No 171417    Filed In Cases: 607
2160 County Road 28                               Class                Claim Detail Amount         Final Allowed Amount
Canandaigua, NY 14424
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Lewis Schram                                      Clm No 171418    Filed In Cases: 607
60 B Street                                       Class                Claim Detail Amount         Final Allowed Amount
Niagara Falls, NY 14303
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $1.00




Terry Smith                                       Clm No 171419    Filed In Cases: 607
15 Ainesworth Lane                                Class                Claim Detail Amount         Final Allowed Amount
Rochester, NY 14624
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             5-Oct-2015
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Florence Sprague                                  Clm No 171420    Filed In Cases: 607
399 Rising Road                                   Class                Claim Detail Amount         Final Allowed Amount
West Winfield, NY 13491
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Nancy Farrell                                     Clm No 171421    Filed In Cases: 607
23 Beatrix Circle                                 Class                Claim Detail Amount         Final Allowed Amount
Lancaster, NY 14086
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              5-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Barbara Hartman                                   Clm No 171422    Filed In Cases: 607
10605 Seneca Springs Way                          Class                Claim Detail Amount         Final Allowed Amount
Montgomery Village, MD 20886
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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Mary Ann Vogel                                       Clm No 171423    Filed In Cases: 607
4 Tucker Avenue                                      Class                Claim Detail Amount         Final Allowed Amount
Ilion, NY 13357
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Joan Marcin                                          Clm No 171424    Filed In Cases: 607
3501 Beacon Hill Drive                               Class                Claim Detail Amount         Final Allowed Amount
Apt. B
                                                     UNS                          $10,000.00
Wintson Salem, NC 27106
                                                                                  $10,000.00


   Date Filed                 5-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Ramona Calderon                                      Clm No 171425    Filed In Cases: 607
9442 Capital of Texas Hwy. North Ste., 400           Class                Claim Detail Amount         Final Allowed Amount
Austin, TX 78759
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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Ignacio Delgado                                     Clm No 171426    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Phyllis Leverett                                    Clm No 171427    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Laraine Shuff                                       Clm No 171428    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Jose Soltero                                        Clm No 171429    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Lawrence West                                       Clm No 171430    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Gregorio Yglesias                                   Clm No 171431    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Robert Adams                                      Clm No 171432    Filed In Cases: 607
27856 S. Satsuna                                  Class                Claim Detail Amount         Final Allowed Amount
Livingston, LA 70754
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Alma Benard                                       Clm No 171433    Filed In Cases: 607
601 S. Malcolm                                    Class                Claim Detail Amount         Final Allowed Amount
Chanute, KS 66720
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Barbara Bryant                                    Clm No 171434    Filed In Cases: 607
3166 Bohicket Rd.                                 Class                Claim Detail Amount         Final Allowed Amount
Johns Island, SC 29455
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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Shelton Clark                                     Clm No 171435    Filed In Cases: 607
132 Armstrong Drive                               Class                Claim Detail Amount         Final Allowed Amount
Jackson, NC 28540
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Orval Davis                                       Clm No 171436    Filed In Cases: 607
7701 John T. White                                Class                Claim Detail Amount         Final Allowed Amount
Fort Worth, TX 76120
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Yvonne Debesa                                     Clm No 171437    Filed In Cases: 607
5901 SW 34th Street                               Class                Claim Detail Amount         Final Allowed Amount
Miami, FL, 33155
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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Eugene Alberts                                    Clm No 171438    Filed In Cases: 607
3204 Harder Dr.                                   Class                Claim Detail Amount         Final Allowed Amount
Gillette, WY 82718
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Maria Fernandez                                   Clm No 171439    Filed In Cases: 607
4501 Skyline Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
El Paso, TX 79904
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Jeffrey Hoselton                                  Clm No 171440    Filed In Cases: 607
111 Bunting Court                                 Class                Claim Detail Amount         Final Allowed Amount
Chillicothe, OH 45601
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Janet Leesmann                                    Clm No 171441    Filed In Cases: 607
819 Daniel Trail                                  Class                Claim Detail Amount         Final Allowed Amount
Marthasville, MO 63357
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              6-Oct-2015
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   Claim Face Value        $10,000.00




Leon Sr. Leonard                                  Clm No 171442    Filed In Cases: 607
158 FM 805                                        Class                Claim Detail Amount         Final Allowed Amount
Jefferson, TX 75657
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Jill Pot                                          Clm No 171443    Filed In Cases: 607
2015 North Psrkridge Ct.                          Class                Claim Detail Amount         Final Allowed Amount
Wichita, KS 67212
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              6-Oct-2015
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   Claim Face Value        $10,000.00




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  Claims Details                                                                                          482 of 3075

Connie Provost                                    Clm No 171444    Filed In Cases: 607
20349 Three Acre Ct.                              Class                Claim Detail Amount         Final Allowed Amount
Lot 24
                                                  UNS                          $10,000.00
Staunton, IL 62088
                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Anthony Raysik                                    Clm No 171445    Filed In Cases: 607
1260 US 69 Hwy.                                   Class                Claim Detail Amount         Final Allowed Amount
Liberty, MO 64068
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Doris Ricks                                       Clm No 171446    Filed In Cases: 607
3916 Cumberland Ave.                              Class                Claim Detail Amount         Final Allowed Amount
Waco, TX 76707
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value       $10,000.00




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  Claims Details                                                                                          483 of 3075

Jose Rubio                                        Clm No 171447    Filed In Cases: 607
704 Sweetgum Ln.                                  Class                Claim Detail Amount         Final Allowed Amount
Round Rock, TX 78664
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Jeannette Sprague                                 Clm No 171448    Filed In Cases: 607
203 W. Main Street                                Class                Claim Detail Amount         Final Allowed Amount
Anderson, MO 64831
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Karly Stiger                                      Clm No 171449    Filed In Cases: 607
251 Sycamore                                      Class                Claim Detail Amount         Final Allowed Amount
Collierville, TN 38017
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value       $10,000.00




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Leann Toth                                        Clm No 171450    Filed In Cases: 607
21605 w. 13 Mile Rd.                              Class                Claim Detail Amount         Final Allowed Amount
Beverly Hills, MI 48025
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Joseph Westgerdes                                 Clm No 171451    Filed In Cases: 607
207 East Boundary St.                             Class                Claim Detail Amount         Final Allowed Amount
Fort Recovery, OH 45846
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Patricia Atkinson                                 Clm No 171452    Filed In Cases: 607
1950 Palm City Road                               Class                Claim Detail Amount         Final Allowed Amount
Stuart, FL 34994
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                          485 of 3075

Linda Palcho-Bailey                               Clm No 171453    Filed In Cases: 607
5007 Green Ash Road                               Class                Claim Detail Amount         Final Allowed Amount
Medina OH 44256
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Charles Bowen                                     Clm No 171454    Filed In Cases: 607
1105 N. Market St.                                Class                Claim Detail Amount         Final Allowed Amount
Washington, NC 27889
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Ronnie Cline                                      Clm No 171455    Filed In Cases: 607
987 Santa Lucia Dr.                               Class                Claim Detail Amount         Final Allowed Amount
Pleasant Hill, CA 94523
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                          486 of 3075

William Croft                                     Clm No 171456    Filed In Cases: 607
2312 Bellplain                                    Class                Claim Detail Amount         Final Allowed Amount
Brownwood, Texas 76801
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Sue Darr                                          Clm No 171457    Filed In Cases: 607
18360 County Road 6                               Class                Claim Detail Amount         Final Allowed Amount
Coshocton, OH 43812
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Ray Dover                                         Clm No 171458    Filed In Cases: 607
245 Flint Dr.                                     Class                Claim Detail Amount         Final Allowed Amount
Fairfiled, AL 35064
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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Donna Dunn                                        Clm No 171459    Filed In Cases: 607
PO Box 336                                        Class                Claim Detail Amount         Final Allowed Amount
Hollister, FL 32147
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Lavonne Green                                     Clm No 171460    Filed In Cases: 607
8328 El Cerrito Dr.                               Class                Claim Detail Amount         Final Allowed Amount
Tyler, TX 75711
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Richard Ellis                                     Clm No 171461    Filed In Cases: 607
946 Shenaango Rd.                                 Class                Claim Detail Amount         Final Allowed Amount
Beaver Falls, PA 15010
                                                  UNS                                $1.00

                                                                                     $1.00


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Michael Draine                                    Clm No 171462    Filed In Cases: 607
130 Sturbridge Lane                               Class                Claim Detail Amount         Final Allowed Amount
Chruch Hill, TN 37642
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Robert Holmes                                     Clm No 171463    Filed In Cases: 607
342 Miller Ave.                                   Class                Claim Detail Amount         Final Allowed Amount
Louisville, MS 39339
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Stephen Kaes                                      Clm No 171464    Filed In Cases: 607
11030 Evergeen Way                                Class                Claim Detail Amount         Final Allowed Amount
Apt. C209
                                                  UNS                                $1.00
Everett, WA 98204
                                                                                     $1.00


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Fredrick King                                     Clm No 171465    Filed In Cases: 607
601 Forest Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Hurst, TX 76053
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Scott Lansdale                                    Clm No 171466    Filed In Cases: 607
317 N. D Street                                   Class                Claim Detail Amount         Final Allowed Amount
Hamilton, OH 45013
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Jimmy Millis                                      Clm No 171467    Filed In Cases: 607
11630 Old Halls Ferry Rd.                         Class                Claim Detail Amount         Final Allowed Amount
Florissant, MO 63033
                                                  UNS                                $1.00

                                                                                     $1.00


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Joann Pavone                                      Clm No 171468    Filed In Cases: 607
402 Old Eagle Creek Rd.                           Class                Claim Detail Amount         Final Allowed Amount
Smithville, IN 37166
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




George Pendowski                                  Clm No 171469    Filed In Cases: 607
341 Monroe St.                                    Class                Claim Detail Amount         Final Allowed Amount
Allegan, MI 49010
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Mark Porter                                       Clm No 171470    Filed In Cases: 607
8149 Roayal Palm Ct.                              Class                Claim Detail Amount         Final Allowed Amount
Davis, FL 33321
                                                  UNS                                $1.00

                                                                                     $1.00


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Helen Reese                                       Clm No 171471    Filed In Cases: 607
3509 Dogwood Valley Trl.                          Class                Claim Detail Amount         Final Allowed Amount
Tallahassee, FL 32312
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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Michael Robidoux                                  Clm No 171472    Filed In Cases: 607
PO Box 168                                        Class                Claim Detail Amount         Final Allowed Amount
Sand Lake, NY 12153
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Birlie Smith                                      Clm No 171473    Filed In Cases: 607
6113 Evergreen                                    Class                Claim Detail Amount         Final Allowed Amount
Berkeley, MO 63134
                                                  UNS                                $1.00

                                                                                     $1.00


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Bernard Stremovihtg                               Clm No 171474    Filed In Cases: 607
10360 County Rd. 46                               Class                Claim Detail Amount         Final Allowed Amount
Dansville, KY 14437
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Carolion Thomas                                   Clm No 171475    Filed In Cases: 607
4831 Frederick Street                             Class                Claim Detail Amount         Final Allowed Amount
Glendale, CA 91214
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Peter Tsounis                                     Clm No 171476    Filed In Cases: 607
2828 E. College                                   Class                Claim Detail Amount         Final Allowed Amount
Cudahy, WI 53110
                                                  UNS                                $1.00

                                                                                     $1.00


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Rex Tucker                                        Clm No 171477    Filed In Cases: 607
1048 E. Alsip St.                                 Class                Claim Detail Amount         Final Allowed Amount
Knightsville, IN 57857
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Francis O'Brien                                   Clm No 171478    Filed In Cases: 607
260 Timber-Lake Cir.                              Class                Claim Detail Amount         Final Allowed Amount
F-104
                                                  UNS                                $1.00
Naples, FL 34101
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




James Osborne                                     Clm No 171479    Filed In Cases: 607
910 E. 8th St.                                    Class                Claim Detail Amount         Final Allowed Amount
Gillette, WY 82716
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                            494 of 3075

Maria T. Martinez                                   Clm No 171480    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Rickey J. Alexander                                 Clm No 171481    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Lee E. Allen                                        Clm No 171482    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                            495 of 3075

Lillian Arellano                                    Clm No 171483    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Rosalie Armijo                                      Clm No 171484    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Mike M. Armstrong                                   Clm No 171485    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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James R. Ault, Sr.                                  Clm No 171486    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Bobby Baggett                                       Clm No 171487    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Bobby Baker                                         Clm No 171488    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Billie Bannister c/o Debra Hernandez                Clm No 171489    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Lorene Bell                                         Clm No 171490    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Renaldo Bell                                        Clm No 171491    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Arthur Bell, Jr.                                    Clm No 171492    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Janice Carolyn Bertrand Rippy                       Clm No 171493    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Lois J. Berwick                                     Clm No 171494    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                          $10,000.00
Austin, TX 78759
                                                                                 $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




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Loretta Blanton                                     Clm No 171495    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




James Blount                                        Clm No 171496    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Gary Cooper Bonds                                   Clm No 171497    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


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   Claim Face Value                 $1.00




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Patricia Bragg                                      Clm No 171498    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Kenneth W. Brewer                                   Clm No 171499    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Tiburcio Briones                                    Clm No 171500    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


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   Claim Face Value                 $1.00




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Louis Bryce                                         Clm No 171501    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Jossie Lee McCowin Butler                           Clm No 171502    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Walter Caldwell                                     Clm No 171503    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




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George H. Calloway                                  Clm No 171504    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Edwin L. Clifton                                    Clm No 171505    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Dorothy Jean Craven                                 Clm No 171506    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




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Karen Carroll                                       Clm No 171507    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Donna Ortiz                                         Clm No 171508    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Howard Cupp                                         Clm No 171509    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Donna Paine                                         Clm No 171510    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




Oletha Davis                                        Clm No 171511    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Paul Day                                            Clm No 171512    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


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   Bar Date
   Claim Face Value                 $1.00




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Michael L. Deverich                                 Clm No 171513    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Margie Dews                                         Clm No 171514    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Willie Lee Duncan, Sr.                              Clm No 171515    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Linda Bulloch (Trust Officer)                        Clm No 171516    Filed In Cases: 607
9442 Capital of Texas Hwy. North                     Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                     UNS                                $1.00
Austin, TX 78759
                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Pamela Gayle Campbell                                Clm No 171517    Filed In Cases: 607
9442 Capital of Texas Hwy. North                     Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                     UNS                                $1.00
Austin, TX 78759
                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Warren A. Ellis                                      Clm No 171518    Filed In Cases: 607
9442 Capital of Texas Hwy. North                     Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                     UNS                                $1.00
Austin, TX 78759
                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




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Shirley Ann Esser                                   Clm No 171519    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Raymond Farmer                                      Clm No 171520    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Leroy Fernandez                                     Clm No 171521    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Ricky Earl Flournoy                                 Clm No 171522    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Santiago Garza                                      Clm No 171523    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Ronald Gaston                                       Clm No 171524    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Jo Ann Giamalva                                     Clm No 171525    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


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   Claim Face Value                 $1.00




Samuel Gibbs                                        Clm No 171526    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




Timothy Gober                                       Clm No 171527    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                            510 of 3075

June Connor                                         Clm No 171528    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Philip Elijah Gordon, Sr.                           Clm No 171529    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Marie Granberry                                     Clm No 171530    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Philip M. Greer                                     Clm No 171531    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Sharon Grelle                                       Clm No 171532    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Lula Moore                                          Clm No 171533    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Joann Hagler                                        Clm No 171534    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Judith E. Hall                                      Clm No 171535    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                          $10,000.00
Austin, TX 78759
                                                                                 $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Kenneth R. Hanson                                   Clm No 171536    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                            513 of 3075

Jim C. Hargett                                      Clm No 171537    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Irene Harriman                                      Clm No 171538    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Jesse Harrison                                      Clm No 171539    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Melinda Fiscus                                      Clm No 171540    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Ellard I. Hensley                                   Clm No 171541    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Matthew Herron                                      Clm No 171542    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


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   Claim Face Value                 $1.00




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Earnest W. Hildreth                                 Clm No 171543    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




James Holden                                        Clm No 171544    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Donna Hopfe                                         Clm No 171545    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


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Jerry Hunt, Sr.                                     Clm No 171546    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Jesus M. Hurtado                                    Clm No 171547    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Linda Washington                                    Clm No 171548    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                            517 of 3075

Alfred E. Jackson                                   Clm No 171549    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Vernon L. Jackson                                   Clm No 171550    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Dionisio Jaquez                                     Clm No 171551    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


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   Claim Face Value                 $1.00




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Kenneth Johnson                                     Clm No 171552    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Jimmy R. Johnson                                    Clm No 171553    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Janelle Ards                                        Clm No 171554    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                            519 of 3075

Curtis Ray Kelley                                   Clm No 171555    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




Willie D. Kelly                                     Clm No 171556    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Susan Ann Kendall                                   Clm No 171557    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Randall "Randy" Lawhon                              Clm No 171558    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




Chester Delane Logan                                Clm No 171559    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Johnetta Londow                                     Clm No 171560    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




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Andy Love                                           Clm No 171561    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




Carlene Schleider                                   Clm No 171562    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




Charles Lyster                                      Clm No 171563    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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J.W. Mabry                                          Clm No 171564    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Conrad Markus III                                   Clm No 171565    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




Alex Martinez                                       Clm No 171566    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Mary Martinez                                       Clm No 171567    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Charles Matlock                                     Clm No 171568    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Samuel Matthews, Jr.                                Clm No 171569    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


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   Bar Date
   Claim Face Value                 $1.00




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Vera McCoy                                          Clm No 171570    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Don McCray                                          Clm No 171571    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




Lonnie R. Meeks                                     Clm No 171572    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Mary Lou Miller                                     Clm No 171573    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




Bobby Milton                                        Clm No 171574    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Sonja Blanks                                        Clm No 171575    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


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  Claims Details                                                                                            526 of 3075

Bobbie Moore                                        Clm No 171576    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Marva Jean Graham                                   Clm No 171577    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Ellen Kaye Oliver                                   Clm No 171578    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                            527 of 3075

Valerie Oliver                                      Clm No 171579    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Lionel Orphe                                        Clm No 171580    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Isaac Ortega, Jr.                                   Clm No 171581    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                            528 of 3075

Anthony Panariso                                    Clm No 171582    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




J.C. Parhms                                         Clm No 171583    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Lloyd A. Patterson                                  Clm No 171584    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                            529 of 3075

Glendel Payne                                       Clm No 171585    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Angelica Pedraza                                    Clm No 171586    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Cherease Files                                      Clm No 171587    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                            530 of 3075

Gregory L. Peoples                                  Clm No 171588    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Odilon C. Peralta                                   Clm No 171589    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




David Ramirez, Jr.                                  Clm No 171590    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                            531 of 3075

Roy A. Rawls                                        Clm No 171591    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




William R. Ray                                      Clm No 171592    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Jack W. Reed                                        Clm No 171593    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                            532 of 3075

Kristy Chandler                                     Clm No 171594    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Francisco J. Rivas                                  Clm No 171595    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Zeffie Robinson                                     Clm No 171596    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                            533 of 3075

Adam Rodriguez, Jr.                                 Clm No 171597    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Clifford Roe                                        Clm No 171598    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Brenda Barton                                       Clm No 171599    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


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   Claim Face Value                 $1.00




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Blanca Santellana                                   Clm No 171600    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Andrew Salamon                                      Clm No 171601    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Richard Sanchez                                     Clm No 171602    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Joseph W. Saulsberry                                Clm No 171603    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Richard Schroeder                                   Clm No 171604    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Rose Marie Shaddy                                   Clm No 171605    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




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Paulette Henderson                                  Clm No 171606    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Guadalupe Victor Silva                              Clm No 171607    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Lee Vonne Smith                                     Clm No 171608    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Alvin Spikes, Jr.                                   Clm No 171609    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Joseph St. Luce                                     Clm No 171610    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Josephine Stevenson                                 Clm No 171611    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Thelma Adamson                                      Clm No 171612    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Troy L. Stogsdill                                   Clm No 171613    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Billy G. Thompson                                   Clm No 171614    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Leola B. Thompson                                   Clm No 171615    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Queena Ray Thurman                                  Clm No 171616    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Judith Tihonovich                                   Clm No 171617    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Frank Tolmich                                       Clm No 171618    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Jose Tovar                                          Clm No 171619    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Jackie Upton                                        Clm No 171620    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Mary E. Vandiver                                    Clm No 171621    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Joseph E. Vestal                                    Clm No 171622    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Bobby Vigil                                         Clm No 171623    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


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   Claim Face Value                 $1.00




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John Vigil                                          Clm No 171624    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Maria Vigil                                         Clm No 171625    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Georgia Ruth Vosloh                                 Clm No 171626    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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       Case 10-31607               Doc 6279-17    Filed 04/13/18 Entered 04/13/18 15:13:29 Desc Part
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Buddy Walker                                        Clm No 171627    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Martha Warcup                                       Clm No 171628    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Tommy Warren                                        Clm No 171629    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Lee Wash                                            Clm No 171630    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Dale Watson                                         Clm No 171631    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Reggie Watson                                       Clm No 171632    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Cle Vestor Williams                                 Clm No 171633    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Howard S. Williams                                  Clm No 171634    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Lucille Wilson                                      Clm No 171635    Filed In Cases: 607
9442 Capital of Texas Hwy. North                    Class                Claim Detail Amount         Final Allowed Amount
Ste. 400
                                                    UNS                                $1.00
Austin, TX 78759
                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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Dennis M. Abbott                                       Clm No 171636    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     1-Oct-2015
   Bar Date
   Claim Face Value




Freddie Adams, Jr.                                     Clm No 171637    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Charles E. Adcock                                      Clm No 171638    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Marshell Agnew                                         Clm No 171639    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Carl J. Albert                                         Clm No 171640    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Christopher Albrecht                                   Clm No 171641    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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William Albrecht                                       Clm No 171642    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Asenath Alexander                                      Clm No 171643    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Robert B. Allen                                        Clm No 171644    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Bertha L. Anderson                                     Clm No 171645    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




David M. Anderson, Sr.                                 Clm No 171646    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Roslyn A. Andoleo                                      Clm No 171647    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Frederico Andracchio                                   Clm No 171648    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Joseph P. Anfuso                                       Clm No 171649    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




John Anthony                                           Clm No 171650    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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John R. Antonacci                                      Clm No 171651    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Frank H. Apgar, Jr.                                    Clm No 171652    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Billy Armes                                            Clm No 171653    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Robert W. Arnwine                                      Clm No 171654    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Claim Face Value




Max R. Arp                                             Clm No 171655    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Dale Ashdown                                           Clm No 171656    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Dana Atkins                                            Clm No 171657    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




John D. Back                                           Clm No 171658    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Michael N. Baer                                        Clm No 171659    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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   Bar Date
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Ralph J. Baer                                          Clm No 171660    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Cecil C. Baird                                         Clm No 171661    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Douglas M. Baker                                       Clm No 171662    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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   Date Filed                     5-Oct-2015
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Tom Bakie                                              Clm No 171663    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Chester L. Ballew                                      Clm No 171664    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




James C. Balliet                                       Clm No 171665    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




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Julia A. Baltimore                                     Clm No 171666    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
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Michael Banahan                                        Clm No 171667    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Louis A. Bandy, Sr.                                    Clm No 171668    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
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James C. Barbely                                       Clm No 171669    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Louis Barber                                           Clm No 171670    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Claim Face Value




Rex E. Barber                                          Clm No 171671    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Joseph Barnes                                          Clm No 171672    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Marilyn V. Barnes                                      Clm No 171673    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Mary L. Barnes                                         Clm No 171674    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




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        Case 10-31607                Doc 6279-17     Filed 04/13/18 Entered 04/13/18 15:13:29 Desc Part
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Branard O'Brien Strichland                             Clm No 171675    Filed In Cases: 607
c/o Jim O'Brien Strichland                             Class                Claim Detail Amount         Final Allowed Amount
214- E. Hightower St.
                                                       UNS                              Unknown
Sylacauga, AZ 35150




   Date Filed                16-Oct-2015
   Bar Date
   Claim Face Value




Leonard Bartrum                                        Clm No 171676    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Ernestine D. Baskerville                               Clm No 171677    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




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Woodland Hills, CA 91367
        Case 10-31607                Doc 6279-17     Filed 04/13/18 Entered 04/13/18 15:13:29 Desc Part
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Robert Batton                                          Clm No 171678    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Alice J. Batts                                         Clm No 171679    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Richard N. Bauder                                      Clm No 171680    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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        Case 10-31607                Doc 6279-17     Filed 04/13/18 Entered 04/13/18 15:13:29 Desc Part
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William Baughman                                       Clm No 171681    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




John S. Bean                                           Clm No 171682    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Joseph Beck                                            Clm No 171683    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Robert L. Beck                                         Clm No 171684    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Gary L. Beets                                          Clm No 171685    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Albert A. Bell                                         Clm No 171686    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Joseph L. Bennett, III                                 Clm No 171687    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Joseph R. Berger                                       Clm No 171688    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




John Bernathy                                          Clm No 171689    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Cheryl Berry                                           Clm No 171690    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Byrel Bible, Sr.                                       Clm No 171691    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Harry Billingsley                                      Clm No 171692    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Grady Black, Jr.                                       Clm No 171693    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Claim Face Value




Ernest M. Blackburn                                    Clm No 171694    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Joseph M. Blackburn                                    Clm No 171695    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Roxie R. Blackwell                                     Clm No 171696    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Calvin P. Bladen                                       Clm No 171697    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Harold Bledsoe                                         Clm No 171698    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Kermie Bledsoe                                         Clm No 171699    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Arnold Bobrowsky                                       Clm No 171700    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Frances Bohrer                                         Clm No 171701    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Alice R. Bonner                                        Clm No 171702    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Arthur E. Bonstein                                     Clm No 171703    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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William L. Boone                                       Clm No 171704    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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David G. Boozer                                        Clm No 171705    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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William J. Borum                                       Clm No 171706    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Edward J. Bory                                         Clm No 171707    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Thurston Boshears                                      Clm No 171708    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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John Bossert                                           Clm No 171709    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Barbara Boston                                         Clm No 171710    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Corine H. Boston                                       Clm No 171711    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Ralph Bowen                                            Clm No 171712    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Norman W. Bowlin                                       Clm No 171713    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Clifton L. Bradley                                     Clm No 171714    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Gary Bradley                                           Clm No 171715    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Linda D. Bradshaw                                      Clm No 171716    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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        Case 10-31607                Doc 6279-17     Filed 04/13/18 Entered 04/13/18 15:13:29 Desc Part
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Goldie Brandon, Jr.                                    Clm No 171717    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Robert E. Brandt                                       Clm No 171718    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Ernestine D. Branford                                  Clm No 171719    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Virginia L. Brashears                                  Clm No 171720    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Claude A. Britt                                        Clm No 171721    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




James G. Brookins, Jr.                                 Clm No 171722    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Allan L. Brooks                                        Clm No 171723    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Claim Face Value




Milton F. Brooks                                       Clm No 171724    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Ronald G. Brooks                                       Clm No 171725    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Faye E. Brown                                          Clm No 171726    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Gerry A. Brown                                         Clm No 171727    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Herbert J. Brown                                       Clm No 171728    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Jack L. Brown                                          Clm No 171729    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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John W. Brown                                          Clm No 171730    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Joyce G. Brown                                         Clm No 171731    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Timothy L. Brown                                       Clm No 171732    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Clarence Brunt, Jr.                                    Clm No 171733    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Phyllis Bruton                                         Clm No 171734    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Harvey Bryant                                          Clm No 171735    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Peter E. Buckheit                                      Clm No 171736    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Jose A. Buitron                                        Clm No 171737    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Joseph A. Burger                                       Clm No 171738    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Richard E. Burnette                                    Clm No 171739    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Bynum Burnopp                                          Clm No 171740    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Leslie Burns                                           Clm No 171741    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Thomas Burress                                         Clm No 171742    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Danny D. Butcher                                       Clm No 171743    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Michael P. Buttram                                     Clm No 171744    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Steve A. Buttram                                       Clm No 171745    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Jerry T. Byrd                                          Clm No 171746    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Patrick H. Byrd                                        Clm No 171747    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Thomas Byrne                                           Clm No 171748    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Francesco Bubba                                        Clm No 171749    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Joseph Barrall, Jr.                                    Clm No 171750    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Augustine J. Mack, Jr.                                 Clm No 171751    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Vernon S. Mackenzie                                    Clm No 171752    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Larry Mackereth, Sr.                                   Clm No 171753    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Hiram Malicoat                                         Clm No 171754    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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John W. Mandley                                        Clm No 171755    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Brian D. Manley                                        Clm No 171756    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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John J. Manning                                        Clm No 171757    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Donald E. Marsh                                        Clm No 171758    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Anthony M. Martin                                      Clm No 171759    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Sylvia J. Martin                                       Clm No 171760    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Vincent Massa                                          Clm No 171761    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Rodney Matthews                                        Clm No 171762    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Wayne Matthews                                         Clm No 171763    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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William J. Mayberry                                    Clm No 171764    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Russell J. Mazza                                       Clm No 171765    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Robert M. Mcbride                                      Clm No 171766    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Carthage Mccall                                        Clm No 171767    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




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        Case 10-31607                Doc 6279-17     Filed 04/13/18 Entered 04/13/18 15:13:29 Desc Part
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Jack M. Mccarty                                        Clm No 171768    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Jesse J. Mcclurkin                                     Clm No 171769    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Glenn M. Mccoy                                         Clm No 171770    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




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        Case 10-31607                Doc 6279-17     Filed 04/13/18 Entered 04/13/18 15:13:29 Desc Part
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Dorothea T. Mccullers                                  Clm No 171771    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Gary L. Mcgaha                                         Clm No 171772    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Thomas Mckee, Jr.                                      Clm No 171773    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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        Case 10-31607                Doc 6279-17     Filed 04/13/18 Entered 04/13/18 15:13:29 Desc Part
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Charles P. Mckelvey                                    Clm No 171774    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Hilda Mckemy                                           Clm No 171775    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




David D. Mclemore                                      Clm No 171776    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Robert K. Mcvicker                                     Clm No 171777    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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   Bar Date
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Joseph Medernach                                       Clm No 171778    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Jessie J. Medley                                       Clm No 171779    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Carroll Mendenhall                                     Clm No 171780    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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David Meyers                                           Clm No 171781    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
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Solomon Milburn                                        Clm No 171782    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Donald Miller                                          Clm No 171783    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Garfield Miller                                        Clm No 171784    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Claim Face Value




Paul W. Miller, Sr.                                    Clm No 171785    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Regina Miller                                          Clm No 171786    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Robert H. Miller                                       Clm No 171787    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Roy E. Miller                                          Clm No 171788    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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William D. Miller                                      Clm No 171789    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




George E. Mills                                        Clm No 171790    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




James Millsaps                                         Clm No 171791    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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William Mitchell                                       Clm No 171792    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Richard S. Moatz                                       Clm No 171793    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Robert E. Moon, Jr.                                    Clm No 171794    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Michael D. Moore                                       Clm No 171795    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Wayne Moran                                            Clm No 171796    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Larry D. Morelock                                      Clm No 171797    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Christopher S. Morgan                                  Clm No 171798    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Darryl C. Morgan                                       Clm No 171799    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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John Morgan                                            Clm No 171800    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Earl L. Morrow                                         Clm No 171801    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Robert L. Mosley                                       Clm No 171802    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Cornelius T. Moultrie                                  Clm No 171803    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Larry Mowell                                           Clm No 171804    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Donald H. Mowery                                       Clm No 171805    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Ronald C. Moyer                                        Clm No 171806    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Catherine M. Mrowka                                    Clm No 171807    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Claim Face Value




Gary G. Mryncza                                        Clm No 171808    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Anna J. Murphy                                         Clm No 171809    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Vivian Musser                                          Clm No 171810    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Warren C. Muth                                         Clm No 171811    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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   Claim Face Value




Marvin Mutter                                          Clm No 171812    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




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Robert S. Mynatt                                       Clm No 171813    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Roy J. Nash                                            Clm No 171814    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Frank Neal                                             Clm No 171815    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Robert M. Nealy                                        Clm No 171816    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




William J. Neeld, III                                  Clm No 171817    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Harvey P. Neeley                                       Clm No 171818    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Frank A. Nemeth                                        Clm No 171819    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Robert D. Newman                                       Clm No 171820    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Claim Face Value




Bobby J. Nicely                                        Clm No 171821    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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James Nicely                                           Clm No 171822    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Melvin Nicholson                                       Clm No 171823    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




John E. Nielsen                                        Clm No 171824    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Gary Nies                                              Clm No 171825    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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George R. Nixon                                        Clm No 171826    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Marvin G. Nobles                                       Clm No 171827    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Jimmy R. Noland                                        Clm No 171828    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Richard A. Northey, Jr.                                Clm No 171829    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Jerry M. Nothstein                                     Clm No 171830    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Frieda P. O'Barr                                       Clm No 171831    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Clifford O'Connell                                     Clm No 171832    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Marvin W. Odom, Jr.                                    Clm No 171833    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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Charles Off                                            Clm No 171834    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Chester M. Oliver                                      Clm No 171835    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Robert O'Neill                                         Clm No 171836    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Rosa O'Neill                                           Clm No 171837    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Aubrey B. Tasker                                       Clm No 171838    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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William Tate                                           Clm No 171839    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Allie Taylor                                           Clm No 171840    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Clyde L. Taylor                                        Clm No 171841    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Mortimer E. Taylor                                     Clm No 171842    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Robert L. Taylor, Sr.                                  Clm No 171843    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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John E. Teats, Jr.                                     Clm No 171844    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Rodney J. Terry                                        Clm No 171845    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Nikolaos Thanos                                        Clm No 171846    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Donald E. Thomas                                       Clm No 171847    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Evelyn Thomas                                          Clm No 171848    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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James A. Thomas                                        Clm No 171849    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Otis C. Thomas, Jr.                                    Clm No 171850    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Preston T. Thomas                                      Clm No 171851    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Robert Thomas                                          Clm No 171852    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Cornell M. Tilghman                                    Clm No 171853    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Gracie Tillar                                          Clm No 171854    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Doyle Tipton                                           Clm No 171855    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Eddie G. Tittle                                        Clm No 171856    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Clarence L. Toney                                      Clm No 171857    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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  Claims Details                                                                                               620 of 3075

Moses Townes                                           Clm No 171858    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Rodney L. Tracey                                       Clm No 171859    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




David A. Trammel                                       Clm No 171860    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
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        Case 10-31607                Doc 6279-17     Filed 04/13/18 Entered 04/13/18 15:13:29 Desc Part
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Thomas J. Trella                                       Clm No 171861    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




John H. Trent, Jr.                                     Clm No 171862    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Darrell L. Trivett                                     Clm No 171863    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Kaleb Tshamba                                          Clm No 171864    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Charles J. Tucker, Sr.                                 Clm No 171865    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Melvin J. Tucker                                       Clm No 171866    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Robert J. Tucker                                       Clm No 171867    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Samuel C. Tucker                                       Clm No 171868    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




William Turlington                                     Clm No 171869    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Betty A. Turner                                        Clm No 171870    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Claim Face Value




Gathel D. Turner, Jr.                                  Clm No 171871    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Mardell Turner                                         Clm No 171872    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Baltimore, MD 21201


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Robert L. Turner                                       Clm No 171873    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Edward Loy Twigg                                       Clm No 171874    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Thomas F. Updegrove                                    Clm No 171875    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Lester L. Van Horn                                     Clm No 171876    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Charles W. Van Kirk                                    Clm No 171877    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Claim Face Value




Ralph Vance                                            Clm No 171878    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Daniel W. Vanim                                        Clm No 171879    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Robert B. Vaughan                                      Clm No 171880    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Ronald L. Vaught                                       Clm No 171881    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Mattie Veale                                           Clm No 171882    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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George Vennie                                          Clm No 171883    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Leonard J. Verrastro                                   Clm No 171884    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                               629 of 3075

Mary L. Vesta                                          Clm No 171885    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Kevin C. Kalkbrenner                                   Clm No 171886    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Thomas K. Kalnas                                       Clm No 171887    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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George Karellas                                        Clm No 171888    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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George Katsafanas                                      Clm No 171889    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Claudette B. Keane                                     Clm No 171890    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Joseph E. Keen                                         Clm No 171891    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




John Kefauver                                          Clm No 171892    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Jeffrey L. Kegley                                      Clm No 171893    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Thomas E. Kelley                                       Clm No 171894    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Judith A. Kelly                                        Clm No 171895    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Roger F. Kelly                                         Clm No 171896    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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William J. Kels                                        Clm No 171897    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Edward Kemfert                                         Clm No 171898    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Phyllis Kennedy                                        Clm No 171899    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Ernest S. Kerney                                       Clm No 171900    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Harry L. Kiel, Jr.                                     Clm No 171901    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Baltimore, MD 21201



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Gibbons A. King, Jr.                                   Clm No 171902    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Ronald F. King                                         Clm No 171903    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Wilfred O. King                                        Clm No 171904    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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   Claim Face Value




Tammy D. Kipp                                          Clm No 171905    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Buddy E. Kirk                                          Clm No 171906    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Charles J. Kline                                       Clm No 171907    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Karl Klotz                                             Clm No 171908    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Robert C. Knibbs                                       Clm No 171909    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Thomas L. Koehler                                      Clm No 171910    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Kenneth R. Koker                                       Clm No 171911    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Robert Koo                                             Clm No 171912    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Joseph A. Kovash                                       Clm No 171913    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Robert E. Krause                                       Clm No 171914    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Richard L. Kumher                                      Clm No 171915    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Karl K. Kuntzman                                       Clm No 171916    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Richard G. Laboard                                     Clm No 171917    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Allen F. Lambert                                       Clm No 171918    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Elouise Langley                                        Clm No 171919    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Hardy Lassiter                                         Clm No 171920    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Charles B. Laster                                      Clm No 171921    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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James L. Laughter                                      Clm No 171922    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Billy James Lawson                                     Clm No 171923    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Donald R. Lawson                                       Clm No 171924    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Jackie C. Lawson                                       Clm No 171925    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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James E. Leach                                         Clm No 171926    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Aaron Lee                                              Clm No 171927    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Carolyn Lee                                            Clm No 171928    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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James Lee                                              Clm No 171929    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Chester R. Lehmann                                     Clm No 171930    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Isiac Lemon, Jr.                                       Clm No 171931    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Sherron O Levrone                                      Clm No 171932    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Ernest L. Levroney, Jr.                                Clm No 171933    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Beverly Lewis                                          Clm No 171934    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Donald Lewis                                           Clm No 171935    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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William A. Lewis                                       Clm No 171936    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Alfred Liason, III                                     Clm No 171937    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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William H. Light                                       Clm No 171938    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Stephen J. Lisinichia                                  Clm No 171939    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Douglas E. Lively                                      Clm No 171940    Filed In Cases: 607
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Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Salvatore Lizzio                                       Clm No 171941    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Junior L. Locklear                                     Clm No 171942    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Baltimore, MD 21201


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Edgar Long                                             Clm No 171943    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Fred L. Long                                           Clm No 171944    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Johnny W. Long                                         Clm No 171945    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Roger L. Long                                          Clm No 171946    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Carl J. Lopez                                          Clm No 171947    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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John R. Lowery, Sr.                                    Clm No 171948    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Charles A. Lurz                                        Clm No 171949    Filed In Cases: 607
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Attn: Paul M. Matheny
                                                       UNS                              Unknown
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James F. Lurz                                          Clm No 171950    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
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  Claims Details                                                                                               651 of 3075

John M. Lurz                                           Clm No 171951    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Ronald K. Lygren                                       Clm No 171952    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Randy G. Lynn                                          Clm No 171953    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




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        Case 10-31607                Doc 6279-17     Filed 04/13/18 Entered 04/13/18 15:13:29 Desc Part
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Johnny L. Cabbage                                      Clm No 171954    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Billy R. Caldwell                                      Clm No 171955    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




William Caldwell Jr.                                   Clm No 171956    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
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Fred C. Calhoun                                        Clm No 171957    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




William S. Calvert, Jr                                 Clm No 171958    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Jerry Cantrell                                         Clm No 171959    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Roger D. Carico                                        Clm No 171960    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Maureen Carper                                         Clm No 171961    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Bobby J. Carroll                                       Clm No 171962    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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James W. Cathcart                                      Clm No 171963    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
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Gerald Catlett                                         Clm No 171964    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Londo H. Centi                                         Clm No 171965    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                               656 of 3075

Paul Chambers                                          Clm No 171966    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Ralph Champ                                            Clm No 171967    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




James Chandler                                         Clm No 171968    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Earl Chappel                                           Clm No 171969    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Bobby W. Chavis                                        Clm No 171970    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Shirley Cherry                                         Clm No 171971    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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Virgnia L. Cherry                                      Clm No 171972    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Albert E. Childs, Jr                                   Clm No 171973    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Louis D. Christmas                                     Clm No 171974    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Frank H. Christopher, Jr                               Clm No 171975    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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John P. Chulik                                         Clm No 171976    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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   Bar Date
   Claim Face Value




Carl F. Cioffi                                         Clm No 171977    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Donald Clark                                           Clm No 171978    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Hubert V. Clark                                        Clm No 171979    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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James A. Clayton, Sr                                   Clm No 171980    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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   Bar Date
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Robert S. Cobb                                         Clm No 171981    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
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Robbie J. Cobble                                       Clm No 171982    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Alvin D. Cofer                                         Clm No 171983    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Mary E. Cohen                                          Clm No 171984    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
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A C Coleman                                            Clm No 171985    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




John Coleman                                           Clm No 171986    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Billy A. Collins                                       Clm No 171987    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Bernard T. Collura                                     Clm No 171988    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Eugene Colston                                         Clm No 171989    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
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Floyd M. Conaway, Sr                                   Clm No 171990    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
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Catherine Conyers                                      Clm No 171991    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Dale D. Cook                                           Clm No 171992    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Date Filed                     5-Oct-2015
   Bar Date
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Larry W. Cooling                                       Clm No 171993    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Dianne L. Coston                                       Clm No 171994    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Paul H. Coty                                           Clm No 171995    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Barbara A. Cowman                                      Clm No 171996    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Gene W. Cox                                            Clm No 171997    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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   Bar Date
   Claim Face Value




James Cradic, Jr                                       Clm No 171998    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Jerry U. Cradic                                        Clm No 171999    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Roy H. Craighead                                       Clm No 172000    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




James S. Crawford                                      Clm No 172001    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Maggie L. Crawford                                     Clm No 172002    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Roger J. Crawford                                      Clm No 172003    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Stephan W. Cross                                       Clm No 172004    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Verlin R. Cross                                        Clm No 172005    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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David T. Cummins III                                   Clm No 172006    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
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Jack A. Curry                                          Clm No 172007    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Carlton Cusick                                         Clm No 172008    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Farit C. Dalie                                         Clm No 172009    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Don E. Dalton                                          Clm No 172010    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Freddie R. Daniels                                     Clm No 172011    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Percy W. Darden                                        Clm No 172012    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Roscoe Darden, Jr.                                     Clm No 172013    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Fred E. Darnell                                        Clm No 172014    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Mohamed R. Dashtizadeh                                 Clm No 172015    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Lonnie Daugherty                                       Clm No 172016    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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Cleveland J. Davis                                     Clm No 172017    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Doreatha Davis                                         Clm No 172018    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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James Davis                                            Clm No 172019    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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James I. Davis                                         Clm No 172020    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Lawrence E. Davis                                      Clm No 172021    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Ronald W. Davis                                        Clm No 172022    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Sandra A. Davis                                        Clm No 172023    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Charles R. Dean                                        Clm No 172024    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Robert L. Dean                                         Clm No 172025    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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David W. Dearholt                                      Clm No 172026    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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John B. Dearing                                        Clm No 172027    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Jimmy R. Debord                                        Clm No 172028    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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George Delss, Jr.                                      Clm No 172029    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Paul Demers                                            Clm No 172030    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Arlin R. Demming                                       Clm No 172031    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Harold Denby                                           Clm No 172032    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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George W. Dennis                                       Clm No 172033    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Russell Wayne Denny, Sr.                               Clm No 172034    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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William E. Derk                                        Clm No 172035    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Edward J. Deutsch                                      Clm No 172036    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Gary K. Diamond                                        Clm No 172037    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Mark G. Dietsch                                        Clm No 172038    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Giuseppe Difrancesca                                   Clm No 172039    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Peter Dillon                                           Clm No 172040    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Donald R. Dimmick                                      Clm No 172041    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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John Harvey Dixon                                      Clm No 172042    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Robert E. Dixon                                        Clm No 172043    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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John Dolinsky                                          Clm No 172044    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Norma Domneys                                          Clm No 172045    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Carol Donahoo                                          Clm No 172046    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
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Douglas P. Donnelly                                    Clm No 172047    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Norman Dorsey                                          Clm No 172048    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Charles R. Dossett                                     Clm No 172049    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Ervin Dotson                                           Clm No 172050    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Catherine H. Douglas                                   Clm No 172051    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Ronald E Dove                                          Clm No 172052    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Robert T Downey                                        Clm No 172053    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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John C Doyle                                           Clm No 172054    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Albert L. Drenner, Jr.                                 Clm No 172055    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Frank Dudley                                           Clm No 172056    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Rigby Dukes Jr                                         Clm No 172057    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Lowell Duncan                                          Clm No 172058    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Laurel Glenn Dunn                                      Clm No 172059    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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William Duren                                          Clm No 172060    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Jerry W Dyer                                           Clm No 172061    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Dennis J Eckes                                         Clm No 172062    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Lamont Eckhart                                         Clm No 172063    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Larry R Edwards                                        Clm No 172064    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Charles W Ehrhart                                      Clm No 172065    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Derrell E Ellis                                        Clm No 172066    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Jerry R Elrod                                          Clm No 172067    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Arnold Enix                                            Clm No 172068    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Henry E Evans                                          Clm No 172069    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Doyle Everett                                          Clm No 172070    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Tyree J Everett                                        Clm No 172071    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Baltimore, MD 21201



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Mark H Ewell                                           Clm No 172072    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Elbert B Fair                                          Clm No 172073    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Edwin Falk                                             Clm No 172074    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Mark H Fandl                                           Clm No 172075    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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James Farrar                                           Clm No 172076    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Elliet Farwell                                         Clm No 172077    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Craig W Fenoff                                         Clm No 172078    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Bill Ferandes                                          Clm No 172079    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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George A Ferguson                                      Clm No 172080    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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Leonard Ferguson                                       Clm No 172081    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Regina Ferguson                                        Clm No 172082    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Kenneth D Fields                                       Clm No 172083    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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John G Figueiredo                                      Clm No 172084    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Harold L Fike                                          Clm No 172085    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Geraldine Flanagan                                     Clm No 172086    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Antonio Foca                                           Clm No 172087    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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David Fogle                                            Clm No 172088    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Richard J Follweiler                                   Clm No 172089    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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Anthony Fortebuono                                     Clm No 172090    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
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   Claim Face Value




Kenneth A frable                                       Clm No 172091    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




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James B Franczkowski                                   Clm No 172092    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Maxine Franklin                                        Clm No 172093    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Chaneta B Frazier                                      Clm No 172094    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Mary A. Frazier                                        Clm No 172095    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Danny D. Freeman, Sr.                                  Clm No 172096    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Henry C. Freeman                                       Clm No 172097    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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James A. Freshour                                      Clm No 172098    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
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Herman Gadson                                          Clm No 172099    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Robert L. Gale                                         Clm No 172100    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Charlie R. Gallaher                                    Clm No 172101    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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John G. Garcia, Jr.                                    Clm No 172102    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




James E. Gardner                                       Clm No 172103    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Raymond Garrison                                       Clm No 172104    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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David M. Gawlick                                       Clm No 172105    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Thomas L. Gebhardt                                     Clm No 172106    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Leonard Gee                                            Clm No 172107    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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James Gentry                                           Clm No 172108    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Charles F. George                                      Clm No 172109    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Henry C. Gibby                                         Clm No 172110    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Danny R. Gibson                                        Clm No 172111    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Mary A. Gillespie                                      Clm No 172112    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Philip K. Gilpin                                       Clm No 172113    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Doris Gischel                                          Clm No 172114    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Richard M. Glancy                                      Clm No 172115    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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   Bar Date
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  Claims Details                                                                                               706 of 3075

Otis G. Goins                                          Clm No 172116    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Mark Golaszewski                                       Clm No 172117    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Carl Good Jr.                                          Clm No 172118    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Gwendolyn Goodman                                      Clm No 172119    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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James S. Gosnell                                       Clm No 172120    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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William H. Gouge                                       Clm No 172121    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Willie Graham                                          Clm No 172122    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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John E. Grams                                          Clm No 172123    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Terrence Granger                                       Clm No 172124    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Arthur Grasso, Sr.                                     Clm No 172125    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Dennis W. Graves                                       Clm No 172126    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Charles Gray                                           Clm No 172127    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Charles D. Gray                                        Clm No 172128    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Floyd D. Gray                                          Clm No 172129    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Jack M. Graybeal                                       Clm No 172130    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Roger K. Greear                                        Clm No 172131    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Crystal Green                                          Clm No 172132    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Donald Green                                           Clm No 172133    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Donnie Green                                           Clm No 172134    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Tommy L. Green                                         Clm No 172135    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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William N. Gresham                                     Clm No 172136    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                               713 of 3075

Frances G. Griffin                                     Clm No 172137    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Donald C. Griffith                                     Clm No 172138    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Lucille Gross                                          Clm No 172139    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




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        Case 10-31607                Doc 6279-17     Filed 04/13/18 Entered 04/13/18 15:13:29 Desc Part
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Timothy Grothe                                         Clm No 172140    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Phillip L. Guinn                                       Clm No 172141    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Billy R. Gunter                                        Clm No 172142    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Woodland Hills, CA 91367
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Wayne W. Hagan                                         Clm No 172143    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Robert C. Hale, Sr.                                    Clm No 172144    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Lorraine V. Hall                                       Clm No 172145    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




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Mary A. Hall                                           Clm No 172146    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Michael Hall                                           Clm No 172147    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Richard A. Hall                                        Clm No 172148    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Ronald Hall, Sr                                        Clm No 172149    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
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Ronald W. Hall                                         Clm No 172150    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Thomas H. Hall, Sr                                     Clm No 172151    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Carol A. Hammond                                       Clm No 172152    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Max Hammond                                            Clm No 172153    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Loren G. Hamon                                         Clm No 172154    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Henry E. Hansen                                        Clm No 172155    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Terry L. Harding                                       Clm No 172156    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Melvin Hargrove                                        Clm No 172157    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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   Bar Date
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Samuel Harkless                                        Clm No 172158    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Hillard M. Harless, Jr                                 Clm No 172159    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




William C. Harness                                     Clm No 172160    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Joann J. Harris                                        Clm No 172161    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Joseph Harris                                          Clm No 172162    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




James C. Hart                                          Clm No 172163    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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  Claims Details                                                                                               722 of 3075

Irvin K. Harvey                                        Clm No 172164    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Paul A. Hatmaker                                       Clm No 172165    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




James Hauer                                            Clm No 172166    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                               723 of 3075

Ronald J. Hawk                                         Clm No 172167    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
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J W Sherel Hawkins                                     Clm No 172168    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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James C. Hawkins, Jr                                   Clm No 172169    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




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  Claims Details                                                                                               724 of 3075

Kenneth S. Hawkins                                     Clm No 172170    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Inez V. Hawks                                          Clm No 172171    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
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Frank Hayman                                           Clm No 172172    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




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  Claims Details                                                                                               725 of 3075

Hazle L. Hazelwood                                     Clm No 172173    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Robert B. Heffelfinger                                 Clm No 172174    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Kurt Henningsen                                        Clm No 172175    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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  Claims Details                                                                                               726 of 3075

Joan Henry                                             Clm No 172176    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Luther Henry                                           Clm No 172177    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Anna A. Hensen                                         Clm No 172178    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
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        Case 10-31607                Doc 6279-17     Filed 04/13/18 Entered 04/13/18 15:13:29 Desc Part
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  Claims Details                                                                                               727 of 3075

William Herd                                           Clm No 172179    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Robert C. Hess                                         Clm No 172180    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Charles Robert Hicks, Jr                               Clm No 172181    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Randy G. Hicks                                         Clm No 172182    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Gail Hill                                              Clm No 172183    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Jimmy K. Hilton                                        Clm No 172184    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Francis N. Hinkle                                      Clm No 172185    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Dennis C. Hodges                                       Clm No 172186    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Edward F. Hoffman                                      Clm No 172187    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
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  Claims Details                                                                                               730 of 3075

Kenneth F. Hoffner                                     Clm No 172188    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
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   Claim Face Value




Louis Holliday                                         Clm No 172189    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Linell Hollis                                          Clm No 172190    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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William L. Holmes                                      Clm No 172191    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Kenneth Holtzhafer                                     Clm No 172192    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




James C. Holzem                                        Clm No 172193    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Norman L. Horsey                                       Clm No 172194    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Clifford E. Howard                                     Clm No 172195    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




James D. Howard                                        Clm No 172196    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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John E. Howard                                         Clm No 172197    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Martin M. Howard                                       Clm No 172198    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
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James Hudley                                           Clm No 172199    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Glenn R. Huffaker                                      Clm No 172200    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Andrew J. Hughes, Sr                                   Clm No 172201    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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A Louise Humbles                                       Clm No 172202    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Clifford Hurst                                         Clm No 172203    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Glenn E. Hurt, Sr                                      Clm No 172204    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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William Iacovone                                       Clm No 172205    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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David H. Irvine                                        Clm No 172206    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Gerald Isaac, Sr.                                      Clm No 172207    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Ralph Isabell                                          Clm No 172208    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                               737 of 3075

Michael R. Isham                                       Clm No 172209    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Watfah W. Issa                                         Clm No 172210    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Arthur Jackson                                         Clm No 172211    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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John Jackson, Jr                                       Clm No 172212    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Michael B. Jackson                                     Clm No 172213    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Edwina E. Jacobs                                       Clm No 172214    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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John J. Jacoby                                         Clm No 172215    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Michael Jangali                                        Clm No 172216    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
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James H. Jarrard                                       Clm No 172217    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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  Claims Details                                                                                               740 of 3075

Richard L. Jenkins                                     Clm No 172218    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Mary Johns                                             Clm No 172219    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Bruce Johnson                                          Clm No 172220    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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David C. Johnson                                       Clm No 172221    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Douglas E. Johnson                                     Clm No 172222    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Florence E. Johnson                                    Clm No 172223    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Humphrey B. Johnson, Sr                                Clm No 172224    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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James Johnson                                          Clm No 172225    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Jerry L. Johnson                                       Clm No 172226    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Monica Johnson                                         Clm No 172227    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Baltimore, MD 21201


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Mozelle E. Johnson                                     Clm No 172228    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Ollie Johnson                                          Clm No 172229    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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David B. Jones, Sr                                     Clm No 172230    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Dorothy Jones                                          Clm No 172231    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




George W. Jones                                        Clm No 172232    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Henry Jones                                            Clm No 172233    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




John D. Jones                                          Clm No 172234    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Mary A. Jones                                          Clm No 172235    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Baltimore, MD 21201


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   Bar Date
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Roger L. Jones                                         Clm No 172236    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Walter Jones, Jr                                       Clm No 172237    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




William Jones                                          Clm No 172238    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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   Bar Date
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Louis C. Jordan                                        Clm No 172239    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Glen R. Joyner                                         Clm No 172240    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Karen K. Sowell, P.R. of the                           Clm No 172241    Filed In Cases: 607
Estate of Paul Acker                                   Class                Claim Detail Amount         Final Allowed Amount
c/o Law Offices of Peter G. Angelos, P.C.
                                                       UNS                              Unknown
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Cynthia Jean Adams, P.R. of the                           Clm No 172242    Filed In Cases: 607
Estate of Thomas Adams                                    Class                Claim Detail Amount         Final Allowed Amount
c/o Law Offices of Peter G. Angelos, P.C.
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Ernie L. Adkins, P.R. of the Estate of Erna Adkins        Clm No 172243    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Mildred J. Allen, surviving spouse of Ernest E.           Clm No 172244    Filed In Cases: 607
Allen
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Vernita Alston, P.R. of the Estate of Johnny Alston     Clm No 172245   Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Catherine I. Anderson, P.R. of the Estate of Elmer E    Clm No 172246   Filed In Cases: 607
Anderson Sr.
c/o Law Offices of Peter G. Angelos, P.C.               Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Helen A. Anderson, P.R. of the Estate of William G.     Clm No 172247   Filed In Cases: 607
Anderson Sr.
c/o Law Offices of Peter G. Angelos, P.C.               Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                             Unknown
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Alfonsina Poliszuk, P.R. of the Estate of Michael G.      Clm No 172248    Filed In Cases: 607
Andresini
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Leila M. Arnold, P.R. of the Estate of Franklin           Clm No 172249    Filed In Cases: 607
Delano Arnold
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Reva S. Arwood, surviving spouse of Robert L.             Clm No 172250    Filed In Cases: 607
Arwood
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Patsy L. Asher, surviving spouse of Donald L.           Clm No 172251    Filed In Cases: 607
Asher
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Tarita Baltimore, P.R. of the Estate of Dayton E.       Clm No 172252    Filed In Cases: 607
Baltimore
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Claim Face Value




Michael H. Barnes, P.R. of the Estate of Ben Barnes     Clm No 172253    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Margaret L. Barnes, surviving spouse of Thomas M.          Clm No 172254    Filed In Cases: 607
Barnes
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Victoria Bartakovits, P.R. of the Estate of Charles L.     Clm No 172255    Filed In Cases: 607
Bartakovits
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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Marsha Bastfield, P.R. of the Estate of Lloyd T.           Clm No 172256    Filed In Cases: 607
Bastfield
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
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Joby Bauer, P.R. of the Estate of Joseph C. Bauer       Clm No 172257    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Liza Belen Pierce, P.R. of the Estate of Elisa Belen    Clm No 172258    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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David L. Best, P.R. of the Estate of David L. Best      Clm No 172259    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Florence K. Bigelow, P.R. of the Estate of Paul L.       Clm No 172260    Filed In Cases: 607
Bigelow
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Carol Baldwin, P.R. of the Estate of Wilson P.           Clm No 172261    Filed In Cases: 607
Billingsley
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Martha L. Bishop, surviving spouse of Larry D.           Clm No 172262    Filed In Cases: 607
Bishop
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Donna Dockery, for the case of Lawson Bishop           Clm No 172263    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Thomas Lee Blackburn, P.R. of the Estate of            Clm No 172264    Filed In Cases: 607
Joseph G. Blackburn
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Mary Jane Blydenburgh, P.R. of the Estate of           Clm No 172265    Filed In Cases: 607
Raymond Blydenburgh III
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Charles M. Boblitz, Jr., P.R. of the Estate of Charles    Clm No 172266   Filed In Cases: 607
M. Bobliz, Sr.
c/o Law Offices of Peter G. Angelos, P.C.                 Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Cheryl F. Boykin, P.R. of the Estate of Leroy Boykin      Clm No 172267   Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Carolyn V. Bradshaw, surviving spouse of Lynn D.          Clm No 172268   Filed In Cases: 607
Bradshaw
c/o Law Offices of Peter G. Angelos, P.C.                 Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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100 North Charles St., 22nd Flr
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Carole A. Brandenburg, P.R. of the Estate of James       Clm No 172269    Filed In Cases: 607
M. Brandenburg
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Rowena G. Brinton, P.R. of the Estate of James L.        Clm No 172270    Filed In Cases: 607
Brinton
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Gloria Bilinski, P.R. of the Estate of Delores           Clm No 172271    Filed In Cases: 607
Brockman
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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David J. Billingsley, P.R. of the Estate of Elizabeth    Clm No 172272    Filed In Cases: 607
Brooks
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Terica Welch, P.R. of the Estate of Charles Brown        Clm No 172273    Filed In Cases: 607
Jr.
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Carolene Brown, P.R. of the Estate of Charles            Clm No 172274    Filed In Cases: 607
Brown
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Joyce Brown, P.R. of the Estate of Harold M. Brown      Clm No 172275   Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Nandell Brown, P.R. of the Estate of Milton J. Brown    Clm No 172276   Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Gloria Brown, P.R. of the Estate of Ralph A. Brown      Clm No 172277   Filed In Cases: 607
Sr.
c/o Law Offices of Peter G. Angelos, P.C.               Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                             Unknown
100 North Charles St., 22nd Flr
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Linda F. Brunner, P.R. of the Estate of William G.        Clm No 172278    Filed In Cases: 607
Brunner
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Valetta D. Brunt, P.R. of the Estate of Clarence E.       Clm No 172279    Filed In Cases: 607
Brunt Sr.
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Shirley A. Bryant, surviving spouse of Clyde C.           Clm No 172280    Filed In Cases: 607
Bryant
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Mary T. Bryant, P.R. of the Estate of Stanley Bryant      Clm No 172281   Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class              Claim Detail Amount          Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                            Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Frances M. Buch, P.R. of the Estate of James R.           Clm No 172282   Filed In Cases: 607
Buch Jr.
c/o Law Offices of Peter G. Angelos, P.C.                 Class              Claim Detail Amount          Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                            Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Lillian D. Burch, P.R. of the Estate of Floyd D. Burch    Clm No 172283   Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class              Claim Detail Amount          Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                            Unknown
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Trishia Burgess, surviving spouse of Mitchell              Clm No 172284    Filed In Cases: 607
Burgess
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Carol G. Butta, P.R. of the Estate of Michael A.           Clm No 172285    Filed In Cases: 607
Butta
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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Betty L. Byers, P.R. of the Estate of Jack Byers           Clm No 172286    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
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David R. Callahan, P.R. of the Estate of George R.       Clm No 172287    Filed In Cases: 607
Callahan
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Mara M. Campbell, P.R. of the Estate of Robert           Clm No 172288    Filed In Cases: 607
Campbell
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Dorothy Canterbury, P.R. of the Estate of Thomas         Clm No 172289    Filed In Cases: 607
Canterbury
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Richard S. Carlucci, P.R. of the Estate of John A.        Clm No 172290    Filed In Cases: 607
Carlucci Sr.
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Patricia Diggs, P.R. of the Estate of Robert C. Carter    Clm No 172291    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Douglas Beery, P.R. of the Estate of Randall G.           Clm No 172292    Filed In Cases: 607
Casner
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Carmel L. Castagna, P.R. of the Estate of Bart C.        Clm No 172293    Filed In Cases: 607
Castagna
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Adriana Catanzaro, P.R. of the Estate of Salvatore       Clm No 172294    Filed In Cases: 607
J. Catanzaro
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Karen L. Cawley, P.R. of the Estate of Paul C.           Clm No 172295    Filed In Cases: 607
Cawley
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Zelma M. Cheatham, P.R. of the Estate of Levi             Clm No 172296    Filed In Cases: 607
Cheatham
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Joyce Chegwidden, P.R. of the Estate of Earl L.           Clm No 172297    Filed In Cases: 607
Chegwidden
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Brian K. Christian, P.R. of the Estate of Leonard         Clm No 172298    Filed In Cases: 607
Christian
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Carmen Christy, P.R. of the Estate of Christine C.      Clm No 172299    Filed In Cases: 607
Christy
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Deborah K. Class, P.R. of the Estate of Melva M.        Clm No 172300    Filed In Cases: 607
Class
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Heyward Tindall, P.R. of the Estate of Valestine V.     Clm No 172301    Filed In Cases: 607
Cole Tindall
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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Joan White, P.R. of the Estate of Zelma Collins           Clm No 172302    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Rowena Bethea Cook, P.R. of the Estate of Allen           Clm No 172303    Filed In Cases: 607
Cook Jr.
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Lula B. Cook, surviving spouse of Bernard D. Cook         Clm No 172304    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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Linda P. Wright, P.R. of the Estate of Francis L.           Clm No 172305    Filed In Cases: 607
Cook Sr.
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                            UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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P.R. pending estate of George Cook                          Clm No 172306    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                            UNS                              Unknown
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P.R. pending Estate of Wilfred Chadderton                   Clm No 172307    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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Carla J. Bussard, P.R of the Estate of Leroy           Clm No 172308    Filed In Cases: 607
Crampton
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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P.R. pending estate of Jason Culp                      Clm No 172309    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Sonya H. Skarupsky, P.R. of the Estate of Herman       Clm No 172310    Filed In Cases: 607
T. Cunningham
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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P.R. pending the estate of Joseph C. Cunningham         Clm No 172311    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Douglas C. Currin, P.R. of the Estate of Robert F.      Clm No 172312    Filed In Cases: 607
Currin
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Sandra F. Curtis, surviving spouse of Lewis Curtis      Clm No 172313    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Peter M. Daly, P.R. of the Estate of Frances Daly       Clm No 172314    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Sandra Darnell Letterman, for the case of Cecil B.      Clm No 172315    Filed In Cases: 607
Darnell
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Joseph R. Darnell Jr., P.R. of the Estate of Joseph     Clm No 172316    Filed In Cases: 607
R. Darnell
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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David Daugherty, for the case of Mary Daugherty         Clm No 172317    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Irene Davis, P.R. of the Estate of Bennett P. Davis     Clm No 172318    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Michelle Manning, P.R. of the Estate of Charles W.      Clm No 172319    Filed In Cases: 607
Davis
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Lorenzo T. Dennis, P.R. of the Estate of Cassie L.      Clm No 172320    Filed In Cases: 607
Dennis
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Uganda S. Mirabella, P.R. of the Estate of John W.      Clm No 172321    Filed In Cases: 607
Denton
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Myrna B. Devitt, P.R. of the Estate of Howard C.        Clm No 172322    Filed In Cases: 607
Devitt
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Mary E. DeWitt, P.R. of the Estate of Larry G. Dewitt    Clm No 172323   Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Kimberly S. Schaefer, P.R. of the Estate of Donald       Clm No 172324   Filed In Cases: 607
Dietz
c/o Law Offices of Peter G. Angelos, P.C.                Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Paul B. Diggs, P.R. of the Estate of Bernard             Clm No 172325   Filed In Cases: 607
Solomon Diggs
c/o Law Offices of Peter G. Angelos, P.C.                Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                             Unknown
100 North Charles St., 22nd Flr
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Michele J. DiGuiseppe, P.R. of the Estate of                Clm No 172326    Filed In Cases: 607
Billagean DiGuiseppe
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                            UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Diane Dilauro, P.R. of the Estate of Carl Dilauro           Clm No 172327    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                            UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Margaret A. Dills, Surviving Spouse of Roy Dills            Clm No 172328    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                            UNS                              Unknown
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Jerry Dishner, P.R. of the Estate of David L. Dishner    Clm No 172329   Filed In Cases: 607
Sr.
c/o Law Offices of Peter G. Angelos, P.C.                Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Cheryl D. Dixon, P.R. of the Estate of Walton Dixon      Clm No 172330   Filed In Cases: 607
III
c/o Law Offices of Peter G. Angelos, P.C.                Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Nancy Margaret Herbert, P.R. of the Estate of            Clm No 172331   Filed In Cases: 607
Robert Donald Jr.
c/o Law Offices of Peter G. Angelos, P.C.                Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                             Unknown
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Robert T. Downey, P.R. of the Estate of Elizabeth       Clm No 172332    Filed In Cases: 607
Downey
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Phyllis Downey, P.R. of the Estate of John M.           Clm No 172333    Filed In Cases: 607
Downey
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Mitchell B. Dunlap, P.R. of the Estate of Wayne A.      Clm No 172334    Filed In Cases: 607
Dunlap
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Michael J. Dunn, P.R. of the Estate of James W.         Clm No 172335    Filed In Cases: 607
Dunn
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Barry L. Durst, P.R. of the Estate of Glenn L. Durst    Clm No 172336    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Linda M. Eberlein, Surviving Spouse of Roland C.        Clm No 172337    Filed In Cases: 607
Eberlein
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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LaShaun R. Ellerbe, P.R. of the Estate Of Jerrard         Clm No 172338    Filed In Cases: 607
Ellerbe
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Charles A. Ellis, For the Case of Mary L. Ellis           Clm No 172339    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Ruth Escourt, P.R. of the Estate of Norton Escourt        Clm No 172340    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Donna H. Esdale, P.R. of the Robert W. Esdale, Jr.     Clm No 172341    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Marc D. Evans, P.R. of the Estate of John J. Evans     Clm No 172342    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Jacqueline Evans, Surviving Spouse of John H.          Clm No 172343    Filed In Cases: 607
Evans
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Teresa A. Evans, P.R. of the Estate of Robert Evans     Clm No 172344    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Claim Face Value




Nicole Marie Bogari, P.R. of the Estate of Gary L.      Clm No 172345    Filed In Cases: 607
Everitt
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Judy E. Falzone, Survivng Spouse of Thomas A.           Clm No 172346    Filed In Cases: 607
Falzone
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Robert E. Farrell, P.R. of the Estate of Demaris           Clm No 172347    Filed In Cases: 607
Farrell
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Klara Feather, P.R. of the Estate of William E.            Clm No 172348    Filed In Cases: 607
Feather, Jr.
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Shauntrese S. Felder, P.R. of the Estate of James D.       Clm No 172349    Filed In Cases: 607
Felder
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
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Tonya Whitt, For the Case of Willard C. Flatt           Clm No 172350    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Elaine Ford, Survivng Spouse of Billy J. Ford           Clm No 172351    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Dorothea Merryman Ford, P.R. of the Estate of           Clm No 172352    Filed In Cases: 607
Grayson Ford
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Martin E. Foust, P.R. of the Estate of Howard J.           Clm No 172353    Filed In Cases: 607
Foust
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
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   Claim Face Value




Charlotte T. Franklin, P.R. of the Estate of William       Clm No 172354    Filed In Cases: 607
S. Franklin
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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Robert A. Fritz, P.R. of the Estate of Mary P. Fritz       Clm No 172355    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
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Carol Debbie Shifflett, P.R. of the Estate of Carol L.    Clm No 172356    Filed In Cases: 607
Fuller
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Barbara Galford Graham, P.R. of the Estate of             Clm No 172357    Filed In Cases: 607
James Galford
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Edna J. Gallaher, Surviving Spouse of Ronald L.           Clm No 172358    Filed In Cases: 607
Gallaher
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Susann Boyd-Locy, P.R. of the Estate of Robert E.         Clm No 172359    Filed In Cases: 607
Gardiner
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Ludema Garza, P.R. of the Estate of Refugio C.            Clm No 172360    Filed In Cases: 607
Garza
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Richard C. Gearinger, JR. P.R. of the Estate of           Clm No 172361    Filed In Cases: 607
Richard C. Gearinger, Sr.
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




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Martha Gensler, P.R. of the Estate of Daniel G.           Clm No 172362    Filed In Cases: 607
Gensler
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Barbara J. German, Survivng Spouse of Howard E.           Clm No 172363    Filed In Cases: 607
German
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Richard J. Kromer, P.R. of the Estate of Eugene H.        Clm No 172364    Filed In Cases: 607
Getz
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Eureka R. Hopkins, P.R. of the Estate of Betty Gibbs      Clm No 172365    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Jonathan Gibson, P.R. of the Estate of David E.           Clm No 172366    Filed In Cases: 607
Gibson
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Cathie G. Crow, P.R. of the Estate of John O.             Clm No 172367    Filed In Cases: 607
Gilbreath
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Sophia Gilland, P.R. of the Estate of Robert L.           Clm No 172368    Filed In Cases: 607
Gilland
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Amanda Gilliard, P.R. of the Estate of Jimmie L.          Clm No 172369    Filed In Cases: 607
Gilliard, Sr.
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Michelle Wilkinson, P.R. of the Estate of Bobby           Clm No 172370    Filed In Cases: 607
Glenn
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Marian G. Glick, P.R. of the Estate of Edward H.       Clm No 172371    Filed In Cases: 607
Glick
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Penny G. Nunley, For the Case of Ernest J. Godwin      Clm No 172372    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Penny G. Nunley, For the Case of Naomi R. Godwin       Clm No 172373    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Marie Ann Godwin, P.R. of the Estate of William          Clm No 172374   Filed In Cases: 607
Godwin
c/o Law Offices of Peter G. Angelos, P.C.                Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




E. Jane Gooden, P.R. of the Estate of James              Clm No 172375   Filed In Cases: 607
Gooden
c/o Law Offices of Peter G. Angelos, P.C.                Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Kevin S. Goodrich Jr., P.R. of the Estate of Kevin S.    Clm No 172376   Filed In Cases: 607
Goodrich
c/o Law Offices of Peter G. Angelos, P.C.                Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                             Unknown
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Mark Joseph Gorth, P.R. of the Estate of Nancy M.        Clm No 172377    Filed In Cases: 607
Gorth
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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James M. Gossage, P.R. of the Estate of William J.       Clm No 172378    Filed In Cases: 607
Gossage, Sr.
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Debra M. Cochran, P.R. of the Estate of Norton           Clm No 172379    Filed In Cases: 607
Gough
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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William D. Graves, P.R. of the Estate of Alfred           Clm No 172380    Filed In Cases: 607
Graves, Jr.
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Shirley C. Green, P.R. of the Estate of Charles F.        Clm No 172381    Filed In Cases: 607
Green
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




P.R. Pending Estate of Clifton Alexander Green            Clm No 172382    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Carolyn J. Green, P.R. of the Estate of John W.           Clm No 172383    Filed In Cases: 607
Green
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Deanna Green, Surviving Spouse of Lowell Green            Clm No 172384    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Bruce Green, P.R. of the Estate of Reese Green, Sr.       Clm No 172385    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Vernon A. Greene, P.R. of the Estate of James A.        Clm No 172386    Filed In Cases: 607
Greene, Sr.
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Alice L. Greene, Surving Spouse of William R.           Clm No 172387    Filed In Cases: 607
Greene
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Elizabeth E. Gren, P.R. of the Estate of Jan F. Gren    Clm No 172388    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Jean L. Gresh, P.R. of the Estate of Morris Gresh        Clm No 172389    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Louise H. Grier, P.R. of the Estate of John Grier        Clm No 172390    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Frances J. Griffin, P.R. of the Estate of Herbert D.     Clm No 172391    Filed In Cases: 607
Griffin
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Duane A. Grove, P.R. of the Estate of Donald M.           Clm No 172392    Filed In Cases: 607
Grove
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Lynda Sue Ritter, P.R. of the Estate of John A.           Clm No 172393    Filed In Cases: 607
Grubb
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Donna Jean Grubbs, P.R. of the Estate of Charles          Clm No 172394    Filed In Cases: 607
Grubbs
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Joe M. Cox, II P.R. of the Estate of C. David Haacke     Clm No 172395    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Mary E. Haas, P.R. of the Estate of Larry Haas           Clm No 172396    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Naomi R. Hackmann, Surviving Spouse of Henry J.          Clm No 172397    Filed In Cases: 607
Hackmann
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Mary L. Halford, P.R. of the Estate of John Halford,     Clm No 172398    Filed In Cases: 607
Jr.
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




David Hall, P.R. of the Estate of William Hall           Clm No 172399    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Vanessa Ann Green, P.R. of the Estate of Donald K.       Clm No 172400    Filed In Cases: 607
Hamilton
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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P.R. Pending Estate of Earl T. Hammel                    Clm No 172401    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Rhonda Neahusan, P.R. of the Estate of John J.           Clm No 172402    Filed In Cases: 607
Hanekamp
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Ollie B. Harges, P.R. of the Estate of Troy W.           Clm No 172403    Filed In Cases: 607
Harges, Sr.
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Jackie Wagner, P.R. Of the Estate Of John H.           Clm No 172404    Filed In Cases: 607
Harold, Jr
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




P.R. Pending Estate of Johnie Harris                   Clm No 172405    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Barbara Harris, Surviving Spouse of Marvon E           Clm No 172406    Filed In Cases: 607
Harris
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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P.R. Pending Estate of William J. Harry Bey             Clm No 172407    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Shirley M. Hartranft, P.R. Of the Estate Of Jacob R.    Clm No 172408    Filed In Cases: 607
Hartranft
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Linda H. Roche, P.R. Of the Estate Of Robert Harvey     Clm No 172409    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Judith A. Martin, P.R. Of the Estate Of Frederick       Clm No 172410    Filed In Cases: 607
Haslup
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Kathy Deavers, P.R. Of the Estate Of John O.            Clm No 172411    Filed In Cases: 607
Hauser, Jr
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Claim Face Value




Robert Gannon, P.R. Of the Estate Of Linda Hauser       Clm No 172412    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Adrienne Wilson, P.R. Of the Estate Of Julia T.           Clm No 172413    Filed In Cases: 607
Hawkins
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Mary L. Hawse, P.R. Of the Estate Of Richard W.           Clm No 172414    Filed In Cases: 607
Hawse, Sr
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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James T. Heavener, P.R. Of the Estate Of Carol A.         Clm No 172415    Filed In Cases: 607
Heavener
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Jessica Heil, P.R. Of the Estate Of David Heil           Clm No 172416    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Alice J. Heneberry, P.R. Of the Estate Of William H.     Clm No 172417    Filed In Cases: 607
Heneberry
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Golda J. Henry , Survivng Spouse Of Carl E. Henry        Clm No 172418    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Steven M. Herbert, P.R. Of the Estate Of Pearl J.       Clm No 172419    Filed In Cases: 607
Herbert
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Pamela Hidalgo, P.R. Of the Estate Of Fernando          Clm No 172420    Filed In Cases: 607
Hidalgo
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Basil H. Matthews, P.R. Of the Estate Of Barbara A.     Clm No 172421    Filed In Cases: 607
Hill
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Barbara J. Hill, P.R. Of the Estate Of Robert Hill           Clm No 172422    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                    Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                             UNS                              Unknown
100 North Charles St., 22nd Flr
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Viola A. Hill, P.R. Of the Estate Of William J. Hill, Sr     Clm No 172423    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                    Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                             UNS                              Unknown
100 North Charles St., 22nd Flr
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Edith Hinton, P.R. Of the Estate Of Albert Hinton, Jr        Clm No 172424    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                    Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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Judy A. Hoeffler, P.R. Of the Estate Of Martin L.       Clm No 172425    Filed In Cases: 607
Hoeffler, Jr
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Carolyn M. Pfaff, P.R. Of the Estate Of Anna            Clm No 172426    Filed In Cases: 607
Hornberger
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Brenda Horton, Survivng Spouse Of Johnny Horton         Clm No 172427    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Ward E. Hostetler, P.R. Of the Estate Of Eli C.           Clm No 172428    Filed In Cases: 607
Hostetler
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Dennis C. Hower, P.R. Of the Estate Of Claude C.          Clm No 172429    Filed In Cases: 607
Hower
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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James R. Hurt, Jr, For the Case Of James R. Hurt          Clm No 172430    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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R. Elaine Hutzell, P.R. Of the Estate Of Clyde R.           Clm No 172431    Filed In Cases: 607
Hutzell
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                            UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Rennetta M. Jackson, P.R. Of the Estate Of Gregory          Clm No 172432    Filed In Cases: 607
Jackson
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                            UNS                              Unknown
100 North Charles St., 22nd Flr
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Gary R. Jackson, P.R. Of the Estate Of Leroy                Clm No 172433    Filed In Cases: 607
Jackson
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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DeLori Trice, P.R. Of the Estate Of Edward Jones         Clm No 172434    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Annita G. Staples, P.R. Of the Estate Of John E.         Clm No 172435    Filed In Cases: 607
Jones
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Donna M. Jones, P.R. Of the Estate Of Steve G.           Clm No 172436    Filed In Cases: 607
Jones
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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Patricia Morgan, P.R. Of the Estate Of James D.          Clm No 172437    Filed In Cases: 607
Joyner
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Frieda P. O'Barr, Surviving Spouse Of Walter L.          Clm No 172438    Filed In Cases: 607
O'Barr
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Victoria E. Ohle, P.R. Of the Estate Of Harry J. Ohle    Clm No 172439    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Brenda E. Bossard, P.R. Of the Estate Of Theresa J.      Clm No 172440    Filed In Cases: 607
Ohm
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Lucy Olivetti, P.R. Of the Estate Of Norman J.           Clm No 172441    Filed In Cases: 607
Olivetti
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Jean Orse, P.R. Of the Estate Of William J. Orse         Clm No 172442    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Sue Ann Greaves, P.R. Of the Estate Of Ann D.           Clm No 172443    Filed In Cases: 607
Ossman
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Craig Owens, P.R. Of the Estate Of Wilbert H.           Clm No 172444    Filed In Cases: 607
Owens
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Pamela D. Parker, P.R. of the Estate of James           Clm No 172445    Filed In Cases: 607
Parker
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Pamela Denise Parker, P.R. of the Estate of Mable        Clm No 172446    Filed In Cases: 607
Parker
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Alice V. Parker, Surviving Spouse of Robert L.           Clm No 172447    Filed In Cases: 607
Parker
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Teresa T. Parsons, P.R. of the Estate of Francis         Clm No 172448    Filed In Cases: 607
Parsons
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
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Brenda J. Patterson, P.R. of the Estate of John L.      Clm No 172449    Filed In Cases: 607
Patterson
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Felicia Payne-Sauders, P.R. of the Estate of Irma       Clm No 172450    Filed In Cases: 607
Payne
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Claim Face Value




Andris M. Paza, P.R. of the Estate of Janis Paza        Clm No 172451    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Jerry Wade Franks, Jr., P.R. of the Estate of Betsy       Clm No 172452    Filed In Cases: 607
C. Peach
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Yvonne H. Pearce, P.R. of the Estate of John F.           Clm No 172453    Filed In Cases: 607
Pearce
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Esther Phelps, P.R. of the Estate of William Phelps       Clm No 172454    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Dorothy Truitt, P.R. of the Estate of Howard G.           Clm No 172455    Filed In Cases: 607
Plumb
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Gregory Lynn O'Berry, P.R. of the Estate of               Clm No 172456    Filed In Cases: 607
Kenneth R. Poorbaugh
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Lily W. Porter, P.R. of the Estate of Lewis E. Porter     Clm No 172457    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Kimberly A. Rakes, P.R. Of the Estate Of John H.         Clm No 172458    Filed In Cases: 607
Rakes, Jr
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Marie S. Ramos, P.R. Of the Estate Of Edwin P.           Clm No 172459    Filed In Cases: 607
Ramos
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Nani Ramsey, P.R. Of the Estate Of Owen Ramsey           Clm No 172460    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Joseph T. Williams, P.R. Of the Estate Of Linzie          Clm No 172461    Filed In Cases: 607
Reaves
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Kathy F. Eaton, P.R. Of the Estate Of Daniel R.           Clm No 172462    Filed In Cases: 607
Rentzel
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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P.R. Pending Estate of Norman Resh                        Clm No 172463    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Katherine Rickard, Surviving Spouse Of R B             Clm No 172464    Filed In Cases: 607
Rickard
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Linda Egly, P.R. Of the Estate Of Eleanor J. Rims      Clm No 172465    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Mattie M. Roberts, P.R. Of the Estate Of George P.     Clm No 172466    Filed In Cases: 607
Roberts
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Gladys R. Roberts, Survivng Spouse Of Kelly R.             Clm No 172467    Filed In Cases: 607
Roberts
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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George R. Green, Jr., P.R. Of the Estate Of Bert           Clm No 172468    Filed In Cases: 607
Robinson
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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Allis J. Robinson, P.R. Of the Estate Of James B E         Clm No 172469    Filed In Cases: 607
Robinson
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
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Patricia Holmes, P.R. Of the Estate Of Lucille J.           Clm No 172470    Filed In Cases: 607
Robinson
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                            UNS                              Unknown
100 North Charles St., 22nd Flr
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Christi Renee Barbee, For the Case Of Dilmus M.             Clm No 172471    Filed In Cases: 607
Rogers
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                            UNS                              Unknown
100 North Charles St., 22nd Flr
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Dorothea Rogers, P.R. Of the Estate Of Kevin                Clm No 172472    Filed In Cases: 607
Rogers
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                            UNS                              Unknown
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W. Curtis Russell, Sr, P.R. Of the Estate Of John E.    Clm No 172473    Filed In Cases: 607
Russell
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Margareta A. Ruszala, P.R. Of the Estate Of Richard     Clm No 172474    Filed In Cases: 607
J. Ruszala
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Lyle R. Ryan, Jr., P.R. Of the Estate Of Glenn E.       Clm No 172475    Filed In Cases: 607
Ryan
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Dolores K. Sabatine, P.R. Of the Estate Of Michael        Clm No 172476   Filed In Cases: 607
F. Sabatine
c/o Law Offices of Peter G. Angelos, P.C.                 Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Allen R. Sadler, Sr., P.R. Of the Estate Of Barbara F,    Clm No 172477   Filed In Cases: 607
Sadler
c/o Law Offices of Peter G. Angelos, P.C.                 Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                             Unknown
100 North Charles St., 22nd Flr
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P.R. Pending Estate of Jerry L. Samples                   Clm No 172478   Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                             Unknown
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Csilla Sarkozy, P.R. Of the Estate Of Joseph           Clm No 172479    Filed In Cases: 607
Sarkozy
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Marjorie J. Saunders, P.R. Of the Estate Of Robert     Clm No 172480    Filed In Cases: 607
D. Saunders
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Diane D. Savage, P.R. Of the Estate Of James W.        Clm No 172481    Filed In Cases: 607
Savage
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Laverne C. Sayre, Survivng Spouse Of Ernest J.          Clm No 172482    Filed In Cases: 607
Sayre, Jr
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Francis X. Borgerding, Jr., P.R. Of the Estate Of       Clm No 172483    Filed In Cases: 607
John W. Schaaf
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Linda Schlereth, P.R. Of the Estate Of Leroy            Clm No 172484    Filed In Cases: 607
Schlereth
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Maria Schmidt, P.R. Of the Estate Of Theodor           Clm No 172485    Filed In Cases: 607
Schmidt
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Claim Face Value




Bonnie Lee. Hoffman, P.R. Of the Estate Of Donald      Clm No 172486    Filed In Cases: 607
W. Schneehagen
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Michael J. Schober, P.R. Of the Estate Of Linda C.     Clm No 172487    Filed In Cases: 607
Schober
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Sandra J. Schreiber, P.R. Of the Estate Of Thomas        Clm No 172488    Filed In Cases: 607
W. Schreiber
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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   Bar Date
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Kimberly A. Schulz, P.R. Of the Estate Of Bernard        Clm No 172489    Filed In Cases: 607
R. Schulz Jr
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Paul L. Sellers, Surviving Spouse Of Brenda F.           Clm No 172490    Filed In Cases: 607
Sellers
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




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Laura R. Settles, Surviving Spouse Of Ralph A.           Clm No 172491    Filed In Cases: 607
Settles
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Geraldine Shaneybrook, P.R. Of the Estate Of             Clm No 172492    Filed In Cases: 607
Walter Shaneybrook, Jr
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Bonnie L. Reimer, P.R. Of the Estate Of Carl             Clm No 172493    Filed In Cases: 607
Shankweiler
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Kimberly Dauber, P.R. Of the Estate Of William P.       Clm No 172494    Filed In Cases: 607
Shea
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Gertrude Sherwood, P.R. Of the Estate Of George         Clm No 172495    Filed In Cases: 607
Sherwood, Jr
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
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   Claim Face Value




Rosemary Shifflett, P.R. Of the Estate Of Alfred L.     Clm No 172496    Filed In Cases: 607
Shifflett
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Margarette Shipley, Surviving Spouse Of Marion         Clm No 172497    Filed In Cases: 607
Shipley
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Wayne E. Shook, P.R. Of the Estate Of Wayne E.         Clm No 172498    Filed In Cases: 607
Shook
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




P.R. Pending Estate of Charles W. Siegel               Clm No 172499    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Dennis L. Wilson, P.R. Of the Estate Of Paulette          Clm No 172500    Filed In Cases: 607
Siler Wilson
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Albin W. Simokat, P.R. Of the Estate Of Patricia A.       Clm No 172501    Filed In Cases: 607
Simokat
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Richard Dale Simons, Jr., P.R. Of the Estate Of           Clm No 172502    Filed In Cases: 607
Richard D. Simons
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Dorothy C. Simpson, P.R. Of the Estate Of Francis       Clm No 172503    Filed In Cases: 607
R. Simpson
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Michael Thomas Skinner, P.R. Of the Estate Of           Clm No 172504    Filed In Cases: 607
Stephen Skinner
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Joseph Garrish, P.R. Of the Estate Of Glenn             Clm No 172505    Filed In Cases: 607
Smallwood
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Denise M. Mattingly, P.R. Of the Estate Of Bernard        Clm No 172506    Filed In Cases: 607
E. Smith
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Della Mae Lamb, P.R. Of the Estate Of Cecil E.            Clm No 172507    Filed In Cases: 607
Smith
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Ronnie Ranier, P.R. Of the Estate Of Charles H.           Clm No 172508    Filed In Cases: 607
Smith
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Marilyn H. Smith, P.R. Of the Estate Of Donald R.      Clm No 172509    Filed In Cases: 607
Smith
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Margaret Mae Smith, P.R. Of the Estate Of Lloyd R.     Clm No 172510    Filed In Cases: 607
Smith
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Barbara Snyder, P.R. Of the Estate Of Ronald           Clm No 172511    Filed In Cases: 607
Snyder
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Tiffany Lindsey, P.R. Of the Estate Of Deborah L.       Clm No 172512    Filed In Cases: 607
Sorrell
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Sharon Spangler, P.R. Of the Estate Of Charles M.       Clm No 172513    Filed In Cases: 607
Spangler
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Virginia A. Spangler, P.R. Of the Estate Of Frank B.    Clm No 172514    Filed In Cases: 607
Spangler
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Charlotte Spencer, P.R. Of the Estate Of Richard L.     Clm No 172515    Filed In Cases: 607
Spencer
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Linda D. Miller, P.R. Of the Estate Of Ray Spoonire     Clm No 172516    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Stefanie Stefanski, P.R. Of the Estate Of John D.       Clm No 172517    Filed In Cases: 607
Stefanski, Ii
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Darrell L. Sterling, P.R. Of the Estate Of Thomas       Clm No 172518    Filed In Cases: 607
Sterling
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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P.R. Pending Estate of Frankie L Stone                  Clm No 172519    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Gail P. Stone, Surviving Spouse Of William Y.           Clm No 172520    Filed In Cases: 607
Stone, Sr
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Dorothy Marie Stumpf, P.R. Of the Estate Of John J.    Clm No 172521    Filed In Cases: 607
Stumpf, Jr
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Glory Ann French, P.R. Of the Estate Of Fredrick C.    Clm No 172522    Filed In Cases: 607
Swope
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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P.R. Pending Estate of Arthur Taylor                   Clm No 172523    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Wanita E. Litsinger, P.R. Of the Estate of Howard K.       Clm No 172524    Filed In Cases: 607
Taylor
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Nikelle Tucker, P.R. Of the Estate of Stanley W.           Clm No 172525    Filed In Cases: 607
Taylor
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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Regina J. Darden, P.R. of the Estate of Thelma             Clm No 172526    Filed In Cases: 607
Taylor
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
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Joel C. Tedder Jr., P.R. of the Estate of Joel C.           Clm No 172527    Filed In Cases: 607
Tedder
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                            UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Rita Tepperman, P.R. Of the Estate of Morton A.             Clm No 172528    Filed In Cases: 607
Tepperman
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                            UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Claim Face Value




Betty V. Brewer, P.R. of the Estate of Arline               Clm No 172529    Filed In Cases: 607
Theofiles
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                            UNS                              Unknown
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Preston T. Thomas, Surviving Spouse of Barbara A.      Clm No 172530    Filed In Cases: 607
Thomas
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Claim Face Value




Carmel A. Thomas, P.R. of the Estate of Joseph W.      Clm No 172531    Filed In Cases: 607
Thomas
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Debbie Thomas, P.R. of the Estate of William H.        Clm No 172532    Filed In Cases: 607
Thomas, IV
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
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Deloris Floyd, P.R. of the Estate of Alfred             Clm No 172533   Filed In Cases: 607
Thompson
c/o Law Offices of Peter G. Angelos, P.C.               Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Theresa H. Tockash, P.R. of the Estate of Michael J.    Clm No 172534   Filed In Cases: 607
Tockash
c/o Law Offices of Peter G. Angelos, P.C.               Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Kai Ann Petry, P.R. of the Estate of Ragner Tougjas     Clm No 172535   Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                             Unknown
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William E. Trammell Jr., For the Case of Clarence L.      Clm No 172536    Filed In Cases: 607
Trammell
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Audrey J. Schild, P.R. of the Estate of Ruth W.           Clm No 172537    Filed In Cases: 607
Trinkle
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
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Jeanette M. Trittipoe, P.R. of the Estate of Walter T.    Clm No 172538    Filed In Cases: 607
Trittipoe, III
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Martha L. Tucker, Surviving Spouse of Frederick L.        Clm No 172539    Filed In Cases: 607
Tucker
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Samuel C. Tucker, P.R. of the Estate of Marilyn G.        Clm No 172540    Filed In Cases: 607
Tucker
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Tina Aphin, For the Case of Jerry W. Turbeville           Clm No 172541    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Laverne Turner, P.R. of the Estate of George Turner    Clm No 172542    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Calvin Turner, For the Case of Lester Turner           Clm No 172543    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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P.R. Pending Estate of Donald D Tyson                  Clm No 172544    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Gloria J. Vaughn, P.R. of the Estate of Robert           Clm No 172545    Filed In Cases: 607
Vaughn
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Thomas E. Vent, P.R. of the Estate of Jo Ann H.          Clm No 172546    Filed In Cases: 607
Vent
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Sherri Brown, For the Case of Lloyd B. Voiles            Clm No 172547    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Valerie Parks, P.R. of the Estate of Gale Walker           Clm No 172548    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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P.R. Pending Estate of Roosevelt Walker                    Clm No 172549    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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Paula M. Manuel, P.R. Of the Estate of Nancy               Clm No 172550    Filed In Cases: 607
Wallace
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
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Bettie Tabb Forster, P.R. Of the Estate of              Clm No 172551    Filed In Cases: 607
Rosemarie Wallace
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Debbie A. Walpole, P.R. of the Estate of Richard C.     Clm No 172552    Filed In Cases: 607
Walpole
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Vivian Starr Walton, P.R. of the Estate of Charles      Clm No 172553    Filed In Cases: 607
Walton
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Wilhemina Santiful, P.R. of the Estate of William E.     Clm No 172554    Filed In Cases: 607
Ward
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Armand J. Volta, Jr., P.R. of the Estate of Walter W.    Clm No 172555    Filed In Cases: 607
Watkins
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Patricia C. Weaver, P.R. of the Estate of Jack           Clm No 172556    Filed In Cases: 607
Weaver
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Hattie L. Webster, Surviving Spouse of Willie           Clm No 172557    Filed In Cases: 607
Webster
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Marlene Wescoat, P.R. of the Estate of Paul             Clm No 172558    Filed In Cases: 607
Wescoat
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Claudette Whetstone, P.R. of the Estate of William      Clm No 172559    Filed In Cases: 607
Whetstone
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Betty S. White, Surviving Spouse of Harvey R.               Clm No 172560    Filed In Cases: 607
White
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                            UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Maggie R. White, P.R. of the Estate of Phillip I.           Clm No 172561    Filed In Cases: 607
White, Jr.
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                            UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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William H. Williams, P.R. of the Estate of George D.        Clm No 172562    Filed In Cases: 607
Williams
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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Margaret Williams, Surviving Spouse of John             Clm No 172563   Filed In Cases: 607
Williams, Sr.
c/o Law Offices of Peter G. Angelos, P.C.               Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Sherry A. Williams, Suriving Spouse of Marvin E.        Clm No 172564   Filed In Cases: 607
Williams
c/o Law Offices of Peter G. Angelos, P.C.               Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                             Unknown
100 North Charles St., 22nd Flr
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Angela L. Williams, P.R. of the Estate of Thurmon L.    Clm No 172565   Filed In Cases: 607
Williams
c/o Law Offices of Peter G. Angelos, P.C.               Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                             Unknown
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Tamarah Willingham, P.R. of the Estate of Michael       Clm No 172566    Filed In Cases: 607
F. Willingham
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Lula B. Willis, P.R. of the Estate of Bascomb Willis    Clm No 172567    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Denise Million, For the Case of James Wilson            Clm No 172568    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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Frances M. Wilson, P.R. of the Estate of Orie F.           Clm No 172569    Filed In Cases: 607
Wilson
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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P.R. Pending Estate of William R. Wilson                   Clm No 172570    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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P.R. Pending Estate of Richard W. Wiltraut                 Clm No 172571    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
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Robert W. Windsor, P.R. of the Estate of Woodrow         Clm No 172572    Filed In Cases: 607
W. Windsor
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Dorothy Wyatt, P.R. of the Estate of Walter W.           Clm No 172573    Filed In Cases: 607
Womble
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Charlene S. Woods, P.R. of the Estate of Donald R.       Clm No 172574    Filed In Cases: 607
Woods
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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G. Daniel Arnold, P.R. of the Estate of John G.           Clm No 172575    Filed In Cases: 607
Workman
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Linda W. McPeters, For the Case of Helen L. Wyatt         Clm No 172576    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Lela Wyatt, Surviving Spouse of Howard Wyatt              Clm No 172577    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




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Mary Sloan, For the Case of Clovis E. Yates             Clm No 172578    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Rose Anne Young, P.R. of the Estate of Harry L.         Clm No 172579    Filed In Cases: 607
Young Sr
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Ruth A. Zaun, P.R. of the Estate of William F. Zaun     Clm No 172580    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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   Bar Date
   Claim Face Value




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  Claims Details                                                                                                  861 of 3075

Joyce Zelinski, P.R. of the Estate of Robert E.           Clm No 172581    Filed In Cases: 607
Zelinski
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Renae B. Ziegler, P.R. of the Estate of Harry Ziegler     Clm No 172582    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Kyriacou Kacoyianni, P.R. of the Estate of                Clm No 172583    Filed In Cases: 607
Neophetos Kacoyianni
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Kelly J. Bechdel, P.R. of the Estate of Harry Kaetzel    Clm No 172584   Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Nancy Kane, P.R. of the Estate of Robert Thomas          Clm No 172585   Filed In Cases: 607
Kane
c/o Law Offices of Peter G. Angelos, P.C.                Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Jodi K. Kern, P.R. of the Estate of Richard Kassin       Clm No 172586   Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                             Unknown
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P.R. Pending Estate of Patrick J. Kearns                 Clm No 172587    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Mary Keller, P.R. of the Estate of Russell W. Keller     Clm No 172588    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




P.R. Pending Estate of Joseph P. Kelly                   Clm No 172589    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Ruth F. King, Surviving Spouse of Elmer H. King           Clm No 172590    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Theresa A. Kistner, P.R. of the Estate of Joseph A.       Clm No 172591    Filed In Cases: 607
Kistner
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Charles Martin, P.R. of the Estate of Milton J.           Clm No 172592    Filed In Cases: 607
Kolodziej
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Patricia E. Kramer, P.R. of the Estate of Henry           Clm No 172593    Filed In Cases: 607
Kramer
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Sandra Hopkins, P.R. of the Estate of Daniel W.           Clm No 172594    Filed In Cases: 607
Kreiner
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Kurt G. Krouse, P.R. of the Estate of Donald J.           Clm No 172595    Filed In Cases: 607
Krouse
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Barbara Harka, P.R. of the Estate of Stephen P.           Clm No 172596    Filed In Cases: 607
Lakits
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Arlene Lane, P.R. of the Estate of Neil S. Lane           Clm No 172597    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Terry Lawson, For the Case of Michael J. Lawson           Clm No 172598    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Patricia Radford, P.R. of the Estate of Eugene Lay      Clm No 172599    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Tammy Elliott, For the Case of Floyd H. Leach           Clm No 172600    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Lena B. Lee, P.R of the Estate of Simpkin Lee           Clm No 172601    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Kathleen B. Leese, P.R. of the Estate of Earl L.           Clm No 172602    Filed In Cases: 607
Leese
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Stephen G. Legradi, Jr., P.R. of the Estate of             Clm No 172603    Filed In Cases: 607
Stephen G. Legradi
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Dottie W. Leonard, P.R. of the Estate of Charles J.        Clm No 172604    Filed In Cases: 607
Leonard
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
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Carole A. Bellhorn, P.R. of the Estate of Joseph S.     Clm No 172605    Filed In Cases: 607
Lesko
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Janice Lewis, P.R. of the Estate of Ruth M. Lewis       Clm No 172606    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Patricia A. Logsdon, P.R. of the Estate of Michael      Clm No 172607    Filed In Cases: 607
Logsdon
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Helen Long, For the Case of Thomas I. Long              Clm No 172608    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Julie Lovrinic Smith, P.R. of the Estate of Kathleen    Clm No 172609    Filed In Cases: 607
B. Lovrinic
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Bonnie L.F. Lennox, P.R. of the Estate of Mary Lowe     Clm No 172610    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Marcus J. Lucas, P.R. of the Estate of Wade Lucas         Clm No 172611    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Maria Luciani, P.R. of the Estate of Raffaele Luciani     Clm No 172612    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Margarita Lopez, P.R. of the Estate of Narcisco           Clm No 172613    Filed In Cases: 607
Lugo
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Anthony B. Lukasavage, P.R. of the Estate of              Clm No 172614    Filed In Cases: 607
Anthony G. Lukasavage
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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   Claim Face Value




June E. Mabry, P.R. Of the Estate Of Willard M.           Clm No 172615    Filed In Cases: 607
Mabry, Sr
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




P.R. Pending Estate of Ruby Mack                          Clm No 172616    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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P.R. Pending Estate of Donald D. Mackenzie                Clm No 172617    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Russ Robinson, III, P.R. Of the Estate Of Laura           Clm No 172618    Filed In Cases: 607
Magaha
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Dorothy Ann M. Singletary, P.R. Of the Estate Of          Clm No 172619    Filed In Cases: 607
George Major
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




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Steven Cutsail, P.R. Of the Estate Of Elmer Maney      Clm No 172620    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Betty L. Manning, P.R. Of the Estate Of Howard W.      Clm No 172621    Filed In Cases: 607
Manning
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Thomas J. Manning, P.R. Of the Estate Of Thomas        Clm No 172622    Filed In Cases: 607
J. Manning
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Linda Maples, Suriving Spouse Of James C. Maples        Clm No 172623    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




P.R. Pending Estate of James A. Marol                   Clm No 172624    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Nathaniel Thomas, P.R. Of the Estate Of Arlee           Clm No 172625    Filed In Cases: 607
Marshall
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Montrell Spence, P.R. Of the Estate Of Karl B.            Clm No 172626    Filed In Cases: 607
Marshall
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Deborah J. Martin, P.R. Of the Estate Of Ray A.           Clm No 172627    Filed In Cases: 607
Martin
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




P.R. Pending Estate of Herbert Massie                     Clm No 172628    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Marian L. Stumpf, P.R. Of the Estate Of Henry A.         Clm No 172629    Filed In Cases: 607
Mast
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Mary L. Brooks, P.R. Of the Estate Of James M.           Clm No 172630    Filed In Cases: 607
Matsago
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Ola B. Mauk, Surviving Spouse Of Edward R. Mauk          Clm No 172631    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Deborah A. Azzarello, P.R. Of the Estate Of Billy        Clm No 172632    Filed In Cases: 607
May
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Linda May, P.R. Of the Estate Of Morris A. May           Clm No 172633    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Gwendolyn Mayo, P.R. Of the Estate Of James J.           Clm No 172634    Filed In Cases: 607
Mayo
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Claretha McAllister, P.R. Of the Estate Of James        Clm No 172635    Filed In Cases: 607
Mcallister
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Lolita A. McClain, P.R. Of the Estate Of William D.     Clm No 172636    Filed In Cases: 607
Mcclain
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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   Claim Face Value




Linda A. McClung, P.R. Of the Estate Of Frederick       Clm No 172637    Filed In Cases: 607
R. Mcclung
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Cynthia Jill Gilliam, For the Case of Jack Mcconnell    Clm No 172638    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Anita McCurley, P.R. Of the Estate Of Patrick G.        Clm No 172639    Filed In Cases: 607
Mccurley
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Kenneth McDaniel, P.R. Of the Estate Of Larry           Clm No 172640    Filed In Cases: 607
McDaniel
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Margaret S. McGee, Surviving Spouse Of Bud D.           Clm No 172641    Filed In Cases: 607
Mcgee
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Margaret A. Saffran, P.R. Of the Estate Of William      Clm No 172642    Filed In Cases: 607
Mclaughlin
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Audrey D. McNew, Surviving Spouse Of Kenneth N.         Clm No 172643    Filed In Cases: 607
Mcnew
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Ralph E. Meade, P.R. Of the Estate Of Warren G H.          Clm No 172644    Filed In Cases: 607
Meade
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Doris Medley, Suriving Spouse Of Lemuel L. Medley          Clm No 172645    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Marian Meilinger, P.R. Of the Estate Of Frank J.           Clm No 172646    Filed In Cases: 607
Meilinger
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
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Lynda Schrack, P.R. Of the Estate Of George A.         Clm No 172647    Filed In Cases: 607
Michie
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Mary Congo, P.R. Of the Estate Of Hercules Mikel       Clm No 172648    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Rose W. Preston, P.R. Of the Estate Of Albert Miles    Clm No 172649    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Deloris Miller, P.R. Of the Estate Of Charles E.           Clm No 172650    Filed In Cases: 607
Miller, Jr
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Lillian M. Miller, P.R. Of the Estate Of Charles Miller    Clm No 172651    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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Barbara Miller, P.R. Of the Estate Of John Miller          Clm No 172652    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
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Nancy M. Miller, P.R. Of the Estate Of Wayne R.           Clm No 172653    Filed In Cases: 607
Miller
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Brenda Lee Misner, P.R. Of the Estate Of Arthur E.        Clm No 172654    Filed In Cases: 607
Misner
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Ralph Montoney, P.R Of the Estate Of Maureen              Clm No 172655    Filed In Cases: 607
Montoney
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Earl Moore, Jr., P.R. Of the Estate Of Earl Moore, Sr    Clm No 172656   Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Phyllis E. Moore, Suriving Spouse Of Woody S.            Clm No 172657   Filed In Cases: 607
Moore
c/o Law Offices of Peter G. Angelos, P.C.                Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Wayne L. Morris, Sr., P.R. Of the Estate Of Warren       Clm No 172658   Filed In Cases: 607
Morris
c/o Law Offices of Peter G. Angelos, P.C.                Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                             Unknown
100 North Charles St., 22nd Flr
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Peter J. Manning, P.R. Of the Estate Of Charles           Clm No 172659    Filed In Cases: 607
Morrison
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Carole Morsberger, P.R. Of the Estate Of Ronald           Clm No 172660    Filed In Cases: 607
Morsberger
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Kenneth R. Mory, P.R. Of the Estate Of William D.         Clm No 172661    Filed In Cases: 607
Mory, Sr
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Ruth Mulligan, P.R. Of the Estate Of Ralph J.           Clm No 172662    Filed In Cases: 607
Mulligan
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Carolyn Snow, For the Case Of Ray Mullins               Clm No 172663    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
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Vivian Mullins, Surviving Spouse Of Samuel D.           Clm No 172664    Filed In Cases: 607
Mullins
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Doris V. Mundy, P.R. Of the Estate Of Walter D.           Clm No 172665    Filed In Cases: 607
Mundy
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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John Edward Munnelly, P.R. Of the Estate Of John          Clm No 172666    Filed In Cases: 607
Munnelly
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Rachel L. Sutphin, P.R. Of the Estate Of James            Clm No 172667    Filed In Cases: 607
Narrington
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Keirsten Johnson-Nelms, For the Case Of John R.        Clm No 172668    Filed In Cases: 607
Nelms
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Eleanor H. Nichols, P.R. Of the Estate Of Donald L.    Clm No 172669    Filed In Cases: 607
Nichols
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Mark C. Nichols, P.R. Of the Estate Of Robert A.       Clm No 172670    Filed In Cases: 607
Nichols
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Elizabeth Niess, P.R. Of the Estate Of John S. Niess    Clm No 172671   Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                             Unknown
100 North Charles St., 22nd Flr
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Arnstein Nordaas, P.R. Of the Estate Of Betty L.        Clm No 172672   Filed In Cases: 607
Nordaas
c/o Law Offices of Peter G. Angelos, P.C.               Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                             Unknown
100 North Charles St., 22nd Flr
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Melanie Daly, P.R. Of the Estate Of James Norfolk       Clm No 172673   Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                             Unknown
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Mildred G. Norris, P.R. Of the Estate Of Willie E.       Clm No 172674    Filed In Cases: 607
Norris
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Edna M. Norton, Surviving Spouse Of Beach C.             Clm No 172675    Filed In Cases: 607
Norton
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Judy S. Norton, Surviving Spouse Of John W.              Clm No 172676    Filed In Cases: 607
Norton
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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Allen R. Sadler, Sr.                                   Clm No 172677    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Jessie Salinaz, Jr.                                    Clm No 172678    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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Samuel B. Salvero                                      Clm No 172679    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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Levern Samuel                                          Clm No 172680    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Dennis W. Sandidge                                     Clm No 172681    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Joseph J. Sandruck                                     Clm No 172682    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Joseph P. Sauder                                       Clm No 172683    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Roland W. Scheppske, Jr.                               Clm No 172684    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Ed Schimunek                                           Clm No 172685    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Charles R. Schlimm                                     Clm No 172686    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Michael J. Schlitz                                     Clm No 172687    Filed In Cases: 607
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Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Calvin H. Schoeberlein                                 Clm No 172688    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Kimberly A. Schulz                                     Clm No 172689    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Glenn T. Scott                                         Clm No 172690    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Darel C. Schwartz                                      Clm No 172691    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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Malcolm R. Scott                                       Clm No 172692    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Sheila Scott                                           Clm No 172693    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Roger L. Seiber                                        Clm No 172694    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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William S. Seig                                        Clm No 172695    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Gertie Session                                         Clm No 172696    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Eston D. Shaffer                                       Clm No 172697    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Robert L. Shifflet                                     Clm No 172698    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Anthony Shifflett                                      Clm No 172699    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Wilbert Tyrone Shifflett                               Clm No 172700    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Norman L. Shoemaker                                    Clm No 172701    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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William Shoup                                          Clm No 172702    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Carl M. Shrieves                                       Clm No 172703    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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Thurman H. Shuler                                      Clm No 172704    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Donald C. Siekierka                                    Clm No 172705    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
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Paulette Sigulinsky                                    Clm No 172706    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Vance Simms                                            Clm No 172707    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Jasper T. Simpson                                      Clm No 172708    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Robert Henry Sines                                     Clm No 172709    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Isaac Singleton                                        Clm No 172710    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




William Sirbaugh                                       Clm No 172711    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Victor M. Sisolak                                      Clm No 172712    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Gary W. Sizemore                                       Clm No 172713    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Peter F. Skrapits                                      Clm No 172714    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Ronnie L. Smalls                                       Clm No 172715    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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John J. Smialkowski, Sr.                               Clm No 172716    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Allen B. Smith                                         Clm No 172717    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Carla M. Smith                                         Clm No 172718    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Charles D. Smith                                       Clm No 172719    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Charles E. Smith                                       Clm No 172720    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Dana B. Smith, Jr.                                     Clm No 172721    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Eugene H. Smith                                        Clm No 172722    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Evelyn Smith                                           Clm No 172723    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Harry Smith                                            Clm No 172724    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Joan Smith                                             Clm No 172725    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Ray L. Smith                                           Clm No 172726    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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William A. Smith                                       Clm No 172727    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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William R. Smith                                       Clm No 172728    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Richard Sommer                                         Clm No 172729    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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David L. Southerland, Jr.                              Clm No 172730    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Mary Spearman                                          Clm No 172731    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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David D. Spears                                        Clm No 172732    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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James Speight                                          Clm No 172733    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Leonard Spence                                         Clm No 172734    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Peter Stankiewicz                                      Clm No 172735    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Gary Starnes                                           Clm No 172736    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Christopher L. Steele                                  Clm No 172737    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Walter Stem                                            Clm No 172738    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Robert Sterling                                        Clm No 172739    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Timothy Stevens                                        Clm No 172740    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Daniel E. Stinchcomb, Sr.                              Clm No 172741    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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John W. Stinnett, Sr.                                  Clm No 172742    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Thomas Stocklem                                        Clm No 172743    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Odell W. Stokes                                        Clm No 172744    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Charles Stowers                                        Clm No 172745    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Howard N. Strange                                      Clm No 172746    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Gary W. Strauss                                        Clm No 172747    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Walter L. Strawser                                     Clm No 172748    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Michael G. Sudal                                       Clm No 172749    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Charles E. Swaim                                       Clm No 172750    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Robyn Swartz                                           Clm No 172751    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Darrel F. Swauger                                      Clm No 172752    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Anthony J. Swede                                       Clm No 172753    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Robert A. Swiecicki                                    Clm No 172754    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




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Lawrence D. Swinburn                                   Clm No 172755    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Gary E. Swindell                                       Clm No 172756    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




James P. Orfield                                       Clm No 172757    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Wilson Ornduff                                         Clm No 172758    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Dexter K. Orrick                                       Clm No 172759    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Henry E. Outlaw, Jr.                                   Clm No 172760    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Tommie Outman                                          Clm No 172761    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Anna T. Owens                                          Clm No 172762    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




George F. Owens                                        Clm No 172763    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Jerome Patterson, Sr.                                  Clm No 172764    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Luther C. Patterson                                    Clm No 172765    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
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James A. Payne                                         Clm No 172766    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Curtis E. Peace, Jr.                                   Clm No 172767    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Melvin H. Peake                                        Clm No 172768    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Debra Pedrick                                          Clm No 172769    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Michael E. Pell                                        Clm No 172770    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Winston Pemberton                                      Clm No 172771    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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James E. Peoples                                       Clm No 172772    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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James T. Perry                                         Clm No 172773    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Reno J. Pesaresi                                       Clm No 172774    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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John Peters                                            Clm No 172775    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Earl Pettie                                            Clm No 172776    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Frank J. Pettie                                        Clm No 172777    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Billie Phillips                                        Clm No 172778    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                               927 of 3075

Homer H. Phillips                                      Clm No 172779    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Richard L. Phillips                                    Clm No 172780    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Tommie E. Phillips                                     Clm No 172781    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Tommy Phillips                                         Clm No 172782    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Wayne Phillips                                         Clm No 172783    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Robert A. Piccione                                     Clm No 172784    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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James Pierce, Jr                                       Clm No 172785    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Robert I. Pindell                                      Clm No 172786    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Doris Pitsnogle                                        Clm No 172787    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Jay Pittenger                                          Clm No 172788    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Stanley Poole                                          Clm No 172789    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Charles A. Porter                                      Clm No 172790    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Mary Powell                                            Clm No 172791    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Paul J. Powell                                         Clm No 172792    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Elmer C. Price, Jr                                     Clm No 172793    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                               932 of 3075

Robert L. Price                                        Clm No 172794    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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James T. Pruss, Sr                                     Clm No 172795    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Donald J. Pulley                                       Clm No 172796    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Jacqueline Quickley                                    Clm No 172797    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Roy L. Rafter                                          Clm No 172798    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Woodard Rains                                          Clm No 172799    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                               934 of 3075

Gene A. Ramey                                          Clm No 172800    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




William R. Rankin                                      Clm No 172801    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Anderson C. Raub                                       Clm No 172802    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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  Claims Details                                                                                               935 of 3075

Gerald A. Rawlings                                     Clm No 172803    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Donald G. Ray                                          Clm No 172804    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




William N. Raynor                                      Clm No 172805    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Frank J. Recker                                        Clm No 172806    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Patricia M. Redemann                                   Clm No 172807    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




John Redin                                             Clm No 172808    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Jack E. Redman                                         Clm No 172809    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Sandra Reese                                           Clm No 172810    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Willie Richardson, Jr                                  Clm No 172811    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Tyrone Richburg                                        Clm No 172812    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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John J. Ridenour                                       Clm No 172813    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Ronnie L. Ridenour                                     Clm No 172814    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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William L. Rider                                       Clm No 172815    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Helen Ringer                                           Clm No 172816    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Julia Ripka                                            Clm No 172817    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Kenneth R. Ritchie                                     Clm No 172818    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Marion Rivers                                          Clm No 172819    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Billy J. Robbins                                       Clm No 172820    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Daniel K. Robinette                                    Clm No 172821    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Carl W. Rogers                                         Clm No 172822    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Dana Rogers                                            Clm No 172823    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Charles T. Romanisko                                   Clm No 172824    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Douglas B. Rose                                        Clm No 172825    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Willie D. Rose, Sr                                     Clm No 172826    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Charles Rowlette, Sr                                   Clm No 172827    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
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Austin Rudy                                            Clm No 172828    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Jerry E. Rumley                                        Clm No 172829    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Jeffrey C. Russell                                     Clm No 172830    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Willard Rutherford                                     Clm No 172831    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Baltimore, MD 21201



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Raymond C. Wolford                                     Clm No 172832    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Walter L. Womack                                       Clm No 172833    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Baltimore, MD 21201



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Richard C. Wood                                        Clm No 172834    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Robert W. Wooddell                                     Clm No 172835    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Frederick E. Woodland, Sr                              Clm No 172836    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Frederick Woodley                                      Clm No 172837    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Beverly Woodridge                                      Clm No 172838    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Lee E. Woods                                           Clm No 172839    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Jonathan P. Worley                                     Clm No 172840    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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William Wright                                         Clm No 172841    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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William Yankowy                                        Clm No 172842    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Billie Young                                           Clm No 172843    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Jerry D. Young                                         Clm No 172844    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Rex A. Young                                           Clm No 172845    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Shirley M. Young                                       Clm No 172846    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Barry Youngbar                                         Clm No 172847    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
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        Case 10-31607                Doc 6279-17     Filed 04/13/18 Entered 04/13/18 15:13:29 Desc Part
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James J. Youngkin                                      Clm No 172848    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Richard Zaicko                                         Clm No 172849    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




William A. Zarnon                                      Clm No 172850    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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James H. Zellers, Sr                                   Clm No 172851    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Raymond J. Zeiler                                      Clm No 172852    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Stephen V. Zeiler                                      Clm No 172853    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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James W. Ziegenfus                                     Clm No 172854    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Melvin C. Williams, Jr                                 Clm No 172855    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Rosemary E. Williams                                   Clm No 172856    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Sheila P. Williams                                     Clm No 172857    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Shirley A. Williams                                    Clm No 172858    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Roger Williamson                                       Clm No 172859    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Baltimore, MD 21201


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   Bar Date
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Harold R. Wills                                        Clm No 172860    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Elbert Wilson                                          Clm No 172861    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Gary L. Wilson                                         Clm No 172862    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Paul Wilson                                            Clm No 172863    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Vada Wilson                                            Clm No 172864    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Gregory A. Wireman                                     Clm No 172865    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Larry Wishop                                           Clm No 172866    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Bernard Wodarczyk                                      Clm No 172867    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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John A. Wolff, Jr                                      Clm No 172868    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                               957 of 3075

Charlotte M. Weems                                     Clm No 172869    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Cecil D. Welch                                         Clm No 172870    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Clifton Wells                                          Clm No 172871    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                               958 of 3075

Thomas A. Welsch                                       Clm No 172872    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Edward F. Wenker, Jr                                   Clm No 172873    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Marlin A. Wert                                         Clm No 172874    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Glenn E. Westfall                                      Clm No 172875    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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George E. Whitaker                                     Clm No 172876    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Charles White, III                                     Clm No 172877    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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James E. White                                         Clm No 172878    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
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Joan White                                             Clm No 172879    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Shirley White                                          Clm No 172880    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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William E. Wilkins                                     Clm No 172881    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Donald H. Williams                                     Clm No 172882    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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James L. Williams, Jr.                                 Clm No 172883    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Mary Williams                                          Clm No 172884    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Dewey Waldrop                                          Clm No 172885    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Steve G. Wargo                                         Clm No 172886    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




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Quincy Waters                                          Clm No 172887    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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William Waters                                         Clm No 172888    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Dudley D. Watford                                      Clm No 172889    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Claud Watson                                           Clm No 172890    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Jimmy A. Watson                                        Clm No 172891    Filed In Cases: 607
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Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Lawrence E. Watson                                     Clm No 172892    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




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Rodney Watts                                           Clm No 172893    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Eddie W. Way                                           Clm No 172894    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Charles M. Weaver                                      Clm No 172895    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




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  Claims Details                                                                                               966 of 3075

William J. Weber, Sr                                   Clm No 172896    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Dawn Abbott                                            Clm No 172897    Filed In Cases: 607
11267 Cloverhill Circle East                           Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32257
                                                       UNS                                $1.00

                                                                                          $1.00


   Date Filed                     6-Oct-2015
   Bar Date
   Claim Face Value                    $1.00




Constance Abbott                                       Clm No 172898    Filed In Cases: 607
67 Tampa Street                                        Class                Claim Detail Amount         Final Allowed Amount
Lewiston, ME 04210
                                                       UNS                                $1.00

                                                                                          $1.00


   Date Filed                     6-Oct-2015
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   Claim Face Value                    $1.00




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c/o David Jagolinzer, ESQ.                        Clm No 172899    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 172900    Filed In Cases: 607
601 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Phillip Abel                                      Clm No 172901    Filed In Cases: 607
8534 Arpin Sherry Road                            Class                Claim Detail Amount         Final Allowed Amount
Arpin, WI 54410
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                           968 of 3075

Hortensia Abella                                   Clm No 172902    Filed In Cases: 607
3408 Sunrise Villas Court South                    Class                Claim Detail Amount         Final Allowed Amount
Tampa, FL 33614
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, ESQ.                         Clm No 172903    Filed In Cases: 607
600 Brickwell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Stanley Abernathy                                  Clm No 172904    Filed In Cases: 607
117 Jennings Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Sikeston, MO 63801
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                          969 of 3075

Robert Abrams                                     Clm No 172905    Filed In Cases: 607
RR 5                                              Class                Claim Detail Amount         Final Allowed Amount
Salem, MO 655560
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Ruth Absher                                       Clm No 172906    Filed In Cases: 607
4365 NE 131 Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Anthony, FL 32617
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Eva Accarpio                                      Clm No 172907    Filed In Cases: 607
266 Savage Hill Road                              Class                Claim Detail Amount         Final Allowed Amount
Berlin, CT 06037
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                          970 of 3075

William Ackerman                                  Clm No 172908    Filed In Cases: 607
1087 Norton Road                                  Class                Claim Detail Amount         Final Allowed Amount
Berlin, CT 06037
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Raymond Ackerman                                  Clm No 172909    Filed In Cases: 607
6032 Warwick Hills Way                            Class                Claim Detail Amount         Final Allowed Amount
Banning, CA 92220
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Honore Acosta                                     Clm No 172910    Filed In Cases: 607
9374 Wild Lariat Avenue                           Class                Claim Detail Amount         Final Allowed Amount
Las Vegas, NV 89178-5522
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          971 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 172911    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Adair, P.A., Cindy                                Clm No 172912    Filed In Cases: 607
814 West Lantana Road                             Class                Claim Detail Amount         Final Allowed Amount
Suite 3
                                                  UNS                          $10,000.00
Lantana, FL 33462
                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Etheridge Adams                                   Clm No 172913    Filed In Cases: 607
5341 Taylor Road                                  Class                Claim Detail Amount         Final Allowed Amount
Lutz, FL 33558
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                          972 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 172914    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Cynthia Ann Adams                                 Clm No 172915    Filed In Cases: 607
222 Norcross Street                               Class                Claim Detail Amount         Final Allowed Amount
Manchester, NH 03109
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 172916    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                            973 of 3075

Larry Adams                                         Clm No 172917    Filed In Cases: 607
516 Riverfron Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Bullhead City, AZ 86442-6202
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




John Adams                                          Clm No 172918    Filed In Cases: 607
PO Box 64731                                        Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46401
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Monica Adamson                                      Clm No 172919    Filed In Cases: 607
19625 NW 9th Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33169-3142
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                          974 of 3075

Kathleen Powers                                   Clm No 172920    Filed In Cases: 607
261 Vineland Avenue                               Class                Claim Detail Amount         Final Allowed Amount
E. Longmeadow, MA 01028
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 172921    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 172922    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                           975 of 3075

James Agness                                       Clm No 172923    Filed In Cases: 607
3310 Cook Creek Road                               Class                Claim Detail Amount         Final Allowed Amount
Russellville, AL 35654-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Richard Algro                                      Clm No 172924    Filed In Cases: 607
2211 North 57 Terrace                              Class                Claim Detail Amount         Final Allowed Amount
Hollywood, FL 33021
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




Margarete Aguiar                                   Clm No 172925    Filed In Cases: 607
6937 County Road 575                               Class                Claim Detail Amount         Final Allowed Amount
Bushnell, FL 33513
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          976 of 3075

Vernon Ahles                                      Clm No 172926    Filed In Cases: 607
7611 North Circle Drive                           Class                Claim Detail Amount         Final Allowed Amount
Wisconsin Rapids, WI 54494
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 172927    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Norman Aisenbrey                                  Clm No 172928    Filed In Cases: 607
3005 North Crow Road                              Class                Claim Detail Amount         Final Allowed Amount
Ronan, MT 59864
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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Linda Marcum                                      Clm No 172929    Filed In Cases: 607
2050 Garden Springs Drive                         Class                Claim Detail Amount         Final Allowed Amount
Apt 1007
                                                  UNS                                $1.00
Lexington, KY 40504
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Charles Akins                                     Clm No 172930    Filed In Cases: 607
4244 Van Buren Street                             Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46408
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 172931    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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Maureen Alaimo                                    Clm No 172932    Filed In Cases: 607
3 Poole Street                                    Class                Claim Detail Amount         Final Allowed Amount
Pittston, PA 18640-7982
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Micheal Alb                                       Clm No 172933    Filed In Cases: 607
7926 Delmar Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Hammond, IN 46324-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 172934    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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Phyllis Albert                                    Clm No 172935    Filed In Cases: 607
609 Lincoln Street                                Class                Claim Detail Amount         Final Allowed Amount
Rock Falls, IL 61071
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Olanthus Albert                                   Clm No 172936    Filed In Cases: 607
5013 South 21st Place                             Class                Claim Detail Amount         Final Allowed Amount
Phoenix, AZ 85040
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Bernice Alberti                                   Clm No 172937    Filed In Cases: 607
11984 Rosetree Terrace                            Class                Claim Detail Amount         Final Allowed Amount
Boynton Beach, FL 33437
                                                  UNS                                $1.00

                                                                                     $1.00


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c/o David Jagolinzer, ESQ.                        Clm No 172938    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 172939    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Dorothy Alexander                                 Clm No 172940    Filed In Cases: 607
191 Rockspring Road                               Class                Claim Detail Amount         Final Allowed Amount
Warrior, AL 35180
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          981 of 3075

Dona Townsend                                     Clm No 172941    Filed In Cases: 607
PO Box 15074                                      Class                Claim Detail Amount         Final Allowed Amount
Panama City, FL 32406
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 172942    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 172943    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                          982 of 3075

Walter Alexander                                  Clm No 172944    Filed In Cases: 607
6630 Rhode Island Avenue                          Class                Claim Detail Amount         Final Allowed Amount
Hammond, IN 46323
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Andrew Alexandrovich                              Clm No 172945    Filed In Cases: 607
3617 N. Standard                                  Class                Claim Detail Amount         Final Allowed Amount
Spokane, WA 99207-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Jean Alexis                                       Clm No 172946    Filed In Cases: 607
40645 South Rhodes Avenue                         Class                Claim Detail Amount         Final Allowed Amount
Chicago, IL 60628
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                          983 of 3075

Ruth Alfonso                                      Clm No 172947    Filed In Cases: 607
11021 NW 2nd Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Miami Shores, FL 33161
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Louis Aliotta                                     Clm No 172948    Filed In Cases: 607
9353 SW 94th Loop                                 Class                Claim Detail Amount         Final Allowed Amount
Ocala, FL 34481
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




John Allan                                        Clm No 172949    Filed In Cases: 607
1321 West Falls Avenue                            Class                Claim Detail Amount         Final Allowed Amount
Kennewich, WA 99336
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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c/o David Jagolinzer, ESQ.                        Clm No 172950    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 172951    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 172952    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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c/o David Jagolinzer, ESQ.                        Clm No 172953    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Linda Allen                                       Clm No 172954    Filed In Cases: 607
348 Iywood Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Naples, FL 34112
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Lillie Allen                                      Clm No 172955    Filed In Cases: 607
700 Hamilton Street                               Class                Claim Detail Amount         Final Allowed Amount
Thomasville, AL 36784
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                          986 of 3075

Carl Allen                                        Clm No 172956    Filed In Cases: 607
301 E. Chapel Road                                Class                Claim Detail Amount         Final Allowed Amount
Pocatello, ID 83201
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Marjorie Allion                                   Clm No 172957    Filed In Cases: 607
9521 E. Briar Court                               Class                Claim Detail Amount         Final Allowed Amount
Inverness, FL 34453
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Larry Allport                                     Clm No 172958    Filed In Cases: 607
40 Arrow Head Ct.                                 Class                Claim Detail Amount         Final Allowed Amount
Dahinda, IL 61428
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                          987 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 172959    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Douglas Allyn                                     Clm No 172960    Filed In Cases: 607
91 Flanden Road                                   Class                Claim Detail Amount         Final Allowed Amount
Bethlehem, CT 06751
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




George Allyn                                      Clm No 172961    Filed In Cases: 607
5375 Harvest Drive South                          Class                Claim Detail Amount         Final Allowed Amount
Lafayette, IN 47905
                                                  UNS                                $1.00

                                                                                     $1.00


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Kenneth Almeroth                                  Clm No 172962    Filed In Cases: 607
1262 N. Linden Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Palatine, IL 60074
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Nancy Alpino                                      Clm No 172963    Filed In Cases: 607
6 Hummingbird Lane                                Class                Claim Detail Amount         Final Allowed Amount
Aliso Viejo, CA 92656
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Claytea Alston                                    Clm No 172964    Filed In Cases: 607
84 Lawrence Street                                Class                Claim Detail Amount         Final Allowed Amount
New Haven, CT 06511
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value       $10,000.00




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c/o David Jagolinzer, ESQ.                        Clm No 172965    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Jean Altobello                                    Clm No 172966    Filed In Cases: 607
165 Fairwood Drive                                Class                Claim Detail Amount         Final Allowed Amount
Pembroke, MA 02359
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Rita Alvarado                                     Clm No 172967    Filed In Cases: 607
120 SE 5th Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Apt # 237
                                                  UNS                                $1.00
Boca Raton, FL 33432
                                                                                     $1.00


   Date Filed                6-Oct-2015
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c/o David Jagolinzer, ESQ.                        Clm No 172968    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




joseph Alves                                      Clm No 172969    Filed In Cases: 607
383 Catherine Street                              Class                Claim Detail Amount         Final Allowed Amount
Bridgeport, CT 06604
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Peter Amari                                       Clm No 172970    Filed In Cases: 607
1 Richardson Street                               Class                Claim Detail Amount         Final Allowed Amount
Woburn, MA 01801-5534
                                                  UNS                                $1.00

                                                                                     $1.00


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c/o David Jagolinzer, ESQ.                        Clm No 172971    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Linda Ambrose                                     Clm No 172972    Filed In Cases: 607
461 Cook Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Meriden, CT 06451-6240
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Curtis Amie                                       Clm No 172973    Filed In Cases: 607
1000 Maenpah Street                               Class                Claim Detail Amount         Final Allowed Amount
Las Vegas, NV 89106
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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Frances Amore                                     Clm No 172974    Filed In Cases: 607
520 South Easy Street                             Class                Claim Detail Amount         Final Allowed Amount
Sebastian, FL 32958
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Louise Anders                                     Clm No 172975    Filed In Cases: 607
P.O. Box 192                                      Class                Claim Detail Amount         Final Allowed Amount
Twin Bridges,Mo 59754
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Susan Andersen                                    Clm No 172976    Filed In Cases: 607
5302 Avenue                                       Class                Claim Detail Amount         Final Allowed Amount
West Haven, CT 06516
                                                  UNS                                $1.00

                                                                                     $1.00


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c/o David Jagolinzer, ESQ.                        Clm No 172977    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 172978    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 172979    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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Gene Anderson                                     Clm No 172980    Filed In Cases: 607
1521 Clyde Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Wisconsin Rapids, WI 54494
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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Lawayne Anderson                                  Clm No 172981    Filed In Cases: 607
83125 1/4 street                                  Class                Claim Detail Amount         Final Allowed Amount
Chetek,WI 54728-5821
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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Ann Anderson                                      Clm No 172982    Filed In Cases: 607
2556 Mendon Road                                  Class                Claim Detail Amount         Final Allowed Amount
Cumberland, Ri 02864
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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Mary Anderson                                     Clm No 172983    Filed In Cases: 607
7172 Timber Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Apt #140
                                                  UNS                                $1.00
Greenville,Mi 48830
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 172984    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




David Anderson                                    Clm No 172985    Filed In Cases: 607
8901 Big Bear Pines Ave                           Class                Claim Detail Amount         Final Allowed Amount
Las Vegas ,NV 89143
                                                  UNS                                $1.00

                                                                                     $1.00


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Mary Anderson                                        Clm No 172986    Filed In Cases: 607
1650 SW 124 Terrace                                  Class                Claim Detail Amount         Final Allowed Amount
Apt# D-108
                                                     UNS                                $1.00
Pembroke Pines,FL 33027
                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




Anderson,Irene                                       Clm No 172987    Filed In Cases: 607
N 3382 Country P, Landysmith,                        Class                Claim Detail Amount         Final Allowed Amount
Wi 54848
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




James Anderson                                       Clm No 172988    Filed In Cases: 607
14058 Sundance Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Huntley ,IL 60142
                                                     UNS                                $1.00

                                                                                        $1.00


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   Claim Face Value                  $1.00




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Sharon Anderson                                   Clm No 172989    Filed In Cases: 607
7823 Walnut Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Hammond, IN 46324-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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Bunice Anderson                                   Clm No 172990    Filed In Cases: 607
5017 West 7Th Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Hammond,IN 46406-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 172991    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                                 998 of 3075

Dorothy Andrews                                          Clm No 172992    Filed In Cases: 607
5201-9th street North St. Petersburg FL, 33703           Class                Claim Detail Amount         Final Allowed Amount

                                                         UNS                                $1.00

                                                                                            $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




lavalle, Paula                                           Clm No 172993    Filed In Cases: 607
P.O. Box 335, North Berwick                              Class                Claim Detail Amount         Final Allowed Amount
Me 03906
                                                         UNS                                $1.00

                                                                                            $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Jean Andrews                                             Clm No 172994    Filed In Cases: 607
451 SE 15Th Avenue                                       Class                Claim Detail Amount         Final Allowed Amount
Pompano Beach
                                                         UNS                          $10,000.00
FL 33060
                                                                                      $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




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  Claims Details                                                                                          999 of 3075

Walter Andrews                                    Clm No 172995    Filed In Cases: 607
2543 S. 25th w., Lebanon                          Class                Claim Detail Amount         Final Allowed Amount
IN 46052-9748
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Dwight Andrews                                    Clm No 172996    Filed In Cases: 607
65243 Crawford Road                               Class                Claim Detail Amount         Final Allowed Amount
Pearl River, LA 70452
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Dana Andrews                                      Clm No 172997    Filed In Cases: 607
19072 Florida Street                              Class                Claim Detail Amount         Final Allowed Amount
APT#9
                                                  UNS                                $1.00
Hunnigton Beach Ca,92648
                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




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  Claims Details                                                                                         1000 of 3075

James Andrysiak                                   Clm No 172998    Filed In Cases: 607
25637 S 99th Drive                                Class                Claim Detail Amount         Final Allowed Amount
Sun Lakes, AZ 85248-6703
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Joan Angyalfy                                     Clm No 172999    Filed In Cases: 607
P.O. Box 1974                                     Class                Claim Detail Amount         Final Allowed Amount
St.Augustines
                                                  UNS                                $1.00
FL 32085
                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Arline Aniello                                    Clm No 173000    Filed In Cases: 607
19 High Tower Drive                               Class                Claim Detail Amount         Final Allowed Amount
South Windsor
                                                  UNS                                $1.00
Ct 06074
                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                           1001 of 3075

Barbara Ankley                                      Clm No 173001    Filed In Cases: 607
2645 North Evergreen Avenue                         Class                Claim Detail Amount         Final Allowed Amount
Waukegan, IL 60087
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Richard Anschuetz                                   Clm No 173002    Filed In Cases: 607
5501 47th North Kenneth City                        Class                Claim Detail Amount         Final Allowed Amount
FL, 33709-0000
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Henry Antholz                                       Clm No 173003    Filed In Cases: 607
27567 Country Road M,                               Class                Claim Detail Amount         Final Allowed Amount
Daolores ,CO 81323
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         1002 of 3075

Brockman, Penny                                   Clm No 173004    Filed In Cases: 607
W1731 Lau Road                                    Class                Claim Detail Amount         Final Allowed Amount
Kaukauna ,WI 54130
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Julie Anthony                                     Clm No 173005    Filed In Cases: 607
5302 West harris                                  Class                Claim Detail Amount         Final Allowed Amount
Chicago, IL 60644
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173006    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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  Claims Details                                                                                         1003 of 3075

Estell Apperwhite                                 Clm No 173007    Filed In Cases: 607
53 Rockwell Street                                Class                Claim Detail Amount         Final Allowed Amount
Boston, MA 02124
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Hyland, Lisa                                      Clm No 173008    Filed In Cases: 607
4400 17th street                                  Class                Claim Detail Amount         Final Allowed Amount
Racune, WI 53405
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Arambasich Richard`                               Clm No 173009    Filed In Cases: 607
26851Westwood Drive                               Class                Claim Detail Amount         Final Allowed Amount
Channahon IL,60410
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1004 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173010    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173011    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Jerry Arbogast                                    Clm No 173012    Filed In Cases: 607
7901 W. Clearwater #202                           Class                Claim Detail Amount         Final Allowed Amount
Kennewick, WA 99336
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1005 of 3075

Nancy Archibald                                   Clm No 173013    Filed In Cases: 607
407 Powell Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Clarks Summit, PA 18411
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Marie Ardire                                      Clm No 173014    Filed In Cases: 607
84 Brink Terrace                                  Class                Claim Detail Amount         Final Allowed Amount
Palisades Park,NJ 07650
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Jack Armes                                        Clm No 173015    Filed In Cases: 607
7630 North fox Hollow Road                        Class                Claim Detail Amount         Final Allowed Amount
Bloomigton, IN 47408
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1006 of 3075

John Armiger                                      Clm No 173016    Filed In Cases: 607
P.O. Box 127                                      Class                Claim Detail Amount         Final Allowed Amount
Tonopath, AZ 85354-0127
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value               $1.00




Ernest Armijo                                     Clm No 173017    Filed In Cases: 607
8709 Sun Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
southwest Albuquerque, NM 87121
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Linda Armstead                                    Clm No 173018    Filed In Cases: 607
P.O. Box 208                                      Class                Claim Detail Amount         Final Allowed Amount
Leighton,AL 35646
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          1007 of 3075

james Armstrong                                    Clm No 173019    Filed In Cases: 607
456 Franklin Pierce Highway                        Class                Claim Detail Amount         Final Allowed Amount
Barrignton, NH 03825
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




kenneth Armstrong                                  Clm No 173020    Filed In Cases: 607
420 Prescott Road ,                                Class                Claim Detail Amount         Final Allowed Amount
Valparaiso, IN 46385
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Duncan Armstrong                                   Clm No 173021    Filed In Cases: 607
129 Delmar Drive,                                  Class                Claim Detail Amount         Final Allowed Amount
Boilingbrook,IL 60440-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         1008 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173022    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173023    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173024    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1009 of 3075

Suzanne Arrowood                                  Clm No 173025    Filed In Cases: 607
W9616 Country Road F                              Class                Claim Detail Amount         Final Allowed Amount
Antigo,WI 54409
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Geroge Arthur                                     Clm No 173026    Filed In Cases: 607
P.O. Box 26121                                    Class                Claim Detail Amount         Final Allowed Amount
West Haven, CT 06513
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Gaye Arthur                                       Clm No 173027    Filed In Cases: 607
P.O. Box 824                                      Class                Claim Detail Amount         Final Allowed Amount
Edgewater FL,32132
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                         1010 of 3075

Delmas Arthur                                     Clm No 173028    Filed In Cases: 607
P.O. Box 26121                                    Class                Claim Detail Amount         Final Allowed Amount
West Haven, CT 06513
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173029    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173030    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1011 of 3075

Vernon Arviso                                     Clm No 173031    Filed In Cases: 607
636 Hazel Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Gallup, NM,87301
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Favre, Robert                                     Clm No 173032    Filed In Cases: 607
38 North maple Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Park Ridge,NJ 07656
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Robert Asher                                      Clm No 173033    Filed In Cases: 607
781 south 575 West                                Class                Claim Detail Amount         Final Allowed Amount
Hebron,IN 46431
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1012 of 3075

Lilly Ashley                                      Clm No 173034    Filed In Cases: 607
10841 SW 158th street                             Class                Claim Detail Amount         Final Allowed Amount
Miami FL,33157
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Willie Askew                                      Clm No 173035    Filed In Cases: 607
88 Willow Brook Road,                             Class                Claim Detail Amount         Final Allowed Amount
Cromwell, CT 06416
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173036    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1013 of 3075

Vernell Attaway                                   Clm No 173037    Filed In Cases: 607
7327 Campflower Road                              Class                Claim Detail Amount         Final Allowed Amount
Youngstown,FL 32466
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173038    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Raymond Aubin                                     Clm No 173039    Filed In Cases: 607
38 Falmouth Drive,                                Class                Claim Detail Amount         Final Allowed Amount
Shelton,CT,06484
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         1014 of 3075

Megner,Carol                                      Clm No 173040    Filed In Cases: 607
17 Hill Street                                    Class                Claim Detail Amount         Final Allowed Amount
lakeviille, MA 02347
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Theresa                                           Clm No 173041    Filed In Cases: 607
68 Long Hill Road                                 Class                Claim Detail Amount         Final Allowed Amount
P.O. Box #D-185
                                                  UNS                                $1.00
Middlefield,CT 06455
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Roscoe Austin                                     Clm No 173042    Filed In Cases: 607
4660 Hayes Street,                                Class                Claim Detail Amount         Final Allowed Amount
Gary,IN 46408-3725
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         1015 of 3075

Priscilla Austin                                  Clm No 173043    Filed In Cases: 607
P.O. Box #379                                     Class                Claim Detail Amount         Final Allowed Amount
Parrish,AL 35580
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173044    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Franklin Austin                                   Clm No 173045    Filed In Cases: 607
409 West Anderson Court                           Class                Claim Detail Amount         Final Allowed Amount
Crown Point, IN 46307-3030
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1016 of 3075

Charles Austin                                    Clm No 173046    Filed In Cases: 607
1219 Park Road                                    Class                Claim Detail Amount         Final Allowed Amount
Davenport,WA 99122
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173047    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Wilhelmine Avery                                  Clm No 173048    Filed In Cases: 607
8605 Bailey Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Clermont, FL34711
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1017 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173049    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Linda Avery                                       Clm No 173050    Filed In Cases: 607
12011 Hemlock Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Brookwood,AL 35444
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Susan Awve                                        Clm No 173051    Filed In Cases: 607
1419 Lower Forest Court                           Class                Claim Detail Amount         Final Allowed Amount
West Bend,WI 53090-1073
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1018 of 3075

Ayers,Margaret                                    Clm No 173052    Filed In Cases: 607
131 Dark Run Road Lot#141                         Class                Claim Detail Amount         Final Allowed Amount
Elliston,Va 24087
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173053    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173054    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1019 of 3075

Fern Baca                                         Clm No 173055    Filed In Cases: 607
1879 Hwy 170                                      Class                Claim Detail Amount         Final Allowed Amount
La Plata, NM 87418
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173056    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Baccus Estelle                                    Clm No 173057    Filed In Cases: 607
16945 SE 65th Street                              Class                Claim Detail Amount         Final Allowed Amount
Ocklawaha,FL 32179
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         1020 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173058    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Robert Backman                                    Clm No 173059    Filed In Cases: 607
155 High Ridge Road                               Class                Claim Detail Amount         Final Allowed Amount
Dingmans Ferry,PA 18328
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173060    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1021 of 3075

John baehr                                        Clm No 173061    Filed In Cases: 607
4212 North 5th Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Phoenix,AZ 85013
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Helmut Baer                                       Clm No 173062    Filed In Cases: 607
1300 Willow Lane,                                 Class                Claim Detail Amount         Final Allowed Amount
Schereville,IN 46375
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Lee Bailey                                        Clm No 173063    Filed In Cases: 607
1683 South Main Street                            Class                Claim Detail Amount         Final Allowed Amount
Cheshiire,CT 06410
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1022 of 3075

Nancy Bailey                                      Clm No 173064    Filed In Cases: 607
5248 SW 92nd Terrace,                             Class                Claim Detail Amount         Final Allowed Amount
Copper City,FL 33328
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Teresea bailey                                    Clm No 173065    Filed In Cases: 607
6351 Rook Driverbungstown,                        Class                Claim Detail Amount         Final Allowed Amount
FL 32466
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173066    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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  Claims Details                                                                                         1023 of 3075

Mary Baillie                                      Clm No 173067    Filed In Cases: 607
30 Old hawletville Road                           Class                Claim Detail Amount         Final Allowed Amount
Bethel,CT 06801
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




William Bair                                      Clm No 173068    Filed In Cases: 607
2139 Inner Circle                                 Class                Claim Detail Amount         Final Allowed Amount
Munster, IN 46321
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173069    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1024 of 3075

Martha Baker                                      Clm No 173070    Filed In Cases: 607
12167 St. Augustines Road                         Class                Claim Detail Amount         Final Allowed Amount
jacksonville, FL 32258
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Deborah Baker                                     Clm No 173071    Filed In Cases: 607
9914 east Ellicotts Street                        Class                Claim Detail Amount         Final Allowed Amount
Tampa, Fl 33610
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Johnny Baker                                      Clm No 173072    Filed In Cases: 607
92 Sunset beach Drive                             Class                Claim Detail Amount         Final Allowed Amount
Watsonville,Ca 95076
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1025 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173073    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Jack Baker                                        Clm No 173074    Filed In Cases: 607
3181 Hope Street                                  Class                Claim Detail Amount         Final Allowed Amount
Hapeville, GA 30354
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Kenneth Baker                                     Clm No 173075    Filed In Cases: 607
46 Old US Hwy.50E                                 Class                Claim Detail Amount         Final Allowed Amount
Bedford,IN47421
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1026 of 3075

Jay Baker                                         Clm No 173076    Filed In Cases: 607
5974 Old Highway 54                               Class                Claim Detail Amount         Final Allowed Amount
Philpot,KY 42366
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




John Baker                                        Clm No 173077    Filed In Cases: 607
11701 N. east Drive                               Class                Claim Detail Amount         Final Allowed Amount
Camby,IN 46113-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Roger baker                                       Clm No 173078    Filed In Cases: 607
5657 Hwy 93.S                                     Class                Claim Detail Amount         Final Allowed Amount
Whitefish,MT 59937-0000
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1027 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173079    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Florence Baker                                    Clm No 173080    Filed In Cases: 607
3110 57th street                                  Class                Claim Detail Amount         Final Allowed Amount
Sarasota, FL 34243
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




Baldwin,Nancy                                     Clm No 173081    Filed In Cases: 607
27 Lafayette Gree 7C                              Class                Claim Detail Amount         Final Allowed Amount
Clinton,CT 06413
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1028 of 3075

brooks Baldwin                                    Clm No 173082    Filed In Cases: 607
9159 SE 118 Loop,                                 Class                Claim Detail Amount         Final Allowed Amount
Summerfield,FL,34491-1637
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173083    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173084    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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c/o David Jagolinzer, ESQ.                        Clm No 173085    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer, ESQ.                        Clm No 173086    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173087    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1030 of 3075

Evelyn Ball                                       Clm No 173088    Filed In Cases: 607
3001 Dawson Stree                                 Class                Claim Detail Amount         Final Allowed Amount
Anchorage, AK 99503-3841
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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George ball                                       Clm No 173089    Filed In Cases: 607
232 West Lakeview Drive                           Class                Claim Detail Amount         Final Allowed Amount
Loqwll,IN 46356
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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Geroge Ballard                                    Clm No 173090    Filed In Cases: 607
27 River Street                                   Class                Claim Detail Amount         Final Allowed Amount
Amersbury ,MA 01913
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                           1031 of 3075

Laura Ballard                                       Clm No 173091    Filed In Cases: 607
10708 Hyannis Court lot #158                        Class                Claim Detail Amount         Final Allowed Amount
New Port Richey,Fl 34654-1448
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, ESQ.                          Clm No 173092    Filed In Cases: 607
600 Brickwell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                    UNS                                $1.00
Miami, FL 33131
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




will Bankhead                                       Clm No 173093    Filed In Cases: 607
P.O. Box 48                                         Class                Claim Detail Amount         Final Allowed Amount
Sulligent,AL 35586
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                         1032 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173094    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




jacqueline Bannon                                 Clm No 173095    Filed In Cases: 607
541 Foster St                                     Class                Claim Detail Amount         Final Allowed Amount
S Windssor, CT 06074
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Catherine Bannon                                  Clm No 173096    Filed In Cases: 607
550 Madison Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Peru,IN 46970
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1033 of 3075

Bantel,William                                    Clm No 173097    Filed In Cases: 607
124 Shore Court Unite#103                         Class                Claim Detail Amount         Final Allowed Amount
N.Palm Beach,FL 33408
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer, ESQ.                        Clm No 173098    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Ruth babdora                                      Clm No 173099    Filed In Cases: 607
1 Rock Road                                       Class                Claim Detail Amount         Final Allowed Amount
Farmingham,MA 01701
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1034 of 3075

Dorothy Barber                                    Clm No 173100    Filed In Cases: 607
4047 SE 25th Drive                                Class                Claim Detail Amount         Final Allowed Amount
Okeechobee, FL 34974
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173101    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Doris barboni                                     Clm No 173102    Filed In Cases: 607
70 Oakdale Road                                   Class                Claim Detail Amount         Final Allowed Amount
newton center,MA 02459
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1035 of 3075

Eliseo barbosa                                    Clm No 173103    Filed In Cases: 607
106 Minter Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Griffith,IN 46319
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173104    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Daniel barclay                                    Clm No 173105    Filed In Cases: 607
PO Box #618                                       Class                Claim Detail Amount         Final Allowed Amount
Island park,ID 83429-0618
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1036 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173106    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Irene Barese                                      Clm No 173107    Filed In Cases: 607
14348 Sandhurst Street                            Class                Claim Detail Amount         Final Allowed Amount
Brooksville,FL 34613
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Barefield ruth                                    Clm No 173108    Filed In Cases: 607
1812 Winewood Road                                Class                Claim Detail Amount         Final Allowed Amount
Brimington,AL 35215
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1037 of 3075

Sidney barfield                                   Clm No 173109    Filed In Cases: 607
505 N. Berthe Avenue,                             Class                Claim Detail Amount         Final Allowed Amount
Panama City, FL 32406
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




margaret barker                                   Clm No 173110    Filed In Cases: 607
9 kelsey Street,                                  Class                Claim Detail Amount         Final Allowed Amount
Darien,CT 06820
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173111    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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  Claims Details                                                                                         1038 of 3075

carrie barker                                     Clm No 173112    Filed In Cases: 607
262 SW Jack Glenn                                 Class                Claim Detail Amount         Final Allowed Amount
Lake City ,FL32024
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Donna Barker                                      Clm No 173113    Filed In Cases: 607
12130 US 41 south                                 Class                Claim Detail Amount         Final Allowed Amount
Gibsonton, FL 33534
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




James barker                                      Clm No 173114    Filed In Cases: 607
P.O. Box 486                                      Class                Claim Detail Amount         Final Allowed Amount
Townville,Sc 29689
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1039 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173115    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Loretta Barnard                                   Clm No 173116    Filed In Cases: 607
186 Niantic River Road                            Class                Claim Detail Amount         Final Allowed Amount
Waterford,CT 06385
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




James Barnes                                      Clm No 173117    Filed In Cases: 607
3747 Carswell Avenue Extension                    Class                Claim Detail Amount         Final Allowed Amount
Waycross, GA 31503
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         1040 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173118    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Elsie Barnes                                      Clm No 173119    Filed In Cases: 607
P.O. Box # 827                                    Class                Claim Detail Amount         Final Allowed Amount
Bagdad , FL 32530
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Andrew Barnes                                     Clm No 173120    Filed In Cases: 607
1633 Cox Street                                   Class                Claim Detail Amount         Final Allowed Amount
Southport, FL 32409-1437
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         1041 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173121    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Barenett, Darryl                                  Clm No 173122    Filed In Cases: 607
13818 Burks Pkwy                                  Class                Claim Detail Amount         Final Allowed Amount
Northport,AL 35475-3461
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Patrick Barnett                                   Clm No 173123    Filed In Cases: 607
12 Highfield Drive                                Class                Claim Detail Amount         Final Allowed Amount
Canton,CT 06019
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1042 of 3075

Barnett, Douglas                                  Clm No 173124    Filed In Cases: 607
847 North Hermitage Unit C                        Class                Claim Detail Amount         Final Allowed Amount
Chicago , IL 60622
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Ardith Barentt                                    Clm No 173125    Filed In Cases: 607
107 Montieth Street                               Class                Claim Detail Amount         Final Allowed Amount
Joliet, IL 60433
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173126    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1043 of 3075

Barnhill, Bonnie                                  Clm No 173127    Filed In Cases: 607
5253 Kayser Mill Road                             Class                Claim Detail Amount         Final Allowed Amount
Baker, FL 32537
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173128    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173129    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1044 of 3075

margaret Barrett                                  Clm No 173130    Filed In Cases: 607
43 Spaford Road                                   Class                Claim Detail Amount         Final Allowed Amount
Milton, MA 02186
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173131    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173132    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1045 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173133    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Paul Barry                                        Clm No 173134    Filed In Cases: 607
3880 N. Caribou Street                            Class                Claim Detail Amount         Final Allowed Amount
Wasilla, AK 99654-4349
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




marion Barsh                                      Clm No 173135    Filed In Cases: 607
3168 South Peninsula Drive                        Class                Claim Detail Amount         Final Allowed Amount
Daytona Beach, FL 32118
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1046 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173136    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173137    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




cecil Barton                                      Clm No 173138    Filed In Cases: 607
1950 Barton Road                                  Class                Claim Detail Amount         Final Allowed Amount
Westville,FL 32464
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1047 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173139    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Bobby barton                                      Clm No 173140    Filed In Cases: 607
524 Peachtree Lane                                Class                Claim Detail Amount         Final Allowed Amount
Bowling Grenn, KY 42103
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




mary Barwick                                      Clm No 173141    Filed In Cases: 607
5780 Green Acres Drive                            Class                Claim Detail Amount         Final Allowed Amount
Anderson, CA 96007
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1048 of 3075

Frank Barys                                       Clm No 173142    Filed In Cases: 607
48 Jeffery Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Newington, CT 06111
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173143    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173144    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1049 of 3075

Bass, James                                       Clm No 173145    Filed In Cases: 607
16 Mountain view Terrace                          Class                Claim Detail Amount         Final Allowed Amount
Northford, CT 06472
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173146    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Toini Bassell                                     Clm No 173147    Filed In Cases: 607
341 Churchill Drive                               Class                Claim Detail Amount         Final Allowed Amount
Newington, CT 06111
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         1050 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173148    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Margaret Bates                                    Clm No 173149    Filed In Cases: 607
1534 Sundbend Falls                               Class                Claim Detail Amount         Final Allowed Amount
San Antonio, TX 78224
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Earl Bates                                        Clm No 173150    Filed In Cases: 607
5 Paul heights                                    Class                Claim Detail Amount         Final Allowed Amount
Southington, Ct 06489
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1051 of 3075

Saull,Melody                                      Clm No 173151    Filed In Cases: 607
c/o Michael D Horlick                             Class                Claim Detail Amount         Final Allowed Amount
1314 E Venice Avenue
                                                  UNS                                $1.00
Suite D
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Mary Batson                                       Clm No 173152    Filed In Cases: 607
126 Congress street                               Class                Claim Detail Amount         Final Allowed Amount
Duxbury, MA 02332
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173153    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1052 of 3075

Dolores Baudino                                   Clm No 173154    Filed In Cases: 607
1525 Marquette Road                               Class                Claim Detail Amount         Final Allowed Amount
Joliet, IL 60435
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Mary Baudreau                                     Clm No 173155    Filed In Cases: 607
11911 66th Street                                 Class                Claim Detail Amount         Final Allowed Amount
Lot#103
                                                  UNS                                $1.00
Largo , FL 33773
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173156    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1053 of 3075

Janet Bauer                                       Clm No 173157    Filed In Cases: 607
1518 20th Ave                                     Class                Claim Detail Amount         Final Allowed Amount
Elk Mound ,WI 54703
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Julius Bauer                                      Clm No 173158    Filed In Cases: 607
704 Paw Paw Parkway                               Class                Claim Detail Amount         Final Allowed Amount
Westville,IN 46391
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




John Bauer                                        Clm No 173159    Filed In Cases: 607
1407 South 65th Avenue                            Class                Claim Detail Amount         Final Allowed Amount
Eau Claire, WI 54703
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1054 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173160    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Robert Baumer                                     Clm No 173161    Filed In Cases: 607
1860 North Cecilia                                Class                Claim Detail Amount         Final Allowed Amount
Green Valley,AZ 85614-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173162    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1055 of 3075

Norbert Baus                                      Clm No 173163    Filed In Cases: 607
830 kenyon Street                                 Class                Claim Detail Amount         Final Allowed Amount
Cashton ,WI 54619
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Evelyn Baxter                                     Clm No 173164    Filed In Cases: 607
2913 Wickwire Street                              Class                Claim Detail Amount         Final Allowed Amount
jacksonville, FL 32254
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173165    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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  Claims Details                                                                                         1056 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173166    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173167    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Adam beam                                         Clm No 173168    Filed In Cases: 607
15 Old Bedford Farms Road                         Class                Claim Detail Amount         Final Allowed Amount
Killingworth, CT 06419
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1057 of 3075

Beam-Weaver Martha                                Clm No 173169    Filed In Cases: 607
404 S. Mulberry Street,                           Class                Claim Detail Amount         Final Allowed Amount
Cherryville,NC 2802
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173170    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173171    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         1058 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173172    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Wayne Beard                                       Clm No 173173    Filed In Cases: 607
432 Palm Way                                      Class                Claim Detail Amount         Final Allowed Amount
Gerogetown,FL 32139
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Alice Beard                                       Clm No 173174    Filed In Cases: 607
432 Palm Way                                      Class                Claim Detail Amount         Final Allowed Amount
Gerogetown,FL 32139
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1059 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173175    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Bertha Bearse                                     Clm No 173176    Filed In Cases: 607
6208 Travis Road                                  Class                Claim Detail Amount         Final Allowed Amount
Tampa,FL 33610
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Maple Beasley                                     Clm No 173177    Filed In Cases: 607
50 Beasley Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Camden,AL 36726
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1060 of 3075

Bobby Beasley                                     Clm No 173178    Filed In Cases: 607
157 Carolina Street                               Class                Claim Detail Amount         Final Allowed Amount
P.O Box #221
                                                  UNS                                $1.00
Mocksville,NC 27028
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Jesse Beasley                                     Clm No 173179    Filed In Cases: 607
1170 Hamlin Chaple Road                           Class                Claim Detail Amount         Final Allowed Amount
Hartford,KY 42347
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




William Beasley                                   Clm No 173180    Filed In Cases: 607
2136 W. Minnehaha Street,                         Class                Claim Detail Amount         Final Allowed Amount
Tampa,FL 33064
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1061 of 3075

Carole Beauchene                                  Clm No 173181    Filed In Cases: 607
14 Sandusky Road                                  Class                Claim Detail Amount         Final Allowed Amount
South Dayton, FL 33064
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Jackie Beaudoin                                   Clm No 173182    Filed In Cases: 607
P.O. Box #2045                                    Class                Claim Detail Amount         Final Allowed Amount
Biddeford, MA 04005
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Diane Beaulieu                                    Clm No 173183    Filed In Cases: 607
16 Tulip Street                                   Class                Claim Detail Amount         Final Allowed Amount
Bristol , CT 06010
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1062 of 3075

Beaulieu Theresa                                  Clm No 173184    Filed In Cases: 607
63 Kenney St                                      Class                Claim Detail Amount         Final Allowed Amount
Forestville, CT 06010
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Bryan Beaver                                      Clm No 173185    Filed In Cases: 607
4313 Lorna Place                                  Class                Claim Detail Amount         Final Allowed Amount
Las Vegas, NV 89107
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173186    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1063 of 3075

Jose Becerra                                      Clm No 173187    Filed In Cases: 607
2304 San Eduardo Avenue                           Class                Claim Detail Amount         Final Allowed Amount
Laredo,Tx 78040-4224
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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John Becker                                       Clm No 173188    Filed In Cases: 607
7223 E. Starla Drive                              Class                Claim Detail Amount         Final Allowed Amount
Scottsdale,AZ 85225-3494
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Beckman carl                                      Clm No 173189    Filed In Cases: 607
117 Franklin Street                               Class                Claim Detail Amount         Final Allowed Amount
Berea,Oh 44017
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1064 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173190    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173191    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Maureen Bedard                                    Clm No 173192    Filed In Cases: 607
30 Island View Dr                                 Class                Claim Detail Amount         Final Allowed Amount
Tiverton, RI 02878
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1065 of 3075

Patricia Bedell                                   Clm No 173193    Filed In Cases: 607
8724 Cadler Place                                 Class                Claim Detail Amount         Final Allowed Amount
North Tampa,FL 33604-2215
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173194    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173195    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1066 of 3075

Charles Beeby                                     Clm No 173196    Filed In Cases: 607
4601 North 56th Lane                              Class                Claim Detail Amount         Final Allowed Amount
Phoenix ,AZ 85031-1609
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Naney Beeman                                      Clm No 173197    Filed In Cases: 607
315 Gipple Street                                 Class                Claim Detail Amount         Final Allowed Amount
Bloomsburg, PA 17815
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Catherine Beers                                   Clm No 173198    Filed In Cases: 607
5370 Saddlebag Lake Road                          Class                Claim Detail Amount         Final Allowed Amount
Lake Wales, FL 33853
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         1067 of 3075

Gaylyn Beesley                                    Clm No 173199    Filed In Cases: 607
32 Bay Point Road                                 Class                Claim Detail Amount         Final Allowed Amount
Center Ossioee,NH 03814-6300
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Josephine Begani                                  Clm No 173200    Filed In Cases: 607
6419 Berkshire Court                              Class                Claim Detail Amount         Final Allowed Amount
Lisle,IL 60532
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Deborah Sullivan,                                 Clm No 173201    Filed In Cases: 607
147 Spring Street                                 Class                Claim Detail Amount         Final Allowed Amount
Bridgewater, MA 032324
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         1068 of 3075

Isadore Behar                                     Clm No 173202    Filed In Cases: 607
18 hoabrt PI                                      Class                Claim Detail Amount         Final Allowed Amount
Garefield, NJ 07026
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Michalene behm                                    Clm No 173203    Filed In Cases: 607
RR 3 Box#188                                      Class                Claim Detail Amount         Final Allowed Amount
Harveys lake, PA 18618
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Margaret Behr                                     Clm No 173204    Filed In Cases: 607
P.O. Box # 446                                    Class                Claim Detail Amount         Final Allowed Amount
venice ,FL 34284
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                         1069 of 3075

Ralph Behrens                                     Clm No 173205    Filed In Cases: 607
101 Obtuse Hill Road                              Class                Claim Detail Amount         Final Allowed Amount
Brookfield,CT 06804
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173206    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Marie Beissek                                     Clm No 173207    Filed In Cases: 607
2327 Sisson Drive                                 Class                Claim Detail Amount         Final Allowed Amount
La Crosse, WI 54601
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1070 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173208    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Richard Belden                                    Clm No 173209    Filed In Cases: 607
925 Leonard Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Eau Claire, WI 54703
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Margaret Beliveau                                 Clm No 173210    Filed In Cases: 607
230 Blueberry Lane                                Class                Claim Detail Amount         Final Allowed Amount
W. Kingston,RI 02892
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1071 of 3075

Cathy Bell                                        Clm No 173211    Filed In Cases: 607
30 lamson Road                                    Class                Claim Detail Amount         Final Allowed Amount
Windsor, ME 04363
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Sammy Bell                                        Clm No 173212    Filed In Cases: 607
P.O Box #223                                      Class                Claim Detail Amount         Final Allowed Amount
Midway,WV 25878
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Rosaline Bell                                     Clm No 173213    Filed In Cases: 607
8661 E.Delilah Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Mesa,AZ 85208
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                           1072 of 3075

c/o David Jagolinzer, ESQ.                          Clm No 173214    Filed In Cases: 607
600 Brickwell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                    UNS                                $1.00
Miami, FL 33131
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Wendell Bellamy                                     Clm No 173215    Filed In Cases: 607
3211 Liberty Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Crown Point, IN 46307-3030
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Paul Bellamy                                        Clm No 173216    Filed In Cases: 607
915 Lower Pruce Road                                Class                Claim Detail Amount         Final Allowed Amount
Jeffersonville,Ky 40337-0000
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         1073 of 3075

Roy Bellante                                      Clm No 173217    Filed In Cases: 607
135 Blacks Road                                   Class                Claim Detail Amount         Final Allowed Amount
Cheshire,CT 06410
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Demora,Susuan                                     Clm No 173218    Filed In Cases: 607
P.O Box#1333                                      Class                Claim Detail Amount         Final Allowed Amount
Pawcatucka,CT 06379
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Belles-Foltz,Lousie                               Clm No 173219    Filed In Cases: 607
902 N Palm Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Plant City,FL 33563-3949
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                           1074 of 3075

Daniel Bellini                                      Clm No 173220    Filed In Cases: 607
71 Old Farms Place                                  Class                Claim Detail Amount         Final Allowed Amount
kensignton,Ct 06037
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, ESQ.                          Clm No 173221    Filed In Cases: 607
600 Brickwell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                    UNS                                $1.00
Miami, FL 33131
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Clifford bembenek                                   Clm No 173222    Filed In Cases: 607
1566 brilowski Road                                 Class                Claim Detail Amount         Final Allowed Amount
North stevens Point,WI 54481
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                         1075 of 3075

David Bemis                                       Clm No 173223    Filed In Cases: 607
34 Higbie drive                                   Class                Claim Detail Amount         Final Allowed Amount
East hartford,Ct 06108
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Bernard,Elizabeth                                 Clm No 173224    Filed In Cases: 607
6787 Rio Grande Ave                               Class                Claim Detail Amount         Final Allowed Amount
Portage,IN 46368
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173225    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                            1076 of 3075

Amerigo Bendetti                                     Clm No 173226    Filed In Cases: 607
614 Northland                                        Class                Claim Detail Amount         Final Allowed Amount
Pacatello,ID 83201
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




Benedick, Linda                                      Clm No 173227    Filed In Cases: 607
602 N Salem Road                                     Class                Claim Detail Amount         Final Allowed Amount
Ridgefield, Ct 06877
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




Ines Benedicto                                       Clm No 173228    Filed In Cases: 607
6152 verde Trail N. Apt# B226                        Class                Claim Detail Amount         Final Allowed Amount
Boca Raton , FL 33433-2483
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   6-Oct-2015
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   Claim Face Value             $10,000.00




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  Claims Details                                                                                         1077 of 3075

Benke Thomas                                      Clm No 173229    Filed In Cases: 607
6 Donbush Road                                    Class                Claim Detail Amount         Final Allowed Amount
St.Paul, MN 55127
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Williamson, Margaret                              Clm No 173230    Filed In Cases: 607
1908 Rosewood Drive                               Class                Claim Detail Amount         Final Allowed Amount
Melbourne Beach,FL 32951
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Dorthy E. Bennett                                 Clm No 173231    Filed In Cases: 607
P.O. Box #383                                     Class                Claim Detail Amount         Final Allowed Amount
Goshen,NH 03752-0383
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1078 of 3075

Sheila Bennett                                    Clm No 173232    Filed In Cases: 607
126 Mountain View                                 Class                Claim Detail Amount         Final Allowed Amount
East Long Medow,MA 01028
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173233    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173234    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1079 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173235    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173236    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173237    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




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  Claims Details                                                                                         1080 of 3075

Philip Benoit                                     Clm No 173238    Filed In Cases: 607
12 Glastonbury Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Rocky Hill,CT 06067
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173239    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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Olive Bentley                                     Clm No 173240    Filed In Cases: 607
210 Grant Road                                    Class                Claim Detail Amount         Final Allowed Amount
Newmarket,NH 03857
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1081 of 3075

Irene Bentley                                     Clm No 173241    Filed In Cases: 607
115 Glancy Road                                   Class                Claim Detail Amount         Final Allowed Amount
barre,MA 01005
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Mona bentley                                      Clm No 173242    Filed In Cases: 607
713 Pheasant Run                                  Class                Claim Detail Amount         Final Allowed Amount
Sherman,IL 62684
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




James Benton                                      Clm No 173243    Filed In Cases: 607
13320 Cover Circle,                               Class                Claim Detail Amount         Final Allowed Amount
Anchorage, AK 99515
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         1082 of 3075

Theodore Benza                                    Clm No 173244    Filed In Cases: 607
6570 4th Street                                   Class                Claim Detail Amount         Final Allowed Amount
Bloomsburg,PA 17815
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Albert Berard                                     Clm No 173245    Filed In Cases: 607
300 New Dam road                                  Class                Claim Detail Amount         Final Allowed Amount
Sanford,ME 04073
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Louise Berdeaux                                   Clm No 173246    Filed In Cases: 607
1020 Valley view Drive                            Class                Claim Detail Amount         Final Allowed Amount
Great Falls ,MT 59404
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         1083 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173247    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Joann Bergland ,olson                             Clm No 173248    Filed In Cases: 607
424 High Street                                   Class                Claim Detail Amount         Final Allowed Amount
Emmons,MN 56029
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Lauretta Bergman                                  Clm No 173249    Filed In Cases: 607
9 Boyden Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Foxboro ,MA 02035
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         1084 of 3075

N. Gene Bergstorm                                 Clm No 173250    Filed In Cases: 607
3561 Valley Road                                  Class                Claim Detail Amount         Final Allowed Amount
Pacatello,ID 83201
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173251    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Migdalia Bernal                                   Clm No 173252    Filed In Cases: 607
615 West 172nd Street                             Class                Claim Detail Amount         Final Allowed Amount
Suite# 5F
                                                  UNS                                $1.00
New York, NY 10032
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1085 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173253    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




walter Bernier                                    Clm No 173254    Filed In Cases: 607
33 White Plains Road                              Class                Claim Detail Amount         Final Allowed Amount
Norwich ,CT 06360
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Janice Bernier                                    Clm No 173255    Filed In Cases: 607
56 Theroux Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Chicopee,MA 01020
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1086 of 3075

Raymond Berrier                                   Clm No 173256    Filed In Cases: 607
945 North 200 West                                Class                Claim Detail Amount         Final Allowed Amount
Valparaiso,IN 46383
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Berry , Daniel                                    Clm No 173257    Filed In Cases: 607
117 Cherry Street                                 Class                Claim Detail Amount         Final Allowed Amount
Geneva,Ny 14456
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Arlene Berry                                      Clm No 173258    Filed In Cases: 607
50 Aspen way                                      Class                Claim Detail Amount         Final Allowed Amount
North Hampton,NH 03862
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1087 of 3075

Ronnie Berry                                      Clm No 173259    Filed In Cases: 607
920472 S. 3430 Road                               Class                Claim Detail Amount         Final Allowed Amount
Chandler,OK 74832
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




vernan Berry                                      Clm No 173260    Filed In Cases: 607
22 Second Street                                  Class                Claim Detail Amount         Final Allowed Amount
Barrington,NH 03825
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




John Berry                                        Clm No 173261    Filed In Cases: 607
1211 E. Lyons Ave                                 Class                Claim Detail Amount         Final Allowed Amount
APT#86
                                                  UNS                                $1.00
Spokane,WA 99208-5171
                                                                                     $1.00


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  Claims Details                                                                                         1088 of 3075

Fred Berry                                        Clm No 173262    Filed In Cases: 607
2717 E 21 Place                                   Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46407
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Carl Berry                                        Clm No 173263    Filed In Cases: 607
1569 Roosevelt Street                             Class                Claim Detail Amount         Final Allowed Amount
Gary,IN 46404
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Berta, Donald                                     Clm No 173264    Filed In Cases: 607
1756 Carib Lane, Mt                               Class                Claim Detail Amount         Final Allowed Amount
Prospect, IL 60065
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                         1089 of 3075

John Berta                                        Clm No 173265    Filed In Cases: 607
6647 Rhode Island                                 Class                Claim Detail Amount         Final Allowed Amount
Hammond,IN 46406-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Bertino, Michael                                  Clm No 173266    Filed In Cases: 607
275 W. Elm Street                                 Class                Claim Detail Amount         Final Allowed Amount
Coal City,IL 60416-1815
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




karen Bess                                        Clm No 173267    Filed In Cases: 607
1000 Central Avenue                               Class                Claim Detail Amount         Final Allowed Amount
APT#13B
                                                  UNS                                $1.00
Waycross,GA 31502
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         1090 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173268    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Charles Best                                      Clm No 173269    Filed In Cases: 607
2424 South 1050 east                              Class                Claim Detail Amount         Final Allowed Amount
Lafayette,IN 47905
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




kenneth Bethune                                   Clm No 173270    Filed In Cases: 607
137 Palmetto Drive                                Class                Claim Detail Amount         Final Allowed Amount
Ricon,GA 31326-5112
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1091 of 3075

Floyd Betty                                       Clm No 173271    Filed In Cases: 607
13285 North walton Road                           Class                Claim Detail Amount         Final Allowed Amount
Pacatello,ID 83202
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173272    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173273    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                            1092 of 3075

Richard Bichard                                      Clm No 173274    Filed In Cases: 607
7257 Plainfield Road                                 Class                Claim Detail Amount         Final Allowed Amount
Kimbolton,OH 43749
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Cole,Robert                                          Clm No 173275    Filed In Cases: 607
Law office of Cole&Gilday P.C                        Class                Claim Detail Amount         Final Allowed Amount
P.O. Box # 249
                                                     UNS                                $1.00
Stanwood,WA 98292
                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




hester Bickford-Deceased                             Clm No 173276    Filed In Cases: 607
6202 Rolling view Drive                              Class                Claim Detail Amount         Final Allowed Amount
Eldersburg,MD 21784
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




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  Claims Details                                                                                          1093 of 3075

Constance Bicknell                                 Clm No 173277    Filed In Cases: 607
12 Rutherglen avenue                               Class                Claim Detail Amount         Final Allowed Amount
Providence,RI 02907
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Biedenbender                                       Clm No 173278    Filed In Cases: 607
west 278 South                                     Class                Claim Detail Amount         Final Allowed Amount
11005 Fairview Circle Mukwango ,WI 53149
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Faith Biederer                                     Clm No 173279    Filed In Cases: 607
11240 vera Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Jacksonville,FL 32218
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




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  Claims Details                                                                                         1094 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173280    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Albert Biehle                                     Clm No 173281    Filed In Cases: 607
920 East Morgan                                   Class                Claim Detail Amount         Final Allowed Amount
Kokomo,In 46901
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




James Bielak                                      Clm No 173282    Filed In Cases: 607
3221 Maple drive                                  Class                Claim Detail Amount         Final Allowed Amount
Highland,In 46322
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1095 of 3075

Ingrid Bielunis                                   Clm No 173283    Filed In Cases: 607
274 Bay Road                                      Class                Claim Detail Amount         Final Allowed Amount
Hadley ,MA 01035
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Dora Bigham                                       Clm No 173284    Filed In Cases: 607
15 Apple Blossom Lane                             Class                Claim Detail Amount         Final Allowed Amount
Danbury,Ct 06811
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173285    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1096 of 3075

Billingahm,Mary                                   Clm No 173286    Filed In Cases: 607
c/o Michael gilbert                               Class                Claim Detail Amount         Final Allowed Amount
1311 North main Street
                                                  UNS                                $1.00
Crown Point,IN 46307
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




vernon Billingsley                                Clm No 173287    Filed In Cases: 607
1951 west 13th Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Gary ,In 46404
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173288    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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c/o David Jagolinzer, ESQ.                        Clm No 173289    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




veronica Bird                                     Clm No 173290    Filed In Cases: 607
66 newbury Pl                                     Class                Claim Detail Amount         Final Allowed Amount
Riverdale,NJ 07457
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173291    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1098 of 3075

Vera Birr                                         Clm No 173292    Filed In Cases: 607
1065 North street                                 Class                Claim Detail Amount         Final Allowed Amount
neenah,WI 54956
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173293    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173294    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1099 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173295    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




kelly Robert                                      Clm No 173296    Filed In Cases: 607
Kelly Law Office's                                Class                Claim Detail Amount         Final Allowed Amount
21 Franklin Street
                                                  UNS                                $1.00
Quincy,MA 02169
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Jimmy Bivins                                      Clm No 173297    Filed In Cases: 607
101 Nicholas Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Greenville KY, 42345
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1100 of 3075

Black,Gary                                        Clm No 173298    Filed In Cases: 607
9 Crandle Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Carlisle,PA 17015
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




La Don Black                                      Clm No 173299    Filed In Cases: 607
12419 Highway59 South                             Class                Claim Detail Amount         Final Allowed Amount
Marshall,TX 75672
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Billy Black                                       Clm No 173300    Filed In Cases: 607
13318 Robin Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Wheatfield,IN 46392
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1101 of 3075

Eugene Black                                      Clm No 173301    Filed In Cases: 607
636 County Road 1318                              Class                Claim Detail Amount         Final Allowed Amount
Bardwell,KY 42023
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Robert Black                                      Clm No 173302    Filed In Cases: 607
716 pennsylvania St                               Class                Claim Detail Amount         Final Allowed Amount
Gary,IN 46402
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Tracey Blackwood                                  Clm No 173303    Filed In Cases: 607
4000 NW 33rd Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Launderdale Lakes,FL 33309
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1102 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173304    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Pete Blair                                        Clm No 173305    Filed In Cases: 607
P.O Box #72204                                    Class                Claim Detail Amount         Final Allowed Amount
Fairbanks ,AK 99707
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Walter Blake                                      Clm No 173306    Filed In Cases: 607
P.O Box #2067                                     Class                Claim Detail Amount         Final Allowed Amount
Page,AZ 86040-2067
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1103 of 3075

William Blakely                                   Clm No 173307    Filed In Cases: 607
578 Broadway APT#715                              Class                Claim Detail Amount         Final Allowed Amount
Gary.IN 46402
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173308    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173309    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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  Claims Details                                                                                         1104 of 3075

Glen Blanchette                                   Clm No 173310    Filed In Cases: 607
99 Blackwater Road                                Class                Claim Detail Amount         Final Allowed Amount
Somnersworth,NH 03878
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Anita Blanchfield                                 Clm No 173311    Filed In Cases: 607
7345 Laurel Brook Loop                            Class                Claim Detail Amount         Final Allowed Amount
Casselberry,FL 32707
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Marcella Bland                                    Clm No 173312    Filed In Cases: 607
507 South simpson Street                          Class                Claim Detail Amount         Final Allowed Amount
Mount Dora, FL 32757
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                           1105 of 3075

Jane Blank                                          Clm No 173313    Filed In Cases: 607
125 shust Road                                      Class                Claim Detail Amount         Final Allowed Amount
Greenfield Township,PA 18407
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Mary Blanton                                        Clm No 173314    Filed In Cases: 607
655 N edgewater                                     Class                Claim Detail Amount         Final Allowed Amount
Plant City ,FL 33565
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Ann Marie                                           Clm No 173315    Filed In Cases: 607
105 Jones Street                                    Class                Claim Detail Amount         Final Allowed Amount
Wilkes-Barre, PA 18702
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                         1106 of 3075

Julis Bledsoe                                     Clm No 173316    Filed In Cases: 607
13225 Allisonville Road                           Class                Claim Detail Amount         Final Allowed Amount
Fishers,IN 46038-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173317    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Blevins James                                     Clm No 173318    Filed In Cases: 607
209 River Drive                                   Class                Claim Detail Amount         Final Allowed Amount
E. Palatka , FL 32131
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1107 of 3075

Larry Blevins                                     Clm No 173319    Filed In Cases: 607
2872 Wells Branch,                                Class                Claim Detail Amount         Final Allowed Amount
Grayson,KY 41143
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Zorn,Dr.Jamie                                     Clm No 173320    Filed In Cases: 607
28 Lakeshore Drive APT# B2                        Class                Claim Detail Amount         Final Allowed Amount
Farmington, CT 06032
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173321    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1108 of 3075

Walter Blocker                                    Clm No 173322    Filed In Cases: 607
P.O Box #401                                      Class                Claim Detail Amount         Final Allowed Amount
Fellsmere,FL 32948
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Leland Blohm                                      Clm No 173323    Filed In Cases: 607
P.O. Box #41                                      Class                Claim Detail Amount         Final Allowed Amount
Burrows,IN 46916-0041
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Plentz, Barbara                                   Clm No 173324    Filed In Cases: 607
1413 Daytona Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Daytona Beach, FL 32117
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1109 of 3075

Rouleau,Jeanne                                    Clm No 173325    Filed In Cases: 607
241 Sunrise Road                                  Class                Claim Detail Amount         Final Allowed Amount
Davennport,FL 33837
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Linda Blue                                        Clm No 173326    Filed In Cases: 607
326 Sullivan Drive                                Class                Claim Detail Amount         Final Allowed Amount
Savannah ,GA 31406
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Blue, Thomas                                      Clm No 173327    Filed In Cases: 607
12964 SE Papaya Street                            Class                Claim Detail Amount         Final Allowed Amount
Hope Sound, FL 33455
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                           1110 of 3075

Blue,Thomas                                         Clm No 173328    Filed In Cases: 607
17593 Winterhawk Trail                              Class                Claim Detail Amount         Final Allowed Amount
Jupiter,FL 33478
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, ESQ.                          Clm No 173329    Filed In Cases: 607
600 Brickwell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                    UNS                                $1.00
Miami, FL 33131
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Ardythe Bly                                         Clm No 173330    Filed In Cases: 607
9007 Scarsdale Court Unite A                        Class                Claim Detail Amount         Final Allowed Amount
West Melbourne,FL 33478
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                         1111 of 3075

George Blystone                                   Clm No 173331    Filed In Cases: 607
2770 Hancock Street                               Class                Claim Detail Amount         Final Allowed Amount
Lake Station,IN 46405
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173332    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Buby,David                                        Clm No 173333    Filed In Cases: 607
12291 70th Street                                 Class                Claim Detail Amount         Final Allowed Amount
North Largo,FL 33773
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         1112 of 3075

Shelie bodie                                      Clm No 173334    Filed In Cases: 607
7900 Whitmire Drive                               Class                Claim Detail Amount         Final Allowed Amount
Pensacola,FL 32145
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Kenneth Bodnicki                                  Clm No 173335    Filed In Cases: 607
2550 S. Ellsworth Road                            Class                Claim Detail Amount         Final Allowed Amount
Unit#551
                                                  UNS                                $1.00
Mesa , AZ 85209
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Edmund Bodwell                                    Clm No 173336    Filed In Cases: 607
6 Spring Street                                   Class                Claim Detail Amount         Final Allowed Amount
Kennebunk,ME 04043
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                          1113 of 3075

Bernice Boehm                                      Clm No 173337    Filed In Cases: 607
5342 Stafford Circle                               Class                Claim Detail Amount         Final Allowed Amount
Pace,FL 32571
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                $1.00




Joel Boeldt                                        Clm No 173338    Filed In Cases: 607
P.O. Box #1305                                     Class                Claim Detail Amount         Final Allowed Amount
Leicester,NC 28748
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                $1.00




Boguw Dorthy                                       Clm No 173339    Filed In Cases: 607
Burton M.Weinstein, ESQ                            Class                Claim Detail Amount         Final Allowed Amount
350 Fairfield Ave P.O Box #9177
                                                   UNS                          $10,000.00
Bridgeport,CT 06601
                                                                                $10,000.00


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  Claims Details                                                                                         1114 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173340    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Carol Boies                                       Clm No 173341    Filed In Cases: 607
219 Tennesse Avenue                               Class                Claim Detail Amount         Final Allowed Amount
St.Cloud,FL 34769
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Ryan,Donna                                        Clm No 173342    Filed In Cases: 607
41 Edgewood Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Walpole,MA 02081
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1115 of 3075

Osbourne,Tammy                                    Clm No 173343    Filed In Cases: 607
110 Meaderboro Road                               Class                Claim Detail Amount         Final Allowed Amount
New Durham,NH 03855
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173344    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Ruth Boles                                        Clm No 173345    Filed In Cases: 607
22 Putnam Road                                    Class                Claim Detail Amount         Final Allowed Amount
Foxboro ,MA 02035
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1116 of 3075

Wendell Bolin                                     Clm No 173346    Filed In Cases: 607
219 N Ohio Street                                 Class                Claim Detail Amount         Final Allowed Amount
Martinsville,IN 46151-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173347    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Stanley Bolmanski                                 Clm No 173348    Filed In Cases: 607
422 Chautaugua Boulevard                          Class                Claim Detail Amount         Final Allowed Amount
Erie,PA 16511-1113
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1117 of 3075

John Bologa                                       Clm No 173349    Filed In Cases: 607
12352 Talpa Street,                               Class                Claim Detail Amount         Final Allowed Amount
Spring Hill,FL 34608
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Burns Bolstridge                                  Clm No 173350    Filed In Cases: 607
74 Crest Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Somersworth,NH 03878
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173351    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1118 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173352    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Bolton-Munach Lorin                               Clm No 173353    Filed In Cases: 607
10370 S.Lake vista Circle                         Class                Claim Detail Amount         Final Allowed Amount
Davie,FL 33328
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




Charles Bon Durant                                Clm No 173354    Filed In Cases: 607
31148 Ave Drive West                              Class                Claim Detail Amount         Final Allowed Amount
Bradenton,FL 34207
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1119 of 3075

Barbara Bonacci                                   Clm No 173355    Filed In Cases: 607
421 Boulevard Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Dickson City,PA 18519
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




James Bonanno                                     Clm No 173356    Filed In Cases: 607
1 Elaine Street                                   Class                Claim Detail Amount         Final Allowed Amount
Bozrah,CT 06334
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Irene Bonanno                                     Clm No 173357    Filed In Cases: 607
20 Newton Court                                   Class                Claim Detail Amount         Final Allowed Amount
Weymouth,MA 02191
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                         1120 of 3075

Bond,Vera                                         Clm No 173358    Filed In Cases: 607
6764 Arrow wood Court                             Class                Claim Detail Amount         Final Allowed Amount
West Jordan,Ut 84084
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Irene Bond                                        Clm No 173359    Filed In Cases: 607
283 Bond Rd                                       Class                Claim Detail Amount         Final Allowed Amount
Defuniak Spring, FL 32433
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173360    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1121 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173361    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Richard Bone                                      Clm No 173362    Filed In Cases: 607
2370 Bohler Road Northwest                        Class                Claim Detail Amount         Final Allowed Amount
Atlanta,GA 30327
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173363    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1122 of 3075

James Bono                                        Clm No 173364    Filed In Cases: 607
5417 East Escodio Circle                          Class                Claim Detail Amount         Final Allowed Amount
Mesa,AZ 85206-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173365    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173366    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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  Claims Details                                                                                         1123 of 3075

Ruby Booth                                        Clm No 173367    Filed In Cases: 607
2305 Wimont Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Jackswille,FL 32218
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Mary Boquist                                      Clm No 173368    Filed In Cases: 607
1299 48th Ave#8                                   Class                Claim Detail Amount         Final Allowed Amount
East Molinw,IL 61244
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Dolores Boquist                                   Clm No 173369    Filed In Cases: 607
14 Crestview Drive                                Class                Claim Detail Amount         Final Allowed Amount
Coal Valley,IL 61244
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1124 of 3075

Fred Borboa                                       Clm No 173370    Filed In Cases: 607
3300 West Calle Cisne                             Class                Claim Detail Amount         Final Allowed Amount
Tuscon,AZ 85746
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Dennis Borders                                    Clm No 173371    Filed In Cases: 607
1019 Cypress Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Panama City, FL 32401
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Regine Borders                                    Clm No 173372    Filed In Cases: 607
2178 Horseshoe Cove Road                          Class                Claim Detail Amount         Final Allowed Amount
Waverly,GA 31565-2150
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         1125 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173373    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Harold Borem                                      Clm No 173374    Filed In Cases: 607
3528 East 109th                                   Class                Claim Detail Amount         Final Allowed Amount
Crown Point,IN 46307-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173375    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1126 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173376    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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Carylon Borland                                   Clm No 173377    Filed In Cases: 607
P.O Box #423                                      Class                Claim Detail Amount         Final Allowed Amount
Pinckard,Al 36371
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




william Borofsky                                  Clm No 173378    Filed In Cases: 607
455 Barrack Hill Road                             Class                Claim Detail Amount         Final Allowed Amount
Ridgefield,CT 06877
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1127 of 3075

Hauk,Donna                                        Clm No 173379    Filed In Cases: 607
35 Marjorie Street                                Class                Claim Detail Amount         Final Allowed Amount
Warcester,MA 01604
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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Gerogia Boorman                                   Clm No 173380    Filed In Cases: 607
C/o Judy Mullis                                   Class                Claim Detail Amount         Final Allowed Amount
13320 US Hwy 441 S.E.
                                                  UNS                                $1.00
Okeechobee,FL 34974
                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Thomas Borynack                                   Clm No 173381    Filed In Cases: 607
208 Fern Street APT# 312                          Class                Claim Detail Amount         Final Allowed Amount
Wst palm Beach,FL 33401
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1128 of 3075

kenneth Bosley                                    Clm No 173382    Filed In Cases: 607
P.O. Box #81                                      Class                Claim Detail Amount         Final Allowed Amount
Hunnigton,UT 84528
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Jessie Boston                                     Clm No 173383    Filed In Cases: 607
1022 W 11th st                                    Class                Claim Detail Amount         Final Allowed Amount
Hobart,IN 46342-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Carolyn Boswell                                   Clm No 173384    Filed In Cases: 607
814 Landon Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Winthorp Harbor,IL 60096
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1129 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173385    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




William Bothwick.JR                               Clm No 173386    Filed In Cases: 607
504 River Road APT#3B                             Class                Claim Detail Amount         Final Allowed Amount
Manchester,NH 03104
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Billy Bottorff                                    Clm No 173387    Filed In Cases: 607
817 Whitlock Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Crawfordwille,IN 47933
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1130 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173388    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Sylvia Bouchard                                   Clm No 173389    Filed In Cases: 607
1309 Alfred Road                                  Class                Claim Detail Amount         Final Allowed Amount
Lyman,ME 04002
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173390    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1131 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173391    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Norman Boulanger                                  Clm No 173392    Filed In Cases: 607
180 Country Road                                  Class                Claim Detail Amount         Final Allowed Amount
Southampron,MA 01073
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Stacia hanover-Bourasso                           Clm No 173393    Filed In Cases: 607
1 Blueridge Circle                                Class                Claim Detail Amount         Final Allowed Amount
Stratham,NH 03885-4206
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1132 of 3075

Robert Bousquet                                   Clm No 173394    Filed In Cases: 607
115 Laurel Hill Avenue                            Class                Claim Detail Amount         Final Allowed Amount
Norwhich ,CT 06360
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Shoemaker,Dawn                                    Clm No 173395    Filed In Cases: 607
970 West Keller Street                            Class                Claim Detail Amount         Final Allowed Amount
Hernando,FL 3442
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Dorene Boutwell                                   Clm No 173396    Filed In Cases: 607
3841 Cypress Trails Drive                         Class                Claim Detail Amount         Final Allowed Amount
Dawn J. Moore-Daughter
                                                  UNS                                $1.00
Polk city,FL 33868-9410
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1133 of 3075

Natalie bowen                                     Clm No 173397    Filed In Cases: 607
249 Williams St                                   Class                Claim Detail Amount         Final Allowed Amount
Taunton,MA 02780
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173398    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Carol Bowers                                      Clm No 173399    Filed In Cases: 607
726 Birch lane                                    Class                Claim Detail Amount         Final Allowed Amount
Paw Paw,MI 49079
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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Boyd Bowers                                       Clm No 173400    Filed In Cases: 607
252 east 350 North                                Class                Claim Detail Amount         Final Allowed Amount
Blackfoot,ID 83221-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




mary Bowmer                                       Clm No 173401    Filed In Cases: 607
5704 Norde Drive West                             Class                Claim Detail Amount         Final Allowed Amount
Jacksonville ,FL32244
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer, ESQ.                        Clm No 173402    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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c/o David Jagolinzer, ESQ.                        Clm No 173403    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Dolores Boyd                                      Clm No 173404    Filed In Cases: 607
105 valley Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Longwood,FL 32779
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Ben Boyd                                          Clm No 173405    Filed In Cases: 607
7206 Colorado Street                              Class                Claim Detail Amount         Final Allowed Amount
Marriville,IN 46410
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1136 of 3075

Lois Boyer                                        Clm No 173406    Filed In Cases: 607
45 South Green Street                             Class                Claim Detail Amount         Final Allowed Amount
East Stroudsburg,PA 18301
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Gerald Boyers                                     Clm No 173407    Filed In Cases: 607
4201 Mountain Rose Avenue                         Class                Claim Detail Amount         Final Allowed Amount
Norht Las Vegas ,NV 89031,3651
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173408    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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  Claims Details                                                                                         1137 of 3075

Boyington Hust,Donna                              Clm No 173409    Filed In Cases: 607
1418 Swarst Fairbanks RD                          Class                Claim Detail Amount         Final Allowed Amount
Monroe,LA 71203
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173410    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Michael Boyle                                     Clm No 173411    Filed In Cases: 607
28 Ardmore Street,                                Class                Claim Detail Amount         Final Allowed Amount
Braintreet,MA 02184
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1138 of 3075

Eamonn Boyle                                      Clm No 173412    Filed In Cases: 607
1338 East Sequoia Drive                           Class                Claim Detail Amount         Final Allowed Amount
Phoeniz,AZ 85024
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173413    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




katie Boyels                                      Clm No 173414    Filed In Cases: 607
273 New Hope Kokomo Road                          Class                Claim Detail Amount         Final Allowed Amount
Foxworth,MS 39483
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1139 of 3075

Boyles,Garry                                      Clm No 173415    Filed In Cases: 607
1605 Raintree Street                              Class                Claim Detail Amount         Final Allowed Amount
Baytown,TX 77520-3661
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Pat Bozarth                                       Clm No 173416    Filed In Cases: 607
16855 Old Colonial Road                           Class                Claim Detail Amount         Final Allowed Amount
Bloomington,IL 61704-5957
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Opal Bozeman                                      Clm No 173417    Filed In Cases: 607
5454 Alliance Rd                                  Class                Claim Detail Amount         Final Allowed Amount
Marianna,FL 32448
                                                  UNS                                $1.00

                                                                                     $1.00


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Joseph Bozich                                     Clm No 173418    Filed In Cases: 607
5481 Fairview Road                                Class                Claim Detail Amount         Final Allowed Amount
Fond Du Lac,WI 54937
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173419    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173420    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1141 of 3075

Beulah Bradley                                    Clm No 173421    Filed In Cases: 607
662 Stanton Street                                Class                Claim Detail Amount         Final Allowed Amount
Mobile,AL 36617
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Sheila Bradley                                    Clm No 173422    Filed In Cases: 607
509 winwood Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Cheasapeak,VA 23323
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




c/o David Jagolinzer, ESQ.                        Clm No 173423    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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  Claims Details                                                                                          1142 of 3075

Freeman Bragdon                                    Clm No 173424    Filed In Cases: 607
3880 Connecticut Street                            Class                Claim Detail Amount         Final Allowed Amount
Gary,IN 46409
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Linda Bragg                                        Clm No 173425    Filed In Cases: 607
9315 W. Marquette Lane                             Class                Claim Detail Amount         Final Allowed Amount
Crystal River,FL 34428-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, ESQ.                         Clm No 173426    Filed In Cases: 607
600 Brickwell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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c/o David Jagolinzer, ESQ.                        Clm No 173427    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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May Brandt                                        Clm No 173428    Filed In Cases: 607
2804 Prarie Iris Drive                            Class                Claim Detail Amount         Final Allowed Amount
Land O Lakes,FL 34638-7212
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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Branham-Pope Deidre                               Clm No 173429    Filed In Cases: 607
202 Silverfox Drive                               Class                Claim Detail Amount         Final Allowed Amount
Louisa,KY 41230
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          1144 of 3075

Michale Branham                                    Clm No 173430    Filed In Cases: 607
18801 Oakwood                                      Class                Claim Detail Amount         Final Allowed Amount
Country Club Hills,IL 60478
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Edna Branson                                       Clm No 173431    Filed In Cases: 607
1725 Sycamore Drive                                Class                Claim Detail Amount         Final Allowed Amount
Wasco,Ca 93280
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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Jerry Brant                                        Clm No 173432    Filed In Cases: 607
403 Rockwood Street                                Class                Claim Detail Amount         Final Allowed Amount
La Porte, IN 46350
                                                   UNS                                $1.00

                                                                                      $1.00


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Carolyn Bentley                                   Clm No 173433    Filed In Cases: 607
5331 HWY 10                                       Class                Claim Detail Amount         Final Allowed Amount
Monetvallo,AL 35115
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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Bill Brasell                                      Clm No 173434    Filed In Cases: 607
165 Scenic Valley Road #43                        Class                Claim Detail Amount         Final Allowed Amount
Kerrville,TX 78028-7931
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Coupland,Linda                                    Clm No 173435    Filed In Cases: 607
1140 Long Leaf Lake Drive                         Class                Claim Detail Amount         Final Allowed Amount
Bessemer,AL 35022-4345
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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Catherine Braswell                                Clm No 173436    Filed In Cases: 607
304 Kenwood Cirlce                                Class                Claim Detail Amount         Final Allowed Amount
Gadsden,AL 35904
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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William Braver                                    Clm No 173437    Filed In Cases: 607
310 North Airport Road                            Class                Claim Detail Amount         Final Allowed Amount
New Smyrna Beach,FL 32168
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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Arnold Breitbach                                  Clm No 173438    Filed In Cases: 607
6507 East Paradise Drive                          Class                Claim Detail Amount         Final Allowed Amount
Scottdale ,AZ 85254
                                                  UNS                                $1.00

                                                                                     $1.00


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Elizabeth Brennan                                 Clm No 173439    Filed In Cases: 607
2 School st .P.O box #605                         Class                Claim Detail Amount         Final Allowed Amount
Albion,RI 02802
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Noreen Brennan                                    Clm No 173440    Filed In Cases: 607
15 South medown Road                              Class                Claim Detail Amount         Final Allowed Amount
East Longmedow,MA 01028
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Merle Brent                                       Clm No 173441    Filed In Cases: 607
P.O. Box #223                                     Class                Claim Detail Amount         Final Allowed Amount
Ulm,MT 59485-0223
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1148 of 3075

Norma Breshears                                   Clm No 173442    Filed In Cases: 607
270 Tatum Salt Dome Road                          Class                Claim Detail Amount         Final Allowed Amount
Lumberton ,MS 39455
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Richard Breske                                    Clm No 173443    Filed In Cases: 607
7152 Savoy Court                                  Class                Claim Detail Amount         Final Allowed Amount
Seminole,FL 33776
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Walter Breslin                                    Clm No 173444    Filed In Cases: 607
1551 Fieldbrook Street                            Class                Claim Detail Amount         Final Allowed Amount
Henderson,NV 89052-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         1149 of 3075

Carol Bressette                                   Clm No 173445    Filed In Cases: 607
397 Main Street                                   Class                Claim Detail Amount         Final Allowed Amount
Hampden,MA 01036
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Virginia Bressler                                 Clm No 173446    Filed In Cases: 607
202 Leda Circle                                   Class                Claim Detail Amount         Final Allowed Amount
Taylor,PA 18517
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Clarence Brethauer                                Clm No 173447    Filed In Cases: 607
130 Penrose Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Yerington,NV 89447
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1150 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173448    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Oneal Brewer                                      Clm No 173449    Filed In Cases: 607
P.O Box #93                                       Class                Claim Detail Amount         Final Allowed Amount
Sheffield,AL 35560
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173450    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1151 of 3075

Billy Brewer                                      Clm No 173451    Filed In Cases: 607
1935 Greenleaf Drive                              Class                Claim Detail Amount         Final Allowed Amount
Lexington,KY 40505
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Robert Brewer                                     Clm No 173452    Filed In Cases: 607
P.O box# 91808                                    Class                Claim Detail Amount         Final Allowed Amount
Anchorage,AK 99509
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Breweur,Edward                                    Clm No 173453    Filed In Cases: 607
404 Scenic Park Drive                             Class                Claim Detail Amount         Final Allowed Amount
Creve Coeur,IL 61610
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1152 of 3075

Allen Brewster                                    Clm No 173454    Filed In Cases: 607
28 Poplar Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Shelton,CT,06484
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Brewton ,Alyce                                    Clm No 173455    Filed In Cases: 607
C/o Judy Mullis                                   Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Kelly Brey                                        Clm No 173456    Filed In Cases: 607
2626 West parish Avenue APT#206                   Class                Claim Detail Amount         Final Allowed Amount
Ownesboro,KY 42301-3313
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1153 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173457    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Brickle,Rose                                      Clm No 173458    Filed In Cases: 607
400 S.Delaware Street APT#B-2                     Class                Claim Detail Amount         Final Allowed Amount
Butler,MO 64730-2362
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Donald Brickman                                   Clm No 173459    Filed In Cases: 607
3700 14th Ave Se Unit#172                         Class                Claim Detail Amount         Final Allowed Amount
Olympia,WA 98501-7405
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1154 of 3075

Bridge,William                                    Clm No 173460    Filed In Cases: 607
P.O. Box#228                                      Class                Claim Detail Amount         Final Allowed Amount
Pontaic,IL 61764
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




David Bridge                                      Clm No 173461    Filed In Cases: 607
2435 Felt Street SP #113                          Class                Claim Detail Amount         Final Allowed Amount
Santa Cruz,CA 95062-5259
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173462    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1155 of 3075

Mary Briere                                       Clm No 173463    Filed In Cases: 607
84 Peckham Road                                   Class                Claim Detail Amount         Final Allowed Amount
Little Compton,RI 02837
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Donald Briesemeister                              Clm No 173464    Filed In Cases: 607
972 South Market                                  Class                Claim Detail Amount         Final Allowed Amount
Shakopee,MN 5579
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Dennis Brilla                                     Clm No 173465    Filed In Cases: 607
52 Mounth Vernon Road                             Class                Claim Detail Amount         Final Allowed Amount
Plantsville,CT 06479
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1156 of 3075

Carmella Brillo                                   Clm No 173466    Filed In Cases: 607
60 Germain Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Quincy,MA 02169
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Payton,Sonya                                      Clm No 173467    Filed In Cases: 607
11909 Black Peak Drive                            Class                Claim Detail Amount         Final Allowed Amount
Cotpus Cristi,TX 78410
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Trudy Brinkman                                    Clm No 173468    Filed In Cases: 607
2 Tamarack Drive                                  Class                Claim Detail Amount         Final Allowed Amount
South Berwick,ME 03908
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1157 of 3075

Curley Briscoe                                    Clm No 173469    Filed In Cases: 607
4321 West 22nd plaza                              Class                Claim Detail Amount         Final Allowed Amount
Gary,IN 46404
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Alan Bristol                                      Clm No 173470    Filed In Cases: 607
107 General Hardee Way                            Class                Claim Detail Amount         Final Allowed Amount
Blufton,SC 29909
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173471    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1158 of 3075

Britt,Page                                        Clm No 173472    Filed In Cases: 607
359 Burks Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Tallahassee ,FL 32304
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




c/o David Jagolinzer, ESQ.                        Clm No 173473    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




Roger Britten                                     Clm No 173474    Filed In Cases: 607
8245 Wilkinson Road                               Class                Claim Detail Amount         Final Allowed Amount
Drummond,WI 54832
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1159 of 3075

Steve Brkovich                                    Clm No 173475    Filed In Cases: 607
16219 Druham street                               Class                Claim Detail Amount         Final Allowed Amount
Fort Myers,FL 33908
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Thomas Broadwater                                 Clm No 173476    Filed In Cases: 607
8542 Cross Timbers Drive West                     Class                Claim Detail Amount         Final Allowed Amount
Jacksonville,FL32244
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Brochu,Adrienne                                   Clm No 173477    Filed In Cases: 607
34 Birch Mill Trail                               Class                Claim Detail Amount         Final Allowed Amount
Essex ,CT 06426
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




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  Claims Details                                                                                         1160 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173478    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173479    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173480    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                          1161 of 3075

Sandra Broker                                      Clm No 173481    Filed In Cases: 607
c/o Stacey Coker                                   Class                Claim Detail Amount         Final Allowed Amount
2566 Shauna Drive
                                                   UNS                                $1.00
Montgomery,IL 60538
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Liane Bromberg                                     Clm No 173482    Filed In Cases: 607
4 Delia Walker Avenue                              Class                Claim Detail Amount         Final Allowed Amount
S.Weymouth,MA 02109
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Brookman,Carolyn                                   Clm No 173483    Filed In Cases: 607
1079 Pecan Grove Place                             Class                Claim Detail Amount         Final Allowed Amount
Lawrenceville,GA 30045-5517
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         1162 of 3075

Franklin Brooks                                   Clm No 173484    Filed In Cases: 607
3 Anita Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
Waterford,CT 06385
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Hurley,Jeanie                                     Clm No 173485    Filed In Cases: 607
3039 W. Morrow Drive                              Class                Claim Detail Amount         Final Allowed Amount
Phoenix ,AZ 85027
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173486    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                           1163 of 3075

Kathryn                                             Clm No 173487    Filed In Cases: 607
3100 North East 49 Street APT#805                   Class                Claim Detail Amount         Final Allowed Amount
Ft Lauderdale,FL 33308
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




c/o David Jagolinzer, ESQ.                          Clm No 173488    Filed In Cases: 607
600 Brickwell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                    UNS                                $1.00
Miami, FL 33131
                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




william Broughton                                   Clm No 173489    Filed In Cases: 607
569 Great Swamp Road                                Class                Claim Detail Amount         Final Allowed Amount
Glastobury,CT 06033
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                         1164 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173490    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Phyllis brown                                     Clm No 173491    Filed In Cases: 607
7156 Enterprise Drive                             Class                Claim Detail Amount         Final Allowed Amount
Las Vegas ,NV 89147
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Brown,James                                       Clm No 173492    Filed In Cases: 607
1546 Mosslake drive                               Class                Claim Detail Amount         Final Allowed Amount
Desoto,TX 75115-7710
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1165 of 3075

Rickey Brown                                      Clm No 173493    Filed In Cases: 607
301 West Sterrett Street                          Class                Claim Detail Amount         Final Allowed Amount
Columbiana, AL 35051
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Helen Brown                                       Clm No 173494    Filed In Cases: 607
428 Shore Dr                                      Class                Claim Detail Amount         Final Allowed Amount
Palmygra,WI 53156
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Walter Brown                                      Clm No 173495    Filed In Cases: 607
91 South Main street                              Class                Claim Detail Amount         Final Allowed Amount
East Grandby,CT 06026
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




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  Claims Details                                                                                         1166 of 3075

Willie Brown                                      Clm No 173496    Filed In Cases: 607
P.O Box #891                                      Class                Claim Detail Amount         Final Allowed Amount
Quitman,GA 31643
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




brown,bernice                                     Clm No 173497    Filed In Cases: 607
2901 N.W. 183rd street                            Class                Claim Detail Amount         Final Allowed Amount
Miami Gardens,FL 33056
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173498    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1167 of 3075

Bernardine Brown                                  Clm No 173499    Filed In Cases: 607
5515 S.Nordica Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Chicago,IL 60638
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173500    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173501    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1168 of 3075

Yvonne Brown                                      Clm No 173502    Filed In Cases: 607
2200 Pratt Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Mobile,AL 36605
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Thelma Brown                                      Clm No 173503    Filed In Cases: 607
3808 Boardwalk Place#248                          Class                Claim Detail Amount         Final Allowed Amount
Ruskin,FL 33570
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Georgia Brown                                     Clm No 173504    Filed In Cases: 607
102Lewis Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Hueytown,AL 35023
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                           1169 of 3075

betty Brown                                         Clm No 173505    Filed In Cases: 607
943 21St Street                                     Class                Claim Detail Amount         Final Allowed Amount
South St,Petersburg,FL 33712
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Brown-Biven,Claretha                                Clm No 173506    Filed In Cases: 607
31401 Jessie Road                                   Class                Claim Detail Amount         Final Allowed Amount
Spanish fort ,AL 36527
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, ESQ.                          Clm No 173507    Filed In Cases: 607
600 Brickwell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                    UNS                                $1.00
Miami, FL 33131
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                          1170 of 3075

samuel Brown                                       Clm No 173508    Filed In Cases: 607
1615 Ferndell Road                                 Class                Claim Detail Amount         Final Allowed Amount
Orlando,FL 32808
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Elbert Brown                                       Clm No 173509    Filed In Cases: 607
16285 S.E 62nd place                               Class                Claim Detail Amount         Final Allowed Amount
Ocklawaha,FL 32179
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Hollis Brown                                       Clm No 173510    Filed In Cases: 607
7495 west Charlston Blvd Apt#63                    Class                Claim Detail Amount         Final Allowed Amount
Las Vegas ,NV 89117
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         1171 of 3075

James Brown                                       Clm No 173511    Filed In Cases: 607
10E. Hawthorne Pkwy,APT#201                       Class                Claim Detail Amount         Final Allowed Amount
Vernon Hills,IL 60061
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Charles Brown                                     Clm No 173512    Filed In Cases: 607
2031 gardner Road                                 Class                Claim Detail Amount         Final Allowed Amount
Hamilton,OH 45013
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Larry Brown                                       Clm No 173513    Filed In Cases: 607
P.O. Box #2267                                    Class                Claim Detail Amount         Final Allowed Amount
Gary,IN 46409-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1172 of 3075

Elmer Brown                                       Clm No 173514    Filed In Cases: 607
P.O. Box #241                                     Class                Claim Detail Amount         Final Allowed Amount
Smithton,PA 15479-0241
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173515    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Hattie,Brown                                      Clm No 173516    Filed In Cases: 607
P.O Box # 494                                     Class                Claim Detail Amount         Final Allowed Amount
Columbian,AL 35051
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1173 of 3075

James Brown                                       Clm No 173517    Filed In Cases: 607
1101 NE 14th Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Gainesville,FL 32601,4562
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




David brown                                       Clm No 173518    Filed In Cases: 607
1208 North Lee Street Lot #105                    Class                Claim Detail Amount         Final Allowed Amount
Leesburg, FL 34748
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




james Brown                                       Clm No 173519    Filed In Cases: 607
355 Coe Avenue APT# 153                           Class                Claim Detail Amount         Final Allowed Amount
Meriden,CT 06451
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                           1174 of 3075

kenneth Brown                                       Clm No 173520    Filed In Cases: 607
1284 Upland Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Sandpoint, ID 83864
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, ESQ.                          Clm No 173521    Filed In Cases: 607
600 Brickwell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                    UNS                                $1.00
Miami, FL 33131
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Elizabeth Browning                                  Clm No 173522    Filed In Cases: 607
520 Weeping Willow Lane                             Class                Claim Detail Amount         Final Allowed Amount
St. Augustine, FL 32080-7143
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         1175 of 3075

Betty Brownwell                                   Clm No 173523    Filed In Cases: 607
1437 peak Road                                    Class                Claim Detail Amount         Final Allowed Amount
Westville,FL 32464
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Philip Brubacher                                  Clm No 173524    Filed In Cases: 607
1925 wren Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Munster,IN 46321
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Yvonnne Brubaker                                  Clm No 173525    Filed In Cases: 607
811 Meadowood Blvd                                Class                Claim Detail Amount         Final Allowed Amount
Madioson,OH 44057-2913
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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c/o David Jagolinzer, ESQ.                        Clm No 173526    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




alfred Bruce                                      Clm No 173527    Filed In Cases: 607
15 Livingston Road                                Class                Claim Detail Amount         Final Allowed Amount
Gilbertsville,KY 42044
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Fris Elizabeth                                    Clm No 173528    Filed In Cases: 607
409 Douglas Street                                Class                Claim Detail Amount         Final Allowed Amount
Joliet,IL 60435
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1177 of 3075

Patricia brundle                                  Clm No 173529    Filed In Cases: 607
c/o Pattie Brundle                                Class                Claim Detail Amount         Final Allowed Amount
1484 Walnut Drive
                                                  UNS                                $1.00
Salt lake city,UT 84116
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Jane Brunelle                                     Clm No 173530    Filed In Cases: 607
3309 US-19-S lot#207                              Class                Claim Detail Amount         Final Allowed Amount
Perry,FL 32348
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173531    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1178 of 3075

Galen Bruscia                                     Clm No 173532    Filed In Cases: 607
8965 SW 157th street                              Class                Claim Detail Amount         Final Allowed Amount
Palmetto Bay,FL 33157
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Barbara Brusda                                    Clm No 173533    Filed In Cases: 607
3642 South 90th street                            Class                Claim Detail Amount         Final Allowed Amount
Milwaukee,WI 53228
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Charles brush                                     Clm No 173534    Filed In Cases: 607
p.o. box# 1004                                    Class                Claim Detail Amount         Final Allowed Amount
Flora vista,NM 87415
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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Floyd Bryan                                       Clm No 173535    Filed In Cases: 607
2818 Ahbury Road                                  Class                Claim Detail Amount         Final Allowed Amount
Manchester,TN 37355-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Betty Bryant                                      Clm No 173536    Filed In Cases: 607
3517 Sharon Blvd.                                 Class                Claim Detail Amount         Final Allowed Amount
Quinton,AL 35130
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Delmar Bryant                                     Clm No 173537    Filed In Cases: 607
5839 Hicks Road                                   Class                Claim Detail Amount         Final Allowed Amount
Ashland,KY 42462
                                                  UNS                                $1.00

                                                                                     $1.00


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   Bar Date
   Claim Face Value             $1.00




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  Claims Details                                                                                         1180 of 3075

Michele Brynelsen                                 Clm No 173538    Filed In Cases: 607
2720 Colonial Drive                               Class                Claim Detail Amount         Final Allowed Amount
Elgin,IL 60124
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173539    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




karren Bryson                                     Clm No 173540    Filed In Cases: 607
13249 Tall Pine Circle                            Class                Claim Detail Amount         Final Allowed Amount
Fort Myers,FL 33907
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         1181 of 3075

Nicholas Bua                                      Clm No 173541    Filed In Cases: 607
138 center brook Road                             Class                Claim Detail Amount         Final Allowed Amount
Hamden,CT 06518
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Juanita Buchanan                                  Clm No 173542    Filed In Cases: 607

                                                  Class                Claim Detail Amount         Final Allowed Amount
Waverly,KY 42462
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173543    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1182 of 3075

Mary Bucher                                       Clm No 173544    Filed In Cases: 607
6444 Gracely Drive                                Class                Claim Detail Amount         Final Allowed Amount
Cincinnati,OH45233
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Harley Buchholz                                   Clm No 173545    Filed In Cases: 607
820 Spence                                        Class                Claim Detail Amount         Final Allowed Amount
Green Bay,WI54304
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173546    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1183 of 3075

kathleen Buck                                     Clm No 173547    Filed In Cases: 607
8178 Sturbridge Court                             Class                Claim Detail Amount         Final Allowed Amount
Weekiwachee,FL 34613
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Jonah Buck                                        Clm No 173548    Filed In Cases: 607
p.o box#1396                                      Class                Claim Detail Amount         Final Allowed Amount
Church Rock ,NM 87311
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173549    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1184 of 3075

Anna Buckeles                                     Clm No 173550    Filed In Cases: 607
2120 Jungle Road                                  Class                Claim Detail Amount         Final Allowed Amount
New Smyrna Beach,FL 32168
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Thomas Buckland                                   Clm No 173551    Filed In Cases: 607
766 Wolcott hill Road                             Class                Claim Detail Amount         Final Allowed Amount
Wethersfield,CT 06109
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Pamela Buckley                                    Clm No 173552    Filed In Cases: 607
104 Leeds Junction Road                           Class                Claim Detail Amount         Final Allowed Amount
Leeds,ME 04263
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1185 of 3075

Josalyn langh                                     Clm No 173553    Filed In Cases: 607
1084 E 36th Ave                                   Class                Claim Detail Amount         Final Allowed Amount
Gary,IN 46409
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Buckner Joan                                      Clm No 173554    Filed In Cases: 607
14589 Rialto Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Brooksville,FL 34613
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Charles Buechele                                  Clm No 173555    Filed In Cases: 607
1414 indiana Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Lousiville, Ky 40213
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1186 of 3075

kenneth Buehler                                   Clm No 173556    Filed In Cases: 607
203 Timberlake Drive                              Class                Claim Detail Amount         Final Allowed Amount
Eneterprise,AL 36330
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Reabert Buggs                                     Clm No 173557    Filed In Cases: 607
4736 Elm                                          Class                Claim Detail Amount         Final Allowed Amount
Hammond,IN 46327-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173558    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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c/o David Jagolinzer, ESQ.                        Clm No 173559    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Robert Bullion                                    Clm No 173560    Filed In Cases: 607
894 Tanglewood Place                              Class                Claim Detail Amount         Final Allowed Amount
The Villages, FL 32162
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Virgil Bullion                                    Clm No 173561    Filed In Cases: 607
2922 west Kirby Flats Road                        Class                Claim Detail Amount         Final Allowed Amount
Ashland,KY 41102
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1188 of 3075

patsy Bullock                                     Clm No 173562    Filed In Cases: 607
2219 waterview Trail                              Class                Claim Detail Amount         Final Allowed Amount
Quinton,AL 35130
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Loyal Bullock                                     Clm No 173563    Filed In Cases: 607
650 jackson street                                Class                Claim Detail Amount         Final Allowed Amount
Gary,IN 46062
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




james Bullock                                     Clm No 173564    Filed In Cases: 607
514 Central street                                Class                Claim Detail Amount         Final Allowed Amount
Belxoni ,MS 39038-0000
                                                  UNS                                $1.00

                                                                                     $1.00


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kathleen Bulthus                                  Clm No 173565    Filed In Cases: 607
13200 Forest View ln                              Class                Claim Detail Amount         Final Allowed Amount
Crestwood,IL 60455
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Beverly Bumgarner                                 Clm No 173566    Filed In Cases: 607
box 167303 Pine                                   Class                Claim Detail Amount         Final Allowed Amount
Concord,IL 62631
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Lorraine Bunk                                     Clm No 173567    Filed In Cases: 607
85325 Crews Road                                  Class                Claim Detail Amount         Final Allowed Amount
Fernandina Beach,FL 32034
                                                  UNS                                $1.00

                                                                                     $1.00


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c/o David Jagolinzer, ESQ.                        Clm No 173568    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173569    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173570    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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Michael buono                                     Clm No 173571    Filed In Cases: 607
8135 Grace Place                                  Class                Claim Detail Amount         Final Allowed Amount
Highland,IN 46322-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173572    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




John Burch                                        Clm No 173573    Filed In Cases: 607
1229 marshall street                              Class                Claim Detail Amount         Final Allowed Amount
Gary,IN 46404
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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William Burcham                                    Clm No 173574    Filed In Cases: 607
20 Country Road 373                                Class                Claim Detail Amount         Final Allowed Amount
Glen,MS 38846
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Ray Burdette                                       Clm No 173575    Filed In Cases: 607
3555 South Bullocktown Road                        Class                Claim Detail Amount         Final Allowed Amount
Boonville,IN 47601
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, ESQ.                         Clm No 173576    Filed In Cases: 607
600 Brickwell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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c/o David Jagolinzer, ESQ.                        Clm No 173577    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Marlene Burke                                     Clm No 173578    Filed In Cases: 607
166 Olde chester Turnpike                         Class                Claim Detail Amount         Final Allowed Amount
Chester,NH 03036
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Joseph Burke                                      Clm No 173579    Filed In Cases: 607
1300 Burnham Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Calumet City,IL 60409
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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c/o David Jagolinzer, ESQ.                        Clm No 173580    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Patricia burkett                                  Clm No 173581    Filed In Cases: 607
260 meadow Beauty Terrace                         Class                Claim Detail Amount         Final Allowed Amount
Sanford,FL 32771-6482
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173582    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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Douglas Burkhart                                  Clm No 173583    Filed In Cases: 607
14023 East mallon                                 Class                Claim Detail Amount         Final Allowed Amount
Spokane,WA 99216
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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willie Burks                                      Clm No 173584    Filed In Cases: 607
2226 Whiterock lane                               Class                Claim Detail Amount         Final Allowed Amount
Little elm,TX 75068
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Shirley Burnside                                  Clm No 173585    Filed In Cases: 607
210 S. Tyler Street                               Class                Claim Detail Amount         Final Allowed Amount
Beverly Hills .FL 34465
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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Frances Buros                                     Clm No 173586    Filed In Cases: 607
411 N.Sunset Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Rockford,IL 61101
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173587    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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Burrell, Paul                                     Clm No 173588    Filed In Cases: 607
8428 Jackson Court                                Class                Claim Detail Amount         Final Allowed Amount
Munster,IN 46321
                                                  UNS                                $1.00

                                                                                     $1.00


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Keith Burrell                                     Clm No 173589    Filed In Cases: 607
8670 W 3150 S                                     Class                Claim Detail Amount         Final Allowed Amount
Magna,UT 84044
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Elizabeth Burrill                                 Clm No 173590    Filed In Cases: 607
139 St .James Circle                              Class                Claim Detail Amount         Final Allowed Amount
E. Springfield ,MA 01104
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Rosevelt Burrs                                    Clm No 173591    Filed In Cases: 607
1523 palm Beach Lakes Blvd                        Class                Claim Detail Amount         Final Allowed Amount
West Palms Beach,FL 33401
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1198 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173592    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Scott,Annie                                       Clm No 173593    Filed In Cases: 607
3086 melrose Avenue South ST                      Class                Claim Detail Amount         Final Allowed Amount
Petersburge,FL 33712
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Clifford Burton                                   Clm No 173594    Filed In Cases: 607
2805 s High Street                                Class                Claim Detail Amount         Final Allowed Amount
Munice,IN 47302-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1199 of 3075

Oscar Burton                                      Clm No 173595    Filed In Cases: 607
621 east 4th street                               Class                Claim Detail Amount         Final Allowed Amount
Erie,PA 16507
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173596    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Judy Bush                                         Clm No 173597    Filed In Cases: 607
9382 Tradewinds Ave                               Class                Claim Detail Amount         Final Allowed Amount
Seminole,FL 34606
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1200 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173598    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Lynn Butler                                       Clm No 173599    Filed In Cases: 607
4480 elliot Avenue                                Class                Claim Detail Amount         Final Allowed Amount
titusville,FL 32780
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Carolyn Butler                                    Clm No 173600    Filed In Cases: 607
306 Morgan Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
North augusta,SC 29840
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1201 of 3075

allen Butler                                      Clm No 173601    Filed In Cases: 607
576 Gerry Street                                  Class                Claim Detail Amount         Final Allowed Amount
Gary,IN 46406
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Lucille Butler                                    Clm No 173602    Filed In Cases: 607
4253 Hoffman Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Spring Hill,FL 34606
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173603    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1202 of 3075

Robert Butterfield                                Clm No 173604    Filed In Cases: 607
303 N. Lindsay Road , Lot N-15                    Class                Claim Detail Amount         Final Allowed Amount
Mesa,AZ 85213
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173605    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Esther Butts                                      Clm No 173606    Filed In Cases: 607
1223 Midway Boulevard                             Class                Claim Detail Amount         Final Allowed Amount
Daytona Beach ,FL 32114
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1203 of 3075

Charles Buxton                                    Clm No 173607    Filed In Cases: 607
300 Lowell Street Apt#2                           Class                Claim Detail Amount         Final Allowed Amount
Manchester,NH 03104
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Fredrick Buzzell                                  Clm No 173608    Filed In Cases: 607
357 Honeyspot Road                                Class                Claim Detail Amount         Final Allowed Amount
Stratford,CT 06615
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Thomas Buzzell                                    Clm No 173609    Filed In Cases: 607
47 New rochester Rd APT#13                        Class                Claim Detail Amount         Final Allowed Amount
Dover,NH 03820
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1204 of 3075

Billy Byrd                                        Clm No 173610    Filed In Cases: 607
160 Byrd Road                                     Class                Claim Detail Amount         Final Allowed Amount
Ponce De Leon ,FL 32455
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173611    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173612    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1205 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173613    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Cadle Lorena                                      Clm No 173614    Filed In Cases: 607
4485 west Chipper lane                            Class                Claim Detail Amount         Final Allowed Amount
lecando Hills,FL 33461
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Ray Calderwood                                    Clm No 173615    Filed In Cases: 607
720 E Center                                      Class                Claim Detail Amount         Final Allowed Amount
Orem,UT 84097
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         1206 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173616    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173617    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Duane Andersen                                    Clm No 173618    Filed In Cases: 607
1430 Entrada Bonita Southwest                     Class                Claim Detail Amount         Final Allowed Amount
Albuquerque, NM 87105-5933
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1207 of 3075

Dennis Cahill                                     Clm No 173619    Filed In Cases: 607
1531 East Cedar Street                            Class                Claim Detail Amount         Final Allowed Amount
Tempa,AZ 85281
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Joan Caiazzo                                      Clm No 173620    Filed In Cases: 607
12st Anthony Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Scotia,NY 12302
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Emily Cail                                        Clm No 173621    Filed In Cases: 607
874 Mapleton Terrace                              Class                Claim Detail Amount         Final Allowed Amount
Jackssonville,FL 32207
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1208 of 3075

Jay Cain                                          Clm No 173622    Filed In Cases: 607
P.O. Box 1003                                     Class                Claim Detail Amount         Final Allowed Amount
Fayette, AL 35555
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Cain ,Mary                                        Clm No 173623    Filed In Cases: 607
414 Aselford Court BOX#176                        Class                Claim Detail Amount         Final Allowed Amount
Byron,IL 61010
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Robert Caldon                                     Clm No 173624    Filed In Cases: 607
P.O Box 5913                                      Class                Claim Detail Amount         Final Allowed Amount
Bradenton,FL 34281
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1209 of 3075

Victor Caldrin                                    Clm No 173625    Filed In Cases: 607
8956 103rd Court                                  Class                Claim Detail Amount         Final Allowed Amount
Vero Beach,FL 32967-3085
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173626    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173627    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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c/o David Jagolinzer, ESQ.                        Clm No 173628    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




carol calistro                                    Clm No 173629    Filed In Cases: 607
33 Hickory crossing                               Class                Claim Detail Amount         Final Allowed Amount
Dracut,MA 01826
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173630    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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  Claims Details                                                                                           1211 of 3075

Frank Callahan                                      Clm No 173631    Filed In Cases: 607
1505 harrisville Road                               Class                Claim Detail Amount         Final Allowed Amount
Jackson Center,PA 16133
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Richard Callen                                      Clm No 173632    Filed In Cases: 607
556 Tanglewood Trail                                Class                Claim Detail Amount         Final Allowed Amount
Estill Springs TN 37330-0000
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Paul Calliham                                       Clm No 173633    Filed In Cases: 607
1218 East Norfolk Street                            Class                Claim Detail Amount         Final Allowed Amount
Tampa ,FL 33604
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                         1212 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173634    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173635    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Anthony Calvino                                   Clm No 173636    Filed In Cases: 607
26 Marys Lane                                     Class                Claim Detail Amount         Final Allowed Amount
Salem,NH 03079
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1213 of 3075

Gillow,Faye                                       Clm No 173637    Filed In Cases: 607
1468 Starlight Cove                               Class                Claim Detail Amount         Final Allowed Amount
Tarpon Springs,FL 34689
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Diane Cameron                                     Clm No 173638    Filed In Cases: 607
7410 Country Road 203                             Class                Claim Detail Amount         Final Allowed Amount
Danville,AL 35619
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Cathrine Camillucci                               Clm No 173639    Filed In Cases: 607
28 Wayne Street                                   Class                Claim Detail Amount         Final Allowed Amount
Norwhich ,CT 06360
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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  Claims Details                                                                                         1214 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173640    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Janet Cammack                                     Clm No 173641    Filed In Cases: 607
46 Alan-A-Dale Road                               Class                Claim Detail Amount         Final Allowed Amount
Brewer,ME 04412
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Eileen Cammarata                                  Clm No 173642    Filed In Cases: 607
70 Haith Street                                   Class                Claim Detail Amount         Final Allowed Amount
Revere,MA 02151
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1215 of 3075

Wayne Camp                                        Clm No 173643    Filed In Cases: 607
16 Olmsted Street APT#1R                          Class                Claim Detail Amount         Final Allowed Amount
East hartford,Ct 06108
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Gladis Campbell                                   Clm No 173644    Filed In Cases: 607
5250 Skyline Drive                                Class                Claim Detail Amount         Final Allowed Amount
Warrior,AL 35180
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Beulah Campbell                                   Clm No 173645    Filed In Cases: 607
882 Chevis Road                                   Class                Claim Detail Amount         Final Allowed Amount
Savannah,GA 31419
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                          1216 of 3075

Melodee Campo                                      Clm No 173646    Filed In Cases: 607
5530 White Eye lake Road                           Class                Claim Detail Amount         Final Allowed Amount
carndo,WI 54520-8945
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




William Cane                                       Clm No 173647    Filed In Cases: 607
1700 SE 2nd Street SPT#W                           Class                Claim Detail Amount         Final Allowed Amount
Pompano Beach,FL 33060
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Barney Cannady                                     Clm No 173648    Filed In Cases: 607
P.O Box# 1773                                      Class                Claim Detail Amount         Final Allowed Amount
Tybee island ,GA 31328-1773
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         1217 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173649    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




cannon ,Timothy                                   Clm No 173650    Filed In Cases: 607
P.O. Box #1153                                    Class                Claim Detail Amount         Final Allowed Amount
Cross City,FL 32628
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Leighton Canoy                                    Clm No 173651    Filed In Cases: 607
112 Riverview 7 West                              Class                Claim Detail Amount         Final Allowed Amount
Great falls,MT 59404-0000
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1218 of 3075

Raymond Baker                                     Clm No 173652    Filed In Cases: 607
220 Bedford Street, E-3                           Class                Claim Detail Amount         Final Allowed Amount
Bridgewater, MA 02324
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Thomas Cantrell                                   Clm No 173653    Filed In Cases: 607
1158 Longwood oaks Boulevard                      Class                Claim Detail Amount         Final Allowed Amount
lakeland,FL 33811-2342
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




marilyn Capen                                     Clm No 173654    Filed In Cases: 607
1682 Backcreek Lane                               Class                Claim Detail Amount         Final Allowed Amount
Gastonia,NC 28054
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              6-Oct-2015
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  Claims Details                                                                                          1219 of 3075

Caplan,Elanor                                      Clm No 173655    Filed In Cases: 607
1400 Saint Charles Place APT#712                   Class                Claim Detail Amount         Final Allowed Amount
Pembroke Pines,FL 33026
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Beverly Capoldo                                    Clm No 173656    Filed In Cases: 607
5 Sunset lane                                      Class                Claim Detail Amount         Final Allowed Amount
Andover,CT 06232
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value                $1.00




Philip Cappellieri                                 Clm No 173657    Filed In Cases: 607
272 Culloden Road                                  Class                Claim Detail Amount         Final Allowed Amount
Stamfor,CT 06906
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         1220 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173658    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173659    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Johnson ,Cheryl                                   Clm No 173660    Filed In Cases: 607
906 Woodcliffe Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Tampa,FL 33613
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         1221 of 3075

John Card                                         Clm No 173661    Filed In Cases: 607
North 7942 CTH-D                                  Class                Claim Detail Amount         Final Allowed Amount
Holmen,WI 54636
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173662    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Shirley Cardoni                                   Clm No 173663    Filed In Cases: 607
419 N Main Street apt #102                        Class                Claim Detail Amount         Final Allowed Amount
Wilkes-barre,PA 18702
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1222 of 3075

Essie Cardwell                                    Clm No 173664    Filed In Cases: 607
84 Little Texas Road                              Class                Claim Detail Amount         Final Allowed Amount
Tuskegee,AL 36083
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Margaret D. Carey                                 Clm No 173665    Filed In Cases: 607
430 sigsbee Road                                  Class                Claim Detail Amount         Final Allowed Amount
Orange park,FL 32073
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Winifred carey                                    Clm No 173666    Filed In Cases: 607
10000 Columbian Avenue                            Class                Claim Detail Amount         Final Allowed Amount
APT#1342
                                                  UNS                                $1.00
Munster,IN 46321
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1223 of 3075

James Carey                                       Clm No 173667    Filed In Cases: 607
460 North college Street                          Class                Claim Detail Amount         Final Allowed Amount
Harrodsburg,KY 40330-1142
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Irene Carleton                                    Clm No 173668    Filed In Cases: 607
16 Lemay Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Lewiston,ME 04240
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




John Carlow                                       Clm No 173669    Filed In Cases: 607
163 Pecan Circle                                  Class                Claim Detail Amount         Final Allowed Amount
Headland,AL 36345
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1224 of 3075

Carlson-Merkel Barbara                            Clm No 173670    Filed In Cases: 607
145 Club House Lane                               Class                Claim Detail Amount         Final Allowed Amount
Madison,AL 35757
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Richard Carlson                                   Clm No 173671    Filed In Cases: 607
986 Long Cove Road                                Class                Claim Detail Amount         Final Allowed Amount
Gales Ferry,CT 06335
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Richter,Patricia                                  Clm No 173672    Filed In Cases: 607
1311 South hamilton Street                        Class                Claim Detail Amount         Final Allowed Amount
Lockport,IL 60441
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1225 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173673    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Debra carmichael                                  Clm No 173674    Filed In Cases: 607
4425 Blonigen Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Orlando,FL 32812
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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John Carnaroli                                    Clm No 173675    Filed In Cases: 607
9 Highland Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Middlebary,CT 06762
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1226 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173676    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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Mary Carney                                       Clm No 173677    Filed In Cases: 607
c/o Patricia Kelliher                             Class                Claim Detail Amount         Final Allowed Amount
79 Tennyson St.
                                                  UNS                                $1.00
W. Roxbury, MA 02132
                                                                                     $1.00


   Date Filed                6-Oct-2015
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Deborah Caron                                     Clm No 173678    Filed In Cases: 607
2415 Shepard Ave APT#48                           Class                Claim Detail Amount         Final Allowed Amount
Hamden,CT 06518
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         1227 of 3075

Henry Carpenter                                   Clm No 173679    Filed In Cases: 607
P.O Box #1010                                     Class                Claim Detail Amount         Final Allowed Amount
Andalusia,AL 36420
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173680    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173681    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1228 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173682    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173683    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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Evelyn Carrano                                    Clm No 173684    Filed In Cases: 607
525 Whitney Ave                                   Class                Claim Detail Amount         Final Allowed Amount
New haven,CT 06511
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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Sharon Carrell                                    Clm No 173685    Filed In Cases: 607
919 N. Lawrence street                            Class                Claim Detail Amount         Final Allowed Amount
Gibson City,IL 60936-1164
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173686    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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Agnes Carrol                                      Clm No 173687    Filed In Cases: 607
4515 Middle Street                                Class                Claim Detail Amount         Final Allowed Amount
Mulga,AL 35118
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          1230 of 3075

Patrick Carroll                                    Clm No 173688    Filed In Cases: 607
40 Bots ford hill Road                             Class                Claim Detail Amount         Final Allowed Amount
New Town ,CT 06470
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Robin Carroll                                      Clm No 173689    Filed In Cases: 607
17 Bayton Road                                     Class                Claim Detail Amount         Final Allowed Amount
N,Brookfield ,MA 01535-1203
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Jean Carroll                                       Clm No 173690    Filed In Cases: 607
265 NE,Bickle Drive                                Class                Claim Detail Amount         Final Allowed Amount
Lake City,FL 32055
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         1231 of 3075

Leo Carroll                                       Clm No 173691    Filed In Cases: 607
2921 185th Street APT# 1-A                        Class                Claim Detail Amount         Final Allowed Amount
Lansing,IL 60438
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173692    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173693    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1232 of 3075

Mary Carsto                                       Clm No 173694    Filed In Cases: 607
136 S Shamakin Street                             Class                Claim Detail Amount         Final Allowed Amount
Shamokin,PA 18872
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Diana carswell                                    Clm No 173695    Filed In Cases: 607
203 Wakefield Rd                                  Class                Claim Detail Amount         Final Allowed Amount
Union,NH 03887
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Isabel cartaya                                    Clm No 173696    Filed In Cases: 607
13370 S.W 49 Street                               Class                Claim Detail Amount         Final Allowed Amount
Miami,FL 33175
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                         1233 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173697    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Shirley carter                                    Clm No 173698    Filed In Cases: 607
P.O Box #741                                      Class                Claim Detail Amount         Final Allowed Amount
N.Hampton ,NH 03862
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Luther Carter                                     Clm No 173699    Filed In Cases: 607
P.O Box#512                                       Class                Claim Detail Amount         Final Allowed Amount
Brewton,AL 36427
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1234 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173700    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Harriet Carter                                    Clm No 173701    Filed In Cases: 607
c/o Michel carter                                 Class                Claim Detail Amount         Final Allowed Amount
220 Lumber Street
                                                  UNS                          $10,000.00
Hopkinton,MA 01748
                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer, ESQ.                        Clm No 173702    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1235 of 3075

William Carter                                    Clm No 173703    Filed In Cases: 607
6717 West Glendale Avenue                         Class                Claim Detail Amount         Final Allowed Amount
Glendale,AZ 85303
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Collin Carter                                     Clm No 173704    Filed In Cases: 607
Box# 807                                          Class                Claim Detail Amount         Final Allowed Amount
Eaver,UT 84713
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Rosemarie Caruso                                  Clm No 173705    Filed In Cases: 607
27 Brich Ridge Trail                              Class                Claim Detail Amount         Final Allowed Amount
Nashua,NH 03062
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1236 of 3075

Joseph Carusone                                   Clm No 173706    Filed In Cases: 607
5 Pentway lane                                    Class                Claim Detail Amount         Final Allowed Amount
North haven,CT 06473
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Jackie Carver                                     Clm No 173707    Filed In Cases: 607
8227 Bagley Road                                  Class                Claim Detail Amount         Final Allowed Amount
Dora,AL 335062
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




carver,Vivian                                     Clm No 173708    Filed In Cases: 607
214 Cheswick Drive                                Class                Claim Detail Amount         Final Allowed Amount
Madison,AL 35757
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1237 of 3075

Gina Casasanta                                    Clm No 173709    Filed In Cases: 607
137 Stonehedge Drive                              Class                Claim Detail Amount         Final Allowed Amount
Newington,CT 06111
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Ned Casebier                                      Clm No 173710    Filed In Cases: 607
3613 Carla drive                                  Class                Claim Detail Amount         Final Allowed Amount
Cheyenne,WY 82009-5435
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Casey-chmiel,Carolyn                              Clm No 173711    Filed In Cases: 607
100 Cable Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Salisbury,MA 01952
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                           1238 of 3075

Walter Casey                                        Clm No 173712    Filed In Cases: 607
9939 South Throop                                   Class                Claim Detail Amount         Final Allowed Amount
Chicago,IL 60643
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Denis Casey                                         Clm No 173713    Filed In Cases: 607
304 Plaza Dr #11                                    Class                Claim Detail Amount         Final Allowed Amount
dover,NH 03820
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Harold Casey                                        Clm No 173714    Filed In Cases: 607
2938 State Correctional Road                        Class                Claim Detail Amount         Final Allowed Amount
marrianna,FL 32466
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                         1239 of 3075

patricia Cashin                                   Clm No 173715    Filed In Cases: 607
144 winter St                                     Class                Claim Detail Amount         Final Allowed Amount
manchester,NH 03102
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173716    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Sheehan marie                                     Clm No 173717    Filed In Cases: 607
241645 Cottage gate                               Class                Claim Detail Amount         Final Allowed Amount
Olmsted Falls,OH 44138
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1240 of 3075

Cassens,Thomas                                    Clm No 173718    Filed In Cases: 607
440 south avenue                                  Class                Claim Detail Amount         Final Allowed Amount
New Canaan,CT 06840
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer, ESQ.                        Clm No 173719    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Gail Castagnetti                                  Clm No 173720    Filed In Cases: 607
95 Temple Street                                  Class                Claim Detail Amount         Final Allowed Amount
West Boylston,MA 01583
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         1241 of 3075

Pam Castaldo                                      Clm No 173721    Filed In Cases: 607
30 E 34th street                                  Class                Claim Detail Amount         Final Allowed Amount
Bayonne,NJ 07002
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Robert Castater                                   Clm No 173722    Filed In Cases: 607
10821 NW 18th Street                              Class                Claim Detail Amount         Final Allowed Amount
Pembroke Pines,FL 33026
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Roy Caster                                        Clm No 173723    Filed In Cases: 607
710 West 21st street                              Class                Claim Detail Amount         Final Allowed Amount
casper,WY 82601
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1242 of 3075

Lumaire castiglione                               Clm No 173724    Filed In Cases: 607
1821 SE Mantua St                                 Class                Claim Detail Amount         Final Allowed Amount
Port St ,Lucie ,FL 34952
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Josephine Cavalieri                               Clm No 173725    Filed In Cases: 607
434 S. Main Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Sceanton,Pa 18504
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Frank Cavalieri                                   Clm No 173726    Filed In Cases: 607
179 Woodbury Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Portsmouth,NH 03801
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                           1243 of 3075

Dennis Cavallo                                      Clm No 173727    Filed In Cases: 607
36 Hamilton Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Berlin,CT 06037
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Cathrine Cavallo                                    Clm No 173728    Filed In Cases: 607
1205 N.Main Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Scranton,PA 18508
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Shirley Cavellier                                   Clm No 173729    Filed In Cases: 607
264 East second street APT A                        Class                Claim Detail Amount         Final Allowed Amount
Oswego,NY 13126
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                         1244 of 3075

Zella Cavender                                    Clm No 173730    Filed In Cases: 607
401 Maxanna Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Anniston, AL 36206
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Elsie Cebulla                                     Clm No 173731    Filed In Cases: 607
143 Jones Road                                    Class                Claim Detail Amount         Final Allowed Amount
Shapleigh, ME 04076
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Janet Celino                                      Clm No 173732    Filed In Cases: 607
18 Cottage Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Pembroke, MA 02359
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1245 of 3075

Gary Cerenzia                                     Clm No 173733    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Mary Cesan                                        Clm No 173734    Filed In Cases: 607
240 Chapin Road                                   Class                Claim Detail Amount         Final Allowed Amount
Hempden, MA 01036
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




George Chaber                                     Clm No 173735    Filed In Cases: 607
112 Obtuse Hill                                   Class                Claim Detail Amount         Final Allowed Amount
Brookfield,CT 06804
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1246 of 3075

Susan Christiansen                                Clm No 173736    Filed In Cases: 607
Box 697 Rowell Hill Road                          Class                Claim Detail Amount         Final Allowed Amount
Berlin, VT 05602
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173737    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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Herman Chambers                                   Clm No 173738    Filed In Cases: 607
75 Chambers Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Jeffersonville, KY 40337
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1247 of 3075

Typhenes Elly Chance                              Clm No 173739    Filed In Cases: 607
7405 Impala Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32244
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Ila Chandler                                      Clm No 173740    Filed In Cases: 607
40 24 SR-71-S                                     Class                Claim Detail Amount         Final Allowed Amount
Kinard, FL 32449
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Jimmy Chandler                                    Clm No 173741    Filed In Cases: 607
12205 Choctaw Island Trail                        Class                Claim Detail Amount         Final Allowed Amount
Culver, IN 46511
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1248 of 3075

Ila Chandler                                      Clm No 173742    Filed In Cases: 607
4024 State Road 71L                               Class                Claim Detail Amount         Final Allowed Amount
Kinard, FL 32449
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Robert Chandler                                   Clm No 173743    Filed In Cases: 607
611 Elm                                           Class                Claim Detail Amount         Final Allowed Amount
Anaconda, MT 59711
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Paul Chandler                                     Clm No 173744    Filed In Cases: 607
3630 Ash Street                                   Class                Claim Detail Amount         Final Allowed Amount
Portage, IN 46368
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1249 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173745    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Roy Channell                                      Clm No 173746    Filed In Cases: 607
530 Ivy Drive                                     Class                Claim Detail Amount         Final Allowed Amount
Jessup, GA 31545
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173747    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1250 of 3075

Agustin Chapa                                     Clm No 173748    Filed In Cases: 607
794 Hovey Street                                  Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46406
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Anthony Chaplinsky                                Clm No 173749    Filed In Cases: 607
165 Hitchcock Road                                Class                Claim Detail Amount         Final Allowed Amount
Southington, Ct 06489
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




William Chapman                                   Clm No 173750    Filed In Cases: 607
1299 Neipsic Road                                 Class                Claim Detail Amount         Final Allowed Amount
Glastobury,CT 06033
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                            1251 of 3075

Walter Chapman                                       Clm No 173751    Filed In Cases: 607
11 Julian Drive                                      Class                Claim Detail Amount         Final Allowed Amount
Preston, CT 06365
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Bobby Chapman                                        Clm No 173752    Filed In Cases: 607
601 First Street P.O. Box 249                        Class                Claim Detail Amount         Final Allowed Amount
Jackson, SC 29831
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




c/o David Jagolinzer, ESQ.                           Clm No 173753    Filed In Cases: 607
600 Brickwell Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                     UNS                                $1.00
Miami, FL 33131
                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




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  Claims Details                                                                                         1252 of 3075

Audrey Charlie                                    Clm No 173754    Filed In Cases: 607
3420 NW 169th Terrace                             Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33056
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Ronald Charlson                                   Clm No 173755    Filed In Cases: 607
612 Grant Blvd.                                   Class                Claim Detail Amount         Final Allowed Amount
Los Lunas, NM 87031
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Johni Kochel                                      Clm No 173756    Filed In Cases: 607
10007 Kooley Drive, KP N                          Class                Claim Detail Amount         Final Allowed Amount
Gig Harbor, WA 98329
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         1253 of 3075

Lorraine Charron                                  Clm No 173757    Filed In Cases: 607
59 Pinedale Street                                Class                Claim Detail Amount         Final Allowed Amount
Manchester, NH 03102
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Deborah Chase                                     Clm No 173758    Filed In Cases: 607
P.O. Box 292                                      Class                Claim Detail Amount         Final Allowed Amount
104 Summer Street
                                                  UNS                                $1.00
Lanesboro, MA 01237
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173759    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1254 of 3075

Robert Chatterton                                 Clm No 173760    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer, ESQ.                        Clm No 173761    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173762    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1255 of 3075

Ruben Chavez                                      Clm No 173763    Filed In Cases: 607
1156 Summer Street                                Class                Claim Detail Amount         Final Allowed Amount
Hammond,IN 46320-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Ned Chavez                                        Clm No 173764    Filed In Cases: 607
P.O. Box 252                                      Class                Claim Detail Amount         Final Allowed Amount
Nageezi, NM 87037
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Trinidad Chavez                                   Clm No 173765    Filed In Cases: 607
4504 Glendale NW                                  Class                Claim Detail Amount         Final Allowed Amount
Albuquerque, NM 87105
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1256 of 3075

Mary Chenevert                                    Clm No 173766    Filed In Cases: 607
142 Dover Point Road                              Class                Claim Detail Amount         Final Allowed Amount
Dover, NH 03820
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Kathy Chenier                                     Clm No 173767    Filed In Cases: 607
5308 County Road ZZ                               Class                Claim Detail Amount         Final Allowed Amount
Dodgeville, WI 53533
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




James Cherry                                      Clm No 173768    Filed In Cases: 607
131 Private Road #1504                            Class                Claim Detail Amount         Final Allowed Amount
Ozark, AL 36360
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                         1257 of 3075

Ron Chesley                                       Clm No 173769    Filed In Cases: 607
545 South 5th Street                              Class                Claim Detail Amount         Final Allowed Amount
Globe, AZ 85501
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Joseph Chiavaroli                                 Clm No 173770    Filed In Cases: 607
184 Central Street                                Class                Claim Detail Amount         Final Allowed Amount
Avon, MA 02322-1504
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Don Chick                                         Clm No 173771    Filed In Cases: 607
P.O. Box 984                                      Class                Claim Detail Amount         Final Allowed Amount
Cheyenne, WY 82003
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1258 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173772    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173773    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer, ESQ.                        Clm No 173774    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1259 of 3075

Wanda Childs                                      Clm No 173775    Filed In Cases: 607
P.O Box 1084                                      Class                Claim Detail Amount         Final Allowed Amount
Martinsburg, WV 25402
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173776    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Marion Chilson                                    Clm No 173777    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         1260 of 3075

Sondra Chirillo                                   Clm No 173778    Filed In Cases: 607
P.O Box 142                                       Class                Claim Detail Amount         Final Allowed Amount
Hull, MA 02045
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Joyce Choquet-Ormond                              Clm No 173779    Filed In Cases: 607
471 Merrit Island Cswy                            Class                Claim Detail Amount         Final Allowed Amount
Unit 7
                                                  UNS                                $1.00
Merrit Island, FL 32952
                                                                                     $1.00


   Date Filed             6-Oct-2015
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Robert Chormann                                   Clm No 173780    Filed In Cases: 607
2827 Christie Lane                                Class                Claim Detail Amount         Final Allowed Amount
Lakeland, FL 33813-3106
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1261 of 3075

Dennis Chris                                      Clm No 173781    Filed In Cases: 607
906 East Washington Street                        Class                Claim Detail Amount         Final Allowed Amount
Knox, IN 46534
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Charles Christensen                               Clm No 173782    Filed In Cases: 607
904 South Wolf Road                               Class                Claim Detail Amount         Final Allowed Amount
Des Plaines, IL 60016
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Arleigh Christensen                               Clm No 173783    Filed In Cases: 607
5518 46th Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Kenosha, WI 53144
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         1262 of 3075

Betty Christianson                                Clm No 173784    Filed In Cases: 607
c/o THE FERRARO LAW FIRM                          Class                Claim Detail Amount         Final Allowed Amount
Attn: Stephen U. McCloskey
                                                  UNS                                $1.00
600 Brickell Ave
Miami, FL 33131                                                                      $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Phil Christianson                                 Clm No 173785    Filed In Cases: 607
25 South 500 East                                 Class                Claim Detail Amount         Final Allowed Amount
Spanish Fork, UT 84660
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




James Christison                                  Clm No 173786    Filed In Cases: 607
188 Detroiter Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Murray, UT 84107
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1263 of 3075

John Christopher                                  Clm No 173787    Filed In Cases: 607
P.O. Box 1702                                     Class                Claim Detail Amount         Final Allowed Amount
Lafayette, IN 47902
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




June Church                                       Clm No 173788    Filed In Cases: 607
8875 SE 141 Street Loop                           Class                Claim Detail Amount         Final Allowed Amount
Summerfield, FL 34491
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Mildred Church                                    Clm No 173789    Filed In Cases: 607
7410 Oak Haven Drive                              Class                Claim Detail Amount         Final Allowed Amount
Lakeland, FL 33810
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         1264 of 3075

Ellen Ciambriello                                 Clm No 173790    Filed In Cases: 607
230 North Federal Highway                         Class                Claim Detail Amount         Final Allowed Amount
Unit 306
                                                  UNS                                $1.00
Deerfield Beach, FL 33441
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Frank Ciancanelli Jr.                             Clm No 173791    Filed In Cases: 607
1317 North Balboa Drive                           Class                Claim Detail Amount         Final Allowed Amount
Gilbert, IL 85234-1500
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173792    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                          1265 of 3075

Frank Cierpich                                     Clm No 173793    Filed In Cases: 607
7895 NE Kubitis Ave Box 837                        Class                Claim Detail Amount         Final Allowed Amount
Arcadia, FL 34266
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, ESQ.                         Clm No 173794    Filed In Cases: 607
600 Brickwell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Elizabeth Cifaldi                                  Clm No 173795    Filed In Cases: 607
6220 South Elaine Ave.                             Class                Claim Detail Amount         Final Allowed Amount
Cudahy, WI 53110
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         1266 of 3075

Louis Cifone                                      Clm No 173796    Filed In Cases: 607
174 Glen Hill Road                                Class                Claim Detail Amount         Final Allowed Amount
Meriden,CT 06951
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173797    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




John Cinnamon                                     Clm No 173798    Filed In Cases: 607
10144 North Hwy 1247                              Class                Claim Detail Amount         Final Allowed Amount
Eubank, KY 42567
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1267 of 3075

Arthur Ciotoli                                    Clm No 173799    Filed In Cases: 607
312 Dunn Blvd.                                    Class                Claim Detail Amount         Final Allowed Amount
Erie,PA 16507
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Bill Ciotti                                       Clm No 173800    Filed In Cases: 607
1 Idlewood Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Trailer 4
                                                  UNS                                $1.00
Kittery, ME 03904-5517
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173801    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1268 of 3075

Laura Benjamin                                    Clm No 173802    Filed In Cases: 607
2401 SW 131th Terrace                             Class                Claim Detail Amount         Final Allowed Amount
Davie, FL 33325
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173803    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Doris Clarin                                      Clm No 173804    Filed In Cases: 607
15436 SW 146th Terrace                            Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33196
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1269 of 3075

Frank Clark                                       Clm No 173805    Filed In Cases: 607
345 Monson Road                                   Class                Claim Detail Amount         Final Allowed Amount
Stafford Springs, CT 06076
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Samuel Clark                                      Clm No 173806    Filed In Cases: 607
973 Wingate Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Pocatello, ID 83201
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173807    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1270 of 3075

Valarie Campbell (Special)                        Clm No 173808    Filed In Cases: 607
6544 Moret Drive South                            Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32244
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Charles Thrift                                    Clm No 173809    Filed In Cases: 607
Jacksonville, FL 32208                            Class                Claim Detail Amount         Final Allowed Amount

                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173810    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1271 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173811    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173812    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Arnold Clark                                      Clm No 173813    Filed In Cases: 607
701 E. Green Drive                                Class                Claim Detail Amount         Final Allowed Amount
Apt. 615
                                                  UNS                                $1.00
Highpoint, NC 27260
                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                          1272 of 3075

c/o David Jagolinzer, ESQ.                         Clm No 173814    Filed In Cases: 607
600 Brickwell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, ESQ.                         Clm No 173815    Filed In Cases: 607
600 Brickwell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Benjamin Clark                                     Clm No 173816    Filed In Cases: 607
121 Margo Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Johnson City, TN 37601-6266
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         1273 of 3075

Arthur Clark                                      Clm No 173817    Filed In Cases: 607
2290 Maryland Street                              Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46407
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Clyde Clark                                       Clm No 173818    Filed In Cases: 607
2505 Beech St.                                    Class                Claim Detail Amount         Final Allowed Amount
Ashland, KY 41101
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Robert Clark                                      Clm No 173819    Filed In Cases: 607
4268 East Shepard Street                          Class                Claim Detail Amount         Final Allowed Amount
Demotte, IN 46310
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         1274 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173820    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173821    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Martha Clark                                      Clm No 173822    Filed In Cases: 607
P.O. Box 365                                      Class                Claim Detail Amount         Final Allowed Amount
5597 Bells Branch Road
                                                  UNS                                $1.00
Dillsboro, IN 47018
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1275 of 3075

Marian Clark                                      Clm No 173823    Filed In Cases: 607
4003 Ellisfield Drive                             Class                Claim Detail Amount         Final Allowed Amount
Durham, NC 27705
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Ronald Clark                                      Clm No 173824    Filed In Cases: 607
18120 Parker Road                                 Class                Claim Detail Amount         Final Allowed Amount
Mokena, IL 60448
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Carol Clark                                       Clm No 173825    Filed In Cases: 607
9127 Villa Palma Lane                             Class                Claim Detail Amount         Final Allowed Amount
Palm Beach Gardens, FL 33418
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              6-Oct-2015
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   Claim Face Value        $10,000.00




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  Claims Details                                                                                            1276 of 3075

Margaret Clarkson                                    Clm No 173826    Filed In Cases: 607
472 Main Street                                      Class                Claim Detail Amount         Final Allowed Amount
Walpole, MA 02081
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




Marjorie Claud                                       Clm No 173827    Filed In Cases: 607
35150 W. Griffin Drive                               Class                Claim Detail Amount         Final Allowed Amount
Fruitland Park, FL 34731-5066
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




Mary Claudy                                          Clm No 173828    Filed In Cases: 607
7015 Red Bug Lake Road                               Class                Claim Detail Amount         Final Allowed Amount
Apartment 328
                                                     UNS                                $1.00
Oviedo, FL 32765-5059
                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




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  Claims Details                                                                                         1277 of 3075

Jackie Claxton                                    Clm No 173829    Filed In Cases: 607
5412 Yucca Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Mobile, AL 36693
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Ethel Clayton                                     Clm No 173830    Filed In Cases: 607
5401 Oates Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Port Orange, FL 32127
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Bridget Clayton                                   Clm No 173831    Filed In Cases: 607
204 Ferry Road                                    Class                Claim Detail Amount         Final Allowed Amount
Columbiana, AL 35051
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          1278 of 3075

Dorothy Clayton                                    Clm No 173832    Filed In Cases: 607
280 Newtonville Avenue #308                        Class                Claim Detail Amount         Final Allowed Amount
Newtonville, MA 02460
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




Wilbert Clemans                                    Clm No 173833    Filed In Cases: 607
8735 N 500 E                                       Class                Claim Detail Amount         Final Allowed Amount
Denver, IN 46926-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, ESQ.                         Clm No 173834    Filed In Cases: 607
600 Brickwell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite #3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


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   Bar Date
   Claim Face Value                $1.00




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Allen,Viola                                       Clm No 173835    Filed In Cases: 607
15 Guy Devours drive                              Class                Claim Detail Amount         Final Allowed Amount
Bankston,AL 35542
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173836    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer, ESQ.                        Clm No 173837    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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Clewis, gary                                      Clm No 173838    Filed In Cases: 607
113 Lansing Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Maryland height ,MO 63043
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




James Clewis                                      Clm No 173839    Filed In Cases: 607
2522 Canal Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Lynn Haven,FL 32444
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Gay Clifford                                      Clm No 173840    Filed In Cases: 607
27 park garden APT C                              Class                Claim Detail Amount         Final Allowed Amount
Scarton,PA 18509-1459
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1281 of 3075

Susan Clifton                                     Clm No 173841    Filed In Cases: 607
215 Greensway                                     Class                Claim Detail Amount         Final Allowed Amount
ellabelle,GA 31308
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Helen Clink                                       Clm No 173842    Filed In Cases: 607
6476 Big creek pkwy                               Class                Claim Detail Amount         Final Allowed Amount
Parma hts,OH 44130
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173843    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1282 of 3075

Charles Clotz                                     Clm No 173844    Filed In Cases: 607
10 Logston heights                                Class                Claim Detail Amount         Final Allowed Amount
Berea,KY 40403-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Linda Cloud                                       Clm No 173845    Filed In Cases: 607
672 Gossom Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Milton,KY 40045-8339
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173846    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1283 of 3075

Cloutier,Richard                                  Clm No 173847    Filed In Cases: 607
51 Payne Street                                   Class                Claim Detail Amount         Final Allowed Amount
Springville,ME 04083
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Doris Cloutier                                    Clm No 173848    Filed In Cases: 607
124 Gooseneck Hill Road                           Class                Claim Detail Amount         Final Allowed Amount
Cantubry,CT 06331
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Jayne Cloutier                                    Clm No 173849    Filed In Cases: 607
7 folsom Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Biddefor,ME 04005
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1284 of 3075

Robert Cloyd                                      Clm No 173850    Filed In Cases: 607
2787 Whittier Street                              Class                Claim Detail Amount         Final Allowed Amount
Portage,IN 46368
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Mildred M .Cluff                                  Clm No 173851    Filed In Cases: 607
Box #123 Long Cabin Road                          Class                Claim Detail Amount         Final Allowed Amount
Kennebunkport,ME 04046
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Louise Clutter                                    Clm No 173852    Filed In Cases: 607
418 South Minstrel avenue                         Class                Claim Detail Amount         Final Allowed Amount
Inverness,FL 34450
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




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  Claims Details                                                                                            1285 of 3075

Barbara cobbett                                      Clm No 173853    Filed In Cases: 607
c/o Camp,Fiornte matthews                            Class                Claim Detail Amount         Final Allowed Amount
555 west georgia Street 4th floor
                                                     UNS                          $10,000.00
Vancouver ,BC v6b1z6
                                                                                  $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Donna Cochefski                                      Clm No 173854    Filed In Cases: 607
48 Hopkins Drive                                     Class                Claim Detail Amount         Final Allowed Amount
Newington,CT 06111
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Jane Cody                                            Clm No 173855    Filed In Cases: 607
3620 Bluebell Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Holiday,FL 34691
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                  $1.00




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  Claims Details                                                                                          1286 of 3075

c/o David Jagolinzer, ESQ.                         Clm No 173856    Filed In Cases: 607
600 Brickwell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




marcia coffee                                      Clm No 173857    Filed In Cases: 607
888 E preston McDaniel Road                        Class                Claim Detail Amount         Final Allowed Amount
Pickens,SC 29671-2917
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Richard Coffman                                    Clm No 173858    Filed In Cases: 607
734 E Roehill Street ,                             Class                Claim Detail Amount         Final Allowed Amount
Lecanto,FL 34461
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         1287 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173859    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite #3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Lillian coggins                                   Clm No 173860    Filed In Cases: 607
50 Southhampton Blvd                              Class                Claim Detail Amount         Final Allowed Amount
Auburndale,FL 33823
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173861    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1288 of 3075

Etta Cohen                                        Clm No 173862    Filed In Cases: 607
13779 Via aurora Apt#c                            Class                Claim Detail Amount         Final Allowed Amount
Delray Beach,FL 33484
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173863    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer, ESQ.                        Clm No 173864    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         1289 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173865    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Minnie Colanei                                    Clm No 173866    Filed In Cases: 607
16 head drive                                     Class                Claim Detail Amount         Final Allowed Amount
Fredericktown,MO 63645
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Frank Colavolpe                                   Clm No 173867    Filed In Cases: 607
21432 Diamonte Drive                              Class                Claim Detail Amount         Final Allowed Amount
Land O' Lakes,FL 34637
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1290 of 3075

darlene cole                                      Clm No 173868    Filed In Cases: 607
Route # 1 Box # 200                               Class                Claim Detail Amount         Final Allowed Amount
Tibbie,AL 36583
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Betty cole                                        Clm No 173869    Filed In Cases: 607
341713 Country Road 121                           Class                Claim Detail Amount         Final Allowed Amount
hilliard,FL 32046
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Nina Coleman                                      Clm No 173870    Filed In Cases: 607
6327 Townstead Road                               Class                Claim Detail Amount         Final Allowed Amount
Jackstonville ,FL 32244
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1291 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173871    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Samuel Coleman                                    Clm No 173872    Filed In Cases: 607
4967 Connecticut street                           Class                Claim Detail Amount         Final Allowed Amount
gary,IN 46409
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Cecil Coleman                                     Clm No 173873    Filed In Cases: 607
1092 E 780 N                                      Class                Claim Detail Amount         Final Allowed Amount
Shelley,ID 60085
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         1292 of 3075

helen coleman                                     Clm No 173874    Filed In Cases: 607
P.O. Box#412                                      Class                Claim Detail Amount         Final Allowed Amount
Waukegan,IL 60085
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173875    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




William Coles                                     Clm No 173876    Filed In Cases: 607
972 Hobard                                        Class                Claim Detail Amount         Final Allowed Amount
Gary ,In 46404
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1293 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173877    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Grace Collies                                     Clm No 173878    Filed In Cases: 607
123 Holcomb st                                    Class                Claim Detail Amount         Final Allowed Amount
East Grawby,CT 06026
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173879    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         1294 of 3075

Collins charles                                   Clm No 173880    Filed In Cases: 607
37 Collie lane                                    Class                Claim Detail Amount         Final Allowed Amount
Alamogordo,NM 88310-9413
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




rose Collins                                      Clm No 173881    Filed In Cases: 607
P.O Box#7507                                      Class                Claim Detail Amount         Final Allowed Amount
Spanish Fort,AL 36577
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




mary Collins                                      Clm No 173882    Filed In Cases: 607
6 maya Drive                                      Class                Claim Detail Amount         Final Allowed Amount
Gransevoort,NT 12831
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         1295 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173883    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer, ESQ.                        Clm No 173884    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




mary janes collins                                Clm No 173885    Filed In Cases: 607
471 Dakota drive                                  Class                Claim Detail Amount         Final Allowed Amount
Camp verde,AZ 86322
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1296 of 3075

Thelma collins                                    Clm No 173886    Filed In Cases: 607
562 Big Bear Hwy                                  Class                Claim Detail Amount         Final Allowed Amount
Benton,KY 42025
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Johnnie Collins                                   Clm No 173887    Filed In Cases: 607
2353 walton Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Shasta lake ,CA 96019
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




John Collins                                      Clm No 173888    Filed In Cases: 607
W 7301 Timberlane                                 Class                Claim Detail Amount         Final Allowed Amount
Iron Mountain,MI 49801
                                                  UNS                                $1.00

                                                                                     $1.00


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   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         1297 of 3075

Floyd Collinsworth                                Clm No 173889    Filed In Cases: 607
1710 N. Riverside Lane                            Class                Claim Detail Amount         Final Allowed Amount
Colfax,WA 99111
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Kathleen Colmane                                  Clm No 173890    Filed In Cases: 607
41 Fourth street                                  Class                Claim Detail Amount         Final Allowed Amount
LaSalle,IL 61301
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173891    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1298 of 3075

Robertson,Colette                                 Clm No 173892    Filed In Cases: 607
9237 SE Olympus Street                            Class                Claim Detail Amount         Final Allowed Amount
Hobe Sound,FL 33455
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Germanous Colopy                                  Clm No 173893    Filed In Cases: 607
1000 Patricia Rd                                  Class                Claim Detail Amount         Final Allowed Amount
Zanesville,OH 43701
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Debbie Comer                                      Clm No 173894    Filed In Cases: 607
129 E Canal Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Ottawa ,IL 61350
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1299 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173895    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173896    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173897    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1300 of 3075

Harmon Compton                                    Clm No 173898    Filed In Cases: 607
1466 Highway 185                                  Class                Claim Detail Amount         Final Allowed Amount
Westville,FL 32464
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173899    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Helen Comstock                                    Clm No 173900    Filed In Cases: 607
226 laurel terrace                                Class                Claim Detail Amount         Final Allowed Amount
Tobyhana,PA 18466
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1301 of 3075

George Comstock                                   Clm No 173901    Filed In Cases: 607
205 E. Diamond# 278                               Class                Claim Detail Amount         Final Allowed Amount
Anchorage,AK 99515
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Judith Conant                                     Clm No 173902    Filed In Cases: 607
12 Water Street                                   Class                Claim Detail Amount         Final Allowed Amount
Oxford,MA 01540
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173903    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1302 of 3075

Dorothy Cone                                      Clm No 173904    Filed In Cases: 607
3991 Cone Drive SE                                Class                Claim Detail Amount         Final Allowed Amount
Bessemer,AL 35022-4345
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Virginia Congrove                                 Clm No 173905    Filed In Cases: 607
2868 Northhave Rd                                 Class                Claim Detail Amount         Final Allowed Amount
Davenport,IA 52804
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Shirley Conkright                                 Clm No 173906    Filed In Cases: 607
P.O Box # 263                                     Class                Claim Detail Amount         Final Allowed Amount
Ownesboro,KY 42302
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                         1303 of 3075

Dianne Conley                                     Clm No 173907    Filed In Cases: 607
425 West 93rd Place APT# 113                      Class                Claim Detail Amount         Final Allowed Amount
Crown Point,IN 46307-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Kathleen connaughton                              Clm No 173908    Filed In Cases: 607
27 Anthony Road                                   Class                Claim Detail Amount         Final Allowed Amount
Tewksbury,MA 01876
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Anthony Conneely                                  Clm No 173909    Filed In Cases: 607
9 laura Drive                                     Class                Claim Detail Amount         Final Allowed Amount
hebron,CT 06248
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1304 of 3075

Walter Connelley                                  Clm No 173910    Filed In Cases: 607
2061 New Orleans Drive                            Class                Claim Detail Amount         Final Allowed Amount
Lexington ,KY 40505
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




James Conner                                      Clm No 173911    Filed In Cases: 607
1107 West 5th Avenue APT# d5                      Class                Claim Detail Amount         Final Allowed Amount
Kennewick,WA 99336-5560
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




James Connor                                      Clm No 173912    Filed In Cases: 607
210 West ^th street                               Class                Claim Detail Amount         Final Allowed Amount
Wesr Lebonon,IN 47991
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1305 of 3075

Considine,James                                   Clm No 173913    Filed In Cases: 607
4 gridley Bryant Road,                            Class                Claim Detail Amount         Final Allowed Amount
Scituate,MA 02066-1817
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Elpis constantinides                              Clm No 173914    Filed In Cases: 607
6712 N.W. 3rd street                              Class                Claim Detail Amount         Final Allowed Amount
Margate,FL 33063
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Marie conti                                       Clm No 173915    Filed In Cases: 607
17 Forum RD                                       Class                Claim Detail Amount         Final Allowed Amount
Quincy,MA 02169
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                         1306 of 3075

bellovin,barry                                    Clm No 173916    Filed In Cases: 607
131 E. Broadway Blvd                              Class                Claim Detail Amount         Final Allowed Amount
tuson,AZ 85701
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




William Conway                                    Clm No 173917    Filed In Cases: 607
11116 Worth avenue                                Class                Claim Detail Amount         Final Allowed Amount
Worth,IL 60482
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Mary Conway                                       Clm No 173918    Filed In Cases: 607
1 Chestnut Street Apt# 102                        Class                Claim Detail Amount         Final Allowed Amount
Providence,RI 02903
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1307 of 3075

Jean cook                                         Clm No 173919    Filed In Cases: 607
90 Niantic River Road                             Class                Claim Detail Amount         Final Allowed Amount
Waterford,CT 06385
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




collins,Pat                                       Clm No 173920    Filed In Cases: 607
891 Glenwood Road,                                Class                Claim Detail Amount         Final Allowed Amount
Morris,AL 35116-1708
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Annie cook                                        Clm No 173921    Filed In Cases: 607
7619 John F. Kennedy drive                        Class                Claim Detail Amount         Final Allowed Amount
jacksonville,FL 32219
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1308 of 3075

leona cook                                        Clm No 173922    Filed In Cases: 607
2151 Nuangola Road                                Class                Claim Detail Amount         Final Allowed Amount
Mountaintop,PA,18707
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Stephen Cook                                      Clm No 173923    Filed In Cases: 607
11221 mallard Drive                               Class                Claim Detail Amount         Final Allowed Amount
Rochester,IL 62563
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




reder,Lori                                        Clm No 173924    Filed In Cases: 607
4060 Pineway Drive                                Class                Claim Detail Amount         Final Allowed Amount
Midland,MI48642
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                         1309 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173925    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Norman Cook                                       Clm No 173926    Filed In Cases: 607
729 Charleston Road                               Class                Claim Detail Amount         Final Allowed Amount
Raleigh,NC 22606
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




David Cook                                        Clm No 173927    Filed In Cases: 607
P.O Box# 350                                      Class                Claim Detail Amount         Final Allowed Amount
Walron,IN46994
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1310 of 3075

Peter Cooke                                       Clm No 173928    Filed In Cases: 607
48 Barbuda Street                                 Class                Claim Detail Amount         Final Allowed Amount
Toms River,NJ 085757
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Joseph Cool                                       Clm No 173929    Filed In Cases: 607
P.O. Box # 196                                    Class                Claim Detail Amount         Final Allowed Amount
Rossville,IN 46065
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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William Cooney                                    Clm No 173930    Filed In Cases: 607
3511 Priscilla Drive                              Class                Claim Detail Amount         Final Allowed Amount
Erie,PA 16506
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1311 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173931    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




cooper,Marva                                      Clm No 173932    Filed In Cases: 607
225 waterbury Court                               Class                Claim Detail Amount         Final Allowed Amount
Westland,MI48186
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173933    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1312 of 3075

Walter cooper                                     Clm No 173934    Filed In Cases: 607
3820 Deal Street                                  Class                Claim Detail Amount         Final Allowed Amount
East Chicago,IN 46312-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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Clyde Cooper                                      Clm No 173935    Filed In Cases: 607
4722 Westwind Drive                               Class                Claim Detail Amount         Final Allowed Amount
Plant City,FL 33566
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




William Cooper                                    Clm No 173936    Filed In Cases: 607
38 newlinville Rd                                 Class                Claim Detail Amount         Final Allowed Amount
Coatesville,PA 19320-4203
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         1313 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173937    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173938    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173939    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1314 of 3075

Henry Corbin                                      Clm No 173940    Filed In Cases: 607
P.O . Box 3 87-7150                               Class                Claim Detail Amount         Final Allowed Amount
Wasilla,AK 99687
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Cord,Everitt                                      Clm No 173941    Filed In Cases: 607
103 Jolomic lane                                  Class                Claim Detail Amount         Final Allowed Amount
georgetown,KY 40324
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Daryl Cordell                                     Clm No 173942    Filed In Cases: 607
808 Hilltop Cir                                   Class                Claim Detail Amount         Final Allowed Amount
De Soto,TX 75115-4517
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1315 of 3075

Ernesto Cordero                                   Clm No 173943    Filed In Cases: 607
Rurbanizacion Las Lomas                           Class                Claim Detail Amount         Final Allowed Amount
1686 avenida Amwerico
                                                  UNS                                $1.00
Miranda San Juan pr21
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Robert Corey                                      Clm No 173944    Filed In Cases: 607
7203 colorado Street                              Class                Claim Detail Amount         Final Allowed Amount
Merrillville,IN 46410
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Leonie M. Cormier                                 Clm No 173945    Filed In Cases: 607
11 Theresa Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Leominster,MA 01453
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1316 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173946    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Loren Cornette                                    Clm No 173947    Filed In Cases: 607
514 cornette Road                                 Class                Claim Detail Amount         Final Allowed Amount
Greenville,KY 42345
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Margaret D. Carey                                 Clm No 173948    Filed In Cases: 607
34 cherry lane                                    Class                Claim Detail Amount         Final Allowed Amount
South Weymouth,MA 02190
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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Charles corrado                                   Clm No 173949    Filed In Cases: 607
3 cross Road                                      Class                Claim Detail Amount         Final Allowed Amount
Waterford,CT 06385
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Salvatore Corrado                                 Clm No 173950    Filed In Cases: 607
P.O. Box # 762                                    Class                Claim Detail Amount         Final Allowed Amount
Boulder,MT 59632
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Daniel Corrales                                   Clm No 173951    Filed In Cases: 607
4125 Grace street                                 Class                Claim Detail Amount         Final Allowed Amount
east chicago,IN 46312-2924
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1318 of 3075

maria Correa                                      Clm No 173952    Filed In Cases: 607
2919 W Saint Conrad St                            Class                Claim Detail Amount         Final Allowed Amount
tampa ,FL 33607
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173953    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173954    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1319 of 3075

George Corrie                                     Clm No 173955    Filed In Cases: 607
608 Hickory street NW                             Class                Claim Detail Amount         Final Allowed Amount
Demotte,IN 46310
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




ellen Corrigan                                    Clm No 173956    Filed In Cases: 607
16 porter street                                  Class                Claim Detail Amount         Final Allowed Amount
quaker Hill,CT 06375
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Alvin Corson                                      Clm No 173957    Filed In Cases: 607
10937 E Pueblo Avenue                             Class                Claim Detail Amount         Final Allowed Amount
mesa,AZ 85208-3907
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1320 of 3075

willie Cosby                                      Clm No 173958    Filed In Cases: 607
6110 dogtown rroad                                Class                Claim Detail Amount         Final Allowed Amount
nauvoo,AL 35578
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Anthony Cosentio                                  Clm No 173959    Filed In Cases: 607
15 Hyde park road                                 Class                Claim Detail Amount         Final Allowed Amount
Franklin,CT 06254
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Ronald Coss                                       Clm No 173960    Filed In Cases: 607
7255 Wilson Road                                  Class                Claim Detail Amount         Final Allowed Amount
West palms beach,FL 33413
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1321 of 3075

Carl Costa                                        Clm No 173961    Filed In Cases: 607
15 patton Road                                    Class                Claim Detail Amount         Final Allowed Amount
wallington,CT 06492
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




maria Costa                                       Clm No 173962    Filed In Cases: 607
273 warren street                                 Class                Claim Detail Amount         Final Allowed Amount
Fall River,MA 02721
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Robert Costello                                   Clm No 173963    Filed In Cases: 607
72 elm street                                     Class                Claim Detail Amount         Final Allowed Amount
Scituate,MA 02066
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                            1322 of 3075

James Cotant                                         Clm No 173964    Filed In Cases: 607
2517 east marshall                                   Class                Claim Detail Amount         Final Allowed Amount
Spokane,WA 99207-5414
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




McEachern,Duncan                                     Clm No 173965    Filed In Cases: 607
McEachern&thornhill Attrnys@law                      Class                Claim Detail Amount         Final Allowed Amount
10 Walker street,Kittery,ME99207
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value             $10,000.00




Frank Cothron                                        Clm No 173966    Filed In Cases: 607
16126 east lake Burrell Drive                        Class                Claim Detail Amount         Final Allowed Amount
Lutz,FL 33549
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




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  Claims Details                                                                                         1323 of 3075

Lois Cotton                                       Clm No 173967    Filed In Cases: 607
302 Valley road APT# 9                            Class                Claim Detail Amount         Final Allowed Amount
Appleton,WI 54915
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Alycia,Cotton                                     Clm No 173968    Filed In Cases: 607
8233 maple street                                 Class                Claim Detail Amount         Final Allowed Amount
Gary,IN 46403
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Patrick Coughlin                                  Clm No 173969    Filed In Cases: 607
15 Ox Yoke Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Weathersfield,CT 06109
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1324 of 3075

Warren Coughlin                                   Clm No 173970    Filed In Cases: 607
4131 West Christy Drive                           Class                Claim Detail Amount         Final Allowed Amount
Phoenix,AZ 85029
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Mary Couillard                                    Clm No 173971    Filed In Cases: 607
128 B2 Campus Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Lewiston,ME 04240
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Roger Coulombe                                    Clm No 173972    Filed In Cases: 607
117 Tri City Road#17                              Class                Claim Detail Amount         Final Allowed Amount
Somersworth,NH 03878-1325
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1325 of 3075

Coulter,Eugene                                    Clm No 173973    Filed In Cases: 607
15300 water oak Court                             Class                Claim Detail Amount         Final Allowed Amount
Punta Gorda,FL 33982
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




James Counard                                     Clm No 173974    Filed In Cases: 607
9561 Gravel Pit Road                              Class                Claim Detail Amount         Final Allowed Amount
Brussels,WI 54204
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Lonnie Counts                                     Clm No 173975    Filed In Cases: 607
B#84 Brighton Road                                Class                Claim Detail Amount         Final Allowed Amount
Flintville,TN 37335-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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  Claims Details                                                                                         1326 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173976    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Valarie Cousino                                   Clm No 173977    Filed In Cases: 607
Valeri G,Cousino 33334                            Class                Claim Detail Amount         Final Allowed Amount

                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Melvan Cousins                                    Clm No 173978    Filed In Cases: 607
3608 S.E. 59                                      Class                Claim Detail Amount         Final Allowed Amount
Oklahoma City,OK 73135
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1327 of 3075

Silviana couto                                    Clm No 173979    Filed In Cases: 607
46 chidsey Drive                                  Class                Claim Detail Amount         Final Allowed Amount
North Branford,CT 06471
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173980    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Katherine Cowan                                   Clm No 173981    Filed In Cases: 607
1725 Elm street                                   Class                Claim Detail Amount         Final Allowed Amount
S. Milwaukee,WI 53172
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1328 of 3075

Eddie Cowart                                      Clm No 173982    Filed In Cases: 607
4630 North Miami avenue                           Class                Claim Detail Amount         Final Allowed Amount
Miami ,FL 33131
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Brenda Cowell                                     Clm No 173983    Filed In Cases: 607
16189 Tacosa Avenue                               Class                Claim Detail Amount         Final Allowed Amount
brooksville,FL 34604
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 173984    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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cathy Snow                                        Clm No 173985    Filed In Cases: 607
2200 38th Avenue 511                              Class                Claim Detail Amount         Final Allowed Amount
Bradonton,FL 34205
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Mcelhannon,M,Scott                                Clm No 173986    Filed In Cases: 607
401 cathey Street                                 Class                Claim Detail Amount         Final Allowed Amount
Anderson,SC 29621-3614
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Eugene Cox                                        Clm No 173987    Filed In Cases: 607
1119 Clark street                                 Class                Claim Detail Amount         Final Allowed Amount
Rock Springs,WY 82901
                                                  UNS                                $1.00

                                                                                     $1.00


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John Cox                                          Clm No 173988    Filed In Cases: 607
2378 Demaret Drive                                Class                Claim Detail Amount         Final Allowed Amount
Dunedin,FL 34698
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Garnett Cox                                       Clm No 173989    Filed In Cases: 607
800 North Bethany Road                            Class                Claim Detail Amount         Final Allowed Amount
McDonough,GA 30252
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Georgianna Coyman                                 Clm No 173990    Filed In Cases: 607
109 Byrne street                                  Class                Claim Detail Amount         Final Allowed Amount
hackensack,NJ 07601
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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Michael Coyne                                     Clm No 173991    Filed In Cases: 607
16605 Judgement Place                             Class                Claim Detail Amount         Final Allowed Amount
Hughesville,MD 20637
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




carol Crabtree                                    Clm No 173992    Filed In Cases: 607
100 Newton Road                                   Class                Claim Detail Amount         Final Allowed Amount
West Park ,FL 33023-6649
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Cragwick,Larry                                    Clm No 173993    Filed In Cases: 607
P.O Box# 506                                      Class                Claim Detail Amount         Final Allowed Amount
Salom,ID 83467
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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  Claims Details                                                                                         1332 of 3075

Craig ,Michael                                    Clm No 173994    Filed In Cases: 607
57 George Lommis Road                             Class                Claim Detail Amount         Final Allowed Amount
Southwick,MA 01077
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Caryle Crandall                                   Clm No 173995    Filed In Cases: 607
1867 S. 135 Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Omaha,NE 68144-2401
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Beverly,Crane                                     Clm No 173996    Filed In Cases: 607
59 Pomona Ave                                     Class                Claim Detail Amount         Final Allowed Amount
Milford,CT 06460
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1333 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 173997    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Ruth Crank                                        Clm No 173998    Filed In Cases: 607
1200 E. partridge Street                          Class                Claim Detail Amount         Final Allowed Amount
Unit # 58-A
                                                  UNS                                $1.00
Metamora,IL 61548-8718
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




David Cranor                                      Clm No 173999    Filed In Cases: 607
308 Licolnway                                     Class                Claim Detail Amount         Final Allowed Amount
La Porte,IN 46350-2413
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1334 of 3075

Charles Crapse                                    Clm No 174000    Filed In Cases: 607
1950 Cokesbury ,Drive                             Class                Claim Detail Amount         Final Allowed Amount
Savannah,GA 31406-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Crave,John                                        Clm No 174001    Filed In Cases: 607
10908 Templeton Dr                                Class                Claim Detail Amount         Final Allowed Amount
philadelphia,PA 19154
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Sharon Craver                                     Clm No 174002    Filed In Cases: 607
709 Craver Rd                                     Class                Claim Detail Amount         Final Allowed Amount
Boaz,KY 42027
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1335 of 3075

Michael Crawford                                  Clm No 174003    Filed In Cases: 607
2912 Ashland Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Racine,WI 53403
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Evan Crawforth                                    Clm No 174004    Filed In Cases: 607
1910 Windsor Way                                  Class                Claim Detail Amount         Final Allowed Amount
Reno,NV 89503-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Marie creason                                     Clm No 174005    Filed In Cases: 607
6635 125th Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Pleasant Prairie,WI 53158
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1336 of 3075

Patricia Creger                                   Clm No 174006    Filed In Cases: 607
P.O. Box #1102                                    Class                Claim Detail Amount         Final Allowed Amount
Round Lake Beach,IL 60073
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Alexis Cretella                                   Clm No 174007    Filed In Cases: 607
52Fieldstone Court                                Class                Claim Detail Amount         Final Allowed Amount
North haven,CT 06473
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Gary Crews                                        Clm No 174008    Filed In Cases: 607
13923 Central Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Hoboken,GA 31542-2129
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1337 of 3075

viola Crews                                       Clm No 174009    Filed In Cases: 607
5148 Private Road 1511                            Class                Claim Detail Amount         Final Allowed Amount
Ponoma,MO 65789
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174010    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174011    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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  Claims Details                                                                                         1338 of 3075

Baker,Jeasnitta                                   Clm No 174012    Filed In Cases: 607
2915 Mt. Pisgah Road                              Class                Claim Detail Amount         Final Allowed Amount
New Richmond OH ,45157-9731
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Connie croce                                      Clm No 174013    Filed In Cases: 607
187 North Farm Road                               Class                Claim Detail Amount         Final Allowed Amount
Middlebury ,CT 06762
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




James Croft                                       Clm No 174014    Filed In Cases: 607
96338 Maranatha Road                              Class                Claim Detail Amount         Final Allowed Amount
Yulee,FL 32097
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1339 of 3075

Timothy Cronin                                    Clm No 174015    Filed In Cases: 607
9 Springs Street                                  Class                Claim Detail Amount         Final Allowed Amount
Prospect,CT 06712
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Barbara Cronister                                 Clm No 174016    Filed In Cases: 607
125 Joan Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Divernon,IL 62530
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Sylvester,Janet                                   Clm No 174017    Filed In Cases: 607
91 Bourne Road                                    Class                Claim Detail Amount         Final Allowed Amount
Plymouth,MA 02360-2807
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1340 of 3075

Greer,Christie                                    Clm No 174018    Filed In Cases: 607
P.O Box#86                                        Class                Claim Detail Amount         Final Allowed Amount
Elba ,AL 36323
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174019    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Patricia Croshaw                                  Clm No 174020    Filed In Cases: 607
3 Gloria Road                                     Class                Claim Detail Amount         Final Allowed Amount
Salem ,NH 03079
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1341 of 3075

Crosley,Rita                                      Clm No 174021    Filed In Cases: 607
Route 1 north Morgan Road                         Class                Claim Detail Amount         Final Allowed Amount
Box# 72C1 Chubbuck,ID 83202
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174022    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




cossley david                                     Clm No 174023    Filed In Cases: 607
84 Hedley Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Johnston,RI 02919
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1342 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 174024    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Douglas Crossman                                  Clm No 174025    Filed In Cases: 607
52 Sherburne Road                                 Class                Claim Detail Amount         Final Allowed Amount
Portsmouth,NH 03801
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174026    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1343 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 174027    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Martha Crowe                                      Clm No 174028    Filed In Cases: 607
1304 14th Street West APT 305                     Class                Claim Detail Amount         Final Allowed Amount
Jasper, AL 35501
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Jolene crowe                                      Clm No 174029    Filed In Cases: 607
1509 Jacinto Court                                Class                Claim Detail Amount         Final Allowed Amount
The Villages,FL 32159
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1344 of 3075

Ruth Crowley                                      Clm No 174030    Filed In Cases: 607
26121 Tocantins Court                             Class                Claim Detail Amount         Final Allowed Amount
Punta Gord,FL 33983
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Lurana crowley                                    Clm No 174031    Filed In Cases: 607
216 Froest Street                                 Class                Claim Detail Amount         Final Allowed Amount
Rockland,MA 02370
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174032    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1345 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 174033    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




christine Crum                                    Clm No 174034    Filed In Cases: 607
571 31st street                                   Class                Claim Detail Amount         Final Allowed Amount
Cairo,IL 62914
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




sally crump                                       Clm No 174035    Filed In Cases: 607
107 east lake shore trail                         Class                Claim Detail Amount         Final Allowed Amount
glastonbury,CT 06033
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1346 of 3075

Joseph Crump                                      Clm No 174036    Filed In Cases: 607
2612 carlsbad Drive N.W                           Class                Claim Detail Amount         Final Allowed Amount
Huntville,AL 35810-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174037    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




beverly cruthird                                  Clm No 174038    Filed In Cases: 607
P.O Box # 104                                     Class                Claim Detail Amount         Final Allowed Amount
Rockland ,MA 02370
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1347 of 3075

Lois Cruz                                         Clm No 174039    Filed In Cases: 607
133 Scotland St                                   Class                Claim Detail Amount         Final Allowed Amount
W. Bridgewater,MA 02379
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Edward Cruz                                       Clm No 174040    Filed In Cases: 607
137 south main street                             Class                Claim Detail Amount         Final Allowed Amount
W . Bridgewater,MA 02379
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174041    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1348 of 3075

Angel Cruz                                        Clm No 174042    Filed In Cases: 607
condomino Tropicana Apt#603-B                     Class                Claim Detail Amount         Final Allowed Amount
Isla Verde, PR 979
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Carmelo Cruz                                      Clm No 174043    Filed In Cases: 607
H.C #1 Box 4114                                   Class                Claim Detail Amount         Final Allowed Amount
Yabucoa,PR 00767-9603
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174044    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         1349 of 3075

connie cuffe-shuler                               Clm No 174045    Filed In Cases: 607
610 west 2nd street                               Class                Claim Detail Amount         Final Allowed Amount
Cle Elum,WA 98922
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174046    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Edward Culbertson                                 Clm No 174047    Filed In Cases: 607
#8 Road 5368                                      Class                Claim Detail Amount         Final Allowed Amount
Farmington,NM 87401
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1350 of 3075

cullins, charles                                  Clm No 174048    Filed In Cases: 607
6510 ike smith road                               Class                Claim Detail Amount         Final Allowed Amount
Plant City,FL 33566
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Edwin culp                                        Clm No 174049    Filed In Cases: 607
69333 highway 111 SPC#39                          Class                Claim Detail Amount         Final Allowed Amount
Catherdal city,CA 92234
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Keyser,Co PR Joyse E.C                            Clm No 174050    Filed In Cases: 607
637 morrill Street #A                             Class                Claim Detail Amount         Final Allowed Amount
Gilford ,NH 03249
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value        $10,000.00




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  Claims Details                                                                                         1351 of 3075

Alfred Cummings                                   Clm No 174051    Filed In Cases: 607
527 Hillcrest cross roads                         Class                Claim Detail Amount         Final Allowed Amount
canton,GA 30115
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Judith Cunningham                                 Clm No 174052    Filed In Cases: 607
395 Mendon Road                                   Class                Claim Detail Amount         Final Allowed Amount
North Smithfield, RI 02896
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174053    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1352 of 3075

Jaqueline Curella                                 Clm No 174054    Filed In Cases: 607
3948 east Double J Acres Road                     Class                Claim Detail Amount         Final Allowed Amount
LaBelle,FL 33935
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Roger Curran                                      Clm No 174055    Filed In Cases: 607
7089 Beaconway Court                              Class                Claim Detail Amount         Final Allowed Amount
Mainville,OH 45039
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174056    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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   Claim Face Value               $1.00




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c/o David Jagolinzer, ESQ.                        Clm No 174057    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




patricia Cutright                                 Clm No 174058    Filed In Cases: 607
428 Emerald Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Indian cove Beach,FL 32937
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




mildred cutright                                  Clm No 174059    Filed In Cases: 607
44 douglas Druve                                  Class                Claim Detail Amount         Final Allowed Amount
Washington ,IN 47501
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1354 of 3075

Cybulski Charles                                  Clm No 174060    Filed In Cases: 607
27 Somers Roas                                    Class                Claim Detail Amount         Final Allowed Amount
Enfield ,CT 06082
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Judith Czapor                                     Clm No 174061    Filed In Cases: 607
P.O Box#8                                         Class                Claim Detail Amount         Final Allowed Amount
14 west street goshen,CT 06756
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174062    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1355 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 174063    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




frank Dacato                                      Clm No 174064    Filed In Cases: 607
26 liberty Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
east haven ,CT 06512
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Marilyn D'addabbo                                 Clm No 174065    Filed In Cases: 607
243 Toll Gate Road                                Class                Claim Detail Amount         Final Allowed Amount
berlin,CT 06037
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1356 of 3075

barbara daley                                     Clm No 174066    Filed In Cases: 607
26 Cottonwood Rd                                  Class                Claim Detail Amount         Final Allowed Amount
Harwhich,MA 02645
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174067    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Dalton,june                                       Clm No 174068    Filed In Cases: 607
516 kemper Road                                   Class                Claim Detail Amount         Final Allowed Amount
Danville,VA 24541
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                          1357 of 3075

Regina Daly                                        Clm No 174069    Filed In Cases: 607
50 Briggs Street                                   Class                Claim Detail Amount         Final Allowed Amount
Melrose, MA 02176-1244
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Michael daly                                       Clm No 174070    Filed In Cases: 607
6720 NW 65th terrace                               Class                Claim Detail Amount         Final Allowed Amount
Parkland,FL 33067
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




mary daly                                          Clm No 174071    Filed In Cases: 607
3401 E Fort king street Apt#206                    Class                Claim Detail Amount         Final Allowed Amount
Ocala,FL 34470
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         1358 of 3075

seltzer lauri                                     Clm No 174072    Filed In Cases: 607
139 adondance drive                               Class                Claim Detail Amount         Final Allowed Amount
palm beach garedens,FL 33410
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              6-Oct-2015
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   Claim Face Value        $10,000.00




William Dame                                      Clm No 174073    Filed In Cases: 607
299 stone Mountain Road                           Class                Claim Detail Amount         Final Allowed Amount
West Halifax,VT 05358
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




maragaret                                         Clm No 174074    Filed In Cases: 607
5083 1st Road                                     Class                Claim Detail Amount         Final Allowed Amount
lake worth ,FL 33467
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         1359 of 3075

John Damico                                       Clm No 174075    Filed In Cases: 607
10 indian hill road                               Class                Claim Detail Amount         Final Allowed Amount
northford,CT 06472
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Martin D'amico                                    Clm No 174076    Filed In Cases: 607
188 Baldwin Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Meriden ,CT 06472
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Dampier,Gerald                                    Clm No 174077    Filed In Cases: 607
1015 Old jesup Road                               Class                Claim Detail Amount         Final Allowed Amount
Lot#42A
                                                  UNS                                $1.00
brunswick,GA 31520
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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Damron 3 ,Gerome                                  Clm No 174078    Filed In Cases: 607
27422 yalaha cut off road                         Class                Claim Detail Amount         Final Allowed Amount
Yalaha,FL 34797
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




marth Danahy                                      Clm No 174079    Filed In Cases: 607
115 Phyllis Road                                  Class                Claim Detail Amount         Final Allowed Amount
Traynham,MA 02767
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




Frank Dancil                                      Clm No 174080    Filed In Cases: 607
734 West Porland street                           Class                Claim Detail Amount         Final Allowed Amount
Phoenix,AZ 85007
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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  Claims Details                                                                                         1361 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 174081    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174082    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174083    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1362 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 174084    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174085    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Edward daniels                                    Clm No 174086    Filed In Cases: 607
5675 Travlers Way                                 Class                Claim Detail Amount         Final Allowed Amount
Ft.Pierce,FL 34982
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1363 of 3075

Smith, Deryle                                     Clm No 174087    Filed In Cases: 607
47334 Vista Court                                 Class                Claim Detail Amount         Final Allowed Amount
Sterling,VA 20165
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174088    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Gry,Cathrine                                      Clm No 174089    Filed In Cases: 607
2741 east 19th court                              Class                Claim Detail Amount         Final Allowed Amount
panamo City,FL 32405
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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c/o David Jagolinzer, ESQ.                        Clm No 174090    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174091    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Stephen Darrow                                    Clm No 174092    Filed In Cases: 607
9729 Wildwood Court                               Class                Claim Detail Amount         Final Allowed Amount
Unite# 1D
                                                  UNS                                $1.00
Highland,IN 46322-0000
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1365 of 3075

Myrna Dashney                                     Clm No 174093    Filed In Cases: 607
6369 Portofino Court                              Class                Claim Detail Amount         Final Allowed Amount
Rockford, IL 61107
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174094    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Jimmy Daugherty                                   Clm No 174095    Filed In Cases: 607
PO Box 84                                         Class                Claim Detail Amount         Final Allowed Amount
Kinston, AL 36453
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1366 of 3075

c/o David Jagolinzer, ESQ.                        Clm No 174096    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174097    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Rochelle davis                                    Clm No 174098    Filed In Cases: 607
1013 North jackson Street                         Class                Claim Detail Amount         Final Allowed Amount
Litchfield,IL 62056
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                          1367 of 3075

Davies, Frances                                    Clm No 174099    Filed In Cases: 607
1230 North east 20th street                        Class                Claim Detail Amount         Final Allowed Amount
Pcala,FL 34470
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




c/o David Jagolinzer, ESQ.                         Clm No 174100    Filed In Cases: 607
600 Brickwell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                   UNS                          $10,000.00
Miami, FL 33131
                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




elsie davis                                        Clm No 174101    Filed In Cases: 607
1205 marie Ann Blvd                                Class                Claim Detail Amount         Final Allowed Amount
Panama city,FL 32401
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         1368 of 3075

hagedorn                                          Clm No 174102    Filed In Cases: 607
8338 NW Overland Drive                            Class                Claim Detail Amount         Final Allowed Amount
kansas City,MO 64151
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Etta Davis                                        Clm No 174103    Filed In Cases: 607
80 Mullis Creek                                   Class                Claim Detail Amount         Final Allowed Amount
Pike Road ,AL 36064
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Estelle,Davis                                     Clm No 174104    Filed In Cases: 607
80 turnpike avenue                                Class                Claim Detail Amount         Final Allowed Amount
Portsmouth,RI 02871
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                           1369 of 3075

barbara davis                                       Clm No 174105    Filed In Cases: 607
8140 Ambersweet Place                               Class                Claim Detail Amount         Final Allowed Amount
Land 'O Lakes ,FL 34637-7542
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Susan Davis                                         Clm No 174106    Filed In Cases: 607
W198N,17011 Ridgeway,Dr                             Class                Claim Detail Amount         Final Allowed Amount
jackson,WI 53037
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, ESQ.                          Clm No 174107    Filed In Cases: 607
600 Brickwell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                    UNS                                $1.00
Miami, FL 33131
                                                                                       $1.00


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  Claims Details                                                                                         1370 of 3075

Mary Davis                                        Clm No 174108    Filed In Cases: 607
1 Chauncey Walker Road                            Class                Claim Detail Amount         Final Allowed Amount
Blechertown,MA 01007
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174109    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Ronald Davis                                      Clm No 174110    Filed In Cases: 607
1171 North black cat road                         Class                Claim Detail Amount         Final Allowed Amount
Luna,ID 83634
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1371 of 3075

Clemmie Davis                                     Clm No 174111    Filed In Cases: 607
3415 North Cord Street                            Class                Claim Detail Amount         Final Allowed Amount
Tampa ,FL 33605
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




James davis,Sr.                                   Clm No 174112    Filed In Cases: 607
7234 Mapletree Drive                              Class                Claim Detail Amount         Final Allowed Amount
Jacksonville,FL 32277
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174113    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1372 of 3075

Rita Dawkins                                      Clm No 174114    Filed In Cases: 607
7202 Hosford Road                                 Class                Claim Detail Amount         Final Allowed Amount
Quincy,FL 32351
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Rita dawson                                       Clm No 174115    Filed In Cases: 607
8947 48th street                                  Class                Claim Detail Amount         Final Allowed Amount
Live oak,FL 32060
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer, ESQ.                        Clm No 174116    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1373 of 3075

Richard Dawson                                    Clm No 174117    Filed In Cases: 607
P.O box#462                                       Class                Claim Detail Amount         Final Allowed Amount
trutle Lake,ND 58575
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174118    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174119    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1374 of 3075

Dazzo, Frank                                      Clm No 174120    Filed In Cases: 607
5220 Trenton Street                               Class                Claim Detail Amount         Final Allowed Amount
Metairie, LA 70006
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, ESQ.                        Clm No 174121    Filed In Cases: 607
600 Brickwell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
suite#3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Alphons De Vos                                    Clm No 174122    Filed In Cases: 607
P.O Box #259                                      Class                Claim Detail Amount         Final Allowed Amount
Amusville,OR 97325-0259
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                          1375 of 3075

Phyllis Dean                                       Clm No 174123    Filed In Cases: 607
18697 Grannys Brand Road                           Class                Claim Detail Amount         Final Allowed Amount
Peoples valley,AZ 86332
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Patricia Dean                                      Clm No 174124    Filed In Cases: 607
129 Pinecrest Drive                                Class                Claim Detail Amount         Final Allowed Amount
Waterbury,CT 06708
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Karen Dearmore                                     Clm No 174125    Filed In Cases: 607
510 Canyonville riddle Road                        Class                Claim Detail Amount         Final Allowed Amount
Riddle,OR 97469
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         1376 of 3075

Joan DeBarba                                      Clm No 174126    Filed In Cases: 607
17 Midwood Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Wolcott,CT 06716
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




lawrence DeBarros                                 Clm No 174127    Filed In Cases: 607
1266 River oaks Drive Apt#12C                     Class                Claim Detail Amount         Final Allowed Amount
Myrtle Beach ,SC 29579
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Helen DeBie                                       Clm No 174128    Filed In Cases: 607
14141 Dalia Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Fort Pierce,FL 34951
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




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  Claims Details                                                                                         1377 of 3075

Gladys Deboard                                    Clm No 174129    Filed In Cases: 607
5508 Clem Road                                    Class                Claim Detail Amount         Final Allowed Amount
Portage, IN 46368-1403
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Victoria Decoff                                   Clm No 174130    Filed In Cases: 607
PO Box 208                                        Class                Claim Detail Amount         Final Allowed Amount
Harmony, ME 04942
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Dusanek, Phyllis                                  Clm No 174131    Filed In Cases: 607
222 8 Street                                      Class                Claim Detail Amount         Final Allowed Amount
Fairview, NJ 07022
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                          1378 of 3075

Joy Dehan                                          Clm No 174132    Filed In Cases: 607
120 Tacome Lane                                    Class                Claim Detail Amount         Final Allowed Amount
palm beach gardens,FL 33404
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Patricia Dehetre                                   Clm No 174133    Filed In Cases: 607
PO Box 7049                                        Class                Claim Detail Amount         Final Allowed Amount
Lewiston,ME 04243
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Dehoyas, Sara                                      Clm No 174134    Filed In Cases: 607
1601 West 99th Ave.                                Class                Claim Detail Amount         Final Allowed Amount
Crown Point,IN 46307
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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Anna DeJoseph                                     Clm No 174135    Filed In Cases: 607
1056 Stonedown Lane                               Class                Claim Detail Amount         Final Allowed Amount
Stallings, NC 28104
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Finn, James                                       Clm No 174136    Filed In Cases: 607
130 Highland Oaks Court                           Class                Claim Detail Amount         Final Allowed Amount
S Lake, TX 76092
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Patricia Delaney                                  Clm No 174137    Filed In Cases: 607
41 Davis Street                                   Class                Claim Detail Amount         Final Allowed Amount
Plymouth,MA 02360
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                         1380 of 3075

Caterine Delaney                                  Clm No 174138    Filed In Cases: 607
PO Box 428                                        Class                Claim Detail Amount         Final Allowed Amount
Center Ossipee, NH 03814-0428
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Efren Delgado                                     Clm No 174139    Filed In Cases: 607
PO Box 777                                        Class                Claim Detail Amount         Final Allowed Amount
Peoria, AZ 85345
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Stephen DelGaudio                                 Clm No 174140    Filed In Cases: 607
2301 Lucaya Lane, Apartment J4                    Class                Claim Detail Amount         Final Allowed Amount
Coconut Creek, FL 33066
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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Chella, Joseph                                      Clm No 174141    Filed In Cases: 607
17 Great Pond Road                                  Class                Claim Detail Amount         Final Allowed Amount
Weymouth, MA 02190
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Joan Della Camera                                   Clm No 174142    Filed In Cases: 607
600 Washington Ave., Unit C7                        Class                Claim Detail Amount         Final Allowed Amount
North Haven, CT 06473
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Sandra DeLong                                       Clm No 174143    Filed In Cases: 607
30426 2600 North Avenue                             Class                Claim Detail Amount         Final Allowed Amount
La Moille, IL 61330
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         1382 of 3075

Delory,Denise                                     Clm No 174144    Filed In Cases: 607
PO Box 26                                         Class                Claim Detail Amount         Final Allowed Amount
Machiasport, ME 04655
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Patricia Deloughrey                               Clm No 174145    Filed In Cases: 607
45 Day St.                                        Class                Claim Detail Amount         Final Allowed Amount
N. Easton, MA 02356
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




May Delsignore                                    Clm No 174146    Filed In Cases: 607
141 Putnam Road                                   Class                Claim Detail Amount         Final Allowed Amount
Holden, MA 01520
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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Johnson, Kathleen                                    Clm No 174147    Filed In Cases: 607
21501 Homer                                          Class                Claim Detail Amount         Final Allowed Amount
Dearborn, MI 48124
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Dembowski Mills, Tracy Ann                           Clm No 174148    Filed In Cases: 607
240 Bear Creek Blvd.                                 Class                Claim Detail Amount         Final Allowed Amount
Wilkes-Barre, PA 18702
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




c/o David Jagolinzer, Esq.                           Clm No 174149    Filed In Cases: 607
600 Brickell Ave., Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




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  Claims Details                                                                                            1384 of 3075

Diane DeMelo                                         Clm No 174150    Filed In Cases: 607
12850 W. State Road 84-3-13                          Class                Claim Detail Amount         Final Allowed Amount
Davie, FL 33325
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Sandra Demers-Edwards                                Clm No 174151    Filed In Cases: 607
112 Denn Field Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Dunn, NC 28334
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




c/o David Jagolinzer, Esq.                           Clm No 174152    Filed In Cases: 607
600 Brickell Ave., Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




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c/o David Jagolinzer, Esq.                           Clm No 174153    Filed In Cases: 607
600 Brickell Ave., Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




John Dempsey                                         Clm No 174154    Filed In Cases: 607
190 Swanson Ave.                                     Class                Claim Detail Amount         Final Allowed Amount
Stratford, CT 06614
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




c/o David Jagolinzer, Esq.                           Clm No 174155    Filed In Cases: 607
600 Brickell Ave., Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




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  Claims Details                                                                                            1386 of 3075

John Dennerley                                       Clm No 174156    Filed In Cases: 607
30 Kinney Hollow Road                                Class                Claim Detail Amount         Final Allowed Amount
Union, CT 06076
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Parker, Don                                          Clm No 174157    Filed In Cases: 607
524 S. Gibson St.                                    Class                Claim Detail Amount         Final Allowed Amount
Princeton, IN 47670
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




c/o David Jagolinzer, Esq.                           Clm No 174158    Filed In Cases: 607
600 Brickell Ave., Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




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  Claims Details                                                                                         1387 of 3075

Spencer Derbidge                                  Clm No 174159    Filed In Cases: 607
2791 S. 2420 E.                                   Class                Claim Detail Amount         Final Allowed Amount
Salt Lake City, UT 84109
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Schoonover, Linda                                 Clm No 174160    Filed In Cases: 607
111 Hunters Trail                                 Class                Claim Detail Amount         Final Allowed Amount
Longwood, FL 32779
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




John Derwin                                       Clm No 174161    Filed In Cases: 607
31 Southwick Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Waterbury, CT 06705
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                            1388 of 3075

Mary Desimone                                        Clm No 174162    Filed In Cases: 607
8 Kimpall Rd.                                        Class                Claim Detail Amount         Final Allowed Amount
Lexington, MA 02421-4320
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Ellen M. Deslauriers                                 Clm No 174163    Filed In Cases: 607
14 Eagle St.                                         Class                Claim Detail Amount         Final Allowed Amount
Ware, MA 01082
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




c/o David Jagolinzer, Esq.                           Clm No 174164    Filed In Cases: 607
600 Brickell Ave., Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   6-Oct-2015
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   Claim Face Value             $10,000.00




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Frederick Deuter                                  Clm No 174165    Filed In Cases: 607
3726 E. Birchwood Ave.                            Class                Claim Detail Amount         Final Allowed Amount
Cudaly, WI 53110
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Mary Deveau                                       Clm No 174166    Filed In Cases: 607
18 Ethel St.                                      Class                Claim Detail Amount         Final Allowed Amount
Rosindale, MA 02131
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Beverly Dever                                     Clm No 174167    Filed In Cases: 607
80 N. Mill St.                                    Class                Claim Detail Amount         Final Allowed Amount
Hopkinton, MA 01748
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1390 of 3075

Mary Devincentis                                  Clm No 174168    Filed In Cases: 607
172 Budington Road                                Class                Claim Detail Amount         Final Allowed Amount
Shelton, CT 06484
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value              $1.00




Ambrose Devlin                                    Clm No 174169    Filed In Cases: 607
PO Box 124                                        Class                Claim Detail Amount         Final Allowed Amount
San Mateo, FL 32187
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value              $1.00




CHARLES DEVOE                                     Clm No 174170    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value              $1.00




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MALINDA DEWBRE                                   Clm No 174171    Filed In Cases: 607
RURAL ROUTE 2                                    Class                Claim Detail Amount         Final Allowed Amount
PO BOX 311
                                                 UNS                                $1.00
MARLOW, OK 73055
                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




DAVID HUTTON                                     Clm No 174172    Filed In Cases: 607
1205 CHERRY LANE                                 Class                Claim Detail Amount         Final Allowed Amount
MACON, MO 63552
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




LESLIE DEWITT                                    Clm No 174173    Filed In Cases: 607
2163 LIMA LOOP                                   Class                Claim Detail Amount         Final Allowed Amount
PMB071-138
                                                 UNS                                $1.00
LARAGO, TX 78045
                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




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DONALD DHEIN                                      Clm No 174174    Filed In Cases: 607
3031 32NS ST SOUTH                                Class                Claim Detail Amount         Final Allowed Amount
WISCONSIN RAPIDS, WI 54494
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




SANDRA SHINSKY                                    Clm No 174175    Filed In Cases: 607
727 N BANK LANE                                   Class                Claim Detail Amount         Final Allowed Amount
LAKE FOREST , IL 60045
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




CAROL DI PIETRANTONIO                             Clm No 174176    Filed In Cases: 607
12340 W SOMERSET DRIVE                            Class                Claim Detail Amount         Final Allowed Amount
FRANKLIN, WI 53132
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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WILLIAM DIAMOND                                  Clm No 174177    Filed In Cases: 607
2861 SOMERSET DR                                 Class                Claim Detail Amount         Final Allowed Amount
LAUDERDALE LAKES, FL 33311
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




SAVINO DIAZ                                      Clm No 174178    Filed In Cases: 607
215 E PALM AVE APT 207                           Class                Claim Detail Amount         Final Allowed Amount
TAMPA, FL 33602
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




GAIL DEBARO                                      Clm No 174179    Filed In Cases: 607
19 ROCKLAND CT                                   Class                Claim Detail Amount         Final Allowed Amount
AUBURN, MA 01501
                                                 UNS                                $1.00

                                                                                    $1.00


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  Claims Details                                                                                         1394 of 3075

VINCENT DICARLO                                   Clm No 174180    Filed In Cases: 607
17 MARTIN TERRACE                                 Class                Claim Detail Amount         Final Allowed Amount
ANSONIA, CT 06401
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




WILLIAM DICE                                      Clm No 174181    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




LAUREN DICENSO                                    Clm No 174182    Filed In Cases: 607
C/O JOSEPHINE BONO                                Class                Claim Detail Amount         Final Allowed Amount
201 CHELSEA ST., APT. 605
                                                  UNS                                $1.00
EVERETT, ma 02149
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1395 of 3075

KENNETH DICICCO                                   Clm No 174183    Filed In Cases: 607
16 WETWARD CIRCLE                                 Class                Claim Detail Amount         Final Allowed Amount
NORTH READING, MA 01864
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value              $1.00




BILLY DICKERSON                                   Clm No 174184    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value              $1.00




FRANCIEL DICKEY                                   Clm No 174185    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


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  Claims Details                                                                                         1396 of 3075

CLARANCE DICKMAN                                  Clm No 174186    Filed In Cases: 607
2117 CLAREGLEN DRIVE                              Class                Claim Detail Amount         Final Allowed Amount
APT. 204
                                                  UNS                                $1.00
CRESENT SPRINGS, KY 41017
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




FRANCIS DICKSON                                   Clm No 174187    Filed In Cases: 607
9460 DICKSON RD                                   Class                Claim Detail Amount         Final Allowed Amount
NEW CONCORD, OH 43762
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




OLIVE DICRISTOFORO                                Clm No 174188    Filed In Cases: 607
45 MELLO STREET WEST                              Class                Claim Detail Amount         Final Allowed Amount
WARWICK, RI 02893
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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SALVATORE DIFEDE                                  Clm No 174189    Filed In Cases: 607
7777 SW 86TH ST                                   Class                Claim Detail Amount         Final Allowed Amount
APT 215
                                                  UNS                          $10,000.00
MIAMI, FL 33131
                                                                               $10,000.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




DELORES DIGUADIO                                  Clm No 174190    Filed In Cases: 607
3523 FORTUNA DR                                   Class                Claim Detail Amount         Final Allowed Amount
ORANGE PARK, FL 32065
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




SUZANNE DIGNOTI                                   Clm No 174191    Filed In Cases: 607
50 MILL STREET EXTENSION                          Class                Claim Detail Amount         Final Allowed Amount
APT 211
                                                  UNS                                $1.00
NEWINGTON, CT 06111
                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         1398 of 3075

JOHN DIKUN                                        Clm No 174192    Filed In Cases: 607
600 BRICKELL AVE                                  Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




KATHY DILDY BAYLESS                               Clm No 174193    Filed In Cases: 607
BOX 212                                           Class                Claim Detail Amount         Final Allowed Amount
COUNTY RD 713
                                                  UNS                                $1.00
CORINTH, MS 38834
                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




ROSEMANY DIMIELE                                  Clm No 174194    Filed In Cases: 607
13012 S MOODY STREET                              Class                Claim Detail Amount         Final Allowed Amount
PALOS HEIGHTS, IL 600463
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         1399 of 3075

CHARLES DILL                                      Clm No 174195    Filed In Cases: 607
C/O QUEEN TARVIN                                  Class                Claim Detail Amount         Final Allowed Amount
PO BOX 261
                                                  UNS                                $1.00
PARRISH, AL 35580
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Raymond Dillard                                   Clm No 174196    Filed In Cases: 607
105 Brandi Cir                                    Class                Claim Detail Amount         Final Allowed Amount
Riggins, ID 83549
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




LOUIS DILLENBERG                                  Clm No 174197    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1400 of 3075

MARY DILLON                                       Clm No 174198    Filed In Cases: 607
131 DOWNER AVE                                    Class                Claim Detail Amount         Final Allowed Amount
HINGMAN, MA 02043
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




WAYNE DILLON                                      Clm No 174199    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value              $1.00




DON DILLON                                        Clm No 174200    Filed In Cases: 607
617 SOUTH 32RD AVE                                Class                Claim Detail Amount         Final Allowed Amount
YAKIMA, WA 98902
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                         1401 of 3075

ANTHONY DILLUVIO                                  Clm No 174201    Filed In Cases: 607
103 GEDNEY ST                                     Class                Claim Detail Amount         Final Allowed Amount
APT 4-L
                                                  UNS                          $10,000.00
NYACK, NY 10960
                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




DORTHEA DILORENZO                                 Clm No 174202    Filed In Cases: 607
175 EDDY ST                                       Class                Claim Detail Amount         Final Allowed Amount
SPRINGFIELD, MA 01104
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




JOHN DIMITRI                                      Clm No 174203    Filed In Cases: 607
6722 OHIO AVE                                     Class                Claim Detail Amount         Final Allowed Amount
HAMMOND, IN 46323
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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DENNIS DIMOND                                    Clm No 174204    Filed In Cases: 607
438 CARTIER STREET                               Class                Claim Detail Amount         Final Allowed Amount
MANCHESTER, NH 03102
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




PHILLIP DINECOLA                                 Clm No 174205    Filed In Cases: 607
11822 CLINE DR                                   Class                Claim Detail Amount         Final Allowed Amount
BAKER, LA 70714
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




RICHARD DION                                     Clm No 174206    Filed In Cases: 607
22 CENTER WOOD RD                                Class                Claim Detail Amount         Final Allowed Amount
SIMSBURY, CT 06070
                                                 UNS                                $1.00

                                                                                    $1.00


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  Claim Face Value             $1.00




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NANCY DIONNE                                     Clm No 174207    Filed In Cases: 607
44 ROLLINS RD                                    Class                Claim Detail Amount         Final Allowed Amount
ROLLINSFORD, NH 03869
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




ROBERT DISABELLA                                 Clm No 174208    Filed In Cases: 607
104 NORTH DUKE ST                                Class                Claim Detail Amount         Final Allowed Amount
HUMMELSTOWN, PA 17036
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




SYLVIA DISORI                                    Clm No 174209    Filed In Cases: 607
414 EAST SPRUCE ST                               Class                Claim Detail Amount         Final Allowed Amount
SHAMOKIN, PA 17872
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




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 Claims Details                                                                                         1404 of 3075

HILMER DITTMAR                                   Clm No 174210    Filed In Cases: 607
5090 SANDLAKE RD                                 Class                Claim Detail Amount         Final Allowed Amount
EAGLE RIVER, WI 54521
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




RUTH DIVENS                                      Clm No 174211    Filed In Cases: 607
214 BUSCH DR                                     Class                Claim Detail Amount         Final Allowed Amount
RICHLANDS, NC 28574
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




DEBRA DIVER-INGRAM                               Clm No 174212    Filed In Cases: 607
142 E SON QUIXOTE ST                             Class                Claim Detail Amount         Final Allowed Amount
PALATKA, FL 32177
                                                 UNS                                $1.00

                                                                                    $1.00


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  Claim Face Value             $1.00




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  Claims Details                                                                                         1405 of 3075

ELLEN M DIXON                                     Clm No 174213    Filed In Cases: 607
1312 CHASON RD                                    Class                Claim Detail Amount         Final Allowed Amount
GREEN COVE SPRINGS, FL 32043
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value              $1.00




JOHN DIXON                                        Clm No 174214    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value              $1.00




ARCHIE DIXON                                      Clm No 174215    Filed In Cases: 607
26651 GLENWOOD DR                                 Class                Claim Detail Amount         Final Allowed Amount
WESLEY CHAPLE, FL 33544
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value              $1.00




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CLYDE DIXON                                      Clm No 174216    Filed In Cases: 607
55845 DOGWOOD RD                                 Class                Claim Detail Amount         Final Allowed Amount
MISHAWAKA, IN 46545
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




MARGARET DOBBINS                                 Clm No 174217    Filed In Cases: 607
3460 HIGHWAY 101                                 Class                Claim Detail Amount         Final Allowed Amount
WOODRUFF, SC 29388
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




JOHN DOBBS                                       Clm No 174218    Filed In Cases: 607
6212 FOX AVENUE                                  Class                Claim Detail Amount         Final Allowed Amount
LOUISVILLE, KY 40272
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




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 Claims Details                                                                                         1407 of 3075

HOWARD DOBRINDT                                  Clm No 174219    Filed In Cases: 607
213 BUDDING RIDGE                                Class                Claim Detail Amount         Final Allowed Amount
SOUTHINGTON, CT 06489
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




ROBERT DOBSON                                    Clm No 174220    Filed In Cases: 607
PO BOX 771144                                    Class                Claim Detail Amount         Final Allowed Amount
EAGLE RIVER, AK 99577
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




ERNIE DODD                                       Clm No 174221    Filed In Cases: 607
4201 S VANCOUVER                                 Class                Claim Detail Amount         Final Allowed Amount
KENNEWICK, WA 99337
                                                 UNS                                $1.00

                                                                                    $1.00


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  Claims Details                                                                                         1408 of 3075

ROBERT DOERGER                                    Clm No 174222    Filed In Cases: 607
3302 MOONRIDGE DR                                 Class                Claim Detail Amount         Final Allowed Amount
CINCINNATI, oh 45248
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Loretta Doherty                                   Clm No 174223    Filed In Cases: 607
C/O Shawn Doherty                                 Class                Claim Detail Amount         Final Allowed Amount
62 South Acton Road
                                                  UNS                                $1.00
Stow, MA 01775
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




BEVERLY DOIRON                                    Clm No 174224    Filed In Cases: 607
10 LAVALLEY RD                                    Class                Claim Detail Amount         Final Allowed Amount
SANFORD, ME 04073
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1409 of 3075

AUDREY DOKAS                                      Clm No 174225    Filed In Cases: 607
975 CORBIN AVE                                    Class                Claim Detail Amount         Final Allowed Amount
APT 17
                                                  UNS                                $1.00
NEW BRITIAN, CT 06052
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




ANN M DOLAN                                       Clm No 174226    Filed In Cases: 607
2308 COMETYS AVE                                  Class                Claim Detail Amount         Final Allowed Amount
SCRANTON, PA 18509
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




EDMUND DOLATOWSKI                                 Clm No 174227    Filed In Cases: 607
5721 TAFT PLACE                                   Class                Claim Detail Amount         Final Allowed Amount
MERRILLVILLE, IN 46410
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1410 of 3075

RICHARD DOLBER                                    Clm No 174228    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




ANDREW DOLICH                                     Clm No 174229    Filed In Cases: 607
2717 STONEFIELD DR                                Class                Claim Detail Amount         Final Allowed Amount
FULTONDALE, AL 303368
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value              $1.00




RAYMOND DOLYAK                                    Clm No 174230    Filed In Cases: 607
85 OAK RIDGE RD                                   Class                Claim Detail Amount         Final Allowed Amount
STRATFORD, CT 06614
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1411 of 3075

EILEEN DOMBROFF                                   Clm No 174231    Filed In Cases: 607
360 NORTHHAMPTON RD                               Class                Claim Detail Amount         Final Allowed Amount
WEST PALM BEACH, FL 33417
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




JOSEPH DOMBROWSKI                                 Clm No 174232    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value              $1.00




RICHARD DOMBROWSKI                                Clm No 174233    Filed In Cases: 607
3222 MARCIN AVE                                   Class                Claim Detail Amount         Final Allowed Amount
ERIE, PA 16504
                                                  UNS                                $1.00

                                                                                     $1.00


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ARMONDO DOMINQUEZ                                 Clm No 174234    Filed In Cases: 607
241 LOGAN ST                                      Class                Claim Detail Amount         Final Allowed Amount
GREENRIVER, WY 82935
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value              $1.00




JAMES DOMORAS                                     Clm No 174235    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




BYRON DONALDSON                                   Clm No 174236    Filed In Cases: 607
220 BLAKE RD                                      Class                Claim Detail Amount         Final Allowed Amount
SAMSON, AL 36477
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1413 of 3075

BARBARA DONATACCI                                 Clm No 174237    Filed In Cases: 607
1004 REDWOOD DR                                   Class                Claim Detail Amount         Final Allowed Amount
BREINIGSVILLE, PA 18031
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




NANCY DONEGAN                                     Clm No 174238    Filed In Cases: 607
1307 PINE RIDGE                                   Class                Claim Detail Amount         Final Allowed Amount
BUSHKILL, PA 18324
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




WILLIAM DONOGHUE                                  Clm No 174239    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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JOE DONOHO                                        Clm No 174240    Filed In Cases: 607
1182 E STATE RD 38                                Class                Claim Detail Amount         Final Allowed Amount
FRANKFORT, IN 46041
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




EUGENE DONOVAN                                    Clm No 174241    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




RONALD DONOVAN                                    Clm No 174242    Filed In Cases: 607
33 SOUTH 4TH AVE                                  Class                Claim Detail Amount         Final Allowed Amount
TAFTVILLE, CT 06380
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1415 of 3075

EDWARD DONOVAN                                    Clm No 174243    Filed In Cases: 607
8 WAYNE ST                                        Class                Claim Detail Amount         Final Allowed Amount
NORWICH, CT 06360
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




JACK DONOVAN                                      Clm No 174244    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




VICTORIA DONOVAN                                  Clm No 174245    Filed In Cases: 607
47 WOODLAND ST                                    Class                Claim Detail Amount         Final Allowed Amount
LAWRENCE, MA 01841
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value              $1.00




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Roxanne Doogan                                    Clm No 174246    Filed In Cases: 607
12115 W. 179th Street                             Class                Claim Detail Amount         Final Allowed Amount
Mokena, IL 60448
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




RICHARD DOOLIN                                    Clm No 174247    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                          $10,000.00
MIAMI, FL 33131
                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




BETTY LOE DOPP                                    Clm No 174248    Filed In Cases: 607
3132 S 107TH ST                                   Class                Claim Detail Amount         Final Allowed Amount
WEST ALLIS, WI 53227
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                         1417 of 3075

JERRY HUPKE                                       Clm No 174249    Filed In Cases: 607
1313 HUNTER LN                                    Class                Claim Detail Amount         Final Allowed Amount
CELINA, TX 75009
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




GLADYS DORFMAN                                    Clm No 174250    Filed In Cases: 607
301 EAST 63RD STREET, 14G                         Class                Claim Detail Amount         Final Allowed Amount
NEW YORK CITY, NY 10021
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




JOSEPHINE DORSE                                   Clm No 174251    Filed In Cases: 607
17210 SW 121 AVE                                  Class                Claim Detail Amount         Final Allowed Amount
MIAMI, FL 33177
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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HELEN DOSTIE                                      Clm No 174252    Filed In Cases: 607
PO BOX 377                                        Class                Claim Detail Amount         Final Allowed Amount
SANFORD, ME 04073
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




EARL DOUD                                         Clm No 174253    Filed In Cases: 607
125 RYE BLUFF #211                                Class                Claim Detail Amount         Final Allowed Amount
BLACK RIVER FALLS, WI 54615
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




ARTHUR DOUGHERTY                                  Clm No 174254    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                          $10,000.00
MIAMI, FL 33131
                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                         1419 of 3075

JOHN DOUGLAS                                      Clm No 174255    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




ROSA DOUGLAS                                      Clm No 174256    Filed In Cases: 607
3402 N 48TH STREET                                Class                Claim Detail Amount         Final Allowed Amount
TAMPA, FL 33605
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value              $1.00




ARLENE DOUYLLIEZ                                  Clm No 174257    Filed In Cases: 607
511 MYRTLE AVE                                    Class                Claim Detail Amount         Final Allowed Amount
GREENCOVE SPRINGS, FL 32043
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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THERESA DOW                                      Clm No 174258    Filed In Cases: 607
12 GREENWOOD AVE                                 Class                Claim Detail Amount         Final Allowed Amount
E WEYMOUTH, MA 02189
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




TERRY LYNN                                       Clm No 174259    Filed In Cases: 607
36 MOCKINGBIRD LN                                Class                Claim Detail Amount         Final Allowed Amount
LAKE ARIEL, PA 18436
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




REFENIA DOWLING                                  Clm No 174260    Filed In Cases: 607
591 STEWART ST                                   Class                Claim Detail Amount         Final Allowed Amount
RIDGEFIELD, NJ 07657
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




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  Claims Details                                                                                         1421 of 3075

LOUIS DOWLING                                     Clm No 174261    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




NAOMI DOWNING                                     Clm No 174262    Filed In Cases: 607
740 MCcARGO ST SOUTH                              Class                Claim Detail Amount         Final Allowed Amount
JACKSONVILLE, FL 32221
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




TERRY DOWNES                                      Clm No 174263    Filed In Cases: 607
8812 S SHADOW BAY DR                              Class                Claim Detail Amount         Final Allowed Amount
ORLANDO, FL 32825
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1422 of 3075

SANDRA GUIBORD                                    Clm No 174264    Filed In Cases: 607
PO BOX 139                                        Class                Claim Detail Amount         Final Allowed Amount
BRISTOL, ME 04539
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




BOBBY DOWNS                                       Clm No 174265    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




LEO DOYLE                                         Clm No 174266    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1423 of 3075

EVERETT DOZIER                                    Clm No 174267    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value              $1.00




IRENE DRAPEAU                                     Clm No 174268    Filed In Cases: 607
152 LOWELL ST                                     Class                Claim Detail Amount         Final Allowed Amount
ROCHEST, NH 03867
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




JACOB DRAUS                                       Clm No 174269    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1424 of 3075

ROGER DRESSEL                                     Clm No 174270    Filed In Cases: 607
10520 COUNTY HIGHWAY K                            Class                Claim Detail Amount         Final Allowed Amount
CADOTT, WI 54727
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




JOHN DREW                                         Clm No 174271    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE., SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




RAY DREW                                          Clm No 174272    Filed In Cases: 607
50 NORTH MANTOR AVE                               Class                Claim Detail Amount         Final Allowed Amount
TITUSVILLE, FL 32796
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1425 of 3075

NANCY DRIGGERS                                    Clm No 174273    Filed In Cases: 607
1201 JORDAN LOOP                                  Class                Claim Detail Amount         Final Allowed Amount
OKEECHOBEE, FL 34974
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




DEANNE FLINT                                      Clm No 174274    Filed In Cases: 607
555 NORTH VENTERAL ST EAST                        Class                Claim Detail Amount         Final Allowed Amount
BRIDGEWATER, MA 02333
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




SWANICE DRUMMOND                                  Clm No 174275    Filed In Cases: 607
1217 W MILLMAN                                    Class                Claim Detail Amount         Final Allowed Amount
PEORIA, IL 61605
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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JAMES DRURY                                      Clm No 174276    Filed In Cases: 607
38 CLIFFSIDE DR                                  Class                Claim Detail Amount         Final Allowed Amount
WALLINGFORD, CT 06492
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




THOMAS DRY                                       Clm No 174277    Filed In Cases: 607
9715 N EDNA ST                                   Class                Claim Detail Amount         Final Allowed Amount
SPOKANE, WA 99208
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




GLORIA DUBE                                      Clm No 174278    Filed In Cases: 607
656 MERIDEN WATERBURY TURNPIKE                   Class                Claim Detail Amount         Final Allowed Amount
SOUTHINGTON, CT 06489
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




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  Claims Details                                                                                           1427 of 3075

Sonya Dube                                          Clm No 174279    Filed In Cases: 607
55 Bernis St                                        Class                Claim Detail Amount         Final Allowed Amount
Berlin, NH 03570
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Eunice Dubose                                       Clm No 174280    Filed In Cases: 607
3300 Joe Ashton Road                                Class                Claim Detail Amount         Final Allowed Amount
Lot H
                                                    UNS                                $1.00
St. Augustine, FL 32092-2525
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 174281    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                     Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


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Lavoie, Doris                                      Clm No 174282    Filed In Cases: 607
56 Sebbins Pond Drive                              Class                Claim Detail Amount         Final Allowed Amount
Bedford, NH 03110
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174283    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




David Dudley                                       Clm No 174284    Filed In Cases: 607
3935 Fallon Drive                                  Class                Claim Detail Amount         Final Allowed Amount
West Richland, WA 99352
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          1429 of 3075

Marlene Duffy                                      Clm No 174285    Filed In Cases: 607
290 Winslow Street                                 Class                Claim Detail Amount         Final Allowed Amount
Marshfield, MA 02050
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174286    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Mary Duke                                          Clm No 174287    Filed In Cases: 607
2023 Dellwood Avenue                               Class                Claim Detail Amount         Final Allowed Amount
JACKSONVILLE, FL 32204
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          1430 of 3075

Bowie, Arthur                                      Clm No 174288    Filed In Cases: 607
1218 Crescent Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Anniston, AL 36207
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Johney Dumas                                       Clm No 174289    Filed In Cases: 607
1850 Sonny Mixon Road                              Class                Claim Detail Amount         Final Allowed Amount
Slocomb, AL 36375
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174290    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          1431 of 3075

c/o David Jagolinzer, Esq.                         Clm No 174291    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Lyle Dunigan                                       Clm No 174292    Filed In Cases: 607
2700 Old Hobart Road                               Class                Claim Detail Amount         Final Allowed Amount
Lake Station, IN 46405
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Gary Dunlap                                        Clm No 174293    Filed In Cases: 607
6775 Sunnydell Drive                               Class                Claim Detail Amount         Final Allowed Amount
Hueytown, AL 35023
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         1432 of 3075

GEORGE Dunleavy                                   Clm No 174294    Filed In Cases: 607
114 Pisgah Road                                   Class                Claim Detail Amount         Final Allowed Amount
Oxford, CT 06478
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Mary Ellen                                        Clm No 174295    Filed In Cases: 607
37 Burt Road                                      Class                Claim Detail Amount         Final Allowed Amount
Westhampton, MA 01027
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




ROBERT Dunn                                       Clm No 174296    Filed In Cases: 607
68 Maple Street                                   Class                Claim Detail Amount         Final Allowed Amount
Seymour, CT 06483-3655
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1433 of 3075

Dorothy Dunn                                      Clm No 174297    Filed In Cases: 607
12816 Clet Harvey Road                            Class                Claim Detail Amount         Final Allowed Amount
Glen St. Mary, FL 32040
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Linda Dunn                                        Clm No 174298    Filed In Cases: 607
129 Rainbow Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Nicholasville, KY 40356
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




EDMUND Dunn                                       Clm No 174299    Filed In Cases: 607
119293 German Guloch Rd                           Class                Claim Detail Amount         Final Allowed Amount
Siverbow, MT 59750
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1434 of 3075

John Dunn                                         Clm No 174300    Filed In Cases: 607
2035 Highway 92 South                             Class                Claim Detail Amount         Final Allowed Amount
Fayetteville, GA 30215
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Clarence Dunston                                  Clm No 174301    Filed In Cases: 607
2632 Holland Street                               Class                Claim Detail Amount         Final Allowed Amount
Erie, PA 16509
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Cynthia Duoba                                     Clm No 174302    Filed In Cases: 607
331 Littleton Road                                Class                Claim Detail Amount         Final Allowed Amount
Harvard, MA 01451
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                          1435 of 3075

c/o David Jagolinzer, Esq.                         Clm No 174303    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




RONALD Dupont                                      Clm No 174304    Filed In Cases: 607
51 Glenwood Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Leominster, MA 01453
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Barbara Dupont                                     Clm No 174305    Filed In Cases: 607
94 Wilsonville Road                                Class                Claim Detail Amount         Final Allowed Amount
N. Grosvenordl, CT 06255-1224
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          1436 of 3075

Suzanne Durand                                     Clm No 174306    Filed In Cases: 607
1246 Springdale Drive                              Class                Claim Detail Amount         Final Allowed Amount
Rochelle, IL 61068
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174307    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174308    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                          1437 of 3075

Geraldine Dushaw                                   Clm No 174309    Filed In Cases: 607
18150 Logan Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Walton Hill, OH 44146
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174310    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Barbara Dutcher                                    Clm No 174311    Filed In Cases: 607
6 Trelane Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Springvale, ME 04083
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          1438 of 3075

Alicer Dwyer                                       Clm No 174312    Filed In Cases: 607
23 Ramkin Street                                   Class                Claim Detail Amount         Final Allowed Amount
Worcester, MA 01605
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Jimmie Dycus                                       Clm No 174313    Filed In Cases: 607
273 Stoneridge Court                               Class                Claim Detail Amount         Final Allowed Amount
Chesterton, IN 46304
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174314    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          1439 of 3075

c/o David Jagolinzer, Esq.                         Clm No 174315    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Robert Dyjak                                       Clm No 174316    Filed In Cases: 607
77 Atwoodville Road                                Class                Claim Detail Amount         Final Allowed Amount
Mansfield Center, CT 06250
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Tommy Dykes                                        Clm No 174317    Filed In Cases: 607
PO Box 654                                         Class                Claim Detail Amount         Final Allowed Amount
Estero, FL 33928
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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  Claims Details                                                                                          1440 of 3075

c/o David Jagolinzer, Esq.                         Clm No 174318    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174319    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Llyod Earle                                        Clm No 174320    Filed In Cases: 607
34 Highland Street                                 Class                Claim Detail Amount         Final Allowed Amount
Hammond, IN 46320
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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c/o David Jagolinzer, Esq.                         Clm No 174321    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




c/o David Jagolinzer, Esq.                         Clm No 174322    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Michael Easterlin                                  Clm No 174323    Filed In Cases: 607
9 Hearthstone Drive                                Class                Claim Detail Amount         Final Allowed Amount
Franklin, CT 06254
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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c/o David Jagolinzer, Esq.                          Clm No 174324    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                     Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                 $1.00




Mary Eastwood                                       Clm No 174325    Filed In Cases: 607
400 Hunting Club Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Clewiston, FL 33440
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Charles Eastwood                                    Clm No 174326    Filed In Cases: 607
21 Brophy Way, Lot 16 Shady drive                   Class                Claim Detail Amount         Final Allowed Amount
Shady Cove, OR 97539
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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Eatman-Daniels Danita                             Clm No 174327    Filed In Cases: 607
3075 Tussahaw Crossing                            Class                Claim Detail Amount         Final Allowed Amount
Mcdonough, GA 30253
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Shirley Eaton                                     Clm No 174328    Filed In Cases: 607
103 Village Ct, Lot 76                            Class                Claim Detail Amount         Final Allowed Amount
Winter Haven, FL 33880
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Clifton Ebarb                                     Clm No 174329    Filed In Cases: 607
1279 North Line Lane                              Class                Claim Detail Amount         Final Allowed Amount
Las Vegas, NV 89110
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                          1444 of 3075

Geraldine Ebler                                    Clm No 174330    Filed In Cases: 607
734 Fuller Road                                    Class                Claim Detail Amount         Final Allowed Amount
Gurnee, IL 60031
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Ecker-Anderson Elizabeth                           Clm No 174331    Filed In Cases: 607
2124 NW 36th Way                                   Class                Claim Detail Amount         Final Allowed Amount
Jenning, FL 32053
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174332    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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c/o David Jagolinzer, Esq.                         Clm No 174333    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Olive Edgell                                       Clm No 174334    Filed In Cases: 607
34212A Canal Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Pinellas Park, FL 33781
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Roger Edgerton                                     Clm No 174335    Filed In Cases: 607
PO Box 80102                                       Class                Claim Detail Amount         Final Allowed Amount
Fairbanks, AK 99708
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          1446 of 3075

c/o David Jagolinzer, Esq.                         Clm No 174336    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Martha Edwards                                     Clm No 174337    Filed In Cases: 607
PO Box 09796                                       Class                Claim Detail Amount         Final Allowed Amount
Milawaukee, WI 5309
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Edwards, Ruby                                      Clm No 174338    Filed In Cases: 607
3297 Dam Road                                      Class                Claim Detail Amount         Final Allowed Amount
PO Box 227
                                                   UNS                                $1.00
Errol, NH 03579
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          1447 of 3075

c/o David Jagolinzer, Esq.                         Clm No 174339    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174340    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Edwards, Brian                                     Clm No 174341    Filed In Cases: 607
159 West Palfrey                                   Class                Claim Detail Amount         Final Allowed Amount
San Antonio, TX 78223
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          1448 of 3075

Edward Edwards                                     Clm No 174342    Filed In Cases: 607
209 Douglass                                       Class                Claim Detail Amount         Final Allowed Amount
Richland, WA 99352
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Phillip Edwards                                    Clm No 174343    Filed In Cases: 607
PO Box 59306                                       Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32856
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174344    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                           1449 of 3075

Russell Ehlert                                      Clm No 174345    Filed In Cases: 607
8950 Veterans Memorial Drive                        Class                Claim Detail Amount         Final Allowed Amount
Miccosukee, FL 32309
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Ronnell Eland                                       Clm No 174346    Filed In Cases: 607
1522 Jefferson                                      Class                Claim Detail Amount         Final Allowed Amount
PO Box 318
                                                    UNS                                $1.00
Montezuma, IN 47862
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




William Elder                                       Clm No 174347    Filed In Cases: 607
2225 Hayden Bridge Road                             Class                Claim Detail Amount         Final Allowed Amount
Owensboro, KU 42301
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         1450 of 3075

William Elder                                     Clm No 174348    Filed In Cases: 607
4135 Ivy Street                                   Class                Claim Detail Amount         Final Allowed Amount
East Chicago, IN 46312
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Elderkin, Ruby                                    Clm No 174349    Filed In Cases: 607
6091 SE 148 Terr.                                 Class                Claim Detail Amount         Final Allowed Amount
Morriston, FL 32668
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Eldredge, David                                   Clm No 174350    Filed In Cases: 607
925 W. Governor Street                            Class                Claim Detail Amount         Final Allowed Amount
Springfield, IL 62704
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                         1451 of 3075

Grace Elridge                                     Clm No 174351    Filed In Cases: 607
2010 N. Highway 181                               Class                Claim Detail Amount         Final Allowed Amount
Westville, FL 32464
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Herlindo Elias                                    Clm No 174352    Filed In Cases: 607
4028 Carey Street                                 Class                Claim Detail Amount         Final Allowed Amount
East Chicago, IN 46312
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Elipolus, Constance                               Clm No 174353    Filed In Cases: 607
94 Elm Street                                     Class                Claim Detail Amount         Final Allowed Amount
Worcester, MA 01609
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1452 of 3075

Larry Eller                                       Clm No 174354    Filed In Cases: 607
PO Box 1186                                       Class                Claim Detail Amount         Final Allowed Amount
Copperhill, TN 37317
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Betty Elliott                                     Clm No 174355    Filed In Cases: 607
1620 S. Walker Road                               Class                Claim Detail Amount         Final Allowed Amount
Brimley, MI 49715
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Glen Elliott                                      Clm No 174356    Filed In Cases: 607
E. 4915 Big Meadows Road                          Class                Claim Detail Amount         Final Allowed Amount
Chattaroy, WA 99003
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         1453 of 3075

James Elliott                                     Clm No 174357    Filed In Cases: 607
3115 Kanas Street                                 Class                Claim Detail Amount         Final Allowed Amount
Paducah, KY 42001
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Mary Ellis                                        Clm No 174358    Filed In Cases: 607
10059 South Indiana Avenue                        Class                Claim Detail Amount         Final Allowed Amount
Chicago, IL 60628
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Eugene Ellis                                      Clm No 174359    Filed In Cases: 607
PO Box 481                                        Class                Claim Detail Amount         Final Allowed Amount
Camp Hill, AL 36850
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                          1454 of 3075

c/o David Jagolinzer, Esq.                         Clm No 174360    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174361    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Judith Ellis                                       Clm No 174362    Filed In Cases: 607
38 Brookside Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Wilbraham, MA 01095
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          1455 of 3075

Ann Ellison                                        Clm No 174363    Filed In Cases: 607
459 South 9th Street                               Class                Claim Detail Amount         Final Allowed Amount
Elko, NV 89801
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




c/o David Jagolinzer, Esq.                         Clm No 174364    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




James Ely                                          Clm No 174365    Filed In Cases: 607
2170 South Street                                  Class                Claim Detail Amount         Final Allowed Amount
Oviedo, FL 32765
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                           1456 of 3075

Dixie Emerson                                       Clm No 174366    Filed In Cases: 607
123 Granary Road                                    Class                Claim Detail Amount         Final Allowed Amount
Kalispell, MT 59901-2765
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Thomas Enderson                                     Clm No 174367    Filed In Cases: 607
14031 Street Hwy. 178                               Class                Claim Detail Amount         Final Allowed Amount
Jim Falls, WI 54748
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174368    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami FL, 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                            1457 of 3075

James Allred                                         Clm No 174369    Filed In Cases: 607
11350 Randion Hills Road Suite 700                   Class                Claim Detail Amount         Final Allowed Amount
Fairfax, VA 22030
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                  $1.00




c/o David Jagolinzer, Esq                            Clm No 174370    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                     Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Michael Robert English                               Clm No 174371    Filed In Cases: 607
209 Ireland Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Cincinnatti, Oh 45218
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                  $1.00




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  Claims Details                                                                                           1458 of 3075

Mary English                                        Clm No 174372    Filed In Cases: 607
12757 Railroad Street                               Class                Claim Detail Amount         Final Allowed Amount
Live Oak, FL 32060
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




James Enright                                       Clm No 174373    Filed In Cases: 607
101 Sugarhill Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Grantville SC 29829
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174374    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami FL, 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                           1459 of 3075

Rita Alexander                                      Clm No 174375    Filed In Cases: 607
15964 E. Bates Place                                Class                Claim Detail Amount         Final Allowed Amount
Aurora, CO 80013
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174376    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami FL, 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Eleanor Erdman                                      Clm No 174377    Filed In Cases: 607
2600 Harden Blvd #322                               Class                Claim Detail Amount         Final Allowed Amount
Lakerland, FL 33807
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                           1460 of 3075

c/o David Jagolinzer, Esq                           Clm No 174378    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami FL, 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




Arthur Erickson                                     Clm No 174379    Filed In Cases: 607
442 Pembroke Road                                   Class                Claim Detail Amount         Final Allowed Amount
Valparaiso, IN 46383-0000
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Nacy Hilzinger- Erts                                Clm No 174380    Filed In Cases: 607
1905 Robalo Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Vero Beach, FL 32960
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


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   Claim Face Value          $10,000.00




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  Claims Details                                                                                           1461 of 3075

c/o David Jagolinzer, Esq                           Clm No 174381    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami FL, 33131
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


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   Claim Face Value          $10,000.00




c/o David Jagolinzer, Esq                           Clm No 174382    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami FL, 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




Esse, Peter                                         Clm No 174383    Filed In Cases: 607
103 Corrinne Court                                  Class                Claim Detail Amount         Final Allowed Amount
San Ramon, CA 94583
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                           1462 of 3075

Bert Estep                                          Clm No 174384    Filed In Cases: 607
1321 171st Place                                    Class                Claim Detail Amount         Final Allowed Amount
Hammod, IN 46324
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Margaret Ethier                                     Clm No 174385    Filed In Cases: 607
803 Cottage St                                      Class                Claim Detail Amount         Final Allowed Amount
Pawtucket, RI 02861
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174386    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                         1463 of 3075

Decurtis Eubanks                                  Clm No 174387    Filed In Cases: 607
775 E. Decatur Street                             Class                Claim Detail Amount         Final Allowed Amount
Decatur, IL62521
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Donald Eustice                                    Clm No 174388    Filed In Cases: 607
1150 West Platinum                                Class                Claim Detail Amount         Final Allowed Amount
Butte, MT 59701
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Odessa Evans                                      Clm No 174389    Filed In Cases: 607
2740 Evergreen Lane                               Class                Claim Detail Amount         Final Allowed Amount
East Chicago, IN 46312
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                           1464 of 3075

Janet Evens                                         Clm No 174390    Filed In Cases: 607
41 N. Spencer Road                                  Class                Claim Detail Amount         Final Allowed Amount
Spencer, MA 01562
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174391    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami FL, 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




John Evans                                          Clm No 174392    Filed In Cases: 607
7951 Pinncake Ave NE                                Class                Claim Detail Amount         Final Allowed Amount
Elm River, MN 55330
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                         1465 of 3075

Jesse Evans                                       Clm No 174393    Filed In Cases: 607
P.O. Box 344                                      Class                Claim Detail Amount         Final Allowed Amount
Ellenwood, GA 30294-000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Mike Evanyo                                       Clm No 174394    Filed In Cases: 607
7479 Broadway                                     Class                Claim Detail Amount         Final Allowed Amount
Merrilville, In 46410
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Catherine Evarts                                  Clm No 174395    Filed In Cases: 607
774 Laurel Street                                 Class                Claim Detail Amount         Final Allowed Amount
East Haven, CT 06512
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                           1466 of 3075

Irene Evascher                                      Clm No 174396    Filed In Cases: 607
1830 Rodman Street                                  Class                Claim Detail Amount         Final Allowed Amount
Hollywood, FL 33020
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Carl Everman                                        Clm No 174397    Filed In Cases: 607
12 Coral Road                                       Class                Claim Detail Amount         Final Allowed Amount
Grayson, KY 41143
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174398    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                           1467 of 3075

Richard Ewing                                       Clm No 174399    Filed In Cases: 607
1829 Pleasantview Drive East                        Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, Fl 32225
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Margaret Ann                                        Clm No 174400    Filed In Cases: 607
167 Mildred Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Springfield, MA 01104
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Lynn Facenda                                        Clm No 174401    Filed In Cases: 607
46 Delawan Avenue,                                  Class                Claim Detail Amount         Final Allowed Amount
West Hacen, CT 06516
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                         1468 of 3075

Mary Fachko                                       Clm No 174402    Filed In Cases: 607
45088 Zidell Road                                 Class                Claim Detail Amount         Final Allowed Amount
Callahan, FL 32011
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Ruth Faddish                                      Clm No 174403    Filed In Cases: 607
116 Ohio Road                                     Class                Claim Detail Amount         Final Allowed Amount
Lake Worth, FL 33467
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Arlene Faehnrich                                  Clm No 174404    Filed In Cases: 607
2400W. Talcott Road                               Class                Claim Detail Amount         Final Allowed Amount
Park Ridge, IL 60068-3771
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                           1469 of 3075

Robert Fahey                                        Clm No 174405    Filed In Cases: 607
35 B Brook Wood Drive                               Class                Claim Detail Amount         Final Allowed Amount
Rocky Hill, CT 06067
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




John Fainer                                         Clm No 174406    Filed In Cases: 607
3 Oakwood drive                                     Class                Claim Detail Amount         Final Allowed Amount
Semour, CT 06483
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174407    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                           1470 of 3075

Joseph Falduto                                      Clm No 174408    Filed In Cases: 607
4834 North 74th Place                               Class                Claim Detail Amount         Final Allowed Amount
Scottsdale, AZ 85251-0000
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174409    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




John Fantozzi                                       Clm No 174410    Filed In Cases: 607
77 Whitney Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Meriden, CT 06450
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                           1471 of 3075

c/o David Jagolinzer, Esq                           Clm No 174411    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Alda Farone                                         Clm No 174412    Filed In Cases: 607
10 Bailey Ave                                       Class                Claim Detail Amount         Final Allowed Amount
Wallington, CT 06492
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Darrell Farr                                        Clm No 174413    Filed In Cases: 607
1511 South 16th Street                              Class                Claim Detail Amount         Final Allowed Amount
Manitowoc, WI 06492
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                           1472 of 3075

c/o David Jagolinzer, Esq                           Clm No 174414    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174415    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Nieves, Filomena                                    Clm No 174416    Filed In Cases: 607
459 Shasta Drive, Apt# 303                          Class                Claim Detail Amount         Final Allowed Amount
Bridgewater, NY 08807
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                           1473 of 3075

Darlene Faucher                                     Clm No 174417    Filed In Cases: 607
18 Sizer Drive                                      Class                Claim Detail Amount         Final Allowed Amount
Wales, MA 01081
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Kristie Faultersack                                 Clm No 174418    Filed In Cases: 607
81529 46th Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Coloma, MI 49038
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174419    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                         1474 of 3075

Guerra,Ellen                                      Clm No 174420    Filed In Cases: 607
93 Winter Street,                                 Class                Claim Detail Amount         Final Allowed Amount
Bridgewater, NY 02333
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Sandra Fear                                       Clm No 174421    Filed In Cases: 607
510 E. 3rd Street                                 Class                Claim Detail Amount         Final Allowed Amount
Momence, IL 60954
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Andrew Feick                                      Clm No 174422    Filed In Cases: 607
3602 Lansing Way                                  Class                Claim Detail Amount         Final Allowed Amount
Erie, PA 16506
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                           1475 of 3075

Fein, Michelle                                      Clm No 174423    Filed In Cases: 607
605 Congressional Way                               Class                Claim Detail Amount         Final Allowed Amount
Deerfield Beach, Fl
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer, Esq                           Clm No 174424    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami FL, 33131
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




Felder,Theresa                                      Clm No 174425    Filed In Cases: 607
2377 cameden Highway                                Class                Claim Detail Amount         Final Allowed Amount
Bishopville, SC 29010
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                         1476 of 3075

Shelley Felske                                    Clm No 174426    Filed In Cases: 607
28848 E 1870th Street                             Class                Claim Detail Amount         Final Allowed Amount
Erie, IL 61250
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Richard Felton                                    Clm No 174427    Filed In Cases: 607
3225 Sixth Street, #22                            Class                Claim Detail Amount         Final Allowed Amount
Lewiston, ID 72401
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Anna M. Fenuccio                                  Clm No 174428    Filed In Cases: 607
84 Angel Brook Drive                              Class                Claim Detail Amount         Final Allowed Amount
W. Boylston, MA 01583
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1477 of 3075

Dolores Fergus                                    Clm No 174429    Filed In Cases: 607
3031 Southwood Drive                              Class                Claim Detail Amount         Final Allowed Amount
Racine WI 53406
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Ferguson, Ruth                                    Clm No 174430    Filed In Cases: 607
306 Grand Avenue,                                 Class                Claim Detail Amount         Final Allowed Amount
Loves Park, IL 61111
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




John Ferguson                                     Clm No 174431    Filed In Cases: 607
P.O. Box 2673                                     Class                Claim Detail Amount         Final Allowed Amount
Joliet, IL 60434-2673
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                            1478 of 3075

Magaly Fernandez                                     Clm No 174432    Filed In Cases: 607
3220 NW 14th Terrace                                 Class                Claim Detail Amount         Final Allowed Amount
Miami FL, 33125
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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Joseph Fernicola                                     Clm No 174433    Filed In Cases: 607
211 East Main Street Apt. 36C                        Class                Claim Detail Amount         Final Allowed Amount
Branford, CT 06405
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




c/o David Jagolinzer, Esq                            Clm No 174434    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                     Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                     UNS                                $1.00

                                                                                        $1.00


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   Claim Face Value                  $1.00




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  Claims Details                                                                                            1479 of 3075

Jack Ferraiolo                                       Clm No 174435    Filed In Cases: 607
2 Damen Drive                                        Class                Claim Detail Amount         Final Allowed Amount
East Haven, CT 06512
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Fred Ferraro                                         Clm No 174436    Filed In Cases: 607
388 Courtland Avenue, Apt.3-C                        Class                Claim Detail Amount         Final Allowed Amount
Standford, CT 06906
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Priscilla Ferrell                                    Clm No 174437    Filed In Cases: 607
3874 East Arbor Lakes Drive                          Class                Claim Detail Amount         Final Allowed Amount
Hernando, Fl 34442
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




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  Claims Details                                                                                           1480 of 3075

Lori Ferrell                                        Clm No 174438    Filed In Cases: 607
1100 Biscayne Blvd Apt #2201                        Class                Claim Detail Amount         Final Allowed Amount
Miami,Fl 33132
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Salvador Ferreri                                    Clm No 174439    Filed In Cases: 607
8407 East Angus Drive                               Class                Claim Detail Amount         Final Allowed Amount
Scottsdale, AZ 85251-0000
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Frances Ferris                                      Clm No 174440    Filed In Cases: 607
8381 Johnson Street                                 Class                Claim Detail Amount         Final Allowed Amount
Pembroke Pines, FL 33024
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         1481 of 3075

Anne Fettig                                       Clm No 174441    Filed In Cases: 607
3850 Douglas Road                                 Class                Claim Detail Amount         Final Allowed Amount
Downers Grove, IL 60515
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




James Fiane                                       Clm No 174442    Filed In Cases: 607
1255 Bens Way                                     Class                Claim Detail Amount         Final Allowed Amount
Kaukauna, WI 54130
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Martin Fick                                       Clm No 174443    Filed In Cases: 607
3260 Whittier Street                              Class                Claim Detail Amount         Final Allowed Amount
Portage, IN
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                            1482 of 3075

Joyce Ficklin                                        Clm No 174444    Filed In Cases: 607
184 Southwest Tall Pine Court                        Class                Claim Detail Amount         Final Allowed Amount
Lake City, FL 302024
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Fidler-Dorn, Rita                                    Clm No 174445    Filed In Cases: 607
7441 SW 129th Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Miami Fl, 33183
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value             $10,000.00




Ida Fidlin                                           Clm No 174446    Filed In Cases: 607
P.O. Box 784                                         Class                Claim Detail Amount         Final Allowed Amount
Waldport, OR 97394
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




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  Claims Details                                                                                           1483 of 3075

c/o David Jagolinzer, Esq                           Clm No 174447    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami,Fl 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Debra Feilding                                      Clm No 174448    Filed In Cases: 607
42 Rock Hill St                                     Class                Claim Detail Amount         Final Allowed Amount
MedFord, MA 02155
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer, Esq                           Clm No 174449    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami,Fl 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                           1484 of 3075

Arthur Fields                                       Clm No 174450    Filed In Cases: 607
545 Licoln Street                                   Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46402
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174451    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Howard Fields                                       Clm No 174452    Filed In Cases: 607
701 Pennyroyal Place                                Class                Claim Detail Amount         Final Allowed Amount
Brandon, FL 33510-2976
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                           1485 of 3075

c/o David Jagolinzer, Esq                           Clm No 174453    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174454    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Donald Fifield                                      Clm No 174455    Filed In Cases: 607
6214 East Minten Place                              Class                Claim Detail Amount         Final Allowed Amount
Mesa, AZ 85215
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                           1486 of 3075

c/o David Jagolinzer, Esq                           Clm No 174456    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Anna Figg                                           Clm No 174457    Filed In Cases: 607
526 N. Utah                                         Class                Claim Detail Amount         Final Allowed Amount
Davenport, IA 52804
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Ebert Fike                                          Clm No 174458    Filed In Cases: 607
252 Lowell Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Yuma, AZ 85364
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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  Claims Details                                                                                           1487 of 3075

Arthur Filardi                                      Clm No 174459    Filed In Cases: 607
1744 S.E. Manth Lane                                Class                Claim Detail Amount         Final Allowed Amount
Port St. Lucie, FL 34983
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Betty File                                          Clm No 174460    Filed In Cases: 607
212 Redwood Street                                  Class                Claim Detail Amount         Final Allowed Amount
Harrisburg, PA 17109
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174461    Filed In Cases: 607
600 Brickwell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami,Fl 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                         1488 of 3075

Nancy Fillingim                                   Clm No 174462    Filed In Cases: 607
3098 Highway 196                                  Class                Claim Detail Amount         Final Allowed Amount
Molino, FL 32577
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Claudia FilsAime                                  Clm No 174463    Filed In Cases: 607
1590 NW 123rd Street                              Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33167
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Karey Finch                                       Clm No 174464    Filed In Cases: 607
2100 Rambo Avenue S.W.                            Class                Claim Detail Amount         Final Allowed Amount
Birmingham, AL 35211
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                           1489 of 3075

c/o David Jagolinzer, Esq                           Clm No 174465    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Jody Finch-Milliken                                 Clm No 174466    Filed In Cases: 607
PSC 500 Box 20                                      Class                Claim Detail Amount         Final Allowed Amount
FPO, AP 96515
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Harvey Fine                                         Clm No 174467    Filed In Cases: 607
8441 Leeway Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Boynton Beach, FL 33436
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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c/o David Jagolinzer, Esq                           Clm No 174468    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
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   Claim Face Value            $10,000.00




Russell Fink                                        Clm No 174469    Filed In Cases: 607
3472 South 16 Street                                Class                Claim Detail Amount         Final Allowed Amount
Milwaukee, IL 53215
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Robert Fioravanti                                   Clm No 174470    Filed In Cases: 607
15600 University Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Dolton, IL 60419
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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  Claims Details                                                                                           1491 of 3075

Francesco Fioretti                                  Clm No 174471    Filed In Cases: 607
5026 Exeter Road                                    Class                Claim Detail Amount         Final Allowed Amount
Erie, PA 16509
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174472    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174473    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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c/o David Jagolinzer, Esq                           Clm No 174474    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Alfred Fiscus                                       Clm No 174475    Filed In Cases: 607
2665 Airport Road                                   Class                Claim Detail Amount         Final Allowed Amount
Portage, IN 46368
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Jack Fish                                           Clm No 174476    Filed In Cases: 607
700 Badrock Dr                                      Class                Claim Detail Amount         Final Allowed Amount
Columbia Falls, MT 59912
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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Fisher, Joseph                                    Clm No 174477    Filed In Cases: 607
1524 Lokhorst Street                              Class                Claim Detail Amount         Final Allowed Amount
Balwin, WI 54002
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Betty Fisher                                      Clm No 174478    Filed In Cases: 607
13701 S.W. 12th St. #A-114                        Class                Claim Detail Amount         Final Allowed Amount
Pembroke Pines, FL 33027
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Carol Fisher                                      Clm No 174479    Filed In Cases: 607
212 Colfax Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Scranton, PA 18510
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value          $10,000.00




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  Claims Details                                                                                           1494 of 3075

c/o David Jagolinzer, Esq                           Clm No 174480    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Virginia Fisk                                       Clm No 174481    Filed In Cases: 607
35844 East Lake Seneca                              Class                Claim Detail Amount         Final Allowed Amount
Eustis, FL 32736
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Fitzgerald, Donna                                   Clm No 174482    Filed In Cases: 607
590 Wintrhrop Street                                Class                Claim Detail Amount         Final Allowed Amount
Taunton, MA 02780
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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Flack, Deborah                                      Clm No 174483    Filed In Cases: 607
2593 Alesandro Blvd.                                Class                Claim Detail Amount         Final Allowed Amount
Harrisburg, PA 17110
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174484    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




James Flanagan                                      Clm No 174485    Filed In Cases: 607
11203 American Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32218
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                           1496 of 3075

Nelson Flanigan                                     Clm No 174486    Filed In Cases: 607
510 Goshen Hill Road                                Class                Claim Detail Amount         Final Allowed Amount
Lebanon, CT 06249
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174487    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Flater, Mary                                        Clm No 174488    Filed In Cases: 607
12130 Lugner Road                                   Class                Claim Detail Amount         Final Allowed Amount
Hayward, WI 54843
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         1497 of 3075

John Fleming                                      Clm No 174489    Filed In Cases: 607
170 Four Hills Drive                              Class                Claim Detail Amount         Final Allowed Amount
Yakima, WA 98908
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Gerald Fleming                                    Clm No 174490    Filed In Cases: 607
7519 W. Kimberly Way                              Class                Claim Detail Amount         Final Allowed Amount
Glendale, AZ 85308
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Ramona Lee                                        Clm No 174491    Filed In Cases: 607
203 Westwood                                      Class                Claim Detail Amount         Final Allowed Amount
Rincon GA 31326
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1498 of 3075

Mary Fletcher                                     Clm No 174492    Filed In Cases: 607
1020 W. Walnut                                    Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, IL 62650
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




James Flick                                       Clm No 174493    Filed In Cases: 607
17741 Canal Cove Court,                           Class                Claim Detail Amount         Final Allowed Amount
Ft. Meyers Beach, FL 33931
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




William Flintrop                                  Clm No 174494    Filed In Cases: 607
405 N 39th Street Apt 7N                          Class                Claim Detail Amount         Final Allowed Amount
Milwaukee, WI 53208
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                           1499 of 3075

c/o David Jagolinzer, Esq                           Clm No 174495    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




William Flood                                       Clm No 174496    Filed In Cases: 607
128 Derby Ave. Apt C                                Class                Claim Detail Amount         Final Allowed Amount
New Haven, CT 06511
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Marilyn Florence                                    Clm No 174497    Filed In Cases: 607
3 East Shore Road                                   Class                Claim Detail Amount         Final Allowed Amount
Lake Hopatcong, NJ 07849
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                         1500 of 3075

Mercela Flores                                    Clm No 174498    Filed In Cases: 607
1957 Hamilton Lane                                Class                Claim Detail Amount         Final Allowed Amount
Carmel, IN 46032
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




George Flower                                     Clm No 174499    Filed In Cases: 607
10689 President Drive                             Class                Claim Detail Amount         Final Allowed Amount
Blane, MN 55434
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Robert Flowers                                    Clm No 174500    Filed In Cases: 607
201 Inverness St                                  Class                Claim Detail Amount         Final Allowed Amount
Summerville, OR 97876
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                           1501 of 3075

Judith Flowers                                      Clm No 174501    Filed In Cases: 607
1100 South Belcher Road                             Class                Claim Detail Amount         Final Allowed Amount
Unit # 784
                                                    UNS                                $1.00
Largo, FL 33771
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174502    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Patricia Floyd                                      Clm No 174503    Filed In Cases: 607
1588 Lantana Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Big Pine Key, FL 33043
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                           1502 of 3075

c/o David Jagolinzer, Esq                           Clm No 174504    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Cindy Floyd                                         Clm No 174505    Filed In Cases: 607
P.O. Box 591                                        Class                Claim Detail Amount         Final Allowed Amount
110 Stanley Drive
                                                    UNS                                $1.00
Freeport, FL 32439
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174506    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                           1503 of 3075

Flynn, Michael                                      Clm No 174507    Filed In Cases: 607
770 Boylston St. Apt 2H                             Class                Claim Detail Amount         Final Allowed Amount
Boston, MA 02199
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 174508    Filed In Cases: 607
600 Brickell Ave. Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Leo Foley                                           Clm No 174509    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                           1504 of 3075

Janice Follet                                       Clm No 174510    Filed In Cases: 607
10658 Federal Rd                                    Class                Claim Detail Amount         Final Allowed Amount
Howard City, FL 49329
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 174511    Filed In Cases: 607
600 Brickell Ave. Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Patricia Foltz                                      Clm No 174512    Filed In Cases: 607
25 East Southview Dr.                               Class                Claim Detail Amount         Final Allowed Amount
Martinsville, IN 46151
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                           1505 of 3075

c/o David Jagolinzer, Esq.                          Clm No 174513    Filed In Cases: 607
600 Brickell Ave. Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Roger Fontaine                                      Clm No 174514    Filed In Cases: 607
8668 Wellington Loop                                Class                Claim Detail Amount         Final Allowed Amount
Kissimmee, FL 34747
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Garry Foote                                         Clm No 174515    Filed In Cases: 607
6258 West 3570 South                                Class                Claim Detail Amount         Final Allowed Amount
West Valley City, UT 84128-2515
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                           1506 of 3075

Ronald Forbes                                       Clm No 174516    Filed In Cases: 607
560 6th St                                          Class                Claim Detail Amount         Final Allowed Amount
Dover, NH 03820
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Sylvia Janice                                       Clm No 174517    Filed In Cases: 607
150 Main St.                                        Class                Claim Detail Amount         Final Allowed Amount
Dighton, MA 02715
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 174518    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                           1507 of 3075

Michael Ford                                        Clm No 174519    Filed In Cases: 607
171 West Old Route 6                                Class                Claim Detail Amount         Final Allowed Amount
Hampton, CT 06247
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 174520    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 174521    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                           1508 of 3075

c/o David Jagolinzer, Esq.                          Clm No 174522    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 174523    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Beverley Forest                                     Clm No 174524    Filed In Cases: 607
26 Morning Side Dr.                                 Class                Claim Detail Amount         Final Allowed Amount
Dover, NH 03820-4536
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                         1509 of 3075

Donald Forrest                                    Clm No 174525    Filed In Cases: 607
1740 Condor Lane, Apt #109                        Class                Claim Detail Amount         Final Allowed Amount
Greenbay, WI 54313-7777
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Hansen, Faye                                      Clm No 174526    Filed In Cases: 607
3220 N. Frontage Rd.                              Class                Claim Detail Amount         Final Allowed Amount
Plant City, FL 33566
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Julia Forshey                                     Clm No 174527    Filed In Cases: 607
245 Rodgers St.                                   Class                Claim Detail Amount         Final Allowed Amount
Barry, IL 62312
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          1510 of 3075

Barry, Helen Jeanne                                Clm No 174528    Filed In Cases: 607
4901 SW 173 Way                                    Class                Claim Detail Amount         Final Allowed Amount
SW Ranches, FL 33331
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




Simone Fortin                                      Clm No 174529    Filed In Cases: 607
247 Northeast Sunshine Lane                        Class                Claim Detail Amount         Final Allowed Amount
Jensen Beach, FL 34957
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Violet Fortner                                     Clm No 174530    Filed In Cases: 607
5304 Bankhead Highway                              Class                Claim Detail Amount         Final Allowed Amount
Adamsville, AL 35005
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         1511 of 3075

Harold Fossitt                                    Clm No 174531    Filed In Cases: 607
Box 93                                            Class                Claim Detail Amount         Final Allowed Amount
North Bend, OH 45052
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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Sandra Foster                                     Clm No 174532    Filed In Cases: 607
12400 Park Blvd, Unit 318                         Class                Claim Detail Amount         Final Allowed Amount
Seminole, FL 33772
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Douglas Foster                                    Clm No 174533    Filed In Cases: 607
14 Overlook Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Solon, ME 04979
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                           1512 of 3075

c/o David Jagolinzer, Esq.                          Clm No 174534    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Kathy Foster                                        Clm No 174535    Filed In Cases: 607
2 Kendall St                                        Class                Claim Detail Amount         Final Allowed Amount
Rochester, NH 03867
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Willie Foster                                       Clm No 174536    Filed In Cases: 607
3786 W. 21st Ave.                                   Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46404-2849
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                         1513 of 3075

Wilson Foster                                     Clm No 174537    Filed In Cases: 607
7362 W. Georgia Ave.                              Class                Claim Detail Amount         Final Allowed Amount
Glendale, AZ 85303
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Thomas Foster                                     Clm No 174538    Filed In Cases: 607
East 14315 Hoopper                                Class                Claim Detail Amount         Final Allowed Amount
Spokane, WA 99217-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Roberta Fountain                                  Clm No 174539    Filed In Cases: 607
P.O. Box 15                                       Class                Claim Detail Amount         Final Allowed Amount
Fountain, FL 32438
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                           1514 of 3075

Ruth Fountain                                       Clm No 174540    Filed In Cases: 607
16 Elzey Lane                                       Class                Claim Detail Amount         Final Allowed Amount
Crisfield, MD 21817
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




c/o David Jagolinzer, Esq.                          Clm No 174541    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




James Fowler                                        Clm No 174542    Filed In Cases: 607
408 Sulphur Ave.                                    Class                Claim Detail Amount         Final Allowed Amount
Eminence, KY 40019
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         1515 of 3075

Jennifer Fox                                      Clm No 174543    Filed In Cases: 607
13148 E. Playfield                                Class                Claim Detail Amount         Final Allowed Amount
Crestwood, IL 60445
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Handley, Becky                                    Clm No 174544    Filed In Cases: 607
1052 N. Oak Lane Road.                            Class                Claim Detail Amount         Final Allowed Amount
Springfield, IL 62707
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C. Fox                                            Clm No 174545    Filed In Cases: 607
705 South Tyndall Parkway                         Class                Claim Detail Amount         Final Allowed Amount
Callaway, FL 32404-6929
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                           1516 of 3075

Keith Fox                                           Clm No 174546    Filed In Cases: 607
1194 Road 136                                       Class                Claim Detail Amount         Final Allowed Amount
Cheyenne, WY 82009
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Dorothy Fraiser                                     Clm No 174547    Filed In Cases: 607
5110 Old Kings Road                                 Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32254
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 174548    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                         1517 of 3075

Grace Francis                                     Clm No 174549    Filed In Cases: 607
112 Fort St                                       Class                Claim Detail Amount         Final Allowed Amount
East Providence, RI 02914
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




James Francis                                     Clm No 174550    Filed In Cases: 607
P.O. Box 354                                      Class                Claim Detail Amount         Final Allowed Amount
Newport, WA 99156-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Rex Francis                                       Clm No 174551    Filed In Cases: 607
4820 Reed St.                                     Class                Claim Detail Amount         Final Allowed Amount
Pocatello, ID 83202-3400
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1518 of 3075

Clara Francisco                                   Clm No 174552    Filed In Cases: 607
5022 N Austin Ave. #1-H                           Class                Claim Detail Amount         Final Allowed Amount
Chicago, IL 60630
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Lorraine Franckiewicz                             Clm No 174553    Filed In Cases: 607
3641 Bear Creek Blvd.                             Class                Claim Detail Amount         Final Allowed Amount
Wilkes-Barre, PA 18702
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Dana Franco                                       Clm No 174554    Filed In Cases: 607
1822 W. 49th St.                                  Class                Claim Detail Amount         Final Allowed Amount
Davenport, IA 52806-3518
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                           1519 of 3075

Betty Frank                                         Clm No 174555    Filed In Cases: 607
202 Pine Circle                                     Class                Claim Detail Amount         Final Allowed Amount
Brunswick, GA 31520
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 174556    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
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   Claim Face Value            $10,000.00




Kippen, Barbara                                     Clm No 174557    Filed In Cases: 607
8139 Clairborne Dr.                                 Class                Claim Detail Amount         Final Allowed Amount
Frederick, MD 21702
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                           1520 of 3075

Dorothy Franklin                                    Clm No 174558    Filed In Cases: 607
19342 Country Road 4                                Class                Claim Detail Amount         Final Allowed Amount
Florala, AL 36442
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 174559    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Franklin, Mark                                      Clm No 174560    Filed In Cases: 607
2600 Southern Oaks Dr.                              Class                Claim Detail Amount         Final Allowed Amount
Cantonment, FL 32533
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                           1521 of 3075

Tom Franklin                                        Clm No 174561    Filed In Cases: 607
Box#21                                              Class                Claim Detail Amount         Final Allowed Amount
Page, AZ 86040
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Lockie Franklin                                     Clm No 174562    Filed In Cases: 607
P.O.Box 222                                         Class                Claim Detail Amount         Final Allowed Amount
Vance, AL 35490
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 174563    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                         1522 of 3075

Joseph Franks                                     Clm No 174564    Filed In Cases: 607
3056 Wavecrest Way                                Class                Claim Detail Amount         Final Allowed Amount
Hot Springs, AR 71913
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Stephanie Franks                                  Clm No 174565    Filed In Cases: 607
391 Bass St.                                      Class                Claim Detail Amount         Final Allowed Amount
Ontario, OR 97914
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Anthony Frano                                     Clm No 174566    Filed In Cases: 607
188 Woodbine Rd                                   Class                Claim Detail Amount         Final Allowed Amount
Colchester, CT 06415
                                                  UNS                                $1.00

                                                                                     $1.00


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c/o David Jagolinzer, Esq.                          Clm No 174567    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Charles Fraser                                      Clm No 174568    Filed In Cases: 607
7321 East 19 St.                                    Class                Claim Detail Amount         Final Allowed Amount
Tucson, AZ 85710
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 174569    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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c/o David Jagolinzer, Esq.                          Clm No 174570    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Emily Frazier                                       Clm No 174571    Filed In Cases: 607
46 Horne Way                                        Class                Claim Detail Amount         Final Allowed Amount
Millbury, MA 01527
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




John Frazier                                        Clm No 174572    Filed In Cases: 607
4715 Mount Pleasant Ave.                            Class                Claim Detail Amount         Final Allowed Amount
Grant, FL 32949
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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  Claims Details                                                                                         1525 of 3075

Barbara Frazier                                   Clm No 174573    Filed In Cases: 607
4760 Parkstone Dr.                                Class                Claim Detail Amount         Final Allowed Amount
Rockledge, FL 32955
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Laura Frazier                                     Clm No 174574    Filed In Cases: 607
1781 NW 40th St.                                  Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33142
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Frazier, Lotoya                                   Clm No 174575    Filed In Cases: 607
250 East 47th St.                                 Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32208
                                                  UNS                                $1.00

                                                                                     $1.00


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Roule, Jr., Arthur                                  Clm No 174576    Filed In Cases: 607
P.O.Box 1816                                        Class                Claim Detail Amount         Final Allowed Amount
La Porte, IN 46352-1611
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 174577    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Belli, Linda                                        Clm No 174578    Filed In Cases: 607
3 NW Gate Rd.                                       Class                Claim Detail Amount         Final Allowed Amount
Harwich, MA 02645
                                                    UNS                                $1.00

                                                                                       $1.00


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c/o David Jagolinzer, Esq.                          Clm No 174579    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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c/o David Jagolinzer, Esq.                          Clm No 174580    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Boone, Sarah                                        Clm No 174581    Filed In Cases: 607
P.O. Box 235                                        Class                Claim Detail Amount         Final Allowed Amount
Uriah, AL 36480
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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c/o David Jagolinzer, Esq.                          Clm No 174582    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 174583    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Thomas French                                       Clm No 174584    Filed In Cases: 607
93 Salt Shed Rd                                     Class                Claim Detail Amount         Final Allowed Amount
Charleston, NH 03603
                                                    UNS                                $1.00

                                                                                       $1.00


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Anna Phllips-Frendt                                 Clm No 174585    Filed In Cases: 607
160 Mount Pleasant Road, Unit 10                    Class                Claim Detail Amount         Final Allowed Amount
Newton, CT 06470-1433
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Daniel Freund                                       Clm No 174586    Filed In Cases: 607
9103 NW 72nd St.                                    Class                Claim Detail Amount         Final Allowed Amount
Tamarac, FL 33321
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Barbara Frew                                        Clm No 174587    Filed In Cases: 607
4892 Shoreline Circle                               Class                Claim Detail Amount         Final Allowed Amount
Sanford, FL 32771-7177
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                           1530 of 3075

James Fried                                         Clm No 174588    Filed In Cases: 607
50 Terri Circle Drive.                              Class                Claim Detail Amount         Final Allowed Amount
Holmen, WI 54636
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 174589    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Patrick Frischmon                                   Clm No 174590    Filed In Cases: 607
8202 Polk St Northeast                              Class                Claim Detail Amount         Final Allowed Amount
Spring Lake Park, MN 55432
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                           1531 of 3075

Angela Frisenda                                     Clm No 174591    Filed In Cases: 607
6300 Colonial Dr.                                   Class                Claim Detail Amount         Final Allowed Amount
Margate, FL 33063
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 174592    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 174593    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                           1532 of 3075

c/o David Jagolinzer, Esq.                          Clm No 174594    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Joyce Frostad                                       Clm No 174595    Filed In Cases: 607
4115 Kingston Dr.                                   Class                Claim Detail Amount         Final Allowed Amount
Anchorage, AK 99504
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Darlene Frugoli                                     Clm No 174596    Filed In Cases: 607
695 Alpine Ave.                                     Class                Claim Detail Amount         Final Allowed Amount
Chubbuck, ID 83202
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                          1533 of 3075

John Frye                                          Clm No 174597    Filed In Cases: 607
206 West Wallnut St. Apt C.                        Class                Claim Detail Amount         Final Allowed Amount
Nappanee, IN 46550
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Louis Fullard                                      Clm No 174598    Filed In Cases: 607
48 Moulton Dr.                                     Class                Claim Detail Amount         Final Allowed Amount
Byron, GA 31008
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Marilyn Fuller                                     Clm No 174599    Filed In Cases: 607
2115 Lakeshore Dr.                                 Class                Claim Detail Amount         Final Allowed Amount
Kansasville, WI 53139-9555
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         1534 of 3075

James Fuller                                      Clm No 174600    Filed In Cases: 607
920 Legion St.                                    Class                Claim Detail Amount         Final Allowed Amount
Wildwood, FL 34785
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Katie Fullwood                                    Clm No 174601    Filed In Cases: 607
1324 Church St.                                   Class                Claim Detail Amount         Final Allowed Amount
Blackshear, GA 31516
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Regis Fulmer                                      Clm No 174602    Filed In Cases: 607
1000 Century Dr.                                  Class                Claim Detail Amount         Final Allowed Amount
Wildwood, FL 34785
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                           1535 of 3075

c/o David Jagolinzer, Esq.                          Clm No 174603    Filed In Cases: 607
600 Brickell Ave. Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Gloria Fultz                                        Clm No 174604    Filed In Cases: 607
3001 Norwood Blvd.                                  Class                Claim Detail Amount         Final Allowed Amount
Birmingham, AL 35234
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Thomas Funston                                      Clm No 174605    Filed In Cases: 607
P.O. Box # 66                                       Class                Claim Detail Amount         Final Allowed Amount
Waterflow, NM 37421
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                         1536 of 3075

James Furlow                                      Clm No 174606    Filed In Cases: 607
Route 2 Box 74B                                   Class                Claim Detail Amount         Final Allowed Amount
Goshen, AL 36035
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




David Fussell                                     Clm No 174607    Filed In Cases: 607
1034 Lake Shore Dr.                               Class                Claim Detail Amount         Final Allowed Amount
Lakeland, FL 33805
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Futreal, Jerry                                    Clm No 174608    Filed In Cases: 607
P.O. Box 1492                                     Class                Claim Detail Amount         Final Allowed Amount
Burgaw, NC 28425-0000
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1537 of 3075

Cecil Gabbert                                     Clm No 174609    Filed In Cases: 607
7445 New Hampshire Ave.                           Class                Claim Detail Amount         Final Allowed Amount
Hammond, IN 46323
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




William Gabianelli                                Clm No 174610    Filed In Cases: 607
424 Barn Hill Road                                Class                Claim Detail Amount         Final Allowed Amount
Monroe, CT 06468
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Berkley Gadwah                                    Clm No 174611    Filed In Cases: 607
49 Bee St                                         Class                Claim Detail Amount         Final Allowed Amount
Meriden, CT 06450
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1538 of 3075

Helen Gage                                        Clm No 174612    Filed In Cases: 607
44 Bunker LN                                      Class                Claim Detail Amount         Final Allowed Amount
Madbury, NH 03823
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Gage, Hildegard                                   Clm No 174613    Filed In Cases: 607
1325 W. Birch Court                               Class                Claim Detail Amount         Final Allowed Amount
Milwaukee, WI 53209
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Carmela Gagliardi                                 Clm No 174614    Filed In Cases: 607
42 Albion St.                                     Class                Claim Detail Amount         Final Allowed Amount
Waterbury, CT 06705
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                            1539 of 3075

c/o David Jagolinzer, Esq.                           Clm No 174615    Filed In Cases: 607
600 Brickell Ave, Suite 3800                         Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




c/o David Jagolinzer, Esq.                           Clm No 174616    Filed In Cases: 607
600 Brickell Ave, Suite 3800                         Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Lossie Gainer                                        Clm No 174617    Filed In Cases: 607
P.O. Box 446 528 Williamsburge Rd.                   Class                Claim Detail Amount         Final Allowed Amount
Wewahitchka, FL 32465
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                  $1.00




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  Claims Details                                                                                          1540 of 3075

Barbara Gainer                                     Clm No 174618    Filed In Cases: 607
516 South Eastland Dr.                             Class                Claim Detail Amount         Final Allowed Amount
Duncan, OK 73533
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Ruth Gallagher                                     Clm No 174619    Filed In Cases: 607
19 Boulevard Road                                  Class                Claim Detail Amount         Final Allowed Amount
Wellesley, MA 02181
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 174620    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




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  Claims Details                                                                                          1541 of 3075

James Gallagher                                    Clm No 174621    Filed In Cases: 607
4704 West Shore Drive                              Class                Claim Detail Amount         Final Allowed Amount
Bremen, IN 46506
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 174622    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Margarita Gallegos                                 Clm No 174623    Filed In Cases: 607
2095 El Dorado Loop                                Class                Claim Detail Amount         Final Allowed Amount
Bosque Farms, NM 87068
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         1542 of 3075

Eugene Gallegos                                   Clm No 174624    Filed In Cases: 607
1123 North Gabaldon Road                          Class                Claim Detail Amount         Final Allowed Amount
Belen, NM 87002
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Jay Galli                                         Clm No 174625    Filed In Cases: 607
2850 Highland Loop Cir.                           Class                Claim Detail Amount         Final Allowed Amount
Kamas, UT 84036
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Dolores Gallo                                     Clm No 174626    Filed In Cases: 607
423 W. Poplar                                     Class                Claim Detail Amount         Final Allowed Amount
Shenandoah, PA 17976
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                           1543 of 3075

c/o David Jagolinzer, Esq                           Clm No 174627    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                     Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Irma Galloway                                       Clm No 174628    Filed In Cases: 607
21629 Virginia Drive                                Class                Claim Detail Amount         Final Allowed Amount
Astor, FL 32102
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Joseph Gallucci                                     Clm No 174629    Filed In Cases: 607
30 Tower Road                                       Class                Claim Detail Amount         Final Allowed Amount
East Hartford, CT 06108-3037
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


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  Claims Details                                                                                         1544 of 3075

Doris Gallups                                     Clm No 174630    Filed In Cases: 607
P.O. Box 741                                      Class                Claim Detail Amount         Final Allowed Amount
Pell City, AL 35125
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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Joseph Galluzzo                                   Clm No 174631    Filed In Cases: 607
46 Glenwood Avenue, Apt #1                        Class                Claim Detail Amount         Final Allowed Amount
Norwalk, CT 06854
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Davis, Marsha                                     Clm No 174632    Filed In Cases: 607
91 Pleasant View Avenue                           Class                Claim Detail Amount         Final Allowed Amount
Haverhill, MA 01832
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                          1545 of 3075

Bessie Gamas                                       Clm No 174633    Filed In Cases: 607
135 William Gannon Drive                           Class                Claim Detail Amount         Final Allowed Amount
Manchester, NH 03104
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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Joyce Gamble                                       Clm No 174634    Filed In Cases: 607
12014 Ridgeway Rd.                                 Class                Claim Detail Amount         Final Allowed Amount
McCalla, AL 35111
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 174635    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          1546 of 3075

Sutton, Michelle                                   Clm No 174636    Filed In Cases: 607
11475 Knox Street                                  Class                Claim Detail Amount         Final Allowed Amount
Crown Point, IN 46307-7822
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 174637    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Willard Ganga                                      Clm No 174638    Filed In Cases: 607
722 West 70th Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Merrillville, IN 46410
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          1547 of 3075

c/o David Jagolinzer, Esq                          Clm No 174639    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Paula Gannon                                       Clm No 174640    Filed In Cases: 607
86 Colonial Ave.                                   Class                Claim Detail Amount         Final Allowed Amount
Waltham, MA 02154
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Wallace Gantt                                      Clm No 174641    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          1548 of 3075

Werner, Joanne                                     Clm No 174642    Filed In Cases: 607
11000 SW 131 Terrace                               Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33176
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 174643    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Marcelle Garcia                                    Clm No 174644    Filed In Cases: 607
848 Wren Road                                      Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32216
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         1549 of 3075

Hector Garcia                                     Clm No 174645    Filed In Cases: 607
1809 Palm Valley Dr. W.                           Class                Claim Detail Amount         Final Allowed Amount
Harlingen, TX 78552-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Antonio Garcia                                    Clm No 174646    Filed In Cases: 607
3427 Elm Street                                   Class                Claim Detail Amount         Final Allowed Amount
East Chicago, IN 46312
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Leroy Gardner                                     Clm No 174647    Filed In Cases: 607
905 Cedar Street                                  Class                Claim Detail Amount         Final Allowed Amount
Marshall, IL 62441-1921
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         1550 of 3075

David Gardner                                     Clm No 174648    Filed In Cases: 607
20795 East Cedar Drive                            Class                Claim Detail Amount         Final Allowed Amount
Mayer, AZ 86333-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Kenneth Garfield                                  Clm No 174649    Filed In Cases: 607
2850 Lost Prairie Road                            Class                Claim Detail Amount         Final Allowed Amount
Marion, MT 59925
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




James Garfield                                    Clm No 174650    Filed In Cases: 607
314 Morey Street                                  Class                Claim Detail Amount         Final Allowed Amount
Waukesha, WI 53188-0000
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1551 of 3075

William Gargis                                    Clm No 174651    Filed In Cases: 607
2070 Gargis Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Tuscumbia, AL 35674
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Frank Garguilo                                    Clm No 174652    Filed In Cases: 607
8 Jardin Drive                                    Class                Claim Detail Amount         Final Allowed Amount
East Haven, CT 06512
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Garland, Josephine                                Clm No 174653    Filed In Cases: 607
955 51st Street N. #103                           Class                Claim Detail Amount         Final Allowed Amount
St. Petersburg, FL 33710
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         1552 of 3075

Sammie Garner-Smith                               Clm No 174654    Filed In Cases: 607
425 Ewing Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Nashville, TN 37207
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Shirley Garner                                    Clm No 174655    Filed In Cases: 607
P.O. Box 70291                                    Class                Claim Detail Amount         Final Allowed Amount
Tuscaloosa, AL 35407
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Smith, James                                      Clm No 174656    Filed In Cases: 607
941 West Rulane Drive                             Class                Claim Detail Amount         Final Allowed Amount
Midwest City,OK 73110
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          1553 of 3075

c/o David Jagolinzer, Esq                          Clm No 174657    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Bolivia Garrido                                    Clm No 174658    Filed In Cases: 607
1390 NW 29th Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33125-2028
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Bettie Garrison                                    Clm No 174659    Filed In Cases: 607
1408 South 8th                                     Class                Claim Detail Amount         Final Allowed Amount
Pekin, IL 61554
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                          1554 of 3075

Cynthia Garrison                                   Clm No 174660    Filed In Cases: 607
1061 Hollygate Lane                                Class                Claim Detail Amount         Final Allowed Amount
Naples, FL 34109
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




c/o David Jagolinzer, Esq                          Clm No 174661    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




David Garth                                        Clm No 174662    Filed In Cases: 607
25 Carrington Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Milford, CT 06460
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          1555 of 3075

Jake Garth                                         Clm No 174663    Filed In Cases: 607
1150 North Elmer                                   Class                Claim Detail Amount         Final Allowed Amount
South Bend, IN 46628
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 174664    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 174665    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          1556 of 3075

Juan Garza                                         Clm No 174666    Filed In Cases: 607
2113 Cardinal Drive                                Class                Claim Detail Amount         Final Allowed Amount
East Chicago, IN 46312-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Dorothy Gaskin                                     Clm No 174667    Filed In Cases: 607
2915 Cox Mill Road Apt. L3                         Class                Claim Detail Amount         Final Allowed Amount
Hopkinsville, KY 42240-1288
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Patricia Gatchell                                  Clm No 174668    Filed In Cases: 607
1346 Barefoot Circle                               Class                Claim Detail Amount         Final Allowed Amount
Barefoot Bay, FL 32976
                                                   UNS                          $10,000.00

                                                                                $10,000.00


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  Claims Details                                                                                         1557 of 3075

Kenneth Gates                                     Clm No 174669    Filed In Cases: 607
10660 Bowling Green Road                          Class                Claim Detail Amount         Final Allowed Amount
Morgantown, KY 42261
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Gordan Gates                                      Clm No 174670    Filed In Cases: 607
890 Bechannas Road                                Class                Claim Detail Amount         Final Allowed Amount
Belton, KY 42324-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Jacqueline Gatesman                               Clm No 174671    Filed In Cases: 607
108 Grimard Street                                Class                Claim Detail Amount         Final Allowed Amount
Luclow, MA 01056-2263
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1558 of 3075

Jimmy Gatos                                       Clm No 174672    Filed In Cases: 607
1535 Poplar Drive, P-22                           Class                Claim Detail Amount         Final Allowed Amount
Grand Junction, CO 81505-1583
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value              $1.00




Cellucci, Lisa                                    Clm No 174673    Filed In Cases: 607
124 Walnut Street                                 Class                Claim Detail Amount         Final Allowed Amount
Douglas, MA 01516
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value              $1.00




Jeanne Gaudette                                   Clm No 174674    Filed In Cases: 607
8 Helen Drive                                     Class                Claim Detail Amount         Final Allowed Amount
Southampton, MA 01073
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                          1559 of 3075

c/o David Jagolinzer, Esq                          Clm No 174675    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Bernard Gawronski                                  Clm No 174676    Filed In Cases: 607
951 North 100 West                                 Class                Claim Detail Amount         Final Allowed Amount
Chesterton, IN 46304-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Carol Gay                                          Clm No 174677    Filed In Cases: 607
1571 S. Shore Drive                                Class                Claim Detail Amount         Final Allowed Amount
Orange Park, FL 32003
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          1560 of 3075

Judy Gay                                           Clm No 174678    Filed In Cases: 607
8732 East Bay Head Court                           Class                Claim Detail Amount         Final Allowed Amount
Youngstown, FL 32466
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 174679    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Gayhart, James                                     Clm No 174680    Filed In Cases: 607
6734 Wildacre Drive                                Class                Claim Detail Amount         Final Allowed Amount
Sugarland, TX 77479
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                           1561 of 3075

William Gaynor                                      Clm No 174681    Filed In Cases: 607
12706 West Ballad Drive                             Class                Claim Detail Amount         Final Allowed Amount
Sun City West, AZ 85375
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 174682    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                     Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Clara Geddes                                        Clm No 174683    Filed In Cases: 607
C/O Thomas F. Williams,Esquire                      Class                Claim Detail Amount         Final Allowed Amount
21 McGrath Highway Suite 501
                                                    UNS                          $10,000.00
Quincy, MA 02169
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
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   Claim Face Value            $10,000.00




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  Claims Details                                                                                          1562 of 3075

c/o David Jagolinzer, Esq                          Clm No 174684    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Gene Geiger                                        Clm No 174685    Filed In Cases: 607
722 South Wiggins Road                             Class                Claim Detail Amount         Final Allowed Amount
Plant City, FL 33566
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Shirley Geitz                                      Clm No 174686    Filed In Cases: 607
18 Cobblers lane                                   Class                Claim Detail Amount         Final Allowed Amount
Norwalk, CT 06851
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         1563 of 3075

Mildred Gelmini                                   Clm No 174687    Filed In Cases: 607
210 Robindale Dr.                                 Class                Claim Detail Amount         Final Allowed Amount
Kensington, CT 06037
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Raymond Gentry                                    Clm No 174688    Filed In Cases: 607
190 Kolski Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Crescent City, FL 32112
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Lynn Gentry                                       Clm No 174689    Filed In Cases: 607
358 Anna Ave.                                     Class                Claim Detail Amount         Final Allowed Amount
Waterbuty, CT 06708
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1564 of 3075

Margaret Genz                                     Clm No 174690    Filed In Cases: 607
812 3rd Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
Sterling, IL 61081
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Bettie George                                     Clm No 174691    Filed In Cases: 607
3612 Viola Avenue S.W.                            Class                Claim Detail Amount         Final Allowed Amount
Birmingham, AL 35221
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Everett George                                    Clm No 174692    Filed In Cases: 607
126 Idlewind Drive                                Class                Claim Detail Amount         Final Allowed Amount
Paris, KY 40361-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                          1565 of 3075

c/o David Jagolinzer, Esq                          Clm No 174693    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Sammie George                                      Clm No 174694    Filed In Cases: 607
301 North Flower                                   Class                Claim Detail Amount         Final Allowed Amount
Anchorage, AK 99504-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Thelma George                                      Clm No 174695    Filed In Cases: 607
3 Green St. Waldron Towers Apt. 504                Class                Claim Detail Amount         Final Allowed Amount
Dover, NH 03820
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          1566 of 3075

Susan Gerstel                                      Clm No 174696    Filed In Cases: 607
108 Peach Street                                   Class                Claim Detail Amount         Final Allowed Amount
Braintree, MA 02184
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 174697    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Donald Gervais                                     Clm No 174698    Filed In Cases: 607
319 Michele Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Crown Point, IN 46307-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          1567 of 3075

Donald Gesswin                                     Clm No 174699    Filed In Cases: 607
87 Tunxis Street                                   Class                Claim Detail Amount         Final Allowed Amount
Windsor, CT 06095
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Diana Getchell                                     Clm No 174700    Filed In Cases: 607
871 Middle Road                                    Class                Claim Detail Amount         Final Allowed Amount
Sabattus, ME 04280
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 174701    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         1568 of 3075

GHOLSON, BRADLEY                                  Clm No 174702    Filed In Cases: 607
10510 BLANDVILLE ROAD                             Class                Claim Detail Amount         Final Allowed Amount
WEST PADUCAH, KY 42086
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




MARY GIAIMO                                       Clm No 174703    Filed In Cases: 607
122 BELMONT AVE                                   Class                Claim Detail Amount         Final Allowed Amount
LAKE VILLA, IL 60046
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




ELAINE GIANGIOBBE                                 Clm No 174704    Filed In Cases: 607
16940 TIMBERWORK ROAD                             Class                Claim Detail Amount         Final Allowed Amount
SPRING, TX 77379
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                         1569 of 3075

C/O DAVID JAGOLINZER, ESQ                         Clm No 174705    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




KENNETH GIBBS                                     Clm No 174706    Filed In Cases: 607
556 CONNECTICUT STREET                            Class                Claim Detail Amount         Final Allowed Amount
GARY, IN 46402-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




LARRY GIBBS                                       Clm No 174707    Filed In Cases: 607
653 KEMP CEMETERY ROAD                            Class                Claim Detail Amount         Final Allowed Amount
WEWAHITCHKA, FL 32465-2411
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1570 of 3075

LOUISE GIBSON                                     Clm No 174708    Filed In Cases: 607
10733 CYPRESS AVENUE                              Class                Claim Detail Amount         Final Allowed Amount
HOWARD CITY, MI 49329
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




ADAMS, SHARON                                     Clm No 174709    Filed In Cases: 607
5444 KEYSTONE DRIVE S                             Class                Claim Detail Amount         Final Allowed Amount
JACKSONVILLE, FL 32207-5148
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 174710    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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C/O DAVID JAGOLINZER, ESQ                         Clm No 174711    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




JEFFERS, NEVA                                     Clm No 174712    Filed In Cases: 607
455 POOLE CREEK ROAD                              Class                Claim Detail Amount         Final Allowed Amount
LAUREL, MS 39443
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




SHELBY GIBSON                                     Clm No 174713    Filed In Cases: 607
2297 WOODWARD STREET                              Class                Claim Detail Amount         Final Allowed Amount
PORTAGE, IN 46368
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1572 of 3075

C/O DAVID JAGOLINZER, ESQ                         Clm No 174714    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




JUNE GIDDINGS                                     Clm No 174715    Filed In Cases: 607
56 NEW HAVEN STREET                               Class                Claim Detail Amount         Final Allowed Amount
WEST ROXBURY, MA 02132
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




GIESE, WILLIAM                                    Clm No 174716    Filed In Cases: 607
911 93RD STREET SE                                Class                Claim Detail Amount         Final Allowed Amount
EVERETT, WA 98208
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value       $10,000.00




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HEIDI GIEZEY                                     Clm No 174717    Filed In Cases: 607
119 MOUNTAIN TOP DRIVE                           Class                Claim Detail Amount         Final Allowed Amount
TAMASSEE, SC 29686-2309
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




ROBERT GIFFORD                                   Clm No 174718    Filed In Cases: 607
17390 SE 70TH ROYAL PINE COURT                   Class                Claim Detail Amount         Final Allowed Amount
THE VILLAGES, FL 32162
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




RICHARD GIGSTEAD                                 Clm No 174719    Filed In Cases: 607
5919 EAST HIGHWAY 54                             Class                Claim Detail Amount         Final Allowed Amount
ELGOMA, WI 54201
                                                 UNS                                $1.00

                                                                                    $1.00


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  Claim Face Value             $1.00




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  Claims Details                                                                                         1574 of 3075

GILBERT, BEVERLY                                  Clm No 174720    Filed In Cases: 607
9720 HIGHWAY 269                                  Class                Claim Detail Amount         Final Allowed Amount
PARRISH, AL 35580
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




DAVIS GILBERT                                     Clm No 174721    Filed In Cases: 607
1177 COUNTY HIGHWAY 8                             Class                Claim Detail Amount         Final Allowed Amount
BRILLIANT, AL 35548
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




MONIQUE GILBERT                                   Clm No 174722    Filed In Cases: 607
424 ELMWOOD DRIVE                                 Class                Claim Detail Amount         Final Allowed Amount
WINDSOR LOCKS, CT 06096
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1575 of 3075

HARVEY GILBRIDE                                   Clm No 174723    Filed In Cases: 607
36 VIKING STREET                                  Class                Claim Detail Amount         Final Allowed Amount
EAST HAVEN, CT 06512
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




COVARRUBIAS, RHONDA                               Clm No 174724    Filed In Cases: 607
239 ALLEN AVENUE                                  Class                Claim Detail Amount         Final Allowed Amount
WEST CHICAGO, IL 60185
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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C/O DAVID JAGOLINZER, ESQ                         Clm No 174725    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                          $10,000.00
MIAMI, FL 33131
                                                                               $10,000.00


   Date Filed             6-Oct-2015
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JOHN GILHULY                                      Clm No 174726    Filed In Cases: 607
905 SOUTH 23 AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
YAKIMA, WA 98902
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




THEODORE GILL                                     Clm No 174727    Filed In Cases: 607
319 SMITH STREET                                  Class                Claim Detail Amount         Final Allowed Amount
SOUTH WINDSOR, CT 06074
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 174728    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


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  Claims Details                                                                                         1577 of 3075

CARMEL GILL                                       Clm No 174729    Filed In Cases: 607
69 DONALD DRIVE                                   Class                Claim Detail Amount         Final Allowed Amount
GOFFSTOWN, NH 03045
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 174730    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




WILLIAM GILLIAM                                   Clm No 174731    Filed In Cases: 607
14 WELLER LANE                                    Class                Claim Detail Amount         Final Allowed Amount
PALM COAST, FL 32164-7869
                                                  UNS                                $1.00

                                                                                     $1.00


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C/O DAVID JAGOLINZER, ESQ                         Clm No 174732    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




OLIVER GILLIAM                                    Clm No 174733    Filed In Cases: 607
1525 RUTLEDGE STREET                              Class                Claim Detail Amount         Final Allowed Amount
GARY, IN 46404
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




ALMA GILLIS                                       Clm No 174734    Filed In Cases: 607
21 PONDUIEU DRIVE                                 Class                Claim Detail Amount         Final Allowed Amount
EAST SANDWICH, MA 02537
                                                  UNS                                $1.00

                                                                                     $1.00


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ANNE GILLIS                                       Clm No 174735    Filed In Cases: 607
205 LINDEN PONDS WAY                              Class                Claim Detail Amount         Final Allowed Amount
UNIT 309
                                                  UNS                                $1.00
HINGHAM, MA 02043
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 174736    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 174737    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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DONALD GILMORE                                   Clm No 174738    Filed In Cases: 607
1159 HOMEWOOD DRIVE                              Class                Claim Detail Amount         Final Allowed Amount
FRANKFORT, IN 46041
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




MERNA GINGHER                                    Clm No 174739    Filed In Cases: 607
8476 IMPERIAL CIRCLE                             Class                Claim Detail Amount         Final Allowed Amount
PALMETTO, FL 34221
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




JOSEPH GIONFRIDDO                                Clm No 174740    Filed In Cases: 607
819 MATIANUCK AVENUE                             Class                Claim Detail Amount         Final Allowed Amount
WINDSOR, CT 06095
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              6-Oct-2015
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  Claim Face Value        $10,000.00




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JOSEPH GIOVINCO                                  Clm No 174741    Filed In Cases: 607
142 PENINSULA ROAD                               Class                Claim Detail Amount         Final Allowed Amount
PITTSBURG, CA 94565
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




GIRARD, RICHARD                                  Clm No 174742    Filed In Cases: 607
26 DEMER STREET                                  Class                Claim Detail Amount         Final Allowed Amount
BERLIN, NH 03570
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




EDWARD GIRARD                                    Clm No 174743    Filed In Cases: 607
7224 BIRCH AVENUE                                Class                Claim Detail Amount         Final Allowed Amount
HAMMOND, IN 46324
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




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  Claims Details                                                                                         1582 of 3075

CONNIE GLADHILL                                   Clm No 174744    Filed In Cases: 607
4108 RUSSELL LANE                                 Class                Claim Detail Amount         Final Allowed Amount
PANAMA CITY, FL 32404
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 174745    Filed In Cases: 607
36 BINGHAM ROAD                                   Class                Claim Detail Amount         Final Allowed Amount
CANTERBURY, CT 06331
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




WILLIAM GLASCO                                    Clm No 174746    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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JEFFERY GLENN                                    Clm No 174747    Filed In Cases: 607
150 BARTLETT STREET                              Class                Claim Detail Amount         Final Allowed Amount
APT 1
                                                 UNS                                $1.00
PORTSMOUTH, NH 03801
                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




THELMA GLENN                                     Clm No 174748    Filed In Cases: 607
C/O BERL HENDERSON                               Class                Claim Detail Amount         Final Allowed Amount
1004 HAMILTON AVENUE
                                                 UNS                                $1.00
PANAMA CITY, FL 32401
                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




RICHARD GLESSING                                 Clm No 174749    Filed In Cases: 607
330-9TH STREET                                   Class                Claim Detail Amount         Final Allowed Amount
PO BOX 525
                                                 UNS                                $1.00
HOWARD LAKE, MN 55349
                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




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ARNOLD GLINES                                    Clm No 174750    Filed In Cases: 607
3285 WOODBRIDGE BLVD                             Class                Claim Detail Amount         Final Allowed Amount
#300
                                                 UNS                                $1.00
GRAND ISLAND, NE 68801
                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




WILLIAM GLOVER                                   Clm No 174751    Filed In Cases: 607
PO BOX 9712                                      Class                Claim Detail Amount         Final Allowed Amount
DOTHAN, AL 36303
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




STEVEN GLOVER                                    Clm No 174752    Filed In Cases: 607
1416 MEETING HOUSE LAN                           Class                Claim Detail Amount         Final Allowed Amount
KNOXVILLE, TN 37931
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




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WILLIAM GLUCK                                    Clm No 174753    Filed In Cases: 607
200 DOW ROAD                                     Class                Claim Detail Amount         Final Allowed Amount
PLAINFIELD, CT 06374
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




JEANNE GOBEIL                                    Clm No 174754    Filed In Cases: 607
147 HIGH HOPE ROAD                               Class                Claim Detail Amount         Final Allowed Amount
SULPHUR, LA 70663-0235
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




HELMUT GODEJOHANN                                Clm No 174755    Filed In Cases: 607
6537 S 118 STREET                                Class                Claim Detail Amount         Final Allowed Amount
FRANKLIN, WI 53132
                                                 UNS                                $1.00

                                                                                    $1.00


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  Claim Face Value             $1.00




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  Claims Details                                                                                         1586 of 3075

C/O DAVID JAGOLINZER, ESQ                         Clm No 174756    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




SHIRLEY GODREAU                                   Clm No 174757    Filed In Cases: 607
C/O LINDA PELLETIER                               Class                Claim Detail Amount         Final Allowed Amount
11485 OAKHURST ROAD 200/201
                                                  UNS                                $1.00
LARGO, FL 33774
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 174758    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1587 of 3075

THOMAS GOETZ                                      Clm No 174759    Filed In Cases: 607
2600 COVE RD                                      Class                Claim Detail Amount         Final Allowed Amount
NAVARRE, FL 32566
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




GOINGS, ROBERT                                    Clm No 174760    Filed In Cases: 607
52 MEADOWLARK DRIVE                               Class                Claim Detail Amount         Final Allowed Amount
CRAWFORDVILLE, FL 32327
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Garfield Goins                                    Clm No 174761    Filed In Cases: 607
4033 S. Chickasaw Trail                           Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32829
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1588 of 3075

c/o David Jagolinzer, Esq.                        Clm No 174762    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Betty Golliver                                    Clm No 174763    Filed In Cases: 607
125 Pansy Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Defuniak Springs, FL 32433
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Sylvia Gomes                                      Clm No 174764    Filed In Cases: 607
388 Orms Street                                   Class                Claim Detail Amount         Final Allowed Amount
Providence, RI 02908
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                          1589 of 3075

Frances Gomez                                      Clm No 174765    Filed In Cases: 607
1307 Richmond Street                               Class                Claim Detail Amount         Final Allowed Amount
Joliet, IL 60435
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Gerardo Gomez                                      Clm No 174766    Filed In Cases: 607
1819 South Colfax Street                           Class                Claim Detail Amount         Final Allowed Amount
Griffith, IN 46319-3444
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Samuel Gomez                                       Clm No 174767    Filed In Cases: 607
3902 Euclid Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
East Chicago, IN 46312-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         1590 of 3075

c/o David Jagolinzer, Esq.                        Clm No 174768    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Pedro Gonzalez                                    Clm No 174769    Filed In Cases: 607
4309 NW 34 Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Gainesville, FL 32604-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174770    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                          1591 of 3075

Charles Gonzalez                                   Clm No 174771    Filed In Cases: 607
7830 Hanley Street                                 Class                Claim Detail Amount         Final Allowed Amount
Schererville, IN 46375-3368
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Othelia Gonzalez                                   Clm No 174772    Filed In Cases: 607
3920 Grand Boulevard                               Class                Claim Detail Amount         Final Allowed Amount
East Chicago, IN 46312
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174773    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         1592 of 3075

Ellen Good                                        Clm No 174774    Filed In Cases: 607
47 Reservoir Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Lupay, VA 22835
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174775    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Troy Goode                                        Clm No 174776    Filed In Cases: 607
7832 Juniper Ave                                  Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46403
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                          1593 of 3075

Lillian Goodman                                    Clm No 174777    Filed In Cases: 607
500 Three Islands Blvd                             Class                Claim Detail Amount         Final Allowed Amount
Apt. 703
                                                   UNS                          $10,000.00
Hallandale Beach, FL 33009-2840
                                                                                $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




Richard Goodreau                                   Clm No 174778    Filed In Cases: 607
43 Miller Street                                   Class                Claim Detail Amount         Final Allowed Amount
Ludlow, MA 01056
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value                $1.00




Kandyleigh Provencher                              Clm No 174779    Filed In Cases: 607
112 Indigo Hill Road                               Class                Claim Detail Amount         Final Allowed Amount
Somersworth, NH 03878
                                                   UNS                                $1.00

                                                                                      $1.00


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Patricia Goodson                                  Clm No 174780    Filed In Cases: 607
6270 Hawkes Bluss Avenue                          Class                Claim Detail Amount         Final Allowed Amount
Davie, FL 33331
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Debra Goodson                                     Clm No 174781    Filed In Cases: 607
223 Flagler Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Interlachen, FL 32033
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174782    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




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Michael Goodwin                                   Clm No 174783    Filed In Cases: 607
285 Wynns Ferry Road                              Class                Claim Detail Amount         Final Allowed Amount
Dover, TN 37058
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Josephine Goodwin                                 Clm No 174784    Filed In Cases: 607
4651 NE 1 Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Gainesville, FL 32641
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Roy Goodwin                                       Clm No 174785    Filed In Cases: 607
333 W 400 N                                       Class                Claim Detail Amount         Final Allowed Amount
Valparaiso, IN 46385-9240
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1596 of 3075

Verl Goodwin                                      Clm No 174786    Filed In Cases: 607
6008 West Argent                                  Class                Claim Detail Amount         Final Allowed Amount
Pasco, WA 99301
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Mary Gordon                                       Clm No 174787    Filed In Cases: 607
48 Sid Hall Drive                                 Class                Claim Detail Amount         Final Allowed Amount
North Berwick, ME 03906
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




David Gordon                                      Clm No 174788    Filed In Cases: 607
6 Beech Tree Drive                                Class                Claim Detail Amount         Final Allowed Amount
Wethersfield, CT 06109
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1597 of 3075

Lewis Gordon                                      Clm No 174789    Filed In Cases: 607
110 Herzog Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Paducah, KY 42003
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Helen Gordon                                      Clm No 174790    Filed In Cases: 607
15 Roxbury Street                                 Class                Claim Detail Amount         Final Allowed Amount
Hartford, CT 06114
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174791    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1598 of 3075

Marie Gordon                                      Clm No 174792    Filed In Cases: 607
13582 East Highway 40-163                         Class                Claim Detail Amount         Final Allowed Amount
Silver Spring, FL 34488
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174793    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Louis Gordon                                      Clm No 174794    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1599 of 3075

Vicki Gorman                                      Clm No 174795    Filed In Cases: 607
7006 W. 15th Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Kennewick, WA 99338
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Dolores Gorman                                    Clm No 174796    Filed In Cases: 607
3258 Meadow Run                                   Class                Claim Detail Amount         Final Allowed Amount
Venice, FL 34293
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Donna Gosnell                                     Clm No 174797    Filed In Cases: 607
1 King Street Ext.                                Class                Claim Detail Amount         Final Allowed Amount
Wilmington, MA 01887
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1600 of 3075

Mary Goss                                         Clm No 174798    Filed In Cases: 607
106 Valley Circle                                 Class                Claim Detail Amount         Final Allowed Amount
Anniston, AL 36201
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Shirley Gottlin                                   Clm No 174799    Filed In Cases: 607
13775 SE 102nd Court                              Class                Claim Detail Amount         Final Allowed Amount
Belleview, FL 34420
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Lowell Goubeaux                                   Clm No 174800    Filed In Cases: 607
2730 Martha Street                                Class                Claim Detail Amount         Final Allowed Amount
Highland, IN 46322
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1601 of 3075

Vivian M. Gould                                   Clm No 174801    Filed In Cases: 607
33 Colbert Street                                 Class                Claim Detail Amount         Final Allowed Amount
Leominster, MA 01453
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Joseph Goulden                                    Clm No 174802    Filed In Cases: 607
7924 San Miguel Drive                             Class                Claim Detail Amount         Final Allowed Amount
Port Richey, FL 34668
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Ward Gowing                                       Clm No 174803    Filed In Cases: 607
45 Osborne Street                                 Class                Claim Detail Amount         Final Allowed Amount
Stratford, CT 06614
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1602 of 3075

Raymond Graczyk                                   Clm No 174804    Filed In Cases: 607
15 West Street                                    Class                Claim Detail Amount         Final Allowed Amount
Windsor Locks, CT 06614
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Lawrence Gradel                                   Clm No 174805    Filed In Cases: 607
3928 Coyt Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Cottage Grove, WI 53527
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174806    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1603 of 3075

William Graham                                    Clm No 174807    Filed In Cases: 607
661 Linden Bluff Road                             Class                Claim Detail Amount         Final Allowed Amount
Jesup, GA 31545-6560
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174808    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174809    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1604 of 3075

Joan Graham                                       Clm No 174810    Filed In Cases: 607
c/o Cathy Holmes                                  Class                Claim Detail Amount         Final Allowed Amount
1386 US Highway 82
                                                  UNS                                $1.00
Georgetown, GA 39854
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Jean Gramazio-Tierney                             Clm No 174811    Filed In Cases: 607
5 Bobwhite Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Norfolk, MA 02056
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Vonda Wiegland                                    Clm No 174812    Filed In Cases: 607
2233 Trowbridge Road                              Class                Claim Detail Amount         Final Allowed Amount
Springfield, IL 62703
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1605 of 3075

David Grandalski                                  Clm No 174813    Filed In Cases: 607
4207 Roxanna Drive                                Class                Claim Detail Amount         Final Allowed Amount
Erie, PA 16510
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Arla Grandick                                     Clm No 174814    Filed In Cases: 607
115 Henrie Lane A                                 Class                Claim Detail Amount         Final Allowed Amount
Williamstown, WV 26187
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174815    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         1606 of 3075

Lorrine Graney                                    Clm No 174816    Filed In Cases: 607
12348 SW Kindsway Circle                          Class                Claim Detail Amount         Final Allowed Amount
Lake Suzy, FL 34266
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174817    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Sharlene Cunningham                               Clm No 174818    Filed In Cases: 607
15675 S. Star Lake Drive                          Class                Claim Detail Amount         Final Allowed Amount
Baldwin, MI 49304-7764
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1607 of 3075

c/o David Jagolinzer, Esq.                        Clm No 174819    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Irene Graves                                      Clm No 174820    Filed In Cases: 607
174 Wilbraham Road                                Class                Claim Detail Amount         Final Allowed Amount
Hampden, MA 01036
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Teresa Gravitt                                    Clm No 174821    Filed In Cases: 607
66 Park Street                                    Class                Claim Detail Amount         Final Allowed Amount
Anniston, AL 36201
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1608 of 3075

Lawrence Gray                                     Clm No 174822    Filed In Cases: 607
1 Dragonfly Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Shapleigh, ME 04076
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Pam Gray                                          Clm No 174823    Filed In Cases: 607
129 Sixth Street                                  Class                Claim Detail Amount         Final Allowed Amount
Dover, NH 03820
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Roxanne Gray                                      Clm No 174824    Filed In Cases: 607
521 Wylie School Road                             Class                Claim Detail Amount         Final Allowed Amount
Voluntown, CT 06384
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1609 of 3075

c/o David Jagolinzer, Esq.                        Clm No 174825    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Louis Gray                                        Clm No 174826    Filed In Cases: 607
53 SE Railroad Street                             Class                Claim Detail Amount         Final Allowed Amount
McRae, GA 31055
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Miriam Gray                                       Clm No 174827    Filed In Cases: 607
606 US Route 3                                    Class                Claim Detail Amount         Final Allowed Amount
North Stratford, NH 03590
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         1610 of 3075

c/o David Jagolinzer, Esq.                        Clm No 174828    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Alice Grazioso                                    Clm No 174829    Filed In Cases: 607
4 Curtis Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Quincy, MA 02169
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Elaine Greaney                                    Clm No 174830    Filed In Cases: 607
703 Casper Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Port Orange, FL 32129
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1611 of 3075

Elaine Greaser                                    Clm No 174831    Filed In Cases: 607
16867 NW 284th Street                             Class                Claim Detail Amount         Final Allowed Amount
Okeechobee, FL 34972
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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c/o David Jagolinzer, Esq.                        Clm No 174832    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Ulrike Veronika Greaves                           Clm No 174833    Filed In Cases: 607
937 Fern Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Delray Beach, FL 33483
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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Randal Green                                      Clm No 174834    Filed In Cases: 607
20732 Dickerson Road                              Class                Claim Detail Amount         Final Allowed Amount
Fountain, FL 32438
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Marlene Green                                     Clm No 174835    Filed In Cases: 607
1410 Lot #14 Old Dixie Highway                    Class                Claim Detail Amount         Final Allowed Amount
Titusville, FL 32796
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Charlene Green                                    Clm No 174836    Filed In Cases: 607
2713 E. Lartigue Avenue                           Class                Claim Detail Amount         Final Allowed Amount
Mobile, AL 36605
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1613 of 3075

Geraldine Green                                   Clm No 174837    Filed In Cases: 607
72 Tall Trees Drive                               Class                Claim Detail Amount         Final Allowed Amount
Amelia, OH 45102-1669
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174838    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Patrick Green, Co-Executor                        Clm No 174839    Filed In Cases: 607
134 Kelly Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Slidell, LA 70458
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         1614 of 3075

Ruth Green                                        Clm No 174840    Filed In Cases: 607
735 Wade Hampton Boulevard                        Class                Claim Detail Amount         Final Allowed Amount
Greenville, SC 29609
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Volney Green                                      Clm No 174841    Filed In Cases: 607
788 W 66 S                                        Class                Claim Detail Amount         Final Allowed Amount
Idaho Falls, ID 83402-5869
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174842    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                           1615 of 3075

c/o David Jagolinzer, Esq.                          Clm No 174843    Filed In Cases: 607
600 Brickell Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                    UNS                                $1.00
Miami, FL 33131
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




John Green                                          Clm No 174844    Filed In Cases: 607
Box 1264                                            Class                Claim Detail Amount         Final Allowed Amount
Columbia Falls, MT 59912-0000
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Jeannie Greenberg                                   Clm No 174845    Filed In Cases: 607
160 Simsbury Rd., Apt 204                           Class                Claim Detail Amount         Final Allowed Amount
West Hartford, CT 06117-1470
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         1616 of 3075

Brenda Greene                                     Clm No 174846    Filed In Cases: 607
10039 Lake Louisa Road                            Class                Claim Detail Amount         Final Allowed Amount
Clermont, FL 34711
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Nita Greene                                       Clm No 174847    Filed In Cases: 607
184 Chicago Ave                                   Class                Claim Detail Amount         Final Allowed Amount
Valparaiso, FL 32580
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer, Esq.                        Clm No 174848    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         1617 of 3075

Richard Greenslade                                Clm No 174849    Filed In Cases: 607
Box 56                                            Class                Claim Detail Amount         Final Allowed Amount
Soda Springs, ID 83276
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Alma Greenwood                                    Clm No 174850    Filed In Cases: 607
1236 E. 37th Court                                Class                Claim Detail Amount         Final Allowed Amount
Des Moines, IA 50317
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Ted Gregerson                                     Clm No 174851    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1618 of 3075

Sharon Gregory                                    Clm No 174852    Filed In Cases: 607
4433 Chantilly Way                                Class                Claim Detail Amount         Final Allowed Amount
Milton, FL 32583
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Nell Gregory                                      Clm No 174853    Filed In Cases: 607
6795 W. 84th Circle, #4                           Class                Claim Detail Amount         Final Allowed Amount
Arvada, CO 80003
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Archie Gregory                                    Clm No 174854    Filed In Cases: 607
16 East Burgess Road                              Class                Claim Detail Amount         Final Allowed Amount
Pensacola, FL 32503-0000
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1619 of 3075

c/o David Jagolinzer, Esq.                        Clm No 174855    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Doris Grenier                                     Clm No 174856    Filed In Cases: 607
613 W. Lakeshore Drive                            Class                Claim Detail Amount         Final Allowed Amount
CoCoa, FL 32926-3262
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174857    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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  Claims Details                                                                                         1620 of 3075

c/o David Jagolinzer, Esq.                        Clm No 174858    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174859    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




William Griffin                                   Clm No 174860    Filed In Cases: 607
1210 Boston Turnpike                              Class                Claim Detail Amount         Final Allowed Amount
Coventry, CT 06238
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1621 of 3075

Virginia Griffin                                  Clm No 174861    Filed In Cases: 607
15 Wayside Road                                   Class                Claim Detail Amount         Final Allowed Amount
Portland, ME 04102
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Scott Griffin                                     Clm No 174862    Filed In Cases: 607
1805 Camphor Drive                                Class                Claim Detail Amount         Final Allowed Amount
Lakeland, FL 33803
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




John Griffing                                     Clm No 174863    Filed In Cases: 607
44 Tomlinson Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Plainville, CT 06062
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                         1622 of 3075

Thomas Griffis                                    Clm No 174864    Filed In Cases: 607
6600 Chelsea Street                               Class                Claim Detail Amount         Final Allowed Amount
Pensacola, FL 32506-4550
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Carol Griffith                                    Clm No 174865    Filed In Cases: 607
1608 SW Lincoln                                   Class                Claim Detail Amount         Final Allowed Amount
Topeka, KS 66604
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174866    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1623 of 3075

James Griglak                                     Clm No 174867    Filed In Cases: 607
701 West 2nd Street North                         Class                Claim Detail Amount         Final Allowed Amount
Ladysmith, WI 54848
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Harley Grimes                                     Clm No 174868    Filed In Cases: 607
2637 Flat Branch Road                             Class                Claim Detail Amount         Final Allowed Amount
Tracy City, TN 37387-4810
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174869    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1624 of 3075

Alice Griner                                      Clm No 174870    Filed In Cases: 607
2312 Palm Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Seffner, FL 33584
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174871    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Joan Grobe                                        Clm No 174872    Filed In Cases: 607
W180-S8641 Cottage Circle East                    Class                Claim Detail Amount         Final Allowed Amount
Apt. 1053
                                                  UNS                                $1.00
Muskego, WI 53150
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                           1625 of 3075

Joseph Groh                                         Clm No 174873    Filed In Cases: 607
N 77 W 17700 Lake Park Drive                        Class                Claim Detail Amount         Final Allowed Amount
Apt. 208
                                                    UNS                                $1.00
Menomonee Falls, WI 53051
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Paul Groleau                                        Clm No 174874    Filed In Cases: 607
47 Glazier Street                                   Class                Claim Detail Amount         Final Allowed Amount
Boylston, MA 01505
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Norma Gronblom                                      Clm No 174875    Filed In Cases: 607
21 John Dee Road                                    Class                Claim Detail Amount         Final Allowed Amount
Sterling, MA 01564
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                         1626 of 3075

Joan Groom                                        Clm No 174876    Filed In Cases: 607
9211 Highway 269                                  Class                Claim Detail Amount         Final Allowed Amount
Parrish, AL 35580
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Leo Gross                                         Clm No 174877    Filed In Cases: 607
741 Skylark Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Oconomowoc, WI 53066
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Donald Gross                                      Clm No 174878    Filed In Cases: 607
500 W Goldfield Avenue                            Class                Claim Detail Amount         Final Allowed Amount
Space #22
                                                  UNS                                $1.00
Yerington, NV 89447-3314
                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         1627 of 3075

c/o David Jagolinzer, Esq.                        Clm No 174879    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174880    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174881    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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c/o David Jagolinzer, Esq.                        Clm No 174882    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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c/o David Jagolinzer, Esq.                        Clm No 174883    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Delbert Grunstead                                 Clm No 174884    Filed In Cases: 607
1855 18th Street                                  Class                Claim Detail Amount         Final Allowed Amount
Sparks, NV 89431
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1629 of 3075

Edward Gryga, Jr.                                 Clm No 174885    Filed In Cases: 607
198 N. Cherry Street                              Class                Claim Detail Amount         Final Allowed Amount
Wallingford, CT 16492
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Wendy Farnitano                                   Clm No 174886    Filed In Cases: 607
399 Whitebridge Road                              Class                Claim Detail Amount         Final Allowed Amount
Hampstead, NC 28443
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Crispin Guagardo                                  Clm No 174887    Filed In Cases: 607
6426 Monroe Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Hammond, IN 46324-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1630 of 3075

Carol M. Guerin                                   Clm No 174888    Filed In Cases: 607
37 Hampton Town Estates                           Class                Claim Detail Amount         Final Allowed Amount
Hampton, NH 03842
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Victor Guernier                                   Clm No 174889    Filed In Cases: 607
7749 Belmont Street                               Class                Claim Detail Amount         Final Allowed Amount
Hammond, IN 46324-3310
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Robert Guertin                                    Clm No 174890    Filed In Cases: 607
P.O. Box 6154                                     Class                Claim Detail Amount         Final Allowed Amount
Wolcott, CT 06716
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1631 of 3075

Jeffrey Guest                                     Clm No 174891    Filed In Cases: 607
819 Second Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
New Smyrna Beach, FL 32169
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Sheila Guilder                                    Clm No 174892    Filed In Cases: 607
333 Las Olas Way                                  Class                Claim Detail Amount         Final Allowed Amount
Apt 410
                                                  UNS                          $10,000.00
Ft. Lauderdale, FL 33301
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




Bruce Guimont                                     Clm No 174893    Filed In Cases: 607
2990 Eagle Street                                 Class                Claim Detail Amount         Final Allowed Amount
Carson City, NV 89704
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                           1632 of 3075

Marjorie Guinn                                      Clm No 174894    Filed In Cases: 607
P.O. Boc 7993                                       Class                Claim Detail Amount         Final Allowed Amount
Alexandria, LA 71306-0993
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Gwenneth Neal                                       Clm No 174895    Filed In Cases: 607
4815 Airway Drive N.E. Lot 1                        Class                Claim Detail Amount         Final Allowed Amount
Moses Lake, WA 98837
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Melinda Claudette                                   Clm No 174896    Filed In Cases: 607
1698 Highway 19 South                               Class                Claim Detail Amount         Final Allowed Amount
Meansville, GA 30256
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                         1633 of 3075

c/o David Jagolinzer, Esq.                        Clm No 174897    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Barbara Guriak, Jr.                               Clm No 174898    Filed In Cases: 607
12259 Mayors Drive                                Class                Claim Detail Amount         Final Allowed Amount
Jakcsonville, FL 32223
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Carol Gurney                                      Clm No 174899    Filed In Cases: 607
42 Portland Road                                  Class                Claim Detail Amount         Final Allowed Amount
Braintree, MA 02184
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1634 of 3075

Eleanor Gushes                                    Clm No 174900    Filed In Cases: 607
21300 W. Conifer Drive                            Class                Claim Detail Amount         Final Allowed Amount
Plainfield, IL 60544-5610
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Bobbie Gunthrie                                   Clm No 174901    Filed In Cases: 607
C/O Donald Gunthrie                               Class                Claim Detail Amount         Final Allowed Amount
680 Scott Cemetary Road
                                                  UNS                                $1.00
Carbon Hill, AL 35549
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Carol Gutzman                                     Clm No 174902    Filed In Cases: 607
500 S. Third Street                               Class                Claim Detail Amount         Final Allowed Amount
Marquette, MI 49855
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1635 of 3075

Debra Guyton- King                                Clm No 174903    Filed In Cases: 607
211 Pine Bluff Road                               Class                Claim Detail Amount         Final Allowed Amount
Lot #73
                                                  UNS                                $1.00
Albany, GA 31705
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Mae Gwozdz                                        Clm No 174904    Filed In Cases: 607
c/o Carol Davis                                   Class                Claim Detail Amount         Final Allowed Amount
18 Dorset Road
                                                  UNS                                $1.00
New Britain, CT 06052
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174905    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                          1636 of 3075

James Andrew Haas                                  Clm No 174906    Filed In Cases: 607
426 W Franklin                                     Class                Claim Detail Amount         Final Allowed Amount
Naperville, IL 60540
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Diana Habbe                                        Clm No 174907    Filed In Cases: 607
5009 West Colonial Drive #3                        Class                Claim Detail Amount         Final Allowed Amount
Tampa, FL 33611-6767
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174908    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


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  Claims Details                                                                                         1637 of 3075

c/o David Jagolinzer, Esq.                        Clm No 174909    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Terry Hadden                                      Clm No 174910    Filed In Cases: 607
402 Borghild Drive                                Class                Claim Detail Amount         Final Allowed Amount
Maryville, TN 37801
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Lillian Haffey                                    Clm No 174911    Filed In Cases: 607
St. Mary of the Woods                             Class                Claim Detail Amount         Final Allowed Amount
35755 Detroit Road #211
                                                  UNS                                $1.00
Avon, OH 44011
                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         1638 of 3075

Gail Hagan                                        Clm No 174912    Filed In Cases: 607
5109 Blue Heron Drive                             Class                Claim Detail Amount         Final Allowed Amount
New Port Richey, FL 34652
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Myra Hagel                                        Clm No 174913    Filed In Cases: 607
5700 Mercer Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Missoula, MT 59808
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174914    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1639 of 3075

ArleneHaggerty                                    Clm No 174915    Filed In Cases: 607
11 Boyden Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Foxboro, MA 02035
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174916    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174917    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1640 of 3075

Alan Hake                                         Clm No 174918    Filed In Cases: 607
P.O. Box 651                                      Class                Claim Detail Amount         Final Allowed Amount
Preston, ID 83263
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Cedric Hakian                                     Clm No 174919    Filed In Cases: 607
31 Noor Drive                                     Class                Claim Detail Amount         Final Allowed Amount
Coventry, CT 06238
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174920    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                          1641 of 3075

Chester Hale                                       Clm No 174921    Filed In Cases: 607
53-1 Mile Creek Road                               Class                Claim Detail Amount         Final Allowed Amount
Old Lyme, CT 06371
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174922    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Ann Haley                                          Clm No 174923    Filed In Cases: 607
301 N. Progree Ave, Apt E-3                        Class                Claim Detail Amount         Final Allowed Amount
Harrisburg, PA 17109
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         1642 of 3075

c/o David Jagolinzer, Esq.                        Clm No 174924    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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John Halko                                        Clm No 174925    Filed In Cases: 607
523 Dupont Street                                 Class                Claim Detail Amount         Final Allowed Amount
Moosic, PA 18507
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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Jean Hall                                         Clm No 174926    Filed In Cases: 607
621 Salerno Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Deltona, FL 32725-8449
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          1643 of 3075

Jamely Hall                                        Clm No 174927    Filed In Cases: 607
2256 Red Mountain Terrace South                    Class                Claim Detail Amount         Final Allowed Amount
Birmingham, AL 35205
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed               6-Oct-2015
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James Hall                                         Clm No 174928    Filed In Cases: 607
2136 East Hwy 52                                   Class                Claim Detail Amount         Final Allowed Amount
Hartford, Al 36344
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed               6-Oct-2015
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Catherine Hall                                     Clm No 174929    Filed In Cases: 607
4917 Mercedes Circle                               Class                Claim Detail Amount         Final Allowed Amount
Bessemer, AL 35022
                                                   UNS                                $1.00

                                                                                      $1.00


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Ronnie Hall                                       Clm No 174930    Filed In Cases: 607
319 Suncrest Blvd                                 Class                Claim Detail Amount         Final Allowed Amount
Savannah, GA 31410
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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c/o David Jagolinzer, Esq.                        Clm No 174931    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Marion Hall                                       Clm No 174932    Filed In Cases: 607
762 Capitol Rd.                                   Class                Claim Detail Amount         Final Allowed Amount
Valparaiso, IN 46385-9240
                                                  UNS                                $1.00

                                                                                     $1.00


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c/o David Jagolinzer, Esq.                         Clm No 174933    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Thomas Hall                                        Clm No 174934    Filed In Cases: 607
119 Indiana Ave                                    Class                Claim Detail Amount         Final Allowed Amount
South Bend, IN 46616
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Edward Hall                                        Clm No 174935    Filed In Cases: 607
27 North Connecticut Street                        Class                Claim Detail Amount         Final Allowed Amount
Hobart, IN 46342
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         1646 of 3075

Eugene Hall                                       Clm No 174936    Filed In Cases: 607
620 Cherry Street                                 Class                Claim Detail Amount         Final Allowed Amount
Anaconda, MT 59711
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Frank Hall                                        Clm No 174937    Filed In Cases: 607
7450 North 400 West                               Class                Claim Detail Amount         Final Allowed Amount
Rensselaer, IN 47978
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Rita Hallebo                                      Clm No 174938    Filed In Cases: 607
13400 SW 80th Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33156
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                         1647 of 3075

Gary Hallett                                      Clm No 174939    Filed In Cases: 607
59151 Overseas Highway                            Class                Claim Detail Amount         Final Allowed Amount
Lot 51
                                                  UNS                                $1.00
Marathon, FL 33050
                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Joewayne Hallum                                   Clm No 174940    Filed In Cases: 607
5068 Bryn Mawr Court                              Class                Claim Detail Amount         Final Allowed Amount
Anchorage, AK 99508-4722
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Joseph Halowich                                   Clm No 174941    Filed In Cases: 607
672 Route 29                                      Class                Claim Detail Amount         Final Allowed Amount
Harveys Lake, PA 18618
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         1648 of 3075

c/o David Jagolinzer, Esq.                        Clm No 174942    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Alice Hamel                                       Clm No 174943    Filed In Cases: 607
12 Baptist Ave                                    Class                Claim Detail Amount         Final Allowed Amount
Chicopee, MA 01013
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Edward Hamerski                                   Clm No 174944    Filed In Cases: 607
1225 Edgewood Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Stevens Point, WI 54481
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1649 of 3075

Robert Hames                                      Clm No 174945    Filed In Cases: 607
814 Minnesota Avenue                              Class                Claim Detail Amount         Final Allowed Amount
P.O. Box 81
                                                  UNS                                $1.00
Vailer, MT 59486
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Cynthia Seay                                      Clm No 174946    Filed In Cases: 607
292 Gail Street                                   Class                Claim Detail Amount         Final Allowed Amount
Dallas, GA 30132
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Helen Hamilton                                    Clm No 174947    Filed In Cases: 607
103 Wheatland Circle                              Class                Claim Detail Amount         Final Allowed Amount
Eutaw, AL 35462
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1650 of 3075

c/o David Jagolinzer, Esq.                        Clm No 174948    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Mayomie Hamilton                                  Clm No 174949    Filed In Cases: 607
9447 US Highway 62                                Class                Claim Detail Amount         Final Allowed Amount
Benton, KY 42025
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 174950    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1651 of 3075

Roberta Hammett                                   Clm No 174951    Filed In Cases: 607
76 Pinson Road                                    Class                Claim Detail Amount         Final Allowed Amount
Anniston, AL 36201
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Shirley Hammock                                   Clm No 174952    Filed In Cases: 607
214 Thracher Road                                 Class                Claim Detail Amount         Final Allowed Amount
Plant City, FL 33566
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Lucretia Milbrecht                                Clm No 174953    Filed In Cases: 607
2510 Park Plaza                                   Class                Claim Detail Amount         Final Allowed Amount
Sebring, Fl 33870
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          1652 of 3075

Lunnie Hammond                                     Clm No 174954    Filed In Cases: 607
3001 Granville Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Bessemer, AL 35020
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Robert Hamnik                                      Clm No 174955    Filed In Cases: 607
712 Oakside Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Schererville, IN 46375-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174956    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          1653 of 3075

c/o David Jagolinzer, Esq.                         Clm No 174957    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Raymond Hancock                                    Clm No 174958    Filed In Cases: 607
PO Box 126                                         Class                Claim Detail Amount         Final Allowed Amount
Obrien, FL 32071
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Clyde Hancock                                      Clm No 174959    Filed In Cases: 607
6510 Old Melbourn Highway                          Class                Claim Detail Amount         Final Allowed Amount
Saint Cloud, FL 34771-0000
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          1654 of 3075

c/o David Jagolinzer, Esq.                         Clm No 174960    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Alma Hand                                          Clm No 174961    Filed In Cases: 607
16844 Country Road 51                              Class                Claim Detail Amount         Final Allowed Amount
Jemison, AL 35085
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Noble Hand                                         Clm No 174962    Filed In Cases: 607
224 South Center Street                            Class                Claim Detail Amount         Final Allowed Amount
Bremen, IN 46506
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          1655 of 3075

c/o David Jagolinzer, Esq.                         Clm No 174963    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Deloris Handley                                    Clm No 174964    Filed In Cases: 607
833 Idlewood Road                                  Class                Claim Detail Amount         Final Allowed Amount
Birmingham, AL 32535
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174965    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                          1656 of 3075

Nelda Hanley                                       Clm No 174966    Filed In Cases: 607
204 Barney Loop                                    Class                Claim Detail Amount         Final Allowed Amount
Cardova, AL 35550-4441
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Thomas Hanlon                                      Clm No 174967    Filed In Cases: 607
4301 Clemson Cir #B                                Class                Claim Detail Amount         Final Allowed Amount
Eagan, MN 55122-1882
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174968    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                          1657 of 3075

Hazel Hannah                                       Clm No 174969    Filed In Cases: 607
C/o Linda Hannah                                   Class                Claim Detail Amount         Final Allowed Amount
PO Box 327
                                                   UNS                                $1.00
Cottondale, AL 35453
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174970    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Rita Hannan                                        Clm No 174971    Filed In Cases: 607
500 Victory Highway Apt. 15                        Class                Claim Detail Amount         Final Allowed Amount
North Smithfield, RI 02896
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          1658 of 3075

c/o David Jagolinzer, Esq.                         Clm No 174972    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Bruce Hannifin                                     Clm No 174973    Filed In Cases: 607
158 Newington Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Hartford, CT 06106
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Mozelle Hansen                                     Clm No 174974    Filed In Cases: 607
812 Plainfield Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Orange Park, FL 32073
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          1659 of 3075

Ferreira, Brenda                                   Clm No 174975    Filed In Cases: 607
33359 Cortez Blvd                                  Class                Claim Detail Amount         Final Allowed Amount
Ridge Manor, FL 33523
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174976    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Priscilla Hanson                                   Clm No 174977    Filed In Cases: 607
2945 Mia Drive                                     Class                Claim Detail Amount         Final Allowed Amount
Grand Junction, CO 81503
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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Roger Harbour                                      Clm No 174978    Filed In Cases: 607
85 Main Street                                     Class                Claim Detail Amount         Final Allowed Amount
Sandisfield, MA 01255
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 174979    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Jody Kleutgen                                      Clm No 174980    Filed In Cases: 607
3116 63rd Street                                   Class                Claim Detail Amount         Final Allowed Amount
Woodridge, IL 60517
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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c/o David Jagolinzer, Esq.                         Clm No 174981    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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Christine Harden                                   Clm No 174982    Filed In Cases: 607
1289 East Wisconsin Avenue                         Class                Claim Detail Amount         Final Allowed Amount
Deland, FL 32724
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




PAUL HARDING                                       Clm No 174983    Filed In Cases: 607
55 ROUND HILL ROAD                                 Class                Claim Detail Amount         Final Allowed Amount
KINSTON, MA 02364
                                                   UNS                                $1.00

                                                                                      $1.00


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MARGUERITE MUNZEL                                Clm No 174984    Filed In Cases: 607
521 BLUE HERON DRIVE                             Class                Claim Detail Amount         Final Allowed Amount
PANAMA CITY, FL 32404-2801
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




RUTH HARE                                        Clm No 174985    Filed In Cases: 607
6873 PLYMOUTH DR S                               Class                Claim Detail Amount         Final Allowed Amount
LAKE WORTH, FL 33462
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




HENRIETTA HARGABUS                               Clm No 174986    Filed In Cases: 607
816 LOCKLEAR AVENUE                              Class                Claim Detail Amount         Final Allowed Amount
SARASOTA, FL 34237
                                                 UNS                          $10,000.00

                                                                              $10,000.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value        $10,000.00




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HAROLD HARGETT                                    Clm No 174987    Filed In Cases: 607
6034 CAROLE DRIVE                                 Class                Claim Detail Amount         Final Allowed Amount
MILFORD, OH 45150
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 174988    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 174989    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         1664 of 3075

GARY HARMONY                                      Clm No 174990    Filed In Cases: 607
2350 TAPANZEE LANE                                Class                Claim Detail Amount         Final Allowed Amount
LAWRENCEVILLE, GA 30044
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




DONALD HARNESS                                    Clm No 174991    Filed In Cases: 607
10666 REUTEZL DRIVE                               Class                Claim Detail Amount         Final Allowed Amount
BOISE, ID 38709
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




SANDRA HARNEY                                     Clm No 174992    Filed In Cases: 607
4180 SHIRLEY LANE                                 Class                Claim Detail Amount         Final Allowed Amount
MORRIS, IL 60450
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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 Claims Details                                                                                         1665 of 3075

ANGELA HARNEY                                    Clm No 174993    Filed In Cases: 607
52 UNDERWOOD ST.                                 Class                Claim Detail Amount         Final Allowed Amount
FALL RIVER, MA 02720
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




JAMES HARPER                                     Clm No 174994    Filed In Cases: 607
5341 SCOTT DRIVE                                 Class                Claim Detail Amount         Final Allowed Amount
PINSON, AL 35126
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




RONNIE HINNANT                                   Clm No 174995    Filed In Cases: 607
12821 PLUMMER GRAND ROAD                         Class                Claim Detail Amount         Final Allowed Amount
JACKSONVILLE, FL 32258
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




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  Claims Details                                                                                         1666 of 3075

JOHN HARRELL                                      Clm No 174996    Filed In Cases: 607
1198 COUNTY ROAD 18                               Class                Claim Detail Amount         Final Allowed Amount
OZARK, AL 36360
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 174997    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 174998    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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 Claims Details                                                                                         1667 of 3075

ESTELLE HARRIMAN                                 Clm No 174999    Filed In Cases: 607
203 LAKESIDE LANDING ROAD                        Class                Claim Detail Amount         Final Allowed Amount
GLENBURN, ME 04401
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




CLOTENE HARRINGTON                               Clm No 175000    Filed In Cases: 607
4575 HEATH STREET                                Class                Claim Detail Amount         Final Allowed Amount
PADUCAH, KY 42003
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




JAMES HARRINGTON                                 Clm No 175001    Filed In Cases: 607
32 GREENWOOD TERRACE                             Class                Claim Detail Amount         Final Allowed Amount
CHICOPEE, MA 01022-1114
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




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  Claims Details                                                                                         1668 of 3075

RONALD HARRIS                                     Clm No 175002    Filed In Cases: 607
153 BERKSHIRE DRIVE                               Class                Claim Detail Amount         Final Allowed Amount
OZARK, AL 36360
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




JAMES HARRIS                                      Clm No 175003    Filed In Cases: 607
6366 ALLEGAN ROAD                                 Class                Claim Detail Amount         Final Allowed Amount
VERMONTVILLE, MI 49096
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




MARIA HARRIS                                      Clm No 175004    Filed In Cases: 607
3385 WINDSOR LANE                                 Class                Claim Detail Amount         Final Allowed Amount
JOLIET, IL 60431
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1669 of 3075

BERNICE HARRIS                                    Clm No 175005    Filed In Cases: 607
PO BOX 3543                                       Class                Claim Detail Amount         Final Allowed Amount
JACKSONVILLE, FL 32206-3743
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 175006    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




BENJAMIN HARRIS                                   Clm No 175007    Filed In Cases: 607
25 ARMADILLO                                      Class                Claim Detail Amount         Final Allowed Amount
TRL #25
                                                  UNS                                $1.00
LAKE PLACID, FL 33852-6272
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                           1670 of 3075

Ronald HARRIS                                       Clm No 175008    Filed In Cases: 607
2531 Plainview Road                                 Class                Claim Detail Amount         Final Allowed Amount
Cheyenne, WY 82009
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Albert HARRIS                                       Clm No 175009    Filed In Cases: 607
2848 East 79th Street, 1st Floor                    Class                Claim Detail Amount         Final Allowed Amount
Chicago, IL 60649-5232
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




C/O DAVID JAGOLINZER, ESQ                           Clm No 175010    Filed In Cases: 607
600 BRICKELL AVENUE                                 Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                    UNS                                $1.00
MIAMI, FL 33131
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         1671 of 3075

C/O DAVID JAGOLINZER, ESQ                         Clm No 175011    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




REBECCA HARRISON                                  Clm No 175012    Filed In Cases: 607
4928 BREAM BLVD                                   Class                Claim Detail Amount         Final Allowed Amount
VERNON, FL 32462
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 175013    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1672 of 3075

FRANK HARRISON                                    Clm No 175014    Filed In Cases: 607
2728 HART ROAD                                    Class                Claim Detail Amount         Final Allowed Amount
HIGHLAND, IN 46322-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 175015    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




WILLIAM HARRYMAN                                  Clm No 175016    Filed In Cases: 607
760 NORTH 2ND WEST                                Class                Claim Detail Amount         Final Allowed Amount
SPANISH FORK, UT 84660
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         1673 of 3075

c/o David Jagolinzer, Esq.                        Clm No 175017    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




PATRONELLA HART                                   Clm No 175018    Filed In Cases: 607
PO BOX 18                                         Class                Claim Detail Amount         Final Allowed Amount
CRAYNE, KY 412033
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




EDWINA HARTFORD                                   Clm No 175019    Filed In Cases: 607
180 KEARSARGE STREET                              Class                Claim Detail Amount         Final Allowed Amount
PORTSMOUTH, NH 03801
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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 Claims Details                                                                                         1674 of 3075

RUSSELL HARTLEY                                  Clm No 175020    Filed In Cases: 607
1364 ROBIN ROAD                                  Class                Claim Detail Amount         Final Allowed Amount
MUSKEGAN, MI 49445
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




SANDY BAKER                                      Clm No 175021    Filed In Cases: 607
9375 ASHWOOD COURT                               Class                Claim Detail Amount         Final Allowed Amount
MOBILE, AL 36695
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




JACK HARTLEY                                     Clm No 175022    Filed In Cases: 607
1130 RED DANDY DR.                               Class                Claim Detail Amount         Final Allowed Amount
ORLANDO, FL 32818
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




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FRANCES HARTMAN                                   Clm No 175023    Filed In Cases: 607
214 E CRESTWOOD                                   Class                Claim Detail Amount         Final Allowed Amount
MORTON, IL 61550
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




JOHN HARTMAN                                      Clm No 175024    Filed In Cases: 607
6836 WOODMAN AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
HAMMOND, IN 46323
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Forrest Hartson                                   Clm No 175025    Filed In Cases: 607
144 Luna Trail                                    Class                Claim Detail Amount         Final Allowed Amount
SOUTHBURY, CT 06488
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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C/O DAVID JAGOLINZER, ESQ                         Clm No 175026    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




GEORGE HARVARD                                    Clm No 175027    Filed In Cases: 607
1037 CARACARA CIRCLE NORTH                        Class                Claim Detail Amount         Final Allowed Amount
LAKELAND, FL 33809
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




LARRY HARWOOD                                     Clm No 175028    Filed In Cases: 607
1203 SOUTH 22ND AVE                               Class                Claim Detail Amount         Final Allowed Amount
YAKIMA, WA 98902
                                                  UNS                                $1.00

                                                                                     $1.00


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C/O DAVID JAGOLINZER, ESQ                         Clm No 175029    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




KENNETH HASCUP                                    Clm No 175030    Filed In Cases: 607
666 RINGWOOD AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
APT. 13
                                                  UNS                                $1.00
WANAQUE, NJ 07465
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




EDWARD HASENOHRL                                  Clm No 175031    Filed In Cases: 607
444 GLENWOOD HEIGHTS                              Class                Claim Detail Amount         Final Allowed Amount
WISCONSIN RAPIDS, WI 54494
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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EILLEEN HASLAM                                   Clm No 175032    Filed In Cases: 607
1064 BEDFORD STREET                              Class                Claim Detail Amount         Final Allowed Amount
APT #2
                                                 UNS                                $1.00
ABINGTON, MA 02351-1260
                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




LOUIS HASZA                                      Clm No 175033    Filed In Cases: 607
1826 EAST DIVISION STREET                        Class                Claim Detail Amount         Final Allowed Amount
HOBART, IN 46342
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




MARGARET S. HATCHER                              Clm No 175034    Filed In Cases: 607
10393 HIGHWAY 115                                Class                Claim Detail Amount         Final Allowed Amount
MAYNARD, AR 72444-9110
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




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C/O DAVID JAGOLINZER, ESQ                         Clm No 175035    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 175036    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 175037    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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C/O DAVID JAGOLINZER, ESQ                         Clm No 175038    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




JOAN HAY                                          Clm No 175039    Filed In Cases: 607
228 SOUTH ASHBURNHAM ROAD                         Class                Claim Detail Amount         Final Allowed Amount
WESTMINSTER, MA 01473
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




CHARLES HAYDEN                                    Clm No 175040    Filed In Cases: 607
9521 JOHNSON ROAD                                 Class                Claim Detail Amount         Final Allowed Amount
PHILPOT, KY 42366
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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RUBY HAYES                                        Clm No 175041    Filed In Cases: 607
301 STERLING BOULEVARD                            Class                Claim Detail Amount         Final Allowed Amount
SHEFFIELD, AL 35660
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




ALONZO HAYES                                      Clm No 175042    Filed In Cases: 607
H.C. 61                                           Class                Claim Detail Amount         Final Allowed Amount
BOX 985
                                                  UNS                                $1.00
ARGILLITE, KY 41121
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




ELESSIE HAYES                                     Clm No 175043    Filed In Cases: 607
5636 CONNECTICUT STREET                           Class                Claim Detail Amount         Final Allowed Amount
MERRILLVILLE, IN 46410
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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MARY HAZEN                                       Clm No 175044    Filed In Cases: 607
20 FARVIEW DRIVE                                 Class                Claim Detail Amount         Final Allowed Amount
SANFORD, ME 04073
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




JAMES HAZLIP                                     Clm No 175045    Filed In Cases: 607
903 JANET AVENUE                                 Class                Claim Detail Amount         Final Allowed Amount
INTERLACHEN, FL 32148
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




LESLIE HEAD                                      Clm No 175046    Filed In Cases: 607
4002 WEST HIDALGO                                Class                Claim Detail Amount         Final Allowed Amount
PHOENIX, AZ 85041
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




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 Claims Details                                                                                         1683 of 3075

DONALD HEAGY                                     Clm No 175047    Filed In Cases: 607
3340 13TH AVENUE SOUTH                           Class                Claim Detail Amount         Final Allowed Amount
GREAT FALLS, MT 59405-0000
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




SHARON HEALY                                     Clm No 175048    Filed In Cases: 607
11 RONALD DRIVE                                  Class                Claim Detail Amount         Final Allowed Amount
WORCESTER, MA 01604
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




MARGARET HEALY                                   Clm No 175049    Filed In Cases: 607
350 TRENSCH                                      Class                Claim Detail Amount         Final Allowed Amount
NEW MILFOD, NJ 07646
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
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  Claim Face Value             $1.00




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  Claims Details                                                                                         1684 of 3075

CLARENCE HEDGE                                    Clm No 175050    Filed In Cases: 607
PO BOX 2587                                       Class                Claim Detail Amount         Final Allowed Amount
COLUMBIA FALLS, MT 59912-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 175051    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




JACK HEEMSBERGEN                                  Clm No 175052    Filed In Cases: 607
403 FREMONT STREET                                Class                Claim Detail Amount         Final Allowed Amount
PENROSE, CO 891240
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         1685 of 3075

C/O DAVID JAGOLINZER, ESQ                         Clm No 175053    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 175054    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 175055    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1686 of 3075

LILLIAN HEIKKINEN                                 Clm No 175056    Filed In Cases: 607
C/O PAUL N POTTI, ESQ. AHO & POTTI, LLP           Class                Claim Detail Amount         Final Allowed Amount
23629 LIBERTY, SUITE 100
                                                  UNS                          $10,000.00
FARMINGTON, MI 48335
                                                                               $10,000.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 175057    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




ROBERT HEISE                                      Clm No 175058    Filed In Cases: 607
217 SHERHAM WAY                                   Class                Claim Detail Amount         Final Allowed Amount
ROCK HILL, SC 29732
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         1687 of 3075

C/O DAVID JAGOLINZER, ESQ                         Clm No 175059    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




JOANNE HEITZMAN                                   Clm No 175060    Filed In Cases: 607
9 PEPER RD                                        Class                Claim Detail Amount         Final Allowed Amount
TOWACO, NJ 07082
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




JOAN HELIN                                        Clm No 175061    Filed In Cases: 607
848 NORTH NORTHWEST HIGHWAY                       Class                Claim Detail Amount         Final Allowed Amount
PARK RIDGE, IL 60068
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1688 of 3075

SUZY JAFINE                                       Clm No 175062    Filed In Cases: 607
3460 S. OCEAN BLVD.                               Class                Claim Detail Amount         Final Allowed Amount
APT 512
                                                  UNS                          $10,000.00
PALM BEACH, FL 33480-5908
                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




LILLIAN HELLEY                                    Clm No 175063    Filed In Cases: 607
158 RANGER ROAD                                   Class                Claim Detail Amount         Final Allowed Amount
SOMERSET, MA 02726
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 175064    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1689 of 3075

FRANCES HELMS                                     Clm No 175065    Filed In Cases: 607
910 N 8TH ST                                      Class                Claim Detail Amount         Final Allowed Amount
CLINTON, IN 47842
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




C/O DAVID JAGOLINZER, ESQ                         Clm No 175066    Filed In Cases: 607
600 BRICKELL AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
SUITE 3800
                                                  UNS                                $1.00
MIAMI, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




DOROTHY HENDERSON                                 Clm No 175067    Filed In Cases: 607
428 DARST AVENUE                                  Class                Claim Detail Amount         Final Allowed Amount
PUNTA GORDA, FL 33950
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          1690 of 3075

c/o David Jagolinzer, Esq.                         Clm No 175068    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 175069    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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Henderson, Kathleen                                Clm No 175070    Filed In Cases: 607
164 Woodbridge Circle                              Class                Claim Detail Amount         Final Allowed Amount
Daytona Beach, FL 32119
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          1691 of 3075

Maggie Henderson (Alzheimers)                      Clm No 175071    Filed In Cases: 607
805 26th Street SW                                 Class                Claim Detail Amount         Final Allowed Amount
Birmingham, AL 32535
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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Phyllis Henderson                                  Clm No 175072    Filed In Cases: 607
7610 Southwest 188th Avenue                        Class                Claim Detail Amount         Final Allowed Amount
Dunnellon, FL 34432
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Eugene Henderson                                   Clm No 175073    Filed In Cases: 607
4921 Carey St.                                     Class                Claim Detail Amount         Final Allowed Amount
East Chicago, IN 46312-0000
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         1692 of 3075

Mary Henley                                       Clm No 175074    Filed In Cases: 607

                                                  Class                Claim Detail Amount         Final Allowed Amount
Panama City Beach, FL
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Anna M. Hennis                                    Clm No 175075    Filed In Cases: 607
702 Ferncroft Tower                               Class                Claim Detail Amount         Final Allowed Amount
Middleton, MA 01949
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Henry, Scott                                      Clm No 175076    Filed In Cases: 607
3190 Highway 95, Apt. 401                         Class                Claim Detail Amount         Final Allowed Amount
Bullhead, AZ 86442
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          1693 of 3075

c/o David Jagolinzer, Esq.                         Clm No 175077    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Robert Hensley                                     Clm No 175078    Filed In Cases: 607
11781 North Buffalo                                Class                Claim Detail Amount         Final Allowed Amount
Chubbuck, ID 83202
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Cannon, Cheryl                                     Clm No 175079    Filed In Cases: 607
3264 Cooley Street                                 Class                Claim Detail Amount         Final Allowed Amount
Portage, IN 46368
                                                   UNS                                $1.00

                                                                                      $1.00


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Rebecca Herbert, Sr.                              Clm No 175080    Filed In Cases: 607
24 NE Village Road                                Class                Claim Detail Amount         Final Allowed Amount
Concord, NH 03301
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Richard Herbon                                    Clm No 175081    Filed In Cases: 607
558 Meadow Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Dixon, IL 61021
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Jeffrey Herman                                    Clm No 175082    Filed In Cases: 607
2613 Dwight Street                                Class                Claim Detail Amount         Final Allowed Amount
Racine, WI 53403-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                          1695 of 3075

James Hermann                                      Clm No 175083    Filed In Cases: 607
221 Vine Street                                    Class                Claim Detail Amount         Final Allowed Amount
Hammond, IN 46324
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 175084    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Jane Herrera                                       Clm No 175085    Filed In Cases: 607
Lot 106, 534 E. 27th Avenue                        Class                Claim Detail Amount         Final Allowed Amount
Hobart, IN 46342-2250
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          1696 of 3075

c/o David Jagolinzer, Esq.                         Clm No 175086    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Frank Herrera                                      Clm No 175087    Filed In Cases: 607
P.O. box 2673                                      Class                Claim Detail Amount         Final Allowed Amount
Fewrnley, NV 89408-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Herrick, Jayne                                     Clm No 175088    Filed In Cases: 607
352 E. 51 Street, Apt. 2-F                         Class                Claim Detail Amount         Final Allowed Amount
New York, NY 10022
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




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  Claims Details                                                                                          1697 of 3075

Alonzo Herrin                                      Clm No 175089    Filed In Cases: 607
12475 Fry Road Northeast                           Class                Claim Detail Amount         Final Allowed Amount
Aurora, OR 97002-9428
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




James Herring                                      Clm No 175090    Filed In Cases: 607
651 Lasster Road                                   Class                Claim Detail Amount         Final Allowed Amount
Silas, AL 36919
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 175091    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          1698 of 3075

c/o David Jagolinzer, Esq.                         Clm No 175092    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 175093    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 175094    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         1699 of 3075

Williams, Helen                                   Clm No 175095    Filed In Cases: 607
2616 Respectful Court                             Class                Claim Detail Amount         Final Allowed Amount
Las Vegas, NV 89031
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Kenneth Hester                                    Clm No 175096    Filed In Cases: 607
60 Surrey Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Windsor, CT 06095
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




James Hester                                      Clm No 175097    Filed In Cases: 607
4886 FM 462 South                                 Class                Claim Detail Amount         Final Allowed Amount
Hondo, TX 78861-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1700 of 3075

Theadoris Hester                                  Clm No 175098    Filed In Cases: 607
609 North Carroll Parkway                         Class                Claim Detail Amount         Final Allowed Amount
Glenwood, IL 60425-1173
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Carla Hettinger                                   Clm No 175099    Filed In Cases: 607
132 Highway Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Yorkville, IL 60560
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Gerald Heward                                     Clm No 175100    Filed In Cases: 607
9407 East 142nd Avenue                            Class                Claim Detail Amount         Final Allowed Amount
Herbron, IN 46341
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1701 of 3075

James Hewitt                                      Clm No 175101    Filed In Cases: 607
1819 Monroe                                       Class                Claim Detail Amount         Final Allowed Amount
Butte, MT 59701
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Heyburn, Donna                                    Clm No 175102    Filed In Cases: 607
1714 Ridge Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Holly Hill, FL 32117
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Ernest Heyse                                      Clm No 175103    Filed In Cases: 607
19485 Detroit Avenue                              Class                Claim Detail Amount         Final Allowed Amount
South Bend, IN 46614-5639
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                           1702 of 3075

Brenda Heyworth                                     Clm No 175104    Filed In Cases: 607
22258 South Galahad Drive                           Class                Claim Detail Amount         Final Allowed Amount
Joliet, IL 60404
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Peter Hiam                                          Clm No 175105    Filed In Cases: 607
2909 Elizabeth Warren Avenue                        Class                Claim Detail Amount         Final Allowed Amount
Butte, MT 59701-3907
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Thomas Hicken                                       Clm No 175106    Filed In Cases: 607
PO Box 4                                            Class                Claim Detail Amount         Final Allowed Amount
Hanna, UT 84031
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                          1703 of 3075

c/o David Jagolinzer, Esq.                         Clm No 175107    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Barbara Hickey                                     Clm No 175108    Filed In Cases: 607
28 Mellon Road                                     Class                Claim Detail Amount         Final Allowed Amount
Warwick, RI 02889-8232
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 175109    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         1704 of 3075

Jeanie Hickox                                     Clm No 175110    Filed In Cases: 607
27 McKinley Circle                                Class                Claim Detail Amount         Final Allowed Amount
PO Box 271
                                                  UNS                                $1.00
Marlborough, NH 03455
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Gail Hicks                                        Clm No 175111    Filed In Cases: 607
170 Clear Lake Circle                             Class                Claim Detail Amount         Final Allowed Amount
Sanford, FL 32773
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Victor Hicks                                      Clm No 175112    Filed In Cases: 607
5132 East Sweetwater                              Class                Claim Detail Amount         Final Allowed Amount
Scottsdale, AZ 85254
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1705 of 3075

Eddie Hicks                                       Clm No 175113    Filed In Cases: 607
735 Hwy. 469                                      Class                Claim Detail Amount         Final Allowed Amount
Martha, KY 41159
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Moore, Dawn                                       Clm No 175114    Filed In Cases: 607
54 Tredeau Street                                 Class                Claim Detail Amount         Final Allowed Amount
Hartford, CT 06114
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Marie Cole                                        Clm No 175115    Filed In Cases: 607
2747 Highway 28E Apt.706                          Class                Claim Detail Amount         Final Allowed Amount
Pineville, LA 71360-5746
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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  Claims Details                                                                                         1706 of 3075

Marie Hidden                                      Clm No 175116    Filed In Cases: 607
24 Hall Street                                    Class                Claim Detail Amount         Final Allowed Amount
Revere, MA 02151
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Higginbotham, Delene                              Clm No 175117    Filed In Cases: 607
3883 Galicia Road                                 Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32217
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Catherine Higgins                                 Clm No 175118    Filed In Cases: 607
5993 Campo Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Keystone Heights, FL 32656
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                          1707 of 3075

Norman Higgins                                     Clm No 175119    Filed In Cases: 607
160 Hopewell Road                                  Class                Claim Detail Amount         Final Allowed Amount
South Glastonbury, CT 06073
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Rosner, Waynes                                     Clm No 175120    Filed In Cases: 607
28 Linda Street                                    Class                Claim Detail Amount         Final Allowed Amount
S. Hadley, MA 01075
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




Higgns, Paul                                       Clm No 175121    Filed In Cases: 607
100 Sprague Street                                 Class                Claim Detail Amount         Final Allowed Amount
Portsmouth, RI 02871
                                                   UNS                          $10,000.00

                                                                                $10,000.00


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  Claims Details                                                                                          1708 of 3075

Dianne M. Hightower                                Clm No 175122    Filed In Cases: 607
3N536 Linda                                        Class                Claim Detail Amount         Final Allowed Amount
Addison, IL 60101
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Richard Hildebrand                                 Clm No 175123    Filed In Cases: 607
21 Berry Lane                                      Class                Claim Detail Amount         Final Allowed Amount
Bourbanrais, IL 60914-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 175124    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          1709 of 3075

Lina Hill                                          Clm No 175125    Filed In Cases: 607
495 Emerald Road                                   Class                Claim Detail Amount         Final Allowed Amount
Ocala, FL 34472
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Robert Hill                                        Clm No 175126    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Colette Hill                                       Clm No 175127    Filed In Cases: 607
102 East Towne Plaza                               Class                Claim Detail Amount         Final Allowed Amount
Titusville, FL 32796
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          1710 of 3075

Palmer Hill                                        Clm No 175128    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Mary Hill                                          Clm No 175129    Filed In Cases: 607
1024 Frazier Street                                Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32209
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Claudine Hill                                      Clm No 175130    Filed In Cases: 607
750 Yale Street                                    Class                Claim Detail Amount         Final Allowed Amount
Apt. 203
                                                   UNS                                $1.00
Harrisburg, PA 17111
                                                                                      $1.00


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  Claims Details                                                                                         1711 of 3075

Clinton Hill                                      Clm No 175131    Filed In Cases: 607
2527 East Blanche Drive                           Class                Claim Detail Amount         Final Allowed Amount
Phoenix, AZ 85032
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




John Hill                                         Clm No 175132    Filed In Cases: 607
17630 North 35th Street                           Class                Claim Detail Amount         Final Allowed Amount
Phoenix, AZ 85032-2014
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Wendell Hill                                      Clm No 175133    Filed In Cases: 607
4220 East Hamblin Drive                           Class                Claim Detail Amount         Final Allowed Amount
Phoenix, AZ 85024
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                          1712 of 3075

Rex, James                                         Clm No 175134    Filed In Cases: 607
1000 S. Ocean Boulevard                            Class                Claim Detail Amount         Final Allowed Amount
Apartment 17K
                                                   UNS                          $10,000.00
Pompano Beach, FL 33062-6651
                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




John Hille                                         Clm No 175135    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Hill, Lois                                         Clm No 175136    Filed In Cases: 607
12 Bicknell Street                                 Class                Claim Detail Amount         Final Allowed Amount
Kittery, ME 03904
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          1713 of 3075

Henry Hilton                                       Clm No 175137    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Sheri Hilton                                       Clm No 175138    Filed In Cases: 607
8450 South 1575 East                               Class                Claim Detail Amount         Final Allowed Amount
Sandy, UT 84093
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




June M. Hines                                      Clm No 175139    Filed In Cases: 607
880 Beach Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Atlantic Beach, FL 32233
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




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  Claims Details                                                                                         1714 of 3075

Adrianne Hinsdale                                 Clm No 175140    Filed In Cases: 607
1115 Butternut Road                               Class                Claim Detail Amount         Final Allowed Amount
Glen Mills, PA 19342
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Juliet Hinson                                     Clm No 175141    Filed In Cases: 607
25994 U.S. Highway 43                             Class                Claim Detail Amount         Final Allowed Amount
Gallion, AL 36742
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Virginia Hiott                                    Clm No 175142    Filed In Cases: 607
271 Vista Ridge                                   Class                Claim Detail Amount         Final Allowed Amount
West Blocton, AL 35184
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                          1715 of 3075

Fredrick Hobbs                                     Clm No 175143    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Thomas Hobby                                       Clm No 175144    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




James Hodge                                        Clm No 175145    Filed In Cases: 607
6 Spinn Aker Road                                  Class                Claim Detail Amount         Final Allowed Amount
Waterford, CT 06385
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          1716 of 3075

Everett Hodge                                      Clm No 175146    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Donald Hodge                                       Clm No 175147    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Donald Hodges                                      Clm No 175148    Filed In Cases: 607
1737 North Graceland Avenue                        Class                Claim Detail Amount         Final Allowed Amount
Decatur, IL 62526-4035
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         1717 of 3075

Howard Hodgson                                    Clm No 175149    Filed In Cases: 607
1610 West Pinto                                   Class                Claim Detail Amount         Final Allowed Amount
Colbert, WA 99005-9797
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




John Hoebbel                                      Clm No 175150    Filed In Cases: 607
9101 Kopp Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Cleves, OH 45002
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Ronald Hoff                                       Clm No 175151    Filed In Cases: 607
1041 S Archers Way                                Class                Claim Detail Amount         Final Allowed Amount
Nekoosa, WI 54457
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          1718 of 3075

Betty Hoffie                                       Clm No 175152    Filed In Cases: 607
1508 Windsor Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Harrison, AR 72601
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Carl Hoffman                                       Clm No 175153    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Armella Hoffmann                                   Clm No 175154    Filed In Cases: 607
5065 Scottie Court                                 Class                Claim Detail Amount         Final Allowed Amount
New Franken, WI 54229
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         1719 of 3075

Richard Hofstetter                                Clm No 175155    Filed In Cases: 607
7786 Maple Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Fremont, WI 54940
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Lewis Hogue                                       Clm No 175156    Filed In Cases: 607
211 5th Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
Prescott, IA 50859
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




John Hogue                                        Clm No 175157    Filed In Cases: 607
11244 North 200 East                              Class                Claim Detail Amount         Final Allowed Amount
Morristown, IN 46161
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1720 of 3075

Edward Hohrein                                    Clm No 175158    Filed In Cases: 607
16453 Hollow Drive                                Class                Claim Detail Amount         Final Allowed Amount
Caldwell, ID 83607-8644
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Dolores Hoida                                     Clm No 175159    Filed In Cases: 607
10635 W. Allwood Drive                            Class                Claim Detail Amount         Final Allowed Amount
Franklin, WI 53132
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Miles Holcomb                                     Clm No 175160    Filed In Cases: 607
18 Martinka Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Shelton, CT 06484
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1721 of 3075

Minnie Johnson-Holcomb                            Clm No 175161    Filed In Cases: 607
348 Indian Village Rd                             Class                Claim Detail Amount         Final Allowed Amount
Slidell, LA 70461
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




James Holcombe                                    Clm No 175162    Filed In Cases: 607
32691 Hwy 31 S.                                   Class                Claim Detail Amount         Final Allowed Amount
Calera, AL 35040
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Davis,Carol                                       Clm No 175163    Filed In Cases: 607
187 MT. Lebanon Church Road                       Class                Claim Detail Amount         Final Allowed Amount
Greer, SC 29651
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1722 of 3075

Gary Holen                                        Clm No 175164    Filed In Cases: 607
W19501 N. River Road                              Class                Claim Detail Amount         Final Allowed Amount
Whitehall, WI 54773
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Deborah Holladay                                  Clm No 175165    Filed In Cases: 607
8764 SW 51st Court                                Class                Claim Detail Amount         Final Allowed Amount
Cooper City, FL 33328
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Sandra Holland                                    Clm No 175166    Filed In Cases: 607
4147 E. Cottonwood Road                           Class                Claim Detail Amount         Final Allowed Amount
Dothan, AL 36301
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          1723 of 3075

William Hollaway                                   Clm No 175167    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Holley, Gordon                                     Clm No 175168    Filed In Cases: 607
10615 Buffalo Bend                                 Class                Claim Detail Amount         Final Allowed Amount
Houston, TX 77064
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Wilford Holley                                     Clm No 175169    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          1724 of 3075

Kenneth Holley                                     Clm No 175170    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Holliday, Patrick                                  Clm No 175171    Filed In Cases: 607
300 Herrell Road                                   Class                Claim Detail Amount         Final Allowed Amount
Villa Rica, GA 30180
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Robert Hollifield                                  Clm No 175172    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                          $10,000.00
Miami, FL 33131
                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




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  Claims Details                                                                                            1725 of 3075

John Hollingworth                                    Clm No 175173    Filed In Cases: 607
251 Shawna Lane                                      Class                Claim Detail Amount         Final Allowed Amount
Hillsboro, TN 37342-0000
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Marion Holloman                                      Clm No 175174    Filed In Cases: 607
192 Cain Court North                                 Class                Claim Detail Amount         Final Allowed Amount
Douglasville, GA 30134
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Robert Holman                                        Clm No 175175    Filed In Cases: 607
1395 West Van Buren Avenue                           Class                Claim Detail Amount         Final Allowed Amount
Salt Lake City, UT 84104-2915
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




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  Claims Details                                                                                          1726 of 3075

Shirley Holmes                                     Clm No 175176    Filed In Cases: 607
15 G Ruthmary Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Brinybreezey, FL 33435-7375
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Lynne Holmes                                       Clm No 175177    Filed In Cases: 607
7 Magnolia Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Enfield, CT 06082
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Robert Holmes                                      Clm No 175178    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


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  Claims Details                                                                                          1727 of 3075

Willie Holt                                        Clm No 175179    Filed In Cases: 607
102 Oak Forest Drive                               Class                Claim Detail Amount         Final Allowed Amount
Birmingham, AL 35217
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Archie Holt                                        Clm No 175180    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




William Holzschuh                                  Clm No 175181    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


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  Claims Details                                                                                          1728 of 3075

Homer, Anna                                        Clm No 175182    Filed In Cases: 607
7 Roosevelt Circle                                 Class                Claim Detail Amount         Final Allowed Amount
South Easton, MA 02375
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Robert Hood                                        Clm No 175183    Filed In Cases: 607
8839 Ed Lee Road                                   Class                Claim Detail Amount         Final Allowed Amount
Panama City, FL 32404-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




William Hooker                                     Clm No 175184    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                          $10,000.00
Miami, FL 33131
                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




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  Claims Details                                                                                          1729 of 3075

Jane Hooper                                        Clm No 175185    Filed In Cases: 607
56 Eaton Road                                      Class                Claim Detail Amount         Final Allowed Amount
Framingham, MA 01701
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Doris Hopkins                                      Clm No 175186    Filed In Cases: 607
35 Pepperidge Road                                 Class                Claim Detail Amount         Final Allowed Amount
Paramus, NJ 07652
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Bruce Hopkins                                      Clm No 175187    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                          $10,000.00
Miami, FL 33131
                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




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  Claims Details                                                                                          1730 of 3075

Margaret Hoppe                                     Clm No 175188    Filed In Cases: 607
9 Brigatine Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Grays Lake, IL 60030
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Wilbert Hoppe                                      Clm No 175189    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Richard Hopper                                     Clm No 175190    Filed In Cases: 607
3908 Midway Road                                   Class                Claim Detail Amount         Final Allowed Amount
Beaver Dam, KY 42320-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         1731 of 3075

Edward Horan                                      Clm No 175191    Filed In Cases: 607
35 Crestview Drive                                Class                Claim Detail Amount         Final Allowed Amount
Newington, CT 06111
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Michael Horan                                     Clm No 175192    Filed In Cases: 607
46 Olney Road                                     Class                Claim Detail Amount         Final Allowed Amount
Wethersfield, CT 06109
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Horan, James                                      Clm No 175193    Filed In Cases: 607
P.O. Box 7480                                     Class                Claim Detail Amount         Final Allowed Amount
Avon, CO 81620
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                         1732 of 3075

Hernandez, Debora                                 Clm No 175194    Filed In Cases: 607
P.O. Box 82062                                    Class                Claim Detail Amount         Final Allowed Amount
Tampa, FL 33682-2062
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Thomas Horne                                      Clm No 175195    Filed In Cases: 607
9930 Highway 10                                   Class                Claim Detail Amount         Final Allowed Amount
Butte, MT 59701
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Johnnie Horney                                    Clm No 175196    Filed In Cases: 607
10928 Happy Hollow CIR                            Class                Claim Detail Amount         Final Allowed Amount
Suches, GA 30572-2325
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         1733 of 3075

Donald Horntvedt                                  Clm No 175197    Filed In Cases: 607
219605 East Perkins Road                          Class                Claim Detail Amount         Final Allowed Amount
Kennewick, WA 99336
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Danny Hortman                                     Clm No 175198    Filed In Cases: 607
3468 Bailey Road                                  Class                Claim Detail Amount         Final Allowed Amount
Dacula, GA 30211
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Moquin, Louise                                    Clm No 175199    Filed In Cases: 607
73 Plaine Street                                  Class                Claim Detail Amount         Final Allowed Amount
Worcester, MA 01605
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         1734 of 3075

Mary Horton                                       Clm No 175200    Filed In Cases: 607
C/O Linda Atanasoff                               Class                Claim Detail Amount         Final Allowed Amount
47921 S. Fremont Road
                                                  UNS                          $10,000.00
Kennewick, WA 99337-9145
                                                                               $10,000.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Charles Horton                                    Clm No 175201    Filed In Cases: 607
8736 Monroe Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Munster, IN 46321
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Eddie Horton                                      Clm No 175202    Filed In Cases: 607
4359 Shady Bend Drive                             Class                Claim Detail Amount         Final Allowed Amount
Dallas, TX 75244-7448
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                          1735 of 3075

Sandor Horvath                                     Clm No 175203    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Haigh, Doris                                       Clm No 175204    Filed In Cases: 607
120 Celestial Way #110                             Class                Claim Detail Amount         Final Allowed Amount
Juno Beach, FL 33408
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Royce Houchens                                     Clm No 175205    Filed In Cases: 607
929 Coopertown Road                                Class                Claim Detail Amount         Final Allowed Amount
Russelville, KY 42276
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                             1736 of 3075

Bettye House (Deceased)                               Clm No 175206    Filed In Cases: 607
7058 l1 Route 72 E                                    Class                Claim Detail Amount         Final Allowed Amount
Skillman Valley, IL 61084-9621
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Harry House                                           Clm No 175207    Filed In Cases: 607
c/o David Jagolinzer, Esq.                            Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                      UNS                                $1.00
Miami, FL 33131
                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Fred House                                            Clm No 175208    Filed In Cases: 607
c/o David Jagolinzer, Esq.                            Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                      UNS                                $1.00
Miami, FL 33131
                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                          1737 of 3075

Marshall House                                     Clm No 175209    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Nellie House                                       Clm No 175210    Filed In Cases: 607
1300 Jasma Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Pensacoa, FL 32534
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




Marvin House                                       Clm No 175211    Filed In Cases: 607
1594 Apache Way                                    Class                Claim Detail Amount         Final Allowed Amount
Ogden, UT 84403
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         1738 of 3075

James House                                       Clm No 175212    Filed In Cases: 607
2911 Old Oxford Road                              Class                Claim Detail Amount         Final Allowed Amount
Hamilton, OH 45013
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Robert Hovermale                                  Clm No 175213    Filed In Cases: 607
1108 West 8th Street                              Class                Claim Detail Amount         Final Allowed Amount
Mishawake, IN 46541
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Addis Howard                                      Clm No 175214    Filed In Cases: 607
600 Perry Dr. 462                                 Class                Claim Detail Amount         Final Allowed Amount
Ashburn, GA 31714-5423
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         1739 of 3075

Howard, Timothy                                   Clm No 175215    Filed In Cases: 607
8633 Don Ray Way                                  Class                Claim Detail Amount         Final Allowed Amount
Ootewah, TN 37363
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Carolyn Howard                                    Clm No 175216    Filed In Cases: 607
3456 Sring Glen Road                              Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32207
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Eleanor Howard                                    Clm No 175217    Filed In Cases: 607
212 E Park Box 64                                 Class                Claim Detail Amount         Final Allowed Amount
Minier, IL 91759
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                          1740 of 3075

Barbara Howard                                     Clm No 175218    Filed In Cases: 607
28540 Old Mill Road                                Class                Claim Detail Amount         Final Allowed Amount
Wesley Chapel, FL 33544
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Charles Howard                                     Clm No 175219    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Stalbaum, Debra                                    Clm No 175220    Filed In Cases: 607
4105 South, 250 West                               Class                Claim Detail Amount         Final Allowed Amount
North Judson, IN 46366
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         1741 of 3075

Irma Howard                                       Clm No 175221    Filed In Cases: 607
P.O. Box 7480                                     Class                Claim Detail Amount         Final Allowed Amount
Philpot, KY 42366
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




L. Charles Howard                                 Clm No 175222    Filed In Cases: 607
1134 Trent Drive                                  Class                Claim Detail Amount         Final Allowed Amount
South Jordan, UT 84095
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Claude Howard                                     Clm No 175223    Filed In Cases: 607
H.C. 61 Box 634                                   Class                Claim Detail Amount         Final Allowed Amount
Salyersville, KY 41465
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1742 of 3075

Susan Howarth                                     Clm No 175224    Filed In Cases: 607
147 Swain Road                                    Class                Claim Detail Amount         Final Allowed Amount
Barrington, NH 03825
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Bernice Howe                                      Clm No 175225    Filed In Cases: 607
P.O. Box 629                                      Class                Claim Detail Amount         Final Allowed Amount
Greene, ME 04236
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Paul Howe                                         Clm No 175226    Filed In Cases: 607
18219 North Sterling Drive                        Class                Claim Detail Amount         Final Allowed Amount
Surprise, AZ 85374
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                          1743 of 3075

Ruth Howe                                          Clm No 175227    Filed In Cases: 607
301 N. Boling Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Luverne, AL 36049-4633
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Charles Howell                                     Clm No 175228    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Patricia Howell                                    Clm No 175229    Filed In Cases: 607
350 Tompkins Street                                Class                Claim Detail Amount         Final Allowed Amount
Heflin, AL 36264
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          1744 of 3075

George Howell                                      Clm No 175230    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Darrell Howell                                     Clm No 175231    Filed In Cases: 607
1136 West Pampa Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Mesa, AZ 85210
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Mary Hoy                                           Clm No 175232    Filed In Cases: 607
19 Evergreen Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Oakdale, CT 06370
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         1745 of 3075

Lisa Hoyle                                        Clm No 175233    Filed In Cases: 607
216 Wilimantic Road                               Class                Claim Detail Amount         Final Allowed Amount
Batic, CT 06330
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Barbara Hrinko                                    Clm No 175234    Filed In Cases: 607
1 Bradley Place                                   Class                Claim Detail Amount         Final Allowed Amount
Palm Coast, FL 32137
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Hubbard-Matthews, Andrea                          Clm No 175235    Filed In Cases: 607
204 Highgate St.                                  Class                Claim Detail Amount         Final Allowed Amount
Needham, MA 02492
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                          1746 of 3075

Miles Hubbard                                      Clm No 175236    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Alfred Huber                                       Clm No 175237    Filed In Cases: 607
1955 Sager Road                                    Class                Claim Detail Amount         Final Allowed Amount
Valparaiso, IN 46383
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Norman Huddler                                     Clm No 175238    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          1747 of 3075

Emma Hudson                                        Clm No 175239    Filed In Cases: 607
RR1 Box 133A                                       Class                Claim Detail Amount         Final Allowed Amount
Sawyerville, AL 36776
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Elmer Hudson                                       Clm No 175240    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                          $10,000.00
Miami, FL 33131
                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Donna Hudson                                       Clm No 175241    Filed In Cases: 607
17625 North Sixth Street                           Class                Claim Detail Amount         Final Allowed Amount
Phoenix, AZ 85022
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         1748 of 3075

Madelyn Huelsberg                                 Clm No 175242    Filed In Cases: 607
560 West May Street                               Class                Claim Detail Amount         Final Allowed Amount
Benton Harbor, MI 49022
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




William Huerkamp                                  Clm No 175243    Filed In Cases: 607
505 N. Badger Street                              Class                Claim Detail Amount         Final Allowed Amount
Apt 107
                                                  UNS                                $1.00
Caledonia, MN 55921-1557
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Danny Huff                                        Clm No 175244    Filed In Cases: 607
180 Malone Road                                   Class                Claim Detail Amount         Final Allowed Amount
Chillicothe, OH 45601-8597
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1749 of 3075

Huffer, Judy                                      Clm No 175245    Filed In Cases: 607
PO Box 33                                         Class                Claim Detail Amount         Final Allowed Amount
Lynchburg, TN 37352-0033
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Lillian Huffine                                   Clm No 175246    Filed In Cases: 607
5932 Mayo Street                                  Class                Claim Detail Amount         Final Allowed Amount
Hollywood, FL 33023
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




John Huffman                                      Clm No 175247    Filed In Cases: 607
8609 East Cactus Road                             Class                Claim Detail Amount         Final Allowed Amount
Scottsdale, AZ 85260
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                          1750 of 3075

Leonard Hufstetler                                 Clm No 175248    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Dorothy Huggard                                    Clm No 175249    Filed In Cases: 607
965 N 400 E                                        Class                Claim Detail Amount         Final Allowed Amount
Lehi, UT 84043
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Linda Hughes                                       Clm No 175250    Filed In Cases: 607
281 Cotton Hill Road                               Class                Claim Detail Amount         Final Allowed Amount
New Hartford, CT 06057
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                          1751 of 3075

Lilton Hughes                                      Clm No 175251    Filed In Cases: 607
1610 Rhode Island                                  Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46407
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




George Hughes                                      Clm No 175252    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Donald Hughes                                      Clm No 175253    Filed In Cases: 607
100 N. Rodeo Gulch Road                            Class                Claim Detail Amount         Final Allowed Amount
SPC 54
                                                   UNS                                $1.00
Soque, CA 95073-2060
                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                          1752 of 3075

Rebecca Hughett                                    Clm No 175254    Filed In Cases: 607
2975 St. Vincent Ave.                              Class                Claim Detail Amount         Final Allowed Amount
LaSalle, IL 61301
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Charles Hugya                                      Clm No 175255    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Nicholas Huisman                                   Clm No 175256    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                          1753 of 3075

Robert Hulback                                     Clm No 175257    Filed In Cases: 607
North 941 State Hwy 40                             Class                Claim Detail Amount         Final Allowed Amount
New Auburn, WI 54757
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Harry Hull                                         Clm No 175258    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Weir Humes                                         Clm No 175259    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


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  Claims Details                                                                                         1754 of 3075

Elfriede Hummel                                   Clm No 175260    Filed In Cases: 607
1740 Hartford Turnpike                            Class                Claim Detail Amount         Final Allowed Amount
North Haven, CT 06473
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




James Humphrey                                    Clm No 175261    Filed In Cases: 607
727 Lawson Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Lafayette, IN 47905-4422
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Patrick Hunt                                      Clm No 175262    Filed In Cases: 607
19 Winona Street                                  Class                Claim Detail Amount         Final Allowed Amount
Peabody, MA 01960
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                          1755 of 3075

William Hunt                                       Clm No 175263    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                          $10,000.00
Miami, FL 33131
                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




Sonya Hunter                                       Clm No 175264    Filed In Cases: 607
2109 Magee Street                                  Class                Claim Detail Amount         Final Allowed Amount
Prichard, AL 36610
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Edward Hunter                                      Clm No 175265    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          1756 of 3075

Moses Hunter                                       Clm No 175266    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




John Hunter                                        Clm No 175267    Filed In Cases: 607
4841 E 25th Pl                                     Class                Claim Detail Amount         Final Allowed Amount
Lake Station, IN 46405
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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Clarence Hunter                                    Clm No 175268    Filed In Cases: 607
2437 W. 63rd Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Merrillvile, IN 46410-0000
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         1757 of 3075

Jean Huntington                                   Clm No 175269    Filed In Cases: 607
29 Leonard Terrace                                Class                Claim Detail Amount         Final Allowed Amount
Wayne, NJ 07470
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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Bert Huntington                                   Clm No 175270    Filed In Cases: 607
473 East 3050 North                               Class                Claim Detail Amount         Final Allowed Amount
Provo, UT 84604
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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John Hurley                                       Clm No 175271    Filed In Cases: 607
18650 W. Observatory Road                         Class                Claim Detail Amount         Final Allowed Amount
New Berin, WI 53146
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          1758 of 3075

Keith Hursh                                        Clm No 175272    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




George Hurst                                       Clm No 175273    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Robert Huse                                        Clm No 175274    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          1759 of 3075

Charles Huseby                                     Clm No 175275    Filed In Cases: 607
725 Liberty Street #1                              Class                Claim Detail Amount         Final Allowed Amount
Kalispell, MT 59901-3055
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Richard Huss                                       Clm No 175276    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Gene Husted                                        Clm No 175277    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          1760 of 3075

Jones, Vicky                                       Clm No 175278    Filed In Cases: 607
1930 Bay Tree Court                                Class                Claim Detail Amount         Final Allowed Amount
Port Orange, FL 32128
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Dennis Hutchens                                    Clm No 175279    Filed In Cases: 607
11019 Fathke Road                                  Class                Claim Detail Amount         Final Allowed Amount
Crown Point, IN 46307-8849
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Dennis Hutcherson                                  Clm No 175280    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


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  Claims Details                                                                                         1761 of 3075

Eldon Hutchins                                    Clm No 175281    Filed In Cases: 607
407 E H Street                                    Class                Claim Detail Amount         Final Allowed Amount
Lot 13
                                                  UNS                                $1.00
Deer Park, WA 99006
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Darla Hutton                                      Clm No 175282    Filed In Cases: 607
420 S. Mazon Street                               Class                Claim Detail Amount         Final Allowed Amount
Coal City, IL 60416
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Delmar Hyatt                                      Clm No 175283    Filed In Cases: 607
2036 South Glen Eagle Terrace                     Class                Claim Detail Amount         Final Allowed Amount
Lecanto, FL 34461-8210
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                          1762 of 3075

James Hyde                                         Clm No 175284    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Thomas Hylek                                       Clm No 175285    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Ricky Hylton                                       Clm No 175286    Filed In Cases: 607
RR3 Box 365                                        Class                Claim Detail Amount         Final Allowed Amount
Bluefield, VW 24701
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         1763 of 3075

David Iannaccone                                  Clm No 175287    Filed In Cases: 607
3250 East Sheridan St.                            Class                Claim Detail Amount         Final Allowed Amount
Phoenix, AZ 85008
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Julie Imperl                                      Clm No 175288    Filed In Cases: 607
2983 S. 96 Street                                 Class                Claim Detail Amount         Final Allowed Amount
W. Allis, WI 53227
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Judith Imschweiler                                Clm No 175289    Filed In Cases: 607
10 Ronald Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Potsville, PA 17801
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                          1764 of 3075

Haydee Infante                                     Clm No 175290    Filed In Cases: 607
9321 NW 7 Street                                   Class                Claim Detail Amount         Final Allowed Amount
Apt. 203
                                                   UNS                          $10,000.00
Miami, FL 33126
                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Bobby Ingalls                                      Clm No 175291    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




James Ingle                                        Clm No 175292    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         1765 of 3075

Betty Ingram                                      Clm No 175293    Filed In Cases: 607
509 9th Street                                    Class                Claim Detail Amount         Final Allowed Amount
Port St. Joe, FL 32456
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Ruth Ingram                                       Clm No 175294    Filed In Cases: 607
4322 NW 11th Court                                Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33127
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Elizabeth Ingram                                  Clm No 175295    Filed In Cases: 607
104 Ames Road                                     Class                Claim Detail Amount         Final Allowed Amount
Brockton, MA 02402
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                          1766 of 3075

John Ingram                                        Clm No 175296    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                          $10,000.00
Miami, FL 33131
                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




William Ingram                                     Clm No 175297    Filed In Cases: 607
P. O. Box 220                                      Class                Claim Detail Amount         Final Allowed Amount
Waynesville, GA 31566-0220
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




ANNA INGUAGGIATO                                   Clm No 175298    Filed In Cases: 607
31 BOWLING GREEN DR                                Class                Claim Detail Amount         Final Allowed Amount
NORTH HAVEN, CT, 06473
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         1767 of 3075

HERMENE INORIO                                    Clm No 175299    Filed In Cases: 607
3 WHITE OAK DR                                    Class                Claim Detail Amount         Final Allowed Amount
CLINTON, CT, 06413
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




CLARENCE INZER                                    Clm No 175300    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ                         Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE ST3 3800
                                                  UNS                                $1.00
MIAMI FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




HELEN IOAKIMIDIS                                  Clm No 175301    Filed In Cases: 607
1300 MACKINAW PLACE                               Class                Claim Detail Amount         Final Allowed Amount
SCHERERVILLE, IN, 46375
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1768 of 3075

BETTY IOVINO                                      Clm No 175302    Filed In Cases: 607
629 EPWORTH PL,                                   Class                Claim Detail Amount         Final Allowed Amount
OTTAWA, IL, 61350
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




JANET IRWIN                                       Clm No 175303    Filed In Cases: 607
2218 PRESQUE ISLE AVE                             Class                Claim Detail Amount         Final Allowed Amount
MARQUETTE, MI, 49855
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




CHRIS IRWIN                                       Clm No 175304    Filed In Cases: 607
913 PARKVIEW DR                                   Class                Claim Detail Amount         Final Allowed Amount
BISMARCK, ND, 58501
                                                  UNS                                $1.00

                                                                                     $1.00


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   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         1769 of 3075

CHRISTINE ISABELLE                                Clm No 175305    Filed In Cases: 607
160 SPRINGS RD                                    Class                Claim Detail Amount         Final Allowed Amount
BEDFORD, MA, 01730
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




JAMES ISRAEL                                      Clm No 175306    Filed In Cases: 607
10301 N DELAWARE ST                               Class                Claim Detail Amount         Final Allowed Amount
INDIANAPOLIS, IN, 46280
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




NICK IVANCEVICH                                   Clm No 175307    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ                         Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE ST3 3800
                                                  UNS                                $1.00
MIAMI FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1770 of 3075

ROSEMARY IVANOFF                                  Clm No 175308    Filed In Cases: 607
117 HOMESTEAD DR                                  Class                Claim Detail Amount         Final Allowed Amount
ROARING BROOK TOWNSHIP, PA, 18444
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




ELLEN IVERSEN                                     Clm No 175309    Filed In Cases: 607
4 WALNUT ST                                       Class                Claim Detail Amount         Final Allowed Amount
LITTLE FALLS, NJ, 07424
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




JACK JACCOD                                       Clm No 175310    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ                         Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE ST3 3800
                                                  UNS                                $1.00
MIAMI FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1771 of 3075

DANIEL JACK                                       Clm No 175311    Filed In Cases: 607
85 BUCK ROAD                                      Class                Claim Detail Amount         Final Allowed Amount
HARRISON, ME, 04040
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




RADMILA JACKOVICH                                 Clm No 175312    Filed In Cases: 607
2005 W 75 PLACE                                   Class                Claim Detail Amount         Final Allowed Amount
BLDG 4 UNIT 23
                                                  UNS                                $1.00
MERILLVILLE, IN, 46410
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




RICHARD JACKSON                                   Clm No 175313    Filed In Cases: 607
2421 E OLIVE RD                                   Class                Claim Detail Amount         Final Allowed Amount
PENSACOLA, FL, 32514
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1772 of 3075

JOHN JACKSON                                      Clm No 175314    Filed In Cases: 607
C/O NANCY L PAYNE                                 Class                Claim Detail Amount         Final Allowed Amount
PO BOX 323
                                                  UNS                                $1.00
MICHIGAN CITY, IN, 46360
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




ROBERT JACKSON                                    Clm No 175315    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ                         Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE ST3 3800
                                                  UNS                                $1.00
MIAMI FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




BRENT JACKSON                                     Clm No 175316    Filed In Cases: 607
139 CARSON AVE                                    Class                Claim Detail Amount         Final Allowed Amount
EAST CARBON, UT, 84520
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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MARK JACKSON                                      Clm No 175317    Filed In Cases: 607
140 E 54TH AVE                                    Class                Claim Detail Amount         Final Allowed Amount
APT #202
                                                  UNS                                $1.00
MERILLVILLE, IN, 46410
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




JOHN DONALDSON                                    Clm No 175318    Filed In Cases: 607
PO BOX 961                                        Class                Claim Detail Amount         Final Allowed Amount
CHIEFLAND, FL, 32644
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




BENJAMIN JACKSON                                  Clm No 175319    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ                         Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE ST3 3800
                                                  UNS                                $1.00
MIAMI FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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DENNIS JACKSON                                   Clm No 175320    Filed In Cases: 607
W254 SO 6710 RIDGE RD                            Class                Claim Detail Amount         Final Allowed Amount
WAUKESHA, WI, 53209
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




LARRY JACKSON                                    Clm No 175321    Filed In Cases: 607
4050 N 19TH PLACE                                Class                Claim Detail Amount         Final Allowed Amount
MILWAUKEE, WI, 53209
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




ADELLA JACKSON                                   Clm No 175322    Filed In Cases: 607
245 PALMER CIRCLE                                Class                Claim Detail Amount         Final Allowed Amount
LEROY, AL, 36548
                                                 UNS                                $1.00

                                                                                    $1.00


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  Claim Face Value             $1.00




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PATSY JACKSON                                    Clm No 175323    Filed In Cases: 607
709 COUNTY RD 574                                Class                Claim Detail Amount         Final Allowed Amount
HANCEVILLE, AL, 35077
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




WILLIE JACKSON                                   Clm No 175324    Filed In Cases: 607
2035 AMERICUS AVE                                Class                Claim Detail Amount         Final Allowed Amount
PENSACOLA, FL, 32507
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




OLIVIA MCCRAY                                    Clm No 175325    Filed In Cases: 607
C/O MITCHELL A SPEARS, ATTORNEY AT LAW           Class                Claim Detail Amount         Final Allowed Amount
PO BOX 119
                                                 UNS                                $1.00
MONTEVALLO AL 35115
                                                                                    $1.00


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  Claims Details                                                                                         1776 of 3075

MIA JACKSON                                       Clm No 175326    Filed In Cases: 607
86185 PINEWOOD DR                                 Class                Claim Detail Amount         Final Allowed Amount
YULEE, FL, 32097
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




JANICE JACKSON                                    Clm No 175327    Filed In Cases: 607
3342 N LAURA ST                                   Class                Claim Detail Amount         Final Allowed Amount
JACSONVILLE, FL, 32206
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




RUTH JACOB                                        Clm No 175328    Filed In Cases: 607
659 WELLS LANDING DR                              Class                Claim Detail Amount         Final Allowed Amount
ORANGE PARK, FL, 32073
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1777 of 3075

FRANCES JACOBS                                    Clm No 175329    Filed In Cases: 607
2851 LEONARD DR                                   Class                Claim Detail Amount         Final Allowed Amount
APT J-506
                                                  UNS                          $10,000.00
AVENTURA, FL, 33160
                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




JEANNETT JACQUES                                  Clm No 175330    Filed In Cases: 607
180 SCHOOL ST                                     Class                Claim Detail Amount         Final Allowed Amount
TAUNTON, MA, 02780
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




RICKEY JAHN                                       Clm No 175331    Filed In Cases: 607
613 W MONROE ST G                                 Class                Claim Detail Amount         Final Allowed Amount
DARDEEVILLE, WI, 53954
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         1778 of 3075

GERALD JAHNKE                                     Clm No 175332    Filed In Cases: 607
429 RIVER HTS                                     Class                Claim Detail Amount         Final Allowed Amount
SHAWANO, WI, 54166
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




ALBERTA JAMES                                     Clm No 175333    Filed In Cases: 607
1304 S 105TH PL,                                  Class                Claim Detail Amount         Final Allowed Amount
APT 1029
                                                  UNS                                $1.00
MESA, AZ, 85209
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




MARY JAMES                                        Clm No 175334    Filed In Cases: 607
1004 E 13TH CT                                    Class                Claim Detail Amount         Final Allowed Amount
PANAMA CITY, FL. 32401
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         1779 of 3075

SIDNEY JAMES                                      Clm No 175335    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ                         Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE ST3 3800
                                                  UNS                                $1.00
MIAMI FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




SALLY JAMES                                       Clm No 175336    Filed In Cases: 607
1209 OBISPO AVE                                   Class                Claim Detail Amount         Final Allowed Amount
CORAL GABLES, FL, 33133
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




VIVIAN HERMAN                                     Clm No 175337    Filed In Cases: 607
33805 S DESERT BLUFF                              Class                Claim Detail Amount         Final Allowed Amount
TUCSON, AZ, 85739
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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CLAUDE JAMESON                                   Clm No 175338    Filed In Cases: 607
7577 N 550 EAST                                  Class                Claim Detail Amount         Final Allowed Amount
ROCHESTER, IN, 46975-7485
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed                6-Oct-2015
  Bar Date
  Claim Face Value               $1.00




DEBRA JAMIESON                                   Clm No 175339    Filed In Cases: 607
400 GEHRING RD                                   Class                Claim Detail Amount         Final Allowed Amount
TOLLAND, CT, 06084
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed                6-Oct-2015
  Bar Date
  Claim Face Value               $1.00




GERALD JANKE                                     Clm No 175340    Filed In Cases: 607
N 482 PARK DR                                    Class                Claim Detail Amount         Final Allowed Amount
NEW AUBURN, WI, 54757
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed                6-Oct-2015
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  Claim Face Value               $1.00




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  Claims Details                                                                                         1781 of 3075

MABEL JASON                                       Clm No 175341    Filed In Cases: 607
624 PATRICIA LN                                   Class                Claim Detail Amount         Final Allowed Amount
HENRY, IL, 61537
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




EDWARD JASPER                                     Clm No 175342    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ                         Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE ST3 3800
                                                  UNS                                $1.00
MIAMI FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




JASPER JASPERSON                                  Clm No 175343    Filed In Cases: 607
406 S MCARTHUR                                    Class                Claim Detail Amount         Final Allowed Amount
PANAMA CITY, FL. 32401
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1782 of 3075

JOHN JAWORSKI                                     Clm No 175344    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ                         Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE ST3 3800
                                                  UNS                                $1.00
MIAMI FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




PRISCILLA JEAN                                    Clm No 175345    Filed In Cases: 607
19 LAKESHORE DR                                   Class                Claim Detail Amount         Final Allowed Amount
BARRINGTON, NH, 03825
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




JOANNE JEAN                                       Clm No 175346    Filed In Cases: 607
89 MASCUPIC TR                                    Class                Claim Detail Amount         Final Allowed Amount
TYNGSBORO, MA, 01879
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1783 of 3075

TERESA BRIDGES                                    Clm No 175347    Filed In Cases: 607
301 MADISON OAKS DR,                              Class                Claim Detail Amount         Final Allowed Amount
RINCON, GA, 31326
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




JACQUELINE JEFFERSON                              Clm No 175348    Filed In Cases: 607
5101 KING DR                                      Class                Claim Detail Amount         Final Allowed Amount
ADAMSVILLE, AL, 35005
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




RUSSELL JEMISON                                   Clm No 175349    Filed In Cases: 607
C/O DAVID JAGOLINZER, ESQ                         Class                Claim Detail Amount         Final Allowed Amount
600 BRICKELL AVE ST3 3800
                                                  UNS                                $1.00
MIAMI FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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LEO JENCKS                                       Clm No 175350    Filed In Cases: 607
916 SUNSHINE WAY SW                              Class                Claim Detail Amount         Final Allowed Amount
WINTER HAVEN, FL, 33880
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




MARY JENKIN                                      Clm No 175351    Filed In Cases: 607
1302 W GIBSON ST                                 Class                Claim Detail Amount         Final Allowed Amount
SCRANTON, PA, 18504
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




ARTHUR JENKINS                                   Clm No 175352    Filed In Cases: 607
8543 5TH AVE N                                   Class                Claim Detail Amount         Final Allowed Amount
BIRMINGHAM, AL, 35206
                                                 UNS                                $1.00

                                                                                    $1.00


  Date Filed              6-Oct-2015
  Bar Date
  Claim Face Value             $1.00




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  Claims Details                                                                                         1785 of 3075

C/O David Jagolinzer, Esq                         Clm No 175353    Filed In Cases: 607
600 Bricker Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Jean Jennings                                     Clm No 175354    Filed In Cases: 607
Dolan Road                                        Class                Claim Detail Amount         Final Allowed Amount
Milburry, MA 01527
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Puch, Cummings Regina                             Clm No 175355    Filed In Cases: 607
2836 Guinn Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Panama Sity, Fl 32406-2424
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1786 of 3075

Norma Jennings                                    Clm No 175356    Filed In Cases: 607
512 172 Street North                              Class                Claim Detail Amount         Final Allowed Amount
East Moline, IL 61244
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Joe Jennings                                      Clm No 175357    Filed In Cases: 607
815 West Diamond Street.                          Class                Claim Detail Amount         Final Allowed Amount
Butte, MT 59701-1526
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Moyra Jenrette                                    Clm No 175358    Filed In Cases: 607
510 Sea Gulf Court                                Class                Claim Detail Amount         Final Allowed Amount
Edgewater, FL 32141
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         1787 of 3075

Mae Jensen                                        Clm No 175359    Filed In Cases: 607
50 Kotar Roada                                    Class                Claim Detail Amount         Final Allowed Amount
Pleasant Mount, PA 18453
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Lloyd Jensen                                      Clm No 175360    Filed In Cases: 607
8090Ralight Place                                 Class                Claim Detail Amount         Final Allowed Amount
Westtminster, CO 80030
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Jackie Jent                                       Clm No 175361    Filed In Cases: 607
P.O Box 1055                                      Class                Claim Detail Amount         Final Allowed Amount
Portage, IN 46368
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         1788 of 3075

Lorraine Jerrier                                  Clm No 175362    Filed In Cases: 607
Box 1287                                          Class                Claim Detail Amount         Final Allowed Amount
Plymouth, MA 02362
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175363    Filed In Cases: 607
600 Brickert Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Fannie Jewell                                     Clm No 175364    Filed In Cases: 607
190 Thompson Street                               Class                Claim Detail Amount         Final Allowed Amount
Springfield, MA 01109
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




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  Claims Details                                                                                         1789 of 3075

John Jewett                                       Clm No 175365    Filed In Cases: 607
P.O Box 6                                         Class                Claim Detail Amount         Final Allowed Amount
Thayer, IN 46831
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Sandra Jiles                                      Clm No 175366    Filed In Cases: 607
855 La Fond Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Dayton, NV 89403
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Ricardo Jimenez                                   Clm No 175367    Filed In Cases: 607
116 Continental                                   Class                Claim Detail Amount         Final Allowed Amount
Henderson, NV 89015-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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Antonio Jimenez                                   Clm No 175368    Filed In Cases: 607
402 W. 14 Street                                  Class                Claim Detail Amount         Final Allowed Amount
Apt 149
                                                  UNS                                $1.00
Hobert, IN 46342
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




William Jinks                                     Clm No 175369    Filed In Cases: 607
P.O Box 782                                       Class                Claim Detail Amount         Final Allowed Amount
Haleyville, Al 35565
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




William Jinks                                     Clm No 175370    Filed In Cases: 607
P.O Box 782                                       Class                Claim Detail Amount         Final Allowed Amount
Haleyville, Al 35565
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1791 of 3075

Joan Levins Jirkovsky                             Clm No 175371    Filed In Cases: 607
23310 NW County Road                              Class                Claim Detail Amount         Final Allowed Amount
Alachua, Fl 32615
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Helen Jobien                                      Clm No 175372    Filed In Cases: 607
105 Benhurst Road                                 Class                Claim Detail Amount         Final Allowed Amount
New Bern, NC 28560
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Marcy Johansen                                    Clm No 175373    Filed In Cases: 607
6 Pinewood gardens                                Class                Claim Detail Amount         Final Allowed Amount
Homosassa, FL 34446
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1792 of 3075

Deborah Johnson                                   Clm No 175374    Filed In Cases: 607
66 King Street                                    Class                Claim Detail Amount         Final Allowed Amount
Johnstom, RI 02919
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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Janet Gardner                                     Clm No 175375    Filed In Cases: 607
352 Killouga Drive                                Class                Claim Detail Amount         Final Allowed Amount
Birmingham, Al 35215
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175376    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
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  Claims Details                                                                                         1793 of 3075

Martha Johnson                                    Clm No 175377    Filed In Cases: 607
47 Smith Road                                     Class                Claim Detail Amount         Final Allowed Amount
Mansfield, MA02048
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Shirley Johnson                                   Clm No 175378    Filed In Cases: 607
102 Massey                                        Class                Claim Detail Amount         Final Allowed Amount
St. Booneville, MS 38829
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175379    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


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  Claims Details                                                                                         1794 of 3075

karen Johnson                                     Clm No 175380    Filed In Cases: 607
116 Dean Creek Trail                              Class                Claim Detail Amount         Final Allowed Amount
Fort McCoy, FL 32134
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Ronald Johnson                                    Clm No 175381    Filed In Cases: 607
12 Davidson Hill Street.                          Class                Claim Detail Amount         Final Allowed Amount
Parrish, AL 35580
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Frank Johnson                                     Clm No 175382    Filed In Cases: 607
371 Cedar Ln.                                     Class                Claim Detail Amount         Final Allowed Amount
Symsonia, KY 42082
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




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  Claims Details                                                                                         1795 of 3075

William Johnson                                   Clm No 175383    Filed In Cases: 607
554 Carmel Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Melbourne, Fl 32940
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




J Johnson                                         Clm No 175384    Filed In Cases: 607
P.O Box 316                                       Class                Claim Detail Amount         Final Allowed Amount
Sipsey, Al 35584
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175385    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1796 of 3075

William Johnson                                   Clm No 175386    Filed In Cases: 607
158 Chester Street                                Class                Claim Detail Amount         Final Allowed Amount
East Hartford, CT 06108
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Patty Johnson                                     Clm No 175387    Filed In Cases: 607
2473 Dianne Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Cocoa, FL 32926
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Martha Johnson                                    Clm No 175388    Filed In Cases: 607
4922 Mccook Ave                                   Class                Claim Detail Amount         Final Allowed Amount
East Chicago, IN 46312
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1797 of 3075

Phillip Johnson                                   Clm No 175389    Filed In Cases: 607
P.O Box 130                                       Class                Claim Detail Amount         Final Allowed Amount
Seville, Fl 32190
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Dorothy Johnson                                   Clm No 175390    Filed In Cases: 607
402 W. 14th Street                                Class                Claim Detail Amount         Final Allowed Amount
#243
                                                  UNS                                $1.00
Hobert, IN 46442
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Shelly Johsnon- Fleet                             Clm No 175391    Filed In Cases: 607
813 Valparaisi Blvd                               Class                Claim Detail Amount         Final Allowed Amount
Nicefille, FL 32578
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1798 of 3075

Bobby Jones                                       Clm No 175392    Filed In Cases: 607
3922 Chotaw Street                                Class                Claim Detail Amount         Final Allowed Amount
Anniston, AL 36206
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Sonja. C. Johnson                                 Clm No 175393    Filed In Cases: 607
5104 Martha Ann Drive                             Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32207
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Mary Johnson                                      Clm No 175394    Filed In Cases: 607
720 W. Breen Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Kingsford, MI 49802
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1799 of 3075

C/O David Jagolinzer, Esq                         Clm No 175395    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Mary Johnson                                      Clm No 175396    Filed In Cases: 607
11216 Leeds street                                Class                Claim Detail Amount         Final Allowed Amount
Panama City, Fl 32404
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Angela Johnson                                    Clm No 175397    Filed In Cases: 607
P.O Box 783                                       Class                Claim Detail Amount         Final Allowed Amount
Defuniak Springs, Fl 32435
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1800 of 3075

C/O David Jagolinzer, Esq                         Clm No 175398    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175399    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, Fl 33331
                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




C/O David Jagolinzer, Esq                         Clm No 175400    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1801 of 3075

C/O David Jagolinzer, Esq                         Clm No 175401    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




C/O David Jagolinzer, Esq                         Clm No 175402    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Roy Johnson                                       Clm No 175403    Filed In Cases: 607
1011 14th Street South                            Class                Claim Detail Amount         Final Allowed Amount
Wisconsin Rapids, WI 54494
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1802 of 3075

Gordon Johnson                                    Clm No 175404    Filed In Cases: 607
1118 vaugh Ave                                    Class                Claim Detail Amount         Final Allowed Amount
Ashland, WI 54806
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Leo Johnson                                       Clm No 175405    Filed In Cases: 607
30 North Cuthroat Pl                              Class                Claim Detail Amount         Final Allowed Amount
Hoodsport, WA 98548
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Merlin Johnson                                    Clm No 175406    Filed In Cases: 607
458 North 125 East                                Class                Claim Detail Amount         Final Allowed Amount
North Salt Lake, UT 84054
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1803 of 3075

James Johnson                                     Clm No 175407    Filed In Cases: 607
1608 Central Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Fgreat Falls, MT 59401
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




David Johnson                                     Clm No 175408    Filed In Cases: 607
P.O Box 2786                                      Class                Claim Detail Amount         Final Allowed Amount
Kirtkand, NM 87417
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Elaine Johnson                                    Clm No 175409    Filed In Cases: 607
Williamsburg, 3rd N 132 W.                        Class                Claim Detail Amount         Final Allowed Amount
Room 222
                                                  UNS                                $1.00
Logan City, UT 84321
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1804 of 3075

C/O David Jagolinzer, Esq                         Clm No 175410    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Roy Johnson                                       Clm No 175411    Filed In Cases: 607
1612 Indian trail Drive                           Class                Claim Detail Amount         Final Allowed Amount
Napeville, IL 60565
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175412    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1805 of 3075

C/O David Jagolinzer, Esq                         Clm No 175413    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Richard Johnson                                   Clm No 175414    Filed In Cases: 607
13669 County Highway F                            Class                Claim Detail Amount         Final Allowed Amount
Bloomer, WI 54724
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Curtis Johnson                                    Clm No 175415    Filed In Cases: 607
1911 Orange Tree Dr.                              Class                Claim Detail Amount         Final Allowed Amount
Edgewater, FL 32141-3919
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1806 of 3075

Donald Johnson                                    Clm No 175416    Filed In Cases: 607
333 Highway 151 South                             Class                Claim Detail Amount         Final Allowed Amount
Calhoun, LA 71203-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Marvin Johnson                                    Clm No 175417    Filed In Cases: 607
4422 West Townie Avenue                           Class                Claim Detail Amount         Final Allowed Amount
Glendae,AZ 85302-5335
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Ronald Johnson                                    Clm No 175418    Filed In Cases: 607
4742 County Road F                                Class                Claim Detail Amount         Final Allowed Amount
Auburndale, WI 85302-5335
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1807 of 3075

Ronald Johnson                                    Clm No 175419    Filed In Cases: 607
P.O Box 123                                       Class                Claim Detail Amount         Final Allowed Amount
Alcova, WY 82620-0123
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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Larry Johnson                                     Clm No 175420    Filed In Cases: 607
P.O Box 428                                       Class                Claim Detail Amount         Final Allowed Amount
Ft. Defiance, ZA 86504
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175421    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


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  Claims Details                                                                                         1808 of 3075

C/O David Jagolinzer, Esq                         Clm No 175422    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Lawrence Johnston                                 Clm No 175423    Filed In Cases: 607
15620 B 26th Avenue North                         Class                Claim Detail Amount         Final Allowed Amount
Plumouth, MN 55447
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




James Johnston                                    Clm No 175424    Filed In Cases: 607
484 W Wise Ave                                    Class                Claim Detail Amount         Final Allowed Amount
Decatur, IL 62526
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1809 of 3075

Morris Joiner                                     Clm No 175425    Filed In Cases: 607
1748 Chase Stree                                  Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46404
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Robert Joncas                                     Clm No 175426    Filed In Cases: 607
3621-5 Mile Road                                  Class                Claim Detail Amount         Final Allowed Amount
Apt D
                                                  UNS                                $1.00
Racine, WI 53402
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Nancy D. Jones                                    Clm No 175427    Filed In Cases: 607
97448 Pirates Way                                 Class                Claim Detail Amount         Final Allowed Amount
Yulee, FL 32097
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1810 of 3075

Mary Jones                                        Clm No 175428    Filed In Cases: 607
49 Old South Street                               Class                Claim Detail Amount         Final Allowed Amount
#607
                                                  UNS                                $1.00
N. Hampton, MA 01060
                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Richard Jones                                     Clm No 175429    Filed In Cases: 607
100 Balance Rock Road                             Class                Claim Detail Amount         Final Allowed Amount
Lanesboro, MA 01237-1749
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Edna Jones                                        Clm No 175430    Filed In Cases: 607
314 Brake Street.                                 Class                Claim Detail Amount         Final Allowed Amount
Warrior, Al 35180
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         1811 of 3075

Mildred Jones                                     Clm No 175431    Filed In Cases: 607
541879 Lem Turner Roas                            Class                Claim Detail Amount         Final Allowed Amount
Callahan, FL 32011-4583
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Linda A. Jones                                    Clm No 175432    Filed In Cases: 607
609 Southbranch Drive                             Class                Claim Detail Amount         Final Allowed Amount
St. Johns, Fl 32259
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




James Jones                                       Clm No 175433    Filed In Cases: 607
6943 41st Avenue North                            Class                Claim Detail Amount         Final Allowed Amount
Riviera Beach, FL 33404
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         1812 of 3075

C/O David Jagolinzer, Esq                         Clm No 175434    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Rita Jones                                        Clm No 175435    Filed In Cases: 607
11437 SW 85 Court                                 Class                Claim Detail Amount         Final Allowed Amount
Ocala, Fl 34481
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Marion Jones                                      Clm No 175436    Filed In Cases: 607
705 24th Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Phenix City, AL 36869
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1813 of 3075

Irene Tart                                        Clm No 175437    Filed In Cases: 607
8165 Jim Tom Circle                               Class                Claim Detail Amount         Final Allowed Amount
Wilmer, Al 36587
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Josephine Key                                     Clm No 175438    Filed In Cases: 607
5122 Eastbourn Drive                              Class                Claim Detail Amount         Final Allowed Amount
Indianapolis, IN 46226
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Francis Jones                                     Clm No 175439    Filed In Cases: 607
15 Farnum Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Holyoke, MA 01040
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1814 of 3075

Vanda Blaxton                                     Clm No 175440    Filed In Cases: 607
1309 20th Street                                  Class                Claim Detail Amount         Final Allowed Amount
Haleyville, Al 35565
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Linda Jones                                       Clm No 175441    Filed In Cases: 607
P.O Box 523                                       Class                Claim Detail Amount         Final Allowed Amount
Shelby, Al 35143
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




eris Jones                                        Clm No 175442    Filed In Cases: 607
112 10th Strret. S. E                             Class                Claim Detail Amount         Final Allowed Amount
Cullman, AL 35055
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1815 of 3075

Amy Jones                                         Clm No 175443    Filed In Cases: 607
81 Karen Street                                   Class                Claim Detail Amount         Final Allowed Amount
Inglis, Fl 34449
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175444    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Regina Ricks-Jones                                Clm No 175445    Filed In Cases: 607
P.O Box 1225                                      Class                Claim Detail Amount         Final Allowed Amount
Clarsville, TX 75426
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1816 of 3075

C/O David Jagolinzer, Esq                         Clm No 175446    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175447    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




John Jones                                        Clm No 175448    Filed In Cases: 607
2517 Indiana Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Lansing, Il 60438
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1817 of 3075

Howard Jones                                      Clm No 175449    Filed In Cases: 607
2524 Citation Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Owensboro, KY 42301-4253
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Madrid Jones                                      Clm No 175450    Filed In Cases: 607
73240 Penn Mill Road                              Class                Claim Detail Amount         Final Allowed Amount
Covington, LA 70325
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




John Jones                                        Clm No 175451    Filed In Cases: 607
P.O Box 2306                                      Class                Claim Detail Amount         Final Allowed Amount
Deland, FL 32721
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1818 of 3075

Joseph Jones                                      Clm No 175452    Filed In Cases: 607
P.O Box 573                                       Class                Claim Detail Amount         Final Allowed Amount
Benton, KY 42025-0573
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Nathaniel Jones                                   Clm No 175453    Filed In Cases: 607
440 7th Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46403
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Bienville Ellis Jones                             Clm No 175454    Filed In Cases: 607
213 Ottawa Street.                                Class                Claim Detail Amount         Final Allowed Amount
Joliet, IL 60436-2227
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1819 of 3075

C/O David Jagolinzer, Esq                         Clm No 175455    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175456    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Charles Jones                                     Clm No 175457    Filed In Cases: 607
1306 Elmwood Court                                Class                Claim Detail Amount         Final Allowed Amount
Cheyenne, Wy 82007
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1820 of 3075

Connie Jones                                      Clm No 175458    Filed In Cases: 607
2251 Church Street                                Class                Claim Detail Amount         Final Allowed Amount
Sanford, Fl 32771
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175459    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Deanna Smith                                      Clm No 175460    Filed In Cases: 607
4848 Randee Circle                                Class                Claim Detail Amount         Final Allowed Amount
Pensacola, Fl 32526
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1821 of 3075

Andrea Jorgenson                                  Clm No 175461    Filed In Cases: 607
113 superior Street                               Class                Claim Detail Amount         Final Allowed Amount
L'Anse, MI 49946
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175462    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Dennis Jouppi                                     Clm No 175463    Filed In Cases: 607
13614-235th Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Bloomer, WI 54724
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1822 of 3075

Lorraine Joy                                      Clm No 175464    Filed In Cases: 607
1293 Olympic Circle                               Class                Claim Detail Amount         Final Allowed Amount
West Palm Beach, Fl
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Grace Joy                                         Clm No 175465    Filed In Cases: 607
139 Witchtrot Road                                Class                Claim Detail Amount         Final Allowed Amount
South Berwick, ME 0390
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Joyce Martin                                      Clm No 175466    Filed In Cases: 607
P.O box 1054                                      Class                Claim Detail Amount         Final Allowed Amount
Portland, ME 0414-1054
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1823 of 3075

C/O David Jagolinzer, Esq                         Clm No 175467    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Daphine Jubito                                    Clm No 175468    Filed In Cases: 607
1303 Camelia St                                   Class                Claim Detail Amount         Final Allowed Amount
Atlantic Beach, FL 32233
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175469    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


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  Claims Details                                                                                         1824 of 3075

C/O David Jagolinzer, Esq                         Clm No 175470    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175471    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Barbara Jukanovich                                Clm No 175472    Filed In Cases: 607
4003 Poitn Drive NE                               Class                Claim Detail Amount         Final Allowed Amount
Marysville, WA 98270
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1825 of 3075

Joel Junokas                                      Clm No 175473    Filed In Cases: 607
77 Parker Hill Road South                         Class                Claim Detail Amount         Final Allowed Amount
Higganum, Ct 06441
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Judith Jurhs                                      Clm No 175474    Filed In Cases: 607
120 Mars Court                                    Class                Claim Detail Amount         Final Allowed Amount
Indialantic, Fl 32903
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Mary Juriga                                       Clm No 175475    Filed In Cases: 607
1537 Warwcik Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Whittin, IN 46394
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1826 of 3075

Ann Usher                                         Clm No 175476    Filed In Cases: 607
10200 1st Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Inglewood, CA 90303-1749
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Walter Kaczmarczyk                                Clm No 175477    Filed In Cases: 607
159 Jobs Hill Road                                Class                Claim Detail Amount         Final Allowed Amount
Ellington, Ct 06029
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Mary Kazcmarek                                    Clm No 175478    Filed In Cases: 607
218 Phoenetia Drive                               Class                Claim Detail Amount         Final Allowed Amount
At. Augistine, FL 32086
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                         1827 of 3075

C/O David Jagolinzer, Esq                         Clm No 175479    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Arden Kafka                                       Clm No 175480    Filed In Cases: 607
4344-41 avenue South                              Class                Claim Detail Amount         Final Allowed Amount
Minneapolis, MN 55406
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Julia Kahler                                      Clm No 175481    Filed In Cases: 607
62 Ruggles Street                                 Class                Claim Detail Amount         Final Allowed Amount
Quincy, MA 02169
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




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  Claims Details                                                                                         1828 of 3075

kaiser-Do not speak, Lois                         Clm No 175482    Filed In Cases: 607
C/O Barbara L. Calvin                             Class                Claim Detail Amount         Final Allowed Amount
4727 Spinnaker Dr.
                                                  UNS                          $10,000.00
Bradenton, FL 34208
                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




C/O David Jagolinzer, Esq                         Clm No 175483    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Faith Kaminski                                    Clm No 175484    Filed In Cases: 607
5344 Woodland lakes Drive                         Class                Claim Detail Amount         Final Allowed Amount
palm Beach, FL 33418
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




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  Claims Details                                                                                         1829 of 3075

Jean Kammer                                       Clm No 175485    Filed In Cases: 607
1360 Dogwood Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Fort Myers, FL 33931
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Judith kane                                       Clm No 175486    Filed In Cases: 607
3 Dixon Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
Auburn, MA 01501
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Mary Kane                                         Clm No 175487    Filed In Cases: 607
6710 North 81St Street                            Class                Claim Detail Amount         Final Allowed Amount
Milwauke, WI 53223
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1830 of 3075

Lilia Sulam                                       Clm No 175488    Filed In Cases: 607
1653 W. 256 Street                                Class                Claim Detail Amount         Final Allowed Amount
Harbor City, CA 90710
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Angelo Karaleftheres                              Clm No 175489    Filed In Cases: 607
13240 Lincoln St                                  Class                Claim Detail Amount         Final Allowed Amount
Crow Point, IN 46307
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175490    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1831 of 3075

Irene Karcher                                     Clm No 175491    Filed In Cases: 607
167 NE Twilite Terrace                            Class                Claim Detail Amount         Final Allowed Amount
Port St. Lucie, Fl 34983
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




James Kardoulias                                  Clm No 175492    Filed In Cases: 607
326 East 60th Court                               Class                Claim Detail Amount         Final Allowed Amount
Merilville, IN 46410
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175493    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1832 of 3075

C/O David Jagolinzer, Esq                         Clm No 175494    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Lavere Karren                                     Clm No 175495    Filed In Cases: 607
244 North 4700East                                Class                Claim Detail Amount         Final Allowed Amount
Rigby, ID 83442-5943
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Richard Kaskeski                                  Clm No 175496    Filed In Cases: 607
63 Hollow Road                                    Class                Claim Detail Amount         Final Allowed Amount
Brimfield, MA 01010
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1833 of 3075

Sue Kassner                                       Clm No 175497    Filed In Cases: 607
9599 Bent Oak Court                               Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32257
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Marjorie Kast                                     Clm No 175498    Filed In Cases: 607
1202 Summer                                       Class                Claim Detail Amount         Final Allowed Amount
Wheaton, IL 60187
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Marion Kasten                                     Clm No 175499    Filed In Cases: 607
W7578 Kremlin RD.                                 Class                Claim Detail Amount         Final Allowed Amount
Niagara, WI 54151
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1834 of 3075

C/O David Jagolinzer, Esq                         Clm No 175500    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175501    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




John Kaufman                                      Clm No 175502    Filed In Cases: 607
355 Highway K245                                  Class                Claim Detail Amount         Final Allowed Amount
Morrill, KS 66515-9400
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1835 of 3075

C/O David Jagolinzer, Esq                         Clm No 175503    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Miami, Fl 33331
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Ingeborg Kavanaugh                                Clm No 175504    Filed In Cases: 607
826 Beech Road                                    Class                Claim Detail Amount         Final Allowed Amount
West Palm Beach, Fl 33409
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Judith Daley                                      Clm No 175505    Filed In Cases: 607
412 Altamont                                      Class                Claim Detail Amount         Final Allowed Amount
Marquette, MI 49855
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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  Claims Details                                                                                         1836 of 3075

Edward Keating                                    Clm No 175506    Filed In Cases: 607
P.O Box 1529                                      Class                Claim Detail Amount         Final Allowed Amount
Cape Canaveral, Fl 32920
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Barbara Keegan                                    Clm No 175507    Filed In Cases: 607
77 Sandro Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Warwick, RI 02886
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Orville Keelen                                    Clm No 175508    Filed In Cases: 607
5607 East Newcomer Avenue                         Class                Claim Detail Amount         Final Allowed Amount
terre Haute, IN 47805-9456
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1837 of 3075

C/O David Jagolinzer, Esq                         Clm No 175509    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Elizabeth Keenan                                  Clm No 175510    Filed In Cases: 607
P.O Box 331                                       Class                Claim Detail Amount         Final Allowed Amount
Granby, Ct 06035
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Wanda Kegley                                      Clm No 175511    Filed In Cases: 607
Route 2 Box 131                                   Class                Claim Detail Amount         Final Allowed Amount
Marion, AL 36756
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1838 of 3075

James Kehoe                                       Clm No 175512    Filed In Cases: 607
20 Faxon Street                                   Class                Claim Detail Amount         Final Allowed Amount
Melrose, MA 21796
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175513    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Nancy Keifer                                      Clm No 175514    Filed In Cases: 607
5467 Rattlesnake Hammock Road                     Class                Claim Detail Amount         Final Allowed Amount
Apt C
                                                  UNS                                $1.00
Naples, FL 34113
                                                                                     $1.00


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   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1839 of 3075

Carrol Keigher                                    Clm No 175515    Filed In Cases: 607
6090 W White Tie Road                             Class                Claim Detail Amount         Final Allowed Amount
Coal City, IL 60416
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Ruth keil                                         Clm No 175516    Filed In Cases: 607
1004 South 13th                                   Class                Claim Detail Amount         Final Allowed Amount
Pekin, IL 61554
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Jacqueline Keister                                Clm No 175517    Filed In Cases: 607
P.O Box 3668                                      Class                Claim Detail Amount         Final Allowed Amount
Erie, OA 16509-3668
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1840 of 3075

Ann Kelliher                                      Clm No 175518    Filed In Cases: 607
4092 Fairbanks Dr.                                Class                Claim Detail Amount         Final Allowed Amount
Chipley, FL 32428
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




John Kelleher, II                                 Clm No 175519    Filed In Cases: 607
204 Wentworth Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Lowell,MA 01852
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Emma Keller                                       Clm No 175520    Filed In Cases: 607
4003 Clyde Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32208
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1841 of 3075

Jack Keller                                       Clm No 175521    Filed In Cases: 607
1628 Dallas Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Cincinatti, OH 45239-4929
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Richard Kelley                                    Clm No 175522    Filed In Cases: 607
6083 La Costa Dr                                  Class                Claim Detail Amount         Final Allowed Amount
Ocala, Fl 34472
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Geraldine Kelley                                  Clm No 175523    Filed In Cases: 607
P.O Box 52                                        Class                Claim Detail Amount         Final Allowed Amount
Slocomb, Al 36375
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1842 of 3075

Arleen Kelley                                     Clm No 175524    Filed In Cases: 607
1939 Victory Street                               Class                Claim Detail Amount         Final Allowed Amount
La Crosse, WI 54601
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Harmon Kelley                                     Clm No 175525    Filed In Cases: 607
3300 Lot H Joe Ashton St                          Class                Claim Detail Amount         Final Allowed Amount
Augustine, FL 32092
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Mary Kelley                                       Clm No 175526    Filed In Cases: 607
34 Colburn Street                                 Class                Claim Detail Amount         Final Allowed Amount
Westwood, MA 02090
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         1843 of 3075

Susan Kelly                                       Clm No 175527    Filed In Cases: 607
P.O Box 757                                       Class                Claim Detail Amount         Final Allowed Amount
Manomet, MA 02345-0757
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Brian kelly                                       Clm No 175528    Filed In Cases: 607
20 Merigan Way                                    Class                Claim Detail Amount         Final Allowed Amount
Foxboro, MA 02035
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Sahron kelly                                      Clm No 175529    Filed In Cases: 607
7318 Maitai Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32822
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1844 of 3075

Sue Kelly                                         Clm No 175530    Filed In Cases: 607
22 Woodfield Crossing                             Class                Claim Detail Amount         Final Allowed Amount
Gladstonbury, CT 06033
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Shirley Kelly                                     Clm No 175531    Filed In Cases: 607
4285 N 133rd Street                               Class                Claim Detail Amount         Final Allowed Amount
Brookfield, WI 53005
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175532    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1845 of 3075

Doris kelow                                       Clm No 175533    Filed In Cases: 607
503 Littleton Street                              Class                Claim Detail Amount         Final Allowed Amount
Camden, SC 29020
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175534    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Robert Kelvington                                 Clm No 175535    Filed In Cases: 607
P.O Box 1347                                      Class                Claim Detail Amount         Final Allowed Amount
Bronson, Fl 32621
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1846 of 3075

Geneva Kennedy                                    Clm No 175536    Filed In Cases: 607
303 South Jackson Street                          Class                Claim Detail Amount         Final Allowed Amount
Tullahoma, TN 37388
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Alice Kennedy                                     Clm No 175537    Filed In Cases: 607
14079 Pullman Dr.                                 Class                Claim Detail Amount         Final Allowed Amount
Spring Hill, Fl 34609
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175538    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1847 of 3075

C/O David Jagolinzer, Esq                         Clm No 175539    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Lillian Kennedy                                   Clm No 175540    Filed In Cases: 607
285 Camber Court.                                 Class                Claim Detail Amount         Final Allowed Amount
Beverly Hills, FL 34465
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




James Kennedy                                     Clm No 175541    Filed In Cases: 607
8 Breezewood Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Walpole, MA 01081
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value         $10,000.00




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  Claims Details                                                                                         1848 of 3075

Genevieve Kennedy                                 Clm No 175542    Filed In Cases: 607
1044 Arbor Green Ct.                              Class                Claim Detail Amount         Final Allowed Amount
Arbor Vitae, WI 54568
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Marshall Kennedy                                  Clm No 175543    Filed In Cases: 607
4000 Vermont St                                   Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46409
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Ora Kennedy                                       Clm No 175544    Filed In Cases: 607
3901 Evergreen Street                             Class                Claim Detail Amount         Final Allowed Amount
East Chicago, IN 46312
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1849 of 3075

C/O David Jagolinzer, Esq                         Clm No 175545    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Geraldine Kennedy-Cotsonis                        Clm No 175546    Filed In Cases: 607
4030 Burbank Drive                                Class                Claim Detail Amount         Final Allowed Amount
Pensacola, Fl 32504
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




C/O David Jagolinzer, Esq                         Clm No 175547    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                          1850 of 3075

William Kenny                                      Clm No 175548    Filed In Cases: 607
8015 Buccaneer Drive                               Class                Claim Detail Amount         Final Allowed Amount
Fort Neyers Beach, FL 33931-5201
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Nancy Watkins                                      Clm No 175549    Filed In Cases: 607
211 Athens School Road                             Class                Claim Detail Amount         Final Allowed Amount
Gaston, SC 29053
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Dorothy Keoppen                                    Clm No 175550    Filed In Cases: 607
115 Willow Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Leesburg, FL 34748
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         1851 of 3075

Patricia Keough                                   Clm No 175551    Filed In Cases: 607
1825 Hyde Park Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Boston, MA 02136
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Judy Kerr                                         Clm No 175552    Filed In Cases: 607
986 Orange Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Marseilles, IL 61341
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Myron Kerr                                        Clm No 175553    Filed In Cases: 607
3322 E Garrison Lane                              Class                Claim Detail Amount         Final Allowed Amount
Mead, WA 99021-9436
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1852 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175554    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175555    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33132
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Fritz Kesselring                                  Clm No 175556    Filed In Cases: 607
403 North Losey Blvd.                             Class                Claim Detail Amount         Final Allowed Amount
La Crosse, WI 54601
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1853 of 3075

Alma Ketterer                                     Clm No 175557    Filed In Cases: 607
5840 St. Road 25 North                            Class                Claim Detail Amount         Final Allowed Amount
Lafayette, IN 47905
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175558    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Virgie Key                                        Clm No 175559    Filed In Cases: 607
809 3rd Street N.W                                Class                Claim Detail Amount         Final Allowed Amount
Carbon Hill, AL 35549
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1854 of 3075

Charlie Key                                       Clm No 175560    Filed In Cases: 607
66 Highway 65                                     Class                Claim Detail Amount         Final Allowed Amount
Phoenix, AZ 36869-7938
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Pauline Keyes                                     Clm No 175561    Filed In Cases: 607
9 Purdue Rd.                                      Class                Claim Detail Amount         Final Allowed Amount
Parlin, NJ 08859-1219
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Lilian Khoury                                     Clm No 175562    Filed In Cases: 607
78 Arcadia Rd.                                    Class                Claim Detail Amount         Final Allowed Amount
Swansea, MA 02777
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1855 of 3075

Richard Kibbie                                    Clm No 175563    Filed In Cases: 607
P.O Box 135                                       Class                Claim Detail Amount         Final Allowed Amount
Ft. Shaw, MT 59443
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Mary Kidd-Larkin                                  Clm No 175564    Filed In Cases: 607
121 McBride Street                                Class                Claim Detail Amount         Final Allowed Amount
Mobile, AL 36607
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175565    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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  Claims Details                                                                                         1856 of 3075

Joan M. Kiely                                     Clm No 175566    Filed In Cases: 607
P.O Box 74                                        Class                Claim Detail Amount         Final Allowed Amount
47 Hollow Brook rd.
                                                  UNS                                $1.00
Poquonock, CT 06064
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175567    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Sue Kiley                                         Clm No 175568    Filed In Cases: 607
10 E. Back Street                                 Class                Claim Detail Amount         Final Allowed Amount
Savannah, GA 31419
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                            1857 of 3075

c/o David Jagolinzer,Esq.                            Clm No 175569    Filed In Cases: 607
600 Brickell Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                     UNS                                $1.00
Miami, FL 33131
                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




Clarence Kilpatrick                                  Clm No 175570    Filed In Cases: 607
3945 Sunnydale Drive #2850 E.                        Class                Claim Detail Amount         Final Allowed Amount
Salt Lake City, UT 84124-2046
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




Curtis McCabe                                        Clm No 175571    Filed In Cases: 607
1624 Radio Ave.                                      Class                Claim Detail Amount         Final Allowed Amount
Yulee, FL 32097
                                                     UNS                                $1.00

                                                                                        $1.00


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  Claims Details                                                                                           1858 of 3075

Kenneth Kincaid                                     Clm No 175572    Filed In Cases: 607
205 Walter St. Box 124                              Class                Claim Detail Amount         Final Allowed Amount
Hillsboro, IN 47949
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Robert Kind                                         Clm No 175573    Filed In Cases: 607
7514 Alpha Ct. East                                 Class                Claim Detail Amount         Final Allowed Amount
Lake Clarke Shores, FL 33406
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Thomas Kindle                                       Clm No 175574    Filed In Cases: 607
342 E. 3rd Street                                   Class                Claim Detail Amount         Final Allowed Amount
Waterford, PA 16441
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                         1859 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175575    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Susan King                                        Clm No 175576    Filed In Cases: 607
603 10th Ave.                                     Class                Claim Detail Amount         Final Allowed Amount
Mendota, IL 61342
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Bridget King                                      Clm No 175577    Filed In Cases: 607
490 Glasgow Rd.                                   Class                Claim Detail Amount         Final Allowed Amount
Birmingham, AL 35224
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1860 of 3075

William King                                      Clm No 175578    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Herschel King                                     Clm No 175579    Filed In Cases: 607
2205 N. Coleman Rd.                               Class                Claim Detail Amount         Final Allowed Amount
Spokane, WA 99212-0685
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Billie King                                       Clm No 175580    Filed In Cases: 607
2754 Brown Street                                 Class                Claim Detail Amount         Final Allowed Amount
Portage, IN 46368
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1861 of 3075

Ellen Cormier                                     Clm No 175581    Filed In Cases: 607
P.O Box 429                                       Class                Claim Detail Amount         Final Allowed Amount
684 Main Street
                                                  UNS                                $1.00
Winsted, CT 06098
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175582    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175583    Filed In Cases: 607
601 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1862 of 3075

Mary King                                         Clm No 175584    Filed In Cases: 607
c/o Stephen V. Schoo, Esq.                        Class                Claim Detail Amount         Final Allowed Amount
2615 Taylorsville Rd.
                                                  UNS                          $10,000.00
Louisvile, KY 40205
                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer,Esq.                         Clm No 175585    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Bessie King                                       Clm No 175586    Filed In Cases: 607
344 Finney Avenue SW                              Class                Claim Detail Amount         Final Allowed Amount
Grand Rapids, MI 49503
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1863 of 3075

James King                                        Clm No 175587    Filed In Cases: 607
Box 635                                           Class                Claim Detail Amount         Final Allowed Amount
Occoe, FL 34761
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175588    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175589    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1864 of 3075

Rosa Kirkland                                     Clm No 175590    Filed In Cases: 607
524 College Street                                Class                Claim Detail Amount         Final Allowed Amount
Nashville, GA 31639
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




John Kirkpatrick                                  Clm No 175591    Filed In Cases: 607
P.O Box 244                                       Class                Claim Detail Amount         Final Allowed Amount
Carbon Hill, AL 35549
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175592    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




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  Claims Details                                                                                         1865 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175593    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




John Kisluk                                       Clm No 175594    Filed In Cases: 607
65 Forestville Ave.                               Class                Claim Detail Amount         Final Allowed Amount
Plainville, CT 06062
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Queen Kitchen                                     Clm No 175595    Filed In Cases: 607
1867 Bessie Circle S.                             Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32209
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1866 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175596    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Jimmy Kitchens                                    Clm No 175597    Filed In Cases: 607
6027 Navajo Way                                   Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32807
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




David Kitchens                                    Clm No 175598    Filed In Cases: 607
2758 Tropical Lake Dr.                            Class                Claim Detail Amount         Final Allowed Amount
Kissimmee, FL 34741
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1867 of 3075

Katherine Klaila                                  Clm No 175599    Filed In Cases: 607
400 Marion Rd.                                    Class                Claim Detail Amount         Final Allowed Amount
Middleboro, MA 02346
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




c/o David Jagolinzer,Esq.                         Clm No 175600    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175601    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1868 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175602    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Lockie klewin                                     Clm No 175603    Filed In Cases: 607
29 Pequotsepos Center Rd.                         Class                Claim Detail Amount         Final Allowed Amount
Mystic, CT 06355
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Boyd Kliewer                                      Clm No 175604    Filed In Cases: 607
1022 State Hwy 85                                 Class                Claim Detail Amount         Final Allowed Amount
Geneva, AL 36360
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1869 of 3075

Andrew Klimchuck                                  Clm No 175605    Filed In Cases: 607
189 Martha Terr.                                  Class                Claim Detail Amount         Final Allowed Amount
Portsmouth, NH 03801-6037
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Rosemarie Kline                                   Clm No 175606    Filed In Cases: 607
940 West 105 Street Ocean                         Class                Claim Detail Amount         Final Allowed Amount
Marathon, FL 33050
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175607    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1870 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175608    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Marion Klish                                      Clm No 175609    Filed In Cases: 607
793 Nash Rd.                                      Class                Claim Detail Amount         Final Allowed Amount
Dracut, MA 01826
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Helen Klomfas                                     Clm No 175610    Filed In Cases: 607
3792 W. 33 Street                                 Class                Claim Detail Amount         Final Allowed Amount
Cleveland, OH 44109
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1871 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175611    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Matthew Kmiecik                                   Clm No 175612    Filed In Cases: 607
101 North US 421                                  Class                Claim Detail Amount         Final Allowed Amount
Michigan City, IN 46360
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Laverna Knapp                                     Clm No 175613    Filed In Cases: 607
3026 Manitoba Ln.                                 Class                Claim Detail Amount         Final Allowed Amount
Bismark, ND 58503
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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  Claims Details                                                                                         1872 of 3075

Paula Sipinski                                    Clm No 175614    Filed In Cases: 607
2825 Randall Ridge Dr.                            Class                Claim Detail Amount         Final Allowed Amount
Elgin, IL 60123
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




David Knight                                      Clm No 175615    Filed In Cases: 607
5127 Warrior Jasper Rd.                           Class                Claim Detail Amount         Final Allowed Amount
Dora, AL 35062
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Delores Camacho                                   Clm No 175616    Filed In Cases: 607
1890 Apping Forest Way S.                         Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, Fl 32217
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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  Claims Details                                                                                         1873 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175617    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Mathel Knight                                     Clm No 175618    Filed In Cases: 607
105 Huntingdon Ct.                                Class                Claim Detail Amount         Final Allowed Amount
Tyrone, GA 30290
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175619    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33133
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1874 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175620    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Leland Knisley                                    Clm No 175621    Filed In Cases: 607
1142 Via Paraiso                                  Class                Claim Detail Amount         Final Allowed Amount
Salinas, CA 93901-3811
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Imogene Knoll                                     Clm No 175622    Filed In Cases: 607
c/o Jeffrey Knoll                                 Class                Claim Detail Amount         Final Allowed Amount
8155 38th Ave. North
                                                  UNS                                $1.00
St. Petersburg, FL 33710
                                                                                     $1.00


   Date Filed               6-Oct-2015
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Alan Knowles                                      Clm No 175623    Filed In Cases: 607
10349 NW 44th Ct. Blg. 4                          Class                Claim Detail Amount         Final Allowed Amount
Sunrise, FL 33351
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Jewell Knowles                                    Clm No 175624    Filed In Cases: 607
4831 S.E Edison Ave.                              Class                Claim Detail Amount         Final Allowed Amount
Stuart, FL 34997
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Mary Knox                                         Clm No 175625    Filed In Cases: 607
4040 Cresthill Lane                               Class                Claim Detail Amount         Final Allowed Amount
New Smyrna Beach, FL 32168
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         1876 of 3075

Gay Knudson                                       Clm No 175626    Filed In Cases: 607
45 Colonial Park Dr.                              Class                Claim Detail Amount         Final Allowed Amount
Santa Rosa, CA 95403-1140
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175627    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




William Koch                                      Clm No 175628    Filed In Cases: 607
1860 Tolbert Rd.                                  Class                Claim Detail Amount         Final Allowed Amount
Hamilton, OH 45011
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1877 of 3075

Paul Kochan                                       Clm No 175629    Filed In Cases: 607
2507 Sessions Street                              Class                Claim Detail Amount         Final Allowed Amount
Eau Claire, WI 59701
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175630    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Karen Auten                                       Clm No 175631    Filed In Cases: 607
1417 W. Adams Rd.                                 Class                Claim Detail Amount         Final Allowed Amount
Pentwater, MI 49449
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1878 of 3075

Alan Koebel                                       Clm No 175632    Filed In Cases: 607
1632 Claxton Rd.                                  Class                Claim Detail Amount         Final Allowed Amount
Dawson Springs, KY 42408
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Alan Koebel                                       Clm No 175633    Filed In Cases: 607
1632 Claxton Rd.                                  Class                Claim Detail Amount         Final Allowed Amount
Dawson Springs, KY 42408
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Barbra Koeferl                                    Clm No 175634    Filed In Cases: 607
3846 S. 73rd Street                               Class                Claim Detail Amount         Final Allowed Amount
Milwaukee, WI 53220
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         1879 of 3075

Maria Koehler                                     Clm No 175635    Filed In Cases: 607
7370 Isleton Ave. South                           Class                Claim Detail Amount         Final Allowed Amount
Cottage Grove, TX 55016
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Arthur Koeller                                    Clm No 175636    Filed In Cases: 607
10 Cedar Circle                                   Class                Claim Detail Amount         Final Allowed Amount
Beacon Falls, CT 06403
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175637    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




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  Claims Details                                                                                          1880 of 3075

Brian Kofnetka                                     Clm No 175638    Filed In Cases: 607
412 4th Street                                     Class                Claim Detail Amount         Final Allowed Amount
Neenah, WI 54956-2863
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Antoinette Kohl                                    Clm No 175639    Filed In Cases: 607
35 Bush Hill Dr.                                   Class                Claim Detail Amount         Final Allowed Amount
Niantic, CT 06357
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Theodore Kolosky                                   Clm No 175640    Filed In Cases: 607
10 Furnace Hollow Rd.                              Class                Claim Detail Amount         Final Allowed Amount
Stafford Springs, CT 06076-4306
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         1881 of 3075

John Komarmy                                      Clm No 175641    Filed In Cases: 607
4053 SW 7th Street                                Class                Claim Detail Amount         Final Allowed Amount
Plantation, FL 33317
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Jo-Ann Knoreski                                   Clm No 175642    Filed In Cases: 607
151 So. New Road                                  Class                Claim Detail Amount         Final Allowed Amount
Hamden, CT 06518
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175643    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1882 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175644    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Jackie Koon                                       Clm No 175645    Filed In Cases: 607
11580 Stolen Rock Ct.                             Class                Claim Detail Amount         Final Allowed Amount
Missoula, MT 59808
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Norman Koos                                       Clm No 175646    Filed In Cases: 607
85 Park Ave.                                      Class                Claim Detail Amount         Final Allowed Amount
Enfield, CT 06082
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1883 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175647    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Dale Kopf                                         Clm No 175648    Filed In Cases: 607
800 West Upham                                    Class                Claim Detail Amount         Final Allowed Amount
Marshfield, WI 54449
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Bruce Korenkiewcz                                 Clm No 175649    Filed In Cases: 607
P.O Box 47                                        Class                Claim Detail Amount         Final Allowed Amount
North Franklin, CT 06254
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1884 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175650    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Ann Korte                                         Clm No 175651    Filed In Cases: 607
200 Sequoia Dr.                                   Class                Claim Detail Amount         Final Allowed Amount
Byesville, OH 43723
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Russell Koss                                      Clm No 175652    Filed In Cases: 607
861 Mount View Rd.                                Class                Claim Detail Amount         Final Allowed Amount
Mosinee, WI 54455-9351
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1885 of 3075

Nick Kostidis                                     Clm No 175653    Filed In Cases: 607
9419 Cleveland St.                                Class                Claim Detail Amount         Final Allowed Amount
Crown Point, IN 46307
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Carole Koutsky                                    Clm No 175654    Filed In Cases: 607
4N 621 Chateaugay Lane                            Class                Claim Detail Amount         Final Allowed Amount
Elburn, IL 60119
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Kenneth Kovach                                    Clm No 175655    Filed In Cases: 607
3700 S. Westport Ave.#1937                        Class                Claim Detail Amount         Final Allowed Amount
Sioux Falls, SD 57106
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1886 of 3075

William Kovash                                    Clm No 175656    Filed In Cases: 607
10017 E. 4th Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Spokane, WA 99206
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




William Koveck                                    Clm No 175657    Filed In Cases: 607
3761 Rochester St.                                Class                Claim Detail Amount         Final Allowed Amount
Portage, IN 46368
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Nick Kovel                                        Clm No 175658    Filed In Cases: 607
3224 East 37 Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Lake Station, IN 46405
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                             1887 of 3075

Stephen Kovzel                                        Clm No 175659    Filed In Cases: 607
10 Ancient Highway                                    Class                Claim Detail Amount         Final Allowed Amount
Oxford, CT 06478
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Kathleen Kovzelove                                    Clm No 175660    Filed In Cases: 607
45 Perimeter Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Eaglewood, FL 34223
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Beverly Johnston                                      Clm No 175661    Filed In Cases: 607
c/o johnston & johnston Law office                    Class                Claim Detail Amount         Final Allowed Amount
250 Pierce Street
                                                      UNS                                $1.00
Kinston, PA 18704
                                                                                         $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                         1888 of 3075

Lawrence Kozlik                                   Clm No 175662    Filed In Cases: 607
P.O Box 135                                       Class                Claim Detail Amount         Final Allowed Amount
Bondsville, MA 01009
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Donna Krafchak-Bialoszynski                       Clm No 175663    Filed In Cases: 607
9150 N County Rd.                                 Class                Claim Detail Amount         Final Allowed Amount
Hayward, WI 54843-7684
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




James Kraft                                       Clm No 175664    Filed In Cases: 607
N6135 Dorwin's Mill Rd.                           Class                Claim Detail Amount         Final Allowed Amount
Durant, WI 54736
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1889 of 3075

Sharon Krampeter                                  Clm No 175665    Filed In Cases: 607
34574 Old Woman Spring Rd.                        Class                Claim Detail Amount         Final Allowed Amount
Lucerne Valley, CA 92356-7710
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Elaine Krapf                                      Clm No 175666    Filed In Cases: 607
432 Owen Street                                   Class                Claim Detail Amount         Final Allowed Amount
Swoyerville, PA 18704
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Ralph Kraus                                       Clm No 175667    Filed In Cases: 607
1807 Southern Ave.                                Class                Claim Detail Amount         Final Allowed Amount
Fairbanks, AK 99709
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         1890 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175668    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Ronald Krauses                                    Clm No 175669    Filed In Cases: 607
10711 Tonapa Loop                                 Class                Claim Detail Amount         Final Allowed Amount
Port Richey, FL 34668
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




Phyllis Krause                                    Clm No 175670    Filed In Cases: 607
2801 9th Street East                              Class                Claim Detail Amount         Final Allowed Amount
Bradenton, FL 34208
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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c/o David Jagolinzer,Esq.                         Clm No 175671    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175672    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175673    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1892 of 3075

Lora Kraynick                                     Clm No 175674    Filed In Cases: 607
10934 Lippizan Dr.                                Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32257
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Helen Kreuzer                                     Clm No 175675    Filed In Cases: 607
c/o John Kreuzer                                  Class                Claim Detail Amount         Final Allowed Amount
118 Ridgecrest Drive
                                                  UNS                                $1.00
Mountaintop, PA 18707
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Johanna Krieger                                   Clm No 175676    Filed In Cases: 607
3489 Rossi Court                                  Class                Claim Detail Amount         Final Allowed Amount
West Palm Beach, FL 33417
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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Joe Kring                                         Clm No 175677    Filed In Cases: 607
1552 E. Flossmoor Circle                          Class                Claim Detail Amount         Final Allowed Amount
Mesa, AZ 85204
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Naira Kristmann                                   Clm No 175678    Filed In Cases: 607
901 Hillary Court                                 Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32804
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




c/o David Jagolinzer,Esq.                         Clm No 175679    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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  Claims Details                                                                                         1894 of 3075

Richard Kronick                                   Clm No 175680    Filed In Cases: 607
83 Applegate Rd.                                  Class                Claim Detail Amount         Final Allowed Amount
Fairfield, CT 06825
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Lenora Avin                                       Clm No 175681    Filed In Cases: 607
122 S. 13 Street                                  Class                Claim Detail Amount         Final Allowed Amount
Easton, PA 18042
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Daniel Krug                                       Clm No 175682    Filed In Cases: 607
32 Emily Lane                                     Class                Claim Detail Amount         Final Allowed Amount
Ft. Meyer Beach, FL 33931-2933
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         1895 of 3075

Cecile Kruger                                     Clm No 175683    Filed In Cases: 607
1500 Jack Street                                  Class                Claim Detail Amount         Final Allowed Amount
Tavares, FL 32778
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Arloh Krumm                                       Clm No 175684    Filed In Cases: 607
150 Live Oak Dr.                                  Class                Claim Detail Amount         Final Allowed Amount
Whitney, TX 76692
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Shophie Kubacki                                   Clm No 175685    Filed In Cases: 607
51 Briggs Street                                  Class                Claim Detail Amount         Final Allowed Amount
East Hampton, MA 01027
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         1896 of 3075

Richard Kubiaczky                                 Clm No 175686    Filed In Cases: 607
400 West Walker St.                               Class                Claim Detail Amount         Final Allowed Amount
Wittenberg, WI 54499
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175687    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Lawrence Kuchinski                                Clm No 175688    Filed In Cases: 607
1323 Garfield Street                              Class                Claim Detail Amount         Final Allowed Amount
Niagara, WI 54151
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1897 of 3075

Maria Kuehne                                      Clm No 175689    Filed In Cases: 607
8532 SE Driftwood Street                          Class                Claim Detail Amount         Final Allowed Amount
Hobe Sound, FL 33455
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Dennis Kuhn                                       Clm No 175690    Filed In Cases: 607
4008 67th Ave. North                              Class                Claim Detail Amount         Final Allowed Amount
Pinellas Park, FL 33781
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




William Kulekowskis                               Clm No 175691    Filed In Cases: 607
15218 E Hillside Dr.                              Class                Claim Detail Amount         Final Allowed Amount
Fountain Hills, AZ 85268
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         1898 of 3075

Nikkola Kunac                                     Clm No 175692    Filed In Cases: 607
11689 Ave. Anacapa                                Class                Claim Detail Amount         Final Allowed Amount
El Cajon, CA 92019
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Ronald Kunz                                       Clm No 175693    Filed In Cases: 607
56825 State Rd. 27                                Class                Claim Detail Amount         Final Allowed Amount
Augusta, WI 54722
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175694    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1899 of 3075

Richard Kveset                                    Clm No 175695    Filed In Cases: 607
5844 Portsmouth Dr.                               Class                Claim Detail Amount         Final Allowed Amount
Tampa, FL 33615-3734
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Gregg La Bonne                                    Clm No 175696    Filed In Cases: 607
12069 Holly Street NW                             Class                Claim Detail Amount         Final Allowed Amount
Coon Rapids, MN 55448
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175697    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1900 of 3075

Myrna LaBombard                                   Clm No 175698    Filed In Cases: 607
1267 Stowersville Rd.                             Class                Claim Detail Amount         Final Allowed Amount
Westport, NY 12993
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Marion Labore                                     Clm No 175699    Filed In Cases: 607
8 Willow Pond Dr.                                 Class                Claim Detail Amount         Final Allowed Amount
Goffstown, NH 03045
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Harvey Labus                                      Clm No 175700    Filed In Cases: 607
7282 E. Caminito Contento                         Class                Claim Detail Amount         Final Allowed Amount
Tucson, AZ 85710
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1901 of 3075

Barbara Lacey                                     Clm No 175701    Filed In Cases: 607
141 Baker Rd.                                     Class                Claim Detail Amount         Final Allowed Amount
Springfield, VT 05156
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175702    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




James LaChapelle                                  Clm No 175703    Filed In Cases: 607
12348 Henry Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Cecil, WI 54111
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                          1902 of 3075

c/o David Jagolinzer,Esq.                          Clm No 175704    Filed In Cases: 607
600 Brickell Ave.                                  Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Joseph Montalbano                                  Clm No 175705    Filed In Cases: 607
c/o Revens, Revens & St. Pierre                    Class                Claim Detail Amount         Final Allowed Amount
946 Centerville Road
                                                   UNS                                $1.00
Warwick, RI 02886
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer,Esq.                          Clm No 175706    Filed In Cases: 607
600 Brickell Ave.                                  Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         1903 of 3075

Susan Laffey                                      Clm No 175707    Filed In Cases: 607
1250 Logan Blvd. South                            Class                Claim Detail Amount         Final Allowed Amount
Naples, FL 34116
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175708    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




LeeAnn Lafleur                                    Clm No 175709    Filed In Cases: 607
P.O Box 174                                       Class                Claim Detail Amount         Final Allowed Amount
East Livermore, ME 04228
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1904 of 3075

Linda Lagoy                                       Clm No 175710    Filed In Cases: 607
9 E. Windsor Rd.                                  Class                Claim Detail Amount         Final Allowed Amount
Worthington, MA 01098
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




William Laiti                                     Clm No 175711    Filed In Cases: 607
3490 Sandvik Rd.                                  Class                Claim Detail Amount         Final Allowed Amount
Fairbanks, AK 99709
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Georgette Cormier                                 Clm No 175712    Filed In Cases: 607
62 Blaine Rd.                                     Class                Claim Detail Amount         Final Allowed Amount
Hollowell, ME 04347
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1905 of 3075

Yvonne Lajoie                                     Clm No 175713    Filed In Cases: 607
213 Eight Rod Rd.                                 Class                Claim Detail Amount         Final Allowed Amount
Augusta, ME 04330
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Anna Altic                                        Clm No 175714    Filed In Cases: 607
702 Newhall Dr.                                   Class                Claim Detail Amount         Final Allowed Amount
Nashville, TN 37276
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Marilyn Lally                                     Clm No 175715    Filed In Cases: 607
P.O Box 206                                       Class                Claim Detail Amount         Final Allowed Amount
38 Alvern Rd.
                                                  UNS                                $1.00
Bryantville, MA 02327
                                                                                     $1.00


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  Claims Details                                                                                         1906 of 3075

Patricia Lambert                                  Clm No 175716    Filed In Cases: 607
163 Dudley Rd.                                    Class                Claim Detail Amount         Final Allowed Amount
Oxford, MA 01540
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




John Lambert                                      Clm No 175717    Filed In Cases: 607
187 Centennial Ln.                                Class                Claim Detail Amount         Final Allowed Amount
Daytona Beach, FL 32119
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Marlene Lambert                                   Clm No 175718    Filed In Cases: 607
10924 Central Park Ave.                           Class                Claim Detail Amount         Final Allowed Amount
New Port Richey, FL 34655
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




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  Claims Details                                                                                         1907 of 3075

Elizabeth Lambert                                 Clm No 175719    Filed In Cases: 607
2795 Stonghenge Dr.                               Class                Claim Detail Amount         Final Allowed Amount
Sierra Vista, AZ 85650
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Mary Lamke                                        Clm No 175720    Filed In Cases: 607
529 Kirchner Rd.                                  Class                Claim Detail Amount         Final Allowed Amount
Dalton, MA 01226
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Robert Lamken                                     Clm No 175721    Filed In Cases: 607
P.O Box 38                                        Class                Claim Detail Amount         Final Allowed Amount
Lake Tomahawk, WI 54539
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1908 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175722    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175723    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Daniel Landers                                    Clm No 175724    Filed In Cases: 607
3521 Hazen Circle                                 Class                Claim Detail Amount         Final Allowed Amount
Anchorage, AK 99515
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1909 of 3075

Leslie Landers                                    Clm No 175725    Filed In Cases: 607
16491 Hwy 68 East                                 Class                Claim Detail Amount         Final Allowed Amount
Hardin, KY 42048
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Douglas Landis                                    Clm No 175726    Filed In Cases: 607
1925 46th Avenue#149                              Class                Claim Detail Amount         Final Allowed Amount
Capitola, CA 95010
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Berta Landrian                                    Clm No 175727    Filed In Cases: 607
1228 South St.                                    Class                Claim Detail Amount         Final Allowed Amount
Key West, FL 33040-6360
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         1910 of 3075

Betty Landry                                      Clm No 175728    Filed In Cases: 607
c/o Thomas J Tessier, Esq.                        Class                Claim Detail Amount         Final Allowed Amount
76 Webster St. #2
                                                  UNS                                $1.00
Manchester, NH 03104-2505
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Matthew Lane                                      Clm No 175729    Filed In Cases: 607
37 Meadow Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Ogunquit, ME 03907
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Doris Lane                                        Clm No 175730    Filed In Cases: 607
5040 Porter Rd.                                   Class                Claim Detail Amount         Final Allowed Amount
St. Augustine, FL. 32095
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         1911 of 3075

Thomas Langdon                                    Clm No 175731    Filed In Cases: 607
892 West River Street                             Class                Claim Detail Amount         Final Allowed Amount
Milford, CT 06461
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175732    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Paul Lange                                        Clm No 175733    Filed In Cases: 607
307 Benham Ave.                                   Class                Claim Detail Amount         Final Allowed Amount
Wallingford, CT 06492
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1912 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175734    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Jean Langley                                      Clm No 175735    Filed In Cases: 607
125 County Rd. Apt. 223                           Class                Claim Detail Amount         Final Allowed Amount
Plympton, MA 02367
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




c/o David Jagolinzer,Esq.                         Clm No 175736    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1913 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175737    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175738    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Viola Lanzi                                       Clm No 175739    Filed In Cases: 607
112 Hicks Street                                  Class                Claim Detail Amount         Final Allowed Amount
East Providence, RI 02914
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1914 of 3075

Gertrude Lapham                                   Clm No 175740    Filed In Cases: 607
476 Main Street N                                 Class                Claim Detail Amount         Final Allowed Amount
Searsmont, ME 04973
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Kara LaPierre                                     Clm No 175741    Filed In Cases: 607
201 S. 4th Street #442A                           Class                Claim Detail Amount         Final Allowed Amount
San Jose, CA 95112
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175742    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1915 of 3075

Irene Lardner                                     Clm No 175743    Filed In Cases: 607
10 Flagstaff Hill Terr.                           Class                Claim Detail Amount         Final Allowed Amount
Canton, MA 02021
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175744    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175745    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1916 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175746    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175747    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Leann Larson                                      Clm No 175748    Filed In Cases: 607
43445 North Rain Tree Rd.                         Class                Claim Detail Amount         Final Allowed Amount
Antioch, IL 60002
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1917 of 3075

Howard Larson                                     Clm No 175749    Filed In Cases: 607
8087 Simon Rd.                                    Class                Claim Detail Amount         Final Allowed Amount
Cloquet, MN 55720
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175750    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Gerald Larson                                     Clm No 175751    Filed In Cases: 607
436 23rd Ave. NE                                  Class                Claim Detail Amount         Final Allowed Amount
Great Falls, MT 59404
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1918 of 3075

Sandra Lasanska                                   Clm No 175752    Filed In Cases: 607
758 Log Yard Rd.                                  Class                Claim Detail Amount         Final Allowed Amount
Condon, MT 59826
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Lucky Lasater                                     Clm No 175753    Filed In Cases: 607
#17 Road 3118                                     Class                Claim Detail Amount         Final Allowed Amount
Aztec, NM 87410
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Steve Lascola                                     Clm No 175754    Filed In Cases: 607
2709 Arch Street                                  Class                Claim Detail Amount         Final Allowed Amount
Tampa, Fl 33607
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1919 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175755    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Nancy Mincello-Vaghan                             Clm No 175756    Filed In Cases: 607
2603 West Market St.                              Class                Claim Detail Amount         Final Allowed Amount
Greensboro, NC 27403
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Henry Lathan                                      Clm No 175757    Filed In Cases: 607
76 Seneca Springs Dr.                             Class                Claim Detail Amount         Final Allowed Amount
Trinity, AL 35673
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1920 of 3075

Carol Lathrop                                     Clm No 175758    Filed In Cases: 607
15 Valerie St.                                    Class                Claim Detail Amount         Final Allowed Amount
Waterford, CT 06385
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Yuk Wai                                           Clm No 175759    Filed In Cases: 607
13734 Melanie Ave.                                Class                Claim Detail Amount         Final Allowed Amount
Hudson, FL 34667-1549
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




c/o David Jagolinzer,Esq.                         Clm No 175760    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1921 of 3075

Steven Lucero                                     Clm No 175761    Filed In Cases: 607
950 Mansanita Street                              Class                Claim Detail Amount         Final Allowed Amount
Los Angeles, CA 90029
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Judith Lauze                                      Clm No 175762    Filed In Cases: 607
P.O Box 284                                       Class                Claim Detail Amount         Final Allowed Amount
North Berwick, ME 03906
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Dennis Louis Lavertu                              Clm No 175763    Filed In Cases: 607
71 Hillard Rd.                                    Class                Claim Detail Amount         Final Allowed Amount
Chichester, NH 03234
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                         1922 of 3075

William Lavery                                    Clm No 175764    Filed In Cases: 607
18 Maplewood STREET                               Class                Claim Detail Amount         Final Allowed Amount
Maiden, MA 02148
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Thomas Lavett                                     Clm No 175765    Filed In Cases: 607
1337 3rd Ave.                                     Class                Claim Detail Amount         Final Allowed Amount
Alabaster, AL 35007
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Linda Lavoie                                      Clm No 175766    Filed In Cases: 607
286 Wilder Hill Rd.                               Class                Claim Detail Amount         Final Allowed Amount
Norrigdewock, ME 04957
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1923 of 3075

Bernett Law                                       Clm No 175767    Filed In Cases: 607
37 Wood Edge Rd.                                  Class                Claim Detail Amount         Final Allowed Amount
Bethlehem, CT 06751
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Gladys Chysttelle                                 Clm No 175768    Filed In Cases: 607
529 Little Texas Rd.                              Class                Claim Detail Amount         Final Allowed Amount
Tuskegee, AL 36083
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175769    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1924 of 3075

David Lawrence                                    Clm No 175770    Filed In Cases: 607
P.O Box 147                                       Class                Claim Detail Amount         Final Allowed Amount
Townley, AL 35587-0147
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Joseph Lawson                                     Clm No 175771    Filed In Cases: 607
423 Hidden Lakes Trail                            Class                Claim Detail Amount         Final Allowed Amount
Defuniak Springs, FL 32433
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer,Esq.                         Clm No 175772    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                          1925 of 3075

Paul Lawson                                        Clm No 175773    Filed In Cases: 607
202 Plainview Dr.                                  Class                Claim Detail Amount         Final Allowed Amount
Hardinsburg, KY 40143
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Clara Lawton                                       Clm No 175774    Filed In Cases: 607
355 Fern St.                                       Class                Claim Detail Amount         Final Allowed Amount
Township of Washington,NJ 07675
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value                $1.00




Kenneth Leab                                       Clm No 175775    Filed In Cases: 607
10720 McIntosh Rd.                                 Class                Claim Detail Amount         Final Allowed Amount
Thonotosassa, FL 33592
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         1926 of 3075

Wayne Leach                                       Clm No 175776    Filed In Cases: 607
392 Main Street #8                                Class                Claim Detail Amount         Final Allowed Amount
Biddeford, ME 04005-2207
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Frances Leadman                                   Clm No 175777    Filed In Cases: 607
5425 101 Street                                   Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32210
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Mary Leahy                                        Clm No 175778    Filed In Cases: 607
52 Pakachoag Village                              Class                Claim Detail Amount         Final Allowed Amount
Auburn, MA 01501
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1927 of 3075

Kathleen Lydon                                    Clm No 175779    Filed In Cases: 607
348 Holmes St.                                    Class                Claim Detail Amount         Final Allowed Amount
Hanson, MA 02341
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Christine Leahy                                   Clm No 175780    Filed In Cases: 607
346 Springfield Street                            Class                Claim Detail Amount         Final Allowed Amount
Palmer, MA 01069
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175781    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




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  Claims Details                                                                                         1928 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175782    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175783    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Mary Leconche                                     Clm No 175784    Filed In Cases: 607
164 West Avon Rd.                                 Class                Claim Detail Amount         Final Allowed Amount
Farmington, CT 06032
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1929 of 3075

Lisa Leconche                                     Clm No 175785    Filed In Cases: 607
9 Overlook Terrace                                Class                Claim Detail Amount         Final Allowed Amount
Rocky Hill, CT 06067
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Charles Ledbetter                                 Clm No 175786    Filed In Cases: 607
328 Odom Rd.                                      Class                Claim Detail Amount         Final Allowed Amount
Meansville, GA 30256-2615
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Sandra Leduc                                      Clm No 175787    Filed In Cases: 607
3909 Witmer Rd.                                   Class                Claim Detail Amount         Final Allowed Amount
Suite 128
                                                  UNS                                $1.00
Niagara Falls, NY 14305
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1930 of 3075

Wilmot Lee                                        Clm No 175788    Filed In Cases: 607
46 F. Edstrom Rd.                                 Class                Claim Detail Amount         Final Allowed Amount
Marlborough, CT 06447
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175789    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Louis Lee                                         Clm No 175790    Filed In Cases: 607
3912 Ellis Ave.                                   Class                Claim Detail Amount         Final Allowed Amount
Birmingham, AL 35221
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1931 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175791    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




William Lee                                       Clm No 175792    Filed In Cases: 607
12 N. 12 Street                                   Class                Claim Detail Amount         Final Allowed Amount
Selah, WA 98942
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Dorothy Lee                                       Clm No 175793    Filed In Cases: 607
23 Walnut Street                                  Class                Claim Detail Amount         Final Allowed Amount
Monongahela, PA 15063
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1932 of 3075

James Lee                                         Clm No 175794    Filed In Cases: 607
43 Barnum Rd.                                     Class                Claim Detail Amount         Final Allowed Amount
New Fairfield, CT 06812
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Gerald Lee                                        Clm No 175795    Filed In Cases: 607
528 Camp Bistino Rd.                              Class                Claim Detail Amount         Final Allowed Amount
Dogline, LA 71023
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Elaine Legault                                    Clm No 175796    Filed In Cases: 607
1004 Imperial Palm Dr.                            Class                Claim Detail Amount         Final Allowed Amount
Largo, FL 33771
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1933 of 3075

Lynn Leger                                        Clm No 175797    Filed In Cases: 607
507 Cow Hill Rd                                   Class                Claim Detail Amount         Final Allowed Amount
Mistic, CT 06355
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Sanford Legere                                    Clm No 175798    Filed In Cases: 607
17 Knollwood Dr. B 3                              Class                Claim Detail Amount         Final Allowed Amount
East Falmouth, MA 02536
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Betty Mckee                                       Clm No 175799    Filed In Cases: 607
P.O Box 5682                                      Class                Claim Detail Amount         Final Allowed Amount
DeCatur, AL 35601
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1934 of 3075

Theresa Leggett                                   Clm No 175800    Filed In Cases: 607
18 Richard Street                                 Class                Claim Detail Amount         Final Allowed Amount
Winooski, VT 05404
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Dennis Legrand                                    Clm No 175801    Filed In Cases: 607
703 Covington St.                                 Class                Claim Detail Amount         Final Allowed Amount
Bowling Green, KY 42103
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Terry Lehman                                      Clm No 175802    Filed In Cases: 607
632 Bonita Rd.                                    Class                Claim Detail Amount         Final Allowed Amount
Winter Springs, FL 32708
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              6-Oct-2015
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   Claim Face Value        $10,000.00




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  Claims Details                                                                                         1935 of 3075

George Leidel                                     Clm No 175803    Filed In Cases: 607
2027 NE Lakeview Dr.                              Class                Claim Detail Amount         Final Allowed Amount
Sebring, FL 33870
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Robert Leigh                                      Clm No 175804    Filed In Cases: 607
41 Jackson Way                                    Class                Claim Detail Amount         Final Allowed Amount
Decatur, AL 35603
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Richard Leiner                                    Clm No 175805    Filed In Cases: 607
27 Rutherford St.                                 Class                Claim Detail Amount         Final Allowed Amount
New Britain, CT 06051
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1936 of 3075

Robert Leininger                                  Clm No 175806    Filed In Cases: 607
10 Shamrock Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Great Falls, MT 59405
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Carolyn Leland                                    Clm No 175807    Filed In Cases: 607
7932 Sailboat Key Blvd. S                         Class                Claim Detail Amount         Final Allowed Amount
#706
                                                  UNS                                $1.00
South Pasadena, FL 33707
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175808    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1937 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175809    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Eileen Lemay                                      Clm No 175810    Filed In Cases: 607
139 Hollis Ave. Apt. 2                            Class                Claim Detail Amount         Final Allowed Amount
North Quincy, MA 02171
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Simone Lemelin                                    Clm No 175811    Filed In Cases: 607
417 Rock Valley Rd.                               Class                Claim Detail Amount         Final Allowed Amount
Holyoke, MA 01040
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1938 of 3075

Anthony Lemes                                     Clm No 175812    Filed In Cases: 607
461 W. Elm Park Ave.                              Class                Claim Detail Amount         Final Allowed Amount
Elmhurst, IL 60126-3129
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Michael Lemier                                    Clm No 175813    Filed In Cases: 607
6620 22nd Dr. NE                                  Class                Claim Detail Amount         Final Allowed Amount
Tulalip, WA 98271
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Roger Lemoine                                     Clm No 175814    Filed In Cases: 607
64 Maple Ave.                                     Class                Claim Detail Amount         Final Allowed Amount
South Grafton, MA 01560
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1939 of 3075

Robert Lemoine                                    Clm No 175815    Filed In Cases: 607
2822 Desert Dr.                                   Class                Claim Detail Amount         Final Allowed Amount
Great Falls, MT 59405
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Arnold Lemon                                      Clm No 175816    Filed In Cases: 607
220 Newfield St.                                  Class                Claim Detail Amount         Final Allowed Amount
Apt. 401
                                                  UNS                                $1.00
Middletown, CT 06457
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175817    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                           1940 of 3075

Daniel Lemons                                       Clm No 175818    Filed In Cases: 607
7382 N. 300 West                                    Class                Claim Detail Amount         Final Allowed Amount
Michigan City, IN 46360
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Richard Burke                                       Clm No 175819    Filed In Cases: 607
c/o Charles T. Rennick, Jr. Esq.                    Class                Claim Detail Amount         Final Allowed Amount
48 Wood Cove Dr.
                                                    UNS                          $10,000.00
Coventry, RI 02816
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




c/o David Jagolinzer,Esq.                           Clm No 175820    Filed In Cases: 607
600 Brickell Ave.                                   Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                    UNS                                $1.00
Miami, FL 33131
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                         1941 of 3075

Cristobal Leon                                    Clm No 175821    Filed In Cases: 607
4229 Ivy Street                                   Class                Claim Detail Amount         Final Allowed Amount
East Chicago, IN 46312
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Sidney Leon                                       Clm No 175822    Filed In Cases: 607
5214 N. Belt                                      Class                Claim Detail Amount         Final Allowed Amount
Spokane, WA 99205
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175823    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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Josephine Lepore                                  Clm No 175824    Filed In Cases: 607
56 Hammond Place                                  Class                Claim Detail Amount         Final Allowed Amount
Woburn, MA 01801
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Duane Leqve                                       Clm No 175825    Filed In Cases: 607
731 Bucher Rd.                                    Class                Claim Detail Amount         Final Allowed Amount
Maitland, FL
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175826    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




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c/o David Jagolinzer,Esq.                         Clm No 175827    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Llona Lesko                                       Clm No 175828    Filed In Cases: 607
60 S. St Andrews Dr.                              Class                Claim Detail Amount         Final Allowed Amount
Ormond Beach, FL 32174
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




Antoinette Lesser                                 Clm No 175829    Filed In Cases: 607
11631 Scenic River Dr.                            Class                Claim Detail Amount         Final Allowed Amount
Houston, TX 77044
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         1944 of 3075

David Lester                                      Clm No 175830    Filed In Cases: 607
23 Dibble Rd.                                     Class                Claim Detail Amount         Final Allowed Amount
Old Saybrook, CT 06475
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Judith LeVesque                                   Clm No 175831    Filed In Cases: 607
32 Cow Hill Rd.                                   Class                Claim Detail Amount         Final Allowed Amount
Clinton, CT 06413
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Helen Levine                                      Clm No 175832    Filed In Cases: 607
37 Brewster Rd                                    Class                Claim Detail Amount         Final Allowed Amount
Stoughton, MA 02072
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         1945 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175833    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Jean Lewinki                                      Clm No 175834    Filed In Cases: 607
E106 Oak Hill Village                             Class                Claim Detail Amount         Final Allowed Amount
1800 Kensington Dr.
                                                  UNS                                $1.00
Waukesha, WI 53188
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Susan Lewis                                       Clm No 175835    Filed In Cases: 607
308 Lincoln St                                    Class                Claim Detail Amount         Final Allowed Amount
Norwell, MA 02011
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1946 of 3075

Ronnie Lewis                                      Clm No 175836    Filed In Cases: 607
413 33rd Street S.                                Class                Claim Detail Amount         Final Allowed Amount
Bessemer, AL 35020-4448
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175837    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Minnie Lewis                                      Clm No 175838    Filed In Cases: 607
6401 Zeigler Blvd.                                Class                Claim Detail Amount         Final Allowed Amount
Mobile, AL 36608
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                             1947 of 3075

c/o David Jagolinzer,Esq.                             Clm No 175839    Filed In Cases: 607
600 Brickell Ave.                                     Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                      UNS                                $1.00
Miami, FL 33131
                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer,Esq.                             Clm No 175840    Filed In Cases: 607
600 Brickell Ave.                                     Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                      UNS                                $1.00
Miami, FL 33131
                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Merle Lewis                                           Clm No 175841    Filed In Cases: 607
15425 Lakeshore Villas St. #36                        Class                Claim Detail Amount         Final Allowed Amount
Tampa, FL 33613
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                         1948 of 3075

c/o David Jagolinzer,Esq.                         Clm No 175842    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




George Lewis                                      Clm No 175843    Filed In Cases: 607
P.O Box 3631                                      Class                Claim Detail Amount         Final Allowed Amount
Springfield, FL 32401
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175844    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         1949 of 3075

George Lewis                                      Clm No 175845    Filed In Cases: 607
2555 Blue Buck Creek Rd.                          Class                Claim Detail Amount         Final Allowed Amount
Duck River, TN 38454
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Lawrence Lewis                                    Clm No 175846    Filed In Cases: 607
118 Smith Street                                  Class                Claim Detail Amount         Final Allowed Amount
Pittsboro, IN 46167
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Daniel Lewis                                      Clm No 175847    Filed In Cases: 607
4205 North Ammon Rd.                              Class                Claim Detail Amount         Final Allowed Amount
Idaho Falls, ID 83401
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         1950 of 3075

Kathyn Lewkowicz                                  Clm No 175848    Filed In Cases: 607
74 Dead Hill Rd. Apt R                            Class                Claim Detail Amount         Final Allowed Amount
Durham, CT 06422
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Joseph Lezon                                      Clm No 175849    Filed In Cases: 607
90 Saner Rd.                                      Class                Claim Detail Amount         Final Allowed Amount
Marlborough, CT 06447
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Cindy White                                       Clm No 175850    Filed In Cases: 607
9 C kearsage Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Woburn, MA 01801
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                         1951 of 3075

Jay Lichtman                                      Clm No 175851    Filed In Cases: 607
860 E. Broadway Apt. 51                           Class                Claim Detail Amount         Final Allowed Amount
Long Beach, NY 11561
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Joseph Liebel                                     Clm No 175852    Filed In Cases: 607
664 First Street                                  Class                Claim Detail Amount         Final Allowed Amount
Jefferson, WI 53549
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Charles Lien                                      Clm No 175853    Filed In Cases: 607
1508 North Hill Dr.                               Class                Claim Detail Amount         Final Allowed Amount
Fort Wayne, IN 46825-2104
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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  Claims Details                                                                                         1952 of 3075

Kimberly Liker                                    Clm No 175854    Filed In Cases: 607
504 Legair Circle                                 Class                Claim Detail Amount         Final Allowed Amount
Pensacola, FL 32505
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




c/o David Jagolinzer,Esq.                         Clm No 175855    Filed In Cases: 607
600 Brickell Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Yvonne Marie                                      Clm No 175856    Filed In Cases: 607
224 Main St. #332                                 Class                Claim Detail Amount         Final Allowed Amount
South Berwick, ME 03908
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1953 of 3075

Autry Lindley                                     Clm No 175857    Filed In Cases: 607
1970 Trammell Motor Way                           Class                Claim Detail Amount         Final Allowed Amount
Sylacauga, AL 35150
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Margaret Lindsay                                  Clm No 175858    Filed In Cases: 607
29 Priscilla Circle                               Class                Claim Detail Amount         Final Allowed Amount
Weymouth, MA 02188
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Steve Lindsay                                     Clm No 175859    Filed In Cases: 607
17200 W. Bell Road #775                           Class                Claim Detail Amount         Final Allowed Amount
Surprise, AZ 85374
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                          1954 of 3075

c/o David Jagolinzer, Esq                          Clm No 175860    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 175861    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Dorothy Lindsey                                    Clm No 175862    Filed In Cases: 607
6334 Coolidge Street                               Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32219
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          1955 of 3075

c/o David Jagolinzer, Esq                          Clm No 175863    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Daniel Lipinski                                    Clm No 175864    Filed In Cases: 607
1375 Corbin Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
New Britain, CT 06053
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Kenneth Lipscomb                                   Clm No 175865    Filed In Cases: 607
6631 East 6th Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Anchorage, AK 99504-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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  Claims Details                                                                                         1956 of 3075

Seipel, Helene                                    Clm No 175866    Filed In Cases: 607
136 Changebridge Road Condo N2                    Class                Claim Detail Amount         Final Allowed Amount
Montville, NJ 07045
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Harry Little                                      Clm No 175867    Filed In Cases: 607
123 Time Street Southwest                         Class                Claim Detail Amount         Final Allowed Amount
Bessemer, AL 35022
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




James Little                                      Clm No 175868    Filed In Cases: 607
P.O. Box 473                                      Class                Claim Detail Amount         Final Allowed Amount
North Port, AL 35476
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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  Claims Details                                                                                         1957 of 3075

Judy Little                                       Clm No 175869    Filed In Cases: 607
8051 SW 107th Place                               Class                Claim Detail Amount         Final Allowed Amount
Ocala, FL 34481
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Joan Littlefield                                  Clm No 175870    Filed In Cases: 607
87 Sheffield Road                                 Class                Claim Detail Amount         Final Allowed Amount
Portsmouth, NH 03801
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Sharman Littlefield                               Clm No 175871    Filed In Cases: 607
10 W. 5th Street                                  Class                Claim Detail Amount         Final Allowed Amount
North Berwick, ME 03906
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                          1958 of 3075

c/o David Jagolinzer, Esq                          Clm No 175872    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




John Littlefiled                                   Clm No 175873    Filed In Cases: 607
269 West Main Street                               Class                Claim Detail Amount         Final Allowed Amount
Niantic, CT 06357
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 175874    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          1959 of 3075

Karen Liuzzo                                       Clm No 175875    Filed In Cases: 607
7754 Puttygut Road                                 Class                Claim Detail Amount         Final Allowed Amount
Casco, MI 48064
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 175876    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 175877    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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  Claims Details                                                                                         1960 of 3075

Theresa Lizotte                                   Clm No 175878    Filed In Cases: 607
P.O. Box 544                                      Class                Claim Detail Amount         Final Allowed Amount
Faco, ME 04072
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Lena Lizotte                                      Clm No 175879    Filed In Cases: 607
6 Brookside Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Merrimack, NH 03054
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Miguel Llanes                                     Clm No 175880    Filed In Cases: 607
1423 West 81st Street                             Class                Claim Detail Amount         Final Allowed Amount
Hialeah, FL 33014
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1961 of 3075

Barbara Lloyd                                     Clm No 175881    Filed In Cases: 607
389 E. Yorkfield Avenue                           Class                Claim Detail Amount         Final Allowed Amount
Elmhurst, IL 60126
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




George Lloyd                                      Clm No 175882    Filed In Cases: 607
3510 South Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Missoula, MT 59804-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Ruth Lockenvitz                                   Clm No 175883    Filed In Cases: 607
33016 E. North RD                                 Class                Claim Detail Amount         Final Allowed Amount
Colfax, IL 61728
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         1962 of 3075

Meronica Lockett                                  Clm No 175884    Filed In Cases: 607
205 Ridgewood Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Fairfield, AL 35064
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Louis Locklear                                    Clm No 175885    Filed In Cases: 607
149 Rasberry Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Lumberton, NC 28360-9375
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Musetta Loeffelholz                               Clm No 175886    Filed In Cases: 607
26821 Julia Street                                Class                Claim Detail Amount         Final Allowed Amount
Wind Lake, WI 53185-34112
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1963 of 3075

Emily Loewen                                      Clm No 175887    Filed In Cases: 607
401 Charlemagne Blvd. #110-C                      Class                Claim Detail Amount         Final Allowed Amount
Naples, FL 34112
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Donna Loftus                                      Clm No 175888    Filed In Cases: 607
11 Dewey Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Woburn, MA 01801
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Shingledecker, Linda                              Clm No 175889    Filed In Cases: 607
3060 Nicholson Drive                              Class                Claim Detail Amount         Final Allowed Amount
Winter Park, FL 32792
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                          1964 of 3075

c/o David Jagolinzer, Esq                          Clm No 175890    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Rudolph Logue                                      Clm No 175891    Filed In Cases: 607
P.O. Box 686-34973                                 Class                Claim Detail Amount         Final Allowed Amount
Okeechobee, FL 34974-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Clark Martin, Kathleen                             Clm No 175892    Filed In Cases: 607
83 Spice Hill Drive                                Class                Claim Detail Amount         Final Allowed Amount
Wallingford, CT 06492
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




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  Claims Details                                                                                          1965 of 3075

Bernadette Lohrke                                  Clm No 175893    Filed In Cases: 607
10 Mountain Ridge Road                             Class                Claim Detail Amount         Final Allowed Amount
Surgarloaf, PA 18249-3639
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 175894    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Joan Lomupo                                        Clm No 175895    Filed In Cases: 607
1429 Pine Tree Drive                               Class                Claim Detail Amount         Final Allowed Amount
Edgewater, FL 32132
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         1966 of 3075

Michael Lonardo                                   Clm No 175896    Filed In Cases: 607
254 Half Mile Road                                Class                Claim Detail Amount         Final Allowed Amount
East Haven, CT 06512
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Barbara London                                    Clm No 175897    Filed In Cases: 607
2256 State Route 29                               Class                Claim Detail Amount         Final Allowed Amount
Hunlock Creek, PA 18621
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Long, Fred                                        Clm No 175898    Filed In Cases: 607
167 Slope Crest Drive                             Class                Claim Detail Amount         Final Allowed Amount
Quinton, AL 35130
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                          1967 of 3075

Kathy Long                                         Clm No 175899    Filed In Cases: 607
5 Timber Oaks Rd                                   Class                Claim Detail Amount         Final Allowed Amount
McLoud, OK 74851
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Bernice Long                                       Clm No 175900    Filed In Cases: 607
594 Oliver Drive                                   Class                Claim Detail Amount         Final Allowed Amount
New Smyrna Beach, FL 32168
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 175901    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          1968 of 3075

c/o David Jagolinzer, Esq                          Clm No 175902    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 175903    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 175904    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         1969 of 3075

Long, Billy                                       Clm No 175905    Filed In Cases: 607
202 Camelot Estate                                Class                Claim Detail Amount         Final Allowed Amount
Portage, IN 46368
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




John Longoni                                      Clm No 175906    Filed In Cases: 607
101 Fillmore Way                                  Class                Claim Detail Amount         Final Allowed Amount
Reno, NV 89509-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Betty Lonkey                                      Clm No 175907    Filed In Cases: 607
12035 - 144 Lane North                            Class                Claim Detail Amount         Final Allowed Amount
Largo, FL 33774-3351
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1970 of 3075

Looney, Kenneth                                   Clm No 175908    Filed In Cases: 607
211 Pine Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Adamsville, AL 35005
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Entrekin, Beverly                                 Clm No 175909    Filed In Cases: 607
P.O. Box 11144                                    Class                Claim Detail Amount         Final Allowed Amount
Chickasaw, AL 35005
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Francisco Lopez                                   Clm No 175910    Filed In Cases: 607
3239 170th Place                                  Class                Claim Detail Amount         Final Allowed Amount
Hammond, IN 46323-0000
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          1971 of 3075

Domingo Lopez                                      Clm No 175911    Filed In Cases: 607
4390 Elsworth Place                                Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46408-3136
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Avonne Lopez                                       Clm No 175912    Filed In Cases: 607
49 Forrest Circle                                  Class                Claim Detail Amount         Final Allowed Amount
Hollywood, FL 33026-1101
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Eveilo Lopez                                       Clm No 175913    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          1972 of 3075

c/o David Jagolinzer, Esq                          Clm No 175914    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Gaines, Juanita                                    Clm No 175915    Filed In Cases: 607
10040 Vaughan Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Hastings, FL 32145
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 175916    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         1973 of 3075

Dierdre Loring, Jr                                Clm No 175917    Filed In Cases: 607
2783 Cold Springs Road                            Class                Claim Detail Amount         Final Allowed Amount
Monterey, MA 01245
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




James Lott                                        Clm No 175918    Filed In Cases: 607
P.O. Box 382                                      Class                Claim Detail Amount         Final Allowed Amount
Livermore, KY 42352
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Keegan, Mary                                      Clm No 175919    Filed In Cases: 607
12 Greenfield Lane                                Class                Claim Detail Amount         Final Allowed Amount
Scituate, MA 02066
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1974 of 3075

Joseph Love                                       Clm No 175920    Filed In Cases: 607
1308 14th Street South                            Class                Claim Detail Amount         Final Allowed Amount
Great Falls, MT 59405-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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James Loveday                                     Clm No 175921    Filed In Cases: 607
108 Jamesford Street                              Class                Claim Detail Amount         Final Allowed Amount
Goose Creek, SC 29445
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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Leonard Lovello                                   Clm No 175922    Filed In Cases: 607
358 Den Road                                      Class                Claim Detail Amount         Final Allowed Amount
Stamford, CT 06903
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          1975 of 3075

Marie Lovett                                       Clm No 175923    Filed In Cases: 607
304 Bolton Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Sylacauga, AL 35150
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Clyde Lowder                                       Clm No 175924    Filed In Cases: 607
169 Prospector Road                                Class                Claim Detail Amount         Final Allowed Amount
Dayton, NV 89403
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 175925    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         1976 of 3075

Lowery-Johnston, Doris                            Clm No 175926    Filed In Cases: 607
1843 Cotton Ln                                    Class                Claim Detail Amount         Final Allowed Amount
Loganville, GA 30052
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Billy Lowry                                       Clm No 175927    Filed In Cases: 607
9476 Parman Road                                  Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32222
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Mary Lowry                                        Clm No 175928    Filed In Cases: 607
402 16th St. NW                                   Class                Claim Detail Amount         Final Allowed Amount
Mandan, ND 58554-1847
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1977 of 3075

Joseph Lowry                                      Clm No 175929    Filed In Cases: 607
2635 Duluth Street                                Class                Claim Detail Amount         Final Allowed Amount
Highland, IN 46322
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Juanita Lowther                                   Clm No 175930    Filed In Cases: 607
240 Panorama Dr.                                  Class                Claim Detail Amount         Final Allowed Amount
Benicia, CA 94510
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Dretsch, Brenda                                   Clm No 175931    Filed In Cases: 607
1339 S. Orange Street                             Class                Claim Detail Amount         Final Allowed Amount
River Falls, WI 54022
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                          1978 of 3075

c/o David Jagolinzer, Esq                          Clm No 175932    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Vincent Lucci                                      Clm No 175933    Filed In Cases: 607
98 Barry Place                                     Class                Claim Detail Amount         Final Allowed Amount
Rocky Hill, CT 06067
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Anthony Lucci                                      Clm No 175934    Filed In Cases: 607
6871 NW 43rd Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Coconut Creek, FL 33073
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         1979 of 3075

Janice Lucente                                    Clm No 175935    Filed In Cases: 607
1719 Locke Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Vernon Hills, IL 60061
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Laura Lucia                                       Clm No 175936    Filed In Cases: 607
11 suncrest Ct.                                   Class                Claim Detail Amount         Final Allowed Amount
Torrnington, CT 06790
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Gary Luedtke                                      Clm No 175937    Filed In Cases: 607
W 310 S10369 Hy I                                 Class                Claim Detail Amount         Final Allowed Amount
Mukwonago, WI 53149
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                          1980 of 3075

Rogelia Fernandez                                  Clm No 175938    Filed In Cases: 607
3630 Galicia Road Apt. #308                        Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32217
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Raymond Lukanc                                     Clm No 175939    Filed In Cases: 607
1330 Cumberland Circle West                        Class                Claim Detail Amount         Final Allowed Amount
Elk Grove Village, IL 60007
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Diana Lukaszewicz                                  Clm No 175940    Filed In Cases: 607
20 Woodrow Ave                                     Class                Claim Detail Amount         Final Allowed Amount
Norwich, CT 06360
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         1981 of 3075

Alexander Luna                                    Clm No 175941    Filed In Cases: 607
Box 183                                           Class                Claim Detail Amount         Final Allowed Amount
Lakeside, MT 59922-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Lorraine Lunning                                  Clm No 175942    Filed In Cases: 607
212 Wydowood Dr.                                  Class                Claim Detail Amount         Final Allowed Amount
Oshkosh, WI 54904
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Brian Luparell                                    Clm No 175943    Filed In Cases: 607
C/O Steve Didiavonnaq                             Class                Claim Detail Amount         Final Allowed Amount
13901 Linda Ave
                                                  UNS                                $1.00
Athens, IL 62613
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1982 of 3075

Helen Lupinacci                                   Clm No 175944    Filed In Cases: 607
433 Washington Ave                                Class                Claim Detail Amount         Final Allowed Amount
Belleville, NJ 07109
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175945    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Silvestro Lupo                                    Clm No 175946    Filed In Cases: 607
5739 Pilgrim Dr                                   Class                Claim Detail Amount         Final Allowed Amount
Erie, PA 16509
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1983 of 3075

James Luria                                       Clm No 175947    Filed In Cases: 607
16070 La Costa Drive                              Class                Claim Detail Amount         Final Allowed Amount
Weston, Fl 33326
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Joseph Lutomski                                   Clm No 175948    Filed In Cases: 607
6190 Madre Mesa Dr                                Class                Claim Detail Amount         Final Allowed Amount
Las Vegas, NV 89108-3813
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Stephanie Lutz                                    Clm No 175949    Filed In Cases: 607
1002 N Fitzpatrick Ave                            Class                Claim Detail Amount         Final Allowed Amount
Inverness, FL 34453-0662
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         1984 of 3075

Patricia Lyautey                                  Clm No 175950    Filed In Cases: 607
2970 Wildhorse Rd                                 Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32822
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Jerald Lyda                                       Clm No 175951    Filed In Cases: 607
17223 Community St.                               Class                Claim Detail Amount         Final Allowed Amount
Lansing, IL 60438-1339
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Phyllis Lydecker                                  Clm No 175952    Filed In Cases: 607
38710 Youpon Trail                                Class                Claim Detail Amount         Final Allowed Amount
Eustis, FL 32736
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         1985 of 3075

Frances M. Lyden                                  Clm No 175953    Filed In Cases: 607
2 Huge Street                                     Class                Claim Detail Amount         Final Allowed Amount
Bath, ME 04530
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




David Lykins                                      Clm No 175954    Filed In Cases: 607
Route 2 Box 518                                   Class                Claim Detail Amount         Final Allowed Amount
Rush, KY 41168
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Stephanie Lyles                                   Clm No 175955    Filed In Cases: 607
261 Gene Drive                                    Class                Claim Detail Amount         Final Allowed Amount
ledbetter, KY 42058
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1986 of 3075

C/O David Jagolinzer, Esq                         Clm No 175956    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Patricia Lynch                                    Clm No 175957    Filed In Cases: 607
156 Woodley Avenue                                Class                Claim Detail Amount         Final Allowed Amount
West Roxbury, MA 02132
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Charles Lynch                                     Clm No 175958    Filed In Cases: 607
P.o Box 3239                                      Class                Claim Detail Amount         Final Allowed Amount
Big River, CA 92242
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1987 of 3075

John Lynch                                        Clm No 175959    Filed In Cases: 607
P.O Box 573                                       Class                Claim Detail Amount         Final Allowed Amount
Bloomingdale, GA 31302
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Lynda Lynn                                        Clm No 175960    Filed In Cases: 607
3361 Barlow Road                                  Class                Claim Detail Amount         Final Allowed Amount
Wickliffe, KY 42087
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175961    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1988 of 3075

C/O David Jagolinzer, Esq                         Clm No 175962    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175963    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175964    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         1989 of 3075

Tommie Lyons                                      Clm No 175965    Filed In Cases: 607
3818 Wexford Street.                              Class                Claim Detail Amount         Final Allowed Amount
Portage, IN 46368-5354
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Lauren Scarboro                                   Clm No 175966    Filed In Cases: 607
N61W24189 Oak Court                               Class                Claim Detail Amount         Final Allowed Amount
Sussex, WI 53089
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Catherine Macdougall                              Clm No 175967    Filed In Cases: 607
137 Carolyn Road                                  Class                Claim Detail Amount         Final Allowed Amount
Weymouth, MA 02190
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1990 of 3075

Lorraine Machnik                                  Clm No 175968    Filed In Cases: 607
171 Pleaset View Ave.                             Class                Claim Detail Amount         Final Allowed Amount
Apt 301
                                                  UNS                                $1.00
Smithfield, RI 02917-1794
                                                                                     $1.00


   Date Filed               6-Oct-2015
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Dennis Machol                                     Clm No 175969    Filed In Cases: 607
195 Camp Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Newington, CT 06111
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175970    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
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  Claims Details                                                                                         1991 of 3075

C/O David Jagolinzer, Esq                         Clm No 175971    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Joan Mackay                                       Clm No 175972    Filed In Cases: 607
14 Eaton road                                     Class                Claim Detail Amount         Final Allowed Amount
Quincy, MA 02169
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Sandra MacKenzie                                  Clm No 175973    Filed In Cases: 607
2 Maverick Circle                                 Class                Claim Detail Amount         Final Allowed Amount
Billerica, MA 01821
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         1992 of 3075

Richard Macko                                     Clm No 175974    Filed In Cases: 607
77 Jones Street                                   Class                Claim Detail Amount         Final Allowed Amount
Wilkes- Barre, PA 18702
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Pricilla Macomber                                 Clm No 175975    Filed In Cases: 607
445 Seaside Ave                                   Class                Claim Detail Amount         Final Allowed Amount
Apt 820 Box 016
                                                  UNS                                $1.00
Honolulu, HI 96815
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Austine Maddaleni                                 Clm No 175976    Filed In Cases: 607
7 Mead Street                                     Class                Claim Detail Amount         Final Allowed Amount
Everett, MA 02149
                                                  UNS                                $1.00

                                                                                     $1.00


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   Bar Date
   Claim Face Value            $1.00




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C/O David Jagolinzer, Esq                         Clm No 175977    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
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Robbie Madden                                     Clm No 175978    Filed In Cases: 607
4628 Calvert Rd                                   Class                Claim Detail Amount         Final Allowed Amount
Calvert City, KY 42029
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175979    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


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  Claims Details                                                                                         1994 of 3075

Margaret Madigan                                  Clm No 175980    Filed In Cases: 607
Tr4 Box 4232                                      Class                Claim Detail Amount         Final Allowed Amount
Moscow, PA 18444
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Shirley Maduskuie                                 Clm No 175981    Filed In Cases: 607
P.O Box 413                                       Class                Claim Detail Amount         Final Allowed Amount
South Street rentham, MA 02093
                                                  UNS                                $1.00

                                                                                     $1.00


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   Bar Date
   Claim Face Value               $1.00




Highe Magarain III                                Clm No 175982    Filed In Cases: 607
P.O Box 686 C                                     Class                Claim Detail Amount         Final Allowed Amount
Slocomb, Al 36375
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                           1995 of 3075

Ronald Magdos                                       Clm No 175983    Filed In Cases: 607
718 Forsythis Street                                Class                Claim Detail Amount         Final Allowed Amount
Southeast De Moter IN, 46310
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




C/O David Jagolinzer, Esq                           Clm No 175984    Filed In Cases: 607
600 Brickell Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                    UNS                                $1.00
Miami, Fl 33331
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Sean Maguire                                        Clm No 175985    Filed In Cases: 607
16021 N Pierce ferry Road                           Class                Claim Detail Amount         Final Allowed Amount
PMB 100
                                                    UNS                                $1.00
Dolan Springs, AZ 86441-7502
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                         1996 of 3075

Thomas Mahan                                      Clm No 175986    Filed In Cases: 607
44 Lancashire                                     Class                Claim Detail Amount         Final Allowed Amount
Mansfield, MA02048
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Doris Mahaney                                     Clm No 175987    Filed In Cases: 607
206 South Marieta St                              Class                Claim Detail Amount         Final Allowed Amount
#320
                                                  UNS                                $1.00
Verona, WI 53595
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




C/O David Jagolinzer, Esq                         Clm No 175988    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                          1997 of 3075

C/O David Jagolinzer, Esq                          Clm No 175989    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                   UNS                                $1.00
Miami, Fl 33331
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Rozellia Mahoney                                   Clm No 175990    Filed In Cases: 607
24 Poole Road                                      Class                Claim Detail Amount         Final Allowed Amount
Hedgeville, WI 25427
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Ruth Mahoney                                       Clm No 175991    Filed In Cases: 607
333 Universit Blvd. N bldg1                        Class                Claim Detail Amount         Final Allowed Amount
Apt 417
                                                   UNS                                $1.00
Jacksonville, FL 32277
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         1998 of 3075

Lucille Maida                                     Clm No 175992    Filed In Cases: 607
3106 Eder St                                      Class                Claim Detail Amount         Final Allowed Amount
Higland, IN 46322
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Oscar Mailloux                                    Clm No 175993    Filed In Cases: 607
2403 SW Marquis Terrace                           Class                Claim Detail Amount         Final Allowed Amount
Stuart, FL 34997-1354
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Richard Majewski                                  Clm No 175994    Filed In Cases: 607
P.O Box 2072                                      Class                Claim Detail Amount         Final Allowed Amount
Mountainview, AR 72560
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         1999 of 3075

C/O David Jagolinzer, Esq                         Clm No 175995    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, Fl 33331
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Mladen Maksimovich                                Clm No 175996    Filed In Cases: 607
8919 Porter Court.                                Class                Claim Detail Amount         Final Allowed Amount
Crown Point, IN 46307
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




James Malcom                                      Clm No 175997    Filed In Cases: 607
54171 Northwod Drive                              Class                Claim Detail Amount         Final Allowed Amount
Elkhart, IN 46514-1666
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                           2000 of 3075

c/o David Jagolinzer, Esq.                          Clm No 175998    Filed In Cases: 607
600 Brickell Ave. Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Hester Malinchak                                    Clm No 175999    Filed In Cases: 607
107 Malinchak Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Greenfield Township, PA 18407
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Cornelius Mallette                                  Clm No 176000    Filed In Cases: 607
P.O. Box 396                                        Class                Claim Detail Amount         Final Allowed Amount
Piegeon Forge, TN 37868
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                           2001 of 3075

Phyllis Malloy                                      Clm No 176001    Filed In Cases: 607
59 Magnolia Dr.                                     Class                Claim Detail Amount         Final Allowed Amount
Westwood, MA 02090
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176002    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Genevieve Maluska                                   Clm No 176003    Filed In Cases: 607
8771 Waterfront Dr. Unit 1B                         Class                Claim Detail Amount         Final Allowed Amount
Palos Park, IL 60465
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         2002 of 3075

Carol Malvestuto                                  Clm No 176004    Filed In Cases: 607
319 Molokai Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Largo, FL 33770-1511
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Melvin Malvitz                                    Clm No 176005    Filed In Cases: 607
937 Rhode Island St.                              Class                Claim Detail Amount         Final Allowed Amount
Sturgeon Bay, WI 54235
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Brenda Mamlock                                    Clm No 176006    Filed In Cases: 607
5603 State Road 64 E                              Class                Claim Detail Amount         Final Allowed Amount
Bradenton, FL 34208
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                           2003 of 3075

Ellen Mancil                                        Clm No 176007    Filed In Cases: 607
95083 Stingray Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Fernandina Beach, FL 32034
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176008    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




c/o David Jagolinzer, Esq.                          Clm No 176009    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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  Claims Details                                                                                         2004 of 3075

Muriel Mandile                                    Clm No 176010    Filed In Cases: 607
337 McCoy Dr.                                     Class                Claim Detail Amount         Final Allowed Amount
Lake Placid, FL 33852
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Lilian Mangel                                     Clm No 176011    Filed In Cases: 607
1035 North Wilmar Place                           Class                Claim Detail Amount         Final Allowed Amount
Centerville, UT 84014
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Robert Mangrum                                    Clm No 176012    Filed In Cases: 607
4443 Farmwood St                                  Class                Claim Detail Amount         Final Allowed Amount
Ladson, SC 29456
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                           2005 of 3075

c/o David Jagolinzer, Esq.                          Clm No 176013    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176014    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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Frances Mannon                                      Clm No 176015    Filed In Cases: 607
4330 S. Eastern Ave Apt 168                         Class                Claim Detail Amount         Final Allowed Amount
Las Vegas, NV 89119-6098
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                         2006 of 3075

Dorothy Manoogian                                 Clm No 176016    Filed In Cases: 607
515 River Road                                    Class                Claim Detail Amount         Final Allowed Amount
Windham, ME 04063
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Thomas Mansfield                                  Clm No 176017    Filed In Cases: 607
131 Riverside Trail                               Class                Claim Detail Amount         Final Allowed Amount
Satsuma, FL 32189
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Eugene Mantovani                                  Clm No 176018    Filed In Cases: 607
19 Cole Road                                      Class                Claim Detail Amount         Final Allowed Amount
Hamden, CT 06518
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                           2007 of 3075

Ann Manzo                                           Clm No 176019    Filed In Cases: 607
208 Cobia CT                                        Class                Claim Detail Amount         Final Allowed Amount
Barefoot Day, FL 32976
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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c/o David Jagolinzer, Esq.                          Clm No 176020    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Charles Maples                                      Clm No 176021    Filed In Cases: 607
2402 South 9th St                                   Class                Claim Detail Amount         Final Allowed Amount
Manitowoc, WI 54220
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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  Claims Details                                                                                           2008 of 3075

Marie Marcellino                                    Clm No 176022    Filed In Cases: 607
158 Waltham G                                       Class                Claim Detail Amount         Final Allowed Amount
West Palm Beach, FL 33417
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176023    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




c/o David Jagolinzer, Esq.                          Clm No 176024    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                           2009 of 3075

c/o David Jagolinzer, Esq.                          Clm No 176025    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33132
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
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   Claim Face Value            $10,000.00




Anita Marion                                        Clm No 176026    Filed In Cases: 607
4237 Willow Brook Circle                            Class                Claim Detail Amount         Final Allowed Amount
Birmingham, AL 35215
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Michael Marion                                      Clm No 176027    Filed In Cases: 607
4114 Radio Station Road                             Class                Claim Detail Amount         Final Allowed Amount
Nashville, GA 31639
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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c/o David Jagolinzer, Esq.                          Clm No 176028    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33132
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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Charles Markham                                     Clm No 176029    Filed In Cases: 607
218 South Greeley Highway, Lot 40                   Class                Claim Detail Amount         Final Allowed Amount
Cheyenne, WY 82007
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Allen Markham                                       Clm No 176030    Filed In Cases: 607
3932 Jester Dr                                      Class                Claim Detail Amount         Final Allowed Amount
Murray, UT 84123
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                           2011 of 3075

c/o David Jagolinzer, Esq.                          Clm No 176031    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176032    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




c/o David Jagolinzer, Esq.                          Clm No 176033    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                           2012 of 3075

Frank Marovich                                      Clm No 176034    Filed In Cases: 607
5419 US 6                                           Class                Claim Detail Amount         Final Allowed Amount
Porage, IN 46368
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Sylvia Marr                                         Clm No 176035    Filed In Cases: 607
3651 Highway 32                                     Class                Claim Detail Amount         Final Allowed Amount
Bristol, GA 31518
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176036    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                         2013 of 3075

Joan Marsh                                        Clm No 176037    Filed In Cases: 607
11409 Crystal View Court                          Class                Claim Detail Amount         Final Allowed Amount
Clermont, FL 34711
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Cleamon Marsh                                     Clm No 176038    Filed In Cases: 607
4720 Railroad Ave, Apt 615                        Class                Claim Detail Amount         Final Allowed Amount
East Chicago, IN 46312
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Marshall Co-Executor, Joyce Cox                   Clm No 176039    Filed In Cases: 607
24 Isaac Sprague Dr.                              Class                Claim Detail Amount         Final Allowed Amount
Hingham, MA 02043
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                           2014 of 3075

c/o David Jagolinzer, Esq.                          Clm No 176040    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Edythe Martel                                       Clm No 176041    Filed In Cases: 607
98 E. Beardswirth Road                              Class                Claim Detail Amount         Final Allowed Amount
Tiverton, RI 02878-1653
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Dallas Martel                                       Clm No 176042    Filed In Cases: 607
81 N Washington St.                                 Class                Claim Detail Amount         Final Allowed Amount
Plainville, CT 06062
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                           2015 of 3075

Elaine Martell                                      Clm No 176043    Filed In Cases: 607
41 Lodge Road                                       Class                Claim Detail Amount         Final Allowed Amount
Newton, MA 02165
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Eldys Martin                                        Clm No 176044    Filed In Cases: 607
533 N Fox Ave                                       Class                Claim Detail Amount         Final Allowed Amount
Panama City, FL 32404
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176045    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                           2016 of 3075

c/o David Jagolinzer, Esq.                          Clm No 176046    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Theresa A. Martin                                   Clm No 176047    Filed In Cases: 607
107 Roaw Lane                                       Class                Claim Detail Amount         Final Allowed Amount
Pomona Park, FL 32181
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Lloyd Martin                                        Clm No 176048    Filed In Cases: 607
5206 Venita Dr.                                     Class                Claim Detail Amount         Final Allowed Amount
Las Vegas, NV 89120-1439
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                           2017 of 3075

Despault, Alex                                      Clm No 176049    Filed In Cases: 607
P.O. Box 32                                         Class                Claim Detail Amount         Final Allowed Amount
Mount Pelier, VT 05601
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Judy Martin                                         Clm No 176050    Filed In Cases: 607
3641 6 Mile Road                                    Class                Claim Detail Amount         Final Allowed Amount
Athens, MI 49011
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176051    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 31331
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                           2018 of 3075

Carole Martin                                       Clm No 176052    Filed In Cases: 607
8 Sherwood Meadows                                  Class                Claim Detail Amount         Final Allowed Amount
Pembroke, NH 03275
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176053    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 31331
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Carolyn Martin                                      Clm No 176054    Filed In Cases: 607
6626 Florida Ave.                                   Class                Claim Detail Amount         Final Allowed Amount
New Port Richey, FL 34653
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                           2019 of 3075

c/o David Jagolinzer, Esq.                          Clm No 176055    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 31331
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Elaine Martin                                       Clm No 176056    Filed In Cases: 607
11 Evergreen Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Sanford, ME 04073
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Bill Martin                                         Clm No 176057    Filed In Cases: 607
6327 Old Porter Rd                                  Class                Claim Detail Amount         Final Allowed Amount
Portage, IN 46368
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                           2020 of 3075

Ropp, Karen                                         Clm No 176058    Filed In Cases: 607
5007 High St                                        Class                Claim Detail Amount         Final Allowed Amount
Logansport, IN 46947
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176059    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 31331
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Arthur Martin                                       Clm No 176060    Filed In Cases: 607
1370 Inverness Farms Road                           Class                Claim Detail Amount         Final Allowed Amount
Martinsville, IN 46151
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         2021 of 3075

Davies, Nancy                                     Clm No 176061    Filed In Cases: 607
340 S. Ridgewood Apt. P3                          Class                Claim Detail Amount         Final Allowed Amount
Daytona Beach, FL 32114
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Shiley martin                                     Clm No 176062    Filed In Cases: 607
3934 Tuskegee Dr.                                 Class                Claim Detail Amount         Final Allowed Amount
Lanatana, FL 33462
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Martine, Jenna                                    Clm No 176063    Filed In Cases: 607
166 Pinebrook Road                                Class                Claim Detail Amount         Final Allowed Amount
Lincoln Park, NJ 07035
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                           2022 of 3075

Francis Martinez                                    Clm No 176064    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Jesup, GA 31545
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176065    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 31331
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Norma Martinez                                      Clm No 176066    Filed In Cases: 607
1502 S. 113th St.                                   Class                Claim Detail Amount         Final Allowed Amount

                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                         2023 of 3075

Nicolas Martinez                                  Clm No 176067    Filed In Cases: 607
4011 East County Road #210                        Class                Claim Detail Amount         Final Allowed Amount
Knox, IN 046534-000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Louis Martinez                                    Clm No 176068    Filed In Cases: 607
5817 Lamar Ave                                    Class                Claim Detail Amount         Final Allowed Amount
Portage, IN 46368-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Luis Martinez                                     Clm No 176069    Filed In Cases: 607
6846 Ohio Ave,                                    Class                Claim Detail Amount         Final Allowed Amount
Hammond, IN 46323-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2024 of 3075

Lewis Martino                                     Clm No 176070    Filed In Cases: 607
9 Old Farm Road                                   Class                Claim Detail Amount         Final Allowed Amount
Oxford, CT 06478
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Campahusen, Barbara                               Clm No 176071    Filed In Cases: 607
406 S 4th St.                                     Class                Claim Detail Amount         Final Allowed Amount
Saint Clair, MI 48079-5012
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




George Mascola                                    Clm No 176072    Filed In Cases: 607
37 Flat Rock Road                                 Class                Claim Detail Amount         Final Allowed Amount
Brandford, CT 06405
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                           2025 of 3075

c/o David Jagolinzer, Esq.                          Clm No 176073    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 31331
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Charles Mason                                       Clm No 176074    Filed In Cases: 607
P.O. Box 1139                                       Class                Claim Detail Amount         Final Allowed Amount
Gleenn, NH 03838-1139
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




William Mason                                       Clm No 176075    Filed In Cases: 607
89 W 1100 N                                         Class                Claim Detail Amount         Final Allowed Amount
Chesterton, IN 46304-0000
                                                    UNS                                $1.00

                                                                                       $1.00


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   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                           2026 of 3075

Michael Massaro                                     Clm No 176076    Filed In Cases: 607
14 Marlborough Road                                 Class                Claim Detail Amount         Final Allowed Amount
North Haven, CT 06473
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176077    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 31331
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Wilson, Co-Executor, Carol                          Clm No 176078    Filed In Cases: 607
150 Mediterranean Dr. Apt 22                        Class                Claim Detail Amount         Final Allowed Amount
Weymouth, MA 02188
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
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   Claim Face Value            $10,000.00




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  Claims Details                                                                                           2027 of 3075

Carmella Mastroianni                                Clm No 176079    Filed In Cases: 607
26 Upland Road, P.O. Box 366                        Class                Claim Detail Amount         Final Allowed Amount
Middleburry, CT 06762
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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Juengling, Linda                                    Clm No 176080    Filed In Cases: 607
8283 Westberry CT.                                  Class                Claim Detail Amount         Final Allowed Amount
West Chester, OH 45069
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
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   Claim Face Value            $10,000.00




Lee, Betty                                          Clm No 176081    Filed In Cases: 607
132 Horseshoe Dr                                    Class                Claim Detail Amount         Final Allowed Amount
Chiopee, MA 01022-1175
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                           2028 of 3075

Maureen Mathers                                     Clm No 176082    Filed In Cases: 607
70 Nash Hill Road                                   Class                Claim Detail Amount         Final Allowed Amount
Williamsburg, MA 01096
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Matherson, Edward                                   Clm No 176083    Filed In Cases: 607
1217 Fairfax Ave.                                   Class                Claim Detail Amount         Final Allowed Amount
Bessemer, AL 35020
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176084    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 31331
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                         2029 of 3075

Anita Mathieu                                     Clm No 176085    Filed In Cases: 607
130 Chaucer Driver                                Class                Claim Detail Amount         Final Allowed Amount
North Kingstown, RI 02852
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Grace Mathis                                      Clm No 176086    Filed In Cases: 607
1787 E. 26 St                                     Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32206
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Helen Matiska                                     Clm No 176087    Filed In Cases: 607
5260 NW 55th Blvd Apt 301                         Class                Claim Detail Amount         Final Allowed Amount
Coconut Creek, FL 33073
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
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   Claim Face Value         $10,000.00




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  Claims Details                                                                                           2030 of 3075

c/o David Jagolinzer, Esq.                          Clm No 176088    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 31331
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Paul Matteodo                                       Clm No 176089    Filed In Cases: 607
225 Club House Road                                 Class                Claim Detail Amount         Final Allowed Amount
Sylacauga, AL 35150
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Wilford Mattfield                                   Clm No 176090    Filed In Cases: 607
1343 Summerdale Road                                Class                Claim Detail Amount         Final Allowed Amount
Corvalis, MT 59828
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         2031 of 3075

Charles Matthews                                  Clm No 176091    Filed In Cases: 607
991 Winstone Ave                                  Class                Claim Detail Amount         Final Allowed Amount
Elba, AL 36323
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Freida Matthews                                   Clm No 176092    Filed In Cases: 607
188 Albatross Rd                                  Class                Claim Detail Amount         Final Allowed Amount
Quincy, MA 02169
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Carol Matthews                                    Clm No 176093    Filed In Cases: 607
4707 Wesch Blvd                                   Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32207
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                           2032 of 3075

Mattiello, Gloria                                   Clm No 176094    Filed In Cases: 607
1804 Shearers Dr.                                   Class                Claim Detail Amount         Final Allowed Amount
Lancaster, PA 17601
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




Nancy Mauritz                                       Clm No 176095    Filed In Cases: 607
142 Running Brook                                   Class                Claim Detail Amount         Final Allowed Amount
Huntington, CT 06484
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176096    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, Florida 31331
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         2033 of 3075

James Maxwell                                     Clm No 176097    Filed In Cases: 607
5318 David Street                                 Class                Claim Detail Amount         Final Allowed Amount
Lakeland, FL 33813
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Gladys Maxwell                                    Clm No 176098    Filed In Cases: 607
140 Clemson St                                    Class                Claim Detail Amount         Final Allowed Amount
Spartanburg, SC 29307
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Marjorie May                                      Clm No 176099    Filed In Cases: 607
7 May Lane                                        Class                Claim Detail Amount         Final Allowed Amount
Fredericksburg, PA 17026
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         2034 of 3075

Leander May                                       Clm No 176100    Filed In Cases: 607
831 W. Court St.                                  Class                Claim Detail Amount         Final Allowed Amount
Belle Plaine, MN 56011
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Pearce, Brenda                                    Clm No 176101    Filed In Cases: 607
11911 Burch St. Apt 154                           Class                Claim Detail Amount         Final Allowed Amount
Overland Park, KS 66211
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Kathleen Mayes                                    Clm No 176102    Filed In Cases: 607
1308 Grace Dr.                                    Class                Claim Detail Amount         Final Allowed Amount
Savannah, GA 31406
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                           2035 of 3075

Patricia Maynard                                    Clm No 176103    Filed In Cases: 607
53 Tabby Cat Dr                                     Class                Claim Detail Amount         Final Allowed Amount
Lucedale, MS 39452
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Moreland, Donald                                    Clm No 176104    Filed In Cases: 607
106 Meadowcreek                                     Class                Claim Detail Amount         Final Allowed Amount
Barboursville, WV 25504
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176105    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, Florida 31331
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         2036 of 3075

Steve Mazak                                       Clm No 176106    Filed In Cases: 607
1409 Charta Court                                 Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32804
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Mazlack, Lawrence                                 Clm No 176107    Filed In Cases: 607
814 Dunore Road                                   Class                Claim Detail Amount         Final Allowed Amount
Cincinnatti, OH 45220
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Donna Mazola                                      Clm No 176108    Filed In Cases: 607
6433 Sycamore Street                              Class                Claim Detail Amount         Final Allowed Amount
Greendale, WI 53129
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                          2037 of 3075

Coy McAdams                                        Clm No 176109    Filed In Cases: 607
2039 River Oaks Drive                              Class                Claim Detail Amount         Final Allowed Amount
Quinton, AL 35130
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Betty McAloon                                      Clm No 176110    Filed In Cases: 607
1045 Oak Street, Apt. 1502                         Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32204
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176111    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                          2038 of 3075

McAnulty, Mary Anne                                Clm No 176112    Filed In Cases: 607
22 Walden Drive, Unit 9                            Class                Claim Detail Amount         Final Allowed Amount
Natick, MA 01760
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176113    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




c/o David Jagolinzer, Esq.                         Clm No 176114    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                           2039 of 3075

Meta McBride                                        Clm No 176115    Filed In Cases: 607
PO Box 427                                          Class                Claim Detail Amount         Final Allowed Amount
Hartford, KY 42347
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Joseph McBryne                                      Clm No 176116    Filed In Cases: 607
7730 Indian Oak Drive, F 306                        Class                Claim Detail Amount         Final Allowed Amount
Vero Beach, FL 32966
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Eleanor McCabe                                      Clm No 176117    Filed In Cases: 607
411 Scott Street                                    Class                Claim Detail Amount         Final Allowed Amount
Wilkes- Barre, PA 18702
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                         2040 of 3075

Patricia McCabe                                   Clm No 176118    Filed In Cases: 607
4321 Shore Line Drive                             Class                Claim Detail Amount         Final Allowed Amount
New port Richey, FL 34652
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Kathleen McCaffrey                                Clm No 176119    Filed In Cases: 607
PO Box 4063                                       Class                Claim Detail Amount         Final Allowed Amount
Ithaca, NY 14852
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Clark, Diedra                                     Clm No 176120    Filed In Cases: 607
316 Spring Street                                 Class                Claim Detail Amount         Final Allowed Amount
Ashland, KY 41101
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          2041 of 3075

Margaret McCallum                                  Clm No 176121    Filed In Cases: 607
11 Minor Road                                      Class                Claim Detail Amount         Final Allowed Amount
Wolcott, CT 06716
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176122    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Jerry McCarley                                     Clm No 176123    Filed In Cases: 607
1147 Flowery Branch Road                           Class                Claim Detail Amount         Final Allowed Amount
Kingston, GA 30145-1259
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2042 of 3075

Paul McCarty                                      Clm No 176124    Filed In Cases: 607
780 N. Williams Ln.                               Class                Claim Detail Amount         Final Allowed Amount
Cedar City, UT 84720
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Reed, Belinda                                     Clm No 176125    Filed In Cases: 607
443 NE Sims Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Lake City, FL 32055
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Luther McClanahan                                 Clm No 176126    Filed In Cases: 607
4830 S. Meade Street                              Class                Claim Detail Amount         Final Allowed Amount
Denver, CO 80123
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                          2043 of 3075

Barry McClellan                                    Clm No 176127    Filed In Cases: 607
408 Lovett Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Sylacauga, AL 35151
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Mary McClure                                       Clm No 176128    Filed In Cases: 607
1508 Bellview Road                                 Class                Claim Detail Amount         Final Allowed Amount
Cocoa, FL 32922
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176129    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         2044 of 3075

Pam McCollough                                    Clm No 176130    Filed In Cases: 607
669 Herman Driggers Drive                         Class                Claim Detail Amount         Final Allowed Amount
Elba, AL 36323
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Mary McCollough                                   Clm No 176131    Filed In Cases: 607
PO Box 155                                        Class                Claim Detail Amount         Final Allowed Amount
Ashford, AL 36312
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Katherine McCombs                                 Clm No 176132    Filed In Cases: 607
PO Box 276                                        Class                Claim Detail Amount         Final Allowed Amount
Eastham, MA 02642
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                          2045 of 3075

Evelyn McCombs                                     Clm No 176133    Filed In Cases: 607
PO Box 764                                         Class                Claim Detail Amount         Final Allowed Amount
Sayre, AL 35139
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176134    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176135    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          2046 of 3075

c/o David Jagolinzer, Esq.                         Clm No 176136    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176137    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Florence McCue                                     Clm No 176138    Filed In Cases: 607
104 S. Allen Street                                Class                Claim Detail Amount         Final Allowed Amount
Riverton, IL 62561
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2047 of 3075

Donald McCulley                                    Clm No 176139    Filed In Cases: 607
7907 East Natal Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Mesa, AZ 85208-6162
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176140    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176141    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          2048 of 3075

c/o David Jagolinzer, Esq.                         Clm No 176142    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176143    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




c/o David Jagolinzer, Esq.                         Clm No 176144    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          2049 of 3075

c/o David Jagolinzer, Esq.                         Clm No 176145    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Colvin McDaniel                                    Clm No 176146    Filed In Cases: 607
770 E. 100 South                                   Class                Claim Detail Amount         Final Allowed Amount
Alpine, UT 84004-1731
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




McDaniel, Linda                                    Clm No 176147    Filed In Cases: 607
6446 Kingsley Court                                Class                Claim Detail Amount         Final Allowed Amount
Liberty Township, OH 45011
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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  Claims Details                                                                                          2050 of 3075

c/o David Jagolinzer, Esq.                         Clm No 176148    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Claudie McDonald                                   Clm No 176149    Filed In Cases: 607
2071 Leonard's Chapel Road                         Class                Claim Detail Amount         Final Allowed Amount
Carbon Hill, AL 35549
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Elaine McDonald                                    Clm No 176150    Filed In Cases: 607
92 Furnish Avenue Unit #22                         Class                Claim Detail Amount         Final Allowed Amount
Stafford Springs, CT 06076
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2051 of 3075

c/o David Jagolinzer, Esq.                         Clm No 176151    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Mary McDonald                                      Clm No 176152    Filed In Cases: 607
140 Gas Lane                                       Class                Claim Detail Amount         Final Allowed Amount
Lucedale, MS 39452
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Lewis McDonald                                     Clm No 176153    Filed In Cases: 607
425 E. 53rd Ct                                     Class                Claim Detail Amount         Final Allowed Amount
Merrillville, IN 46410
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         2052 of 3075

Annie McElvin                                     Clm No 176154    Filed In Cases: 607
3241 Wolcott Place                                Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32805
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Jimmy McFadden                                    Clm No 176155    Filed In Cases: 607
PO Box 36                                         Class                Claim Detail Amount         Final Allowed Amount
Jefferson City, MT 59638
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




William McFadden                                  Clm No 176156    Filed In Cases: 607
55 Maple Lane                                     Class                Claim Detail Amount         Final Allowed Amount
Pleasant Grove, UT 84062
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2053 of 3075

Helen McFadin                                     Clm No 176157    Filed In Cases: 607
3526 W. Capitol Drive                             Class                Claim Detail Amount         Final Allowed Amount
Peoria, IL 61614
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Lawrence McFarlin                                 Clm No 176158    Filed In Cases: 607
7620 Aranico Drive                                Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32244
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Ellen McFate                                      Clm No 176159    Filed In Cases: 607
1724 20th Street                                  Class                Claim Detail Amount         Final Allowed Amount
Bettendorf, IA 52722
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                         2054 of 3075

Eddie McFerrin                                    Clm No 176160    Filed In Cases: 607
3928 Deal Street                                  Class                Claim Detail Amount         Final Allowed Amount
East Chicago, IN 46312
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Lorette McGarrell                                 Clm No 176161    Filed In Cases: 607
65 P Street                                       Class                Claim Detail Amount         Final Allowed Amount
South Boston, MA 02127
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Helen McGee                                       Clm No 176162    Filed In Cases: 607
270 First Street                                  Class                Claim Detail Amount         Final Allowed Amount
Melrosa, MA 02176
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         2055 of 3075

Helen McGee                                       Clm No 176163    Filed In Cases: 607
1126 Wyoming Street                               Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46403-0906
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Hubert McGee                                      Clm No 176164    Filed In Cases: 607
920 North Vermillon Street                        Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46403-0906
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Cherrie McGee                                     Clm No 176165    Filed In Cases: 607
565 Spruce Street                                 Class                Claim Detail Amount         Final Allowed Amount
Aurora, IL 60506
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                          2056 of 3075

c/o David Jagolinzer, Esq.                         Clm No 176166    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Ray McGhee                                         Clm No 176167    Filed In Cases: 607
6105 Trent Street                                  Class                Claim Detail Amount         Final Allowed Amount
Pensacola, FL 32503-7147
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176168    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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  Claims Details                                                                                         2057 of 3075

Barbara McGinnis                                  Clm No 176169    Filed In Cases: 607
727 McKinley Road                                 Class                Claim Detail Amount         Final Allowed Amount
ottawa, IL 61350
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Judith McGinty                                    Clm No 176170    Filed In Cases: 607
40 Halifax Ct. Apt. C                             Class                Claim Detail Amount         Final Allowed Amount
Springfield, MA 01108
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Marlene McGivney                                  Clm No 176171    Filed In Cases: 607
211 Cross Street                                  Class                Claim Detail Amount         Final Allowed Amount
Hanson, MA 02341
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                          2058 of 3075

Marinell McGonnell                                 Clm No 176172    Filed In Cases: 607
1870 S. Milwaukee Street                           Class                Claim Detail Amount         Final Allowed Amount
Denver, CO 80210
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




McGovern, Nicholas                                 Clm No 176173    Filed In Cases: 607
3670 Berger Road                                   Class                Claim Detail Amount         Final Allowed Amount
Lutz, FL 33548
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176174    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




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  Claims Details                                                                                          2059 of 3075

c/o David Jagolinzer, Esq.                         Clm No 176175    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Odette McGrath                                     Clm No 176176    Filed In Cases: 607
207 Palm Drive                                     Class                Claim Detail Amount         Final Allowed Amount
Satsuma, FL 32189
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Ronald McGuire                                     Clm No 176177    Filed In Cases: 607
1999 Kyles Ford Hwy                                Class                Claim Detail Amount         Final Allowed Amount
Sneedville, TN 37863-3417
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                          2060 of 3075

Audis McGuire                                      Clm No 176178    Filed In Cases: 607
2122 Ashland Street                                Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32207
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Bartkowiak Patricia                                Clm No 176179    Filed In Cases: 607
298 Prospect Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Stratford, CT 06615
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176180    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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  Claims Details                                                                                         2061 of 3075

Doris McInerney                                   Clm No 176181    Filed In Cases: 607
91 Penny Brook Road                               Class                Claim Detail Amount         Final Allowed Amount
Lynn, MA 01905
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Doris Mcintosh                                    Clm No 176182    Filed In Cases: 607
4823 Northeast 255 Drive                          Class                Claim Detail Amount         Final Allowed Amount
Melrose, FL 32666
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Agatha McKeen                                     Clm No 176183    Filed In Cases: 607
1200 Randolph Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Milton, MA 02186
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




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  Claims Details                                                                                          2062 of 3075

Mary McKenna                                       Clm No 176184    Filed In Cases: 607
1 Scott Place                                      Class                Claim Detail Amount         Final Allowed Amount
South Boston, MA 02127
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Farrell McKenna                                    Clm No 176185    Filed In Cases: 607
PO Box 45                                          Class                Claim Detail Amount         Final Allowed Amount
Hinkley, UT 84635
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176186    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          2063 of 3075

Margaret McKenzie                                  Clm No 176187    Filed In Cases: 607
95 Shelby Street W. PO Box 57                      Class                Claim Detail Amount         Final Allowed Amount
Montevallo, AL 35115
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176188    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Shirley McKerley                                   Clm No 176189    Filed In Cases: 607
Daniel Webster Highway                             Class                Claim Detail Amount         Final Allowed Amount
PO Box 3015
                                                   UNS                                $1.00
Boscanen, NH 03303
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2064 of 3075

Erald McKibben                                     Clm No 176190    Filed In Cases: 607
7026 West Calle Lejos                              Class                Claim Detail Amount         Final Allowed Amount
Peoria, AZ 85383
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176191    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Downey, Laura                                      Clm No 176192    Filed In Cases: 607
323 Ponemah Trail                                  Class                Claim Detail Amount         Final Allowed Amount
Buckley, MI 49620
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2065 of 3075

Mary McKinnon                                      Clm No 176193    Filed In Cases: 607
PO Box 36                                          Class                Claim Detail Amount         Final Allowed Amount
York, ME 03910
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176194    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Mart McLeod                                        Clm No 176195    Filed In Cases: 607
5010 Brookside Lane                                Class                Claim Detail Amount         Final Allowed Amount
Newport Richey, FL 34653
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2066 of 3075

c/o David Jagolinzer, Esq.                         Clm No 176196    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Richard McLeod                                     Clm No 176197    Filed In Cases: 607
2728 West 14th Street                              Class                Claim Detail Amount         Final Allowed Amount
Erie, PA 16505
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




James McLeod                                       Clm No 176198    Filed In Cases: 607
119130 Lone Pine GI Road                           Class                Claim Detail Amount         Final Allowed Amount
Route 3, Box 14
                                                   UNS                                $1.00
Butte, MT 59701
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2067 of 3075

c/o David Jagolinzer, Esq.                         Clm No 176199    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Kenneth McMahon                                    Clm No 176200    Filed In Cases: 607
5152 Boggy Creek Road Lot C5                       Class                Claim Detail Amount         Final Allowed Amount
Saint Cloud, FL 34771
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Allan McMahon                                      Clm No 176201    Filed In Cases: 607
N603 Hillcrest Road                                Class                Claim Detail Amount         Final Allowed Amount
Pardeeville, WI 53954
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         2068 of 3075

Dorothy McManus                                   Clm No 176202    Filed In Cases: 607
1553 Morning Rose Place                           Class                Claim Detail Amount         Final Allowed Amount
Trinity, FL 34655
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Barbara McMellon                                  Clm No 176203    Filed In Cases: 607
33 Judith Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Milford, CT 06460
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Barbara McMickens                                 Clm No 176204    Filed In Cases: 607
1215 Star Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Mulga, AL 35118
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                          2069 of 3075

Carrie McMillan                                    Clm No 176205    Filed In Cases: 607
3008 1/2 E. Osborne Ave.                           Class                Claim Detail Amount         Final Allowed Amount
Tampa, FL 33610
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176206    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Kay McMonigal                                      Clm No 176207    Filed In Cases: 607
1150 6th Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
Steelton, PA 17113
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2070 of 3075

Willie McMulin                                    Clm No 176208    Filed In Cases: 607
427 60th Street                                   Class                Claim Detail Amount         Final Allowed Amount
Fairfield, AL 35064
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Robert McNeil                                     Clm No 176209    Filed In Cases: 607
17343 N. Havasupai Drive                          Class                Claim Detail Amount         Final Allowed Amount
Surprise, AZ 85375
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Rachael McNeil                                    Clm No 176210    Filed In Cases: 607
See Pr                                            Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32244
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2071 of 3075

Charlie McNeil                                    Clm No 176211    Filed In Cases: 607
8304 Highway 22                                   Class                Claim Detail Amount         Final Allowed Amount
Panama City, FL 32404
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Albra McNeil                                      Clm No 176212    Filed In Cases: 607
PO Box 3596                                       Class                Claim Detail Amount         Final Allowed Amount
Panama City, FL 32401
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Thomas McNorton                                   Clm No 176213    Filed In Cases: 607
5511 Beacon Ridge                                 Class                Claim Detail Amount         Final Allowed Amount
Lowell, IN 46356
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                          2072 of 3075

c/o David Jagolinzer, Esq.                         Clm No 176214    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 176215    Filed In Cases: 607
600 Brickell Avenue, Suite 3800                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Jane McQuoid                                       Clm No 176216    Filed In Cases: 607
1 Tuttle Road                                      Class                Claim Detail Amount         Final Allowed Amount
Sterling, MA 01564
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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  Claims Details                                                                                          2073 of 3075

John McVeigh                                       Clm No 176217    Filed In Cases: 607
1538 Route 12, #C19                                Class                Claim Detail Amount         Final Allowed Amount
Gales Ferry, CT 06335
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176218    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Donald Mecham                                      Clm No 176219    Filed In Cases: 607
382 East 400 North                                 Class                Claim Detail Amount         Final Allowed Amount
Genola, UT 84655
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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  Claims Details                                                                                          2074 of 3075

Kimberly Medina                                    Clm No 176220    Filed In Cases: 607
357 Navarre Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Miami Springs, FL 33166
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176221    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




Wanda Meeks                                        Clm No 176222    Filed In Cases: 607
2416 Philpot Road                                  Class                Claim Detail Amount         Final Allowed Amount
West Monroe, LA 71292-2670
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2075 of 3075

Jackie Meeks                                      Clm No 176223    Filed In Cases: 607
5172 SR 50                                        Class                Claim Detail Amount         Final Allowed Amount
Pelham, TN 37366
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Jesse Meeks                                       Clm No 176224    Filed In Cases: 607
510 South Kentucky Avenue                         Class                Claim Detail Amount         Final Allowed Amount
Evansville, IN, 47714-1015
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Barthie, Sharon                                   Clm No 176225    Filed In Cases: 607
18129 Hancock Bluff Road                          Class                Claim Detail Amount         Final Allowed Amount
Dade City, FL, 33523
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          2076 of 3075

Pauline Meese                                      Clm No 176226    Filed In Cases: 607
120 Alexander Blvd.                                Class                Claim Detail Amount         Final Allowed Amount
Blackfoot, ID 83221
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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c/o David Jagolinzer, Esq                          Clm No 176227    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176228    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                          2077 of 3075

Meisenbach, Irma                                   Clm No 176229    Filed In Cases: 607
Liberty Village of Peru                            Class                Claim Detail Amount         Final Allowed Amount
Hawthorne Inn 1101 31st
                                                   UNS                                $1.00
Street, Peru, IL 61354
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176230    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Gloria Melchionno                                  Clm No 176231    Filed In Cases: 607
99 West Spring Street                              Class                Claim Detail Amount         Final Allowed Amount
Avon, MA 02322
                                                   UNS                          $10,000.00

                                                                                $10,000.00


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  Claims Details                                                                                           2078 of 3075

Meldoff, Sharon                                     Clm No 176232    Filed In Cases: 607
8868 Old 60 Hwy                                     Class                Claim Detail Amount         Final Allowed Amount
Roaring River, NC 98669
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Rosemarie Melee                                     Clm No 176233    Filed In Cases: 607
650 Washington Road Apt. 516                        Class                Claim Detail Amount         Final Allowed Amount
Sayerville, NJ 08872
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Louis Melfi                                         Clm No 176234    Filed In Cases: 607
103 Delaware Road,                                  Class                Claim Detail Amount         Final Allowed Amount
Easton, CT 06612
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                         2079 of 3075

Phyllis Melton                                    Clm No 176235    Filed In Cases: 607
135 Dundee Road                                   Class                Claim Detail Amount         Final Allowed Amount
Daytona Beach, FL 32118
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Peggy Melton                                      Clm No 176236    Filed In Cases: 607
620 Taylor Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Henderson, KY 42420
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Keith Melzer                                      Clm No 176237    Filed In Cases: 607
609 South Ridge Lane,                             Class                Claim Detail Amount         Final Allowed Amount
Appleton, WI 54914
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                          2080 of 3075

c/o David Jagolinzer, Esq                          Clm No 176238    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176239    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176240    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2081 of 3075

Rosinski, Marie                                    Clm No 176241    Filed In Cases: 607
22384 S.W. 57th Circle                             Class                Claim Detail Amount         Final Allowed Amount
Boca Raton, FL 33428
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Dorothy Meola                                      Clm No 176242    Filed In Cases: 607
36 Gaffney Place                                   Class                Claim Detail Amount         Final Allowed Amount
Yonkers, NY 10704
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




c/o David Jagolinzer, Esq                          Clm No 176243    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2082 of 3075

Elizabeth Mercier                                  Clm No 176244    Filed In Cases: 607
80 Graff Road                                      Class                Claim Detail Amount         Final Allowed Amount
Canterbury, CT 06331
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Wilifred Merifield                                 Clm No 176245    Filed In Cases: 607
P.O Box 237                                        Class                Claim Detail Amount         Final Allowed Amount
Theodore, AL 36582
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Roger Merkl                                        Clm No 176246    Filed In Cases: 607
9950 Redwood St. NW Apt 303                        Class                Claim Detail Amount         Final Allowed Amount
Minneapolis, MN 55433
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2083 of 3075

Richard Merold                                     Clm No 176247    Filed In Cases: 607
3305 SE 22nd Street, Apt. 6                        Class                Claim Detail Amount         Final Allowed Amount
De Moines, IA 50320
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Dolores Merritt                                    Clm No 176248    Filed In Cases: 607
293 Society Hill Circle                            Class                Claim Detail Amount         Final Allowed Amount
The Village, FL 32162
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176249    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2084 of 3075

Christine Mertens                                  Clm No 176250    Filed In Cases: 607
745 Lardo Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Port Orange, FL 32129
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




William Merz                                       Clm No 176251    Filed In Cases: 607
4100 Englewood Ave Apt. 307                        Class                Claim Detail Amount         Final Allowed Amount
Yakima, WA 98908-4324
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Meserve, Helen                                     Clm No 176252    Filed In Cases: 607
1307 NE 21st Court                                 Class                Claim Detail Amount         Final Allowed Amount
Ocala FL 34470
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         2085 of 3075

Angeline Messier                                  Clm No 176253    Filed In Cases: 607
15 Old Gilbertville Road                          Class                Claim Detail Amount         Final Allowed Amount
Ware, MA 01082
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Deceased Helen                                    Clm No 176254    Filed In Cases: 607
37 Indian Trail                                   Class                Claim Detail Amount         Final Allowed Amount
Pembroke, MA 02359
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Grady Metcalf                                     Clm No 176255    Filed In Cases: 607
3411 Pineridge DR.                                Class                Claim Detail Amount         Final Allowed Amount
Newburgh, IN 47630
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                          2086 of 3075

Robert Metcalf                                     Clm No 176256    Filed In Cases: 607
458 Meadow FRK                                     Class                Claim Detail Amount         Final Allowed Amount
Millstone, KY 41838
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176257    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Charles Metz                                       Clm No 176258    Filed In Cases: 607
1270 Lana Road                                     Class                Claim Detail Amount         Final Allowed Amount
Yulee, FL 32097-4631
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2087 of 3075

c/o David Jagolinzer, Esq                          Clm No 176259    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Roger Meunier                                      Clm No 176260    Filed In Cases: 607
504 South Quaker Lane                              Class                Claim Detail Amount         Final Allowed Amount
Elmwood, CT 06110
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176261    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2088 of 3075

Meyer, David                                       Clm No 176262    Filed In Cases: 607
42 B. Dale Road                                    Class                Claim Detail Amount         Final Allowed Amount
Hooksett, NH 03106
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Mary Meyer                                         Clm No 176263    Filed In Cases: 607
230 Brett Circle                                   Class                Claim Detail Amount         Final Allowed Amount
Waucanda, IL 60084
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176264    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2089 of 3075

Cronkrite, Marsha                                  Clm No 176265    Filed In Cases: 607
26745 S. McKinley Woods Road                       Class                Claim Detail Amount         Final Allowed Amount
Channahon, IL 60410
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176266    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Joseph Miaczynski                                  Clm No 176267    Filed In Cases: 607
3815 Perry Street                                  Class                Claim Detail Amount         Final Allowed Amount
Erie, PA 16504-2371
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2090 of 3075

Dana Michaels                                     Clm No 176268    Filed In Cases: 607
212 Magnolia Circle                               Class                Claim Detail Amount         Final Allowed Amount
Eustis, FL 32726-6911
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




James Michaud                                     Clm No 176269    Filed In Cases: 607
3 Orchard Hill Drive                              Class                Claim Detail Amount         Final Allowed Amount
Granby, CT 06035
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Lucien Michaud                                    Clm No 176270    Filed In Cases: 607
34 Stoney Hill Road                               Class                Claim Detail Amount         Final Allowed Amount
Hampden, MA 01036
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                          2091 of 3075

c/o David Jagolinzer, Esq                          Clm No 176271    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176272    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176273    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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  Claims Details                                                                                          2092 of 3075

Rose Migliosi                                      Clm No 176274    Filed In Cases: 607
727 Tunkhannock Avenue                             Class                Claim Detail Amount         Final Allowed Amount
West Pittston, PA 18643
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Gladys Migues                                      Clm No 176275    Filed In Cases: 607
1621 NW 143 Terrace                                Class                Claim Detail Amount         Final Allowed Amount
Pembroke Pines, FL 33028
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




c/o David Jagolinzer, Esq                          Clm No 176276    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                            2093 of 3075

Antonietta                                           Clm No 176277    Filed In Cases: 607
1572 Eastwood Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Brentwood, TN 37027
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




c/o David Jagolinzer, Esq                            Clm No 176278    Filed In Cases: 607
600 Brickell Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




John Milender                                        Clm No 176279    Filed In Cases: 607
407 North 6th Street Apt. C-3                        Class                Claim Detail Amount         Final Allowed Amount
Thermoplis, WY 82443
                                                     UNS                                $1.00

                                                                                        $1.00


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   Claim Face Value                  $1.00




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  Claims Details                                                                                          2094 of 3075

c/o David Jagolinzer, Esq                          Clm No 176280    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


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McBride, Kathleen                                  Clm No 176281    Filed In Cases: 607
P.O Box 98                                         Class                Claim Detail Amount         Final Allowed Amount
Lake Alfred, FL 33850
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Clarence Miller                                    Clm No 176282    Filed In Cases: 607
2577 West 9th Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46404-2138
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          2095 of 3075

Gloria Miller                                      Clm No 176283    Filed In Cases: 607
43 Garwood Court N                                 Class                Claim Detail Amount         Final Allowed Amount
Garfield, NJ 07026
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176284    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Brenda Miller                                      Clm No 176285    Filed In Cases: 607
935 Viscaya Blvd                                   Class                Claim Detail Amount         Final Allowed Amount
St. Augustine, FL 32086
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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   Garlock Sealing Technologies LLC, et al.

  Claims Details                                                                                         2096 of 3075

Mavis Miller                                      Clm No 176286    Filed In Cases: 607
13895 West Bottom Road                            Class                Claim Detail Amount         Final Allowed Amount
Granviller, IL 61326
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Peggy Miller                                      Clm No 176287    Filed In Cases: 607
2214 Boulevard Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Scranton, PA 18509
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Hugh Miller                                       Clm No 176288    Filed In Cases: 607
1000 Airport Rd, Apt. 308                         Class                Claim Detail Amount         Final Allowed Amount
Godfrey, IL 62035
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         2097 of 3075

Billy Miller                                      Clm No 176289    Filed In Cases: 607
1380 Vanburen Street                              Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46407
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Alan Miller                                       Clm No 176290    Filed In Cases: 607
2602A Highway 13                                  Class                Claim Detail Amount         Final Allowed Amount
Adams, WI 53910
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Rudolph Miller                                    Clm No 176291    Filed In Cases: 607
9340 Old Hwy 24                                   Class                Claim Detail Amount         Final Allowed Amount
Neely, MS 39461
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                          2098 of 3075

c/o David Jagolinzer, Esq                          Clm No 176292    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Sherman Miller                                     Clm No 176293    Filed In Cases: 607
221 Olivet Street                                  Class                Claim Detail Amount         Final Allowed Amount
La Crosse, WI 54603
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Mattie Miller                                      Clm No 176294    Filed In Cases: 607
210 County Road 594                                Class                Claim Detail Amount         Final Allowed Amount
Hillsboro, AL 35643
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2099 of 3075

Terry Onetha                                       Clm No 176295    Filed In Cases: 607
582 Brantley Terrace Way                           Class                Claim Detail Amount         Final Allowed Amount
Unit 101
                                                   UNS                          $10,000.00
Altamonte Springs, FL 32714
                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




c/o David Jagolinzer, Esq                          Clm No 176296    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




James Miller                                       Clm No 176297    Filed In Cases: 607
6109 Randy Jay Street                              Class                Claim Detail Amount         Final Allowed Amount
Schofield, WI 54476
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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   Garlock Sealing Technologies LLC, et al.

  Claims Details                                                                                           2100 of 3075

Charles Miller                                      Clm No 176298    Filed In Cases: 607
1925 Maryland Street                                Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46407-0000
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Dennis Miller                                       Clm No 176299    Filed In Cases: 607
6026 East Pershing Boulevard                        Class                Claim Detail Amount         Final Allowed Amount
Cheyenne, WY 82001
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Mills, William                                      Clm No 176300    Filed In Cases: 607
2557 K-Ville Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Auburndale, FL 33823
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                          2101 of 3075

c/o David Jagolinzer, Esq                          Clm No 176301    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176302    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Joe Milota                                         Clm No 176303    Filed In Cases: 607
109 Coal Miners Road                               Class                Claim Detail Amount         Final Allowed Amount
Spring Valle, IL 61362-1000
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                          2102 of 3075

Gail Milton                                        Clm No 176304    Filed In Cases: 607
8107 Donegal Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32244-6263
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Milward, Brian                                     Clm No 176305    Filed In Cases: 607
11 Fiske Road                                      Class                Claim Detail Amount         Final Allowed Amount
Saugus, MA 01906-3358
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Linda Mimbs                                        Clm No 176306    Filed In Cases: 607
P.O Box 2514                                       Class                Claim Detail Amount         Final Allowed Amount
Reidsville, GA 30453
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         2103 of 3075

White Georgianne                                  Clm No 176307    Filed In Cases: 607
68 Beaver Dam Road                                Class                Claim Detail Amount         Final Allowed Amount
Scituate, MA 02066
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Gloria Minesal                                    Clm No 176308    Filed In Cases: 607
2709 Eagles Court                                 Class                Claim Detail Amount         Final Allowed Amount
West Bend, WI 53095
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Judith Minneci                                    Clm No 176309    Filed In Cases: 607
740 Victoria Street South                         Class                Claim Detail Amount         Final Allowed Amount
Apt. 219 St. Paul MN 55102
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                          2104 of 3075

Ashby Minnick                                      Clm No 176310    Filed In Cases: 607
3013 Reef View Street                              Class                Claim Detail Amount         Final Allowed Amount
Las Vegas, NV 89117-0137
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176311    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Barbara Minor                                      Clm No 176312    Filed In Cases: 607
81 Oak Knoll Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Hampden, MA 01036
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2105 of 3075

c/o David Jagolinzer, Esq                          Clm No 176313    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Nancy Mirabella                                    Clm No 176314    Filed In Cases: 607
3419 Marston Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32812
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Ubaldo Miranda                                     Clm No 176315    Filed In Cases: 607
4307 Euclid Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
East Chicago, IN 46312-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         2106 of 3075

Miller Mistilien                                  Clm No 176316    Filed In Cases: 607
2116 Beecher Street                               Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32808
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Lucia Mitchell                                    Clm No 176317    Filed In Cases: 607
117 Bellmont Court                                Class                Claim Detail Amount         Final Allowed Amount
Paducah, KY 42003
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Kelly, Joan                                       Clm No 176318    Filed In Cases: 607
45 Pine Ridge Road                                Class                Claim Detail Amount         Final Allowed Amount
Arlington, MA 02476
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          2107 of 3075

c/o David Jagolinzer, Esq                          Clm No 176319    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




c/o David Jagolinzer, Esq                          Clm No 176320    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Andrew Mitchell                                    Clm No 176321    Filed In Cases: 607
659 Fleming Boulevard                              Class                Claim Detail Amount         Final Allowed Amount
Rensselaer, IN
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2108 of 3075

David Mitchell                                     Clm No 176322    Filed In Cases: 607
1115 8th Ave South                                 Class                Claim Detail Amount         Final Allowed Amount
Great Falls, MT 59405-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Dolores Mitsakos                                   Clm No 176323    Filed In Cases: 607
42 Gordon Street E.                                Class                Claim Detail Amount         Final Allowed Amount
Haven, CT 06512
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176324    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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  Claims Details                                                                                          2109 of 3075

Mixon-Adams, Kim                                   Clm No 176325    Filed In Cases: 607
104 Cooper Road                                    Class                Claim Detail Amount         Final Allowed Amount
Conatonment, FL 32533
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176326    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




c/o David Jagolinzer, Esq                          Clm No 176327    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2110 of 3075

Ethel Mizell                                       Clm No 176328    Filed In Cases: 607
Route 1 Box 301                                    Class                Claim Detail Amount         Final Allowed Amount
Vinegar Bend, AL 36584
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Frances Mizzell                                    Clm No 176329    Filed In Cases: 607
12361 Hagan Creek Drive                            Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32244-6263
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Waldo Moberly                                      Clm No 176330    Filed In Cases: 607
71068 Swan Route,                                  Class                Claim Detail Amount         Final Allowed Amount
Bigfork, MT 59911
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2111 of 3075

c/o David Jagolinzer, Esq                          Clm No 176331    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Frank Modglin                                      Clm No 176332    Filed In Cases: 607
62505 Katson Ave NE                                Class                Claim Detail Amount         Final Allowed Amount
Albuquerque, NM 87109
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Leland Moe                                         Clm No 176333    Filed In Cases: 607
17 N Hudson Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Sturgeon Bay, WI 54235
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2112 of 3075

Ruby Moersch                                      Clm No 176334    Filed In Cases: 607
758 Lake Shr Dr                                   Class                Claim Detail Amount         Final Allowed Amount
Escanaba, MI 49829
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Portia Moffett                                    Clm No 176335    Filed In Cases: 607
41410 Sunshine Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Umatilla, FL 32784
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




John Moffitt                                      Clm No 176336    Filed In Cases: 607
7425 Harrison Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Hammond, IN 46324-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         2113 of 3075

Wayne Molina                                      Clm No 176337    Filed In Cases: 607
24857 Southwest 127th Path                        Class                Claim Detail Amount         Final Allowed Amount
Princeton, FL 33032
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Michael Molloy                                    Clm No 176338    Filed In Cases: 607
125 College Highway                               Class                Claim Detail Amount         Final Allowed Amount
Southwick, MA 01077
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Shirley Molnar                                    Clm No 176339    Filed In Cases: 607
602 Viewcrest                                     Class                Claim Detail Amount         Final Allowed Amount
Byron, IL 61010
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                           2114 of 3075

Monaco, Henry                                       Clm No 176340    Filed In Cases: 607
1522 North Prospect Ave #504                        Class                Claim Detail Amount         Final Allowed Amount
Milwaukee, WI 53202
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Gertrude Monahan                                    Clm No 176341    Filed In Cases: 607
203 N Capri Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Duncanville, TX 75116
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Michael Monarch                                     Clm No 176342    Filed In Cases: 607
7809 Canna Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Louisville, KY 40258-2417
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                          2115 of 3075

Constance Mondor                                   Clm No 176343    Filed In Cases: 607
29 Wakefield Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Saco, ME 04072
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176344    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Gerard Monfils                                     Clm No 176345    Filed In Cases: 607
10519 Ledge Road                                   Class                Claim Detail Amount         Final Allowed Amount
Brussels, WI 54204
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         2116 of 3075

Monroe, Dorothy                                   Clm No 176346    Filed In Cases: 607
739 Hemlock Street                                Class                Claim Detail Amount         Final Allowed Amount
Pocatello, ID 83201
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Rosie Montagino                                   Clm No 176347    Filed In Cases: 607
910 Stallion Way                                  Class                Claim Detail Amount         Final Allowed Amount
Valrico, FL 33510
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Monteforte, James                                 Clm No 176348    Filed In Cases: 607
132 Albion Street                                 Class                Claim Detail Amount         Final Allowed Amount
Old Forge, PA 18518-1342
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




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  Claims Details                                                                                          2117 of 3075

Monteiro, Mary                                     Clm No 176349    Filed In Cases: 607
60 N. Main Street 2nd Floor                        Class                Claim Detail Amount         Final Allowed Amount
Waterbury, CT 06702
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Marcelino Montejano                                Clm No 176350    Filed In Cases: 607
237 Doty Street                                    Class                Claim Detail Amount         Final Allowed Amount
Hammond, IN 46324-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Karen Montesano                                    Clm No 176351    Filed In Cases: 607
1952 Lake Lotela Drive                             Class                Claim Detail Amount         Final Allowed Amount
Avon Parl, FL 33825
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                           2118 of 3075

Wilma Montgomery                                    Clm No 176352    Filed In Cases: 607
1053 Sunshine Village Court,                        Class                Claim Detail Amount         Final Allowed Amount
Lot #6 Ashland, KY 41102
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 176353    Filed In Cases: 607
600 Brickell Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




c/o David Jagolinzer, Esq                           Clm No 176354    Filed In Cases: 607
600 Brickell Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




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  Claims Details                                                                                          2119 of 3075

Sonia Echevarria                                   Clm No 176355    Filed In Cases: 607
18450 NW 62nd Avenue Apt. 203                      Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33015-8214
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Clair Montminy                                     Clm No 176356    Filed In Cases: 607
34 Higgins Street                                  Class                Claim Detail Amount         Final Allowed Amount
Manchester, NH 03102
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176357    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




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  Claims Details                                                                                          2120 of 3075

Ruth Moody                                         Clm No 176358    Filed In Cases: 607
7601 Sonia Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32244-6263
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Herman Moody                                       Clm No 176359    Filed In Cases: 607
1205 Madison Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Las Vegas, NV 89106-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Michael Moolick                                    Clm No 176360    Filed In Cases: 607
24820 East Joseph Avenue                           Class                Claim Detail Amount         Final Allowed Amount
Otis Orchards, WA 99027
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         2121 of 3075

Moon, Kathleen                                    Clm No 176361    Filed In Cases: 607
1600 W. Marion Avenue Apt. 215                    Class                Claim Detail Amount         Final Allowed Amount
Punta Gorda, FL 33950
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Arlene Moon                                       Clm No 176362    Filed In Cases: 607
38964 Stapeley Circle                             Class                Claim Detail Amount         Final Allowed Amount
Zephyrhills, FL 33540
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Patricia Mooney                                   Clm No 176363    Filed In Cases: 607
120 Pulaski Blvd                                  Class                Claim Detail Amount         Final Allowed Amount
Toms river, NJ 08757-6426
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         2122 of 3075

Catherine Moore                                   Clm No 176364    Filed In Cases: 607
121 Prospect Street                               Class                Claim Detail Amount         Final Allowed Amount
Canton, MA 02021
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Judith Moore                                      Clm No 176365    Filed In Cases: 607
49 Bullfinch CT                                   Class                Claim Detail Amount         Final Allowed Amount
Magnolia, DE 19962
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Gwendolyn Moore                                   Clm No 176366    Filed In Cases: 607
5246 Moncrief Road W.                             Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32209
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                          2123 of 3075

Insley, Barbara                                    Clm No 176367    Filed In Cases: 607
14 Valasia Road,                                   Class                Claim Detail Amount         Final Allowed Amount
Poquoson, VA 23662-1550
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176368    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Blackwood Rhonda                                   Clm No 176369    Filed In Cases: 607
7901 SW 176 Street                                 Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33157-0000
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




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  Claims Details                                                                                          2124 of 3075

c/o David Jagolinzer, Esq                          Clm No 176370    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Beverly Moore                                      Clm No 176371    Filed In Cases: 607
78 East Brimfield Rd                               Class                Claim Detail Amount         Final Allowed Amount
Holland, MA 01521
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Barbara Moore                                      Clm No 176372    Filed In Cases: 607
3171 E. Southview Drive                            Class                Claim Detail Amount         Final Allowed Amount
Wasilla, AK 99654
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         2125 of 3075

Willie Moore                                      Clm No 176373    Filed In Cases: 607
1179 Bigger Street                                Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46404
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Fred Moore                                        Clm No 176374    Filed In Cases: 607
2830 Upper Second Creek Road                      Class                Claim Detail Amount         Final Allowed Amount
Hazard, KY 41701
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value             $1.00




Warren Moore                                      Clm No 176375    Filed In Cases: 607
3625 Johonson Street                              Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46407
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                          2126 of 3075

Mary Alice Moore                                   Clm No 176376    Filed In Cases: 607
4914 Hargrove Road E.                              Class                Claim Detail Amount         Final Allowed Amount
Tuscaloosa, AL 35405-7719
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




George Moorhead                                    Clm No 176377    Filed In Cases: 607
6543 North 131st Drive                             Class                Claim Detail Amount         Final Allowed Amount
Glendale, AZ 85307
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176378    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          2127 of 3075

Carolyn Morang                                     Clm No 176379    Filed In Cases: 607
488 County Road 709                                Class                Claim Detail Amount         Final Allowed Amount
Riceville, TN 37370
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Helen Morang                                       Clm No 176380    Filed In Cases: 607
59 Brook Road                                      Class                Claim Detail Amount         Final Allowed Amount
Portland, ME 04103
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176381    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          2128 of 3075

c/o David Jagolinzer, Esq                          Clm No 176382    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Milton Morgan                                      Clm No 176383    Filed In Cases: 607
6404 Kinlocke Drive West                           Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, Fl 32219
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176384    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          2129 of 3075

c/o David Jagolinzer, Esq                          Clm No 176385    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




evelyn Morgan                                      Clm No 176386    Filed In Cases: 607
9323 Danville Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32209
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Willie Morgan                                      Clm No 176387    Filed In Cases: 607
P.O Box 74                                         Class                Claim Detail Amount         Final Allowed Amount
Rincon, GA 31326-0000
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                          2130 of 3075

c/o David Jagolinzer, Esq                          Clm No 176388    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Brashaw, Debbie                                    Clm No 176389    Filed In Cases: 607
14859 US Highway 52                                Class                Claim Detail Amount         Final Allowed Amount
Mt. Carroll, IL 61053
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Susan Morin                                        Clm No 176390    Filed In Cases: 607
72 Line Street, P.O Box 391                        Class                Claim Detail Amount         Final Allowed Amount
Southampton, MA 01073
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                          2131 of 3075

Lauria M. Morneault                                Clm No 176391    Filed In Cases: 607
P.O Box 233                                        Class                Claim Detail Amount         Final Allowed Amount
Broak Brook, CT 06016-0233
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176392    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Dressler, Joanne                                   Clm No 176393    Filed In Cases: 607
93331 Brown Gelley Drive                           Class                Claim Detail Amount         Final Allowed Amount
Huntersviller, NC 28076
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




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  Claims Details                                                                                          2132 of 3075

Lillian Morrill                                    Clm No 176394    Filed In Cases: 607
20 Main Street P.O Box 5656                        Class                Claim Detail Amount         Final Allowed Amount
Salisbury, MA 01952
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Beverly Morris                                     Clm No 176395    Filed In Cases: 607
255 Robert Street                                  Class                Claim Detail Amount         Final Allowed Amount
Westport, MA 02790
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Dorcas Morris                                      Clm No 176396    Filed In Cases: 607
631 North Street                                   Class                Claim Detail Amount         Final Allowed Amount
Daytona Beach, FL 32114
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                          2133 of 3075

c/o David Jagolinzer, Esq                          Clm No 176397    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176398    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176399    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         2134 of 3075

Small, Delinda                                    Clm No 176400    Filed In Cases: 607
916 Carlene Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Harlem, GA 30814
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Clarence Morris                                   Clm No 176401    Filed In Cases: 607
4730 Euclid                                       Class                Claim Detail Amount         Final Allowed Amount
East Chicago, IN 46312
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Blythe Morrison                                   Clm No 176402    Filed In Cases: 607
P.O Box 583                                       Class                Claim Detail Amount         Final Allowed Amount
Dilver, NH 03821
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2135 of 3075

Susanne Morrison                                  Clm No 176403    Filed In Cases: 607
10 Henry Street                                   Class                Claim Detail Amount         Final Allowed Amount
North Billerica, MA 01862
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Coleene Morrison                                  Clm No 176404    Filed In Cases: 607
514 Sean Court                                    Class                Claim Detail Amount         Final Allowed Amount
Apopka, FL 32712
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Rick Morrison                                     Clm No 176405    Filed In Cases: 607
876 Jennifel Dr                                   Class                Claim Detail Amount         Final Allowed Amount
Greenwood, IN 46143-8457
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2136 of 3075

Janet Morrison                                    Clm No 176406    Filed In Cases: 607
10807 West11 Street                               Class                Claim Detail Amount         Final Allowed Amount
Hewitt, WI 54441
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Nancy Morrissette                                 Clm No 176407    Filed In Cases: 607
1408 Rockridge Road, Apt. 268                     Class                Claim Detail Amount         Final Allowed Amount
Waukesha, WI 53188
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Florence Morrow                                   Clm No 176408    Filed In Cases: 607
1260 Mountain View Rd                             Class                Claim Detail Amount         Final Allowed Amount
Cordova, AL 35550-4026
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                          2137 of 3075

c/o David Jagolinzer, Esq                          Clm No 176409    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Christopher Mortensen                              Clm No 176410    Filed In Cases: 607
64 Little Road                                     Class                Claim Detail Amount         Final Allowed Amount
Berwick, ME 03901
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Mary Morton                                        Clm No 176411    Filed In Cases: 607
560 East Street                                    Class                Claim Detail Amount         Final Allowed Amount
Mansfield, MA 02048
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2138 of 3075

Gerald Moser                                      Clm No 176412    Filed In Cases: 607
3820 West County Road #4                          Class                Claim Detail Amount         Final Allowed Amount
Berthoud, CO 80513-8508
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Andrew Moses                                      Clm No 176413    Filed In Cases: 607
1070 W. Wallula Avenue                            Class                Claim Detail Amount         Final Allowed Amount
Walla Walla, WA 99362-8164
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Anne Moss                                         Clm No 176414    Filed In Cases: 607
92 Dascomb Road                                   Class                Claim Detail Amount         Final Allowed Amount
Andover, MA 01810
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                          2139 of 3075

Clifford Mostiller                                 Clm No 176415    Filed In Cases: 607
724 Madison Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Daytona Beach, FL 32114
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176416    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




James Motte                                        Clm No 176417    Filed In Cases: 607
1204 Kennesaw Drive                                Class                Claim Detail Amount         Final Allowed Amount
Johnson City, TN 37615
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          2140 of 3075

c/o David Jagolinzer, Esq                          Clm No 176418    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Pinner, Brenda                                     Clm No 176419    Filed In Cases: 607
110 Robin Road,                                    Class                Claim Detail Amount         Final Allowed Amount
Palatka, FL 32177
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Debra Moulton                                      Clm No 176420    Filed In Cases: 607
46 Graves Street                                   Class                Claim Detail Amount         Final Allowed Amount
South Dearfield, MA 01373
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          2141 of 3075

Carol Moxley                                       Clm No 176421    Filed In Cases: 607
P.O Box 212, 89                                    Class                Claim Detail Amount         Final Allowed Amount
Stoddards Wharf Road
                                                   UNS                                $1.00
Ledyard, CT 06339
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176422    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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Moyer, Rachel                                      Clm No 176423    Filed In Cases: 607
1061 Oak Forest Circle                             Class                Claim Detail Amount         Final Allowed Amount
Port Orange, FL 32129
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2142 of 3075

Jane Mozingo                                      Clm No 176424    Filed In Cases: 607
6950 Clark Dale Road #356                         Class                Claim Detail Amount         Final Allowed Amount
Meridian, MS 39301
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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Kendell Muckey                                    Clm No 176425    Filed In Cases: 607
11411 Thunderbrush Circle                         Class                Claim Detail Amount         Final Allowed Amount
Anchorage, AK 99516
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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Payne, Linda                                      Clm No 176426    Filed In Cases: 607
187 Wakelee Avenue,                               Class                Claim Detail Amount         Final Allowed Amount
Ansonia, CT 06401
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          2143 of 3075

c/o David Jagolinzer, Esq                          Clm No 176427    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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c/o David Jagolinzer, Esq                          Clm No 176428    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




John Mullin                                        Clm No 176429    Filed In Cases: 607
69 Summer Lane                                     Class                Claim Detail Amount         Final Allowed Amount
Rocky Hill, CT 06067
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          2144 of 3075

c/o David Jagolinzer, Esq                          Clm No 176430    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




larry Mullins                                      Clm No 176431    Filed In Cases: 607
812 North 450 W.                                   Class                Claim Detail Amount         Final Allowed Amount
Valparaiso, IN 46383
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176432    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


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  Claims Details                                                                                          2145 of 3075

Doris Mulvey                                       Clm No 176433    Filed In Cases: 607
931 Fox Hollow Drive                               Class                Claim Detail Amount         Final Allowed Amount
Hudson, NH 03051
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Gundell, Carolyn                                   Clm No 176434    Filed In Cases: 607
80 Sugarloaf Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Wilton. CT 06897
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176435    Filed In Cases: 607
60 Brickell Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          2146 of 3075

Maria Galvez                                       Clm No 176436    Filed In Cases: 607
15763 SW 44th Terrace                              Class                Claim Detail Amount         Final Allowed Amount
Miami , FL 33185
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Lorraine Munk                                      Clm No 176437    Filed In Cases: 607
4229 NW 43rd Street Apt. #H58                      Class                Claim Detail Amount         Final Allowed Amount
Gainsville, FL 32606
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176438    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         2147 of 3075

Martha Munsell                                    Clm No 176439    Filed In Cases: 607
414 West State Street                             Class                Claim Detail Amount         Final Allowed Amount
Astoria, IL 61501
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Edward Murawski                                   Clm No 176440    Filed In Cases: 607
15705 West 138th Street                           Class                Claim Detail Amount         Final Allowed Amount
Lockport, IL 60441
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Charlotte Murawski                                Clm No 176441    Filed In Cases: 607
365 New Ludlow Road                               Class                Claim Detail Amount         Final Allowed Amount
Chicopee, MA 01020
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                         2148 of 3075

William Murch                                     Clm No 176442    Filed In Cases: 607
228 Mistuxet Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Mystic, CT 06355
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Sharon Murdock                                    Clm No 176443    Filed In Cases: 607
P.O. Box 154                                      Class                Claim Detail Amount         Final Allowed Amount
Cedar Point, IL 61316
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




William Murphy                                    Clm No 176444    Filed In Cases: 607
7425 Tippin Ave.                                  Class                Claim Detail Amount         Final Allowed Amount
Pensacola, FL 32504
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                          2149 of 3075

Evelyn Murphy                                      Clm No 176445    Filed In Cases: 607
7 Rockwell Place                                   Class                Claim Detail Amount         Final Allowed Amount
Milton, MA 02086
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Helen Murphy                                       Clm No 176446    Filed In Cases: 607
115 Donbray Road                                   Class                Claim Detail Amount         Final Allowed Amount
Springfield, MA 01119
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176447    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         2150 of 3075

Kathleen Murphy                                   Clm No 176448    Filed In Cases: 607
7 Sherman Street N.                               Class                Claim Detail Amount         Final Allowed Amount
Chelmsford, MA 01863
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




John Murray                                       Clm No 176449    Filed In Cases: 607
12 Pinewood Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Webster, MA 01570
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Ruth Murray                                       Clm No 176450    Filed In Cases: 607
16088 N. E. 17th Avenue                           Class                Claim Detail Amount         Final Allowed Amount
Starke, FL 32091
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2151 of 3075

Murray, Rita                                      Clm No 176451    Filed In Cases: 607
7285 Vrain Street                                 Class                Claim Detail Amount         Final Allowed Amount
Westminster, CO 80030-5111
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




Crawford Murray                                   Clm No 176452    Filed In Cases: 607
1231 Delaware Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Kissimme, FL 34744
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Melvin Murry                                      Clm No 176453    Filed In Cases: 607
25 Gladstone Street                               Class                Claim Detail Amount         Final Allowed Amount
Springfield, MA 01119
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2152 of 3075

Crowell, Deborah                                  Clm No 176454    Filed In Cases: 607
540 Hayden Hill Road                              Class                Claim Detail Amount         Final Allowed Amount
Torrington, CT 06790
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Carlo Muscarello                                  Clm No 176455    Filed In Cases: 607
720 NW 71 Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Plantation, FL 33317-1125
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




William Mutter                                    Clm No 176456    Filed In Cases: 607
2445 Dianne Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Cocoa, FL 32926
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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  Claims Details                                                                                          2153 of 3075

c/o David Jagolinzer, Esq                          Clm No 176457    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176458    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176459    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         2154 of 3075

Dwight Myers                                      Clm No 176460    Filed In Cases: 607
409 East 23rd Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Kennewick, WA 99337-5510
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Sherry Myers                                      Clm No 176461    Filed In Cases: 607
1299 Sugar Ridge Road                             Class                Claim Detail Amount         Final Allowed Amount
Morris, AL 35116
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Edward Myrick                                     Clm No 176462    Filed In Cases: 607
410 County Road 426                               Class                Claim Detail Amount         Final Allowed Amount
Killen, AL 35645
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          2155 of 3075

Gerald Myrter                                      Clm No 176463    Filed In Cases: 607
1071 Northeast Santa Cruz Drive                    Class                Claim Detail Amount         Final Allowed Amount
Jensen Beach, FL 34957
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Mitchell, Carol                                    Clm No 176464    Filed In Cases: 607
6934 N. Albina Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Portland, OR 97217
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176465    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




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  Claims Details                                                                                         2156 of 3075

Gloria Naegeli                                    Clm No 176466    Filed In Cases: 607
31 Cross Road                                     Class                Claim Detail Amount         Final Allowed Amount
Mont Vernon, NH 03057-1206
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Harry Nagrocki                                    Clm No 176467    Filed In Cases: 607
54 East 67th Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Merrillville, IN 46410
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Stella Nall                                       Clm No 176468    Filed In Cases: 607
8 Quaker Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Derry, NH 03038
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                          2157 of 3075

Vera Nalls                                         Clm No 176469    Filed In Cases: 607
P.O. Box 655                                       Class                Claim Detail Amount         Final Allowed Amount
Fayette, AL 35555
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176470    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Gerard Nantel                                      Clm No 176471    Filed In Cases: 607
71 Underhill Street                                Class                Claim Detail Amount         Final Allowed Amount
Nashua, NH 03060
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2158 of 3075

Anna Narciso                                      Clm No 176472    Filed In Cases: 607
166 Terre Mar Drive N.                            Class                Claim Detail Amount         Final Allowed Amount
Kingstown, RI 02852
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Peter Naroian                                     Clm No 176473    Filed In Cases: 607
443 Quinapoxet Street                             Class                Claim Detail Amount         Final Allowed Amount
Jefferson, MA 01522
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Mollie Nash                                       Clm No 176474    Filed In Cases: 607
4265 N. Island Rd.                                Class                Claim Detail Amount         Final Allowed Amount
Pace, FL 32571
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2159 of 3075

Nash, Carole                                      Clm No 176475    Filed In Cases: 607
69 Great Republic Avenue,                         Class                Claim Detail Amount         Final Allowed Amount
S. Weymouth, MA 02190
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Robert Nasiatka                                   Clm No 176476    Filed In Cases: 607
7033 Crestlake Drive                              Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32819
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Jordan Nastovski                                  Clm No 176477    Filed In Cases: 607
13282 Lincoln Street                              Class                Claim Detail Amount         Final Allowed Amount
Crown Point, IN 46307-9049
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2160 of 3075

Betty Nasworthy                                       Clm No 176478    Filed In Cases: 607
161 Hillcrest Street, Apt.106A                        Class                Claim Detail Amount         Final Allowed Amount
Tallassee, AL 36078
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Leland Naugle                                         Clm No 176479    Filed In Cases: 607
160 Coral Way                                         Class                Claim Detail Amount         Final Allowed Amount
Broomfield, CO 80020
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Richard Nault                                         Clm No 176480    Filed In Cases: 607
P.O. Box 362                                          Class                Claim Detail Amount         Final Allowed Amount
Baileyville, ME 04694
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2161 of 3075

Antonio Navarro                                   Clm No 176481    Filed In Cases: 607
6933 Eisenhower Avenue                            Class                Claim Detail Amount         Final Allowed Amount
Portage, IN 46368
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Patricia Neal                                     Clm No 176482    Filed In Cases: 607
1349 Bailey Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Deltona, FL 32725
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Nathan Nebel                                      Clm No 176483    Filed In Cases: 607
6529 Jackson Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Hammond, IN 46324-0000
                                                  UNS                                $1.00

                                                                                     $1.00


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Carmen Necuze                                      Clm No 176484    Filed In Cases: 607
11771 SW 25th Terrace                              Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33175
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Kenneth Nedyidek                                   Clm No 176485    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




John Needham                                       Clm No 176486    Filed In Cases: 607
4125 Hojack Place                                  Class                Claim Detail Amount         Final Allowed Amount
Nanjemoy, MD 20662
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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   Garlock Sealing Technologies LLC, et al.

  Claims Details                                                                                          2163 of 3075

c/o David Jagolinzer, Esq                          Clm No 176487    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Maxine Neidlinger                                  Clm No 176488    Filed In Cases: 607
8836 Stevensville Baroda Road                      Class                Claim Detail Amount         Final Allowed Amount
Baroda, MI 49101-9342
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Kady Neilsen                                       Clm No 176489    Filed In Cases: 607
14187 Bayou Royal Drive                            Class                Claim Detail Amount         Final Allowed Amount
Coden, Al 36523
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                             2164 of 3075

Sherry Neise                                          Clm No 176490    Filed In Cases: 607
P.O. Box 304                                          Class                Claim Detail Amount         Final Allowed Amount
Columbia Falls, MT 59912-0000
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Belknap, Cheryl                                       Clm No 176491    Filed In Cases: 607
1171 Talbot Street                                    Class                Claim Detail Amount         Final Allowed Amount
Port Charlotte, FL, 33952-2872
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Henry Nelsen                                          Clm No 176492    Filed In Cases: 607
225 South Beaumont Road                               Class                Claim Detail Amount         Final Allowed Amount
Prairie Du Chien, WI 53821
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                         2165 of 3075

Herbert Nelson                                    Clm No 176493    Filed In Cases: 607
4416 Cedar Avenue South                           Class                Claim Detail Amount         Final Allowed Amount
Minneapolis, MN 55407-3628
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Helen Nelson                                      Clm No 176494    Filed In Cases: 607
4447 Lambing Road                                 Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32210
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Dennis Nelson                                     Clm No 176495    Filed In Cases: 607
1221 South 8th Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Wausau, WI 54401
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2166 of 3075

Earl Nelson                                       Clm No 176496    Filed In Cases: 607
550 Williams Br                                   Class                Claim Detail Amount         Final Allowed Amount
Morehead, KY 40351
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Carroll Nelson                                    Clm No 176497    Filed In Cases: 607
Rural Route 3, Box 306                            Class                Claim Detail Amount         Final Allowed Amount
Calfornia, KY 41007-000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Barbara Nelson                                    Clm No 176498    Filed In Cases: 607
4612 Wedgewood Court                              Class                Claim Detail Amount         Final Allowed Amount
Lisle, IL 60532
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                            2167 of 3075

c/o David Jagolinzer, Esq                            Clm No 176499    Filed In Cases: 607
600 Brickell Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Charles Nelson                                       Clm No 176500    Filed In Cases: 607
510 Pearl Street                                     Class                Claim Detail Amount         Final Allowed Amount
Kemmerer, WY 83101
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Alma Nelson                                          Clm No 176501    Filed In Cases: 607
561 Roosevelt St.                                    Class                Claim Detail Amount         Final Allowed Amount
American Falls, ID 83211-1341
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Duplicate Claim No   3078




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  Claims Details                                                                                         2168 of 3075

Isabelle Nepil                                    Clm No 176502    Filed In Cases: 607
31 Robin Ln.                                      Class                Claim Detail Amount         Final Allowed Amount
Barnegat, NJ 08005-2133
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Robert Nesland                                    Clm No 176503    Filed In Cases: 607
1695 Taft Street                                  Class                Claim Detail Amount         Final Allowed Amount
Lakewood, CO 80215
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Nessel Ganemco-Executrice, Linda                  Clm No 176504    Filed In Cases: 607
41 Fuller Road                                    Class                Claim Detail Amount         Final Allowed Amount
Pleasant Valley, CT 06063
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2169 of 3075

Gordon Nesten                                     Clm No 176505    Filed In Cases: 607
229 Kingsway Rd.                                  Class                Claim Detail Amount         Final Allowed Amount
Kalispell, MT 59901-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Eleanor Neto                                      Clm No 176506    Filed In Cases: 607
905 Col. Ledyard Hwy.                             Class                Claim Detail Amount         Final Allowed Amount
Ledyard, CT 06339
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Nettles, Faye                                     Clm No 176507    Filed In Cases: 607
P.O. Box 121                                      Class                Claim Detail Amount         Final Allowed Amount
Sanderson, FL 32087
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         2170 of 3075

Armin Neubert                                     Clm No 176508    Filed In Cases: 607
207 Pine Canyon Road                              Class                Claim Detail Amount         Final Allowed Amount
Salinas, CA 93908-8746
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Jan Neumuth                                       Clm No 176509    Filed In Cases: 607
8 Bear Swamp Road                                 Class                Claim Detail Amount         Final Allowed Amount
Andover, CT 06232
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Eugene Nevrkla                                    Clm No 176510    Filed In Cases: 607
1836 Sandpiper Drive                              Class                Claim Detail Amount         Final Allowed Amount
West Lafayett IN, 47906
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         2171 of 3075

Jandra Newcomb                                    Clm No 176511    Filed In Cases: 607
19 Woodland Road                                  Class                Claim Detail Amount         Final Allowed Amount
Dover, MA 02030-2557
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Shirley Newell                                    Clm No 176512    Filed In Cases: 607
1209 Mallard Drive                                Class                Claim Detail Amount         Final Allowed Amount
Elgin, IL 60123
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




William Newlin                                    Clm No 176513    Filed In Cases: 607
7344 S. Marshall Drive                            Class                Claim Detail Amount         Final Allowed Amount
Ninevah, IN 46164-8664
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          2172 of 3075

c/o David Jagolinzer, Esq                          Clm No 176514    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176515    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176516    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          2173 of 3075

James Newman                                       Clm No 176517    Filed In Cases: 607
2923 South 13th Street                             Class                Claim Detail Amount         Final Allowed Amount
Niles, MI 49120
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176518    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Marjorie Newton                                    Clm No 176519    Filed In Cases: 607
2463 Larchwood Street                              Class                Claim Detail Amount         Final Allowed Amount
Orange Park, FL 32065
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          2174 of 3075

c/o David Jagolinzer, Esq                          Clm No 176520    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Gerald Newton                                      Clm No 176521    Filed In Cases: 607
P.O. Box 489                                       Class                Claim Detail Amount         Final Allowed Amount
Inkom, ID 83245
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




James Niblett                                      Clm No 176522    Filed In Cases: 607
1519 Richard St.                                   Class                Claim Detail Amount         Final Allowed Amount
Mesquite, TX 75149
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          2175 of 3075

c/o David Jagolinzer, Esq                          Clm No 176523    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Theodora Nicholas                                  Clm No 176524    Filed In Cases: 607
1355 Wilson Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Brookfield, WI 53005
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Frances Nicholaus                                  Clm No 176525    Filed In Cases: 607
98 Arnold Street                                   Class                Claim Detail Amount         Final Allowed Amount
Providence, RI 02906
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2176 of 3075

Samuel Nichols                                    Clm No 176526    Filed In Cases: 607
141 NW 10th Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Mulberry, FL 33860
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Patricia Nichols                                  Clm No 176527    Filed In Cases: 607
63 Wakefield Road                                 Class                Claim Detail Amount         Final Allowed Amount
Union, NH 03887
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Donald Nichols                                    Clm No 176528    Filed In Cases: 607
4675 Jefferson Place                              Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46408
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         2177 of 3075

Gene Nichols                                      Clm No 176529    Filed In Cases: 607
229 Tudor Boulevard                               Class                Claim Detail Amount         Final Allowed Amount
Paducah, NY 42003-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




James Nickerson                                   Clm No 176530    Filed In Cases: 607
2052 County Road 38                               Class                Claim Detail Amount         Final Allowed Amount
Ozark, AL 36360
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Ward, Alicia                                      Clm No 176531    Filed In Cases: 607
210 Sand Pine Drive                               Class                Claim Detail Amount         Final Allowed Amount
Midway, FL 32343
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         2178 of 3075

Peter Nicolard                                    Clm No 176532    Filed In Cases: 607
19121 Jamie Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Eagle River, AK 99577
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Devine, Linda                                     Clm No 176533    Filed In Cases: 607
1511 Lacosta Drive East                           Class                Claim Detail Amount         Final Allowed Amount
Pembroke Pines, FL 33027
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              6-Oct-2015
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   Claim Face Value        $10,000.00




Iris Nielsen                                      Clm No 176534    Filed In Cases: 607
3 Amidan Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Newington, CT 06111
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2179 of 3075

Arthur Nielsen                                    Clm No 176535    Filed In Cases: 607
679 South 500 East                                Class                Claim Detail Amount         Final Allowed Amount
Payson, UT 84651
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




William Nielson                                   Clm No 176536    Filed In Cases: 607
7619 47 Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
Kenosha, WI 53142-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Cora M. Niemi                                     Clm No 176537    Filed In Cases: 607
605 Moss Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Crestview, FL 32536
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         2180 of 3075

Dorothy Niemitz                                   Clm No 176538    Filed In Cases: 607
49 Strong Road                                    Class                Claim Detail Amount         Final Allowed Amount
South Windsor, CT 06074
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Alejandrina Nieves                                Clm No 176539    Filed In Cases: 607
2318 Saint Francis Drive                          Class                Claim Detail Amount         Final Allowed Amount
Schererville, IN 46375
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Robert Niezgorski                                 Clm No 176540    Filed In Cases: 607
58 Walnut Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Wallingford, CT 06492
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                          2181 of 3075

Stephen Nigro                                      Clm No 176541    Filed In Cases: 607
8211 Ambrose Cove Way                              Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32819-5080
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176542    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176543    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         2182 of 3075

Kenneth Nixon                                     Clm No 176544    Filed In Cases: 607
2668 Monnier St.                                  Class                Claim Detail Amount         Final Allowed Amount
Portage, IN 46368
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Donald Nixon                                      Clm No 176545    Filed In Cases: 607
2829 Decatur Street                               Class                Claim Detail Amount         Final Allowed Amount
Lake Station, IN 46405
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Noble, Helen                                      Clm No 176546    Filed In Cases: 607
211 Noble Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Crossett, AK 71635
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                         2183 of 3075

Nociasta, Joseph                                  Clm No 176547    Filed In Cases: 607
184 Tulip Road                                    Class                Claim Detail Amount         Final Allowed Amount
Harvey's Lake, PA 18618
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Roderick Noggle                                   Clm No 176548    Filed In Cases: 607
1852 US-27 South, Apt A-11                        Class                Claim Detail Amount         Final Allowed Amount
Avon Park, FL 33825
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Nolen, Virginia                                   Clm No 176549    Filed In Cases: 607
P.O. Box 2989                                     Class                Claim Detail Amount         Final Allowed Amount
Semmes, AL 36575
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                          2184 of 3075

c/o David Jagolinzer, Esq                          Clm No 176550    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




William Nondorf                                    Clm No 176551    Filed In Cases: 607
936 Sweet Cicely Dr                                Class                Claim Detail Amount         Final Allowed Amount
Westville, IN 46391
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Shirley Nonnenberg                                 Clm No 176552    Filed In Cases: 607
1222 Sweet Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Ruskin, FL 33570
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          2185 of 3075

Eugene Norder                                      Clm No 176553    Filed In Cases: 607
390 E. Hibbard Road                                Class                Claim Detail Amount         Final Allowed Amount
Owosso, MI 48867
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176554    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




James Norris                                       Clm No 176555    Filed In Cases: 607
878 Road 55                                        Class                Claim Detail Amount         Final Allowed Amount
Berry, AL 35546
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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  Claims Details                                                                                          2186 of 3075

Gloria Nottingham                                  Clm No 176556    Filed In Cases: 607
1401 SW Oklahoma Avenue                            Class                Claim Detail Amount         Final Allowed Amount
Lawton, AL 73501
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Henry Novak                                        Clm No 176557    Filed In Cases: 607
267 Independence Avenue                            Class                Claim Detail Amount         Final Allowed Amount
Palm Harbor, FL 34684-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176558    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          2187 of 3075

Norma Novick                                       Clm No 176559    Filed In Cases: 607
7992 SW 81st Loop                                  Class                Claim Detail Amount         Final Allowed Amount
Ocala, FL 34476
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176560    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Joan Nowicki                                       Clm No 176561    Filed In Cases: 607
14 Moreland Rd.                                    Class                Claim Detail Amount         Final Allowed Amount
N Weymouth, MA 02191
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2188 of 3075

Eleanor Nugent                                     Clm No 176562    Filed In Cases: 607
199 Lake Shore Road                                Class                Claim Detail Amount         Final Allowed Amount
Brighton, MA 02135-6364
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Jimmy Nugent                                       Clm No 176563    Filed In Cases: 607
604 Laurel Street                                  Class                Claim Detail Amount         Final Allowed Amount
Marksville, LA 71351-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176564    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                           2189 of 3075

Grace Nunemaker                                     Clm No 176565    Filed In Cases: 607
N 34 W. 23853 Unit C Grace Avenue                   Class                Claim Detail Amount         Final Allowed Amount
Pewaukee, WI 53072-5737
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 176566    Filed In Cases: 607
600 Brickell Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 176567    Filed In Cases: 607
600 Brickell Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                          2190 of 3075

Jean Oakes                                         Clm No 176568    Filed In Cases: 607
3306 Silver Palm Drive                             Class                Claim Detail Amount         Final Allowed Amount
Edgewater, Fl 32141
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




c/o David Jagolinzer, Esq                          Clm No 176569    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Redmond, Sharon                                    Clm No 176570    Filed In Cases: 607
9640 Farmcrest Drive                               Class                Claim Detail Amount         Final Allowed Amount
West Chester, OH 45069
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          2191 of 3075

c/o David Jagolinzer, Esq                          Clm No 176571    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Shirley Oberding                                   Clm No 176572    Filed In Cases: 607
525 Otten Lane                                     Class                Claim Detail Amount         Final Allowed Amount
Anna, IL 62906
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Carmel O'Brien                                     Clm No 176573    Filed In Cases: 607
34 Jerome Lane                                     Class                Claim Detail Amount         Final Allowed Amount
Milford CT 06460
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2192 of 3075

Gregory O'Brien                                   Clm No 176574    Filed In Cases: 607
1038 San Simeon Drive                             Class                Claim Detail Amount         Final Allowed Amount
Sierra Vista, AZ 85635
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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David O'Brien                                     Clm No 176575    Filed In Cases: 607
P.O. Box 2301                                     Class                Claim Detail Amount         Final Allowed Amount
Bloomfield, NM 87413
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Sharon Obuhosky                                   Clm No 176576    Filed In Cases: 607
1550 Ransom Road                                  Class                Claim Detail Amount         Final Allowed Amount
Dallas, PA 18612
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          2193 of 3075

Ralph Ochs                                         Clm No 176577    Filed In Cases: 607
604 E 77th Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Schererville, IN 46375
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Margaret Ochwat                                    Clm No 176578    Filed In Cases: 607
471 Kettletown Road                                Class                Claim Detail Amount         Final Allowed Amount
Southbury, CT 06488
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176579    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         2194 of 3075

Edward O'Connell                                  Clm No 176580    Filed In Cases: 607
369 Century Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Marco, Island, FL 34145
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Martha O'Connell                                  Clm No 176581    Filed In Cases: 607
17 Nason Street                                   Class                Claim Detail Amount         Final Allowed Amount
St. Albans, VT 05479
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




John O'Connell                                    Clm No 176582    Filed In Cases: 607
5548 Eugene Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Zephyrhills, FL 33542
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                          2195 of 3075

Elizabeth O'Connor                                 Clm No 176583    Filed In Cases: 607
1061 Pleasant Street                               Class                Claim Detail Amount         Final Allowed Amount
E. Weymouth, MA 02189
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176584    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Margaret O'Connor                                  Clm No 176585    Filed In Cases: 607
30 Fairmont Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Waltham, MA 02154
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          2196 of 3075

Robert O'Daniel                                    Clm No 176586    Filed In Cases: 607
13080 Teddy Drive                                  Class                Claim Detail Amount         Final Allowed Amount
McCalla, AL 35111
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176587    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176588    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         2197 of 3075

Cathy O'Dell                                      Clm No 176589    Filed In Cases: 607
4 Millbrook Court, Unit 4                         Class                Claim Detail Amount         Final Allowed Amount
Newington, CT 06111
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Bernace Odom                                      Clm No 176590    Filed In Cases: 607
401 Old Highway 31                                Class                Claim Detail Amount         Final Allowed Amount
Flomation, AL 36441-5929
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Kelly, Kerry                                      Clm No 176591    Filed In Cases: 607
14650 South Sawyer Street                         Class                Claim Detail Amount         Final Allowed Amount
Midlothian, IL 60445
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         2198 of 3075

Newman, Alberta                                   Clm No 176592    Filed In Cases: 607
1621 14 Ave.                                      Class                Claim Detail Amount         Final Allowed Amount
Tuscaloosa, AL 35401
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Louis Offutt                                      Clm No 176593    Filed In Cases: 607
4001 Brentler Road                                Class                Claim Detail Amount         Final Allowed Amount
Louisville, KY 40241
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Joan Ogle                                         Clm No 176594    Filed In Cases: 607
8815 Sheldon West Drive                           Class                Claim Detail Amount         Final Allowed Amount
Tampa, FL 33626
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                          2199 of 3075

Kenneth Ogle                                       Clm No 176595    Filed In Cases: 607
6040 Powell Road                                   Class                Claim Detail Amount         Final Allowed Amount
Indianapolis, IN 46221-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Mary O'Grady                                       Clm No 176596    Filed In Cases: 607
5221 S. Mulligan                                   Class                Claim Detail Amount         Final Allowed Amount
Chicago, IL 60638
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176597    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         2200 of 3075

Oldaker, Mary                                     Clm No 176598    Filed In Cases: 607
1041 Mace Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Baltimore, MD 21221
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




c/o Cheryl Miller                                 Clm No 176599    Filed In Cases: 607
2005 West Porter Avenue                           Class                Claim Detail Amount         Final Allowed Amount
Chesterson, IN 46304
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Samuel Olive                                      Clm No 176600    Filed In Cases: 607
1759 Airport Road                                 Class                Claim Detail Amount         Final Allowed Amount
Centerville, IN 47330
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                          2201 of 3075

c/o David Jagolinzer, Esq                          Clm No 176601    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Birdie Oliver                                      Clm No 176602    Filed In Cases: 607
3355 Wisconsin Street                              Class                Claim Detail Amount         Final Allowed Amount
Lake Station, IN 46405
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Valarie Oliver                                     Clm No 176603    Filed In Cases: 607
4897 Raleigh Street Apt. 2                         Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 3281
                                                   UNS                          $10,000.00

                                                                                $10,000.00


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  Claims Details                                                                                          2202 of 3075

Barbara Olsen                                      Clm No 176604    Filed In Cases: 607
2401 Anderson Road, #7                             Class                Claim Detail Amount         Final Allowed Amount
Coral Gables, FL 33
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




c/o David Jagolinzer, Esq                          Clm No 176605    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Margaret Olson                                     Clm No 176606    Filed In Cases: 607
12301 Willaburn Drive                              Class                Claim Detail Amount         Final Allowed Amount
Burnsville, MN 55337
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         2203 of 3075

Miles Olson                                       Clm No 176607    Filed In Cases: 607
1119 Maple Street                                 Class                Claim Detail Amount         Final Allowed Amount
La Crosse, WI 54601
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




John O'Mara                                       Clm No 176608    Filed In Cases: 607
34 Newport Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
West Hartford, CT 06107
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Frank Omboli                                      Clm No 176609    Filed In Cases: 607
1255 Autumn Hills Drive                           Class                Claim Detail Amount         Final Allowed Amount
Reno, NV 89511
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2204 of 3075

Santerelli, Sandra                                Clm No 176610    Filed In Cases: 607
17315 Spangler Rd                                 Class                Claim Detail Amount         Final Allowed Amount
Elwood, IL 60421-9597
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Pauline O'Neal                                    Clm No 176611    Filed In Cases: 607
96003 Crown Court                                 Class                Claim Detail Amount         Final Allowed Amount
Yulee, FL 32097
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




James O'Neal                                      Clm No 176612    Filed In Cases: 607
281 Fleming Road                                  Class                Claim Detail Amount         Final Allowed Amount
Vincent, AL 35178
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2205 of 3075

Linda O'Neal                                      Clm No 176613    Filed In Cases: 607
3822 Cardinal Blvd.                               Class                Claim Detail Amount         Final Allowed Amount
Port Orange, FL 32127
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Claude Ooms                                       Clm No 176614    Filed In Cases: 607
3110 197 Street                                   Class                Claim Detail Amount         Final Allowed Amount
Lynwood, IL 60411-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Marcia Orban                                      Clm No 176615    Filed In Cases: 607
78 Fillow Street                                  Class                Claim Detail Amount         Final Allowed Amount
Norwalk, CT 06850
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                          2206 of 3075

Susan Orchulek                                     Clm No 176616    Filed In Cases: 607
86 Sroka Lane                                      Class                Claim Detail Amount         Final Allowed Amount
Ludlow, MA 01056
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176617    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Marianne Orecchio                                  Clm No 176618    Filed In Cases: 607
401 Dercole Court, Apt#131                         Class                Claim Detail Amount         Final Allowed Amount
Norwood, NJ 07648
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          2207 of 3075

c/o David Jagolinzer, Esq                          Clm No 176619    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176620    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176621    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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  Claims Details                                                                                         2208 of 3075

Lucia Orlowicz                                    Clm No 176622    Filed In Cases: 607
3600 Harbor Drive,                                Class                Claim Detail Amount         Final Allowed Amount
Largo, FL 33774
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Judith Orsini                                     Clm No 176623    Filed In Cases: 607
1953 Litchfield Road                              Class                Claim Detail Amount         Final Allowed Amount
Watertown, CT 06795
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Betty Orth                                        Clm No 176624    Filed In Cases: 607
P.O. Box 3495                                     Class                Claim Detail Amount         Final Allowed Amount
Soldonta, AK 99669-3495
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2209 of 3075

Lorraine Orth                                     Clm No 176625    Filed In Cases: 607
3734 Dove Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Pocatello, ID 83201
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Carmen Ortiz                                      Clm No 176626    Filed In Cases: 607
1024 Ronlin Street                                Class                Claim Detail Amount         Final Allowed Amount
Haines City, FL 33844
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Susan Orttel                                      Clm No 176627    Filed In Cases: 607
55 N. 8th Ave                                     Class                Claim Detail Amount         Final Allowed Amount
Canton, IL 61520
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          2210 of 3075

c/o David Jagolinzer, Esq                          Clm No 176628    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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Lynda Osborne                                      Clm No 176629    Filed In Cases: 607
16 Samoset Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Marshfield, MA 02050-3943
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176630    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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  Claims Details                                                                                         2211 of 3075

Wilton Oster                                      Clm No 176631    Filed In Cases: 607
12003 Edding Ct.                                  Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32246
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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James Ostromecky                                  Clm No 176632    Filed In Cases: 607
19 Lake Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
Spencer, MA 01562
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Patricia Ostrowski                                Clm No 176633    Filed In Cases: 607
91 Old Toll Road                                  Class                Claim Detail Amount         Final Allowed Amount
W. Bartwitable, MA 02668
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          2212 of 3075

George Osweiler                                    Clm No 176634    Filed In Cases: 607
12625 Lacey Drive                                  Class                Claim Detail Amount         Final Allowed Amount
New Port Richey, FL 34654
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176635    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Berta Owen-Holland                                 Clm No 176636    Filed In Cases: 607
P.O. Box 363                                       Class                Claim Detail Amount         Final Allowed Amount
Douglas, AL 35964
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         2213 of 3075

Maurice Owen                                      Clm No 176637    Filed In Cases: 607
P.O. Box #294                                     Class                Claim Detail Amount         Final Allowed Amount
Quaker Hill, CT 06375
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




James Owen                                        Clm No 176638    Filed In Cases: 607
4144 Gilbertsville Highway                        Class                Claim Detail Amount         Final Allowed Amount
Calvert City, KY 42029
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Nancy Owens                                       Clm No 176639    Filed In Cases: 607
6382 Blue Arrow Drive                             Class                Claim Detail Amount         Final Allowed Amount
Marianna, FL 32446
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                          2214 of 3075

c/o David Jagolinzer, Esq                          Clm No 176640    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Barbara Owens                                      Clm No 176641    Filed In Cases: 607
302 Pony Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
Battle Creek, MI 49014
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176642    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2215 of 3075

c/o David Jagolinzer, Esq                          Clm No 176643    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Langley Owsley                                     Clm No 176644    Filed In Cases: 607
82 Dewey Drive                                     Class                Claim Detail Amount         Final Allowed Amount
Bulan, KY 41722
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Miller, Betty                                      Clm No 176645    Filed In Cases: 607
1212 Newton                                        Class                Claim Detail Amount         Final Allowed Amount
Kingsford, MI 49802
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         2216 of 3075

Jack Pace                                         Clm No 176646    Filed In Cases: 607
7426 North Devon Drive                            Class                Claim Detail Amount         Final Allowed Amount
Tamarac, FL 33321
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Margaret Pace                                     Clm No 176647    Filed In Cases: 607
22 Weed Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
Norwalk, CT 06850
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Jean Pacenta                                      Clm No 176648    Filed In Cases: 607
135 Navajo Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Auburn, PA 17922
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                           2217 of 3075

Dorothy Ann Pacetti                                 Clm No 176649    Filed In Cases: 607
29 Village Las Palmas Circle                        Class                Claim Detail Amount         Final Allowed Amount
St. Augustine, FL 32080-3593
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 176650    Filed In Cases: 607
600 Brickell Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq                           Clm No 176651    Filed In Cases: 607
600 Brickell Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                          2218 of 3075

Ilean Pacione                                      Clm No 176652    Filed In Cases: 607
151 N. Orlando Avenue Apt # 115                    Class                Claim Detail Amount         Final Allowed Amount
Winter Park, FL 32789
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Josephine Wilcox                                   Clm No 176653    Filed In Cases: 607
1122 North 15 Street #809                          Class                Claim Detail Amount         Final Allowed Amount
Canyon City, CO 81212-4641
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Beulah Padgett                                     Clm No 176654    Filed In Cases: 607
15405 Laskeshore Villa Pl.                         Class                Claim Detail Amount         Final Allowed Amount
Tampa, FL 33613
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                          2219 of 3075

Padilla, Adrian                                    Clm No 176655    Filed In Cases: 607
P.O. Box 50399                                     Class                Claim Detail Amount         Final Allowed Amount
Minneapolis, MN 55405
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Roger Padilla                                      Clm No 176656    Filed In Cases: 607
3308 Siringo Road                                  Class                Claim Detail Amount         Final Allowed Amount
Santa FE, NM 87505
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176657    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2220 of 3075

Amado Padron                                       Clm No 176658    Filed In Cases: 607
141 Cole Road W.                                   Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32218
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Morris Pagan                                       Clm No 176659    Filed In Cases: 607
P.O. Box 1345                                      Class                Claim Detail Amount         Final Allowed Amount
Hobbs, NM 88241-1345
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq                          Clm No 176660    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2221 of 3075

c/o David Jagolinzer, Esq                          Clm No 176661    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800, Miami, FL 33131
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




James Pagliaro                                     Clm No 176662    Filed In Cases: 607
266 W. Squantum Street                             Class                Claim Detail Amount         Final Allowed Amount
North Quincy, MA 02171-2823
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Frances Pagnotta                                   Clm No 176663    Filed In Cases: 607
5272 Fox Trace                                     Class                Claim Detail Amount         Final Allowed Amount
West Palm Beach, FL 33417
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2222 of 3075

Mary Pagonico                                     Clm No 176664    Filed In Cases: 607
3787 NW 35th Street                               Class                Claim Detail Amount         Final Allowed Amount
Coconut Creek, FL 33066
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Elaine Pajuk                                      Clm No 176665    Filed In Cases: 607
18 Stuart Circle                                  Class                Claim Detail Amount         Final Allowed Amount
Westfield, MA 01085
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Myers, Lynn                                       Clm No 176666    Filed In Cases: 607
2804 W. Hoffman Avenue                            Class                Claim Detail Amount         Final Allowed Amount
Spokane, WA 99205
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                          2223 of 3075

Mildred Pall                                       Clm No 176667    Filed In Cases: 607
26 Pall Road                                       Class                Claim Detail Amount         Final Allowed Amount
Hunlock Creek, PA 18621
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Jeanne Palm                                        Clm No 176668    Filed In Cases: 607
111 State Route 286 Lot #40                        Class                Claim Detail Amount         Final Allowed Amount
Seabrook, NH 03874
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




Michael Palmer                                     Clm No 176669    Filed In Cases: 607
220 Middlieburg Road                               Class                Claim Detail Amount         Final Allowed Amount
Watertown, CT 06795
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2224 of 3075

Phyllis Palmer                                    Clm No 176670    Filed In Cases: 607
100 N. Pennsylvania Ave.                          Class                Claim Detail Amount         Final Allowed Amount
Big Lake, TX 76932
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




James Palmer                                      Clm No 176671    Filed In Cases: 607
P.O. Box 536                                      Class                Claim Detail Amount         Final Allowed Amount
Aromas, CA 95004
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Flora Palmeter                                    Clm No 176672    Filed In Cases: 607
429 Madison Ave. Apt 18H                          Class                Claim Detail Amount         Final Allowed Amount
Orange Park, FL 32065
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2225 of 3075

Joseph Paluso                                     Clm No 176673    Filed In Cases: 607
69 Route 87                                       Class                Claim Detail Amount         Final Allowed Amount
Andover, CT 06232
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Beverly Pantalone                                 Clm No 176674    Filed In Cases: 607
867 Calle Menuda                                  Class                Claim Detail Amount         Final Allowed Amount
Englewood, FL 34224
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Panzara, Paul                                     Clm No 176675    Filed In Cases: 607
906 Martin Dr                                     Class                Claim Detail Amount         Final Allowed Amount
Jessup, PA 18434
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                           2226 of 3075

Michael Papa                                        Clm No 176676    Filed In Cases: 607
44 Ash Dr                                           Class                Claim Detail Amount         Final Allowed Amount
Northford, CT 06472
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Minichiello, Paula                                  Clm No 176677    Filed In Cases: 607
14 Sunset Dr.                                       Class                Claim Detail Amount         Final Allowed Amount
Burlington, MA 01803
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176678    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, Florida 31331
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


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   Claim Face Value            $10,000.00




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  Claims Details                                                                                           2227 of 3075

Bajger, Therese                                     Clm No 176679    Filed In Cases: 607
234 Seabreeze Cir.                                  Class                Claim Detail Amount         Final Allowed Amount
Jupiter, FL 33477
                                                    UNS                          $10,000.00

                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
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   Claim Face Value            $10,000.00




Larry Paquin                                        Clm No 176680    Filed In Cases: 607
498 Marlboro Road N14                               Class                Claim Detail Amount         Final Allowed Amount
Brattleboro, VT 05301
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176681    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, Florida 31331
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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  Claims Details                                                                                           2228 of 3075

c/o David Jagolinzer, Esq.                          Clm No 176682    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, Florida 31331
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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Dennis Paradiso                                     Clm No 176683    Filed In Cases: 607
191 Wuaker Farms Road                               Class                Claim Detail Amount         Final Allowed Amount
Oxford, CT 06478
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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Vanderhouten, Charlene                              Clm No 176684    Filed In Cases: 607
317 Kingsway Road South                             Class                Claim Detail Amount         Final Allowed Amount
Seffner, FL 33584
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                         2229 of 3075

Joseph Parini                                     Clm No 176685    Filed In Cases: 607
1742 Longfellow                                   Class                Claim Detail Amount         Final Allowed Amount
Butte, MT 59701-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Atkinson, Sherry                                  Clm No 176686    Filed In Cases: 607
130 Sheffield Road                                Class                Claim Detail Amount         Final Allowed Amount
Columbian, AL 35051
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Lennell Parker                                    Clm No 176687    Filed In Cases: 607
7166 Luke St                                      Class                Claim Detail Amount         Final Allowed Amount
jacksonville, FL 32210
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                           2230 of 3075

Linda Parker                                        Clm No 176688    Filed In Cases: 607
2630 Purslane Dr.                                   Class                Claim Detail Amount         Final Allowed Amount
Fort Myers, FL 33905
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Peggy Parker                                        Clm No 176689    Filed In Cases: 607
203 Blackfoot Trail                                 Class                Claim Detail Amount         Final Allowed Amount
Weatherford, TX 76087-9352
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176690    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, Florida 31331
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                           2231 of 3075

c/o David Jagolinzer, Esq.                          Clm No 176691    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, Florida 31331
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Norma Parker                                        Clm No 176692    Filed In Cases: 607
2200 Hickory Court                                  Class                Claim Detail Amount         Final Allowed Amount
St Cloud, FL 34772
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Emma Parker                                         Clm No 176693    Filed In Cases: 607
1016 East Jackson Ave.                              Class                Claim Detail Amount         Final Allowed Amount
Mount Doar, FL 32757
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                           2232 of 3075

c/o David Jagolinzer, Esq.                          Clm No 176694    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, Florida 31331
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Harry parker                                        Clm No 176695    Filed In Cases: 607
7905 SW 7th St.                                     Class                Claim Detail Amount         Final Allowed Amount
Gainesville, FL 32608-0000
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Harold Parkins                                      Clm No 176696    Filed In Cases: 607
N. 26310 Darknell Road                              Class                Claim Detail Amount         Final Allowed Amount
Chattaroy, WA 99003-000
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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  Claims Details                                                                                         2233 of 3075

Jean Parks                                        Clm No 176697    Filed In Cases: 607
1601 Central Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Northbrook, IL 60062
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Judith Parks                                      Clm No 176698    Filed In Cases: 607
28 Torch Wood Court                               Class                Claim Detail Amount         Final Allowed Amount
Lafayette, IN 47905-5214
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Burchfield, James                                 Clm No 176699    Filed In Cases: 607
D'Amico-Burchfield, LLP                           Class                Claim Detail Amount         Final Allowed Amount
536 Awells Ave
                                                  UNS                                $1.00
Providence, RI 02909
                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         2234 of 3075

Ramona Parrish                                    Clm No 176700    Filed In Cases: 607
4330 Redtail Hawk Drive                           Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32257
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Parrish, Randal                                   Clm No 176701    Filed In Cases: 607
3303 West Denga                                   Class                Claim Detail Amount         Final Allowed Amount
Midland, TX 79709
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Freeman, Patricia                                 Clm No 176702    Filed In Cases: 607
6270 Williams Road                                Class                Claim Detail Amount         Final Allowed Amount
Tallahassee, FL 32311
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                            2235 of 3075

Kenneth Parrish                                      Clm No 176703    Filed In Cases: 607
PO Box 1655                                          Class                Claim Detail Amount         Final Allowed Amount
Pine, AZ 85544-1655
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




c/o David Jagolinzer, Esq.                           Clm No 176704    Filed In Cases: 607
600 Brickell Ave., Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Janette Parsons                                      Clm No 176705    Filed In Cases: 607
PO Box 132                                           Class                Claim Detail Amount         Final Allowed Amount
Oxford, ME 04270
                                                     UNS                                $1.00

                                                                                        $1.00


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   Claim Face Value                  $1.00




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  Claims Details                                                                                            2236 of 3075

Laura Parsons                                        Clm No 176706    Filed In Cases: 607
PO Box 85, 26 Daisy Drive E.                         Class                Claim Detail Amount         Final Allowed Amount
Wakefield, NH 03830-0085
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Kathleen Parsons                                     Clm No 176707    Filed In Cases: 607
21 Thurley Road                                      Class                Claim Detail Amount         Final Allowed Amount
Center Ossipee, NH 03814-6713
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




c/o David Jagolinzer, Esq.                           Clm No 176708    Filed In Cases: 607
600 Brickell Ave., Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   6-Oct-2015
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   Claim Face Value             $10,000.00




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  Claims Details                                                                                            2237 of 3075

Parthie, Mary                                        Clm No 176709    Filed In Cases: 607
1025 Pine Beach Road                                 Class                Claim Detail Amount         Final Allowed Amount
Marinette, WI 54143
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Mary Pascarelli                                      Clm No 176710    Filed In Cases: 607
36 Veterans Road                                     Class                Claim Detail Amount         Final Allowed Amount
Hull, MA 02045
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




c/o David Jagolinzer, Esq.                           Clm No 176711    Filed In Cases: 607
600 Brickell Ave., Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                     UNS                                $1.00

                                                                                        $1.00


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  Claims Details                                                                                            2238 of 3075

c/o David Jagolinzer, Esq.                           Clm No 176712    Filed In Cases: 607
600 Brickell Ave., Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Barbara Pasquale                                     Clm No 176713    Filed In Cases: 607
9 Roman Drive                                        Class                Claim Detail Amount         Final Allowed Amount
Shrewbury, MA 01545
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value             $10,000.00




Evelyn Pasquine                                      Clm No 176714    Filed In Cases: 607
14226 Pullman Dr.                                    Class                Claim Detail Amount         Final Allowed Amount
Spring Hill, FL 34609
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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c/o David Jagolinzer, Esq.                           Clm No 176715    Filed In Cases: 607
600 Brickell Ave., Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




Patch, Wayne                                         Clm No 176716    Filed In Cases: 607
80 Belle Marsh Road                                  Class                Claim Detail Amount         Final Allowed Amount
South Berwick, ME 03908
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




c/o David Jagolinzer, Esq.                           Clm No 176717    Filed In Cases: 607
600 Brickell Ave., Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




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  Claims Details                                                                                         2240 of 3075

Arthur Patrick                                    Clm No 176718    Filed In Cases: 607
PO Box                                            Class                Claim Detail Amount         Final Allowed Amount
Lynn Haven, FL 32444
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Jimmy Patrick                                     Clm No 176719    Filed In Cases: 607
2886 Blackarrow Court                             Class                Claim Detail Amount         Final Allowed Amount
Lexington, KY 40503
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Danny Patrick                                     Clm No 176720    Filed In Cases: 607
3012 Vince Road                                   Class                Claim Detail Amount         Final Allowed Amount
Nicholasville, KY 40356
                                                  UNS                                $1.00

                                                                                     $1.00


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c/o David Jagolinzer, Esq.                           Clm No 176721    Filed In Cases: 607
600 Brickell Ave., Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                     UNS                          $10,000.00

                                                                                  $10,000.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value             $10,000.00




c/o David Jagolinzer, Esq.                           Clm No 176722    Filed In Cases: 607
600 Brickell Ave., Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




Joseph Patti                                         Clm No 176723    Filed In Cases: 607
1102 Boston Harbor                                   Class                Claim Detail Amount         Final Allowed Amount
Schaumburg, IL 60193
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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  Claims Details                                                                                           2242 of 3075

Harvey, Stacy                                       Clm No 176724    Filed In Cases: 607
9858 Sims Harris Road                               Class                Claim Detail Amount         Final Allowed Amount
Ooltewah, TN 37363
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Willie Patton                                       Clm No 176725    Filed In Cases: 607
126 Front St.                                       Class                Claim Detail Amount         Final Allowed Amount
Anniston, AL 36201-5951
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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c/o David Jagolinzer, Esq.                          Clm No 176726    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


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c/o David Jagolinzer, Esq.                          Clm No 176727    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176728    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, Fl 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Paul, Cynthia                                       Clm No 176729    Filed In Cases: 607
162 Webberbrook Road                                Class                Claim Detail Amount         Final Allowed Amount
Oxford, ME 04270
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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  Claims Details                                                                                         2244 of 3075

Amy Paul                                          Clm No 176730    Filed In Cases: 607
6820 Mariner St. #103                             Class                Claim Detail Amount         Final Allowed Amount
Racine, WI 53406
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Katherine Paul                                    Clm No 176731    Filed In Cases: 607
29 Baterman St.                                   Class                Claim Detail Amount         Final Allowed Amount
Roslindale, MA 02131
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Thomas Paul                                       Clm No 176732    Filed In Cases: 607
Box 1594                                          Class                Claim Detail Amount         Final Allowed Amount
Shiprock, NM 87420
                                                  UNS                                $1.00

                                                                                     $1.00


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c/o David Jagolinzer, Esq.                          Clm No 176733    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Nancy Paulino                                       Clm No 176734    Filed In Cases: 607
28 Audubon Road                                     Class                Claim Detail Amount         Final Allowed Amount
Norwood, MA 02062
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176735    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                         2246 of 3075

Paul Pavlakis                                     Clm No 176736    Filed In Cases: 607
301 Mt Rose St. Apt 8                             Class                Claim Detail Amount         Final Allowed Amount
Reno, NV 89509-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Stanley Pawenski                                  Clm No 176737    Filed In Cases: 607
8203 Rosewood Ct                                  Class                Claim Detail Amount         Final Allowed Amount
Highland, IN 46322-1019
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Jean Pawlendzio                                   Clm No 176738    Filed In Cases: 607
277 Water St. Apt 106                             Class                Claim Detail Amount         Final Allowed Amount
Exeter, NH 03833-1723
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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   Garlock Sealing Technologies LLC, et al.

  Claims Details                                                                                         2247 of 3075

Ellen Payden                                      Clm No 176739    Filed In Cases: 607
1313 SW 21st St.                                  Class                Claim Detail Amount         Final Allowed Amount
Boynton Beach, FL 33426
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Vivienne Paymiller                                Clm No 176740    Filed In Cases: 607
728 Aster Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Paradise, CA 95969
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Nancy Payne                                       Clm No 176741    Filed In Cases: 607
9 Hilton Dr.                                      Class                Claim Detail Amount         Final Allowed Amount
Merrimack, NH 03054
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                           2248 of 3075

c/o David Jagolinzer, Esq.                          Clm No 176742    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Willie payton                                       Clm No 176743    Filed In Cases: 607
Route 1, Box 31                                     Class                Claim Detail Amount         Final Allowed Amount
Weogufka, AL 35183
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176744    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         2249 of 3075

Moulton, Peggy                                    Clm No 176745    Filed In Cases: 607
2609 W. Southern Ave. Lot 320                     Class                Claim Detail Amount         Final Allowed Amount
Temple, AZ 85282
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Tillman, Carolyn                                  Clm No 176746    Filed In Cases: 607
6031 Kurt St.                                     Class                Claim Detail Amount         Final Allowed Amount
Brooksville, FL 34604
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Eula Pearson                                      Clm No 176747    Filed In Cases: 607
468 Greer St.                                     Class                Claim Detail Amount         Final Allowed Amount
Lincoln, AL 35096
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                           2250 of 3075

Monroe Pearson                                      Clm No 176748    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Leland Pearson                                      Clm No 176749    Filed In Cases: 607
5712 Unit D Waterbury Way                           Class                Claim Detail Amount         Final Allowed Amount
Salt Lake City, UT 84121
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Jacqueline Pechmann                                 Clm No 176750    Filed In Cases: 607
29 Hickory Court                                    Class                Claim Detail Amount         Final Allowed Amount
Wallingford, CT 06492
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                         2251 of 3075

Claire Peck                                       Clm No 176751    Filed In Cases: 607
52 Fielding Terrace                               Class                Claim Detail Amount         Final Allowed Amount
Uncasville, CT 06382
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Richard Pecoraro                                  Clm No 176752    Filed In Cases: 607
3164 River Bluff Lane                             Class                Claim Detail Amount         Final Allowed Amount
Littleriver, SC 29566
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Yugo Pecoski                                      Clm No 176753    Filed In Cases: 607
7549 Wring St.                                    Class                Claim Detail Amount         Final Allowed Amount
Merrillville, IN 46410
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                           2252 of 3075

c/o David Jagolinzer, Esq.                          Clm No 176754    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Jeanne Pedulla                                      Clm No 176755    Filed In Cases: 607
5 Cheqeusett Bluff Road                             Class                Claim Detail Amount         Final Allowed Amount
Wellfleet, MA 02667
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Daniel Pelican                                      Clm No 176756    Filed In Cases: 607
P.O. Box 692                                        Class                Claim Detail Amount         Final Allowed Amount
Mead, WA 99021-0000
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                           2253 of 3075

Sandra Pelland                                      Clm No 176757    Filed In Cases: 607
40 Wyoming Ave.                                     Class                Claim Detail Amount         Final Allowed Amount
Brockton, MA 02301
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




George Pelland                                      Clm No 176758    Filed In Cases: 607
1819 Maine Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Lynn Haven, FL 32444
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176759    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         2254 of 3075

Janet Pemberton                                   Clm No 176760    Filed In Cases: 607
3308 Lori Lane                                    Class                Claim Detail Amount         Final Allowed Amount
New Port Richie, FL 34655
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Charles Pence                                     Clm No 176761    Filed In Cases: 607
3440 Baranof Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Ketchikan, AK 99901-5420
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Rennie Pendleton                                  Clm No 176762    Filed In Cases: 607
437 Spring Meadows Dr.                            Class                Claim Detail Amount         Final Allowed Amount
Taylorsville, KY 40071
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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  Claims Details                                                                                           2255 of 3075

c/o David Jagolinzer, Esq.                          Clm No 176763    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Marcia Penkalski                                    Clm No 176764    Filed In Cases: 607
5227 S. 20th St.                                    Class                Claim Detail Amount         Final Allowed Amount
Milwaukee, WI 53221-3853
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176765    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                           2256 of 3075

c/o David Jagolinzer, Esq.                          Clm No 176766    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Norma Pepe                                          Clm No 176767    Filed In Cases: 607
858 Pisa Lane                                       Class                Claim Detail Amount         Final Allowed Amount
Kissimmee, FL 34758
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176768    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         2257 of 3075

Beatrice Pereira                                  Clm No 176769    Filed In Cases: 607
208 Washington St.                                Class                Claim Detail Amount         Final Allowed Amount
Taunton, MA 02780
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Esther Pereira                                    Clm No 176770    Filed In Cases: 607
1023 Poplar Ridge Road                            Class                Claim Detail Amount         Final Allowed Amount
White House, TN 37188
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Darlene Pereira                                   Clm No 176771    Filed In Cases: 607
58 Burnham St.                                    Class                Claim Detail Amount         Final Allowed Amount
Enfield, CT 06082
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          2258 of 3075

Felix Perez                                        Clm No 176772    Filed In Cases: 607
#L 7 Calle 10 Urb Las Vegas                        Class                Claim Detail Amount         Final Allowed Amount
Catano, PR 632
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Joe Perez                                          Clm No 176773    Filed In Cases: 607
826 West Woodside Dr.                              Class                Claim Detail Amount         Final Allowed Amount
Griffith, IN 46319-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Jean Perin                                         Clm No 176774    Filed In Cases: 607
776 Field St.                                      Class                Claim Detail Amount         Final Allowed Amount
Naugatuck, CT 06770
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2259 of 3075

Bonnie Perkins                                    Clm No 176775    Filed In Cases: 607
41 Longrale Park Apt. F                           Class                Claim Detail Amount         Final Allowed Amount
Bangor, ME 04401
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Brenda Perkins                                    Clm No 176776    Filed In Cases: 607
4175 Levine Ave.                                  Class                Claim Detail Amount         Final Allowed Amount
Sayre, AL 35139
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




James Peroutka                                    Clm No 176777    Filed In Cases: 607
423 Wildwood Ct.                                  Class                Claim Detail Amount         Final Allowed Amount
Marshfield, WI 54449-4867
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                           2260 of 3075

Susanne Perry                                       Clm No 176778    Filed In Cases: 607
20 S. Barton Trail                                  Class                Claim Detail Amount         Final Allowed Amount
Batavia, IL 60510
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Isabel Perry                                        Clm No 176779    Filed In Cases: 607
5555 N. Ocean Blvd #35                              Class                Claim Detail Amount         Final Allowed Amount
Lauderdale By the Sea, FL 33308
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176780    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                           2261 of 3075

c/o David Jagolinzer, Esq.                          Clm No 176781    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Wanda Perry                                         Clm No 176782    Filed In Cases: 607
c/o Sharon Magers 10510 Evanwood Dr.                Class                Claim Detail Amount         Final Allowed Amount
Louisville, KY 40228
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Randall Perry                                       Clm No 176783    Filed In Cases: 607
3388 Rockeshire Circle.                             Class                Claim Detail Amount         Final Allowed Amount
North Vernon, IN 47265
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                           2262 of 3075

Perry, John                                         Clm No 176784    Filed In Cases: 607
401 North Spokane Ave, Apt #11                      Class                Claim Detail Amount         Final Allowed Amount
Newport Washington, ID 99156
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176785    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Natalie D. Perzan                                   Clm No 176786    Filed In Cases: 607
85 Caron Lane                                       Class                Claim Detail Amount         Final Allowed Amount
Auburn, ME 04210-4288
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                           2263 of 3075

Patricia Peter                                      Clm No 176787    Filed In Cases: 607
29 Howland Circle                                   Class                Claim Detail Amount         Final Allowed Amount
Stoughton, MA 02072
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Horace Peters                                       Clm No 176788    Filed In Cases: 607
Route 2 Box 601                                     Class                Claim Detail Amount         Final Allowed Amount
Ozark, AL 36360
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176789    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                          2264 of 3075

Ronald Peters                                      Clm No 176790    Filed In Cases: 607
D 2000 County Line Road.                           Class                Claim Detail Amount         Final Allowed Amount
Auburndale, WI 54412-9431
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Ronald Petersen                                    Clm No 176791    Filed In Cases: 607
60 Townfarm Road, P. O. Box 2152                   Class                Claim Detail Amount         Final Allowed Amount
New Milford, CT 06776
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Dorothy Peterson                                   Clm No 176792    Filed In Cases: 607
3609 N. Rockwood.                                  Class                Claim Detail Amount         Final Allowed Amount
Peoria, IL 61604
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         2265 of 3075

Robert Peterson                                   Clm No 176793    Filed In Cases: 607
864 South 80th St.                                Class                Claim Detail Amount         Final Allowed Amount
Meza, AZ 85208
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Delphine Peterson                                 Clm No 176794    Filed In Cases: 607
P.O. Box 44                                       Class                Claim Detail Amount         Final Allowed Amount
South Wilmington, IL 60474
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Earnest Peterson                                  Clm No 176795    Filed In Cases: 607
1424 maryland St.                                 Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46407
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                           2266 of 3075

Glen Peterson                                       Clm No 176796    Filed In Cases: 607
5601 Gurholt Road                                   Class                Claim Detail Amount         Final Allowed Amount
Scandinavia, WI 54977
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176797    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Caroline Petrillo                                   Clm No 176798    Filed In Cases: 607
1308 St. Ann St.                                    Class                Claim Detail Amount         Final Allowed Amount
Scranton, PA 18504
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         2267 of 3075

Kristin Petrillo                                  Clm No 176799    Filed In Cases: 607
4568 Hunters Run Circle                           Class                Claim Detail Amount         Final Allowed Amount
Grant, FL 32949
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Petrovsky, Stanley                                Clm No 176800    Filed In Cases: 607
1019 Lincoln Ave.                                 Class                Claim Detail Amount         Final Allowed Amount
Blakely, PA 18447
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Annette Pettersen                                 Clm No 176801    Filed In Cases: 607
178 Malcolm Road                                  Class                Claim Detail Amount         Final Allowed Amount
West Haven, CT 06516
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                           2268 of 3075

Frances Pettit                                      Clm No 176802    Filed In Cases: 607
16120 SW 88 Ave. Road                               Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33157-3506
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Wesley Pettway                                      Clm No 176803    Filed In Cases: 607
2701 Beverly T. Washington St.                      Class                Claim Detail Amount         Final Allowed Amount
Eight Mile, AL 36613
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176804    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                           2269 of 3075

Conner, Charles                                     Clm No 176805    Filed In Cases: 607
404 Seekamp St.                                     Class                Claim Detail Amount         Final Allowed Amount
Dayton, TX 77535
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Laura Pezzi                                         Clm No 176806    Filed In Cases: 607
N67 W22208 Willow Ln. G22                           Class                Claim Detail Amount         Final Allowed Amount
Sussex, WI 53089
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




c/o David Jagolinzer, Esq.                          Clm No 176807    Filed In Cases: 607
600 Brickell Ave, Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                         2270 of 3075

Charles Phiester                                  Clm No 176808    Filed In Cases: 607
524 Meadowbrooks Drive                            Class                Claim Detail Amount         Final Allowed Amount
Lawrenceburg, IN 47025
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Sandra Philbrick                                  Clm No 176809    Filed In Cases: 607
64 Suzanne Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Portsmouth, NH 03801
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Raymond Phillips                                  Clm No 176810    Filed In Cases: 607
399 Washington Street APT 11C                     Class                Claim Detail Amount         Final Allowed Amount
Norwell, MA 02061-2033
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                           2271 of 3075

Barbara Phillips                                    Clm No 176811    Filed In Cases: 607
2194 Shelby Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Melbourne, FL 32935
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Eugene Phillips                                     Clm No 176812    Filed In Cases: 607
12 Cook Street                                      Class                Claim Detail Amount         Final Allowed Amount
Riviera Beach, FL 33404-2340
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Robert Phillips                                     Clm No 176813    Filed In Cases: 607
15 Lake View Heights                                Class                Claim Detail Amount         Final Allowed Amount
Niantic, CT 06357
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                             2272 of 3075

Paul Phillips                                         Clm No 176814    Filed In Cases: 607
703 West Junean Street                                Class                Claim Detail Amount         Final Allowed Amount
Tampa, FL 33604
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176815    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Debrah Phillips                                       Clm No 176816    Filed In Cases: 607
162 Lake Drive                                        Class                Claim Detail Amount         Final Allowed Amount
West Greenwich, RI 02817
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2273 of 3075

Henry Phillips                                    Clm No 176817    Filed In Cases: 607
4849 W Sarah Myers Drive                          Class                Claim Detail Amount         Final Allowed Amount
West Terre Haute, IN
                                                  UNS                                $1.00
47885-0000
                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Jule Philpot                                      Clm No 176818    Filed In Cases: 607
141 Allie Run                                     Class                Claim Detail Amount         Final Allowed Amount
Nicholasville, KY
                                                  UNS                                $1.00
40356-7400
                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Peggy Phipps                                      Clm No 176819    Filed In Cases: 607
3851 Camden Road                                  Class                Claim Detail Amount         Final Allowed Amount
Fayetteville, NC 28306
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2274 of 3075

c/o David Jagolinzer, Esq.                            Clm No 176820    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Helene Picard                                         Clm No 176821    Filed In Cases: 607
67 Richard Eger Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Holyoke, MA 01040
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Domenica Picinich                                     Clm No 176822    Filed In Cases: 607
222 E. Palisades Blvd                                 Class                Claim Detail Amount         Final Allowed Amount
Palisades Park, NJ 07650
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2275 of 3075

Ronald Pick                                       Clm No 176823    Filed In Cases: 607
9001 Lido Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Port Richey, FL 34668
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Elvis Pickle                                      Clm No 176824    Filed In Cases: 607
42732 Sing Road                                   Class                Claim Detail Amount         Final Allowed Amount
Macomb, OK 74852-6213
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Shirley Picklo                                    Clm No 176825    Filed In Cases: 607
2674 Royal Ridge Drive                            Class                Claim Detail Amount         Final Allowed Amount
Spring Hill, FL 34606
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                         2276 of 3075

Ruthanne Pierce                                   Clm No 176826    Filed In Cases: 607
PO BOX 8176                                       Class                Claim Detail Amount         Final Allowed Amount
Paducah, KY 42002
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Frances Pierce                                    Clm No 176827    Filed In Cases: 607
674 SW Ivanhoe Drive                              Class                Claim Detail Amount         Final Allowed Amount
Port St. Lucie, FL 34983
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Maurice Pierson                                   Clm No 176828    Filed In Cases: 607
851 Newman Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Seekonk, MA 02771
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2277 of 3075

Marjorie Piesco                                   Clm No 176829    Filed In Cases: 607
15 Crystal Water Drive                            Class                Claim Detail Amount         Final Allowed Amount
E. Bridgewater, MA 02333
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Thomasina Pigeon                                  Clm No 176830    Filed In Cases: 607
3408 Green Street                                 Class                Claim Detail Amount         Final Allowed Amount
Middleboro, MA 02346
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Constance Romano                                  Clm No 176831    Filed In Cases: 607
1791 Wedgewood Court                              Class                Claim Detail Amount         Final Allowed Amount
Crown Point, IN 46307
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2278 of 3075

James Pindell                                     Clm No 176832    Filed In Cases: 607
38 Holloway Road                                  Class                Claim Detail Amount         Final Allowed Amount
Wheatland, WY 82201
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Antonio Pinero                                    Clm No 176833    Filed In Cases: 607
3115 Dewey                                        Class                Claim Detail Amount         Final Allowed Amount
Tampa, FL 33607
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Terry Pinkham                                     Clm No 176834    Filed In Cases: 607
116 Mark Ginn Road                                Class                Claim Detail Amount         Final Allowed Amount
Orland, ME 04472
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2279 of 3075

Linda Pinkham                                     Clm No 176835    Filed In Cases: 607
15 Pinkham Road                                   Class                Claim Detail Amount         Final Allowed Amount
Glenburn, ME 04401
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Betty Ann                                         Clm No 176836    Filed In Cases: 607
707 Golden Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Secaucus, NJ 07094
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Manuel Pino                                       Clm No 176837    Filed In Cases: 607
3737 West Byron Place                             Class                Claim Detail Amount         Final Allowed Amount
Denver, CO 80211-4419
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         2280 of 3075

Mona Piper                                        Clm No 176838    Filed In Cases: 607
11744 Camp Oliver Road                            Class                Claim Detail Amount         Final Allowed Amount
Adger, AL 35006
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Ruth Pipkins, Alzheimers                          Clm No 176839    Filed In Cases: 607
3457 Cor 708                                      Class                Claim Detail Amount         Final Allowed Amount
Enterprise, AL 36330
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Tracy Pippen, Not Spouse                          Clm No 176840    Filed In Cases: 607
5752 Country Club Drive                           Class                Claim Detail Amount         Final Allowed Amount
Birmingham, AL 35228-3655
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         2281 of 3075

Dannie Pippin                                     Clm No 176841    Filed In Cases: 607
2532 Wakulla Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Panama City, FL 32405-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Doris Piquette                                    Clm No 176842    Filed In Cases: 607
89 6th Avenue                                     Class                Claim Detail Amount         Final Allowed Amount
Chicopee, MA 01020
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Katharine Piquette                                Clm No 176843    Filed In Cases: 607
258 Circle Drive                                  Class                Claim Detail Amount         Final Allowed Amount
West Springfield, MA 01089
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2282 of 3075

Evelyn Pirozzi                                    Clm No 176844    Filed In Cases: 607
9 Park Road APT #1                                Class                Claim Detail Amount         Final Allowed Amount
Belmont, MA 02478
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Daniel Pisani                                     Clm No 176845    Filed In Cases: 607
348 Knob Hill Road                                Class                Claim Detail Amount         Final Allowed Amount
Menden, CT 06451
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Phillip Piscitello                                Clm No 176846    Filed In Cases: 607
1501 East Forrest Avenue                          Class                Claim Detail Amount         Final Allowed Amount
Wheaton, IL 60187
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         2283 of 3075

Yvonne Pisz                                       Clm No 176847    Filed In Cases: 607
2142 Champions Way                                Class                Claim Detail Amount         Final Allowed Amount
North Lauderdale, FL 33068
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Roger Pittman                                     Clm No 176848    Filed In Cases: 607
3137 Minnesota Lane                               Class                Claim Detail Amount         Final Allowed Amount
Milton, FL 32570
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Ruby Pittman                                      Clm No 176849    Filed In Cases: 607
PO BOX 2093                                       Class                Claim Detail Amount         Final Allowed Amount
Yulee, FL 32041
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                             2284 of 3075

c/o David Jagolinzer, Esq.                            Clm No 176850    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Juliana Pittman                                       Clm No 176851    Filed In Cases: 607
1351 East McKinnon Street                             Class                Claim Detail Amount         Final Allowed Amount
New Brockton, AL 36351
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Marcus Pitts                                          Clm No 176852    Filed In Cases: 607
3135 Kings Drive                                      Class                Claim Detail Amount         Final Allowed Amount
Panama City, FL 32405
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2285 of 3075

Louis Pitts                                           Clm No 176853    Filed In Cases: 607
111 Lucia Avenue                                      Class                Claim Detail Amount         Final Allowed Amount
Port St. Joe, FL 32456
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Harolene Pitts                                        Clm No 176854    Filed In Cases: 607
PO BOX 737                                            Class                Claim Detail Amount         Final Allowed Amount
Silver City, NM 88062
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176855    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2286 of 3075

Annette M. Plante                                 Clm No 176856    Filed In Cases: 607
193A Blackwater Road                              Class                Claim Detail Amount         Final Allowed Amount
Dover, NH 03820
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Judith Planty                                     Clm No 176857    Filed In Cases: 607
7315 Emma Road                                    Class                Claim Detail Amount         Final Allowed Amount
Bradenton, FL 34209
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Kenneth Platt                                     Clm No 176858    Filed In Cases: 607
35 Orchard Street                                 Class                Claim Detail Amount         Final Allowed Amount
New London, CT 06320
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                             2287 of 3075

Robert Plessis                                        Clm No 176859    Filed In Cases: 607
8 Crystal Lane                                        Class                Claim Detail Amount         Final Allowed Amount
Turner, ME 04282
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Edward Plocha                                         Clm No 176860    Filed In Cases: 607
231 Lynn Rich Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Thomastion, CT 06787
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176861    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2288 of 3075

c/o David Jagolinzer, Esq.                            Clm No 176862    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Dale Plourde                                          Clm No 176863    Filed In Cases: 607
44 Maple Street                                       Class                Claim Detail Amount         Final Allowed Amount
Rochester, NH 03867
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Eddie Poag                                            Clm No 176864    Filed In Cases: 607
8771 Highway 31 South                                 Class                Claim Detail Amount         Final Allowed Amount
Hanceville, AL 35077
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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  Claims Details                                                                                             2289 of 3075

Ruth Podhola                                          Clm No 176865    Filed In Cases: 607
1908 E Cedarwood                                      Class                Claim Detail Amount         Final Allowed Amount
Round Lake Heights, IL 60073
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Diane Podolak                                         Clm No 176866    Filed In Cases: 607
12801 - 2650 East Street                              Class                Claim Detail Amount         Final Allowed Amount
Princeton, IL 60356
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176867    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2290 of 3075

Wilfred Poirier                                       Clm No 176868    Filed In Cases: 607
1779 Little Meadow Road                               Class                Claim Detail Amount         Final Allowed Amount
Guilford, CT 06437
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Raymond Poissant                                      Clm No 176869    Filed In Cases: 607
PO BOX 488, 12 Edge Hill Road                         Class                Claim Detail Amount         Final Allowed Amount
Linerick, ME 04048
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176870    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2291 of 3075

William Polashenski                                   Clm No 176871    Filed In Cases: 607
224 St. John Road                                     Class                Claim Detail Amount         Final Allowed Amount
Drums, PA 18222
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176872    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Joseph Ponchak                                        Clm No 176873    Filed In Cases: 607
1002 Clifton Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Erie, PA 16505
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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  Claims Details                                                                                             2292 of 3075

c/o David Jagolinzer, Esq.                            Clm No 176874    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Dolores Pool                                          Clm No 176875    Filed In Cases: 607
105 West Park Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Lombard, IL 60148
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Cecelia Poole                                         Clm No 176876    Filed In Cases: 607
11 Reed Street South                                  Class                Claim Detail Amount         Final Allowed Amount
Bel Air, MD 21014
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2293 of 3075

Dorothy Poole                                     Clm No 176877    Filed In Cases: 607
9 Danielle Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Benton, ME 04901
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Jules Poolson                                     Clm No 176878    Filed In Cases: 607
11793 Old Course Road                             Class                Claim Detail Amount         Final Allowed Amount
Cantonment, FL 32533
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Ronnie Pope                                       Clm No 176879    Filed In Cases: 607
2718 Old Hartford Road                            Class                Claim Detail Amount         Final Allowed Amount
Owensboro, KY 42303
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2294 of 3075

William Popovich                                  Clm No 176880    Filed In Cases: 607
1115 East Lake Street                             Class                Claim Detail Amount         Final Allowed Amount
Griffith, IN 46319-2819
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Dee Popp                                          Clm No 176881    Filed In Cases: 607
205 Nice Road                                     Class                Claim Detail Amount         Final Allowed Amount
Halifax, PA 17032
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Alice Popp                                        Clm No 176882    Filed In Cases: 607
10 Peggotty Beach Road                            Class                Claim Detail Amount         Final Allowed Amount
Scituate, MA 02066
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2295 of 3075

Valerie Popp                                          Clm No 176883    Filed In Cases: 607
437 Chesnut Street                                    Class                Claim Detail Amount         Final Allowed Amount
Township of Washington, NJ
                                                      UNS                                $1.00
07676-4951
                                                                                         $1.00


   Date Filed                    6-Oct-2015
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Wesley Poppell                                        Clm No 176884    Filed In Cases: 607
531 McIntosh Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Darian, GA 31305
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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c/o David Jagolinzer, Esq.                            Clm No 176885    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                             2296 of 3075

c/o David Jagolinzer, Esq.                            Clm No 176886    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




Elaine Blaylock                                       Clm No 176887    Filed In Cases: 607
15594 NE 150th Court                                  Class                Claim Detail Amount         Final Allowed Amount
Ft. McCoy, FL 32134
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




Mary Porter                                           Clm No 176888    Filed In Cases: 607
622 Warwick Drive                                     Class                Claim Detail Amount         Final Allowed Amount
Owensboro, KY 42303
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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   Garlock Sealing Technologies LLC, et al.

  Claims Details                                                                                             2297 of 3075

James Porter                                          Clm No 176889    Filed In Cases: 607
12936 East Wheeler Road                               Class                Claim Detail Amount         Final Allowed Amount
Dover, FL 33527
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176890    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Arthur Cooper                                         Clm No 176891    Filed In Cases: 607
1464 Country Road 21 North                            Class                Claim Detail Amount         Final Allowed Amount
Prattville, AL 36067
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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   Garlock Sealing Technologies LLC, et al.

  Claims Details                                                                                             2298 of 3075

Neil Postel                                           Clm No 176892    Filed In Cases: 607
PO BOX 1705, 1207 NE Madrone                          Class                Claim Detail Amount         Final Allowed Amount
Grant Pass, OR 97526
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Diane Postl                                           Clm No 176893    Filed In Cases: 607
36 Plum Hollow Way                                    Class                Claim Detail Amount         Final Allowed Amount
Berlin, CT 06037
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176894    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                             2299 of 3075

Richard Pottinger                                     Clm No 176895    Filed In Cases: 607
1063 Buckland Place                                   Class                Claim Detail Amount         Final Allowed Amount
Florence, KY 41042
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Geraldine Potts                                       Clm No 176896    Filed In Cases: 607
4855 St. Andrew Arc.                                  Class                Claim Detail Amount         Final Allowed Amount
Leesburg, FL 34748
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176897    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                         2300 of 3075

Guy Potvin                                        Clm No 176898    Filed In Cases: 607
31 J.R. Lane                                      Class                Claim Detail Amount         Final Allowed Amount
Buxton, ME 04093
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Lyse Poulin                                       Clm No 176899    Filed In Cases: 607
12 James Street                                   Class                Claim Detail Amount         Final Allowed Amount
Sandwich, MA 02563
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Debbie Pounders                                   Clm No 176900    Filed In Cases: 607
115 Pounders Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Russellville, AL 35654
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         2301 of 3075

David Pounds                                      Clm No 176901    Filed In Cases: 607
34 Brewer Street                                  Class                Claim Detail Amount         Final Allowed Amount
Cordova, AL 35550
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Sharon Pounds                                     Clm No 176902    Filed In Cases: 607
1638 Boston Post Road                             Class                Claim Detail Amount         Final Allowed Amount
Darien, CT 06820
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Walter Povlinski                                  Clm No 176903    Filed In Cases: 607
5835 Springfield Avenue                           Class                Claim Detail Amount         Final Allowed Amount
Portage, IN 46368
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         2302 of 3075

Marise Powell                                     Clm No 176904    Filed In Cases: 607
7433 Fleming Island Drive                         Class                Claim Detail Amount         Final Allowed Amount
Fleming Island, FL 32003
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Bonnie Stopa-Hill                                 Clm No 176905    Filed In Cases: 607
161 Main Street                                   Class                Claim Detail Amount         Final Allowed Amount
Limestone, ME 04750
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Claudia Pozzi                                     Clm No 176906    Filed In Cases: 607
36 Loring Street                                  Class                Claim Detail Amount         Final Allowed Amount
Belmont, MA 02478-4713
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2303 of 3075

Joanette Pragano                                      Clm No 176907    Filed In Cases: 607
9 Marc Drive                                          Class                Claim Detail Amount         Final Allowed Amount
Wallingford, CT 06492
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




George Prasch                                         Clm No 176908    Filed In Cases: 607
60 Hamburg Street                                     Class                Claim Detail Amount         Final Allowed Amount
Manchester, NH 03102
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176909    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                             2304 of 3075

c/o David Jagolinzer, Esq.                            Clm No 176910    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176911    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




William Prazak                                        Clm No 176912    Filed In Cases: 607
1003 West 53 Street                                   Class                Claim Detail Amount         Final Allowed Amount
Anchorage, AK 99518
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2305 of 3075

Jean M. Predella                                      Clm No 176913    Filed In Cases: 607
40 Hawthorn Road                                      Class                Claim Detail Amount         Final Allowed Amount
Braintree, MA 02184
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176914    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Noel Preston                                          Clm No 176915    Filed In Cases: 607
1403 White Cedar Blvd                                 Class                Claim Detail Amount         Final Allowed Amount
Portsmouth, NH 03801
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2306 of 3075

Robert Preston                                    Clm No 176916    Filed In Cases: 607
6609 43 Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
Kenosha, WI 53142-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Nancy Presutti                                    Clm No 176917    Filed In Cases: 607
121 Livingstone Avenue                            Class                Claim Detail Amount         Final Allowed Amount
Beverly, MA 01915
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Daisy Prevatt                                     Clm No 176918    Filed In Cases: 607
1218 Laggers Way SW                               Class                Claim Detail Amount         Final Allowed Amount
Decatur, AL 35603
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                             2307 of 3075

c/o David Jagolinzer, Esq.                            Clm No 176919    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Linda Price                                           Clm No 176920    Filed In Cases: 607
186 Country Road 346                                  Class                Claim Detail Amount         Final Allowed Amount
Luka, MS 38852
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Jesse Price                                           Clm No 176921    Filed In Cases: 607
1292 South Burnt Fork Road                            Class                Claim Detail Amount         Final Allowed Amount
Stevensville, MT 59870
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2308 of 3075

Emma Prichard                                         Clm No 176922    Filed In Cases: 607
2208 N. Prichard Road                                 Class                Claim Detail Amount         Final Allowed Amount
Peoria, IL 61615
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176923    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Jacqueline Replogie                                   Clm No 176924    Filed In Cases: 607
829 S. 29th Street                                    Class                Claim Detail Amount         Final Allowed Amount
Lafayette, IN 47904
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                         2309 of 3075

Darrell Prims                                     Clm No 176925    Filed In Cases: 607
2930 191st Place                                  Class                Claim Detail Amount         Final Allowed Amount
Lansing, IL 60438
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Dan Prince                                        Clm No 176926    Filed In Cases: 607
10734 W. Quail Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Sun City, AZ 85373-8739
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Rosemary Prindle                                  Clm No 176927    Filed In Cases: 607
423 Union Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
West Haven, CT 06516
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2310 of 3075

Randy Prinz                                           Clm No 176928    Filed In Cases: 607
16210 West Cherry Lynn Road                           Class                Claim Detail Amount         Final Allowed Amount
Goodyear, AZ 85395-7304
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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Paul Prison                                           Clm No 176929    Filed In Cases: 607
137 North 200 East                                    Class                Claim Detail Amount         Final Allowed Amount
Richmond, UT 84333
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176930    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                         2311 of 3075

Lester Proctor                                    Clm No 176931    Filed In Cases: 607
4825 2nd Street                                   Class                Claim Detail Amount         Final Allowed Amount
Panama City, FL 32404-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Robert Lingle                                     Clm No 176932    Filed In Cases: 607
1257 Armour Road                                  Class                Claim Detail Amount         Final Allowed Amount
Bourbonnais, IL 60914
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Wendy Proto                                       Clm No 176933    Filed In Cases: 607
37 Piscitello Drive                               Class                Claim Detail Amount         Final Allowed Amount
Branford, CT 06405
                                                  UNS                                $1.00

                                                                                     $1.00


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   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         2312 of 3075

Priscilla Pruitt                                  Clm No 176934    Filed In Cases: 607
210 Hilltop Trail                                 Class                Claim Detail Amount         Final Allowed Amount
Satsuma, FL 32189
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Glenda Pruitt                                     Clm No 176935    Filed In Cases: 607
1961 Crystal Lane                                 Class                Claim Detail Amount         Final Allowed Amount
St. Cloud, FL 34769
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Arvel Pruitt                                      Clm No 176936    Filed In Cases: 607
392 Midway Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Valparaiso, IN 46383
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          2313 of 3075

Wanda Prusak                                       Clm No 176937    Filed In Cases: 607
14216 West Sun Valley Drive                        Class                Claim Detail Amount         Final Allowed Amount
New Berlin, WI 53151
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Marceline Pry IS DECEASED                          Clm No 176938    Filed In Cases: 607
33908 N. Wilson Road                               Class                Claim Detail Amount         Final Allowed Amount
Ingelside, IL 60041
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Michael Przybyla                                   Clm No 176939    Filed In Cases: 607
13751 Plati Court                                  Class                Claim Detail Amount         Final Allowed Amount
Estero, FL 33928
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         2314 of 3075

Janice Puett                                      Clm No 176940    Filed In Cases: 607
2380 Sumack Court #B                              Class                Claim Detail Amount         Final Allowed Amount
Delray Beach, FL 33445
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Holly Royce                                       Clm No 176941    Filed In Cases: 607
301 174th Street #518                             Class                Claim Detail Amount         Final Allowed Amount
Miami Beach, FL 33160
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Edna Puleo                                        Clm No 176942    Filed In Cases: 607
1108 Avenue D Southeast                           Class                Claim Detail Amount         Final Allowed Amount
Cullman, AL 35055
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         2315 of 3075

Julia Puliafico                                   Clm No 176943    Filed In Cases: 607
30 Elda Road                                      Class                Claim Detail Amount         Final Allowed Amount
Framingham, MA 01701
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Shirley Punch                                     Clm No 176944    Filed In Cases: 607
482 Derby-Milford Road                            Class                Claim Detail Amount         Final Allowed Amount
Orange, CT 06477
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Danielle Johnson                                  Clm No 176945    Filed In Cases: 607
13428 Scharber Road                               Class                Claim Detail Amount         Final Allowed Amount
Dade City, FL 33525
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                             2316 of 3075

Andrew Puopolo                                        Clm No 176946    Filed In Cases: 607
120 Endicogg Street APT 302                           Class                Claim Detail Amount         Final Allowed Amount
Boston, MA 02113
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176947    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Vera Putman                                           Clm No 176948    Filed In Cases: 607
1002 35th Street                                      Class                Claim Detail Amount         Final Allowed Amount
Haleyville, AL 35565
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2317 of 3075

Joseph Pyzynski                                       Clm No 176949    Filed In Cases: 607
9730 West State Road 14                               Class                Claim Detail Amount         Final Allowed Amount
Fair Oaks, IN 47943-0000
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176950    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Mario Quaranto                                        Clm No 176951    Filed In Cases: 607
23 Stono Drive                                        Class                Claim Detail Amount         Final Allowed Amount
Greenville, SC 29609-3932
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2318 of 3075

Faye Quinlan                                          Clm No 176952    Filed In Cases: 607
1013 Troy Drive                                       Class                Claim Detail Amount         Final Allowed Amount
Madison, WI 53704
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Jerry Quinn                                           Clm No 176953    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176954    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2319 of 3075

c/o David Jagolinzer, Esq.                            Clm No 176955    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Donald Quinn                                          Clm No 176956    Filed In Cases: 607
4-South 27 Street APT 6                               Class                Claim Detail Amount         Final Allowed Amount
Lafayette, IN 47904
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Edwyna De Quinones                                    Clm No 176957    Filed In Cases: 607
2603 SW 10 Street APT 185                             Class                Claim Detail Amount         Final Allowed Amount
Ocala, FL 34474-8686
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                           2320 of 3075

Debbie Quintana                                     Clm No 176958    Filed In Cases: 607
c/o Kathleen K. Lucero, Esq.                        Class                Claim Detail Amount         Final Allowed Amount
909 Calle Armada
                                                    UNS                                $1.00
Espanola, NM 87532
                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Willie Quintana                                     Clm No 176959    Filed In Cases: 607
PO BOX 3                                            Class                Claim Detail Amount         Final Allowed Amount
Espanola, NM 87532
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Mildred Rabion                                      Clm No 176960    Filed In Cases: 607
10003 US 301 South                                  Class                Claim Detail Amount         Final Allowed Amount
Hampton, FL 32044
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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  Claims Details                                                                                         2321 of 3075

Helen Rachford                                    Clm No 176961    Filed In Cases: 607
10 McLean Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Springfield, IL 62704
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Rosa Rackston                                     Clm No 176962    Filed In Cases: 607
921 South Georgia Avenue                          Class                Claim Detail Amount         Final Allowed Amount
Rockledge, FL 32955
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Milan Radakovich                                  Clm No 176963    Filed In Cases: 607
1118 Walnut                                       Class                Claim Detail Amount         Final Allowed Amount
Dearborn, MI 48124
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                             2322 of 3075

Martha Radcliff                                       Clm No 176964    Filed In Cases: 607
9524 E. 71st. Street APT 131                          Class                Claim Detail Amount         Final Allowed Amount
Tulsa, OK 74133
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Mary Radcliffe                                        Clm No 176965    Filed In Cases: 607
945 S. 5th Street APT 615                             Class                Claim Detail Amount         Final Allowed Amount
Louisville, KY 40203
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176966    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2323 of 3075

c/o David Jagolinzer, Esq.                            Clm No 176967    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176968    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Paul Radowiecki                                       Clm No 176969    Filed In Cases: 607
86 Morris Avenue                                      Class                Claim Detail Amount         Final Allowed Amount
West Haven, CT 06516
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                          2324 of 3075

Arline Zako                                        Clm No 176970    Filed In Cases: 607
1237 Hillsboro Mile APT 304                        Class                Claim Detail Amount         Final Allowed Amount
Hillsboro Beach, FL 33062
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Robert Raffalo                                     Clm No 176971    Filed In Cases: 607
2 Neptune Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Old Saybrook, CT 06475
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Mary Rafter                                        Clm No 176972    Filed In Cases: 607
62 Doran Town Road                                 Class                Claim Detail Amount         Final Allowed Amount
Covington, PA 18444
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         2325 of 3075

Roy Rainwaters                                    Clm No 176973    Filed In Cases: 607
2880 Hancock Street                               Class                Claim Detail Amount         Final Allowed Amount
Lake Station, IN 46405
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value              $1.00




Emily Rakowski                                    Clm No 176974    Filed In Cases: 607
N77 W22249 Wooded Hills Drive                     Class                Claim Detail Amount         Final Allowed Amount
Sussex, WI 53089
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value              $1.00




Bernetha Ralston                                  Clm No 176975    Filed In Cases: 607
5035 Hummingbird Trail                            Class                Claim Detail Amount         Final Allowed Amount
Lovers Park, IL 61111
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                             2326 of 3075

c/o David Jagolinzer, Esq.                            Clm No 176976    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Judy Ramazetti                                        Clm No 176977    Filed In Cases: 607
3452 Grand Forks Drive                                Class                Claim Detail Amount         Final Allowed Amount
Land O Lakers, FL 34639
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




c/o David Jagolinzer, Esq.                            Clm No 176978    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2327 of 3075

Jose Ramirez                                          Clm No 176979    Filed In Cases: 607
2541 Beaumont Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
McAllen, TX 78501
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Buddy Ramsay                                          Clm No 176980    Filed In Cases: 607
2518 East 61st Place                                  Class                Claim Detail Amount         Final Allowed Amount
Hobart, IN 46342
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176981    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2328 of 3075

c/o David Jagolinzer, Esq.                            Clm No 176982    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




Loretta Rancourt                                      Clm No 176983    Filed In Cases: 607
c/o Eric Gingerella                                   Class                Claim Detail Amount         Final Allowed Amount
701 N. Penobscot Road
                                                      UNS                                $1.00
Penoscot, ME 04476
                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176984    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2329 of 3075

Jack Randles                                          Clm No 176985    Filed In Cases: 607
1438 Rachel Lane                                      Class                Claim Detail Amount         Final Allowed Amount
Springfield, IL 62711
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




James Randolph                                        Clm No 176986    Filed In Cases: 607
2153 Edenwood Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Haeytown, AL 35023
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176987    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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       Case 10-31607                Doc 6279-17    Filed 04/13/18 Entered 04/13/18 15:13:29 Desc Part
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  Claims Details                                                                                             2330 of 3075

Judy Bithell                                          Clm No 176988    Filed In Cases: 607
431 South 1400 East                                   Class                Claim Detail Amount         Final Allowed Amount
Fruit Heights, UT 84037
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176989    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Rances Rannacher                                      Clm No 176990    Filed In Cases: 607
27 Wayland Avenue                                     Class                Claim Detail Amount         Final Allowed Amount
Taunton, MA 02780
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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   Garlock Sealing Technologies LLC, et al.

  Claims Details                                                                                             2331 of 3075

c/o David Jagolinzer, Esq.                            Clm No 176991    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176992    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Clara Rasco                                           Clm No 176993    Filed In Cases: 607
245 Chelsea Road                                      Class                Claim Detail Amount         Final Allowed Amount
PENDING CLOSURE
                                                      UNS                                $1.00
Columbia, AL 35051
                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                         2332 of 3075

Victoria Rathbun                                  Clm No 176994    Filed In Cases: 607
2719 Pearl                                        Class                Claim Detail Amount         Final Allowed Amount
Peru, IL 61354
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Michael Rauch                                     Clm No 176995    Filed In Cases: 607
10 Warren Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Shelburne Falls, MA
                                                  UNS                                $1.00
01370-1222
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Ruby Raulerson                                    Clm No 176996    Filed In Cases: 607
2204 43rd Street                                  Class                Claim Detail Amount         Final Allowed Amount
Tampa, FL 33605-4651
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                             2333 of 3075

c/o David Jagolinzer, Esq.                            Clm No 176997    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Mary Ray                                              Clm No 176998    Filed In Cases: 607
17 Colby Road                                         Class                Claim Detail Amount         Final Allowed Amount
Kingston, NH 03848-3423
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 176999    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2334 of 3075

Ann Rayford                                       Clm No 177000    Filed In Cases: 607
1229 Dudley Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Bossier City, LA 71112
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Lester Raymond                                    Clm No 177001    Filed In Cases: 607
1 Mountain Road                                   Class                Claim Detail Amount         Final Allowed Amount
Easthampton, MA 01027
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Hugh Raymond                                      Clm No 177002    Filed In Cases: 607
650 S. AvenueB Lot #70                            Class                Claim Detail Amount         Final Allowed Amount
Yuma, AZ 85364-2773
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                             2335 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177003    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Mary Reardon                                          Clm No 177004    Filed In Cases: 607
20 Eileen Lane                                        Class                Claim Detail Amount         Final Allowed Amount
Enfield, CT 06082
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177005    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2336 of 3075

Kenneth Rector                                    Clm No 177006    Filed In Cases: 607
1409 Haigs Creek Drive                            Class                Claim Detail Amount         Final Allowed Amount
Elgin, SC 29045
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Shirley Rector                                    Clm No 177007    Filed In Cases: 607
19 Hammond Street                                 Class                Claim Detail Amount         Final Allowed Amount
Rockville, CT 06066
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Clifford Rector                                   Clm No 177008    Filed In Cases: 607
3070 State Road 47                                Class                Claim Detail Amount         Final Allowed Amount
Crawfordsville, IN 47933
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         2337 of 3075

Patricia Reed                                     Clm No 177009    Filed In Cases: 607
149 Zelinger Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Antioch, IL 60002
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Clifford Reed                                     Clm No 177010    Filed In Cases: 607
5815 West 122nd Street                            Class                Claim Detail Amount         Final Allowed Amount
Crown Point, IN 46307
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Brenda Cooper                                     Clm No 177011    Filed In Cases: 607
11116 Ft. Caroline Road                           Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32225
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         2338 of 3075

Janet Reese                                       Clm No 177012    Filed In Cases: 607
3026 Chief Ridaught Trail                         Class                Claim Detail Amount         Final Allowed Amount
Middleburg, FL 32068
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Gregory Reese                                     Clm No 177013    Filed In Cases: 607
541 School Street                                 Class                Claim Detail Amount         Final Allowed Amount
Daytona Beach, FL 32114
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Pamela Reese                                      Clm No 177014    Filed In Cases: 607
440 Lake Carol Drive                              Class                Claim Detail Amount         Final Allowed Amount
West Palm Beach, FL 33411
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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   Garlock Sealing Technologies LLC, et al.

  Claims Details                                                                                             2339 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177015    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Jackie Reeves                                         Clm No 177016    Filed In Cases: 607
245 Peregrine Court                                   Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32225
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177017    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2340 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177018    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Anthony Regalado                                      Clm No 177019    Filed In Cases: 607
3517 South Austin Blvd                                Class                Claim Detail Amount         Final Allowed Amount
Cicero, IL 60804-0000
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177020    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2341 of 3075

Leonard Silva                                         Clm No 177021    Filed In Cases: 607
25 Basin Street                                       Class                Claim Detail Amount         Final Allowed Amount
Prtsmouth, RI 02871
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Roy Rego                                              Clm No 177022    Filed In Cases: 607
10513 West Gulf Hills Drive                           Class                Claim Detail Amount         Final Allowed Amount
Sun City, AZ 85351-0000
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177023    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                             2342 of 3075

Alfred Reid                                           Clm No 177024    Filed In Cases: 607
2909 River Woods Drive                                Class                Claim Detail Amount         Final Allowed Amount
Parrish, FL 34219-8950
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177025    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Dorothy Reimel                                        Clm No 177026    Filed In Cases: 607
115 N. Eaton Street                                   Class                Claim Detail Amount         Final Allowed Amount
Berwick, PA 18603
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                           2343 of 3075

Robert Rellstab                                     Clm No 177027    Filed In Cases: 607
10 N. Dewberry Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Rochester, NH 03867-5215
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




William Rendle                                      Clm No 177028    Filed In Cases: 607
1000 Southern Artery APT 830                        Class                Claim Detail Amount         Final Allowed Amount
Quincy, MA 02169
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Richard Renfrew                                     Clm No 177029    Filed In Cases: 607
25 Cedar Lane                                       Class                Claim Detail Amount         Final Allowed Amount
Northford, CT 06472
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                         2344 of 3075

Edith Renfroe                                     Clm No 177030    Filed In Cases: 607
PO BOX 551453                                     Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32255
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




William Renfrow                                   Clm No 177031    Filed In Cases: 607
1720 Franklin Drive                               Class                Claim Detail Amount         Final Allowed Amount
Owensboro, KY 42303-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Rosalie Renner                                    Clm No 177032    Filed In Cases: 607
482 Rulison Terrarce                              Class                Claim Detail Amount         Final Allowed Amount
Loda, IL 60948
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                             2345 of 3075

Alice Repay                                           Clm No 177033    Filed In Cases: 607
55 Pierce Avenue                                      Class                Claim Detail Amount         Final Allowed Amount
Bridgeport, CT 06604
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Richard Resser                                        Clm No 177034    Filed In Cases: 607
5704 Scenery Road                                     Class                Claim Detail Amount         Final Allowed Amount
Waterford, WI 53185
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177035    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2346 of 3075

Todd Retherford                                   Clm No 177036    Filed In Cases: 607
5742 River Road                                   Class                Claim Detail Amount         Final Allowed Amount
Fairfield, OH 45014
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Arnold Rettig                                     Clm No 177037    Filed In Cases: 607
2807 West 39th Place                              Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46408-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Arlie Reynolds                                    Clm No 177038    Filed In Cases: 607
12818 Whitcomb Street                             Class                Claim Detail Amount         Final Allowed Amount
Crown Point, IN 46307-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                             2347 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177039    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Robert Rhoda                                          Clm No 177040    Filed In Cases: 607
19245 Prospect Road                                   Class                Claim Detail Amount         Final Allowed Amount
Strongsville, OH 44149
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Cheree Rhodes                                         Clm No 177041    Filed In Cases: 607
97 Ridge Street                                       Class                Claim Detail Amount         Final Allowed Amount
Manchester, CT 06040
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2348 of 3075

Julia Ribas                                           Clm No 177042    Filed In Cases: 607
116 Harlem Avenue                                     Class                Claim Detail Amount         Final Allowed Amount
Bridgeport, CT 06606
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Roland Riberdy                                        Clm No 177043    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Sandy Ribnick                                         Clm No 177044    Filed In Cases: 607
19 Bluegrass Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2349 of 3075

Stella Rice                                       Clm No 177045    Filed In Cases: 607
59 Cornell Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Livingston, NJ 07039
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Joan Rice                                         Clm No 177046    Filed In Cases: 607
45 Leaport Road                                   Class                Claim Detail Amount         Final Allowed Amount
Mt. Sidney, VA 24467
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Abby Rich                                         Clm No 177047    Filed In Cases: 607
3301 Aruba Way; C2                                Class                Claim Detail Amount         Final Allowed Amount
Coconut Creek, FL 33066
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                             2350 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177048    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




William Allen                                         Clm No 177049    Filed In Cases: 607
11702 O.C. Horn Road                                  Class                Claim Detail Amount         Final Allowed Amount
Sanderson, FL 32087
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Charles Richards                                      Clm No 177050    Filed In Cases: 607
5 Amsterdam Circle                                    Class                Claim Detail Amount         Final Allowed Amount
Litchfield, NH 03052
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2351 of 3075

Wanda Richard                                         Clm No 177051    Filed In Cases: 607
1434 Kingsley Road                                    Class                Claim Detail Amount         Final Allowed Amount
Havertwon, PA 19083
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Arthur Richardson                                     Clm No 177052    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Harry RIchardson                                      Clm No 177053    Filed In Cases: 607
148 Hubbard Street                                    Class                Claim Detail Amount         Final Allowed Amount
Glastonbury, CT 06033
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                             2352 of 3075

Jimmie Richardson                                     Clm No 177054    Filed In Cases: 607
3594 Notch Road                                       Class                Claim Detail Amount         Final Allowed Amount
Jericho, VT 05465
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Occaletta Richardson                                  Clm No 177055    Filed In Cases: 607
6850 Park Drive                                       Class                Claim Detail Amount         Final Allowed Amount
Daphne, AL 36526
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177056    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                             2353 of 3075

Willie Dorsey                                         Clm No 177057    Filed In Cases: 607
PO BOX 364231                                         Class                Claim Detail Amount         Final Allowed Amount
North Las Vegas, NV 89036
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Margaret Richardson                                   Clm No 177058    Filed In Cases: 607
167 Fox Glen Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Naples, FL 34101
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




c/o David Jagolinzer, Esq.                            Clm No 177059    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2354 of 3075

Donald Richardson                                     Clm No 177060    Filed In Cases: 607
3332 West Windsor Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Phoenix, AZ 85009-1408
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Bobbie Richmond                                       Clm No 177061    Filed In Cases: 607
1620 Sunset Road                                      Class                Claim Detail Amount         Final Allowed Amount
Pocatello, ID 83204
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177062    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2355 of 3075

Yvonne Ricker                                     Clm No 177063    Filed In Cases: 607
74 Osprey Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Portsmouth, NH 03801
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Nancy Ricks                                       Clm No 177064    Filed In Cases: 607
67 Owen Street                                    Class                Claim Detail Amount         Final Allowed Amount
Lafayette, IN 47905
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Robert Riddle                                     Clm No 177065    Filed In Cases: 607
102 West North F                                  Class                Claim Detail Amount         Final Allowed Amount
Gas City, IN 46933
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2356 of 3075

Charley Riddles                                       Clm No 177066    Filed In Cases: 607
1305 N. 14th Street                                   Class                Claim Detail Amount         Final Allowed Amount
Duncan, OK 73533
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177067    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Sally Wolford                                         Clm No 177068    Filed In Cases: 607
32035 SW Chestnut Lane                                Class                Claim Detail Amount         Final Allowed Amount
Sorrento, FL 32776
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2357 of 3075

Michael Riffle                                        Clm No 177069    Filed In Cases: 607
7068 N. Graham Road                                   Class                Claim Detail Amount         Final Allowed Amount
Madison, IN 47250
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




Shirley Rigsby                                        Clm No 177070    Filed In Cases: 607
119 Rigsby Loop                                       Class                Claim Detail Amount         Final Allowed Amount
Jasper, AL 35503
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177071    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2358 of 3075

Billy Riley                                       Clm No 177072    Filed In Cases: 607
220 Holmes Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Paducah, KY 42003
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




William Riley                                     Clm No 177073    Filed In Cases: 607
630 Old Hickory                                   Class                Claim Detail Amount         Final Allowed Amount
Panama City, FL 32404-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Dorothy Riley                                     Clm No 177074    Filed In Cases: 607
37 Solaris Road                                   Class                Claim Detail Amount         Final Allowed Amount
High Park, MA 02136
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                             2359 of 3075

Rimes, John Jr. & Lessie                              Clm No 177075    Filed In Cases: 607
PO BOX 22                                             Class                Claim Detail Amount         Final Allowed Amount
Worthington Springs, FL 32697
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




c/o David Jagolinzer, Esq.                            Clm No 177076    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177077    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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  Claims Details                                                                                         2360 of 3075

Mattie Ringer                                     Clm No 177078    Filed In Cases: 607
c/o Janice Ringer-Long                            Class                Claim Detail Amount         Final Allowed Amount
1502 Old Dutch Road
                                                  UNS                                $1.00
Little Mountain, SC 29075
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Lynn Riser                                        Clm No 177079    Filed In Cases: 607
80 W. 665 S.                                      Class                Claim Detail Amount         Final Allowed Amount
Tremonton, UT 84337
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Patricia Rish                                     Clm No 177080    Filed In Cases: 607
1249 Mountain View Drive                          Class                Claim Detail Amount         Final Allowed Amount
Dallas, PA 18612
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2361 of 3075

Olive Risher                                      Clm No 177081    Filed In Cases: 607
PO BOX 101                                        Class                Claim Detail Amount         Final Allowed Amount
Inglis, FL 34449
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Robert Risley                                     Clm No 177082    Filed In Cases: 607
2605 Fairview Spur                                Class                Claim Detail Amount         Final Allowed Amount
Owensboro, KY 42303
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Andrea Ritchie                                    Clm No 177083    Filed In Cases: 607
10 Forbes Hill Road                               Class                Claim Detail Amount         Final Allowed Amount
Quincy, MA 02170
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2362 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177084    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177085    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




c/o David Jagolinzer, Esq.                            Clm No 177086    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


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  Claims Details                                                                                         2363 of 3075

Epifanio Rivera                                   Clm No 177087    Filed In Cases: 607
207 Dallas Street                                 Class                Claim Detail Amount         Final Allowed Amount
Gary, In 46406
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Patricia Rivers                                   Clm No 177088    Filed In Cases: 607
4507 Trenton Drive North                          Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32209
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




William Rivers                                    Clm No 177089    Filed In Cases: 607
PO BOX 146                                        Class                Claim Detail Amount         Final Allowed Amount
Christmas, FL 32709
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




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  Claims Details                                                                                         2364 of 3075

Christine Rivord                                  Clm No 177090    Filed In Cases: 607
438 Craig Street                                  Class                Claim Detail Amount         Final Allowed Amount
Marquette, MI 49855
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Carole Robinson                                   Clm No 177091    Filed In Cases: 607
15 Autumm Brook Lane                              Class                Claim Detail Amount         Final Allowed Amount
Cape Neddick, ME 03902
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




John Rizzute                                      Clm No 177092    Filed In Cases: 607
7526 West Cameron Drive                           Class                Claim Detail Amount         Final Allowed Amount
Peoria, AZ 85345-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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   Garlock Sealing Technologies LLC, et al.

  Claims Details                                                                                             2365 of 3075

James Roach                                           Clm No 177093    Filed In Cases: 607
57 Cushman Drive                                      Class                Claim Detail Amount         Final Allowed Amount
Manchester, CT 06042
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177094    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177095    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                             2366 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177096    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Alma Robbins                                          Clm No 177097    Filed In Cases: 607
7131 Highway 195                                      Class                Claim Detail Amount         Final Allowed Amount
Jasper, AL 35503
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Robert Robbins                                        Clm No 177098    Filed In Cases: 607
127 E 250 S.                                          Class                Claim Detail Amount         Final Allowed Amount
Valparaiso, IN 46383
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2367 of 3075

Robert Roberson                                       Clm No 177099    Filed In Cases: 607
1551 Cliff Rose Road                                  Class                Claim Detail Amount         Final Allowed Amount
Prescott, AZ 86305
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177100    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Spencer Roberts                                       Clm No 177101    Filed In Cases: 607
1070 Spring Street                                    Class                Claim Detail Amount         Final Allowed Amount
Oberlin, PA 17113
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2368 of 3075

Pamela Roberts                                    Clm No 177102    Filed In Cases: 607
1420 Napoleon Street                              Class                Claim Detail Amount         Final Allowed Amount
Palatka, FL 32177
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Anna Roberts                                      Clm No 177103    Filed In Cases: 607
1029 Sugarloaf Lane                               Class                Claim Detail Amount         Final Allowed Amount
Anniston, AL 36207
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Arthur Roberts III                                Clm No 177104    Filed In Cases: 607
10 Merton Street                                  Class                Claim Detail Amount         Final Allowed Amount
Somerset, MA 02726
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                             2369 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177105    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Ira Roberts                                           Clm No 177106    Filed In Cases: 607
PO BOX 566                                            Class                Claim Detail Amount         Final Allowed Amount
Quincy, FL 32351
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Joseph Roberts                                        Clm No 177107    Filed In Cases: 607
c/o Mr. Allan M. Cane                                 Class                Claim Detail Amount         Final Allowed Amount
325 Reef Road #212
                                                      UNS                                $1.00
Fairfield, CT 06824
                                                                                         $1.00


   Date Filed                    6-Oct-2015
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  Claims Details                                                                                         2370 of 3075

Charles Roberts                                   Clm No 177108    Filed In Cases: 607
3845 Rambler Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Saint Cloud, Fl 34772
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Tillis Roberts                                    Clm No 177109    Filed In Cases: 607
3897 Honeycreek                                   Class                Claim Detail Amount         Final Allowed Amount
Gleenwood, IN 46142
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Patrick Roberts                                   Clm No 177110    Filed In Cases: 607
657 West 100 South                                Class                Claim Detail Amount         Final Allowed Amount
Hebron, IN 46142
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                             2371 of 3075

Bert Robertson                                        Clm No 177111    Filed In Cases: 607
3100 Lightfoot Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Springfield, IL 62707
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177112    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177113    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2372 of 3075

Sylvester Robey                                       Clm No 177114    Filed In Cases: 607
3763 W 20th Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46404
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Angelina Robidas                                      Clm No 177115    Filed In Cases: 607
3 Ansonia Road                                        Class                Claim Detail Amount         Final Allowed Amount
New Fairfield, CT 06812
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177116    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2373 of 3075

George Robinson                                   Clm No 177117    Filed In Cases: 607
828 Ten Rod Road                                  Class                Claim Detail Amount         Final Allowed Amount
Farmington, NH 03835
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Elsie Robinson                                    Clm No 177118    Filed In Cases: 607
273 Country Road 449                              Class                Claim Detail Amount         Final Allowed Amount
Rienzi, MS 35565
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




David Robinson                                    Clm No 177119    Filed In Cases: 607
526 Goebel Road                                   Class                Claim Detail Amount         Final Allowed Amount
Ravenna, MI 49451
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                             2374 of 3075

Shirley Robinson                                      Clm No 177120    Filed In Cases: 607
801 8th Avenue East                                   Class                Claim Detail Amount         Final Allowed Amount
Oneonta, AL 35121
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Queen Robinson                                        Clm No 177121    Filed In Cases: 607
5670 Doeboy Street                                    Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32208
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177122    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2375 of 3075

Ruth Robinson                                         Clm No 177123    Filed In Cases: 607
3 Stonehill Terrace                                   Class                Claim Detail Amount         Final Allowed Amount
Walpole, MA 02081
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177124    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Paul Robinson                                         Clm No 177125    Filed In Cases: 607
1821 Hartman Drive                                    Class                Claim Detail Amount         Final Allowed Amount
South Bend, IN 46617
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2376 of 3075

Linda Seay                                        Clm No 177126    Filed In Cases: 607
805 Burgess Street                                Class                Claim Detail Amount         Final Allowed Amount
Russellville, AL 35653
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Naomi Rocchi                                      Clm No 177127    Filed In Cases: 607
13420 SW 71st Court                               Class                Claim Detail Amount         Final Allowed Amount
Ocala, FL 34473
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Colleen Rochefort                                 Clm No 177128    Filed In Cases: 607
12 Brandywine Road                                Class                Claim Detail Amount         Final Allowed Amount
West Boylston, MA 01583
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2377 of 3075

Foye Rockett                                      Clm No 177129    Filed In Cases: 607
113 Croatan Street                                Class                Claim Detail Amount         Final Allowed Amount
Savannah, GA 31406-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Jose Rodrigues                                    Clm No 177130    Filed In Cases: 607
97 Alfred Street                                  Class                Claim Detail Amount         Final Allowed Amount
Ludlow, MA 01056
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Edith Rodriguez                                   Clm No 177131    Filed In Cases: 607
17600 NW 55 Court                                 Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33055
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                             2378 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177132    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




c/o David Jagolinzer, Esq.                            Clm No 177133    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177134    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
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   Claim Face Value              $10,000.00




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  Claims Details                                                                                             2379 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177135    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
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   Claim Face Value              $10,000.00




Ann Roeser                                            Clm No 177136    Filed In Cases: 607
PO BOX 7814                                           Class                Claim Detail Amount         Final Allowed Amount
Indian Lake Estates, FL 33855
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Mary Cundiff                                          Clm No 177137    Filed In Cases: 607
10947 Capitola Place NW                               Class                Claim Detail Amount         Final Allowed Amount
Silverade, WA 98383-8063
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2380 of 3075

Lilli Rogers                                      Clm No 177138    Filed In Cases: 607
PO BOX 58                                         Class                Claim Detail Amount         Final Allowed Amount
Choccolocco, AL 36254
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Teri Lynn Rogers                                  Clm No 177139    Filed In Cases: 607
26 White Street                                   Class                Claim Detail Amount         Final Allowed Amount
Rockville, CT 06066
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Virgil Rogers                                     Clm No 177140    Filed In Cases: 607
19 North Lessie Street                            Class                Claim Detail Amount         Final Allowed Amount
Worthington, IN 47471-1318
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                             2381 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177141    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Martha Rogers                                         Clm No 177142    Filed In Cases: 607
1914 Hwy 260                                          Class                Claim Detail Amount         Final Allowed Amount
Maylene, AL 35114
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Mary Roggia                                           Clm No 177143    Filed In Cases: 607
1125 S Main Street                                    Class                Claim Detail Amount         Final Allowed Amount
Butte, MT 59701
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                             2382 of 3075

Agnes Rohal                                           Clm No 177144    Filed In Cases: 607
411 4th St. Box 8                                     Class                Claim Detail Amount         Final Allowed Amount
Stratton, OH 43961
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Agnes Rohan                                           Clm No 177145    Filed In Cases: 607
37 Caroline Drive                                     Class                Claim Detail Amount         Final Allowed Amount
Milton, MA 02186
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177146    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                             2383 of 3075

Blanche Roller                                        Clm No 177147    Filed In Cases: 607
220 Cody Road N                                       Class                Claim Detail Amount         Final Allowed Amount
Le Claire, IA 52743
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Selena Rollins                                        Clm No 177148    Filed In Cases: 607
689 Roberts Road                                      Class                Claim Detail Amount         Final Allowed Amount
Henegar, AL 35978
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177149    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2384 of 3075

Theresa Roman                                         Clm No 177150    Filed In Cases: 607
17 Maransky Road                                      Class                Claim Detail Amount         Final Allowed Amount
Sweet Valley, PA 18656
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Ena Romano                                            Clm No 177151    Filed In Cases: 607
734 Cathrine Street                                   Class                Claim Detail Amount         Final Allowed Amount
Salt Lake City, UT 84116
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177152    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2385 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177153    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Phillip Romine                                        Clm No 177154    Filed In Cases: 607
1203 Mt. Hebron Road                                  Class                Claim Detail Amount         Final Allowed Amount
Blountsville, AL 35031
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177155    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2386 of 3075

Sylvia Rooney                                     Clm No 177156    Filed In Cases: 607
7 Woodland Dell Road                              Class                Claim Detail Amount         Final Allowed Amount
Wibraham, MA 01095
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Ruby Roper                                        Clm No 177157    Filed In Cases: 607
66 Burnham Street                                 Class                Claim Detail Amount         Final Allowed Amount
Hartford, CT 06810
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Joseph Rosato                                     Clm No 177158    Filed In Cases: 607
7 Longridge Road                                  Class                Claim Detail Amount         Final Allowed Amount
Danbury, CT 06810
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                             2387 of 3075

Robert Rosato                                         Clm No 177159    Filed In Cases: 607
150 Bradenburg Way                                    Class                Claim Detail Amount         Final Allowed Amount
Fayettville, GA 30215
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




Betty Rose                                            Clm No 177160    Filed In Cases: 607
80 Elizabeth Street                                   Class                Claim Detail Amount         Final Allowed Amount
New Haven, CT 06511
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177161    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2388 of 3075

Deborah Rose                                      Clm No 177162    Filed In Cases: 607
996 Harbor Pines Drive                            Class                Claim Detail Amount         Final Allowed Amount
Merrit Island, FL 32952
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Ronald Rose                                       Clm No 177163    Filed In Cases: 607
6967 Fort King Road                               Class                Claim Detail Amount         Final Allowed Amount
Zephyrhills, FL 33541
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Mary Rosenbaum                                    Clm No 177164    Filed In Cases: 607
3305 Hemlock Drive                                Class                Claim Detail Amount         Final Allowed Amount
Valparaiso, IN 46383
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                             2389 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177165    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




Sheila Rosenson                                       Clm No 177166    Filed In Cases: 607
2855 West Broward Blvd APT 439                        Class                Claim Detail Amount         Final Allowed Amount
Fort Lauderdale, FL 33309
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177167    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2390 of 3075

Angela Ross                                       Clm No 177168    Filed In Cases: 607
658 River Road                                    Class                Claim Detail Amount         Final Allowed Amount
Selma, AL 36703
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Opal Ross                                         Clm No 177169    Filed In Cases: 607
400 Lauderdale Street HE                          Class                Claim Detail Amount         Final Allowed Amount
Russellville, AL 35653
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Sylvester Ross                                    Clm No 177170    Filed In Cases: 607
4715 Thomas Road                                  Class                Claim Detail Amount         Final Allowed Amount
Cheyenne, WY 82009
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                             2391 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177171    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Barton Rossworn                                       Clm No 177172    Filed In Cases: 607
2608 W. Broad Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Spokane, WA 99205-5708
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177173    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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  Claims Details                                                                                             2392 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177174    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




c/o David Jagolinzer, Esq.                            Clm No 177175    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177176    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
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   Claim Face Value              $10,000.00




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  Claims Details                                                                                             2393 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177177    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177178    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Richard Rowe Jr.                                      Clm No 177179    Filed In Cases: 607
4008 Xavier Court                                     Class                Claim Detail Amount         Final Allowed Amount
Ocean Spring, MS 39564
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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  Claims Details                                                                                             2394 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177180    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177181    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177182    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                         2395 of 3075

Melvin Rowley                                     Clm No 177183    Filed In Cases: 607
706 Long Cove Road                                Class                Claim Detail Amount         Final Allowed Amount
Gales Ferry, CT 06335
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Elain Roy                                         Clm No 177184    Filed In Cases: 607
18 Windemere Road                                 Class                Claim Detail Amount         Final Allowed Amount
Worcester, MA 01602
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Kathleen Roy                                      Clm No 177185    Filed In Cases: 607
23 1/2 Slocum Street                              Class                Claim Detail Amount         Final Allowed Amount
Acushnet, MA 02743
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                             2396 of 3075

Daryl Roy                                             Clm No 177186    Filed In Cases: 607
1363 East Clarendon Avenue                            Class                Claim Detail Amount         Final Allowed Amount
Phoenix, AZ 85014
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177187    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177188    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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   Garlock Sealing Technologies LLC, et al.

  Claims Details                                                                                             2397 of 3075

Charles Rozelle                                       Clm No 177189    Filed In Cases: 607
3207 Moran Road                                       Class                Claim Detail Amount         Final Allowed Amount
Tampa, FL 33618
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177190    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Joan Ruble                                            Clm No 177191    Filed In Cases: 607
99 Soquili Trl                                        Class                Claim Detail Amount         Final Allowed Amount
Maggie Valley, NC 28751
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
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   Claim Face Value              $10,000.00




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   Garlock Sealing Technologies LLC, et al.

  Claims Details                                                                                             2398 of 3075

Betty Rudd                                            Clm No 177192    Filed In Cases: 607
1818 Bayview Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Panama City, FL 32405
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177193    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Frances Rudd                                          Clm No 177194    Filed In Cases: 607
12206 Happyville Road                                 Class                Claim Detail Amount         Final Allowed Amount
Youngstown, FL 32466
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                             2399 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177195    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177196    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177197    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2400 of 3075

Susan Runey                                           Clm No 177198    Filed In Cases: 607
10345 111th Place North                               Class                Claim Detail Amount         Final Allowed Amount
Largo, FL 33773
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177199    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Willa Runnerstrom                                     Clm No 177200    Filed In Cases: 607
42 Hawthorne Lane                                     Class                Claim Detail Amount         Final Allowed Amount
Streamwood, IL 60107
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2401 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177201    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Colleen Rush                                          Clm No 177202    Filed In Cases: 607
1539 Dean Gap Road                                    Class                Claim Detail Amount         Final Allowed Amount
Blairsville, GA 30512
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Joe Rush                                              Clm No 177203    Filed In Cases: 607
2411 Rue Road                                         Class                Claim Detail Amount         Final Allowed Amount
West Palm, FL 33415
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2402 of 3075

Joe Rush                                          Clm No 177204    Filed In Cases: 607
6185 W. Gunn Club Road                            Class                Claim Detail Amount         Final Allowed Amount
West Palm Beach, FL 33415
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Wendy Rushing                                     Clm No 177205    Filed In Cases: 607
239 Beverly Court                                 Class                Claim Detail Amount         Final Allowed Amount
Melbourne Beach, FL 32951
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Gladys Rushlow                                    Clm No 177206    Filed In Cases: 607
PO BOX 174                                        Class                Claim Detail Amount         Final Allowed Amount
York, ME 03909
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2403 of 3075

Warren Ruska                                      Clm No 177207    Filed In Cases: 607
249 Winthrop Street                               Class                Claim Detail Amount         Final Allowed Amount
Quincy, MA 02169
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Janet Truckly                                     Clm No 177208    Filed In Cases: 607
586 Kappler Road                                  Class                Claim Detail Amount         Final Allowed Amount
Heath, OH 43056
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Jean Russell                                      Clm No 177209    Filed In Cases: 607
100 Alden Street Unit 203                         Class                Claim Detail Amount         Final Allowed Amount
Provincetow, MA 02657
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         2404 of 3075

Carolyn Russell                                   Clm No 177210    Filed In Cases: 607
154 Robbins Road                                  Class                Claim Detail Amount         Final Allowed Amount
Hope, ME 04847
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Sarah M. Russell                                  Clm No 177211    Filed In Cases: 607
1600 Rockcress Drive                              Class                Claim Detail Amount         Final Allowed Amount
Jamison, PA 18929
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Craig Russell                                     Clm No 177212    Filed In Cases: 607
139 Martesia Way                                  Class                Claim Detail Amount         Final Allowed Amount
Indian Harbor Beach, FL
                                                  UNS                          $10,000.00
32937
                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




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  Claims Details                                                                                             2405 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177213    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Nancy Russo                                           Clm No 177214    Filed In Cases: 607
2049 Cornwall C                                       Class                Claim Detail Amount         Final Allowed Amount
Boca Raton, FL 33434
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177215    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
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   Claim Face Value              $10,000.00




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  Claims Details                                                                                             2406 of 3075

Patricia Ryan                                         Clm No 177216    Filed In Cases: 607
2015 Driving Park                                     Class                Claim Detail Amount         Final Allowed Amount
Wheaton, IL 60187
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177217    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Melvin Ryan                                           Clm No 177218    Filed In Cases: 607
1715 Maryland St.                                     Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46407
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2407 of 3075

Adele Rybski                                      Clm No 177219    Filed In Cases: 607
418 Homestead Ave.                                Class                Claim Detail Amount         Final Allowed Amount
Holyoke, MA 01040
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Audrey Saale                                      Clm No 177220    Filed In Cases: 607
1280+ SE Angus Street                             Class                Claim Detail Amount         Final Allowed Amount
Vancouver, WA 98683-3813
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Dorian Sccoccio                                   Clm No 177221    Filed In Cases: 607
15310 Aron Circle                                 Class                Claim Detail Amount         Final Allowed Amount
Port Charlotte, FL 33981
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         2408 of 3075

Lionel Sacon                                      Clm No 177222    Filed In Cases: 607
9851 Sandall Blvd APT 204                         Class                Claim Detail Amount         Final Allowed Amount
Boca Raton, FL 33428
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Evelyn Saczawa                                    Clm No 177223    Filed In Cases: 607
c/o Joann McNair                                  Class                Claim Detail Amount         Final Allowed Amount
12816 Caliburn Court
                                                  UNS                                $1.00
Fihers, IN 46038
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Mark Sadler                                       Clm No 177224    Filed In Cases: 607
253 Burton Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Bartlett, IL 60103
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                             2409 of 3075

Vincent Sadosky                                       Clm No 177225    Filed In Cases: 607
11 LittlePoint Street                                 Class                Claim Detail Amount         Final Allowed Amount
Essex, CT 06426
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177226    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
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   Claim Face Value              $10,000.00




Leonard Sagan                                         Clm No 177227    Filed In Cases: 607
3658 South 93rd Street                                Class                Claim Detail Amount         Final Allowed Amount
Milwaukee, WI 53228
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                             2410 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177228    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




John Salemi                                           Clm No 177229    Filed In Cases: 607
51 Deep River Road                                    Class                Claim Detail Amount         Final Allowed Amount
Centerbrook, CT 06409
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Don Salinas                                           Clm No 177230    Filed In Cases: 607
10359 Avenue M                                        Class                Claim Detail Amount         Final Allowed Amount
Chicago, IL 60617
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2411 of 3075

Lillian Salonen                                   Clm No 177231    Filed In Cases: 607
1549 W. Franklin Street                           Class                Claim Detail Amount         Final Allowed Amount
Iron River, MI 49935
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Willie Salter                                     Clm No 177232    Filed In Cases: 607
20435 County Road 6                               Class                Claim Detail Amount         Final Allowed Amount
Castleberry, AL 36432
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Willow Salter                                     Clm No 177233    Filed In Cases: 607
697 David Street                                  Class                Claim Detail Amount         Final Allowed Amount
Melter, GA 30439
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                         2412 of 3075

Glennie Salter                                    Clm No 177234    Filed In Cases: 607
806 East Park Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Enterprise, AL 36330
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Carl Saltzman                                     Clm No 177235    Filed In Cases: 607
525 Old Leitchfield Road                          Class                Claim Detail Amount         Final Allowed Amount
Whitesville, KY 42378-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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Carol Salvato                                     Clm No 177236    Filed In Cases: 607
70 Coley Road                                     Class                Claim Detail Amount         Final Allowed Amount
Wilton, CT 06897
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2413 of 3075

Irone Salvatore                                       Clm No 177237    Filed In Cases: 607
126 Anthony Drive                                     Class                Claim Detail Amount         Final Allowed Amount
Bristol, CT 06010
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Dorothy Laflam                                        Clm No 177238    Filed In Cases: 607
6 Allen Coit Road                                     Class                Claim Detail Amount         Final Allowed Amount
Huntington, MA 01050
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177239    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




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  Claims Details                                                                                         2414 of 3075

Robert Samm                                       Clm No 177240    Filed In Cases: 607
1215 Dreiser SQ                                   Class                Claim Detail Amount         Final Allowed Amount
Terre Haute, IN 47802
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Patsy Townsend                                    Clm No 177241    Filed In Cases: 607
PO BOX 185                                        Class                Claim Detail Amount         Final Allowed Amount
Vanceboro, NC 28586
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Jesse Sammons                                     Clm No 177242    Filed In Cases: 607
845 Doss Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32809-5880
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                             2415 of 3075

Alberta Sampson                                       Clm No 177243    Filed In Cases: 607
1 Sawmill Park APT 203                                Class                Claim Detail Amount         Final Allowed Amount
Southwick, MA 01077
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177244    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Joseph Samuel                                         Clm No 177245    Filed In Cases: 607
PO BOX 535                                            Class                Claim Detail Amount         Final Allowed Amount
Fairfield, AL 35064
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2416 of 3075

Donald Sanchez                                        Clm No 177246    Filed In Cases: 607
2706 Edgecliff Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Farmington, NM 87402
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Francisco Sanchez                                     Clm No 177247    Filed In Cases: 607
H.C. 1, Box 4227                                      Class                Claim Detail Amount         Final Allowed Amount
Yabucoa, PR 767
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177248    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2417 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177249    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Anna Sanders                                          Clm No 177250    Filed In Cases: 607
5210 NW 110th Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Coral Springs, FL 33076-2758
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




c/o David Jagolinzer, Esq.                            Clm No 177251    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2418 of 3075

John Sanders                                          Clm No 177252    Filed In Cases: 607
3426 Elm Street                                       Class                Claim Detail Amount         Final Allowed Amount
East Chicago, IL 46312-0000
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177253    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Arlene Sanderson                                      Clm No 177254    Filed In Cases: 607
72 East Street North                                  Class                Claim Detail Amount         Final Allowed Amount
Suffield, CT 06078
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2419 of 3075

Allison Langston                                  Clm No 177255    Filed In Cases: 607
1500 Dodson Road                                  Class                Claim Detail Amount         Final Allowed Amount
Winfield, AL 35594
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Eleanor Sandonato                                 Clm No 177256    Filed In Cases: 607
6 Mayflower Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Hull, MA 02045
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Trudy Sanford                                     Clm No 177257    Filed In Cases: 607
25 Donna Terrace                                  Class                Claim Detail Amount         Final Allowed Amount
Tauton, MA 02780
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2420 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177258    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Wilbur Sanger                                         Clm No 177259    Filed In Cases: 607
70 Crestview Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Lebanon, PA 17042
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Ofilia Santiago                                       Clm No 177260    Filed In Cases: 607
4720 NE 1st Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33137
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2421 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177261    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177262    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Karen Sansom                                          Clm No 177263    Filed In Cases: 607
13 Huntington Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Norwich, CT 06360
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                             2422 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177264    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Delores Santopolo                                     Clm No 177265    Filed In Cases: 607
1801 Elainie Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Clearwater, FL 33760
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




August Santos                                         Clm No 177266    Filed In Cases: 607
91 Plympton Street                                    Class                Claim Detail Amount         Final Allowed Amount
Middleboro, MA 02346
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                          2423 of 3075

Dolores Sapp                                       Clm No 177267    Filed In Cases: 607
10648 Wake Forest Avenue                           Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32218-5456
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Helen Seigel                                       Clm No 177268    Filed In Cases: 607
7522 E. Mariposa Drive                             Class                Claim Detail Amount         Final Allowed Amount
Scottsdale, AZ 85251
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




James Saragossa                                    Clm No 177269    Filed In Cases: 607
620 Spencer Place                                  Class                Claim Detail Amount         Final Allowed Amount
Hobart, IN 46342
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         2424 of 3075

Juanita Saranko                                   Clm No 177270    Filed In Cases: 607
9550 Edison Road                                  Class                Claim Detail Amount         Final Allowed Amount
Lithia, FL 33547
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Patricia Sargent                                  Clm No 177271    Filed In Cases: 607
291 North Street                                  Class                Claim Detail Amount         Final Allowed Amount
Cordova, AL 35550
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Shirley Sargent                                   Clm No 177272    Filed In Cases: 607
1732 Pleasant Valley Road                         Class                Claim Detail Amount         Final Allowed Amount
Silver Creek, GA 30173
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         2425 of 3075

Rita Sasiewicz                                    Clm No 177273    Filed In Cases: 607
PO BOX 82                                         Class                Claim Detail Amount         Final Allowed Amount
Pomfret, CT 06258
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Lonnie Saunders                                   Clm No 177274    Filed In Cases: 607
7901 Northwest 21st Court                         Class                Claim Detail Amount         Final Allowed Amount
Sunrise, FL 33322
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Terry Sausman                                     Clm No 177275    Filed In Cases: 607
9351 28th Street E #22                            Class                Claim Detail Amount         Final Allowed Amount
Yuma, AZ 85365-8655
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         2426 of 3075

Loretta Savard                                    Clm No 177276    Filed In Cases: 607
22 Davis Street                                   Class                Claim Detail Amount         Final Allowed Amount
Portland, ME 04102
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Sheila Sawyer                                     Clm No 177277    Filed In Cases: 607
195 College Hill Road                             Class                Claim Detail Amount         Final Allowed Amount
Enola, PA 17025
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




William Saxe                                      Clm No 177278    Filed In Cases: 607
34 Royal Oaks Estate                              Class                Claim Detail Amount         Final Allowed Amount
Lafayette, IN 47909
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2427 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177279    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177280    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Mary Sbory                                            Clm No 177281    Filed In Cases: 607
5043 SW 89th Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Cooper City, FL 33328
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


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  Claims Details                                                                                         2428 of 3075

Mary Scaff                                        Clm No 177282    Filed In Cases: 607
130 Confederate Point Road                        Class                Claim Detail Amount         Final Allowed Amount
Palatka, FL 32177
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Shirley Scaggs                                    Clm No 177283    Filed In Cases: 607
244 N. Liberty Street                             Class                Claim Detail Amount         Final Allowed Amount
Lowell, IN 46356
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




James Scaife                                      Clm No 177284    Filed In Cases: 607
1041 Albert Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Muskegon, MI 49442
                                                  UNS                                $1.00

                                                                                     $1.00


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   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         2429 of 3075

Andrew Scalamonti                                 Clm No 177285    Filed In Cases: 607
403 Grassy Island Avenue                          Class                Claim Detail Amount         Final Allowed Amount
Jessup, PA 18434-1087
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Diane Scarlett                                    Clm No 177286    Filed In Cases: 607
6 Cedar Trace Pass                                Class                Claim Detail Amount         Final Allowed Amount
Ocala, FL 34472
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




Yvonne Scavella                                   Clm No 177287    Filed In Cases: 607
875 Avenue of the Americas                        Class                Claim Detail Amount         Final Allowed Amount
Suite 800
                                                  UNS                                $1.00
New York City, NY 10001
                                                                                     $1.00


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  Claims Details                                                                                             2430 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177288    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Mary Schaefer                                         Clm No 177289    Filed In Cases: 607
66 Rhoades Circle                                     Class                Claim Detail Amount         Final Allowed Amount
Hingham, MA 02043
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Catherine Schaeffer                                   Clm No 177290    Filed In Cases: 607
11303 122 Terrace                                     Class                Claim Detail Amount         Final Allowed Amount
Largo, FL 33778
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                          2431 of 3075

Obie Schaeffer                                     Clm No 177291    Filed In Cases: 607
7100 Ulmerton Road, Lot 296                        Class                Claim Detail Amount         Final Allowed Amount
Largo, FL 33771
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Ben Schafer                                        Clm No 177292    Filed In Cases: 607
1007 Querida Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Colorado Springs, CO 80909-4114
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Priscilla Schanda                                  Clm No 177293    Filed In Cases: 607
211 Grant Road                                     Class                Claim Detail Amount         Final Allowed Amount
New Market, NH 03857-2145
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         2432 of 3075

Larry Pfeiffer                                    Clm No 177294    Filed In Cases: 607
850 Lewis Street                                  Class                Claim Detail Amount         Final Allowed Amount
Columbus, WI 53925
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value         $10,000.00




Nancy Schauer                                     Clm No 177295    Filed In Cases: 607
5429 145th Avenue NW                              Class                Claim Detail Amount         Final Allowed Amount
Ramsey, MN 55303
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Jacqueline Scheideler                             Clm No 177296    Filed In Cases: 607
195 Ruby Centerpoint Road                         Class                Claim Detail Amount         Final Allowed Amount
Centerpoint, LA 71323
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         2433 of 3075

Arvel Schenks                                     Clm No 177297    Filed In Cases: 607
26606 Sedona Drive                                Class                Claim Detail Amount         Final Allowed Amount
Sun Lakes, AZ 85248
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Phyllis Scheper                                   Clm No 177298    Filed In Cases: 607
110 Highland Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Hartford, WI 53027
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Maria Scher                                       Clm No 177299    Filed In Cases: 607
20 Edgewood Avenue                                Class                Claim Detail Amount         Final Allowed Amount
West Boyleston, MA 01583
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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   Claim Face Value        $10,000.00




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  Claims Details                                                                                         2434 of 3075

Carolyn Gayle                                     Clm No 177300    Filed In Cases: 607
857 Schaub Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Mobile, AL 36609
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Leonard Schillaci                                 Clm No 177301    Filed In Cases: 607
11200 South Helena Drive                          Class                Claim Detail Amount         Final Allowed Amount
Palos Hills, IL 60465-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Roger Schiller                                    Clm No 177302    Filed In Cases: 607
7112 Cranlyn Drive                                Class                Claim Detail Amount         Final Allowed Amount
Inglewood, OH 45322
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2435 of 3075

Lucy Schlageter                                   Clm No 177303    Filed In Cases: 607
1900 Waterview Place                              Class                Claim Detail Amount         Final Allowed Amount
Hollywood, FL 33020
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Earl Schleicher                                   Clm No 177304    Filed In Cases: 607
117 Deep Creek Road                               Class                Claim Detail Amount         Final Allowed Amount
Livingston, MT 59047
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Roseanne Schlossberg                              Clm No 177305    Filed In Cases: 607
8317 Patreota Drive                               Class                Claim Detail Amount         Final Allowed Amount
Benbrook, TX 76126
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                             2436 of 3075

William Schmalz                                       Clm No 177306    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Deborah Parrott                                       Clm No 177307    Filed In Cases: 607
11024 North Tall Oak Lane                             Class                Claim Detail Amount         Final Allowed Amount
Peoria, IL 61612
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Loretta Schmidt                                       Clm No 177308    Filed In Cases: 607
1106 Jefferson Street                                 Class                Claim Detail Amount         Final Allowed Amount
Mendota, IL 61342
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2437 of 3075

LaCinda Miller                                    Clm No 177309    Filed In Cases: 607
1985 Dalmation Drive                              Class                Claim Detail Amount         Final Allowed Amount
Idaho Falls, ID 83402-2467
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Harriett Schmitt                                  Clm No 177310    Filed In Cases: 607
8616 W. Schmitt Lane                              Class                Claim Detail Amount         Final Allowed Amount
Edwards, IL 61528
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Arlene Schmitt                                    Clm No 177311    Filed In Cases: 607
1127 Green Valley Drive                           Class                Claim Detail Amount         Final Allowed Amount
Waukesha, WI 53189
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                             2438 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177312    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177313    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Donald Schnidt                                        Clm No 177314    Filed In Cases: 607
35 Monticello Drive N.E.                              Class                Claim Detail Amount         Final Allowed Amount
Albuquerque, NM 87123-0000
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2439 of 3075

Jacob Schock                                          Clm No 177315    Filed In Cases: 607
PO BOX 7318                                           Class                Claim Detail Amount         Final Allowed Amount
Great Falls, MT 59406-7318
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177316    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Dale Schremmer                                        Clm No 177317    Filed In Cases: 607
226 River Road                                        Class                Claim Detail Amount         Final Allowed Amount
Shelton, CT 06484
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2440 of 3075

John Schroeder                                        Clm No 177318    Filed In Cases: 607
540 South Harding Street                              Class                Claim Detail Amount         Final Allowed Amount
Warsaw, IN 46580-0000
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177319    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




James Schuh                                           Clm No 177320    Filed In Cases: 607
E 10365 Lombard Road                                  Class                Claim Detail Amount         Final Allowed Amount
Wetby, WI 54410
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2441 of 3075

Rocio Schulte                                     Clm No 177321    Filed In Cases: 607
19563 Colorado Cirlce                             Class                Claim Detail Amount         Final Allowed Amount
Boca Raton, FL 33434
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Bernard Schultz                                   Clm No 177322    Filed In Cases: 607
7410 Highway HH                                   Class                Claim Detail Amount         Final Allowed Amount
Arpin, WI 54410
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Donna Schultz                                     Clm No 177323    Filed In Cases: 607
803 Roberts Street                                Class                Claim Detail Amount         Final Allowed Amount
Wakefield, MI 49968
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2442 of 3075

Shirley Schultz                                       Clm No 177324    Filed In Cases: 607
301 N. Harris Street                                  Class                Claim Detail Amount         Final Allowed Amount
Deland, FL 32724-4608
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Mary Schultz (incompasitated)                         Clm No 177325    Filed In Cases: 607
1920 Victory Street APT 11                            Class                Claim Detail Amount         Final Allowed Amount
Lacrosse, WI 54601
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177326    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2443 of 3075

Daria Schuster                                    Clm No 177327    Filed In Cases: 607
1408 West Locust Street                           Class                Claim Detail Amount         Final Allowed Amount
Scranton, PA 18504
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Mary Schutz                                       Clm No 177328    Filed In Cases: 607
32 Valley View Drive                              Class                Claim Detail Amount         Final Allowed Amount
Pringle, PA 18704
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Romeo Schutze                                     Clm No 177329    Filed In Cases: 607
912 Town Street                                   Class                Claim Detail Amount         Final Allowed Amount
Prentice, WI 54556
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2444 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177330    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Estelle Schwartz                                      Clm No 177331    Filed In Cases: 607
6080 Bay Isles Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Boynton Beach, FL 33437
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
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   Claim Face Value              $10,000.00




Charles Schwartz                                      Clm No 177332    Filed In Cases: 607
852 Kenmare Parkway                                   Class                Claim Detail Amount         Final Allowed Amount
Crown Point, IN 46307
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                             2445 of 3075

Louis Sciglimpaglia                                   Clm No 177333    Filed In Cases: 607
100 Richards Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Norwalk, CT 06854
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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c/o David Jagolinzer, Esq.                            Clm No 177334    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177335    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2446 of 3075

Glynda Scott                                      Clm No 177336    Filed In Cases: 607
183 Second Avenue SE                              Class                Claim Detail Amount         Final Allowed Amount
Graysville, AL 35073
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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Edward Scott                                      Clm No 177337    Filed In Cases: 607
4870 Three Lake Waterford Way                     Class                Claim Detail Amount         Final Allowed Amount
Melbourne, FL 32901
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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Marcus Scott                                      Clm No 177338    Filed In Cases: 607
PO BOX 84                                         Class                Claim Detail Amount         Final Allowed Amount
Daleville, IN 47334
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2447 of 3075

Paul Leath                                            Clm No 177339    Filed In Cases: 607
3512 Cone Court                                       Class                Claim Detail Amount         Final Allowed Amount
Tampa, FL 33605-4651
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177340    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Jon Scott                                             Clm No 177341    Filed In Cases: 607
8678 East Portland Street                             Class                Claim Detail Amount         Final Allowed Amount
Scottsdale, AZ 85257
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                             2448 of 3075

Richard Scott                                         Clm No 177342    Filed In Cases: 607
PO BOX 1190                                           Class                Claim Detail Amount         Final Allowed Amount
Concho, AZ 85936
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Janie Goldberg                                        Clm No 177343    Filed In Cases: 607
3110 Priddy Court                                     Class                Claim Detail Amount         Final Allowed Amount
Barboursville, VA 22923
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177344    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2449 of 3075

Mary Seaberg                                          Clm No 177345    Filed In Cases: 607
3 Pillsbury Lane                                      Class                Claim Detail Amount         Final Allowed Amount
Georgetown, MA 01833
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177346    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Hazel Sears                                           Clm No 177347    Filed In Cases: 607
7650 Harmony Lane                                     Class                Claim Detail Amount         Final Allowed Amount
Denham Springs, LA 70726
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                          2450 of 3075

Nora Seay                                          Clm No 177348    Filed In Cases: 607
2628 W. 10th Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46404
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




John Seber                                         Clm No 177349    Filed In Cases: 607
2918 West 73rd Place                               Class                Claim Detail Amount         Final Allowed Amount
Merrillville, IN 46410-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Ronald Secchi                                      Clm No 177350    Filed In Cases: 607
87 Grumman Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Norwalk, CT 06851
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                             2451 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177351    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




Gloria Secrest                                        Clm No 177352    Filed In Cases: 607
375 Church Road                                       Class                Claim Detail Amount         Final Allowed Amount
Orrtanna, PA 17353
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Thomas Sedivy                                         Clm No 177353    Filed In Cases: 607
11077 W Forest Home Ave.                              Class                Claim Detail Amount         Final Allowed Amount
APT 1065 Hales Corners, WI
                                                      UNS                                $1.00
53130
                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2452 of 3075

John Seebecker                                        Clm No 177354    Filed In Cases: 607
4985 Highway 95, Lot #176                             Class                Claim Detail Amount         Final Allowed Amount
Parker, AZ 85344
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Linda Seemann                                         Clm No 177355    Filed In Cases: 607
926 A Pacific Street                                  Class                Claim Detail Amount         Final Allowed Amount
New Milford, NJ 07646
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177356    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2453 of 3075

William Segrue                                        Clm No 177357    Filed In Cases: 607
1229 Chevy Chase Drive                                Class                Claim Detail Amount         Final Allowed Amount
Sun City Center, FL 33573
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177358    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Dennis Seifert                                        Clm No 177359    Filed In Cases: 607
6420 East Tropicana Ave. APT 204                      Class                Claim Detail Amount         Final Allowed Amount
Las Vegas, NV 89122-0000
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                             2454 of 3075

Rose Marie Selensky                                   Clm No 177360    Filed In Cases: 607
1524 Shoemaker Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
West Wyoming, PA 18644
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177361    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Victoria Collins                                      Clm No 177362    Filed In Cases: 607
1290 Belmont Street                                   Class                Claim Detail Amount         Final Allowed Amount
Dubuque, IA 52001-4303
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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  Claims Details                                                                                             2455 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177363    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Peter Sepich                                          Clm No 177364    Filed In Cases: 607
PO BOX 675                                            Class                Claim Detail Amount         Final Allowed Amount
Harrison, ME 04040
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Hiram Seppi                                           Clm No 177365    Filed In Cases: 607
3826 Adonis Drive                                     Class                Claim Detail Amount         Final Allowed Amount
Salt Lake City, UT 84124
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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  Claims Details                                                                                             2456 of 3075

Jose Serna                                            Clm No 177366    Filed In Cases: 607
3715 Parrish Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
East Chicago, IL 46312-0000
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177367    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Migdalia Gonzalez                                     Clm No 177368    Filed In Cases: 607
Calle Heda 2T #24                                     Class                Claim Detail Amount         Final Allowed Amount
Lomas Verde Bayamon, PR
                                                      UNS                                $1.00
zip 00956
                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2457 of 3075

Jacqueline Sewing                                     Clm No 177369    Filed In Cases: 607
346 Kennedy Street                                    Class                Claim Detail Amount         Final Allowed Amount
Iselin, NJ 08830
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177370    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177371    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2458 of 3075

Judith Shaffer                                    Clm No 177372    Filed In Cases: 607
920 N. Bitterroot Road                            Class                Claim Detail Amount         Final Allowed Amount
Marion, MT 59925
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              6-Oct-2015
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   Claim Face Value        $10,000.00




William Shafier                                   Clm No 177373    Filed In Cases: 607
621 South Lakeview Drive                          Class                Claim Detail Amount         Final Allowed Amount
Lowell, IN 46356-1335
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




George Shaia                                      Clm No 177374    Filed In Cases: 607
47 Sheeran Road                                   Class                Claim Detail Amount         Final Allowed Amount
Bristol, CT 06010
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                             2459 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177375    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




Joanne Shamas                                         Clm No 177376    Filed In Cases: 607
46 Stephanie Circle                                   Class                Claim Detail Amount         Final Allowed Amount
Trumbull, CT 06611
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Mahalia Shamburger                                    Clm No 177377    Filed In Cases: 607
4907 Cold Springs Drive                               Class                Claim Detail Amount         Final Allowed Amount
Lilburn, GA 30047
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2460 of 3075

Dorthy Madden (sister)                                Clm No 177378    Filed In Cases: 607
502 E. Sixth Street                                   Class                Claim Detail Amount         Final Allowed Amount
S. Boston, MA 02127
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177379    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




c/o David Jagolinzer, Esq.                            Clm No 177380    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2461 of 3075

Linda Sharp                                           Clm No 177381    Filed In Cases: 607
30780 Lower Rome Road                                 Class                Claim Detail Amount         Final Allowed Amount
Springfield, LA 70462
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177382    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Martha Sharp                                          Clm No 177383    Filed In Cases: 607
335 Southeast 34th Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Boynton Beach, FL 33435
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2462 of 3075

Jean Shaw                                         Clm No 177384    Filed In Cases: 607
8675 North Tempest Drive                          Class                Claim Detail Amount         Final Allowed Amount
Citrus Springs, FL 34433
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Betty Jean Shaw                                   Clm No 177385    Filed In Cases: 607
223 Stoney Brook Road                             Class                Claim Detail Amount         Final Allowed Amount
Orangeville, PA 17859
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Don Shaw                                          Clm No 177386    Filed In Cases: 607
116 Blackhawk Drive                               Class                Claim Detail Amount         Final Allowed Amount
Daleville, AL 36322
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         2463 of 3075

Donald Shaw                                       Clm No 177387    Filed In Cases: 607
1824 West Orchid Lane                             Class                Claim Detail Amount         Final Allowed Amount
Phoenix, AZ 85021
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Myles Shea                                        Clm No 177388    Filed In Cases: 607
99 Lodge Street                                   Class                Claim Detail Amount         Final Allowed Amount
Manchester, NH 03104
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Willard Shedd                                     Clm No 177389    Filed In Cases: 607
2299 Leonards Chapel Road                         Class                Claim Detail Amount         Final Allowed Amount
Carbon Hill, AL 35549
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2464 of 3075

Thomas Sheehan                                    Clm No 177390    Filed In Cases: 607
1626 Hobson Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Butte, MT 59701
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Barbara Sheffield                                 Clm No 177391    Filed In Cases: 607
PO BOX 121                                        Class                Claim Detail Amount         Final Allowed Amount
Trafford, AL 35172
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Robert Sheffield                                  Clm No 177392    Filed In Cases: 607
93 Grandview Drive                                Class                Claim Detail Amount         Final Allowed Amount
Newington, CT 06111
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                             2465 of 3075

Larry Sheffield                                       Clm No 177393    Filed In Cases: 607
9820 Harmony Ridge Drive                              Class                Claim Detail Amount         Final Allowed Amount
Semmes, AL 36575
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177394    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 3313
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Lynn Montero                                          Clm No 177395    Filed In Cases: 607
1581 Brickell Avenue APT 906                          Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 22120
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                         2466 of 3075

Charles Sheldon                                   Clm No 177396    Filed In Cases: 607
3039 West 23rd Street                             Class                Claim Detail Amount         Final Allowed Amount
Erie, PA 16506
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Ida Shepard                                       Clm No 177397    Filed In Cases: 607
510 Sea Hawk Court                                Class                Claim Detail Amount         Final Allowed Amount
Edgewater, FL 32141
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Virgina M. Shepard                                Clm No 177398    Filed In Cases: 607
2 Wilson Road                                     Class                Claim Detail Amount         Final Allowed Amount
West Yarrmouth, MA 02673
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




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  Claims Details                                                                                          2467 of 3075

Martha Shepherd                                    Clm No 177399    Filed In Cases: 607
2672 East Emory Drive APT B                        Class                Claim Detail Amount         Final Allowed Amount
West Palm Beach, FL 33415
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Mary Sheridan                                      Clm No 177400    Filed In Cases: 607
718 Oxford Street                                  Class                Claim Detail Amount         Final Allowed Amount
Auburn, MA 01501
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Robert Sherman                                     Clm No 177401    Filed In Cases: 607
5 Oak Street                                       Class                Claim Detail Amount         Final Allowed Amount
Plainfield, CT 06374
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         2468 of 3075

Harry Sherman                                     Clm No 177402    Filed In Cases: 607
2014 Central Street                               Class                Claim Detail Amount         Final Allowed Amount
Lafayette, IN 47905
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Beverly Englert                                   Clm No 177403    Filed In Cases: 607
455 S. 19th Street                                Class                Claim Detail Amount         Final Allowed Amount
Sebring, OH 44672-1824
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Michael Shingary                                  Clm No 177404    Filed In Cases: 607
7331 Julia Drive                                  Class                Claim Detail Amount         Final Allowed Amount
North Royalton, OH 44133
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         2469 of 3075

Judith Shingleton                                 Clm No 177405    Filed In Cases: 607
6959 Hillridge Avenue N.E.                        Class                Claim Detail Amount         Final Allowed Amount
Canton, OH 44672-1824
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Bonnie David                                      Clm No 177406    Filed In Cases: 607
7141 Juliette Low Lane                            Class                Claim Detail Amount         Final Allowed Amount
Hugesville, MD 20637
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Don Shipley                                       Clm No 177407    Filed In Cases: 607
4341 Country Club Blvd                            Class                Claim Detail Amount         Final Allowed Amount
Cape Coral, FL 33904
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         2470 of 3075

Vivian Shirley                                    Clm No 177408    Filed In Cases: 607
26 Brock Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Sanford, ME 04073
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Freda Shoemaker                                   Clm No 177409    Filed In Cases: 607
RR #1                                             Class                Claim Detail Amount         Final Allowed Amount
Marseilles, IL 61341
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Donald Sholtis                                    Clm No 177410    Filed In Cases: 607
2308 Haybarger Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Erie, PA 16502
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                          2471 of 3075

Joy Shook                                          Clm No 177411    Filed In Cases: 607
96657 Chester Road                                 Class                Claim Detail Amount         Final Allowed Amount
Yulee, FL 32097
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Marcia Short                                       Clm No 177412    Filed In Cases: 607
14601 Sunset Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Southwest Ranches, FL 33330
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Gail Short                                         Clm No 177413    Filed In Cases: 607
137 Bedford Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Port Charlotte, FL 33952
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                             2472 of 3075

Fae Shurtz                                            Clm No 177414    Filed In Cases: 607
432 Ermine Street SE                                  Class                Claim Detail Amount         Final Allowed Amount
Albany, OR 97321
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177415    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Cheryl Wytenus                                        Clm No 177416    Filed In Cases: 607
95 June Street                                        Class                Claim Detail Amount         Final Allowed Amount
Northbridge, MA 01534
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2473 of 3075

Dorthy Seigel                                     Clm No 177417    Filed In Cases: 607
29 Gunwale Way                                    Class                Claim Detail Amount         Final Allowed Amount
Yarmouth Port, MA 02675
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Toby Siegel                                       Clm No 177418    Filed In Cases: 607
102 Venetian Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Royal Palm Beach, FL 33411
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Beatrice Siegel                                   Clm No 177419    Filed In Cases: 607
11657 Dove Hollow Avenue                          Class                Claim Detail Amount         Final Allowed Amount
Boynton Beach, FL 33437
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         2474 of 3075

Andrew Sikorowicz                                 Clm No 177420    Filed In Cases: 607
8 Waterslide Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Clinton, CT 06413
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Hugh Siler                                        Clm No 177421    Filed In Cases: 607
376 W Flaming Gorge Way                           Class                Claim Detail Amount         Final Allowed Amount
Green River, WY 82935
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177422    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                             2475 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177423    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Myrajean Cutts                                        Clm No 177424    Filed In Cases: 607
501 Haley Road                                        Class                Claim Detail Amount         Final Allowed Amount
Kittery Point, ME 03905-5621
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




c/o David Jagolinzer, Esq.                            Clm No 177425    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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  Claims Details                                                                                             2476 of 3075

Susan Silva                                           Clm No 177426    Filed In Cases: 607
716 East Street South                                 Class                Claim Detail Amount         Final Allowed Amount
Suffield, CT 06078
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177427    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Tammy Silvia                                          Clm No 177428    Filed In Cases: 607
4 Candlewood Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Norwich, CT 06370
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                         2477 of 3075

Dennis Silvia                                     Clm No 177429    Filed In Cases: 607
391 Lindsey Street                                Class                Claim Detail Amount         Final Allowed Amount
Fall River, MA 02720
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




John Silvis                                       Clm No 177430    Filed In Cases: 607
PO BOX 104                                        Class                Claim Detail Amount         Final Allowed Amount
Augusta, MT 59410
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




RIchard Simko                                     Clm No 177431    Filed In Cases: 607
6157 Brie Street                                  Class                Claim Detail Amount         Final Allowed Amount
Portage, IN 46368
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2478 of 3075

Beva Simle                                        Clm No 177432    Filed In Cases: 607
902 N High Point Road APT 254                     Class                Claim Detail Amount         Final Allowed Amount
Madison, WI 53717
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Ellsworth Simmonds                                Clm No 177433    Filed In Cases: 607
192 Peck Street                                   Class                Claim Detail Amount         Final Allowed Amount
New Haven, CT 06513
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Mary Coleman                                      Clm No 177434    Filed In Cases: 607
68 5th Place N.E.                                 Class                Claim Detail Amount         Final Allowed Amount
Graysville, AL 35073
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                          2479 of 3075

Dorothea Simmons                                   Clm No 177435    Filed In Cases: 607
PO BOX 836                                         Class                Claim Detail Amount         Final Allowed Amount
Century, FL 32535
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




James Simmons                                      Clm No 177436    Filed In Cases: 607
PO BOX 297                                         Class                Claim Detail Amount         Final Allowed Amount
Docena, AL 35060
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Harry Simmons                                      Clm No 177437    Filed In Cases: 607
5921 Arthur Street                                 Class                Claim Detail Amount         Final Allowed Amount
Merrillville, IN 46410-0000
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                           2480 of 3075

Allen Simmons                                       Clm No 177438    Filed In Cases: 607
7243 Beechland Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Louisville, KY 40258
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




James Simmons                                       Clm No 177439    Filed In Cases: 607
3070 South East Limetree Terrace                    Class                Claim Detail Amount         Final Allowed Amount
Stuart, FL 34997
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                 $1.00




Esther Simmons                                      Clm No 177440    Filed In Cases: 607
545 Third Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
Datonya Beach, FL 32114
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




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  Claims Details                                                                                         2481 of 3075

Martha Simms                                      Clm No 177441    Filed In Cases: 607
477 Cooper's Cove Road                            Class                Claim Detail Amount         Final Allowed Amount
St. Augustine, FL 32095
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




John Simms                                        Clm No 177442    Filed In Cases: 607
2484 Harbour Drive                                Class                Claim Detail Amount         Final Allowed Amount
Punta Gorda, FL 33983
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Nancy Simoneau                                    Clm No 177443    Filed In Cases: 607
11 Rocky Point Road                               Class                Claim Detail Amount         Final Allowed Amount
Hewitt, NJ 07421
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                             2482 of 3075

Jimmy Simpson                                         Clm No 177444    Filed In Cases: 607
8142 Bristol Bay Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Lakeland, FL 33810
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177445    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Earl Simpson                                          Clm No 177446    Filed In Cases: 607
2456 Linbergh Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Louisville, KY 40208-1051
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                             2483 of 3075

Guy Sims                                              Clm No 177447    Filed In Cases: 607
1807 East Powhattan Avenue                            Class                Claim Detail Amount         Final Allowed Amount
Tampa, FL 33610
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Bill Sims                                             Clm No 177448    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Moses Sims                                            Clm No 177449    Filed In Cases: 607
1511 Kentucky Street                                  Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46407-0000
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2484 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177450    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Shirley Sinclair                                      Clm No 177451    Filed In Cases: 607
23655 S Cottonwood Court                              Class                Claim Detail Amount         Final Allowed Amount
Minooka, IL 60447
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Patricia Sinclair                                     Clm No 177452    Filed In Cases: 607
274 Jobin Drive                                       Class                Claim Detail Amount         Final Allowed Amount
Manchester, NH 03103-3951
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2485 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177453    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Marlena Singer                                        Clm No 177454    Filed In Cases: 607
4216 Concord Street                                   Class                Claim Detail Amount         Final Allowed Amount
Harrisburg, PA 17109
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Lois Singletary                                       Clm No 177455    Filed In Cases: 607
4401 S.W. 13th Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Okeechobee, FL 34974-7612
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2486 of 3075

Madelyn Thomas                                        Clm No 177456    Filed In Cases: 607
218 ST. Matthews Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Spartanburg, SC 29301
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177457    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL, 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Gail Sinibaldi                                        Clm No 177458    Filed In Cases: 607
23 Jewel Street                                       Class                Claim Detail Amount         Final Allowed Amount
Gorham, NH 03581
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2487 of 3075

Gerald Sippel                                     Clm No 177459    Filed In Cases: 607
W 3026 County Road P.P.                           Class                Claim Detail Amount         Final Allowed Amount
Sheboygan Falls, WI 53086
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Elizabeth Siress                                  Clm No 177460    Filed In Cases: 607
358 Serenity Shores                               Class                Claim Detail Amount         Final Allowed Amount
Benton, KY 42025
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Betty Sirmons                                     Clm No 177461    Filed In Cases: 607
PO BOX 157                                        Class                Claim Detail Amount         Final Allowed Amount
Webb, AL 36376
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         2488 of 3075

Norma Sisk                                        Clm No 177462    Filed In Cases: 607
500 W. Daisy Place                                Class                Claim Detail Amount         Final Allowed Amount
Coal City, IL 60416
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Lloyd Siverling                                   Clm No 177463    Filed In Cases: 607
1343 116th Street                                 Class                Claim Detail Amount         Final Allowed Amount
Chippewa Falls, WI 54729
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Alice Sizemore                                    Clm No 177464    Filed In Cases: 607
4001 Griffin Road Lot 22                          Class                Claim Detail Amount         Final Allowed Amount
Ft. Lauderdale, FL 33314
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         2489 of 3075

Roy Sizemore                                      Clm No 177465    Filed In Cases: 607
4749 Hickory Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Hammond, IN 46327
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Donald Skaar                                      Clm No 177466    Filed In Cases: 607
1680 Alpha Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Neenah, WI 54956
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Helene Skelac                                     Clm No 177467    Filed In Cases: 607
2908 Center Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Fort Lauderdale, FL 33308
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
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  Claims Details                                                                                             2490 of 3075

Charlotte Skidmore                                    Clm No 177468    Filed In Cases: 607
560 Southpoint Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Lexington, KY 40515-5120
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177469    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




John Skogstad                                         Clm No 177470    Filed In Cases: 607
133 East Harvard Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Anchorage, AK 99501-1140
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2491 of 3075

Kathleen Skok                                     Clm No 177471    Filed In Cases: 607
28 Easy Street                                    Class                Claim Detail Amount         Final Allowed Amount
Milford, CT 06460
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Theodore Skora                                    Clm No 177472    Filed In Cases: 607
1801 Valencia Drive APT 41                        Class                Claim Detail Amount         Final Allowed Amount
Crown Point, IN 46307
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Nicholas Skyllas                                  Clm No 177473    Filed In Cases: 607
c/o Michelle Skyllas                              Class                Claim Detail Amount         Final Allowed Amount
3503 West 76 Lane
                                                  UNS                                $1.00
Merrilville, IN 46410
                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         2492 of 3075

Lisa Reynolds                                     Clm No 177474    Filed In Cases: 607
6134 Pieper Road                                  Class                Claim Detail Amount         Final Allowed Amount
Girard, PA 16417-9428
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




John Slater                                       Clm No 177475    Filed In Cases: 607
55 Cram Hill Road                                 Class                Claim Detail Amount         Final Allowed Amount
Lyndeborough, NH 03082
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Elsie Slater                                      Clm No 177476    Filed In Cases: 607
300 Canby Circle                                  Class                Claim Detail Amount         Final Allowed Amount
Spring Hill, FL 34606
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2493 of 3075

Gordon Slater                                     Clm No 177477    Filed In Cases: 607
34 Slater Road                                    Class                Claim Detail Amount         Final Allowed Amount
Roundup, MT 59072
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




George Slattery                                   Clm No 177478    Filed In Cases: 607
54 Old Gilbertville Road                          Class                Claim Detail Amount         Final Allowed Amount
Ware, MA 01082
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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Charles Slavey                                    Clm No 177479    Filed In Cases: 607
433 Nantucket Road                                Class                Claim Detail Amount         Final Allowed Amount
Valparaiso, IN 46383
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          2494 of 3075

Edwin Slawson                                      Clm No 177480    Filed In Cases: 607
3600 Ocean Beach Blvd                              Class                Claim Detail Amount         Final Allowed Amount
Cocoa Beach, FL 32931
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




JaneSlaymaker                                      Clm No 177481    Filed In Cases: 607
833 South High Street                              Class                Claim Detail Amount         Final Allowed Amount
Deland, FL 32720
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Bill Sledge                                        Clm No 177482    Filed In Cases: 607
11600 Frances Elaine Circle                        Class                Claim Detail Amount         Final Allowed Amount
Ankorage, AK 99515
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2495 of 3075

Barbara Sliva                                     Clm No 177483    Filed In Cases: 607
96 Ridgeview Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Trumbull, CT 06611
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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John Sliwa                                        Clm No 177484    Filed In Cases: 607
46 Meadowbrook Lane                               Class                Claim Detail Amount         Final Allowed Amount
Torrington, CT 06790
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Doris Sloan                                       Clm No 177485    Filed In Cases: 607
1721 Reeds Ferry Road                             Class                Claim Detail Amount         Final Allowed Amount
Quinton, AL 35130
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2496 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177486    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Howard Sloan                                          Clm No 177487    Filed In Cases: 607
PO BOX 246                                            Class                Claim Detail Amount         Final Allowed Amount
Woodlinville, WA 98072
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Kathy Slubowski                                       Clm No 177488    Filed In Cases: 607
52 David Drive                                        Class                Claim Detail Amount         Final Allowed Amount
Guilfort, CT 06437
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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  Claims Details                                                                                         2497 of 3075

Douglas Slusser                                   Clm No 177489    Filed In Cases: 607
615 Ranger Road                                   Class                Claim Detail Amount         Final Allowed Amount
Nekoosa, WI 54457
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Edgar Sly                                         Clm No 177490    Filed In Cases: 607
Box 77                                            Class                Claim Detail Amount         Final Allowed Amount
Union Mills, IN 43682
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




John Slyne                                        Clm No 177491    Filed In Cases: 607
263 Skinner Road                                  Class                Claim Detail Amount         Final Allowed Amount
Vernon, CT 06066
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                             2498 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177492    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Marry Smidt                                           Clm No 177493    Filed In Cases: 607
20052 Crystal Lake Way                                Class                Claim Detail Amount         Final Allowed Amount
Frankfort, IL 60423
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177494    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
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   Claim Face Value              $10,000.00




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  Claims Details                                                                                             2499 of 3075

Irene DeStefano                                       Clm No 177495    Filed In Cases: 607
202 SW Oakridge Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Port Saint Lucie, FL 34984
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177496    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Edward Smith                                          Clm No 177497    Filed In Cases: 607
One Aline Street                                      Class                Claim Detail Amount         Final Allowed Amount
Dracut, MA 01826
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2500 of 3075

Ruby Smith                                        Clm No 177498    Filed In Cases: 607
43227 Ratliff Road                                Class                Claim Detail Amount         Final Allowed Amount
Callahan, FL 32011
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Bernadine                                         Clm No 177499    Filed In Cases: 607
1 Ileberry Path                                   Class                Claim Detail Amount         Final Allowed Amount
Palm Coast, FL 32164
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Johanna Smith                                     Clm No 177500    Filed In Cases: 607
1107 31st Street APT 343                          Class                Claim Detail Amount         Final Allowed Amount
Peru, IL 61354
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2501 of 3075

Kim Smith                                             Clm No 177501    Filed In Cases: 607
22 Love Lane                                          Class                Claim Detail Amount         Final Allowed Amount
Kittery, ME 03904
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Carole Smith                                          Clm No 177502    Filed In Cases: 607
27 Fairway Drive                                      Class                Claim Detail Amount         Final Allowed Amount
W. Newton, MA 02465
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177503    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2502 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177504    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177505    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Margaret Smith                                        Clm No 177506    Filed In Cases: 607
755 Farmdale Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Tuscaloosa, AL 35405
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2503 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177507    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Mechelle Smith                                        Clm No 177508    Filed In Cases: 607
488 Meadow Branch Road                                Class                Claim Detail Amount         Final Allowed Amount
Reidsville, NC 27320-9534
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Cartherine H. Smith                                   Clm No 177509    Filed In Cases: 607
PO BOX 114                                            Class                Claim Detail Amount         Final Allowed Amount
Trenton, KY 42286
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                             2504 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177510    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Dorothy A. Smith                                      Clm No 177511    Filed In Cases: 607
841 Gardiner Road                                     Class                Claim Detail Amount         Final Allowed Amount
Wales, ME 04280
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Aubrey Smith                                          Clm No 177512    Filed In Cases: 607
12028 NE 209th Ave.                                   Class                Claim Detail Amount         Final Allowed Amount
Lake Butler, FL 32054
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2505 of 3075

Joe Smith                                         Clm No 177513    Filed In Cases: 607
501 Elm Street                                    Class                Claim Detail Amount         Final Allowed Amount
Twin City, GA 30471
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




James Smith                                       Clm No 177514    Filed In Cases: 607
1706 Art Museum Drive                             Class                Claim Detail Amount         Final Allowed Amount
Building A-5
                                                  UNS                                $1.00
Jacksonville, FL 32207
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Janie Legg                                        Clm No 177515    Filed In Cases: 607
4639 Brook Forest Drive                           Class                Claim Detail Amount         Final Allowed Amount
Panama City, FL 32404
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                             2506 of 3075

Anna Smith                                            Clm No 177516    Filed In Cases: 607
Hancock House #510                                    Class                Claim Detail Amount         Final Allowed Amount
45 School Street
                                                      UNS                          $10,000.00
Quincy, MA 02169
                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




Marlene Smith                                         Clm No 177517    Filed In Cases: 607
268 Cape Sable Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Naples, FL 34101
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




c/o David Jagolinzer, Esq.                            Clm No 177518    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2507 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177519    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177520    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177521    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2508 of 3075

Leonard Smith                                     Clm No 177522    Filed In Cases: 607
1811 Juniper Street                               Class                Claim Detail Amount         Final Allowed Amount
Payson, AZ 85541-4529
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




John Smith                                        Clm No 177523    Filed In Cases: 607
522 Lomond Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Billings, MT 59101
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Linda Smith                                       Clm No 177524    Filed In Cases: 607
395 South Howard Street                           Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46403
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                             2509 of 3075

Billy Smith                                           Clm No 177525    Filed In Cases: 607
5914 Friendship Road                                  Class                Claim Detail Amount         Final Allowed Amount
Catlettsburg, KY 41129
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Joyce Smith                                           Clm No 177526    Filed In Cases: 607
25 Magic Way                                          Class                Claim Detail Amount         Final Allowed Amount
Carmel, ME 04419-3825
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177527    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2510 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177528    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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c/o David Jagolinzer, Esq.                            Clm No 177529    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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c/o David Jagolinzer, Esq.                            Clm No 177530    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                             2511 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177531    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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Joy Smith                                             Clm No 177532    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Vaughn Smith                                          Clm No 177533    Filed In Cases: 607
1469 Cottage Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Pocatello, ID 83201
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2512 of 3075

Edward Smith                                      Clm No 177534    Filed In Cases: 607
319 East El Camino Drive                          Class                Claim Detail Amount         Final Allowed Amount
Phoenix, AZ 85020
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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Phyllis Givens                                    Clm No 177535    Filed In Cases: 607
15442 Drexell Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Dolton, IL 60419
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Robert Smith                                      Clm No 177536    Filed In Cases: 607
4087 Reed Street                                  Class                Claim Detail Amount         Final Allowed Amount
Palatka, FL 32177
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         2513 of 3075

Annie Smith                                       Clm No 177537    Filed In Cases: 607
PO BOX 88                                         Class                Claim Detail Amount         Final Allowed Amount
Leighton, AL 35646
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Ronald Smith                                      Clm No 177538    Filed In Cases: 607
35830 Thrill Hill Road                            Class                Claim Detail Amount         Final Allowed Amount
Eustis, FL 32736
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Charles Smith                                     Clm No 177539    Filed In Cases: 607
5694 Owens Road                                   Class                Claim Detail Amount         Final Allowed Amount
Patterson, GA 31557
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2514 of 3075

Patricia Smith                                    Clm No 177540    Filed In Cases: 607
46 Pace Street                                    Class                Claim Detail Amount         Final Allowed Amount
Larksville, PA 18704
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Catherine H. Smith                                Clm No 177541    Filed In Cases: 607
51 Marlborough Street                             Class                Claim Detail Amount         Final Allowed Amount
Springfield, MA 01109
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Patricia Smith                                    Clm No 177542    Filed In Cases: 607
9775 Leahy Road                                   Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32246
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                             2515 of 3075

Ann Tabb                                              Clm No 177543    Filed In Cases: 607
714 Jillian Place                                     Class                Claim Detail Amount         Final Allowed Amount
Bay Minette, AL 36507-3316
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




Annette Smith                                         Clm No 177544    Filed In Cases: 607
1537 Mill Dam Road APT 213                            Class                Claim Detail Amount         Final Allowed Amount
Virginia Beach, Va 23454-1348
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177545    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2516 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177546    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




James Smith                                           Clm No 177547    Filed In Cases: 607
1119 North 8 Street                                   Class                Claim Detail Amount         Final Allowed Amount
Layafett, IN 47904
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177548    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2517 of 3075

Teena Hamilton                                        Clm No 177549    Filed In Cases: 607
207 Beach Drive                                       Class                Claim Detail Amount         Final Allowed Amount
Florahome, FL 32140
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Claire Smothers                                       Clm No 177550    Filed In Cases: 607
PO BOX 211, 16 Wilson Road                            Class                Claim Detail Amount         Final Allowed Amount
Kittery, ME 03904
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177551    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2518 of 3075

Earl Snedegar                                         Clm No 177552    Filed In Cases: 607
485 McCullough Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Winchester, KY 40391
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177553    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177554    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2519 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177555    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Raymond Snook                                         Clm No 177556    Filed In Cases: 607
3921 188th Street NW                                  Class                Claim Detail Amount         Final Allowed Amount
Stanwood, WA 98292
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177557    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
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   Claim Face Value              $10,000.00




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  Claims Details                                                                                         2520 of 3075

John Snowwhite                                    Clm No 177558    Filed In Cases: 607
37w199 Olwn Ave.                                  Class                Claim Detail Amount         Final Allowed Amount
Elgin, IL 60124
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Ruth Snyder                                       Clm No 177559    Filed In Cases: 607
131 Mandrake Street                               Class                Claim Detail Amount         Final Allowed Amount
Middleburg, FL 32068
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Terry Snyder                                      Clm No 177560    Filed In Cases: 607
2675 State Route 225                              Class                Claim Detail Amount         Final Allowed Amount
Herndon, PA 17830
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2521 of 3075

Terry Snyder                                          Clm No 177561    Filed In Cases: 607
916 Strawberry Lane APT 106                           Class                Claim Detail Amount         Final Allowed Amount
Clayton, NY 13624
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177562    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Ronald Snyder                                         Clm No 177563    Filed In Cases: 607
1955 Badger                                           Class                Claim Detail Amount         Final Allowed Amount
North Pole, AK 99705
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2522 of 3075

Ronald Synder                                     Clm No 177564    Filed In Cases: 607
722 S Washington                                  Class                Claim Detail Amount         Final Allowed Amount
Hobart, IN 46342
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




David Ivey                                        Clm No 177565    Filed In Cases: 607
178 Faith Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Calvert City, KY 42029
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Nyola Klimek                                      Clm No 177566    Filed In Cases: 607
1905 Vigo Street                                  Class                Claim Detail Amount         Final Allowed Amount
Lake Station, IN 46405
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          2523 of 3075

Walter Sokoloski                                   Clm No 177567    Filed In Cases: 607
3339 W. Prospect Road                              Class                Claim Detail Amount         Final Allowed Amount
Fort Collins, CO 80526-6933
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Gerald Vasko                                       Clm No 177568    Filed In Cases: 607
14660 Belshaw Road                                 Class                Claim Detail Amount         Final Allowed Amount
Lowell, IN 46356
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Shirley Sokolowski                                 Clm No 177569    Filed In Cases: 607
44 Old Plains Road                                 Class                Claim Detail Amount         Final Allowed Amount
Willimantic, CT 06226
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                             2524 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177570    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




Carl Solano                                           Clm No 177571    Filed In Cases: 607
5 Barrister Court                                     Class                Claim Detail Amount         Final Allowed Amount
Haverford, PA 19041
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
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   Claim Face Value              $10,000.00




Christopher Solari                                    Clm No 177572    Filed In Cases: 607
PO BOX 462                                            Class                Claim Detail Amount         Final Allowed Amount
Moody, ME 04054
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                            2525 of 3075

Dietlinde Sole                                       Clm No 177573    Filed In Cases: 607
22 Paul Lane                                         Class                Claim Detail Amount         Final Allowed Amount
Palm Coast, FL 32164
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




Guadalupe Soliz                                      Clm No 177574    Filed In Cases: 607
17285 W. Morning Glory Street                        Class                Claim Detail Amount         Final Allowed Amount
Goodyear, AZ 85338-6032
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




Joan Solleder                                        Clm No 177575    Filed In Cases: 607
805 Kearney Place                                    Class                Claim Detail Amount         Final Allowed Amount
Paramus, NJ 07656
                                                     UNS                                $1.00

                                                                                        $1.00


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  Claims Details                                                                                         2526 of 3075

Mary Soller                                       Clm No 177576    Filed In Cases: 607
96072 Staghorn Lane                               Class                Claim Detail Amount         Final Allowed Amount
Fernandina Beach, FL 32034
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Louis Songer                                      Clm No 177577    Filed In Cases: 607
PO BOX 827                                        Class                Claim Detail Amount         Final Allowed Amount
East Helena, MT 59635
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Carol Soracin                                     Clm No 177578    Filed In Cases: 607
58 Housatonic Drive                               Class                Claim Detail Amount         Final Allowed Amount
Sandy Hook, CT 06482
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2527 of 3075

Andrea Sorenson                                       Clm No 177579    Filed In Cases: 607
45 Running Hill Road                                  Class                Claim Detail Amount         Final Allowed Amount
Scarborough, ME 04074
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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Michael Sorton                                        Clm No 177580    Filed In Cases: 607
One Elizabeth Street                                  Class                Claim Detail Amount         Final Allowed Amount
Matamoras, PA 18336
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177581    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2528 of 3075

Jeannette Souders                                 Clm No 177582    Filed In Cases: 607
4S380 Harter Road                                 Class                Claim Detail Amount         Final Allowed Amount
Sugar Grove, IL 60554
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Xanthi Soulious                                   Clm No 177583    Filed In Cases: 607
14 Greystone Terrace                              Class                Claim Detail Amount         Final Allowed Amount
Hooksett, NH 03106
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Raymond Sousa                                     Clm No 177584    Filed In Cases: 607
604 Merrow Road                                   Class                Claim Detail Amount         Final Allowed Amount
Coventry, CT 06238
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2529 of 3075

Billy South                                           Clm No 177585    Filed In Cases: 607
PO BOX 1529                                           Class                Claim Detail Amount         Final Allowed Amount
Noxon, MT 59853-1529
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177586    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177587    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2530 of 3075

Kathleen Souza                                    Clm No 177588    Filed In Cases: 607
c/o Rita Jensen                                   Class                Claim Detail Amount         Final Allowed Amount
237 Jaurez Way
                                                  UNS                                $1.00
Lady Lake, FL 32159
                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Alice Souza                                       Clm No 177589    Filed In Cases: 607
916 NW 79th Terrace                               Class                Claim Detail Amount         Final Allowed Amount
Plantation, FL 33324
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Michael Sowards                                   Clm No 177590    Filed In Cases: 607
c/o Margaret Royce Galvin                         Class                Claim Detail Amount         Final Allowed Amount
5253 Hohman Avenue
                                                  UNS                                $1.00
Hammond, IN 46320
                                                                                     $1.00


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  Claims Details                                                                                          2531 of 3075

Vonnie Sowell                                      Clm No 177591    Filed In Cases: 607
19620 Vaughn Road                                  Class                Claim Detail Amount         Final Allowed Amount
Seminole, AL 36574
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




James Spangler                                     Clm No 177592    Filed In Cases: 607
2124 East 41st Street                              Class                Claim Detail Amount         Final Allowed Amount
Erie, PA 16510-36574
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Donald Spann                                       Clm No 177593    Filed In Cases: 607
2686 West 63rd Ave.                                Class                Claim Detail Amount         Final Allowed Amount
Merrillville, IN 46410-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         2532 of 3075

Theresa Sparks                                    Clm No 177594    Filed In Cases: 607
45 Forsythia Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Westport, MA 02790
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Carl Sparks                                       Clm No 177595    Filed In Cases: 607
1191 Fulton Road                                  Class                Claim Detail Amount         Final Allowed Amount
Wynchester, KY 40391
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Helen Speake                                      Clm No 177596    Filed In Cases: 607
10343 106 Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Largo, FL 33773
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                             2533 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177597    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




John Spearman                                         Clm No 177598    Filed In Cases: 607
1040 Hidden Forest Drive                              Class                Claim Detail Amount         Final Allowed Amount
Montevallo, AL 35115
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Mary Speller                                          Clm No 177599    Filed In Cases: 607
6 Breckenridge Court                                  Class                Claim Detail Amount         Final Allowed Amount
Enterprise, AL 36330-1205
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2534 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177600    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177601    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Dora Spencer                                          Clm No 177602    Filed In Cases: 607
6 Manor Road                                          Class                Claim Detail Amount         Final Allowed Amount
East Haven, CT 06512
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2535 of 3075

Raphaele Spencer                                  Clm No 177603    Filed In Cases: 607
6555 Cold Stream Drive                            Class                Claim Detail Amount         Final Allowed Amount
Cumming, GA 30040
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Kimberly Heffner                                  Clm No 177604    Filed In Cases: 607
403 Martin Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Lakeland, FL 33809
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Daniel Spencer                                    Clm No 177605    Filed In Cases: 607
2028 58th Way North                               Class                Claim Detail Amount         Final Allowed Amount
Clearwater, FL 33760
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                             2536 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177606    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Joseph Spiezio                                        Clm No 177607    Filed In Cases: 607
406 W. Sturgeon Street                                Class                Claim Detail Amount         Final Allowed Amount
Iron River, MI 49935
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




Dominic Spinelli                                      Clm No 177608    Filed In Cases: 607
139 Uconn Drive                                       Class                Claim Detail Amount         Final Allowed Amount
Burlington, CT 06013
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2537 of 3075

Priscilla Spinney                                     Clm No 177609    Filed In Cases: 607
55 Beech Road                                         Class                Claim Detail Amount         Final Allowed Amount
Eliot, ME 03903
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177610    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Terri Spoons                                          Clm No 177611    Filed In Cases: 607
1704 East Poinsettia                                  Class                Claim Detail Amount         Final Allowed Amount
Tampa, FL 33612
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2538 of 3075

Kathleen Spring                                   Clm No 177612    Filed In Cases: 607
40 Richfield Street                               Class                Claim Detail Amount         Final Allowed Amount
Quincy, MA 02171
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Patricia Spring                                   Clm No 177613    Filed In Cases: 607
153 Norfolk Street                                Class                Claim Detail Amount         Final Allowed Amount
Wollaston, MA 02170
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Charles Spurgeon                                  Clm No 177614    Filed In Cases: 607
911 Thompson Street                               Class                Claim Detail Amount         Final Allowed Amount
Rensselaer, IN 47978
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                             2539 of 3075

Robert Spurlock                                       Clm No 177615    Filed In Cases: 607
605 Dauphin Street                                    Class                Claim Detail Amount         Final Allowed Amount
Harrisbug, PA 17102
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177616    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




Margaret St. Germain                                  Clm No 177617    Filed In Cases: 607
525 Swanson Crescent                                  Class                Claim Detail Amount         Final Allowed Amount
Milford, CT 06460
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2540 of 3075

Ronald Stack                                      Clm No 177618    Filed In Cases: 607
69 Wilcox Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
East Berlin, CT 06023
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Shelia Stack                                      Clm No 177619    Filed In Cases: 607
375 Allyn St., Unit 33                            Class                Claim Detail Amount         Final Allowed Amount
Mystic, CT 06255
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Catherine Staedter                                Clm No 177620    Filed In Cases: 607
304 West Lakeview Drive                           Class                Claim Detail Amount         Final Allowed Amount
Mukwonago, WI 53149
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2541 of 3075

Kathryn Stafford                                  Clm No 177621    Filed In Cases: 607
9949 Allene Road                                  Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32219
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Robert Stalker                                    Clm No 177622    Filed In Cases: 607
N 9443 County Road                                Class                Claim Detail Amount         Final Allowed Amount
Boyceville, WI 54725
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Johnny Stallworth                                 Clm No 177623    Filed In Cases: 607
1006 East Hatton Street                           Class                Claim Detail Amount         Final Allowed Amount
Pensacola, FL 32503
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          2542 of 3075

Myron Stam                                         Clm No 177624    Filed In Cases: 607
9683 South 1600 West                               Class                Claim Detail Amount         Final Allowed Amount
South Jordan, UT 84095-2390
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Carl Stamm                                         Clm No 177625    Filed In Cases: 607
6575 Lasley Shore Drive                            Class                Claim Detail Amount         Final Allowed Amount
Winnecone, WI 54986
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Wanda Stamp                                        Clm No 177626    Filed In Cases: 607
647 East Chicago Street                            Class                Claim Detail Amount         Final Allowed Amount
Bronson, MI 49028
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2543 of 3075

Terea Sparkers                                    Clm No 177627    Filed In Cases: 607
401 Park Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Irvine, KY 40336
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Kathryn King                                      Clm No 177628    Filed In Cases: 607
4544 Cumberland Road                              Class                Claim Detail Amount         Final Allowed Amount
Fayetterville, NC 28304
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Mary Standifer                                    Clm No 177629    Filed In Cases: 607
2391 Waite Street                                 Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46404
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2544 of 3075

Mary Standridge                                   Clm No 177630    Filed In Cases: 607
427 N. Milton Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Springfield, IL 62702
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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Lisa Stanford                                     Clm No 177631    Filed In Cases: 607
5603 Auld Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Holiday, FL 34690
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Laurette Staples                                  Clm No 177632    Filed In Cases: 607
12 Evanthin Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Biddeford, ME 04005
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2545 of 3075

William Stapleton                                     Clm No 177633    Filed In Cases: 607
4411 Dearborn Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Hammond, IN 46327
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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Barabara Starnes                                      Clm No 177634    Filed In Cases: 607
290 Sitton Road                                       Class                Claim Detail Amount         Final Allowed Amount
Hayden, AL 35079
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177635    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                             2546 of 3075

Kimberly Stead                                        Clm No 177636    Filed In Cases: 607
302 Washington Street Box 440                         Class                Claim Detail Amount         Final Allowed Amount
San Diego, CA 92103
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
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Lorren Stearman                                       Clm No 177637    Filed In Cases: 607
532 Aloha Way                                         Class                Claim Detail Amount         Final Allowed Amount
Sun Valley, NV 89433-7511
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177638    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


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c/o David Jagolinzer, Esq.                            Clm No 177639    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Ruth Steere                                           Clm No 177640    Filed In Cases: 607
PO BOX 7285                                           Class                Claim Detail Amount         Final Allowed Amount
Gonic, NH 03839
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Borden Steeves                                        Clm No 177641    Filed In Cases: 607
918 Reed Canal Road, Lot #347                         Class                Claim Detail Amount         Final Allowed Amount
South Daytona, FL 32119
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                         2548 of 3075

Walter Stefaniak                                  Clm No 177642    Filed In Cases: 607
60925 Crumstown Highway                           Class                Claim Detail Amount         Final Allowed Amount
North Liberty, IN 46554
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




David Steger                                      Clm No 177643    Filed In Cases: 607
211 Emmons Street                                 Class                Claim Detail Amount         Final Allowed Amount
Caledonia, MI 49316
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Marcia Stein                                      Clm No 177644    Filed In Cases: 607
8873 W Layton Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Greenfield, WI 53228
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                             2549 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177645    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177646    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Donald Stelter                                        Clm No 177647    Filed In Cases: 607
635 South K, Lot 73                                   Class                Claim Detail Amount         Final Allowed Amount
Sparta, WI 54656
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                            2550 of 3075

Evelyn Stemberger                                    Clm No 177648    Filed In Cases: 607
8610 Strawbridge Circle                              Class                Claim Detail Amount         Final Allowed Amount
Macedonia, OH 44056
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Kenneth Lowrey                                       Clm No 177649    Filed In Cases: 607
c/o Keyna Lowrey Klabzuba, Esquire                   Class                Claim Detail Amount         Final Allowed Amount
2135 Pine Tree Lane
                                                     UNS                                $1.00
Gray Summit, MO 63039
                                                                                        $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Clarlotte Stephens                                   Clm No 177650    Filed In Cases: 607
92 Country Club Drive West                           Class                Claim Detail Amount         Final Allowed Amount
Destin, FL 32541
                                                     UNS                                $1.00

                                                                                        $1.00


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   Claim Face Value                  $1.00




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  Claims Details                                                                                         2551 of 3075

Varser Stephens                                   Clm No 177651    Filed In Cases: 607
2717 Doyle Circle                                 Class                Claim Detail Amount         Final Allowed Amount
Lakeland, FL 33801
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Lillian Stephens                                  Clm No 177652    Filed In Cases: 607
246 Olive Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Vares, FL 32778
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Annie Stephenson                                  Clm No 177653    Filed In Cases: 607
176 Country Road 497                              Class                Claim Detail Amount         Final Allowed Amount
Cullman, AL 35055
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                            2552 of 3075

David Stepp                                          Clm No 177654    Filed In Cases: 607
49 Medalist Way                                      Class                Claim Detail Amount         Final Allowed Amount
Xenia, OH 45385
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Dale Sterling                                        Clm No 177655    Filed In Cases: 607
PO BOX 1182                                          Class                Claim Detail Amount         Final Allowed Amount
Valparaiso, IN 45385
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Lillian Stern                                        Clm No 177656    Filed In Cases: 607
c/o Lynnell Stern 68 Webb St.                        Class                Claim Detail Amount         Final Allowed Amount
Lexington, MA 02420
                                                     UNS                                $1.00

                                                                                        $1.00


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  Claims Details                                                                                         2553 of 3075

Genevieve Stevens                                 Clm No 177657    Filed In Cases: 607
341 Laurel Street                                 Class                Claim Detail Amount         Final Allowed Amount
East Haven, CT 06512
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Marjorie Stevens                                  Clm No 177658    Filed In Cases: 607
c/o Paul Cox, Esq.                                Class                Claim Detail Amount         Final Allowed Amount
225 Washington Street, POB 608
                                                  UNS                                $1.00
Dover, NH 03821-0608
                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Daniel Stevens                                    Clm No 177659    Filed In Cases: 607
5105 Darius Court                                 Class                Claim Detail Amount         Final Allowed Amount
Fort Wayne, IN 46806
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                             2554 of 3075

Janice Stevens                                        Clm No 177660    Filed In Cases: 607
383 South McMullen Booth Road                         Class                Claim Detail Amount         Final Allowed Amount
APT 65 Clearwater, FL 33759
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




c/o David Jagolinzer, Esq.                            Clm No 177661    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177662    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                          2555 of 3075

Leroy Stevens                                      Clm No 177663    Filed In Cases: 607
H.C. 75 Box 575                                    Class                Claim Detail Amount         Final Allowed Amount
Sandy Hook, KY 41171
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Donald Stewart                                     Clm No 177664    Filed In Cases: 607
3602 South Greeley Highway                         Class                Claim Detail Amount         Final Allowed Amount
Cheyenne, WY 82007
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Jacob Stickelmeyer                                 Clm No 177665    Filed In Cases: 607
107 Bank Street PO BOX 1227                        Class                Claim Detail Amount         Final Allowed Amount
Wallace, ID 83873-0000
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         2556 of 3075

Wallace Stickelmeyer                              Clm No 177666    Filed In Cases: 607
1503 North Feits                                  Class                Claim Detail Amount         Final Allowed Amount
Spokane, WA 99206-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Barabara Stidsen                                  Clm No 177667    Filed In Cases: 607
148 Grove Street                                  Class                Claim Detail Amount         Final Allowed Amount
Paxton, MA 01612
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Mary Stiffler                                     Clm No 177668    Filed In Cases: 607
15193 West Taylor Street                          Class                Claim Detail Amount         Final Allowed Amount
Goodyear, AZ 85338
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2557 of 3075

Lawrence Stifle                                   Clm No 177669    Filed In Cases: 607
662 West 700 North                                Class                Claim Detail Amount         Final Allowed Amount
Hobart, IN 46342
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Thomas Stiles                                     Clm No 177670    Filed In Cases: 607
c/o Lynn Stiles                                   Class                Claim Detail Amount         Final Allowed Amount
Beach Haven Way
                                                  UNS                                $1.00
Waretown, NJ 08758
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Nancy Stiles                                      Clm No 177671    Filed In Cases: 607
c/o Walter G. Stiles                              Class                Claim Detail Amount         Final Allowed Amount
59 Cliff Street
                                                  UNS                                $1.00
Tiverton, RI 02878
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         2558 of 3075

Lendon Stilley                                    Clm No 177672    Filed In Cases: 607
1808 8th Street Southeast                         Class                Claim Detail Amount         Final Allowed Amount
De Motte, IN 46310
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




William Stillwell                                 Clm No 177673    Filed In Cases: 607
3870 Acworth Due West Road                        Class                Claim Detail Amount         Final Allowed Amount
Acworth GA 30101
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Charles Stinnett                                  Clm No 177674    Filed In Cases: 607
2174 Vigo Street                                  Class                Claim Detail Amount         Final Allowed Amount
Lake Stineet, IN 46405
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                             2559 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177675    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Charles Stojakovich                                   Clm No 177676    Filed In Cases: 607
27 Indial Trail                                       Class                Claim Detail Amount         Final Allowed Amount
Merrillville, IN 46410-0000
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Mildred Stolz                                         Clm No 177677    Filed In Cases: 607
17950 South Virginia Street                           Class                Claim Detail Amount         Final Allowed Amount
Reno, NV 89521
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                             2560 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177678    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177679    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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Rose Stone                                            Clm No 177680    Filed In Cases: 607
2070 Foster Lane                                      Class                Claim Detail Amount         Final Allowed Amount
Mobile, AL 36605
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2561 of 3075

Betty Jean                                        Clm No 177681    Filed In Cases: 607
267 Raymond Road                                  Class                Claim Detail Amount         Final Allowed Amount
Pooler, GA 31322
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Robert Stonebraker                                Clm No 177682    Filed In Cases: 607
822 Lower Halls Mill Road                         Class                Claim Detail Amount         Final Allowed Amount
Shelbyville, TN 37160-6946
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Elizabeth Stordahl                                Clm No 177683    Filed In Cases: 607
13504 Fanshowe Road                               Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32246
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2562 of 3075

Francis Stotler                                   Clm No 177684    Filed In Cases: 607
52744 E. U.S. Highway 60 SP95                     Class                Claim Detail Amount         Final Allowed Amount
Miami, AZ 85539
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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Bill Stott                                        Clm No 177685    Filed In Cases: 607
5079 West Kingbird Street                         Class                Claim Detail Amount         Final Allowed Amount
Tucson, AZ 85742
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Charles Stout                                     Clm No 177686    Filed In Cases: 607
2005 Dawn Heights Drive                           Class                Claim Detail Amount         Final Allowed Amount
Lakeland, FL 33801-9366
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                             2563 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177687    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177688    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Brenda Stowe                                          Clm No 177689    Filed In Cases: 607
587 Canaan Road                                       Class                Claim Detail Amount         Final Allowed Amount
Fayette, AL 35555
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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  Claims Details                                                                                             2564 of 3075

Jacob Stoyakovich                                     Clm No 177690    Filed In Cases: 607
9005 Bryan Street                                     Class                Claim Detail Amount         Final Allowed Amount
Crown Point, IN 46307
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177691    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Mary Stram                                            Clm No 177692    Filed In Cases: 607
217 Glenwood Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Stratford, CT 06614
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                             2565 of 3075

Dwaine Strand                                         Clm No 177693    Filed In Cases: 607
10508 W. Shadow Rock Street                           Class                Claim Detail Amount         Final Allowed Amount
Boise, ID 83714-9572
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177694    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177695    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2566 of 3075

Dora Strickland                                       Clm No 177696    Filed In Cases: 607
200 Country Road 220                                  Class                Claim Detail Amount         Final Allowed Amount
Corinth, MS 38834
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177697    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




William Striffler                                     Clm No 177698    Filed In Cases: 607
6152 Isla Street                                      Class                Claim Detail Amount         Final Allowed Amount
West Melbourne, FL 32904
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2567 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177699    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




John Strobel                                          Clm No 177700    Filed In Cases: 607
5925 Kentucky Highway 144                             Class                Claim Detail Amount         Final Allowed Amount
Owensboro, KY 42303
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Fabian Strong                                         Clm No 177701    Filed In Cases: 607
W194S7810 Overlook Bay Road                           Class                Claim Detail Amount         Final Allowed Amount
Unit 9G, Muskego, WI 53150
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


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   Claim Face Value              $10,000.00




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  Claims Details                                                                                             2568 of 3075

Willie Strong                                         Clm No 177702    Filed In Cases: 607
16354 Ella Blvd APT 4102                              Class                Claim Detail Amount         Final Allowed Amount
Houston, TX 77090
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Larry Strother                                        Clm No 177703    Filed In Cases: 607
615 Slopes Drive                                      Class                Claim Detail Amount         Final Allowed Amount
Odenville, AL 35120
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177704    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2569 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177705    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Veronica Stroy                                        Clm No 177706    Filed In Cases: 607
6712 Gaspar Circle East                               Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32209
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Elizabeth Struble                                     Clm No 177707    Filed In Cases: 607
5703 Fieldstone TRL                                   Class                Claim Detail Amount         Final Allowed Amount
McHenry, IL 60050
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                             2570 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177708    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Jean Stuber                                           Clm No 177709    Filed In Cases: 607
373 New York Blvd                                     Class                Claim Detail Amount         Final Allowed Amount
Effort, PA 18330
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Jimmy Stuckman                                        Clm No 177710    Filed In Cases: 607
2851 Fir Road                                         Class                Claim Detail Amount         Final Allowed Amount
Bremen, IN 46506-0000
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                             2571 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177711    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Nancy Sturgill                                        Clm No 177712    Filed In Cases: 607
10941 N.W. 17th Court                                 Class                Claim Detail Amount         Final Allowed Amount
Pembroke Pines, FL 33026
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177713    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2572 of 3075

Charlie Suazo                                         Clm No 177714    Filed In Cases: 607
2618 South Decaur Street                              Class                Claim Detail Amount         Final Allowed Amount
Denver, CO 80219
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177715    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Donald Suggs                                          Clm No 177716    Filed In Cases: 607
22314 N.W. 22nd Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Newberry, FL 32669-3500
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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c/o David Jagolinzer, Esq.                            Clm No 177717    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Gail Dodge                                            Clm No 177718    Filed In Cases: 607
119 York Street                                       Class                Claim Detail Amount         Final Allowed Amount
York, ME 03909
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Muriel Sulivan                                        Clm No 177719    Filed In Cases: 607
24 Parkwood Drive                                     Class                Claim Detail Amount         Final Allowed Amount
Halifax, MA 02338
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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  Claims Details                                                                                             2574 of 3075

Donna Sullivan                                        Clm No 177720    Filed In Cases: 607
135 Granville Road                                    Class                Claim Detail Amount         Final Allowed Amount
Southwick, MA 01077
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Janice M. Sullivan                                    Clm No 177721    Filed In Cases: 607
84 Sibley Avenue Suite 3800                           Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177722    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2575 of 3075

Louise Sullivan                                       Clm No 177723    Filed In Cases: 607
218 Crossword Road                                    Class                Claim Detail Amount         Final Allowed Amount
Branfort, CT 06405
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177724    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Lou Sullivan                                          Clm No 177725    Filed In Cases: 607
907 36 Avenue                                         Class                Claim Detail Amount         Final Allowed Amount
Tuscaloosa, AL 35401
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2576 of 3075

Joan Sullivan                                         Clm No 177726    Filed In Cases: 607
101 Cedar Road                                        Class                Claim Detail Amount         Final Allowed Amount
Charlestown, RI 02813
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Diane Sullivan                                        Clm No 177727    Filed In Cases: 607
6533 South Point Drive                                Class                Claim Detail Amount         Final Allowed Amount
Boynton Beach, FL 33472
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177728    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2577 of 3075

Raymond Sullivan                                      Clm No 177729    Filed In Cases: 607
2243 Chukar Lane                                      Class                Claim Detail Amount         Final Allowed Amount
Clarkston, WA 99403
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177730    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Rita Summers                                          Clm No 177731    Filed In Cases: 607
146 Stamford Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Pittsboro, IN 46167
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2578 of 3075

Merrill Summers                                   Clm No 177732    Filed In Cases: 607
PO BOX 374 Rathdrum, ID                           Class                Claim Detail Amount         Final Allowed Amount
83858-0374
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Lewis Summers                                     Clm No 177733    Filed In Cases: 607
PO BOX 45 Mill Street                             Class                Claim Detail Amount         Final Allowed Amount
Tracy City, TN 37387-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Billy Sumner                                      Clm No 177734    Filed In Cases: 607
2145 Rayon Road                                   Class                Claim Detail Amount         Final Allowed Amount
Fernandina Beach, FL 32034
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                             2579 of 3075

Janice Sunderland                                     Clm No 177735    Filed In Cases: 607
110 Beach Plum Road                                   Class                Claim Detail Amount         Final Allowed Amount
Narragensett, RI 02882
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177736    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value              $10,000.00




Paul Surprenant                                       Clm No 177737    Filed In Cases: 607
257 S. Alma                                           Class                Claim Detail Amount         Final Allowed Amount
Kankakee, IL 60901
                                                      UNS                                $1.00

                                                                                         $1.00


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   Bar Date
   Claim Face Value                   $1.00




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Chester Hinckley                                      Clm No 177738    Filed In Cases: 607
124 Old North Road                                    Class                Claim Detail Amount         Final Allowed Amount
Gardiner, ME 04345
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




James Sutton                                          Clm No 177739    Filed In Cases: 607
8175 Meahl Cates Road                                 Class                Claim Detail Amount         Final Allowed Amount
Robards, KY 42452
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177740    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2581 of 3075

Joyce Martel                                      Clm No 177741    Filed In Cases: 607
1051 Mountain Crest Drive                         Class                Claim Detail Amount         Final Allowed Amount
Kings Mountain, NC 28086
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Margo Swan                                        Clm No 177742    Filed In Cases: 607
30 Heisz Street APT A                             Class                Claim Detail Amount         Final Allowed Amount
Edwardsville, PA 18704
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Paula Swann                                       Clm No 177743    Filed In Cases: 607
3352 White Road                                   Class                Claim Detail Amount         Final Allowed Amount
Dora, AL 35062
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                             2582 of 3075

Mildred Swanner                                       Clm No 177744    Filed In Cases: 607
406 N Cass Avenue                                     Class                Claim Detail Amount         Final Allowed Amount
Westmont, IL 60559
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Kenneth Swanson                                       Clm No 177745    Filed In Cases: 607
55 Opening Hill Road                                  Class                Claim Detail Amount         Final Allowed Amount
Madison, CT 06451
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177746    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                             2583 of 3075

Nicole Telfer                                         Clm No 177747    Filed In Cases: 607
121 Twilight Lane APT #2W                             Class                Claim Detail Amount         Final Allowed Amount
New Lenox, IL 60451
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Margaret Swartz                                       Clm No 177748    Filed In Cases: 607
725 North Lincoln Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Scranton, PA 18504
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177749    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                          2584 of 3075

Margaret Swatts                                    Clm No 177750    Filed In Cases: 607
670 Lee Road 672                                   Class                Claim Detail Amount         Final Allowed Amount
Auburn, AL 36830
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




David Swearingen                                   Clm No 177751    Filed In Cases: 607
2274 Creakview Drive                               Class                Claim Detail Amount         Final Allowed Amount
Abrams, WI 54101
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Ronda Patterson                                    Clm No 177752    Filed In Cases: 607
608 Baisden Road                                   Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32218-5456
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                           2585 of 3075

Dorothy Sweeney                                     Clm No 177753    Filed In Cases: 607
79 Chestnut Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Halifax, MA 02338
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




John Sweeney                                        Clm No 177754    Filed In Cases: 607
13070 Cross Creek Court #502                        Class                Claim Detail Amount         Final Allowed Amount
Ft. Myers, FL 33912
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Emily Sweeney                                       Clm No 177755    Filed In Cases: 607
47 Alger Place                                      Class                Claim Detail Amount         Final Allowed Amount
New London, CT 06320
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         2586 of 3075

Brenda Swesey                                     Clm No 177756    Filed In Cases: 607
4340 East Tennessee Lane                          Class                Claim Detail Amount         Final Allowed Amount
Hernando, FL 34442
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




John Swift                                        Clm No 177757    Filed In Cases: 607
11008 N. Landing Road                             Class                Claim Detail Amount         Final Allowed Amount
Monticello, IN 47960-8139
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Mary Swim                                         Clm No 177758    Filed In Cases: 607
1400 Lincoln Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Salem, OH 44460
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                             2587 of 3075

Betty Lee                                             Clm No 177759    Filed In Cases: 607
6 Aberdeen St.                                        Class                Claim Detail Amount         Final Allowed Amount
Fall River, MA 02721
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Barbara Swingel                                       Clm No 177760    Filed In Cases: 607
209 N Western Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Ladd, IL 61329
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177761    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                             2588 of 3075

William Swinyar                                       Clm No 177762    Filed In Cases: 607
5404 Mary Street                                      Class                Claim Detail Amount         Final Allowed Amount
Zephyrhills, FL 33542
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Elizabeth Switzer                                     Clm No 177763    Filed In Cases: 607
RR #1, Box 277                                        Class                Claim Detail Amount         Final Allowed Amount
Falls, PA 18615
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177764    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                             2589 of 3075

Dale Syvertson                                        Clm No 177765    Filed In Cases: 607
4816 Oakbrooke Place                                  Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32812
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177766    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




William Tabele                                        Clm No 177767    Filed In Cases: 607
2606 43rd Street West                                 Class                Claim Detail Amount         Final Allowed Amount
Bradenton, FL 34209
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                             2590 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177768    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




John Tackett                                          Clm No 177769    Filed In Cases: 607
5000 Blounts Ridge Road                               Class                Claim Detail Amount         Final Allowed Amount
Mims, FL 32754-4659
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Matthew Tague                                         Clm No 177770    Filed In Cases: 607
905 Short Street                                      Class                Claim Detail Amount         Final Allowed Amount
Loves Park, IL 61111
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2591 of 3075

LaVerne Talboom                                   Clm No 177771    Filed In Cases: 607
54769 Mayflower Road                              Class                Claim Detail Amount         Final Allowed Amount
South Bend, IN 46628
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Carl Talian                                       Clm No 177772    Filed In Cases: 607
524 North Wisconsin Street                        Class                Claim Detail Amount         Final Allowed Amount
Hobart, IN 46342
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Catherine Tallent                                 Clm No 177773    Filed In Cases: 607
1684 Mercer Avenue APT A                          Class                Claim Detail Amount         Final Allowed Amount
Atlanta, GA 30337
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         2592 of 3075

Marcel Tancrede                                   Clm No 177774    Filed In Cases: 607
20 Mandela Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Rochester, NH 03868
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Vivian Tanner                                     Clm No 177775    Filed In Cases: 607
7759 Carver Court                                 Class                Claim Detail Amount         Final Allowed Amount
Seminole, FL 33772
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Oland Tanner                                      Clm No 177776    Filed In Cases: 607
606 Pebble Creek Lane                             Class                Claim Detail Amount         Final Allowed Amount
Enterprise, AL 36330
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                             2593 of 3075

Theresa Gibson                                        Clm No 177777    Filed In Cases: 607
1055 19th Avenue North                                Class                Claim Detail Amount         Final Allowed Amount
St. Petersburg, FL 33704
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177778    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
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   Claim Face Value                   $1.00




Jack Tanner                                           Clm No 177779    Filed In Cases: 607
7241 Begonia Street                                   Class                Claim Detail Amount         Final Allowed Amount
Wewahitchka, FL 32465
                                                      UNS                                $1.00

                                                                                         $1.00


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  Claims Details                                                                                         2594 of 3075

Dennis Tapp                                       Clm No 177780    Filed In Cases: 607
2260 W 27th Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Eugene, OR 97405
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




James Tappan                                      Clm No 177781    Filed In Cases: 607
5512 Lakeside Drive                               Class                Claim Detail Amount         Final Allowed Amount
Lake Wales, FL 33853-8813
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Stasia Taricani                                   Clm No 177782    Filed In Cases: 607
40 Sterling Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Kensington, CT 06037
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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  Claims Details                                                                                             2595 of 3075

Carolyn Tarkowski                                     Clm No 177783    Filed In Cases: 607
1769 Arash Circle                                     Class                Claim Detail Amount         Final Allowed Amount
Port Orange, FL 32128-7332
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 177784    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Chrysanthe Tatakis                                    Clm No 177785    Filed In Cases: 607
1642 Hawthorne Place                                  Class                Claim Detail Amount         Final Allowed Amount
Wellington, FL 33414
                                                      UNS                                $1.00

                                                                                         $1.00


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   Claim Face Value                   $1.00




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  Claims Details                                                                                         2596 of 3075

Robert Tate                                       Clm No 177786    Filed In Cases: 607
5010 Groter Court                                 Class                Claim Detail Amount         Final Allowed Amount
Ruskin, FL 33570
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Gordon Tatro, Sr.                                 Clm No 177787    Filed In Cases: 607
178-A Falcon Drive                                Class                Claim Detail Amount         Final Allowed Amount
Westfield, MA 01085
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Konrad Tauber                                     Clm No 177788    Filed In Cases: 607
61 Morris Road                                    Class                Claim Detail Amount         Final Allowed Amount
Prospect, CT 06712
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                          2597 of 3075

c/o David Jagolinzer, Esq.                         Clm No 177789    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                $1.00




John Stewart                                       Clm No 177790    Filed In Cases: 607
Horace Bushnell Congregate Homes                   Class                Claim Detail Amount         Final Allowed Amount
51 Vine Street, Apt. 203
                                                   UNS                                $1.00
Hartford, CT 06112-2205
                                                                                      $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                $1.00




Raymond James                                      Clm No 177791    Filed In Cases: 607
Rural Route 4                                      Class                Claim Detail Amount         Final Allowed Amount
Attica, IN 47918
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2598 of 3075

James Kardoulias                                  Clm No 177792    Filed In Cases: 607
326 East 60th Court                               Class                Claim Detail Amount         Final Allowed Amount
Merrilville, IN 46410
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177793    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Sybil Taylor                                      Clm No 177794    Filed In Cases: 607
2744 Hard Labor Rd.Ct.                            Class                Claim Detail Amount         Final Allowed Amount
Chipley, FL 32428
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                             2599 of 3075

c/o David Jagolinzer, Esq.                            Clm No 177795    Filed In Cases: 607
600 Brickell Avenue Suite 3800                        Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33131
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Willie Harper                                         Clm No 177796    Filed In Cases: 607
215 Richard Williams Road                             Class                Claim Detail Amount         Final Allowed Amount
Baxley, GA 31513
                                                      UNS                                $1.00

                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Roy Taylor                                            Clm No 177797    Filed In Cases: 607
11345 NW 16th Street                                  Class                Claim Detail Amount         Final Allowed Amount
Pembroke Pines, FL 33026
                                                      UNS                          $10,000.00

                                                                                   $10,000.00


   Date Filed                    6-Oct-2015
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   Claim Face Value              $10,000.00




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  Claims Details                                                                                         2600 of 3075

Elbert Taylor                                     Clm No 177798    Filed In Cases: 607
7309 Stonehurst Rd North                          Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32211
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




James Taylor                                      Clm No 177799    Filed In Cases: 607
P.O. Box 503                                      Class                Claim Detail Amount         Final Allowed Amount
Sycamore, AL 35149-0503
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Glenda Taylor                                     Clm No 177800    Filed In Cases: 607
244 Deepwood Estates                              Class                Claim Detail Amount         Final Allowed Amount
Cadiz, KY 42211
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         2601 of 3075

c/o David Jagolinzer, Esq.                        Clm No 177801    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177802    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Annie Taylor                                      Clm No 177803    Filed In Cases: 607
1618 Marvin Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Port Saint Joe, FL 32456
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                           2602 of 3075

Sara Taylor                                         Clm No 177804    Filed In Cases: 607
508 Meadowoaks Drive                                Class                Claim Detail Amount         Final Allowed Amount
Dripping Springs, TX 78620
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




James Taylor                                        Clm No 177805    Filed In Cases: 607
782 Washington Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Orange Park, FL 32065-6656
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Kathryn Taylor                                      Clm No 177806    Filed In Cases: 607
C/O Amanda Dunden                                   Class                Claim Detail Amount         Final Allowed Amount
1747 8th St North
                                                    UNS                                $1.00
Jacksonville Beach, FL 32250
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         2603 of 3075

Orville Taylor                                    Clm No 177807    Filed In Cases: 607
2020 FM 2933                                      Class                Claim Detail Amount         Final Allowed Amount
McKinney, TX 75071-0339
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Teachey, Jr., Leon                                Clm No 177808    Filed In Cases: 607
3454 Wayne Memorial Drive                         Class                Claim Detail Amount         Final Allowed Amount
Goldsboro, NC 27534
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177809    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2604 of 3075

Caroline Tecco                                    Clm No 177810    Filed In Cases: 607
4765 Aston Gerdens Way                            Class                Claim Detail Amount         Final Allowed Amount
Apt 303
                                                  UNS                          $10,000.00
Naples, FL 34109
                                                                               $10,000.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Robert Teigen                                     Clm No 177811    Filed In Cases: 607
W24053 Miland Road                                Class                Claim Detail Amount         Final Allowed Amount
Eleva, WI 53092
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Libby Temkin                                      Clm No 177812    Filed In Cases: 607
1901 West Hidden Reserve Court                    Class                Claim Detail Amount         Final Allowed Amount
Milwaukee, WI 53092
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                         2605 of 3075

c/o David Jagolinzer, Esq.                        Clm No 177813    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Marilyn Terrell                                   Clm No 177814    Filed In Cases: 607
P.O. Box 1686                                     Class                Claim Detail Amount         Final Allowed Amount
Dunnellon, FL 34430
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177815    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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  Claims Details                                                                                         2606 of 3075

James Terrizzi                                    Clm No 177816    Filed In Cases: 607
2405 Homer Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Erie, PA 16506
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Natalie Terry                                     Clm No 177817    Filed In Cases: 607
4 Roberts Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Waterville, ME 04901
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177818    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2607 of 3075

Robert Tessitore                                  Clm No 177819    Filed In Cases: 607
71 Algonqui Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Wallingford, CT 06492
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177820    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177821    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2608 of 3075

Mieczyslawa Tesz                                  Clm No 177822    Filed In Cases: 607
53 Amidon Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Newington, CT 06111
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Dather Tewari                                     Clm No 177823    Filed In Cases: 607
460 Lake Kathryn Circle                           Class                Claim Detail Amount         Final Allowed Amount
Casselberry, FL 32707
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Lisette Thibaudeau                                Clm No 177824    Filed In Cases: 607
11769-3E Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
St George Beauc
                                                  UNS                                $1.00
Quebec G5Y1V
                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                         2609 of 3075

Terrill Thibert                                   Clm No 177825    Filed In Cases: 607
10638 W. Alabama Avenue                           Class                Claim Detail Amount         Final Allowed Amount
Sun City, AZ 85351-3506
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177826    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177827    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                           2610 of 3075

Deborah Thomas                                      Clm No 177828    Filed In Cases: 607
9787 Tranquility Lake Circle                        Class                Claim Detail Amount         Final Allowed Amount
Apt. 110
                                                    UNS                                $1.00
Riverview, FL 33612
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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Doris Thomas                                        Clm No 177829    Filed In Cases: 607
3807 Greenhurst Drive                               Class                Claim Detail Amount         Final Allowed Amount
Louisville, KY 40299-6509
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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William Thomas                                      Clm No 177830    Filed In Cases: 607
12360 State Road 62                                 Class                Claim Detail Amount         Final Allowed Amount
St. Croix, IN 47576
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                         2611 of 3075

Mary Thomas                                       Clm No 177831    Filed In Cases: 607
100 Hancock Lake Road                             Class                Claim Detail Amount         Final Allowed Amount
Dade City, FL 33525
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Rita Thomas                                       Clm No 177832    Filed In Cases: 607
4212 East 11th Place                              Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46403
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Betty Thomas                                      Clm No 177833    Filed In Cases: 607
1923 West 44th Street                             Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32209
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2612 of 3075

Jeremiah Thomas                                   Clm No 177834    Filed In Cases: 607
965 Bates St. S.E.                                Class                Claim Detail Amount         Final Allowed Amount
Grand Rapids, MI 49506
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Gayle Thomas                                      Clm No 177835    Filed In Cases: 607
P.O. Box 1388                                     Class                Claim Detail Amount         Final Allowed Amount
Marysville, WA 98270-1388
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




Hires, Donna                                      Clm No 177836    Filed In Cases: 607
1809 W Sitka Street                               Class                Claim Detail Amount         Final Allowed Amount
Tampa, FL 33604-2721
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                           2613 of 3075

Aundress Thomas                                     Clm No 177837    Filed In Cases: 607
2011 Seaman Road                                    Class                Claim Detail Amount         Final Allowed Amount
Tampa, FL 33612
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Deltrice Thomasson                                  Clm No 177838    Filed In Cases: 607
384 State Route 348 West                            Class                Claim Detail Amount         Final Allowed Amount
Symsonia, KY 42082
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Doris Thompson                                      Clm No 177839    Filed In Cases: 607
130 Summerville Estates Lane                        Class                Claim Detail Amount         Final Allowed Amount
Jasper, AL 35504
                                                    UNS                                $1.00

                                                                                       $1.00


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  Claims Details                                                                                         2614 of 3075

Thompson, Adeline                                 Clm No 177840    Filed In Cases: 607
20244 N. 101 Avenue                               Class                Claim Detail Amount         Final Allowed Amount
#2066
                                                  UNS                                $1.00
Peoria, AZ 85382
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Thompson, Robert                                  Clm No 177841    Filed In Cases: 607
P.O. Box 534                                      Class                Claim Detail Amount         Final Allowed Amount
Bowie, AZ 85605
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Esther Thompson                                   Clm No 177842    Filed In Cases: 607
PO Box 105                                        Class                Claim Detail Amount         Final Allowed Amount
Escatawpa, MS 39552
                                                  UNS                                $1.00

                                                                                     $1.00


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   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         2615 of 3075

Morocco, Marjorie                                 Clm No 177843    Filed In Cases: 607
980 Hudson Trail                                  Class                Claim Detail Amount         Final Allowed Amount
Lake Geneva, WI 53147
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177844    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177845    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2616 of 3075

Joan Thompson                                     Clm No 177846    Filed In Cases: 607
75 Beach Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Prospect, CT 06712
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177847    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Verna Thon                                        Clm No 177848    Filed In Cases: 607
342 Ashford Circle                                Class                Claim Detail Amount         Final Allowed Amount
Unit 4
                                                  UNS                          $10,000.00
Bartlett, IL 60103
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                           2617 of 3075

Thorn, Thyra                                        Clm No 177849    Filed In Cases: 607
P.O. Box 100                                        Class                Claim Detail Amount         Final Allowed Amount
Wray, CO 80758-0100
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Audrey Thorner                                      Clm No 177850    Filed In Cases: 607
Woodland Towers, Bldg. 1                            Class                Claim Detail Amount         Final Allowed Amount
113 Chapola Avenue, Unit 712
                                                    UNS                                $1.00
Deland, FL 32720
                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




Griffin, Delta                                      Clm No 177851    Filed In Cases: 607
3003 N. 12th Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Pensacola, FL 32503-4005
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
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   Claim Face Value                 $1.00




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  Claims Details                                                                                         2618 of 3075

William Thorp                                     Clm No 177852    Filed In Cases: 607
8 Lambert Parkway                                 Class                Claim Detail Amount         Final Allowed Amount
Norwich, CT 06360
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Lois Thorpe                                       Clm No 177853    Filed In Cases: 607
2616 Greenwald Street                             Class                Claim Detail Amount         Final Allowed Amount
Green Bay, WI 54301
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Harold Thrasher                                   Clm No 177854    Filed In Cases: 607
18967 SE 55th Place                               Class                Claim Detail Amount         Final Allowed Amount
Ocklawaha, FL32179
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         2619 of 3075

Russell Thuleen                                   Clm No 177855    Filed In Cases: 607
147 Crossbrook Drive                              Class                Claim Detail Amount         Final Allowed Amount
Chelsea, AL 35043-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Thurston, William                                 Clm No 177856    Filed In Cases: 607
7140 SE 171st Pond Lane                           Class                Claim Detail Amount         Final Allowed Amount
Lady Lake, FL 32162
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Calvin Tibbetts                                   Clm No 177857    Filed In Cases: 607
PO Box 7287                                       Class                Claim Detail Amount         Final Allowed Amount
Laconia, NH 03247
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2620 of 3075

Mary Tiberio                                      Clm No 177858    Filed In Cases: 607
11 Pinoak Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Ansonia, CT 06401
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Marie Tiberio                                     Clm No 177859    Filed In Cases: 607
660 Goose Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Guilford, CT 06437
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Elizabeth Whitcomb                                Clm No 177860    Filed In Cases: 607
8821 East Jayjay Drive                            Class                Claim Detail Amount         Final Allowed Amount
Palominas, AZ 85615
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2621 of 3075

c/o David Jagolinzer, Esq.                        Clm No 177861    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Carl Tiedmann                                     Clm No 177862    Filed In Cases: 607
3825 East Esther Street                           Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32812-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177863    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         2622 of 3075

Klein, Susan                                      Clm No 177864    Filed In Cases: 607
133 Westbrook Way                                 Class                Claim Detail Amount         Final Allowed Amount
Eugene, OR 97405
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Albritton, Beth                                   Clm No 177865    Filed In Cases: 607
636 Sacre Coeur Drive                             Class                Claim Detail Amount         Final Allowed Amount
Melbourne, FL 32935
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer, Esq.                        Clm No 177866    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         2623 of 3075

c/o David Jagolinzer, Esq.                        Clm No 177867    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Nancy Tillison                                    Clm No 177868    Filed In Cases: 607
956 Dove Welch Road                               Class                Claim Detail Amount         Final Allowed Amount
Wellington, AL 36279
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Caridad Tillman                                   Clm No 177869    Filed In Cases: 607
1080 SW Carl Wilson Road                          Class                Claim Detail Amount         Final Allowed Amount
Fort White, FL 32038-8868
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         2624 of 3075

c/o David Jagolinzer, Esq.                        Clm No 177870    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Betty Tillman                                     Clm No 177871    Filed In Cases: 607
1952 Tillman Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Pensacola, FL 32503
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177872    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         2625 of 3075

c/o David Jagolinzer, Esq.                        Clm No 177873    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Tinari, Phyllis                                   Clm No 177874    Filed In Cases: 607
580 Horizons                                      Class                Claim Detail Amount         Final Allowed Amount
Apt 108
                                                  UNS                                $1.00
Boyton Beach, FL 33435
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177875    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2626 of 3075

c/o David Jagolinzer, Esq.                        Clm No 177876    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




Tirck, Wendy                                      Clm No 177877    Filed In Cases: 607
6 George Road                                     Class                Claim Detail Amount         Final Allowed Amount
Peabody, MA 01960
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Josephine Tis                                     Clm No 177878    Filed In Cases: 607
19505 Quosada Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Apt. HH-205
                                                  UNS                                $1.00
Port Charlotte, FL 33948
                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         2627 of 3075

c/o David Jagolinzer, Esq.                        Clm No 177879    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




James Toigo                                       Clm No 177880    Filed In Cases: 607
258 Housatoaic Drive                              Class                Claim Detail Amount         Final Allowed Amount
Milford, CT 06460
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Toman, Marilee                                    Clm No 177881    Filed In Cases: 607
4645 North 159th Street                           Class                Claim Detail Amount         Final Allowed Amount
Brookfield, WI 53005
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         2628 of 3075

Tomei, Robert                                     Clm No 177882    Filed In Cases: 607
217 W. Shpard Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Hamden, CT 06514
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Patricia Tomkiewicz                               Clm No 177883    Filed In Cases: 607
24 Alban Road                                     Class                Claim Detail Amount         Final Allowed Amount
Enfield, CT 06082
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Anna Tomza                                        Clm No 177884    Filed In Cases: 607
426 Park Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Middletown, NJ 07748
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2629 of 3075

Tonn, Leroy                                       Clm No 177885    Filed In Cases: 607
322 Sout Eva Street                               Class                Claim Detail Amount         Final Allowed Amount
Port, WA 53074
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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Allan Tonnessen                                   Clm No 177886    Filed In Cases: 607
466 South Flat Hill Road                          Class                Claim Detail Amount         Final Allowed Amount
Southbury, CT 06488
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Jeanette Tooey                                    Clm No 177887    Filed In Cases: 607
914 A Dunbarton Drive                             Class                Claim Detail Amount         Final Allowed Amount
Lakewood, NJ 08701
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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  Claims Details                                                                                         2630 of 3075

c/o David Jagolinzer, Esq.                        Clm No 177888    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Maryanne Toomey                                   Clm No 177889    Filed In Cases: 607
76 Plymouth St.                                   Class                Claim Detail Amount         Final Allowed Amount
New Bedford, MA 02740
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Luigi Torchia                                     Clm No 177890    Filed In Cases: 607
148 Charter Road                                  Class                Claim Detail Amount         Final Allowed Amount
Wethersfield, CT 06109
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2631 of 3075

Mildred Torielli                                  Clm No 177891    Filed In Cases: 607
92 Great Plain Road                               Class                Claim Detail Amount         Final Allowed Amount
Danbury, CT 06811
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177892    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177893    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         2632 of 3075

Martha Torres                                     Clm No 177894    Filed In Cases: 607
6402 SW 150th Court                               Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33193
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177895    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Puala Torres                                      Clm No 177896    Filed In Cases: 607
57 E. 47th Street                                 Class                Claim Detail Amount         Final Allowed Amount
Hialeah, FL 33012
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




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  Claims Details                                                                                         2633 of 3075

c/o David Jagolinzer, Esq.                        Clm No 177897    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Francisco Torres                                  Clm No 177898    Filed In Cases: 607
1609 Justice Drive                                Class                Claim Detail Amount         Final Allowed Amount
Crown Point, IN 46307
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Donald Tortessi                                   Clm No 177899    Filed In Cases: 607
510 Brown Ave.                                    Class                Claim Detail Amount         Final Allowed Amount
Pueblo, CO 81004
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                            2634 of 3075

Alice Toth                                           Clm No 177900    Filed In Cases: 607
39 Plaza Drive                                       Class                Claim Detail Amount         Final Allowed Amount
Ormond Beach, FL 32176
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Albert Totin                                         Clm No 177901    Filed In Cases: 607
2755 Cheyenne Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Grand Junction, CO 81503
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Martin Towns                                         Clm No 177902    Filed In Cases: 607
PO Box 2273                                          Class                Claim Detail Amount         Final Allowed Amount
Silver Springs, FL 34489-2273
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




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  Claims Details                                                                                         2635 of 3075

c/o David Jagolinzer, Esq.                        Clm No 177903    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Joseph Tracy                                      Clm No 177904    Filed In Cases: 607
29 Barton Hill                                    Class                Claim Detail Amount         Final Allowed Amount
East Hampton, CT 06242
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Traill, Scott                                     Clm No 177905    Filed In Cases: 607
197 Province Road                                 Class                Claim Detail Amount         Final Allowed Amount
Barrington, NH 03825
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         2636 of 3075

Lois Trainor                                      Clm No 177906    Filed In Cases: 607
15537 Bowie Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Westfield, IN 46074
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Sardilli, Lorana                                  Clm No 177907    Filed In Cases: 607
10 Deerpark Road                                  Class                Claim Detail Amount         Final Allowed Amount
Bristol, CT 06010
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Frank Trevino                                     Clm No 177908    Filed In Cases: 607
917 Hawthorne Road                                Class                Claim Detail Amount         Final Allowed Amount
Anna, TX 75409
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         2637 of 3075

Rene Trevino                                      Clm No 177909    Filed In Cases: 607
1118 E Eaton Street                               Class                Claim Detail Amount         Final Allowed Amount
Hammond, IN 46320-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Praxedis Trevino                                  Clm No 177910    Filed In Cases: 607
1171 Sawgrass Drive                               Class                Claim Detail Amount         Final Allowed Amount
Griffith, IN 46319
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Mike Triebe                                       Clm No 177911    Filed In Cases: 607
236 Locust Lane                                   Class                Claim Detail Amount         Final Allowed Amount
New Lenox, IL 60451
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          2638 of 3075

Emma Trimble                                       Clm No 177912    Filed In Cases: 607
Trinity Towers                                     Class                Claim Detail Amount         Final Allowed Amount
218 East Trinity Place #406
                                                   UNS                                $1.00
Decatur, GA 30030
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Suzanne Trinchini                                  Clm No 177913    Filed In Cases: 607
P.O. Box 241                                       Class                Claim Detail Amount         Final Allowed Amount
Feeding Hill, MA 01030
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Evans, Gail                                        Clm No 177914    Filed In Cases: 607
54560 Bittersweet Road                             Class                Claim Detail Amount         Final Allowed Amount
Michawaka, IN 46545
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         2639 of 3075

Thomas Triscritti                                 Clm No 177915    Filed In Cases: 607
145 Platts Mill Road                              Class                Claim Detail Amount         Final Allowed Amount
Naugatuck, CT 06770
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177916    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Bennett, Joanne                                   Clm No 177917    Filed In Cases: 607
20 Debra Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Tewksburty, MA 01876
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                         2640 of 3075

Robert Trujillo                                   Clm No 177918    Filed In Cases: 607
1620 West 2nd Street                              Class                Claim Detail Amount         Final Allowed Amount
Lot # 3
                                                  UNS                                $1.00
Rock Springs, WY 82901
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177919    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177920    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2641 of 3075

Ann Trouve                                        Clm No 177921    Filed In Cases: 607
108 Massachusetts Street                          Class                Claim Detail Amount         Final Allowed Amount
Cranston, RI 02920
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Betty Trowsse                                     Clm No 177922    Filed In Cases: 607
C/O Debre Nevitt                                  Class                Claim Detail Amount         Final Allowed Amount
5801 63rd Avenue
                                                  UNS                                $1.00
Pinellas Park, FL 33781
                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Wanda Trumble                                     Clm No 177923    Filed In Cases: 607
110 W. Hughitt                                    Class                Claim Detail Amount         Final Allowed Amount
Iron Mountain, MI 49801
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         2642 of 3075

Johnny Tubbs                                      Clm No 177924    Filed In Cases: 607
2309 Hendricks Street                             Class                Claim Detail Amount         Final Allowed Amount
Gary,IN 46404
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Audrey Tube                                       Clm No 177925    Filed In Cases: 607
9 Piccolo Place                                   Class                Claim Detail Amount         Final Allowed Amount
Olmsted Township, OH 44138
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Samuel Tubolino                                   Clm No 177926    Filed In Cases: 607
P.O. Box 2005                                     Class                Claim Detail Amount         Final Allowed Amount
Inverness, FL 34451
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2643 of 3075

Tucker, Maria                                     Clm No 177927    Filed In Cases: 607
4744 Ward Basin Road                              Class                Claim Detail Amount         Final Allowed Amount
Milton, FL 32583
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Nancy Tully                                       Clm No 177928    Filed In Cases: 607
245 Knoll Dr                                      Class                Claim Detail Amount         Final Allowed Amount
Park Ridge, NJ 07656
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Larry Turley                                      Clm No 177929    Filed In Cases: 607
Rural Route #1                                    Class                Claim Detail Amount         Final Allowed Amount
Demossville, KY 41033
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         2644 of 3075

Mary Brady                                        Clm No 177930    Filed In Cases: 607
816 SW 158 Terrace                                Class                Claim Detail Amount         Final Allowed Amount
Sunrise, FL 33326
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Natalia Turner                                    Clm No 177931    Filed In Cases: 607
2625 Sweet Springs                                Class                Claim Detail Amount         Final Allowed Amount
Deltona, FL 32738
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Margaret Turner                                   Clm No 177932    Filed In Cases: 607
103 Ohio Street                                   Class                Claim Detail Amount         Final Allowed Amount
LaCrosse, IN 46348
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2645 of 3075

Roger Turner                                      Clm No 177933    Filed In Cases: 607
3185 Upshur Northern Road                         Class                Claim Detail Amount         Final Allowed Amount
Eaton, OH 45320
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Carol Turner                                      Clm No 177934    Filed In Cases: 607
P.O. Box 1505                                     Class                Claim Detail Amount         Final Allowed Amount
Yulee, FL 32041
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177935    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                          2646 of 3075

Shirley                                            Clm No 177936    Filed In Cases: 607
1028 Apollo Beach Blvd.                            Class                Claim Detail Amount         Final Allowed Amount
Apt #109
                                                   UNS                                $1.00
Apollo Beach, FL 33572
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Thomas Tuten                                       Clm No 177937    Filed In Cases: 607
2315 Forest Blvd.                                  Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32245-3407
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Jo Ann Tuttin                                      Clm No 177938    Filed In Cases: 607
501 Hallowell Circle                               Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32828-8641
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         2647 of 3075

Dale Twitchell                                    Clm No 177939    Filed In Cases: 607
1730 West Quinn, #243                             Class                Claim Detail Amount         Final Allowed Amount
Pocatello, ID 83202
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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Tyler, David                                      Clm No 177940    Filed In Cases: 607
15 Florida Street                                 Class                Claim Detail Amount         Final Allowed Amount
Lowell, MA 01852
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Melvin Tyrolt                                     Clm No 177941    Filed In Cases: 607
11036 Stadt Road                                  Class                Claim Detail Amount         Final Allowed Amount
Marshfield, WI 54449
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2648 of 3075

Umbenhen, Margaret                                Clm No 177942    Filed In Cases: 607
C/o Fred Zerbe                                    Class                Claim Detail Amount         Final Allowed Amount
95 Harris Avenue
                                                  UNS                                $1.00
Pine Grove, PA 17963
                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Underwood, Robert                                 Clm No 177943    Filed In Cases: 607
470 South Amhurst Place                           Class                Claim Detail Amount         Final Allowed Amount
Englewood, TN 37329-3144
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Ruth Uplinger                                     Clm No 177944    Filed In Cases: 607
23 Old St. Johns Lane                             Class                Claim Detail Amount         Final Allowed Amount
Drums, PA 18222
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




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  Claims Details                                                                                         2649 of 3075

Robert Urbanczyk                                  Clm No 177945    Filed In Cases: 607
9118 West 143rd Place                             Class                Claim Detail Amount         Final Allowed Amount
Cedar Lake, IN 46303
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Urbanek, Carol                                    Clm No 177946    Filed In Cases: 607
205 Boswell Circle                                Class                Claim Detail Amount         Final Allowed Amount
Apt F-3
                                                  UNS                                $1.00
Sparta, TN 38583
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Salvatore Urso                                    Clm No 177947    Filed In Cases: 607
3840 River Bluff Road                             Class                Claim Detail Amount         Final Allowed Amount
Union, KY 41091
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         2650 of 3075

Theresa Usle                                      Clm No 177948    Filed In Cases: 607
112 Maple Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Barre, VT 05641
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177949    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177950    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2651 of 3075

William Vaclavik                                  Clm No 177951    Filed In Cases: 607
1626 Brookview Ct                                 Class                Claim Detail Amount         Final Allowed Amount
Hobart, IN 46342
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Juanita Ann                                       Clm No 177952    Filed In Cases: 607
1904 Calhoun Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Panama City, FL 32405
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Geralinde Valante                                 Clm No 177953    Filed In Cases: 607
9432 Amidon Street                                Class                Claim Detail Amount         Final Allowed Amount
Spring Hill, FL 34608
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         2652 of 3075

Eunice Valdes                                     Clm No 177954    Filed In Cases: 607
13620 Lake Magdalene Court                        Class                Claim Detail Amount         Final Allowed Amount
Unit 103, Box 3
                                                  UNS                                $1.00
Tampa, FL 33618
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Maria Valencia                                    Clm No 177955    Filed In Cases: 607
5651 S.W. 130th Place                             Class                Claim Detail Amount         Final Allowed Amount
Miami, FL 33183
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer, Esq.                        Clm No 177956    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                          2653 of 3075

c/o David Jagolinzer, Esq.                         Clm No 177957    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Nancy Valentine                                    Clm No 177958    Filed In Cases: 607
5125 Cedar SpringDrive #104                        Class                Claim Detail Amount         Final Allowed Amount
Naples, FL 34110
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Fernando Valenzuela                                Clm No 177959    Filed In Cases: 607
1540 Forsythe Street #3                            Class                Claim Detail Amount         Final Allowed Amount
Beaumont, TX 77701
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2654 of 3075

Ernesto Valladolid                                 Clm No 177960    Filed In Cases: 607
4023 Main Street                                   Class                Claim Detail Amount         Final Allowed Amount
East Chicago, IN 46312-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Richard Valle                                      Clm No 177961    Filed In Cases: 607
1720 Merritt Park                                  Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32803
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Alfred Vallee                                      Clm No 177962    Filed In Cases: 607
2014 South Lone Street                             Class                Claim Detail Amount         Final Allowed Amount
Kennewick, WA 99337
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2655 of 3075

c/o David Jagolinzer, Esq.                        Clm No 177963    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Shirley Valukis                                   Clm No 177964    Filed In Cases: 607
7 Country Side Rd                                 Class                Claim Detail Amount         Final Allowed Amount
Bellingham, MA 02019
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Herman Van Buren                                  Clm No 177965    Filed In Cases: 607
580 Johnson Street                                Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46402-1717
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         2656 of 3075

Pieter Van De Merwe                               Clm No 177966    Filed In Cases: 607
Number 6 Rose Circle                              Class                Claim Detail Amount         Final Allowed Amount
Murray, UT 84107
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177967    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Delphine Van Lyssel                               Clm No 177968    Filed In Cases: 607
9239 Riverview Lane                               Class                Claim Detail Amount         Final Allowed Amount
Fremont, WI 54940
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                          2657 of 3075

Kathleen Van Meter                                 Clm No 177969    Filed In Cases: 607
4876 North Pink Poppy Drive                        Class                Claim Detail Amount         Final Allowed Amount
,FL 34465
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Sheila Van Riper                                   Clm No 177970    Filed In Cases: 607
747 N. Cloud Road                                  Class                Claim Detail Amount         Final Allowed Amount
Pearce, AZ 85625
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Livingston, Penny                                  Clm No 177971    Filed In Cases: 607
14872 W. Laughery Creek Road                       Class                Claim Detail Amount         Final Allowed Amount
Dillsboro, IN 47018
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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  Claims Details                                                                                         2658 of 3075

c/o David Jagolinzer, Esq.                        Clm No 177972    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Arthur Vancour                                    Clm No 177973    Filed In Cases: 607
96 Manor Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Portsmouth, NH 03801
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Clarence Vande Voort                              Clm No 177974    Filed In Cases: 607
5850 Rocky Road                                   Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32244
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                          2659 of 3075

Vanderbilt, Virginia                               Clm No 177975    Filed In Cases: 607
1927 Fieldcrest Court South                        Class                Claim Detail Amount         Final Allowed Amount
Salem, OR 97306
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value           $10,000.00




Madeleine Vandervort                               Clm No 177976    Filed In Cases: 607
5006 Shirley Circle                                Class                Claim Detail Amount         Final Allowed Amount
Zephyrhills, FL 33542-5335
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Viola Vanderzwalm                                  Clm No 177977    Filed In Cases: 607
983 BoxWood Court                                  Class                Claim Detail Amount         Final Allowed Amount
Mahwah, NJ 07430
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2660 of 3075

Cynthia Vandeusen                                 Clm No 177978    Filed In Cases: 607
223 Keith Avenue Extension                        Class                Claim Detail Amount         Final Allowed Amount
Brockton, MA 02301
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Donald Vandriessche                               Clm No 177979    Filed In Cases: 607
1519 Baylor Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Colorado Springs, CO 80909
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Arine Vanzant                                     Clm No 177980    Filed In Cases: 607
1441 West 17th Avenue                             Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46407
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                          2661 of 3075

Marie Vargo                                        Clm No 177981    Filed In Cases: 607
300 South Washington Avenue                        Class                Claim Detail Amount         Final Allowed Amount
Lot 155
                                                   UNS                                $1.00
Fort Meade, FL 33841-3158
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 177982    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 177983    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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  Claims Details                                                                                         2662 of 3075

c/o David Jagolinzer, Esq.                        Clm No 177984    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




James Vaughn                                      Clm No 177985    Filed In Cases: 607
601 College Street                                Class                Claim Detail Amount         Final Allowed Amount
Providence, KY 42450-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 177986    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                           2663 of 3075

Aleck Vavas                                         Clm No 177987    Filed In Cases: 607
3224 Kennedy Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Butte, MT 59701
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Robert Vavrik                                       Clm No 177988    Filed In Cases: 607
17233 School Street                                 Class                Claim Detail Amount         Final Allowed Amount
South Holland, IL 60473-0000
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




Francis Vayda                                       Clm No 177989    Filed In Cases: 607
1003 Elizabeth Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Lakeland, FL 33809
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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Vazquez, Oscar                                    Clm No 177990    Filed In Cases: 607
10011 Margeux Drive                               Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32825
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Lucy Vega                                         Clm No 177991    Filed In Cases: 607
C/O Victoria Noonan                               Class                Claim Detail Amount         Final Allowed Amount
2772 S. 68th Street
                                                  UNS                                $1.00
Milwaukee, WI 53215
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Glenda Vega                                       Clm No 177992    Filed In Cases: 607
476 Farmington Ave                                Class                Claim Detail Amount         Final Allowed Amount
Hartford, CT 06105
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




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  Claims Details                                                                                         2665 of 3075

Anthony Velardi                                   Clm No 177993    Filed In Cases: 607
700 Voluntown Road                                Class                Claim Detail Amount         Final Allowed Amount
Griswold, CT 06351
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Vernon Velasquez                                  Clm No 177994    Filed In Cases: 607
P.O. Box 415                                      Class                Claim Detail Amount         Final Allowed Amount
Glen Rock, WY 82637
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Kimball, Judy                                     Clm No 177995    Filed In Cases: 607
8820 Walther Blvd.                                Class                Claim Detail Amount         Final Allowed Amount
Apt 2405
                                                  UNS                                $1.00
Parkville, MD 21234
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         2666 of 3075

Vivian Venditti                                   Clm No 177996    Filed In Cases: 607
C/O Judith Bryant                                 Class                Claim Detail Amount         Final Allowed Amount
P.O. Box 337
                                                  UNS                                $1.00
Voluntown, CT 06384
                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Venezia, Robert                                   Clm No 177997    Filed In Cases: 607
P.O. Box 151671                                   Class                Claim Detail Amount         Final Allowed Amount
Cape Coral, FL 33915
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Ann Ventura                                       Clm No 177998    Filed In Cases: 607
44 Briarwood Drive                                Class                Claim Detail Amount         Final Allowed Amount
North Branford, CT 06471
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                           2667 of 3075

c/o David Jagolinzer, Esq.                          Clm No 177999    Filed In Cases: 607
600 Brickell Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                    UNS                          $10,000.00
Miami, FL 33131
                                                                                 $10,000.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value            $10,000.00




John Verbeek                                        Clm No 178000    Filed In Cases: 607
16319 South Park                                    Class                Claim Detail Amount         Final Allowed Amount
South Holland, IL 60473-0000
                                                    UNS                                $1.00

                                                                                       $1.00


   Date Filed                  6-Oct-2015
   Bar Date
   Claim Face Value                 $1.00




John Vereen                                         Clm No 178001    Filed In Cases: 607
1804 East 23rd Street                               Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32206
                                                    UNS                                $1.00

                                                                                       $1.00


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   Claim Face Value                 $1.00




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  Claims Details                                                                                         2668 of 3075

Gennaro Vergato                                   Clm No 178002    Filed In Cases: 607
25 Orpington Street                               Class                Claim Detail Amount         Final Allowed Amount
Hamden, CT 06514
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Shirley Vernarec                                  Clm No 178003    Filed In Cases: 607
19 B Elmwood Terrace                              Class                Claim Detail Amount         Final Allowed Amount
Elmwood Park, NJ 07407
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Alfredo Vernucci                                  Clm No 178004    Filed In Cases: 607
1892 High Ridge Road                              Class                Claim Detail Amount         Final Allowed Amount
Stamford, CT 06903
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         2669 of 3075

Jane Verona                                       Clm No 178005    Filed In Cases: 607
90 Hayden Station Road                            Class                Claim Detail Amount         Final Allowed Amount
Windsor, CT 06095
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Edward Verrier                                    Clm No 178006    Filed In Cases: 607
20 Haskull Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Clinton, MA 01510
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178007    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2670 of 3075

Kathryn Vey                                       Clm No 178008    Filed In Cases: 607
5 Parkwood Drive                                  Class                Claim Detail Amount         Final Allowed Amount
P.O. Box 3042
                                                  UNS                                $1.00
Wareham, MA 02571
                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Vicars, Sharon                                    Clm No 178009    Filed In Cases: 607
407 West 7th Street #309                          Class                Claim Detail Amount         Final Allowed Amount
San Pedro, CA
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Angela Vice                                       Clm No 178010    Filed In Cases: 607
520-A1 Shady Pine Way                             Class                Claim Detail Amount         Final Allowed Amount
Greenacres, FL 3341
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2671 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178011    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178012    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Janet Vickers                                     Clm No 178013    Filed In Cases: 607
28201 Black Gold Way                              Class                Claim Detail Amount         Final Allowed Amount
Tehachapi, CA 93561
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         2672 of 3075

Sula Vickers                                      Clm No 178014    Filed In Cases: 607
5210 Judgelogue Road                              Class                Claim Detail Amount         Final Allowed Amount
Newton, AL 36352
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178015    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Vilardebo, Robert                                 Clm No 178016    Filed In Cases: 607
27549 Baybrook Loop                               Class                Claim Detail Amount         Final Allowed Amount
Zephyrhills, FL 33543-8717
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2673 of 3075

Joe Vilatoro                                      Clm No 178017    Filed In Cases: 607
4955 Amy Road                                     Class                Claim Detail Amount         Final Allowed Amount
Palomino, NV 89510-9793
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Villagran, Steve                                  Clm No 178018    Filed In Cases: 607
2205 Shallowford Drive                            Class                Claim Detail Amount         Final Allowed Amount
Valparaiso, IN 46383
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




William Vincent                                   Clm No 178019    Filed In Cases: 607
1124 Chestnut Street                              Class                Claim Detail Amount         Final Allowed Amount
Nanticoke, PA 18634
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2674 of 3075

Nina Vincent                                      Clm No 178020    Filed In Cases: 607
140 Warren Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Anniston, AL 36201
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Bruce Vincent                                     Clm No 178021    Filed In Cases: 607
P.O. Box 551                                      Class                Claim Detail Amount         Final Allowed Amount
Berwick, ME 03701-0551
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Linda Vincent                                     Clm No 178022    Filed In Cases: 607
3239 Edenburg Drive                               Class                Claim Detail Amount         Final Allowed Amount
Hueytown, AL 35023
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                         2675 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178023    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




James Vincent                                     Clm No 178024    Filed In Cases: 607
Box 280                                           Class                Claim Detail Amount         Final Allowed Amount
Wartrace, TN 37183
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Robert Joseph Viner                               Clm No 178025    Filed In Cases: 607
620 Washington Drive                              Class                Claim Detail Amount         Final Allowed Amount
Shorewood, IL 60404
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2676 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178026    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178027    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




William Viola                                     Clm No 178028    Filed In Cases: 607
22 Cassella Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Wallingford, CT 06492
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2677 of 3075

Ray Virden                                        Clm No 178029    Filed In Cases: 607
R.R. #1 P.O. Box 7                                Class                Claim Detail Amount         Final Allowed Amount
Lathan, IL 62543
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Rose Virgo                                        Clm No 178030    Filed In Cases: 607
1420 Saint Marys Circle                           Class                Claim Detail Amount         Final Allowed Amount
Hobart, IN 46342
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Vitale, John                                      Clm No 178031    Filed In Cases: 607
316 Knight Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Orange, CT 06477
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2678 of 3075

John Vitale                                       Clm No 178032    Filed In Cases: 607
14 Carolyn Lane                                   Class                Claim Detail Amount         Final Allowed Amount
East Swanzey, NH 03446
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Joseph Vitelli                                    Clm No 178033    Filed In Cases: 607
135 Putnam Ave.                                   Class                Claim Detail Amount         Final Allowed Amount
Apt 847
                                                  UNS                                $1.00
Hamden, CT 06517
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Marcia Vitello                                    Clm No 178034    Filed In Cases: 607
16402 N 33rd Place                                Class                Claim Detail Amount         Final Allowed Amount
Phoenix, AZ 85032
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2679 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178035    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178036    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Volz, Wanda                                       Clm No 178037    Filed In Cases: 607
116 Resina Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Springfield, IL 62703
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2680 of 3075

Jonny Vonhusen                                    Clm No 178038    Filed In Cases: 607
25 Colonial Village                               Class                Claim Detail Amount         Final Allowed Amount
Somerworth, NE 03878
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178039    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Rose Vosgerchian                                  Clm No 178040    Filed In Cases: 607
57 Sprague St                                     Class                Claim Detail Amount         Final Allowed Amount
Brockton, MA 02402
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2681 of 3075

Frank Voyak                                       Clm No 178041    Filed In Cases: 607
12126 Clark St.                                   Class                Claim Detail Amount         Final Allowed Amount
Crown Point, IN 46307
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Walter Vukadinovich                               Clm No 178042    Filed In Cases: 607
9660 Northcote Avenue                             Class                Claim Detail Amount         Final Allowed Amount
St. John, IN 46373
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Robert Vusich                                     Clm No 178043    Filed In Cases: 607
2601 Logan Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Santa Maria, CA 93455
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         2682 of 3075

Wadsworth, Jesse                                  Clm No 178044    Filed In Cases: 607
P.O. Box 73                                       Class                Claim Detail Amount         Final Allowed Amount
Fort Hali, ID 83203
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178045    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178046    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         2683 of 3075

Wagner, Jerry                                     Clm No 178047    Filed In Cases: 607
5140 Burton Road                                  Class                Claim Detail Amount         Final Allowed Amount
West Point, IN 47992
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Mack Wagstaff                                     Clm No 178048    Filed In Cases: 607
975 South 300 East                                Class                Claim Detail Amount         Final Allowed Amount
Lehi, UT 84043
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178049    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2684 of 3075

Patricia Walczak                                  Clm No 178050    Filed In Cases: 607
9 Brow Hill Road                                  Class                Claim Detail Amount         Final Allowed Amount
Somers, CT 06071
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




William Waldie                                    Clm No 178051    Filed In Cases: 607
44 C River Road                                   Class                Claim Detail Amount         Final Allowed Amount
Cromwell, CT 06416
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Leo Waldon                                        Clm No 178052    Filed In Cases: 607
552 Peterson Place                                Class                Claim Detail Amount         Final Allowed Amount
Orlando, FL 32805
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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c/o David Jagolinzer, Esq.                        Clm No 178053    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Floyd Walker                                      Clm No 178054    Filed In Cases: 607
245 Natchez Trace Rd.                             Class                Claim Detail Amount         Final Allowed Amount
Methiston, MS 39572
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Henry Walker                                      Clm No 178055    Filed In Cases: 607
3520 Lake Oak Ridge Drive                         Class                Claim Detail Amount         Final Allowed Amount
Enterprise, AL 36330
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         2686 of 3075

Margaret Walker                                   Clm No 178056    Filed In Cases: 607
40 Cottage Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Southampton, MA 01073
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Jaqueline Walker                                  Clm No 178057    Filed In Cases: 607
624 10th Street                                   Class                Claim Detail Amount         Final Allowed Amount
Birmingham, AL 35204
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178058    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         2687 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178059    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178060    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




Curtis Walker                                     Clm No 178061    Filed In Cases: 607
1098 Spring Hill Road                             Class                Claim Detail Amount         Final Allowed Amount
Wesson, MS 39191
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          2688 of 3075

Thomas Walker                                      Clm No 178062    Filed In Cases: 607
11500 North Dale Mabry Hwy.                        Class                Claim Detail Amount         Final Allowed Amount
Apt 602
                                                   UNS                                $1.00
Tampa, FL 33618
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Wallace Walker                                     Clm No 178063    Filed In Cases: 607
1705 N. Road 36                                    Class                Claim Detail Amount         Final Allowed Amount
Pasco, WA 99301
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Wallace Walker                                     Clm No 178064    Filed In Cases: 607
412 W. Cramer Street                               Class                Claim Detail Amount         Final Allowed Amount
Fort Atkinson, WI 53538
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         2689 of 3075

Jimmie Walker                                     Clm No 178065    Filed In Cases: 607
767 Walker Road                                   Class                Claim Detail Amount         Final Allowed Amount
Apt. C
                                                  UNS                                $1.00
Jackson, TN 38305-3675
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Jill Walker                                       Clm No 178066    Filed In Cases: 607
P.O. Box 1063                                     Class                Claim Detail Amount         Final Allowed Amount
Woodville, FL 32362
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Cobb, Bobbie                                      Clm No 178067    Filed In Cases: 607
c/o Terrie Kirk                                   Class                Claim Detail Amount         Final Allowed Amount
7601 Cottonridge Road
                                                  UNS                                $1.00
Trussville, AL 35173
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         2690 of 3075

James Wallace                                     Clm No 178068    Filed In Cases: 607
193505 E. 247 PR. SE                              Class                Claim Detail Amount         Final Allowed Amount
Kennewick, WA 99337-6342
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178069    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Sally Waller                                      Clm No 178070    Filed In Cases: 607
3988 Wod Duck Trail                               Class                Claim Detail Amount         Final Allowed Amount
Chipley, FL 32428
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         2691 of 3075

Darrell Waller                                    Clm No 178071    Filed In Cases: 607
3304 Kentucky St.                                 Class                Claim Detail Amount         Final Allowed Amount
Titusville, FL 32796-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178072    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178073    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                          2692 of 3075

Glenna Walsh                                       Clm No 178074    Filed In Cases: 607
400 North Surf Road #903                           Class                Claim Detail Amount         Final Allowed Amount
Hollywood, FL 33019
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 178075    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Fay Walsh                                          Clm No 178076    Filed In Cases: 607
C/o Vincent A. Wenners, Jr.                        Class                Claim Detail Amount         Final Allowed Amount
27 Bay Street
                                                   UNS                                $1.00
Manchester, NH 03104
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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c/o David Jagolinzer, Esq.                        Clm No 178077    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178078    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Terry Ward                                        Clm No 178079    Filed In Cases: 607
67 Ross Road                                      Class                Claim Detail Amount         Final Allowed Amount
Preston, CT 063665
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         2694 of 3075

Gerald Ward                                       Clm No 178080    Filed In Cases: 607
114 Okatee Drive                                  Class                Claim Detail Amount         Final Allowed Amount
Savannah, GA 31410
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Robert Ward                                       Clm No 178081    Filed In Cases: 607
1902 East 73rd                                    Class                Claim Detail Amount         Final Allowed Amount
Merrillville, IN 46410
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Thomas Wardanski                                  Clm No 178082    Filed In Cases: 607
4163 Cumberland Road                              Class                Claim Detail Amount         Final Allowed Amount
Erie, PA 16510
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2695 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178083    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178084    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178085    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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  Claims Details                                                                                         2696 of 3075

Shirley Wasenda                                   Clm No 178086    Filed In Cases: 607
2189 Main Road                                    Class                Claim Detail Amount         Final Allowed Amount
Hunlock Creek, PA 18621
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Charles Washburn                                  Clm No 178087    Filed In Cases: 607
c/o Pamela Zemke                                  Class                Claim Detail Amount         Final Allowed Amount
12075 SW 9th Street
                                                  UNS                                $1.00
Beaverton, OR 97005
                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Walter Washington                                 Clm No 178088    Filed In Cases: 607
21 Norton Street                                  Class                Claim Detail Amount         Final Allowed Amount
West Savannah, GA 31404
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2697 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178089    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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c/o David Jagolinzer, Esq.                        Clm No 178090    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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Mildred Waters                                    Clm No 178091    Filed In Cases: 607
7520 County Road 1                                Class                Claim Detail Amount         Final Allowed Amount
Daleville, AL 36322
                                                  UNS                                $1.00

                                                                                     $1.00


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Charlie Waters                                    Clm No 178092    Filed In Cases: 607
1245 Low Ground Road                              Class                Claim Detail Amount         Final Allowed Amount
Guyton, GA 31312-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178093    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Helen Watkins                                     Clm No 178094    Filed In Cases: 607
352 Blissfield Drive                              Class                Claim Detail Amount         Final Allowed Amount
Wilowick, OH 44095
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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   Garlock Sealing Technologies LLC, et al.

  Claims Details                                                                                         2699 of 3075

Alvin Watkins                                     Clm No 178095    Filed In Cases: 607
6512 Old Salem Road                               Class                Claim Detail Amount         Final Allowed Amount
Springfield, IL 62711
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178096    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Thomas Watson                                     Clm No 178097    Filed In Cases: 607
180 2nd Street                                    Class                Claim Detail Amount         Final Allowed Amount
Russelville, AL 35653
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2700 of 3075

Alcious Watson                                    Clm No 178098    Filed In Cases: 607
30 Burlington Street                              Class                Claim Detail Amount         Final Allowed Amount
Hartford, CT 06112
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178099    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Ellen Watson                                      Clm No 178100    Filed In Cases: 607
3944 E. White Oak Road                            Class                Claim Detail Amount         Final Allowed Amount
Appling, GA 30802
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2701 of 3075

Douglas Watson                                    Clm No 178101    Filed In Cases: 607
4590 Highway 79                                   Class                Claim Detail Amount         Final Allowed Amount
Cordova, AL 35550-5638
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Lottie Watson                                     Clm No 178102    Filed In Cases: 607
851 30th Avenue West                              Class                Claim Detail Amount         Final Allowed Amount
Palmetto, FL 34221
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




David Watson                                      Clm No 178103    Filed In Cases: 607
1369 Dublin                                       Class                Claim Detail Amount         Final Allowed Amount
Pueblo, CO 81006
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                            2702 of 3075

c/o David Jagolinzer, Esq.                           Clm No 178104    Filed In Cases: 607
600 Brickell Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                     UNS                                $1.00
Miami, FL 33131
                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Wesley Watts                                         Clm No 178105    Filed In Cases: 607
P.O. Box 711834                                      Class                Claim Detail Amount         Final Allowed Amount
Salt Lake City, UT 84171-1834
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
   Bar Date
   Claim Face Value                  $1.00




Larry Wearin                                         Clm No 178106    Filed In Cases: 607
92 Clear Creek Road                                  Class                Claim Detail Amount         Final Allowed Amount
Boise, ID 83716
                                                     UNS                                $1.00

                                                                                        $1.00


   Date Filed                   6-Oct-2015
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   Claim Face Value                  $1.00




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  Claims Details                                                                                         2703 of 3075

Walter Weaver                                     Clm No 178107    Filed In Cases: 607
337 3rd Avenue West                               Class                Claim Detail Amount         Final Allowed Amount
Kalispell, MT 59901-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178108    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178109    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2704 of 3075

Eva Webb                                          Clm No 178110    Filed In Cases: 607
5873 NW 62nd Place                                Class                Claim Detail Amount         Final Allowed Amount
P.O. Box 770323
                                                  UNS                                $1.00
Ocala, FL 34477
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Webb, Jr., James                                  Clm No 178111    Filed In Cases: 607
3522 Maywood Lane, #4                             Class                Claim Detail Amount         Final Allowed Amount
Suiteland, MD 20746
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Joe Webb                                          Clm No 178112    Filed In Cases: 607
1844 Bunker Hill Drive                            Class                Claim Detail Amount         Final Allowed Amount
Irving, TX 75061
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2705 of 3075

Carolyn Weber                                     Clm No 178113    Filed In Cases: 607
1612 Oasis Court #B                               Class                Claim Detail Amount         Final Allowed Amount
Great Falls, MT 59405
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Terry Weber                                       Clm No 178114    Filed In Cases: 607
45707 Davison Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Kenai, AK 99611
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Dorothy Weber                                     Clm No 178115    Filed In Cases: 607
6559 Sandy Acre Drive                             Class                Claim Detail Amount         Final Allowed Amount
West Bend, WI 53090-2832
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2706 of 3075

Eulalia Weddle                                    Clm No 178116    Filed In Cases: 607
P.O. Box 27                                       Class                Claim Detail Amount         Final Allowed Amount
Geneva, FL 32732
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Barbara Weesies                                   Clm No 178117    Filed In Cases: 607
1017 Pennoyer Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Grand Haven, MI 49417
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Roberta Weigert                                   Clm No 178118    Filed In Cases: 607
19 Arthur Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Unit 5
                                                  UNS                                $1.00
South Windsor, CT 06074
                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                          2707 of 3075

c/o David Jagolinzer, Esq.                         Clm No 178119    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Donald Weigum                                      Clm No 178120    Filed In Cases: 607
5406 N. Oakland Road                               Class                Claim Detail Amount         Final Allowed Amount
Otis Orchids, WA 99027-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Marvin Weik                                        Clm No 178121    Filed In Cases: 607
1305 Lowell Avenue                                 Class                Claim Detail Amount         Final Allowed Amount
Rock Springs, WY 82901
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2708 of 3075

Gladys, Weiland Sr.                               Clm No 178122    Filed In Cases: 607
38 Cherrywood Court                               Class                Claim Detail Amount         Final Allowed Amount
Jefferson, GA 30549
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178123    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer, Esq.                        Clm No 178124    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2709 of 3075

Sally Welch                                       Clm No 178125    Filed In Cases: 607
162 Elgin Ave                                     Class                Claim Detail Amount         Final Allowed Amount
Manchester, NH 03104
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178126    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Lloydell Welford                                  Clm No 178127    Filed In Cases: 607
4427 W 10th Ave                                   Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46404
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2710 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178128    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178129    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Jon Welke                                         Clm No 178130    Filed In Cases: 607
11232 40th Ave                                    Class                Claim Detail Amount         Final Allowed Amount
Chippewa Falls, WI 54729
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2711 of 3075

Elmer Wellington                                  Clm No 178131    Filed In Cases: 607
C.R.B. P.O. Box 8487                              Class                Claim Detail Amount         Final Allowed Amount
Tuscon, AZ 85738
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Christine Wells                                   Clm No 178132    Filed In Cases: 607
1014 Revilla Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Rockledge, FL 32955
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Albert Wells                                      Clm No 178133    Filed In Cases: 607
385 Hills Street                                  Class                Claim Detail Amount         Final Allowed Amount
East Hartford, CT 06118
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2712 of 3075

Ruby Wells                                        Clm No 178134    Filed In Cases: 607
4611 Charter St.                                  Class                Claim Detail Amount         Final Allowed Amount
Zephrhills, FL 33542
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178135    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Rudy Welsek                                       Clm No 178136    Filed In Cases: 607
18562 W. Woodland Terrace                         Class                Claim Detail Amount         Final Allowed Amount
Grandwood Park, IL 60031
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         2713 of 3075

Donna Welsh                                       Clm No 178137    Filed In Cases: 607
1740 Morin Street                                 Class                Claim Detail Amount         Final Allowed Amount
Eustis, FL 32726-6127
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Leland Welsh                                      Clm No 178138    Filed In Cases: 607
23108 Barbara Street                              Class                Claim Detail Amount         Final Allowed Amount
Chugiak, AK 99567-5659
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Nelida Weltzien                                   Clm No 178139    Filed In Cases: 607
10401 SW 50th Street                              Class                Claim Detail Amount         Final Allowed Amount
Cooper City, FL 3328
                                                  UNS                          $10,000.00

                                                                               $10,000.00


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  Claims Details                                                                                         2714 of 3075

Wendel, Christopher                               Clm No 178140    Filed In Cases: 607
14 Karen Rd                                       Class                Claim Detail Amount         Final Allowed Amount
Woburn, MA 18101
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178141    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Geraldine Wermann                                 Clm No 178142    Filed In Cases: 607
456 Long Hill Road                                Class                Claim Detail Amount         Final Allowed Amount
Guilford, CT 06437
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         2715 of 3075

Jack Werner                                       Clm No 178143    Filed In Cases: 607
W228 N255 Allen Lane                              Class                Claim Detail Amount         Final Allowed Amount
Waukesha, WI 53186
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178144    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Louis Wessel                                      Clm No 178145    Filed In Cases: 607
16001 E. Troon Circle                             Class                Claim Detail Amount         Final Allowed Amount
Miami Lakes, FL 33014
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         2716 of 3075

Sadie Mae West                                    Clm No 178146    Filed In Cases: 607
2100 29th Ave.                                    Class                Claim Detail Amount         Final Allowed Amount
Hueytown, AL 35023
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178147    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Hull, Stacy                                       Clm No 178148    Filed In Cases: 607
8607 Hipps Road                                   Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32244
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2717 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178149    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Charles Westerhold                                Clm No 178150    Filed In Cases: 607
304 Porrillo                                      Class                Claim Detail Amount         Final Allowed Amount
Los Alamos, NM 87544
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Maria Westgate                                    Clm No 178151    Filed In Cases: 607
407 Greenleaf Ave.                                Class                Claim Detail Amount         Final Allowed Amount
Portsmouth, NH 03801
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2718 of 3075

Kent Westle                                       Clm No 178152    Filed In Cases: 607
1394 Firethorn Drive                              Class                Claim Detail Amount         Final Allowed Amount
Riffle, CO 81650
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Ruth Westman                                      Clm No 178153    Filed In Cases: 607
PO Box 512                                        Class                Claim Detail Amount         Final Allowed Amount
Caanan, ME 04924
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Douglas Weston                                    Clm No 178154    Filed In Cases: 607
350 Peters Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Stratford, CT 06614
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         2719 of 3075

Debra Westrick                                    Clm No 178155    Filed In Cases: 607
18 Brustle Road                                   Class                Claim Detail Amount         Final Allowed Amount
Nottingham, NH 03290
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178156    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




David Wetzel                                      Clm No 178157    Filed In Cases: 607
W 220 N 8258 Townline Road                        Class                Claim Detail Amount         Final Allowed Amount
Menomonee Falls, WI 53051
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                          2720 of 3075

Deceased Edith                                     Clm No 178158    Filed In Cases: 607
Sjoberg & Votta Law Offices                        Class                Claim Detail Amount         Final Allowed Amount
200 Centerville Road
                                                   UNS                                $1.00
Warwick, RI 02886
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Norma Weyant                                       Clm No 178159    Filed In Cases: 607
230 S.E. 3rd Terrace                               Class                Claim Detail Amount         Final Allowed Amount
Dania Beach, FL 33004
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Donna Johnson                                      Clm No 178160    Filed In Cases: 607
20667 N Lemon Drop Drive                           Class                Claim Detail Amount         Final Allowed Amount
Maricopa, AZ 85138-3149
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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  Claims Details                                                                                         2721 of 3075

Lillian Whaley                                    Clm No 178161    Filed In Cases: 607
10220 New Forest Court                            Class                Claim Detail Amount         Final Allowed Amount
Ellicott City, MD 21042
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Frank Wheeler                                     Clm No 178162    Filed In Cases: 607
551 Hills Street                                  Class                Claim Detail Amount         Final Allowed Amount
East Hartford, CT 06118
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Wheeler, Glenna                                   Clm No 178163    Filed In Cases: 607
425 7th Street                                    Class                Claim Detail Amount         Final Allowed Amount
Ferney, NV89408-8532
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         2722 of 3075

Gerald Wheeler                                    Clm No 178164    Filed In Cases: 607
361 N. Couty Line Road.                           Class                Claim Detail Amount         Final Allowed Amount
Hobart, IN 46342
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




William Wheeler                                   Clm No 178165    Filed In Cases: 607
233 North 600 East                                Class                Claim Detail Amount         Final Allowed Amount
Price, UT 84501
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Wheeles-Calhoun, Vernie                           Clm No 178166    Filed In Cases: 607
22921 Sterling Manor Loop                         Class                Claim Detail Amount         Final Allowed Amount
Lutz, FL 33549-4146
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed               6-Oct-2015
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  Claims Details                                                                                          2723 of 3075

Charles Whelan                                     Clm No 178167    Filed In Cases: 607
2900 E Cleveland Ave.                              Class                Claim Detail Amount         Final Allowed Amount
Hobart, IN 46342
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Neal Whelchel                                      Clm No 178168    Filed In Cases: 607
7110 East 276th Street                             Class                Claim Detail Amount         Final Allowed Amount
Atlanta, IN 46031
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Bersani, Co-Executor, Nancy                        Clm No 178169    Filed In Cases: 607
11 Brook Road                                      Class                Claim Detail Amount         Final Allowed Amount
Milton, MA 02186
                                                   UNS                          $10,000.00

                                                                                $10,000.00


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  Claims Details                                                                                          2724 of 3075

Betty Wherley                                      Clm No 178170    Filed In Cases: 607
800 16th Avenue SE Apartment 74                    Class                Claim Detail Amount         Final Allowed Amount
Minot, ND 58701
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                $1.00




Roy Whidden                                        Clm No 178171    Filed In Cases: 607
6038 Beechwood Drive                               Class                Claim Detail Amount         Final Allowed Amount
Ridge Manor, FL 33523
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                $1.00




Roy Whidden                                        Clm No 178172    Filed In Cases: 607
P.O. Box 1342                                      Class                Claim Detail Amount         Final Allowed Amount
Thomasville, GA 31799-0000
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         2725 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178173    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Florence White                                    Clm No 178174    Filed In Cases: 607
37 Westwood Drive                                 Class                Claim Detail Amount         Final Allowed Amount
Westfield, MA 01085
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




James White                                       Clm No 178175    Filed In Cases: 607
42 Street                                         Class                Claim Detail Amount         Final Allowed Amount
Quincy, MA 02169
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         2726 of 3075

Imogen White                                      Clm No 178176    Filed In Cases: 607
3500 Camp Street NE                               Class                Claim Detail Amount         Final Allowed Amount
Tuscaloosa, AL 35404
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Burl White                                        Clm No 178177    Filed In Cases: 607
425 Leavitt Street                                Class                Claim Detail Amount         Final Allowed Amount
Brazil, IN 47834-1957
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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Eleanor White                                     Clm No 178178    Filed In Cases: 607
331 Drake Hill Road                               Class                Claim Detail Amount         Final Allowed Amount
Strafford, NH 03884-6813
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         2727 of 3075

Cathleen White                                    Clm No 178179    Filed In Cases: 607
P.O. Box 291                                      Class                Claim Detail Amount         Final Allowed Amount
Wrentham, MA 02093
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178180    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178181    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         2728 of 3075

Richard White                                     Clm No 178182    Filed In Cases: 607
P.O. Box 13                                       Class                Claim Detail Amount         Final Allowed Amount
Healy, AK 99743
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Gail White                                        Clm No 178183    Filed In Cases: 607
26252 Queen Mary Lane                             Class                Claim Detail Amount         Final Allowed Amount
Bonita Springs, FL 34135
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178184    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         2729 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178185    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Alberta White                                     Clm No 178186    Filed In Cases: 607
713 Tennessee Street                              Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46402
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Robert White                                      Clm No 178187    Filed In Cases: 607
1061 Macco Road                                   Class                Claim Detail Amount         Final Allowed Amount
Cocoa, FL 32927
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         2730 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178188    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Sandra Whitehead                                  Clm No 178189    Filed In Cases: 607
610 Gabardine Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Portage, MI 49002
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Patricia Whitfield                                Clm No 178190    Filed In Cases: 607
211 East Lake View Drive                          Class                Claim Detail Amount         Final Allowed Amount
Wewahitchka, FL 32465
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2731 of 3075

Kathryn Whitford                                  Clm No 178191    Filed In Cases: 607
49 Cheney Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Newington, CT 06111
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Malicki, Sylvia                                   Clm No 178192    Filed In Cases: 607
7510 Farmingdale Drive                            Class                Claim Detail Amount         Final Allowed Amount
Darien, IL 60561
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Lola Whitley                                      Clm No 178193    Filed In Cases: 607
277 College Road                                  Class                Claim Detail Amount         Final Allowed Amount
Fyffe, AL 35971
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                          2732 of 3075

c/o David Jagolinzer, Esq.                         Clm No 178194    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Odis Whitman                                       Clm No 178195    Filed In Cases: 607
70 Lee Road #921                                   Class                Claim Detail Amount         Final Allowed Amount
Phenix City, AL 36870
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Joan Whitney                                       Clm No 178196    Filed In Cases: 607
7 Woodham Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Fort Walton Beach, FL 32547
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                         2733 of 3075

Janic Madden-Whitney                              Clm No 178197    Filed In Cases: 607
14120 N. Green River Road                         Class                Claim Detail Amount         Final Allowed Amount
Evansville, IN 47725
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Reese Whitworth                                   Clm No 178198    Filed In Cases: 607
19471 McCloy Cir.                                 Class                Claim Detail Amount         Final Allowed Amount
Brooksville, FL 34601
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Lorraine Wickett                                  Clm No 178199    Filed In Cases: 607
4850 NE 147 Court                                 Class                Claim Detail Amount         Final Allowed Amount
Williston, FL 32696
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         2734 of 3075

John Wickham                                      Clm No 178200    Filed In Cases: 607
300 Wai Nani Way #111                             Class                Claim Detail Amount         Final Allowed Amount
Honolulu, HI 96815
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Ronadl Wickson                                    Clm No 178201    Filed In Cases: 607
5 Sunset Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Chester, CT 06412
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Norman Wiedermann                                 Clm No 178202    Filed In Cases: 607
2406 Harper Street                                Class                Claim Detail Amount         Final Allowed Amount
Santa Cruz, CA 95062-3171
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         2735 of 3075

Maria Wieland                                     Clm No 178203    Filed In Cases: 607
229 Chilmark Ridge Drive                          Class                Claim Detail Amount         Final Allowed Amount
Holly Springs, NC 27540
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




James Wierbinksi                                  Clm No 178204    Filed In Cases: 607
319 Sanford Place                                 Class                Claim Detail Amount         Final Allowed Amount
Erie, PA 16511-1057
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Marcia Wieringa                                   Clm No 178205    Filed In Cases: 607
138 Forest Lawn Drive                             Class                Claim Detail Amount         Final Allowed Amount
Cadillac, MI 49601
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         2736 of 3075

Thomas Wiest                                      Clm No 178206    Filed In Cases: 607
1550 West 36th Street                             Class                Claim Detail Amount         Final Allowed Amount
Erie, PA 16508
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Kathy Wiggins                                     Clm No 178207    Filed In Cases: 607
20 Estates Road                                   Class                Claim Detail Amount         Final Allowed Amount
Middleton, NH 03887
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Corine Wiginton                                   Clm No 178208    Filed In Cases: 607
1341 South County Road 19                         Class                Claim Detail Amount         Final Allowed Amount
Samson, AL 36477
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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   Claim Face Value              $1.00




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  Claims Details                                                                                         2737 of 3075

Annie Wilcox                                      Clm No 178209    Filed In Cases: 607
2870 Lantana Lake                                 Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32246
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178210    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Kenneth Wilholt                                   Clm No 178211    Filed In Cases: 607
12050 9 Mile Road                                 Class                Claim Detail Amount         Final Allowed Amount
Shelbyville, MI 49344
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2738 of 3075

Bobby Wilkerson                                   Clm No 178212    Filed In Cases: 607
5018 Whitehouse Road                              Class                Claim Detail Amount         Final Allowed Amount
Jasper, AL 35501
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Wilkinson, Kevin                                  Clm No 178213    Filed In Cases: 607
9 Lafayette Road                                  Class                Claim Detail Amount         Final Allowed Amount
West Babylon, NY 11704
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Robert Wilkinson                                  Clm No 178214    Filed In Cases: 607
46 Edgewood Street                                Class                Claim Detail Amount         Final Allowed Amount
Apt # 8
                                                  UNS                                $1.00
Stafford Springs, CT 06076
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2739 of 3075

Bill Willams                                      Clm No 178215    Filed In Cases: 607
217 Hemlock Court                                 Class                Claim Detail Amount         Final Allowed Amount
Hobart, IN 46342
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Judie Williams                                    Clm No 178216    Filed In Cases: 607
400 East Madison                                  Class                Claim Detail Amount         Final Allowed Amount
Apt. 202
                                                  UNS                                $1.00
Springfield, IL 62701
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Earline Williams                                  Clm No 178217    Filed In Cases: 607
Route 1 Box 253 C                                 Class                Claim Detail Amount         Final Allowed Amount
Marion, AL 36756
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2740 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178218    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Carrie Williams                                   Clm No 178219    Filed In Cases: 607
1693 Mohawk Trail                                 Class                Claim Detail Amount         Final Allowed Amount
Gulf Breeze, FL 32563
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Kathleen Wiliams                                  Clm No 178220    Filed In Cases: 607
19 Box Mountain Rd.                               Class                Claim Detail Amount         Final Allowed Amount
Bolton, CT 06043
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2741 of 3075

Paul Williams                                     Clm No 178221    Filed In Cases: 607
80 Stough Ln.                                     Class                Claim Detail Amount         Final Allowed Amount
Wickliffe, KY 42087
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Thomas Williams                                   Clm No 178222    Filed In Cases: 607
P.O. Box 924                                      Class                Claim Detail Amount         Final Allowed Amount
Shaw, MS 38773
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Yvonne Williams                                   Clm No 178223    Filed In Cases: 607
1611 East 28th Street                             Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32206
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         2742 of 3075

McGee, Gwyn                                       Clm No 178224    Filed In Cases: 607
1171 Reed Road Southeast                          Class                Claim Detail Amount         Final Allowed Amount
Smyrna, GA 30082
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178225    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178226    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                             2743 of 3075

Williams, Iris                                        Clm No 178227    Filed In Cases: 607
270 Franklin Street                                   Class                Claim Detail Amount         Final Allowed Amount
Apt. # 2
                                                      UNS                                $1.00
Springfield, MA 01104
                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




c/o David Jagolinzer, Esq.                            Clm No 178228    Filed In Cases: 607
600 Brickell Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                      UNS                                $1.00
Miami, FL 33131
                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




Mary Williams                                         Clm No 178229    Filed In Cases: 607
c/o Peter N. Muncey, Jr., Esq.                        Class                Claim Detail Amount         Final Allowed Amount
38 Resnik Road
                                                      UNS                                $1.00
Plymouth, MA 02360
                                                                                         $1.00


   Date Filed                    6-Oct-2015
   Bar Date
   Claim Face Value                   $1.00




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  Claims Details                                                                                         2744 of 3075

Shirley Williams                                  Clm No 178230    Filed In Cases: 607
C/O Liane Alosa                                   Class                Claim Detail Amount         Final Allowed Amount
1 Stark Drive
                                                  UNS                                $1.00
Allenstown, NH 03275
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178231    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Martha Williams                                   Clm No 178232    Filed In Cases: 607
P.O. Box 892                                      Class                Claim Detail Amount         Final Allowed Amount
Moulturie, GA 31776
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         2745 of 3075

Marion Shirley Williams                           Clm No 178233    Filed In Cases: 607
202 Huntington Hill Road                          Class                Claim Detail Amount         Final Allowed Amount
Litchfield, ME 04350
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Williams, Sharon                                  Clm No 178234    Filed In Cases: 607
2468 W. 86th Ave                                  Class                Claim Detail Amount         Final Allowed Amount
Merrillville, IN 46410
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Cynthia Williams                                  Clm No 178235    Filed In Cases: 607
420 Park Circle                                   Class                Claim Detail Amount         Final Allowed Amount
Talladesa, AL 35160
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                         2746 of 3075

Nora Williams                                     Clm No 178236    Filed In Cases: 607
488 Redmill Saragossa Road                        Class                Claim Detail Amount         Final Allowed Amount
Jasper, AL 35503
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178237    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178238    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         2747 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178239    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Mary Jo Williams                                  Clm No 178240    Filed In Cases: 607
P.O. Box 1774                                     Class                Claim Detail Amount         Final Allowed Amount
Washington, NC 27889
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178241    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


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  Claims Details                                                                                         2748 of 3075

Henderson, Carthel                                Clm No 178242    Filed In Cases: 607
P.O. Box 372                                      Class                Claim Detail Amount         Final Allowed Amount
Crofton, KY 42217
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178243    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Duane Williams                                    Clm No 178244    Filed In Cases: 607
506 Palm Avenue                                   Class                Claim Detail Amount         Final Allowed Amount
Meritt Island, FL 32952
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         2749 of 3075

Ralph Williams                                    Clm No 178245    Filed In Cases: 607
104 W 17th Street                                 Class                Claim Detail Amount         Final Allowed Amount
Winamac, IN 46996-1051
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178246    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178247    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2750 of 3075

Clarence Williams                                 Clm No 178248    Filed In Cases: 607
104 Minton St                                     Class                Claim Detail Amount         Final Allowed Amount
Joliet, IL 60436
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Cleophus Williams                                 Clm No 178249    Filed In Cases: 607
242 Adams Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Crowley, TX 76036-3679
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178250    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2751 of 3075

Elizabeth Williamson                              Clm No 178251    Filed In Cases: 607
412 Lisa Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Savannah, GA 31406
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178252    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Coghian, Donna                                    Clm No 178253    Filed In Cases: 607
173 Massey Road                                   Class                Claim Detail Amount         Final Allowed Amount
Homer, GA 30547-1646
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2752 of 3075

Cluadia Willis                                    Clm No 178254    Filed In Cases: 607
6314 Alabama Court                                Class                Claim Detail Amount         Final Allowed Amount
Lakeland, FL 33813
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




c/o David Jagolinzer, Esq.                        Clm No 178255    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Faye Willis                                       Clm No 178256    Filed In Cases: 607
825 Village Way                                   Class                Claim Detail Amount         Final Allowed Amount
Palm Harbor, FL 34683
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         2753 of 3075

Rutherford, Tina                                  Clm No 178257    Filed In Cases: 607
1764 J Street                                     Class                Claim Detail Amount         Final Allowed Amount
Hamilton, GA 31811
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Kathleen Willis                                   Clm No 178258    Filed In Cases: 607
13 Holt Street #58                                Class                Claim Detail Amount         Final Allowed Amount
Terryville, CT 06786
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




May Willis                                        Clm No 178259    Filed In Cases: 607
59 Hovsatonic Ave                                 Class                Claim Detail Amount         Final Allowed Amount
Stratford, CT 06497
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2754 of 3075

Bette Wills                                       Clm No 178260    Filed In Cases: 607
202 S 72nd Place                                  Class                Claim Detail Amount         Final Allowed Amount
Mesa, AZ 85208
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Frieda Wills                                      Clm No 178261    Filed In Cases: 607
8900 Justice Way                                  Class                Claim Detail Amount         Final Allowed Amount
Louisville, KY 40229
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Paula Wilson                                      Clm No 178262    Filed In Cases: 607
1002 E. 14th Court                                Class                Claim Detail Amount         Final Allowed Amount
Panama City, FL 32401
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2755 of 3075

Percy Wilson                                      Clm No 178263    Filed In Cases: 607
3254 W. 7 Mile Road                               Class                Claim Detail Amount         Final Allowed Amount
Detroit, MI 48221
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178264    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178265    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         2756 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178266    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Geraldine Wilson                                  Clm No 178267    Filed In Cases: 607
95 Broad Street                                   Class                Claim Detail Amount         Final Allowed Amount
Apt #915
                                                  UNS                                $1.00
Weymouth, MA 02188
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Wilson, Johnnie Mae                               Clm No 178268    Filed In Cases: 607
45 Otter Lake Rd                                  Class                Claim Detail Amount         Final Allowed Amount
Apt # 106
                                                  UNS                          $10,000.00
Panacea, FL 32346
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         2757 of 3075

Wilson, Billy                                     Clm No 178269    Filed In Cases: 607
3461 Mainard Branch Court                         Class                Claim Detail Amount         Final Allowed Amount
Fleming Island, FL 32003
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




Kenneth Wilson                                    Clm No 178270    Filed In Cases: 607
2516 S. 371 Ave.                                  Class                Claim Detail Amount         Final Allowed Amount
Tonopah, AZ 85354
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178271    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2758 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178272    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Wayne Wilson                                      Clm No 178273    Filed In Cases: 607
1721 Braim Circle Dr                              Class                Claim Detail Amount         Final Allowed Amount
Valparaiso, IN 46383
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Albert Wilson                                     Clm No 178274    Filed In Cases: 607
3377 Stellar Lane                                 Class                Claim Detail Amount         Final Allowed Amount
Oak Harbor, WA 98277-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2759 of 3075

Fister, Margaret                                  Clm No 178275    Filed In Cases: 607
3452 Boston Road                                  Class                Claim Detail Amount         Final Allowed Amount
Lexington, KY 40503
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Juanita Wilson                                    Clm No 178276    Filed In Cases: 607
1502 Brackin Road                                 Class                Claim Detail Amount         Final Allowed Amount
Westville, FL 32464
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178277    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         2760 of 3075

Robert Wilson                                     Clm No 178278    Filed In Cases: 607
8557 Wicklow Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Cincinnati, OH 45236
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
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   Claim Face Value       $10,000.00




Pearson, Fayetta                                  Clm No 178279    Filed In Cases: 607
1056 Morton Street                                Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46404
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Inez Wilton                                       Clm No 178280    Filed In Cases: 607
1705 Longwood Drive                               Class                Claim Detail Amount         Final Allowed Amount
Apt. 211
                                                  UNS                                $1.00
Sycamore, IL 60178
                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                         2761 of 3075

Jaqueline Wiltzer                                 Clm No 178281    Filed In Cases: 607
4682 7th Street                                   Class                Claim Detail Amount         Final Allowed Amount
Caledonia, MI 49316
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Alford, Alma                                      Clm No 178282    Filed In Cases: 607
130 Hwy 134 East                                  Class                Claim Detail Amount         Final Allowed Amount
Daleville, AL 36322
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




Windham, Jr., James                               Clm No 178283    Filed In Cases: 607
258 Rays Cove                                     Class                Claim Detail Amount         Final Allowed Amount
Wetunpka, AL 36092
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2762 of 3075

Earl Wineck                                       Clm No 178284    Filed In Cases: 607
3501 Wyoming Drive #2                             Class                Claim Detail Amount         Final Allowed Amount
Anchorage, AK 99517
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Olga Winer                                        Clm No 178285    Filed In Cases: 607
5114 Avalon Gates                                 Class                Claim Detail Amount         Final Allowed Amount
Trumbell, CT 06611
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178286    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         2763 of 3075

James Winston                                     Clm No 178287    Filed In Cases: 607
C/o Kale Mitchell                                 Class                Claim Detail Amount         Final Allowed Amount
325 South Crystal Springs Road
                                                  UNS                                $1.00
Eight Mile, AL 36613
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Alma Wireman                                      Clm No 178288    Filed In Cases: 607
302 N 9th Street                                  Class                Claim Detail Amount         Final Allowed Amount
Rennsselaer, IN 47978
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value          $10,000.00




c/o David Jagolinzer, Esq.                        Clm No 178289    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         2764 of 3075

Earl Wise                                         Clm No 178290    Filed In Cases: 607
7514 County Road 65 N                             Class                Claim Detail Amount         Final Allowed Amount
Coffee Springs, AL 36318
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178291    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Robert Wisell                                     Clm No 178292    Filed In Cases: 607
18 Borkum Road                                    Class                Claim Detail Amount         Final Allowed Amount
Spencer, MA 01562
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2765 of 3075

James Wishmier                                    Clm No 178293    Filed In Cases: 607
5920 North County Road 901 E                      Class                Claim Detail Amount         Final Allowed Amount
Brownsburg, IN 46112
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Eugene Wisniewski                                 Clm No 178294    Filed In Cases: 607
P.O. Box 125                                      Class                Claim Detail Amount         Final Allowed Amount
Chippewa Lake, MI 49320-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Andrew Witinski                                   Clm No 178295    Filed In Cases: 607
80 Holly Street                                   Class                Claim Detail Amount         Final Allowed Amount
Peely, PA 18706
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




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  Claims Details                                                                                         2766 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178296    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Fred Wittlake                                     Clm No 178297    Filed In Cases: 607
2665 Columbia Falls Stage                         Class                Claim Detail Amount         Final Allowed Amount
Columbia Falls, MT 59912-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




David Wittman                                     Clm No 178298    Filed In Cases: 607
317 Progress Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Hamilton, OH 45013
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2767 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178299    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




James Wnukowski                                   Clm No 178300    Filed In Cases: 607
8990 Storey Road                                  Class                Claim Detail Amount         Final Allowed Amount
Northeast, PA 16428
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Paul Woerner                                      Clm No 178301    Filed In Cases: 607
280 Polly Mountain Road                           Class                Claim Detail Amount         Final Allowed Amount
Madisonville, TN 37354
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2768 of 3075

Patricia Wojer                                    Clm No 178302    Filed In Cases: 607
31 Tenney Hill Road                               Class                Claim Detail Amount         Final Allowed Amount
Kitter Point, ME 03905
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Helen Wolak                                       Clm No 178303    Filed In Cases: 607
2138 S.E. 6th Ave.                                Class                Claim Detail Amount         Final Allowed Amount
Cape Coral, FL 33990
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




John Wolcheski                                    Clm No 178304    Filed In Cases: 607
258 Woodhouse Avenue                              Class                Claim Detail Amount         Final Allowed Amount
Wallingford, CT 06492
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         2769 of 3075

Deborah Wold                                      Clm No 178305    Filed In Cases: 607
1270 N 35th Road                                  Class                Claim Detail Amount         Final Allowed Amount
Ottawa, IL 61350
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Olga Wolfe                                        Clm No 178306    Filed In Cases: 607
1229 Winstead Road #60                            Class                Claim Detail Amount         Final Allowed Amount
Torrington, CT 06790
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Frederick Wolff                                   Clm No 178307    Filed In Cases: 607
310 West Reed Street                              Class                Claim Detail Amount         Final Allowed Amount
Wittenberg, WI 54499-9262
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




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  Claims Details                                                                                         2770 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178308    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Womack, Franklin                                  Clm No 178309    Filed In Cases: 607
440 SW 81st Terrace                               Class                Claim Detail Amount         Final Allowed Amount
North Lauderdale, FL 33068
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Charlotte Wood                                    Clm No 178310    Filed In Cases: 607
300 South White                                   Class                Claim Detail Amount         Final Allowed Amount
MacKinaw, IL 61755
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




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  Claims Details                                                                                         2771 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178311    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178312    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Charles Wood                                      Clm No 178313    Filed In Cases: 607
631 S Monroe Street                               Class                Claim Detail Amount         Final Allowed Amount
Brooksfield, MO 64628
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                         2772 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178314    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Toni Woodard                                      Clm No 178315    Filed In Cases: 607
43313 Belle Brooke Circle                         Class                Claim Detail Amount         Final Allowed Amount
Shawnee, OK 74804
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Judy Woodard                                      Clm No 178316    Filed In Cases: 607
77 Earley Street                                  Class                Claim Detail Amount         Final Allowed Amount
Sumiton, AL 35148
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
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  Claims Details                                                                                         2773 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178317    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Clark Woodard                                     Clm No 178318    Filed In Cases: 607
1915 Peevey                                       Class                Claim Detail Amount         Final Allowed Amount
Forrest City, AR 72335
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178319    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                          $10,000.00
Miami, FL 33131
                                                                               $10,000.00


   Date Filed                6-Oct-2015
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   Claim Face Value          $10,000.00




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  Claims Details                                                                                         2774 of 3075

Ernest Woodburn                                   Clm No 178320    Filed In Cases: 607
P.O. Box 53                                       Class                Claim Detail Amount         Final Allowed Amount
Hampton, NH 03842
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Woodfaulk, Brenda                                 Clm No 178321    Filed In Cases: 607
2475 Noble Street                                 Class                Claim Detail Amount         Final Allowed Amount
Gary, IN 46404
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Travis Woodham                                    Clm No 178322    Filed In Cases: 607
22936 Coronado Somerset Drive                     Class                Claim Detail Amount         Final Allowed Amount
Sorrento, FL 32776
                                                  UNS                                $1.00

                                                                                     $1.00


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  Claims Details                                                                                          2775 of 3075

Pettis, Sharon                                     Clm No 178323    Filed In Cases: 607
3924 Benbow Street                                 Class                Claim Detail Amount         Final Allowed Amount
Panama City Beach, FL 32408
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Elizabeth Woods                                    Clm No 178324    Filed In Cases: 607
4001 Cliff Drive, #B                               Class                Claim Detail Amount         Final Allowed Amount
Jasper, AL 35504-4455
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Willie Woods                                       Clm No 178325    Filed In Cases: 607
271 Pleasant Lane                                  Class                Claim Detail Amount         Final Allowed Amount
Sylacauga, AL 35150
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2776 of 3075

Brenda Woods                                       Clm No 178326    Filed In Cases: 607
1776 50th Street West                              Class                Claim Detail Amount         Final Allowed Amount
Birmingham, AL 35208
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




c/o David Jagolinzer, Esq.                         Clm No 178327    Filed In Cases: 607
600 Brickell Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Linda Woodward                                     Clm No 178328    Filed In Cases: 607
8 Castine Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Old Orchard Beach, ME 04064
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         2777 of 3075

Barbara Woosley                                   Clm No 178329    Filed In Cases: 607
8940 Via Prestigio West                           Class                Claim Detail Amount         Final Allowed Amount
Willington, FL 33411-6512
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
   Bar Date
   Claim Face Value              $1.00




Louis Woosley                                     Clm No 178330    Filed In Cases: 607
7530 Halifax Drive                                Class                Claim Detail Amount         Final Allowed Amount
Reno, NV 89506-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed               6-Oct-2015
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James Wooten                                      Clm No 178331    Filed In Cases: 607
130 Seale Road                                    Class                Claim Detail Amount         Final Allowed Amount
Calera, AL 35040-4809
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value              $1.00




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  Claims Details                                                                                         2778 of 3075

Herrin, Joe                                       Clm No 178332    Filed In Cases: 607
228805 East Riek Road                             Class                Claim Detail Amount         Final Allowed Amount
Kennewick, WA 99337
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Jo-An Workman                                     Clm No 178333    Filed In Cases: 607
23 Kelwyn Park                                    Class                Claim Detail Amount         Final Allowed Amount
Somensworth, NH 03878
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Brenda Wormald                                    Clm No 178334    Filed In Cases: 607
82 Plymouth Street                                Class                Claim Detail Amount         Final Allowed Amount
Halifax, MA 02338
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                         2779 of 3075

Theodora Woronka                                  Clm No 178335    Filed In Cases: 607
5 Cherry Hill Circle                              Class                Claim Detail Amount         Final Allowed Amount
P.O. Box 102
                                                  UNS                                $1.00
Methuen, MA 01844
                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Elizabeth Wozniak                                 Clm No 178336    Filed In Cases: 607
68 Coggeshall St.                                 Class                Claim Detail Amount         Final Allowed Amount
N. Dartmouth, MA 02747
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value       $10,000.00




Andrews, Barbara                                  Clm No 178337    Filed In Cases: 607
1104 Farmington Avenue                            Class                Claim Detail Amount         Final Allowed Amount
West Hartford, CT 06107
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                         2780 of 3075

Yvonne Wright                                     Clm No 178338    Filed In Cases: 607
135 Joe Boyles Road                               Class                Claim Detail Amount         Final Allowed Amount
Jamestown, TN 38556
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Barbara Wright                                    Clm No 178339    Filed In Cases: 607
3018 Sharps Burg Circle                           Class                Claim Detail Amount         Final Allowed Amount
Birmingham, AL 352
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178340    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                         2781 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178341    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178342    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
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   Claim Face Value               $1.00




Charles Wright                                    Clm No 178343    Filed In Cases: 607
PO Box 218                                        Class                Claim Detail Amount         Final Allowed Amount
North Liberty, IN 46554
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value               $1.00




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  Claims Details                                                                                         2782 of 3075

c/o David Jagolinzer, Esq.                        Clm No 178344    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




Bobby Wright                                      Clm No 178345    Filed In Cases: 607
8229 Wicker Park Drive                            Class                Claim Detail Amount         Final Allowed Amount
Highland, IN 46322-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




c/o David Jagolinzer, Esq.                        Clm No 178346    Filed In Cases: 607
600 Brickell Avenue                               Class                Claim Detail Amount         Final Allowed Amount
Suite 3800
                                                  UNS                                $1.00
Miami, FL 33131
                                                                                     $1.00


   Date Filed                6-Oct-2015
   Bar Date
   Claim Face Value               $1.00




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  Claims Details                                                                                          2783 of 3075

Leslie Wulff                                       Clm No 178347    Filed In Cases: 607
17103 470 PR NW                                    Class                Claim Detail Amount         Final Allowed Amount
Benton City, WA 99320
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Daniel Wurthner                                    Clm No 178348    Filed In Cases: 607
310 East Guiley Avenue                             Class                Claim Detail Amount         Final Allowed Amount
P.O. Box 301
                                                   UNS                                $1.00
Oakland, FL 34760
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Perry Wyatt                                        Clm No 178349    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




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  Claims Details                                                                                          2784 of 3075

Bobby Wyatt                                        Clm No 178350    Filed In Cases: 607
3219 Adams                                         Class                Claim Detail Amount         Final Allowed Amount
Paducah, KY 42001
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Joe Wyatt                                          Clm No 178351    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Tully, Nancy                                       Clm No 178352    Filed In Cases: 607
245 Knoll Dr.                                      Class                Claim Detail Amount         Final Allowed Amount
Park Ridge, NJ 07656
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2785 of 3075

Maggie Wyman                                       Clm No 178353    Filed In Cases: 607
1002 Lewis Drive                                   Class                Claim Detail Amount         Final Allowed Amount
Daytona Beach, FL 32117
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Gwendolyn Wynn                                     Clm No 178354    Filed In Cases: 607
c/o Cynthia Jaffee                                 Class                Claim Detail Amount         Final Allowed Amount
3316 Cobbs Drive
                                                   UNS                                $1.00
Palm Harbor, FL 34684
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Charles Wynn                                       Clm No 178355    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                          $10,000.00
Miami, FL 33131
                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




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  Claims Details                                                                                          2786 of 3075

William Wynne                                      Clm No 178356    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Judy Wypych                                        Clm No 178357    Filed In Cases: 607
10 Vlontis Avenue                                  Class                Claim Detail Amount         Final Allowed Amount
Ware, MA 01082-1330
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Brenda Wyszynski                                   Clm No 178358    Filed In Cases: 607
108 West Street                                    Class                Claim Detail Amount         Final Allowed Amount
Granby, MA 01033
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                          2787 of 3075

Rosa Yaffrey                                       Clm No 178359    Filed In Cases: 607
3410 SW 7th Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Cape Coral, FL 33991
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Raleigh Yager                                      Clm No 178360    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




John Yahn                                          Clm No 178361    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


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  Claims Details                                                                                          2788 of 3075

Yancey, Jesse                                      Clm No 178362    Filed In Cases: 607
c/o David C. Sasser, Esq.                          Class                Claim Detail Amount         Final Allowed Amount
Johnston & Sasser, P.A.
                                                   UNS                                $1.00
Brooksville, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Armando Yanez                                      Clm No 178363    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Julia Yarb                                         Clm No 178364    Filed In Cases: 607
1070 Gillespie Drive                               Class                Claim Detail Amount         Final Allowed Amount
Palm Harbor, FL 34684-3009
                                                   UNS                                $1.00

                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         2789 of 3075

Edward Yarb                                       Clm No 178365    Filed In Cases: 607
12547 137th Street North                          Class                Claim Detail Amount         Final Allowed Amount
Largo, FL 33774
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Elsa Yarmac                                       Clm No 178366    Filed In Cases: 607
91 Main Road                                      Class                Claim Detail Amount         Final Allowed Amount
Gill, MA 01376
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Thomas Kasabula                                   Clm No 178367    Filed In Cases: 607
64 Town farm Road                                 Class                Claim Detail Amount         Final Allowed Amount
Sutton, MA 01590
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                         2790 of 3075

Ernest Yeager                                     Clm No 178368    Filed In Cases: 607
P.O. Box 2681                                     Class                Claim Detail Amount         Final Allowed Amount
Bloomfield, NM 87413
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Alfred Yeske                                      Clm No 178369    Filed In Cases: 607
532 New Britain Avenue                            Class                Claim Detail Amount         Final Allowed Amount
Hartford, CT 06106
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Francis Yolda                                     Clm No 178370    Filed In Cases: 607
655 Crow Lane                                     Class                Claim Detail Amount         Final Allowed Amount
Counce, TN 38326
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value            $1.00




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  Claims Details                                                                                          2791 of 3075

Norman York                                        Clm No 178371    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Joe Yorko                                          Clm No 178372    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Jim Younce                                         Clm No 178373    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                         2792 of 3075

Young, Lavern                                     Clm No 178374    Filed In Cases: 607
920 Eaton Street                                  Class                Claim Detail Amount         Final Allowed Amount
Hammond, IN 46320
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Young-Gerritsen, Colleen                          Clm No 178375    Filed In Cases: 607
3626 La Sue Sue Street                            Class                Claim Detail Amount         Final Allowed Amount
Salt Lake City, UT 84119
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Ruby M. Young                                     Clm No 178376    Filed In Cases: 607
836 Main Street, Apt #4                           Class                Claim Detail Amount         Final Allowed Amount
Sanford, ME 04073
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                          2793 of 3075

Luther Young                                       Clm No 178377    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Edward Young                                       Clm No 178378    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Alice Young                                        Clm No 178379    Filed In Cases: 607
5760 Colima Place                                  Class                Claim Detail Amount         Final Allowed Amount
Jacksonville, FL 32244
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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  Claims Details                                                                                          2794 of 3075

Robert Young                                       Clm No 178380    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                          $10,000.00
Miami, FL 33131
                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




Thomas Young                                       Clm No 178381    Filed In Cases: 607
P.O. Box 1445                                      Class                Claim Detail Amount         Final Allowed Amount
Glen Rock, WY 82637
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Gerald Young                                       Clm No 178382    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


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   Claim Face Value                $1.00




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  Claims Details                                                                                          2795 of 3075

Dorothy Young                                      Clm No 178383    Filed In Cases: 607
109 Broad St                                       Class                Claim Detail Amount         Final Allowed Amount
# 404
                                                   UNS                                $1.00
Weymouth, MA 02188
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Rodney Young                                       Clm No 178384    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




Therdo Young                                       Clm No 178385    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


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  Claims Details                                                                                         2796 of 3075

Gary Young                                        Clm No 178386    Filed In Cases: 607
1209 Russell Drive                                Class                Claim Detail Amount         Final Allowed Amount
Ocoee, FL 34761
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Sonia Yrayta                                      Clm No 178387    Filed In Cases: 607
71 Suffolk Drive                                  Class                Claim Detail Amount         Final Allowed Amount
E. Hartford, CT 06118
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




Lillian Yurish                                    Clm No 178388    Filed In Cases: 607
8111 Bear Creek Blvd.                             Class                Claim Detail Amount         Final Allowed Amount
Bear Creek Township, PA 18702-9444
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              6-Oct-2015
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   Claim Face Value        $10,000.00




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  Claims Details                                                                                          2797 of 3075

Harry Yust                                         Clm No 178389    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                          $10,000.00
Miami, FL 33131
                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




Joseph Zabka, Sr.                                  Clm No 178390    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


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Leo Zaborowski                                     Clm No 178391    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


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  Claims Details                                                                                         2798 of 3075

Zaborowski, Jr., John                             Clm No 178392    Filed In Cases: 607
528 E 7th Street                                  Class                Claim Detail Amount         Final Allowed Amount
Erie, PA 16503-1302
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Doborah Zacarelli                                 Clm No 178393    Filed In Cases: 607
23 Pepperbush Drive                               Class                Claim Detail Amount         Final Allowed Amount
Clinton, CT 06413
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Richard Zadora                                    Clm No 178394    Filed In Cases: 607
2 Wright Drive                                    Class                Claim Detail Amount         Final Allowed Amount
Thompson, CT 06277
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




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  Claims Details                                                                                          2799 of 3075

Stephen Zadora                                     Clm No 178395    Filed In Cases: 607
86 State Avenue                                    Class                Claim Detail Amount         Final Allowed Amount
P.O. Box 137
                                                   UNS                                $1.00
Rogers, CT 06263
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Martin Zahara                                      Clm No 178396    Filed In Cases: 607
91 Shortwoods Road                                 Class                Claim Detail Amount         Final Allowed Amount
New Fairfield, CT 06812
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Valentin Zamudio                                   Clm No 178397    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2800 of 3075

Joseph Zawisza                                     Clm No 178398    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Zawisza, Alan                                      Clm No 178399    Filed In Cases: 607
246 Grove Street                                   Class                Claim Detail Amount         Final Allowed Amount
Manchester, NH 03103
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Nanxy Zboril                                       Clm No 178400    Filed In Cases: 607
1706 Wilcox                                        Class                Claim Detail Amount         Final Allowed Amount
Crest Hill, IL 60435
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                         2801 of 3075

Walter Zdunczyk                                   Clm No 178401    Filed In Cases: 607
731 Eldred Street                                 Class                Claim Detail Amount         Final Allowed Amount
Erie, PA 16511
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Barbara Zealy                                     Clm No 178402    Filed In Cases: 607
2712 Carmel Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Savannah, GA 31406-0000
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Christine Zedalis                                 Clm No 178403    Filed In Cases: 607
14 Bowdoin Street                                 Class                Claim Detail Amount         Final Allowed Amount
Winthrop, MA 02152
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                         2802 of 3075

Louis Zehms                                       Clm No 178404    Filed In Cases: 607
3972 Champeau Road                                Class                Claim Detail Amount         Final Allowed Amount
New Franken, WI 54229
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value             $1.00




Lucille Zeigler                                   Clm No 178405    Filed In Cases: 607
Rt 3 Box 358 Island Road                          Class                Claim Detail Amount         Final Allowed Amount
Savannah, GA 31406
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed              6-Oct-2015
   Bar Date
   Claim Face Value        $10,000.00




Marget Zeilik                                     Clm No 178406    Filed In Cases: 607
2816 Pintado Circle                               Class                Claim Detail Amount         Final Allowed Amount
Santa Fe, NM 87507
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed              6-Oct-2015
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   Claim Face Value             $1.00




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  Claims Details                                                                                          2803 of 3075

Michael Zemlik                                     Clm No 178407    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Edward Zemljak                                     Clm No 178408    Filed In Cases: 607
320 Blacktail Canyon                               Class                Claim Detail Amount         Final Allowed Amount
Butte, MT 59701
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Jurgen Ziegler                                     Clm No 178409    Filed In Cases: 607
1938 Kendall Avenue                                Class                Claim Detail Amount         Final Allowed Amount
North Pole, AK 99705
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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   Claim Face Value                $1.00




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  Claims Details                                                                                          2804 of 3075

Tina M. Ziencina                                   Clm No 178410    Filed In Cases: 607
62 Crest Street                                    Class                Claim Detail Amount         Final Allowed Amount
Ludlow, MA 01056
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Albert Zieseniss                                   Clm No 178411    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Bouldton,, Howard                                  Clm No 178412    Filed In Cases: 607
P.O. Box 579                                       Class                Claim Detail Amount         Final Allowed Amount
Danville, VA 24543
                                                   UNS                          $10,000.00

                                                                                $10,000.00


   Date Filed                 6-Oct-2015
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   Claim Face Value           $10,000.00




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  Claims Details                                                                                          2805 of 3075

Frank Zimmerman                                    Clm No 178413    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Michael Zimmerman                                  Clm No 178414    Filed In Cases: 607
2038 Palm Street                                   Class                Claim Detail Amount         Final Allowed Amount
Lot #328
                                                   UNS                                $1.00
Las Vegas, NV 89104-4818
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Anna Maynard-Zimmerman                             Clm No 178415    Filed In Cases: 607
8775 20th Street # 481                             Class                Claim Detail Amount         Final Allowed Amount
Vero Beach, FL 32966
                                                   UNS                                $1.00

                                                                                      $1.00


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  Claims Details                                                                                         2806 of 3075

Bruno Zimny                                       Clm No 178416    Filed In Cases: 607
5154 Canterbury Avenue                            Class                Claim Detail Amount         Final Allowed Amount
Portage, IN 46368
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Panaway, Mary Ann                                 Clm No 178417    Filed In Cases: 607
38 Pearson Street                                 Class                Claim Detail Amount         Final Allowed Amount
Wilkes Barre, PA 18706
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Leren, Audrey                                     Clm No 178418    Filed In Cases: 607
4730 N 106th Street                               Class                Claim Detail Amount         Final Allowed Amount
Wauwatosa, WI 53225
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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  Claims Details                                                                                         2807 of 3075

Marguerite Zobka                                  Clm No 178419    Filed In Cases: 607
667 Franklin Street                               Class                Claim Detail Amount         Final Allowed Amount
Bondsville, MA 01009
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Marlow Zook                                       Clm No 178420    Filed In Cases: 607
P.O. Box 274                                      Class                Claim Detail Amount         Final Allowed Amount
Vaughn, MT 59487
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $1.00




Gertrude Zullinger                                Clm No 178421    Filed In Cases: 607
P.O. Box 1657                                     Class                Claim Detail Amount         Final Allowed Amount
Inverness, FL 34451
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $1.00




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  Claims Details                                                                                          2808 of 3075

Aurel Zura                                         Clm No 178422    Filed In Cases: 607
c/o David Jagolinzer, Esq.                         Class                Claim Detail Amount         Final Allowed Amount
600 Brickell Avenue, Suite 3800
                                                   UNS                                $1.00
Miami, FL 33131
                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Matthew Zurofsky                                   Clm No 178423    Filed In Cases: 607
670 Davis Road                                     Class                Claim Detail Amount         Final Allowed Amount
Lexington, TN 38351
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
   Bar Date
   Claim Face Value                $1.00




Adrienne Zwetsloot                                 Clm No 178424    Filed In Cases: 607
38 Elinor Lane                                     Class                Claim Detail Amount         Final Allowed Amount
Wells, ME 04090
                                                   UNS                                $1.00

                                                                                      $1.00


   Date Filed                 6-Oct-2015
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  Claims Details                                                                                         2809 of 3075

Carl Wright                                       Clm No 178425    Filed In Cases: 607
17900 Barney Dr.                                  Class                Claim Detail Amount         Final Allowed Amount
Accekeek, MD 20607
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed            23-Sep-2015
   Bar Date
   Claim Face Value




Betty Gomez                                       Clm No 178426    Filed In Cases: 607
148 Valley View Rd.                               Class                Claim Detail Amount         Final Allowed Amount
Georgetown, TX 78633
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed            24-Sep-2015
   Bar Date
   Claim Face Value




James Bryant                                      Clm No 178427    Filed In Cases: 607
4715 Collier                                      Class                Claim Detail Amount         Final Allowed Amount
Beaumont, TX 77706
                                                  UNS                                $1.00

                                                                                     $1.00


   Date Filed            24-Sep-2015
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  Claims Details                                                                                         2810 of 3075

Rebecca Morgan                                    Clm No 178428    Filed In Cases: 607
6732 19th Drive NE                                Class                Claim Detail Amount         Final Allowed Amount
Marysville, WA 98271
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             24-Sep-2015
   Bar Date
   Claim Face Value




Dayl Paris                                        Clm No 178429    Filed In Cases: 607
2912 Briar Lea Loop SE                            Class                Claim Detail Amount         Final Allowed Amount
Olympia, WA 98501
                                                  UNS                          $10,000.00

                                                                               $10,000.00


   Date Filed             24-Sep-2015
   Bar Date
   Claim Face Value




Wayne Robatcek                                    Clm No 178430    Filed In Cases: 607
5931 Valley View Ln.                              Class                Claim Detail Amount         Final Allowed Amount
Klamath Falls, OR 97601
                                                  UNS                                $1.00

                                                                                     $1.00


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   Claim Face Value             $1.00




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  Claims Details                                                                                              2811 of 3075

Ronald F. Abe                                          Clm No 178431    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Virgil Abe                                             Clm No 178432    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
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Absher Ronald                                          Clm No 178433    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                              2812 of 3075

Ralph R. Ackernecht                                    Clm No 178434    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Pers. Rep. Pending, Estate of James Frank Adams        Clm No 178435    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Charles W. Albert, Jr.                                 Clm No 178436    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                                2813 of 3075

Stephanie M. Crockett P.R. of the Estate of              Clm No 178437    Filed In Cases: 607
Constantine Alexander
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Paul F. Tana P.R. of the Estate of Constantine           Clm No 178438    Filed In Cases: 607
Alexander
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Pers. Rep. Pending, Estate of Arutha Allen               Clm No 178439    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Richard W. Amos                                        Clm No 178440    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
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   Claim Face Value




Stanely Anderson, Sr.                                  Clm No 178441    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Wanda Barncord P.R. of the Estate of William M         Clm No 178442    Filed In Cases: 607
Anderson
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




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  Claims Details                                                                                                2815 of 3075

Patsy J Kinser P.R. of the Estate of William M           Clm No 178443    Filed In Cases: 607
Anderson
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Jean E Andreas P.R. of the Estate of Karl R              Clm No 178444    Filed In Cases: 607
Andreas
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Anthony G. Anzick                                        Clm No 178445    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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  Claims Details                                                                                                2816 of 3075

Kevin Arnold, Next of Kin, Estate of Ronnie L.           Clm No 178446    Filed In Cases: 607
Arnold
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




William G. Arnwine                                       Clm No 178447    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Pers. Rep. Pending, Estate of Glenn Aungst               Clm No 178448    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




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Virginia Y. Bach P.R. of the Estate of Henry Bach      Clm No 178449    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Angelo Baiaba                                          Clm No 178450    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Doretha Y. Baker                                       Clm No 178451    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                              2818 of 3075

Richard D. Banks                                       Clm No 178452    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Sadie L. Barnett                                       Clm No 178453    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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William T. Barrett                                     Clm No 178454    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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   Bar Date
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  Claims Details                                                                                               2819 of 3075

Phyllis Battles Johnson P.R. of the Estate of Albert    Clm No 178455    Filed In Cases: 607
H. Battle
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Pamela B. Klima P.R. of the Estate of William D.        Clm No 178456    Filed In Cases: 607
Baynes
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Rose Marie Beach P.R. of the Estate of Robert A.        Clm No 178457    Filed In Cases: 607
Beach
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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  Claims Details                                                                                              2820 of 3075

Joseph G. Beahm                                        Clm No 178458    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Jacob W. Beard                                         Clm No 178459    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Norman E. Bechtel                                      Clm No 178460    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                              2821 of 3075

Daryl Becker                                           Clm No 178461    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Claim Face Value




Richard J. Bedingfield                                 Clm No 178462    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Dawson H. Beers                                        Clm No 178463    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                              2822 of 3075

Pers. Rep. Pending, Estate of Gladys Bell              Clm No 178464    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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John Bendus                                            Clm No 178465    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Bryan G. Berlew                                        Clm No 178466    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                                  2823 of 3075

Lisa J. Bernt P.R. of the Estate Of Leo J. Bernt           Clm No 178467    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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Pedro G. Billot                                            Clm No 178468    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Mark A. Biri                                               Clm No 178469    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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  Claims Details                                                                                               2824 of 3075

Evelyn H. Bittner P.R. of the Estate of Charles E.      Clm No 178470    Filed In Cases: 607
Bittner
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Edward S. Black                                         Clm No 178471    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Yvette Landrum P.R. of the Estate of Everett            Clm No 178472    Filed In Cases: 607
Blackwell
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                                  2825 of 3075

Clarence Blakely                                           Clm No 178473    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Sheila Roark P.R. of the Estate of Nellie Blevins          Clm No 178474    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Roy Blevins P.R. of the Estate of Nellie Blevins           Clm No 178475    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                               2826 of 3075

Arbutus M Heishman P.R. of the Estate of Junior K       Clm No 178476    Filed In Cases: 607
Blizzard
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Joseph A. Blout, Jr. P.R. of the Estate of Joseph A.    Clm No 178477    Filed In Cases: 607
Blout, Sr.
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Claim Face Value




Thomas G. Bodes                                         Clm No 178478    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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  Claims Details                                                                                              2827 of 3075

Charles R. Bolden                                      Clm No 178479    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Claim Face Value




Stephen M. Boligitz                                    Clm No 178480    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Patrick Bonner                                         Clm No 178481    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                                 2828 of 3075

Rodney T. Boone P.R. of the Estate of Ravon T.            Clm No 178482    Filed In Cases: 607
Boone
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Louise M. Booth P.R. of the Estate of George J.           Clm No 178483    Filed In Cases: 607
Booth, Sr.
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Joseph A. Botto, III                                      Clm No 178484    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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  Claims Details                                                                                              2829 of 3075

Armand J. Volta Jr P.R. of the Estate of Eugene J.     Clm No 178485    Filed In Cases: 607
Bovello
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Eulease Bowman                                         Clm No 178486    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Michael Boyd                                           Clm No 178487    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Baltimore, MD 21201


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   Bar Date
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  Claims Details                                                                                              2830 of 3075

Pers. Rep. Pending, Estate of John Boyle               Clm No 178488    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Bonnie Bradshaw Surviving Sp Estate Of Gary            Clm No 178489    Filed In Cases: 607
Bradshaw
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Angeline M. Pierce P.R. of the Estate of George W.     Clm No 178490    Filed In Cases: 607
Branch
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




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  Claims Details                                                                                                 2831 of 3075

John L. Brant P.R. of the Estate of Leroy Brant           Clm No 178491    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Sheryl Friend-Williams P.R. of the Estate of Luther       Clm No 178492    Filed In Cases: 607
Frank Braxton
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Frances Brechemin Surviving Sp Est. of Glen               Clm No 178493    Filed In Cases: 607
Brechemin
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




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  Claims Details                                                                                              2832 of 3075

William Irvin Brenneman                                Clm No 178494    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




James F. Brewer                                        Clm No 178495    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Olester Brice                                          Clm No 178496    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                               2833 of 3075

Ruth T. Milstred P.R. of the Estate of Myra Rose        Clm No 178497    Filed In Cases: 607
Bridgeman
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Susie Brock P.R. of the Estate of Peter Brock           Clm No 178498    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Carolyn H. Brown                                        Clm No 178499    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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  Claims Details                                                                                               2834 of 3075

Jeffrey E. Schlichting P.R. Of the Estate of Edna L.    Clm No 178500    Filed In Cases: 607
Brown
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




James E. Brown                                          Clm No 178501    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Crystal Brown P.R. of the Estate of Jerry Brown         Clm No 178502    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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  Claims Details                                                                                              2835 of 3075

Lawrence Brown, Sr.                                    Clm No 178503    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Monte F. Brown                                         Clm No 178504    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Clarence K. Buckner                                    Clm No 178505    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Rosa M. Cruz P.R. of the Estate of Herberto Cruz        Clm No 178506    Filed In Cases: 607
Burgos
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Claim Face Value




Elaine Busfield, Surviving Sp. Est. of Alva Busfield    Clm No 178507    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Robert E. Buxton                                        Clm No 178508    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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  Claims Details                                                                                                2837 of 3075

Roger Byington P.R. of the Estate of Jackie H.           Clm No 178509    Filed In Cases: 607
Byington
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Pers. Rep. Pending, Estate of Cleveland Byrdsong         Clm No 178510    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Henry V. Cambiotti, Jr.                                  Clm No 178511    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                               2838 of 3075

Joan E. Cameron P.R. of the Estate of David M           Clm No 178512    Filed In Cases: 607
Cameron
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Alberta Campbell                                        Clm No 178513    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Claim Face Value




James T. Gayles P.R. of the Estate of Bernice M.        Clm No 178514    Filed In Cases: 607
Campbell
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                              2839 of 3075

Jeffrey Lee Campbell                                   Clm No 178515    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Gary L. Cannon                                         Clm No 178516    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Paul J. Carder P.R. Of the Estate of Paul Carder       Clm No 178517    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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  Claims Details                                                                                              2840 of 3075

James Casseday                                         Clm No 178518    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Jeanette Certano P.R. of the Estate of Joseph D.       Clm No 178519    Filed In Cases: 607
Certano
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Clifford Chappell                                      Clm No 178520    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                              2841 of 3075

Edward J. Cherkis                                      Clm No 178521    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Jean B. Chilcote                                       Clm No 178522    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Sharon A. Childs P.R. of the Estate of Fred Childs     Clm No 178523    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                                 2842 of 3075

Nancy Christoff P.R. of the Estate of Robert N.           Clm No 178524    Filed In Cases: 607
Christoff
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Claim Face Value




Cynthia C. McKellin P.R. of the Estate of John            Clm No 178525    Filed In Cases: 607
Chunko, Jr.
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Pers. Rep. Pending, Estate of Wayne Ciarpella             Clm No 178526    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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   Bar Date
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Margaret M. Clark                                        Clm No 178527    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Larry W. Clowers                                         Clm No 178528    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Harris Cobb P.R. of the Estate of Georgia Cobb           Clm No 178529    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                              2844 of 3075

Geraldine Coffman P.R. Of the Estate Of Samuel E.      Clm No 178531    Filed In Cases: 607
Coffman
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Ernesto Colon                                          Clm No 178532    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Patricia Coppinger P.R. Of the Estate Of Joseph        Clm No 178533    Filed In Cases: 607
Coppinger
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




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  Claims Details                                                                                              2845 of 3075

Mary Cornish                                           Clm No 178534    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




James T. Cosgrove                                      Clm No 178535    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Lewis E. Coursen                                       Clm No 178536    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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  Claims Details                                                                                              2846 of 3075

Robert N. Cramer                                       Clm No 178537    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Georgene R. Crockett P.R. Of the Estate Of William     Clm No 178538    Filed In Cases: 607
O. Crockett
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Diane Richter P.R. Of the Estate Of Vivian M. Curzi    Clm No 178539    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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  Claims Details                                                                                                  2847 of 3075

William N. Mcclaren                                        Clm No 178540    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Lisa A. Clayton P.R. Of the Estate Of Vincent L.           Clm No 178541    Filed In Cases: 607
Mccord
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Mary E. Jones P.R. Of the Estate Of Elijah B.              Clm No 178542    Filed In Cases: 607
Mcdaniel, Sr
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
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  Claims Details                                                                                              2848 of 3075

Pers. Rep. Pending, Estate of Samuel McDowell          Clm No 178543    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Leo W. Mcmillen, Sr                                    Clm No 178544    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Agnes Rose McNally, S.N.D. P.R. Of the Estate Of       Clm No 178545    Filed In Cases: 607
John Mcnally
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                                 2849 of 3075

Beverly A. Rider P.R. Of the Estate Of David E.           Clm No 178546    Filed In Cases: 607
Meadows
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




John H. Meckes                                            Clm No 178547    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Richard J. Menegus                                        Clm No 178548    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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  Claims Details                                                                                              2850 of 3075

Ronald W. Merryman                                     Clm No 178549    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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   Bar Date
   Claim Face Value




Glinna R. Michael P.R. Of the Estate Of Wilburn G.     Clm No 178550    Filed In Cases: 607
Michael
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Joseph S. Mickelson                                    Clm No 178551    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                              2851 of 3075

Harry E. Miles                                         Clm No 178552    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Pers. Rep. Pending, Estate of Glenn Franklin Miller    Clm No 178553    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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George E. Miller                                       Clm No 178554    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                                2852 of 3075

James W. Miller                                          Clm No 178555    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Shirley Miller P.R. Of the Estate Of Merle M. Miller     Clm No 178556    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Pers. Rep. Pending, Estate of Vincent Miller             Clm No 178557    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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  Claims Details                                                                                                  2853 of 3075

Donna J. Miller P.R. Of the Estate Of William J.           Clm No 178558    Filed In Cases: 607
Miller
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Kathleen Missouri                                          Clm No 178559    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Richard H. Mohr                                            Clm No 178560    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
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  Claims Details                                                                                              2854 of 3075

Pers. Rep. Pending, Estate of Wade Montgomery          Clm No 178561    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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William D. Moon, Jr                                    Clm No 178562    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Danny J. Moore                                         Clm No 178563    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                                  2855 of 3075

Patricia T. Moore P.R. Of the Estate Of Henry J.           Clm No 178564    Filed In Cases: 607
Moore
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Donnetta C. Gingles P.R. Of the Estate Of Shirley          Clm No 178565    Filed In Cases: 607
Moses
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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John Mower                                                 Clm No 178566    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
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Vernon W. Mowry                                        Clm No 178567    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Thomas G. Mullin                                       Clm No 178568    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Tammy M. Taylor P.R. Of the Estate Of Glenn H.         Clm No 178569    Filed In Cases: 607
Myers, Jr
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                              2857 of 3075

James Nagle                                            Clm No 178570    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Jeffrey C. Nagle                                       Clm No 178571    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Lawrence L. Nevitt                                     Clm No 178572    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Pers. Rep. Pending, Estate of Joseph Newman             Clm No 178573    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Margie L. Northcraft P.R. Of the Estate Of William      Clm No 178574    Filed In Cases: 607
Earl Northcraft
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Pers. Rep. Pending, Estate of Theodore Novak            Clm No 178575    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Theodore P. Oakes                                      Clm No 178576    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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   Bar Date
   Claim Face Value




Hazel R. O'Brien P.R. Of the Estate Of Wayne A.        Clm No 178577    Filed In Cases: 607
O'Brien
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Sue A. Hurtt P.R. of the Estate Of Thomas L.           Clm No 178578    Filed In Cases: 607
Oglebay
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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  Claims Details                                                                                              2860 of 3075

Pers. Rep. Pending, Estate of George Ohm               Clm No 178579    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Robert Oncheck                                         Clm No 178580    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




David J Onley                                          Clm No 178581    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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  Claims Details                                                                                              2861 of 3075

Bernard G Ours Jr                                      Clm No 178582    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Donald Palmer                                          Clm No 178583    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Adrian Brown P.R. of the Estate of Louis Parham        Clm No 178584    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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  Claims Details                                                                                              2862 of 3075

Royston L Parker                                       Clm No 178585    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Lorrie B. Rodski P.R. of the Estate of Norman B.       Clm No 178586    Filed In Cases: 607
Parrish
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Raymond James Patterson P.R. Of the Estate of          Clm No 178587    Filed In Cases: 607
Arthur Patterson
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                               2863 of 3075

Dremalu Pavlesich Surv. Sp. Est. of Richard M           Clm No 178588    Filed In Cases: 607
Pavlesich
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Maurice Peterson P.R. of the Estate of Levi             Clm No 178589    Filed In Cases: 607
Peterson, Sr.
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Agnes E. Pesaresi Pers. Rep. Estate of Francis G.       Clm No 178590    Filed In Cases: 607
Pesaresi
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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  Claims Details                                                                                              2864 of 3075

Anthony Pezzica                                        Clm No 178591    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Pers. Rep. Pending, Estate of Junior Pickens           Clm No 178592    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
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Andrew F Pingyar                                       Clm No 178593    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                               2865 of 3075

Nathan R Plowden Jr                                      Clm No 178594   Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Sharon M. Poole P.R. of the Estate of Allen J. Poole,    Clm No 178595   Filed In Cases: 607
Jr
c/o Law Offices of Peter G. Angelos, P.C.                Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                             Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Edwin C Power                                            Clm No 178596   Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class               Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                             Unknown
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   Bar Date
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  Claims Details                                                                                              2866 of 3075

Edward T Powers                                        Clm No 178597    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Gaston E Powers                                        Clm No 178598    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Deborah C Logan P.R. of the Estate of Clarence C       Clm No 178599    Filed In Cases: 607
Pratt
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                                2867 of 3075

Varnette D. Carr P.R. of the Estate of Ruby A.           Clm No 178600    Filed In Cases: 607
Prideaux
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Pers. Rep. Pending, Estate of Brenda Prince              Clm No 178601    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Randall W Prnce                                          Clm No 178602    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                               2868 of 3075

Robert L Pritts P.R. of the Estate of William Aaron     Clm No 178603    Filed In Cases: 607
Pritts
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Edward F. Pugh, Jr. P.R. of the Estate of Edward F.     Clm No 178604    Filed In Cases: 607
Pugh
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Gordon A. Pulley                                        Clm No 178605    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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  Claims Details                                                                                               2869 of 3075

Alana C. Gaynor P.R. Of the Estate of Patrick           Clm No 178606    Filed In Cases: 607
Purbaugh, Jr.
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Robert Rainier Sr                                       Clm No 178607    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Rhonda Lee Jones P.R. of the Estate of Robert B.        Clm No 178608    Filed In Cases: 607
Ralston, Jr.
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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  Claims Details                                                                                              2870 of 3075

Marion H Randolph                                      Clm No 178609    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Isack Rapaport                                         Clm No 178610    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Barbara A. Rather P.R. of the Estate of Edward H.      Clm No 178611    Filed In Cases: 607
Rather
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Guy A Raybold                                          Clm No 178612    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Larry N Redemann P.R. of the Estate of Marion M        Clm No 178613    Filed In Cases: 607
Redemann
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Larry G Reeder                                         Clm No 178614    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                              2872 of 3075

Thomas D Reenock                                       Clm No 178615    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
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John M Reeser                                          Clm No 178616    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Clifford G Rehrig                                      Clm No 178617    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Sharon Kelmartin P.R. of the Estate of Clarence F         Clm No 178618    Filed In Cases: 607
Reinholdt
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Durrell Remaley                                           Clm No 178619    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Paul Fred Farrell P.R. of the Estate of Wilbert           Clm No 178620    Filed In Cases: 607
Rennie
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Arthur L Rice                                              Clm No 178621    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Mille F. Rice P.R. Of the Estate of Paul M. Rice           Clm No 178622    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Thomas J Richmond                                          Clm No 178623    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




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William Ronald Riggleman                               Clm No 178624    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Ronald M Dallago                                       Clm No 178625    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Judith A. D'Amico P.R. of the Estate of Joseph P.      Clm No 178626    Filed In Cases: 607
D'Amico, Sr.
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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  Claims Details                                                                                                2876 of 3075

Charles Davidson Jr                                      Clm No 178627    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Phyllis D. Ware P.R. of the Estate of Hillbrand C.       Clm No 178628    Filed In Cases: 607
Davis
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Homer E Davis                                            Clm No 178629    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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   Bar Date
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James L.Davis                                          Clm No 178630    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Ricky D. Davis                                         Clm No 178631    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




William S. Davis                                       Clm No 178632    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Pers Rep. Pending, Estate of William Dean              Clm No 178633    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Richard D. Decarlo                                     Clm No 178634    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




John L. Dewalt                                         Clm No 178635    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Wendy D. Teel P.R. Of the Estate Of Darrell Diehl      Clm No 178636    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Arlie B. Dolly, Jr                                     Clm No 178637    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Anthony P. Donofrio                                    Clm No 178638    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Eleanor R. Doolan                                      Clm No 178639    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Donald T. Dougherty                                    Clm No 178640    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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   Bar Date
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Richard Kenneth Duckworth                              Clm No 178641    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                               2881 of 3075

William E. Duckworth                                    Clm No 178642    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Michael E. Duffy                                        Clm No 178643    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Patricia Duffy P.R. Of the Estate Of Paul G. Duffy      Clm No 178644    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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  Claims Details                                                                                              2882 of 3075

Lloyd Duncan                                           Clm No 178645    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Cassandra Colon P.R. Of the Estate Of Richard P.       Clm No 178646    Filed In Cases: 607
Durfey
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Linda Durham P.R. Of the Estate Of Willis M.           Clm No 178647    Filed In Cases: 607
Durham
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Garlock Sealing Technologies LLC, et al.

  Claims Details                                                                                                2883 of 3075

Fred J. Ehrgott                                          Clm No 178648    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Margie Erkine P.R. Of the Estate Of Darrell E.           Clm No 178649    Filed In Cases: 607
Erskine
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Gary W. Evans P.R. Of the Estate Of Joseph D.            Clm No 178650    Filed In Cases: 607
Evans
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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  Claims Details                                                                                               2884 of 3075

Norman J. Evans                                         Clm No 178651    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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William R. Fahnestock                                   Clm No 178652    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Florence Maccarthy, Esq For the Case of Frank           Clm No 178653    Filed In Cases: 607
Farrell
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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  Claims Details                                                                                              2885 of 3075

Robert Farrow                                          Clm No 178654    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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George W. Fawley, Sr.                                  Clm No 178655    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Gregory Clarence Fazenbaker                            Clm No 178656    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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William G. Fazenbaker                                   Clm No 178657    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Pers. Rep. Pending, Estate of Shirley Feagley           Clm No 178658    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
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William Feinberg                                        Clm No 178659    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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  Claims Details                                                                                                  2887 of 3075

Cynthia Y. Fenwick P.R. Of the Estate of David W.          Clm No 178660    Filed In Cases: 607
Fenwick
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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Dennis G. Fertal                                           Clm No 178661    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Claim Face Value




Gerald L. Fike P.R. Of the Estate Of Gloria Fike           Clm No 178662    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
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Lee C. Fisher                                          Clm No 178663    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Gary L. Flanagan                                       Clm No 178664    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Terrell E. Flanigan                                    Clm No 178665    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Jesus Flores                                            Clm No 178666    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Sharon Floyd P.R. Of the Estate Of Michael L.           Clm No 178667    Filed In Cases: 607
Floyd, Sr
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




John Folcarelli                                         Clm No 178668    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Clarence R. Forcino                                    Clm No 178669    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Carl H. Foster                                         Clm No 178670    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
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Edward Fowler                                          Clm No 178671    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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  Claims Details                                                                                              2891 of 3075

Eugene R. French                                       Clm No 178672    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Richard S. Frey                                        Clm No 178673    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Jean E. Frey P.R. Of the Estate Of Richard D. Frey     Clm No 178674    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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  Claims Details                                                                                                2892 of 3075

George A. Fritz                                          Clm No 178675    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Robert L. Fullington, Jr                                 Clm No 178676    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




DiVina C. Gallatin P.R. Of the Estate Of Henry           Clm No 178677    Filed In Cases: 607
Gallatin
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                              2893 of 3075

Thomas J. Gallagher                                    Clm No 178678    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Elbert R. Gamble, Jr                                   Clm No 178679    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Paul N. Gangewere                                      Clm No 178680    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Baltimore, MD 21201


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  Claims Details                                                                                                2894 of 3075

Ann Kelly P.R. of the Estate of Joseph A. Ganguzza       Clm No 178681    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Brian W. Gaugler                                         Clm No 178682    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Denise Gehring P.R. of the Estate of George J.           Clm No 178683    Filed In Cases: 607
Gehring, Jr.
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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  Claims Details                                                                                                 2895 of 3075

Craig A. Geiger P.R. of the Estate of Robert L.           Clm No 178684    Filed In Cases: 607
Geiger
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Steve W. Gerhart                                          Clm No 178685    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Harry C. Gerstenberg, Jr.                                 Clm No 178686    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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  Claims Details                                                                                              2896 of 3075

James B. Gheen                                         Clm No 178687    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Claim Face Value




Pers. Rep. Pending Estate of Rufus Gholson             Clm No 178688    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Evelyn J. Gibby                                        Clm No 178689    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                              2897 of 3075

Carolyn K. Gibson P.R. of the Estate of Caroline K.    Clm No 178690    Filed In Cases: 607
Gibson
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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John Brown P.R. of the Estate of Robert Gilbert        Clm No 178691    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Claim Face Value




William A. Gilbert, Jr.                                Clm No 178692    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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  Claims Details                                                                                              2898 of 3075

Bernard J. Gillespie                                   Clm No 178693    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Lee F. Glab                                            Clm No 178694    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Eugene Glass                                           Clm No 178695    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                               2899 of 3075

Gwyna Tillman P.R. of the Estate of Sadie L.            Clm No 178696    Filed In Cases: 607
Goodall
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Ross H. Gordon                                          Clm No 178697    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Barbara L. Lubunyz P.R. of the Estate of Mary           Clm No 178698    Filed In Cases: 607
Graber
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                              2900 of 3075

Pers. Rep. Pending Estate of Durwood Graham            Clm No 178699    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Derek J. Graves                                        Clm No 178700    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Kelly W. Graves                                        Clm No 178701    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                               2901 of 3075

Kenneth Graves                                          Clm No 178702    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Ruth Gray P.R. of the Estate of Alonzo Gray             Clm No 178703    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Richard A. Gray P.R. of the Estate of Eric R. Gray      Clm No 178704    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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  Claims Details                                                                                              2902 of 3075

Ronald A. Gregory                                      Clm No 178705    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Daniel A. Grissom, Sr.                                 Clm No 178706    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Robert Gross Jr. Pers. Rep. Estate of Robert Gross     Clm No 178707    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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  Claims Details                                                                                               2903 of 3075

Rory Hahn                                               Clm No 178708    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
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Pers. Rep. Pending Estate of Darrell Hall               Clm No 178709    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Marguerite Hall P.R. of the Estate of Walter W. Hall    Clm No 178710    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Jeffery Halleman P.R. of the Estate of Charles           Clm No 178711    Filed In Cases: 607
Halleman
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Martin Hammond                                           Clm No 178712    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Thomas Hanley                                            Clm No 178713    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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  Claims Details                                                                                              2905 of 3075

George M. Hanna                                        Clm No 178714    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Michael Hanson                                         Clm No 178715    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Claim Face Value




Janice L. Harden P.R. of the Estate of Donald Ray      Clm No 178716    Filed In Cases: 607
Harden
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                               2906 of 3075

Lorraine J. Scott P.R. of the Estate of John Hardin     Clm No 178717    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Ruby Jean Hardy                                         Clm No 178718    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Claim Face Value




Sylvia M. Hardy P.R. of the Estate of Lorenzo M.        Clm No 178719    Filed In Cases: 607
Hardy
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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  Claims Details                                                                                              2907 of 3075

Floyd Harkinson                                        Clm No 178720    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Robert K. Harnsberger P.R. of the Estate of Robert     Clm No 178721    Filed In Cases: 607
K. Harnsberger
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Thomas A. Harnsberger P.R. Of the Estate of            Clm No 178722    Filed In Cases: 607
Robert K. Harnsberger
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                              2908 of 3075

Leon Harris                                            Clm No 178723    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Betty Lou Hartman P.R. of the Estate of Francis A.     Clm No 178724    Filed In Cases: 607
Hartman
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Robert E. Hartranft                                    Clm No 178725    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                              2909 of 3075

Drusilla Pierce P.R. of the Estate of David Edward     Clm No 178726    Filed In Cases: 607
Hawkins
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




Alta J. Hedish P.R. of the Estate of John Hedish       Clm No 178727    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Lamar Hedrick                                          Clm No 178728    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                              2910 of 3075

Dennis W. Hein                                         Clm No 178729    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Richard D. Helmick                                     Clm No 178730    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Mitchell Herman                                        Clm No 178731    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                              2911 of 3075

Philip L. Herman                                       Clm No 178732    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Richard Hermann                                        Clm No 178733    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Carl A. Hess                                           Clm No 178734    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                                 2912 of 3075

James F. Hickman                                          Clm No 178735    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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   Claim Face Value




James W. Hoffert P.R. of the Estate of Terry J.           Clm No 178736    Filed In Cases: 607
Hoffert
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Pers. Rep. Pending Estate of Sylvia Hoffman               Clm No 178737    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                                2913 of 3075

Jodi Leigh Holland, Next of Kin, Estate of Max           Clm No 178738    Filed In Cases: 607
Holland
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Ethel Hollenbach Surv. Sp. Est. of Barry R.              Clm No 178739    Filed In Cases: 607
Hollenbach
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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James H. Horne, Jr.                                      Clm No 178740    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                              2914 of 3075

James Franklin Houston                                 Clm No 178741    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Wayne D. Howard                                        Clm No 178742    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Lawrence A. Hughes                                     Clm No 178743    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                               2915 of 3075

Pers. Rep. Pending Estate of Jerry Hunley               Clm No 178744    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Elmer L. Hurd, Jr.                                      Clm No 178745    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Anne Marie Coakley P.R. of the Estate of Rose           Clm No 178746    Filed In Cases: 607
Marie Hurdle
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                                  2916 of 3075

Mark James Irving, Sr.                                     Clm No 178747    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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Howard J. Jacobs                                           Clm No 178748    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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Mildred E. Jefferson P.R. of the Estate of David           Clm No 178749    Filed In Cases: 607
Jefferson
c/o Law Offices of Peter G. Angelos, P.C.                  Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                           UNS                              Unknown
100 North Charles St., 22nd Flr
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Carol J. Jenkins P.R. of the Estate of Clifton J.           Clm No 178750    Filed In Cases: 607
Jenkins, Sr.
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                            UNS                              Unknown
100 North Charles St., 22nd Flr
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Kenneth M. Jenkins                                          Clm No 178751    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                            UNS                              Unknown
100 North Charles St., 22nd Flr
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Leonard N. Jenkins                                          Clm No 178752    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                   Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                            UNS                              Unknown
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  Claims Details                                                                                                2918 of 3075

Daniel F. Job P.R. Of the Estate of Foster Job           Clm No 178753    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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John Johnson P.R. of the Estate of Treva E.              Clm No 178754    Filed In Cases: 607
Johnson
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Marshall D. Jones, Jr. P.R. of the Estate of Marshall    Clm No 178755    Filed In Cases: 607
D. Jones
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
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Thomas G. Jones                                         Clm No 178756    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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Baltimore, MD 21201


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Mary Ann Kametz P.R. of the Estate of John M.           Clm No 178757    Filed In Cases: 607
Kametz
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




James R. Kates                                          Clm No 178758    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




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  Claims Details                                                                                               2920 of 3075

James T. Kauffman P.R. of the Estate of Richard W.      Clm No 178759    Filed In Cases: 607
Kauffman, Sr.
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




James Thomas Kegg                                       Clm No 178760    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Mary E. Sariti P.R. of the Estate of James V.           Clm No 178761    Filed In Cases: 607
Kennedy
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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  Claims Details                                                                                              2921 of 3075

James V. Kennedy P.R. Of the Estate of James V.        Clm No 178762    Filed In Cases: 607
Kennedy
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Michael D. Kennedy                                     Clm No 178763    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Catherine Miller P.R. of the Estate of Raymond Faye    Clm No 178764    Filed In Cases: 607
Kiddy
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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  Claims Details                                                                                               2922 of 3075

Eva K. Kidwell                                          Clm No 178765    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




Jimmy Richards P.R. of the Estate of Joe P. Kincaid     Clm No 178766    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Marion Kintz P.R. of the Estate of John Kintz           Clm No 178767    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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  Claims Details                                                                                              2923 of 3075

John C. Koch                                           Clm No 178768    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Miles C. Koger                                         Clm No 178769    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
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Pers. Rep. Pending Estate of Eric Kokosinski           Clm No 178770    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                               2924 of 3075

Cleo V. Kollmann                                        Clm No 178771    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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   Bar Date
   Claim Face Value




John D. Kontorousis                                     Clm No 178772    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Claim Face Value




Florence E. Kratochvil P.R. of the Estate of William    Clm No 178773    Filed In Cases: 607
A. Kratochvil
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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  Claims Details                                                                                              2925 of 3075

Eugene Krumenacker                                     Clm No 178774    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Dorothy Kuhn P.R. of the Estate of Alva W. Kuhn        Clm No 178775    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Doris Kunsman                                          Clm No 178776    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                              2926 of 3075

Nancy Labert P.R. of the Estate of Thomas Labert       Clm No 178777    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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William R. Lease                                       Clm No 178778    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Kaleva Leino                                           Clm No 178779    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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  Claims Details                                                                                                2927 of 3075

William R. Lerch Jr. P.R. of the Estate of William R.    Clm No 178780    Filed In Cases: 607
Lerch
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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Pers. Rep. Pending Estate of Francis Letterio            Clm No 178781    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




Rhona Case P.R. of the Estate of Carl A. Lewis           Clm No 178782    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                         UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                              2928 of 3075

William L. Pepple P.R. of the Estate of Kenneth R.     Clm No 178783    Filed In Cases: 607
Lewis
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Doris Lillard                                          Clm No 178784    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Bar Date
   Claim Face Value




Robert A. Limons                                       Clm No 178785    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                              2929 of 3075

John H. Little                                         Clm No 178786    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Donna Lobach-Berger P.R. of the Estate of Walter       Clm No 178787    Filed In Cases: 607
W. Lobach
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Paul Lonscak                                           Clm No 178788    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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Garry H. Lovely                                        Clm No 178789    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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   Claim Face Value




James E. Loving, Jr. P.R. of the Estate of James E.    Clm No 178790    Filed In Cases: 607
Loving Sr.
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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Paul J. Lupcho                                         Clm No 178791    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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  Claims Details                                                                                               2931 of 3075

Raymond E. Crawford P.R. of the Estate of Oliver N.     Clm No 178792    Filed In Cases: 607
Lynch
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201


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Elaine Malloy P.R. of the Estate of Robert F. Malloy    Clm No 178793    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
100 North Charles St., 22nd Flr
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Elizabeth Manger P.R. of the Estate of Wayne            Clm No 178794    Filed In Cases: 607
Manger
c/o Law Offices of Peter G. Angelos, P.C.               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                        UNS                              Unknown
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  Claims Details                                                                                                 2932 of 3075

Pers. Rep. Pending Estate of Theodore Mann                Clm No 178795    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Bar Date
   Claim Face Value




Melissa C. Ward P.R. of the Estate of Robert J.           Clm No 178796    Filed In Cases: 607
Mannel
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
100 North Charles St., 22nd Flr
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Sammy N. Martin                                           Clm No 178797    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.                 Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                          UNS                              Unknown
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Steven J. Martin                                       Clm No 178798    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



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   Claim Face Value




Carl O. May                                            Clm No 178799    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
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Pers. Rep. Pending Estate of Camillus Mays             Clm No 178800    Filed In Cases: 607
c/o Law Offices of Peter G. Angelos, P.C.              Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
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ANGELO NARO                                      Clm No 178801    Filed In Cases: 607
Attn: DEIRDRE WOULFE PACHECO, ESQ.               Class                Claim Detail Amount         Final Allowed Amount
C/O WILENTZ, GOLDMAN & SPITZER
                                                 UNS                              Unknown
90 WOODBRIDGE CENTER DRIVE
WOODBRIDGE, NJ 07095



  Date Filed               6-Oct-2015
  Bar Date
  Claim Face Value




EVA CRUICKSHANK, PERS. REP. FOR DAVID L.         Clm No 178802    Filed In Cases: 607
CRUICKSHANK, JR.
DAVID L. CRUICKSHANK JR.                         Class                Claim Detail Amount         Final Allowed Amount
C/O BRAYTON PURCELL, LLP.
                                                 UNS                              Unknown
222 RUSH LANDING ROAD
NOVATO, CA 94948-6169


  Date Filed               6-Oct-2015
  Bar Date
  Claim Face Value




EVERETT LEVAR COLLIER, DECEASED                  Clm No 178803    Filed In Cases: 607
C/O REAUD, MORGAN & QUINN, LLC                   Class                Claim Detail Amount         Final Allowed Amount
P.O. BOX 26005
                                                 UNS                              Unknown
BEAUMONT, TX 77720-6005




  Date Filed              14-Oct-2015
  Bar Date
  Claim Face Value




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JIMMIE RAY SONNIER, DECEASED                     Clm No 178804    Filed In Cases: 607
C/O REAUD, MORGAN & QUINN, LLC                   Class                Claim Detail Amount         Final Allowed Amount
P.O. BOX 26005
                                                 UNS                              Unknown
BEAUMONT, TX 77720-6005




  Date Filed              14-Oct-2015
  Bar Date
  Claim Face Value




BILLY RAY TRAHAN, SR. DECEASED                   Clm No 178805    Filed In Cases: 607
C/O REAUD, MORGAN & QUINN, LLC                   Class                Claim Detail Amount         Final Allowed Amount
P.O. BOX 26005
                                                 UNS                              Unknown
BEAUMONT, TX 77720-6005




  Date Filed              14-Oct-2015
  Bar Date
  Claim Face Value




WARREN LEE GRIFFITH, DECEASED                    Clm No 178806    Filed In Cases: 607
C/O REAUD, MORGAN & QUINN, LLC                   Class                Claim Detail Amount         Final Allowed Amount
P.O. BOX 26005
                                                 UNS                              Unknown
BEAUMONT, TX 77720-6005




  Date Filed              14-Oct-2015
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  Claim Face Value




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EDWARD SPRAYBERRY                                Clm No 178807    Filed In Cases: 607
C/O ENVIRONMENTAL ATTORNEYS GROUP                Class                Claim Detail Amount         Final Allowed Amount
4000 EAGLE POINT CORPORATE DRIVE
                                                 UNS                              Unknown
BIRMINGHAM, AL 35242




  Date Filed               6-Oct-2015
  Bar Date
  Claim Face Value




DOLORES WASHINGTON BY STAR MARTIN                Clm No 178808    Filed In Cases: 607
C/O LAW OFFICES OF DANNY E. CUPIT, PC            Class                Claim Detail Amount         Final Allowed Amount
P.O. BOX 22929
                                                 UNS                              Unknown
JACKSON, MI 39225




  Date Filed              14-Oct-2015
  Bar Date
  Claim Face Value

  Amend Claim No 179243




DEWEY H. ROWE, JR. BY DOROTHY ROWE               Clm No 178809    Filed In Cases: 607
C/O LAW OFFICES OF DANNY E. CUPIT, PC            Class                Claim Detail Amount         Final Allowed Amount
P.O. BOX 22929
                                                 UNS                              Unknown
JACKSON, MI 39225




  Date Filed              14-Oct-2015
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  Claim Face Value

  Amend Claim No 179252




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ROBERT CARTER                                    Clm No 178810    Filed In Cases: 607
C/O LAW OFFICES OF DANNY E. CUPIT, PC            Class                Claim Detail Amount         Final Allowed Amount
P.O.BOX 22929
                                                 UNS                              Unknown
JACKSON, MI 39225




  Date Filed              14-Oct-2015
  Bar Date
  Claim Face Value

  Amend Claim No 179251




JOHNNIE SHAW BY VICTORIA M. SHAW                 Clm No 178811    Filed In Cases: 607
C/O LAW OFFICES OF DANNY E. CUPIT, PC            Class                Claim Detail Amount         Final Allowed Amount
P.O.BOX 22929
                                                 UNS                              Unknown
JACKSON, MI 39225




  Date Filed              14-Oct-2015
  Bar Date
  Claim Face Value

  Amend Claim No 179250




JOSH MINOR                                       Clm No 178812    Filed In Cases: 607
C/O LAW OFFICES OF DANNY E. CUPIT, PC            Class                Claim Detail Amount         Final Allowed Amount
P.O.BOX 22929
                                                 UNS                              Unknown
JACKSON, MI 39225




  Date Filed              14-Oct-2015
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  Claim Face Value

  Amend Claim No 179248




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NEAMIE MURRAY BY MARIE MURRAY                    Clm No 178813    Filed In Cases: 607
C/O LAW OFFICES OF DANNY E. CUPIT, PC            Class                Claim Detail Amount         Final Allowed Amount
P.O. BOX 22929
                                                 UNS                              Unknown
JACKSON, MI 39225




  Date Filed              14-Oct-2015
  Bar Date
  Claim Face Value

  Amend Claim No 179249




JAMES C. OLIVER BY DOROTHY OLIVER                Clm No 178814    Filed In Cases: 607
C/O LAW OFFICES OF DANNY E. CUPIT, PC            Class                Claim Detail Amount         Final Allowed Amount
P.O. BOX 22929
                                                 UNS                              Unknown
JACKSON, MI 39225




  Date Filed              14-Oct-2015
  Bar Date
  Claim Face Value

  Amend Claim No 179247




JIMMIE JONES                                     Clm No 178815    Filed In Cases: 607
C/O LAW OFFICES OF DANNY E. CUPIT, PC            Class                Claim Detail Amount         Final Allowed Amount
P.O. BOX 22929
                                                 UNS                              Unknown
JACKSON, MI 39225




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  Claim Face Value

  Amend Claim No 179246




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  Claims Details                                                                                         2939 of 3075

PAUL E. WHITFIELD BY MILDRED WHITFIELD            Clm No 178816    Filed In Cases: 607
C/O LAW OFFICES OF DANNY E. CUPIT, PC             Class                Claim Detail Amount         Final Allowed Amount
P.O. BOX 22929
                                                  UNS                              Unknown
JACKSON, MI 39225




   Date Filed              14-Oct-2015
   Bar Date
   Claim Face Value

   Amending Claim No 179245




TILOUS SMITH                                      Clm No 178817    Filed In Cases: 607
C/O LAW OFFICES OF DANNY E. CUPIT, PC             Class                Claim Detail Amount         Final Allowed Amount
P.O. BOX 22929
                                                  UNS                              Unknown
JACKSON, MI 39225




   Date Filed              14-Oct-2015
   Bar Date
   Claim Face Value

   Amending Claim No 179244




RUDY PEREZ                                        Clm No 178818    Filed In Cases: 607
271 MILLPOINT PL.                                 Class                Claim Detail Amount         Final Allowed Amount
SALT LAKE CITY, UT 84115
                                                  UNS                              Unknown




   Date Filed              14-Oct-2015
   Bar Date
   Claim Face Value




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  Claims Details                                                                                              2940 of 3075

THOMAS E. GUE                                          Clm No 178821    Filed In Cases: 607
C/O LAW OFFICES OF PETER G. ANGELOS, P.C               Class                Claim Detail Amount         Final Allowed Amount
Attn: Paul M. Matheny
                                                       UNS                              Unknown
100 North Charles St., 22nd Flr
Baltimore, MD 21201



   Date Filed                     5-Oct-2015
   Bar Date
   Claim Face Value




BRIAN LEE WATSON                                       Clm No 178822    Filed In Cases: 607
408 N. CAVENDISH ST.                                   Class                Claim Detail Amount         Final Allowed Amount
QUEEN VALLEY, AZ 85118
                                                       UNS                              Unknown




   Date Filed                30-Sep-2015
   Bar Date
   Claim Face Value




ANDRE LACOMBE                                          Clm No 178823    Filed In Cases: 607
31-635 PAUL-DOYON                                      Class                Claim Detail Amount         Final Allowed Amount
BOUCHERVILLE, QC J4B 0A8
                                                       UNS                         $100,000.00
CANADA
                                                                                   $100,000.00


   Date Filed                     5-Oct-2015
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   Claim Face Value          $100,000.00




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  Claims Details                                                                                         2941 of 3075

RICK L. MARSHALL                                  Clm No 178824    Filed In Cases: 607
990 LITTERAL FK RD                                Class                Claim Detail Amount         Final Allowed Amount
SAWYERSVILLE, KY 41465
                                                  UNS                              Unknown




   Date Filed            21-Oct-2015
   Bar Date
   Claim Face Value




Jocelyn Senechal                                  Clm No 178825    Filed In Cases: 607
1746 Maxwell                                      Class                Claim Detail Amount         Final Allowed Amount
Jonquiere, QC G7S 3I5
                                                  UNS                              Unknown
Canada




   Date Filed             4-Oct-2015
   Bar Date
   Claim Face Value




Edward P. Pienta                                  Clm No 178826    Filed In Cases: 607
22483 Wood Branch Road                            Class                Claim Detail Amount         Final Allowed Amount
Gerogetown, DE 19947
                                                  UNS                              Unknown




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   Bar Date
   Claim Face Value




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  Claims Details                                                                                          2942 of 3075

Charles J. Carrone, Sr.                            Clm No 178827    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459


   Date Filed                28-Oct-2015
   Bar Date
   Claim Face Value




Roy T. Plaisance                                   Clm No 178828    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459



   Date Filed                28-Oct-2015
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   Claim Face Value




Henry Patrolia                                     Clm No 178829    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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  Claims Details                                                                                          2943 of 3075

Felix A. Oubre                                     Clm No 178830    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459


   Date Filed                28-Oct-2015
   Bar Date
   Claim Face Value




William A. Oddo, Jr.                               Clm No 178831    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459



   Date Filed                28-Oct-2015
   Bar Date
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Mary L. Morvant                                    Clm No 178832    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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  Claims Details                                                                                          2944 of 3075

Louis M. Mohr                                      Clm No 178833    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459



   Date Filed                28-Oct-2015
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   Claim Face Value




Donnell J. Mire                                    Clm No 178834    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459


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   Claim Face Value




Paul O. Miller                                     Clm No 178835    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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Lloyd A. Mahe                                      Clm No 178836    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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   Claim Face Value




Joseph L. Lirette, Sr.                             Clm No 178837    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459


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Joseph Laporte                                     Clm No 178838    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
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  Claims Details                                                                                          2946 of 3075

Frank V. Lapeyrolerie                              Clm No 178839    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459



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   Claim Face Value




Merlin P. Landry                                   Clm No 178840    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459


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Sam Klack                                          Clm No 178841    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
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  Claims Details                                                                                          2947 of 3075

Otto King                                          Clm No 178842    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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   Claim Face Value




John Johnson, Jr.                                  Clm No 178843    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459



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John S. Jacobsen, Jr.                              Clm No 178844    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
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  Claims Details                                                                                          2948 of 3075

Newal Hunter                                       Clm No 178845    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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Donald N. Hebert                                   Clm No 178846    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459



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Douglas L. Hayes                                   Clm No 178847    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
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  Claims Details                                                                                          2949 of 3075

George Harvey                                      Clm No 178848    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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Howard Hardenstein                                 Clm No 178849    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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Henry L. Harden, Sr.                               Clm No 178850    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
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Jimmy D. Hall, Sr.                                 Clm No 178851    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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   Claim Face Value




Louis Genusa                                       Clm No 178852    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459


   Date Filed                28-Oct-2015
   Bar Date
   Claim Face Value




Stanley J. Gaudet, Jr.                             Clm No 178853    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459


   Date Filed                28-Oct-2015
   Bar Date
   Claim Face Value




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  Claims Details                                                                                          2951 of 3075

Carl Ford                                          Clm No 178854    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459



   Date Filed                28-Oct-2015
   Bar Date
   Claim Face Value




Iris Falgoust                                      Clm No 178855    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459


   Date Filed                28-Oct-2015
   Bar Date
   Claim Face Value




Templeton Evans                                    Clm No 178856    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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  Claims Details                                                                                          2952 of 3075

George Dubea                                       Clm No 178857    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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   Claim Face Value




Beverly Dowdle                                     Clm No 178858    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459


   Date Filed                28-Oct-2015
   Bar Date
   Claim Face Value




John DiMiceli, Jr.                                 Clm No 178859    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
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   Bar Date
   Claim Face Value




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Alga Crowe                                         Clm No 178860    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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   Claim Face Value




Albert Coulter                                     Clm No 178861    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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   Claim Face Value




Nita Constant                                      Clm No 178862    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
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  Claims Details                                                                                          2954 of 3075

Pauline Citizen                                    Clm No 178863    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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   Bar Date
   Claim Face Value




Terry J. Charrier                                  Clm No 178864    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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   Claim Face Value




Charles Catalanotto                                Clm No 178865    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
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  Claims Details                                                                                          2955 of 3075

Stephen A. Buquoi                                  Clm No 178866    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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   Date Filed                28-Oct-2015
   Bar Date
   Claim Face Value




Rufus Blow, Jr.                                    Clm No 178867    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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   Claim Face Value




Melvin J. Ballard, III                             Clm No 178868    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
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Luby A. Baio                                       Clm No 178869    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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   Date Filed                28-Oct-2015
   Bar Date
   Claim Face Value




John E. Bacques, Jr.                               Clm No 178870    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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Leonard Abadie, Jr.                                Clm No 178871    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
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Dave Punch                                         Clm No 178872    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
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   Date Filed                28-Oct-2015
   Bar Date
   Claim Face Value




Jereiana Relf                                      Clm No 178873    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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   Date Filed                28-Oct-2015
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Julian Rivera                                      Clm No 178874    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
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John R. Roucher, Sr.                               Clm No 178875    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
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   Date Filed                28-Oct-2015
   Bar Date
   Claim Face Value




Gerald Schexnayder                                 Clm No 178876    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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   Claim Face Value




Neva Schexnayder                                   Clm No 178877    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
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   Claim Face Value




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Clarence C. Scott                                  Clm No 178878    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459


   Date Filed                28-Oct-2015
   Bar Date
   Claim Face Value




Deborah A. Searcy                                  Clm No 178879    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
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   Date Filed                28-Oct-2015
   Bar Date
   Claim Face Value




Dannal Sharp                                       Clm No 178880    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
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  Claims Details                                                                                          2960 of 3075

Ernest J. Watson, Jr.                              Clm No 178881    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459


   Date Filed                28-Oct-2015
   Bar Date
   Claim Face Value




Charles F. Wusthoff                                Clm No 178882    Filed In Cases: 607
c/o Landry & Swarr, LLC                            Class                Claim Detail Amount         Final Allowed Amount
Attn: Mickey P. Landry
                                                   UNS                              Unknown
1010 Common St., Suite 2050
New Orleans, LA 70112-2459



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   Bar Date
   Claim Face Value




Alexander Starks                                   Clm No 178883    Filed In Cases: 607
Calvin L. Goodwin                                  Class                Claim Detail Amount         Final Allowed Amount
205 Sunset Drive
                                                   UNS                              Unknown
Rock Hill, SC 29730




   Date Filed                 9-Nov-2015
   Bar Date
   Claim Face Value




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  Claims Details                                                                                             2961 of 3075

Joseph W. Grier                                       Clm No 178884    Filed In Cases: 607
101 N. Tryon Steet, Suite 1240                        Class                Claim Detail Amount         Final Allowed Amount
Charlotte, NC 28246
                                                      UNS                              Unknown




   Date Filed                    1-Jul-2015
   Bar Date
   Claim Face Value




David Gold                                            Clm No 178885    Filed In Cases: 607
510 Ave. J.                                           Class                Claim Detail Amount         Final Allowed Amount
Brooklyn, NY 11230
                                                      UNS                              Unknown




   Date Filed                7-Dec-2015
   Bar Date
   Claim Face Value

   Duplicate Claim No   179022




ERROL SHEEHY                                          Clm No 178886    Filed In Cases: 607
5555 CHEMIN SAINT-ANDRE, RR NO. 2                     Class                Claim Detail Amount         Final Allowed Amount
JONQUIERE, QUEBEC, G7X 7V4
                                                      UNS                              Unknown
CANADA




   Date Filed                7-Dec-2015
   Bar Date
   Claim Face Value




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ART CHARLEBOIS                                   Clm No 178887    Filed In Cases: 607
1647 DOLLARD AVE.                                Class                Claim Detail Amount         Final Allowed Amount
SUDBURY, ONTARIO, P3A 4H1
                                                 UNS                              Unknown
CANADA




  Date Filed              7-Dec-2015
  Bar Date
  Claim Face Value




PAT WILLIAMSON                                   Clm No 178888    Filed In Cases: 607
6143 12TH AVE.                                   Class                Claim Detail Amount         Final Allowed Amount
NEW PRT RICHEY, FL 34653-5225
                                                 UNS                              Unknown




  Date Filed             23-Nov-2015
  Bar Date
  Claim Face Value




NORMA B. HENSLEY                                 Clm No 178889    Filed In Cases: 607
RE: RENFORD LEE HENSLEY                          Class                Claim Detail Amount         Final Allowed Amount
1039 MANORWOOD DR.
                                                 UNS                              Unknown
KERNERSVILLE, NC 27284




  Date Filed             16-Nov-2015
  Bar Date
  Claim Face Value




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LARRY E. WALDEN                                   Clm No 178890    Filed In Cases: 607
P.O. BOX 500-149502                               Class                Claim Detail Amount         Final Allowed Amount
GRADY, AR 71644
                                                  UNS                              Unknown




   Date Filed            16-Nov-2015
   Bar Date
   Claim Face Value




Kenneth Harvey Jr                                 Clm No 178893    Filed In Cases: 607
103 Meadowlark Circle                             Class                Claim Detail Amount         Final Allowed Amount
Savannah, GA 31419
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             2-Oct-2015
   Bar Date
   Claim Face Value            $0.00




Michael Haskins                                   Clm No 178894    Filed In Cases: 607
3495 Collins Rd                                   Class                Claim Detail Amount         Final Allowed Amount
Syracuse, NY 13215
                                                  UNS                                $0.00

                                                                                     $0.00


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Ronald Lahr                                       Clm No 178895    Filed In Cases: 607
756 E. Montana Ave.                               Class                Claim Detail Amount         Final Allowed Amount
St Paul, MN 55106
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             2-Oct-2015
   Bar Date
   Claim Face Value            $0.00




JAMES WHITLOW                                     Clm No 178896    Filed In Cases: 607
970 Angela                                        Class                Claim Detail Amount         Final Allowed Amount
Diana, TX 75640
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




Marie Church                                      Clm No 178897    Filed In Cases: 607
4 Bennett Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Unit C
                                                  UNS                                $0.00
Norwalk, OH 44851
                                                                                     $0.00


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   Bar Date
   Claim Face Value            $0.00




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Shirlee J. Ferguson                               Clm No 178898    Filed In Cases: 607
1737 Oakdale NW                                   Class                Claim Detail Amount         Final Allowed Amount
Warren, OH 44485
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $0.00




Flora L. Hannan                                   Clm No 178899    Filed In Cases: 607
671 Landis Road                                   Class                Claim Detail Amount         Final Allowed Amount
Freedom, PA 15042
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $0.00




Scott Montgomery                                  Clm No 178900    Filed In Cases: 607
P. O. Box 21                                      Class                Claim Detail Amount         Final Allowed Amount
Watertown, MN 55388
                                                  UNS                                $0.00

                                                                                     $0.00


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   Claim Face Value            $0.00




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Sandra I. Lopez                                   Clm No 178901    Filed In Cases: 607
7409 Serrano Ter                                  Class                Claim Detail Amount         Final Allowed Amount
Delray Beach, FL 33446
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $0.00




Betty June Scott                                  Clm No 178902    Filed In Cases: 607
P. O. Box 205                                     Class                Claim Detail Amount         Final Allowed Amount
Bridgeport, OH 43912
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




Jerry Jones                                       Clm No 178903    Filed In Cases: 607
1141 Calvert Beach Rd                             Class                Claim Detail Amount         Final Allowed Amount
St. Leonard, MD 20685
                                                  UNS                                $0.00

                                                                                     $0.00


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   Claim Face Value            $0.00




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  Claims Details                                                                                         2967 of 3075

BETTY ELLERMAN                                    Clm No 178904    Filed In Cases: 607
5306 HAMLET AVE.                                  Class                Claim Detail Amount         Final Allowed Amount
BALTIMORE, MD 21214
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $0.00




JANEEN NORRIS                                     Clm No 178905    Filed In Cases: 607
9005 NAYGALL RD.                                  Class                Claim Detail Amount         Final Allowed Amount
BALTIMORE, MD 21234
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $0.00




WILLIAM JUDY                                      Clm No 178906    Filed In Cases: 607
110 WEST RD.                                      Class                Claim Detail Amount         Final Allowed Amount
Suite #435
                                                  UNS                                $0.00
TOWSON, MD 21204
                                                                                     $0.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $0.00




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  Claims Details                                                                                         2968 of 3075

Sheryl Armstrong                                  Clm No 178907    Filed In Cases: 607
4000 Gypsy Lane                                   Class                Claim Detail Amount         Final Allowed Amount
Apt 104
                                                  UNS                                $0.00
Philadelphia, PA 19129
                                                                                     $0.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $0.00




Vincent D'Amico                                   Clm No 178908    Filed In Cases: 607
55 Dorchester Drive                               Class                Claim Detail Amount         Final Allowed Amount
Southampton, NJ 08088
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $0.00




Charles Hogan                                     Clm No 178909    Filed In Cases: 607
4212 Comly Street                                 Class                Claim Detail Amount         Final Allowed Amount
Philadelphia, PA 19135
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $0.00




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  Claims Details                                                                                         2969 of 3075

Michael D'ignazio                                 Clm No 178910    Filed In Cases: 607
67 Todmorden Drive                                Class                Claim Detail Amount         Final Allowed Amount
Rose Valley, PA 19086
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $0.00




Betty McKeown                                     Clm No 178911    Filed In Cases: 607
417 Lincoln Avenue                                Class                Claim Detail Amount         Final Allowed Amount
Collingswood, NJ 08108
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $0.00




Catherine Price                                   Clm No 178912    Filed In Cases: 607
17 Kendall Blvd.                                  Class                Claim Detail Amount         Final Allowed Amount
Oaklyn, NJ 07107
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $0.00




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  Claims Details                                                                                         2970 of 3075

Bertha King                                       Clm No 178913    Filed In Cases: 607
516 N. Columbia St.                               Class                Claim Detail Amount         Final Allowed Amount
Covington, LA 70433
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $0.00




Frederick Breaux                                  Clm No 178914    Filed In Cases: 607
516 N. Columbia St.                               Class                Claim Detail Amount         Final Allowed Amount
Covington, LA 70433
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $0.00




Dorothy Jefferson                                 Clm No 178915    Filed In Cases: 607
516 N. Columbia St.                               Class                Claim Detail Amount         Final Allowed Amount
Covington, LA 70433
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $0.00




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  Claims Details                                                                                         2971 of 3075

Betty Dyson                                       Clm No 178916    Filed In Cases: 607
516 N. Columbia St.                               Class                Claim Detail Amount         Final Allowed Amount
Covington, LA 70433
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $0.00




Patsy Fornea                                      Clm No 178917    Filed In Cases: 607
516 N. Columbia St.                               Class                Claim Detail Amount         Final Allowed Amount
Covington, LA 70433
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $0.00




Joseph Martin                                     Clm No 178918    Filed In Cases: 607
516 N. Columbia St.                               Class                Claim Detail Amount         Final Allowed Amount
Covington, LA 70433
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
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   Claim Face Value            $0.00




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  Claims Details                                                                                         2972 of 3075

Eddie Moses                                       Clm No 178919    Filed In Cases: 607
516 N. Columbia St.                               Class                Claim Detail Amount         Final Allowed Amount
Covington, LA 70433
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $0.00




Warren Pittman                                    Clm No 178920    Filed In Cases: 607
516 N. Columbia St.                               Class                Claim Detail Amount         Final Allowed Amount
Covington, LA 70433
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $0.00




John Roscoe                                       Clm No 178921    Filed In Cases: 607
516 N. Columbia St.                               Class                Claim Detail Amount         Final Allowed Amount
Covington, LA 70433
                                                  UNS                                $0.00

                                                                                     $0.00


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  Claims Details                                                                                         2973 of 3075

Louis Smith                                       Clm No 178922    Filed In Cases: 607
516 N. Columbia St.                               Class                Claim Detail Amount         Final Allowed Amount
Covington, LA 70433
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $0.00




Esther Stevens                                    Clm No 178923    Filed In Cases: 607
516 N. Columbia St.                               Class                Claim Detail Amount         Final Allowed Amount
Covington, LA 70433
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $0.00




Frank Strahan                                     Clm No 178924    Filed In Cases: 607
516 N. Columbia St.                               Class                Claim Detail Amount         Final Allowed Amount
Covington, LA 70433
                                                  UNS                                $0.00

                                                                                     $0.00


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   Claim Face Value            $0.00




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  Claims Details                                                                                         2974 of 3075

Rufus Thomas                                      Clm No 178925    Filed In Cases: 607
516 N. Columbia St.                               Class                Claim Detail Amount         Final Allowed Amount
Covington, LA 70433
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $0.00




Wiley Wilson                                      Clm No 178926    Filed In Cases: 607
516 N. Columbia St.                               Class                Claim Detail Amount         Final Allowed Amount
Covington, LA 70433
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             6-Oct-2015
   Bar Date
   Claim Face Value            $0.00




HEATHER N. ALEXANDER                              Clm No 178927    Filed In Cases: 607
10061 DONALD LANE                                 Class                Claim Detail Amount         Final Allowed Amount
GRANGER, IN 46530
                                                  UNS                                $0.00

                                                                                     $0.00


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   Claim Face Value            $0.00




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FEDERICO ALVARADO                                Clm No 178928    Filed In Cases: 607
7339 ROSCOMMON LANE                              Class                Claim Detail Amount         Final Allowed Amount
DAVISON, MI 48423
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




KIM AMES                                         Clm No 178929    Filed In Cases: 607
21961 AVON                                       Class                Claim Detail Amount         Final Allowed Amount
OAK PARK, MI 48237
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




MICHAEL BALENGER                                 Clm No 178930    Filed In Cases: 607
1505 DAKOTA AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
GLADSTONE, MI 49837
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $0.00




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KAREN S. BALLARD                                 Clm No 178931    Filed In Cases: 607
5612 JEFFERSON ROAD                              Class                Claim Detail Amount         Final Allowed Amount
NORTH BRANCH, MI 48461
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




MARLENE BARTON                                   Clm No 178932    Filed In Cases: 607
2677 BRADY ROAD                                  Class                Claim Detail Amount         Final Allowed Amount
LUPTON, MI 48635
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $0.00




JAMES BASAR,                                     Clm No 178933    Filed In Cases: 607
6990 AMES ROAD                                   Class                Claim Detail Amount         Final Allowed Amount
PARMA, OH 44129
                                                 UNS                                $0.00

                                                                                    $0.00


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  Claim Face Value             $0.00




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  Claims Details                                                                                         2977 of 3075

THOMAS BENNETT                                    Clm No 178934    Filed In Cases: 607
6221 OAKHURST DRIVE                               Class                Claim Detail Amount         Final Allowed Amount
YPSILANTI, MI 48197
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value              $0.00




SHENITA SMITH                                     Clm No 178935    Filed In Cases: 607
16300 W. 9 MILE ROAD,APT. 508                     Class                Claim Detail Amount         Final Allowed Amount
SOUTHFIELD, MI 48075
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
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   Claim Face Value              $0.00




DONNA BOWERS                                      Clm No 178936    Filed In Cases: 607
5005 MARCIEL DRIVE                                Class                Claim Detail Amount         Final Allowed Amount
ELIDA, OH 45807
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
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   Claim Face Value              $0.00




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  Claims Details                                                                                         2978 of 3075

ANNIA BANKS                                       Clm No 178937    Filed In Cases: 607
3004 RIDGECLIFFE DRIVE                            Class                Claim Detail Amount         Final Allowed Amount
FLINT, MI 48532
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $0.00




RANDALL BRYAN                                     Clm No 178938    Filed In Cases: 607
21564 GREGORY                                     Class                Claim Detail Amount         Final Allowed Amount
DEARBORN, MI 48124
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $0.00




DONNA M. BURNS                                    Clm No 178939    Filed In Cases: 607
2500 HUFFORD AVENUE NW                            Class                Claim Detail Amount         Final Allowed Amount
GRAND RAPIDS, MI 49544
                                                  UNS                                $0.00

                                                                                     $0.00


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   Claim Face Value            $0.00




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  Claims Details                                                                                         2979 of 3075

MICHAEL CANADA                                    Clm No 178940    Filed In Cases: 607
8370 LAKEVIEW DRIVE                               Class                Claim Detail Amount         Final Allowed Amount
YPSILANTI, MI 48198
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed              5-Oct-2015
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   Claim Face Value             $0.00




JAMES CHAMPION                                    Clm No 178941    Filed In Cases: 607
165 PALISADES DRIVE,APARTMENT 506                 Class                Claim Detail Amount         Final Allowed Amount
UNIVERSAL CITY, TX 78148
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed              5-Oct-2015
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   Claim Face Value             $0.00




SHIRLEY M BUTLER                                  Clm No 178942    Filed In Cases: 607
8411 CASSTOWN CLARK ROAD                          Class                Claim Detail Amount         Final Allowed Amount
CASSTOWN, OH 45312
                                                  UNS                                $0.00

                                                                                     $0.00


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   Claim Face Value             $0.00




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NINA E. CLOSURDO                                 Clm No 178943    Filed In Cases: 607
21050 33 MILE ROAD                               Class                Claim Detail Amount         Final Allowed Amount
ARMADA, MI 48005
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $0.00




LINDA COLEMAN                                    Clm No 178944    Filed In Cases: 607
213 S. SMITH STREET                              Class                Claim Detail Amount         Final Allowed Amount
EL DORADO, AR 71730
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




WARREN CORNOCK                                   Clm No 178945    Filed In Cases: 607
3688 OLD CREEK ROAD                              Class                Claim Detail Amount         Final Allowed Amount
ROCHESTER HILLS, MI 48307
                                                 UNS                                $0.00

                                                                                    $0.00


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  Claims Details                                                                                         2981 of 3075

DEBRA L. CRAWFORD                                 Clm No 178946    Filed In Cases: 607
P.O. BOX 362                                      Class                Claim Detail Amount         Final Allowed Amount
CLAY CITY, KY 40312
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $0.00




MICHAEL CRIBBINS                                  Clm No 178947    Filed In Cases: 607
11705 S. BLOCK ROAD                               Class                Claim Detail Amount         Final Allowed Amount
BIRCH RUN, MI 48415
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




RICK DANGERFIELD                                  Clm No 178948    Filed In Cases: 607
1789 MT. ZION ROAD                                Class                Claim Detail Amount         Final Allowed Amount
ASHLAND CITY, TN 37015
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




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ROSEANNE DETTLING                                 Clm No 178949    Filed In Cases: 607
2530 WATTS MILL RD                                Class                Claim Detail Amount         Final Allowed Amount
LINEVILLE, AL 36266
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
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   Claim Face Value             $0.00




JESSICA PARKS                                     Clm No 178950    Filed In Cases: 607
2445 WESTWOOD NORTHERN BLVD                       Class                Claim Detail Amount         Final Allowed Amount
APT. 6
                                                  UNS                                $0.00
CINCINNATI, OH 45211
                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value             $0.00




YOLANDA D. HAWTHORNE                              Clm No 178951    Filed In Cases: 607
33330 S. MANOR DRIVE,APT. 104                     Class                Claim Detail Amount         Final Allowed Amount
FARMINGTON, MI 48336
                                                  UNS                                $0.00

                                                                                     $0.00


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ULYSESS FIELDS                                   Clm No 178952    Filed In Cases: 607
5500 MCCLELLAN STREET,APT. 124                   Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48213
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $0.00




LOREN FROST                                      Clm No 178953    Filed In Cases: 607
2036 S. GENESEE ROAD                             Class                Claim Detail Amount         Final Allowed Amount
BURTON, MI 48519
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




EARNEST GATHING                                  Clm No 178954    Filed In Cases: 607
829 N. PARK STREET                               Class                Claim Detail Amount         Final Allowed Amount
KALAMAZOO, MI 49007
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




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MAKEVA REED                                       Clm No 178955    Filed In Cases: 607
3152 RACETRACK ROAD                               Class                Claim Detail Amount         Final Allowed Amount
DIBERVILLE, MS 39540
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




JUNE A GILLHESPY                                  Clm No 178956    Filed In Cases: 607
619 HOGAN                                         Class                Claim Detail Amount         Final Allowed Amount
GRAND RAPIDS, MI 49507
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




KAREN L. GREEN                                    Clm No 178957    Filed In Cases: 607
11570 BEHLKE RD                                   Class                Claim Detail Amount         Final Allowed Amount
FIFE LAKE, MI 49633
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




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RAYMOND GREENWOOD                                Clm No 178958    Filed In Cases: 607
1645 THALIA AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
YOUNGSTOWN, OH 44514
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




JAMES HAMMOND                                    Clm No 178959    Filed In Cases: 607
18405 FITZPATRICK STREET,APT. 207                Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48228
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




TERRY R. HARRIS                                  Clm No 178960    Filed In Cases: 607
1909 THUNDERBIRD BOULEVARD                       Class                Claim Detail Amount         Final Allowed Amount
EDMOND, OK 73013
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




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TERRY R. HARRIS                                  Clm No 178961    Filed In Cases: 607
1909 THUNDERBIRD BOULEVARD                       Class                Claim Detail Amount         Final Allowed Amount
EDMOND, OK 73013
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




ALICE E. HARTSELL                                Clm No 178962    Filed In Cases: 607
1395 OAK HILL DRIVE                              Class                Claim Detail Amount         Final Allowed Amount
ALGER, MI 48610
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




ARTHUR HARVEY                                    Clm No 178963    Filed In Cases: 607
3325 W. WARREN STREET                            Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48208
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $0.00




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LOUIS HATTEMER                                    Clm No 178964    Filed In Cases: 607
14495 YALE STREET                                 Class                Claim Detail Amount         Final Allowed Amount
LIVONIA, MI 48154
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




CHARLES HAY                                       Clm No 178965    Filed In Cases: 607
914 W. TAYLOR STREET                              Class                Claim Detail Amount         Final Allowed Amount
EL DORADO, AR 71730
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




GERALD HENRY                                      Clm No 178966    Filed In Cases: 607
14154 HOBART AVENUE                               Class                Claim Detail Amount         Final Allowed Amount
WARREN, MI 48089
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $0.00




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  Claims Details                                                                                         2988 of 3075

ROBERT HENRY                                      Clm No 178967    Filed In Cases: 607
9250 BATAAN DRIVE                                 Class                Claim Detail Amount         Final Allowed Amount
ST. LOUIS, MO 63134
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




TERESA HENSLEY                                    Clm No 178968    Filed In Cases: 607
P.O. BOX 261                                      Class                Claim Detail Amount         Final Allowed Amount
HARROGATE, TN 37752
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




DEBORAH A. HILL                                   Clm No 178969    Filed In Cases: 607
20617 WILLIAMSBURG COURT                          Class                Claim Detail Amount         Final Allowed Amount
HARPER WOODS, MI 48225
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $0.00




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OTIS HOLMES                                      Clm No 178970    Filed In Cases: 607
6083 SILVERBROOK WEST                            Class                Claim Detail Amount         Final Allowed Amount
WEST BLOOMFIELD, MI 48322
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




CLAYVENE HORTON                                  Clm No 178971    Filed In Cases: 607
232 APPLETREE LANE                               Class                Claim Detail Amount         Final Allowed Amount
WEST COLUMBIA, SC 29170
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




SHERRY CONINE                                    Clm No 178972    Filed In Cases: 607
25775 P DRIVE SOUTH                              Class                Claim Detail Amount         Final Allowed Amount
HOMER, MI 49245
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $0.00




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ANNIE L. JACKSON                                 Clm No 178973    Filed In Cases: 607
513 S. 26TH STREET                               Class                Claim Detail Amount         Final Allowed Amount
SAGINAW, MI 48601
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




TONYA YARBROUGH                                  Clm No 178974    Filed In Cases: 607
18698 SCHAFER                                    Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48235
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




LORRAINE E. JOHNSON                              Clm No 178975    Filed In Cases: 607
34567 ELMWOOD, APT 704                           Class                Claim Detail Amount         Final Allowed Amount
WESTLAND, MI 48185
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $0.00




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SYLVIA E. JOHNSON                                Clm No 178976    Filed In Cases: 607
18109 LOTUS DRIVE                                Class                Claim Detail Amount         Final Allowed Amount
CLEVELAND, OH 44128
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




SANDRA L. JONES                                  Clm No 178977    Filed In Cases: 607
9762 BLOOMSBURG CIRCLE                           Class                Claim Detail Amount         Final Allowed Amount
NORTHVILLE, MI 48167
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




JIHAN MOCKRIDGE                                  Clm No 178978    Filed In Cases: 607
6475 OBISPO AVE.                                 Class                Claim Detail Amount         Final Allowed Amount
LONG BEACH, CA 90805
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $0.00




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  Claims Details                                                                                         2992 of 3075

MICHAEL KENT,                                     Clm No 178979    Filed In Cases: 607
26332 WARRINGTON STREET                           Class                Claim Detail Amount         Final Allowed Amount
DEARBORN HEIGHTS, MI 48127
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




MARY D. BLEDSOE-LEAVETTE                          Clm No 178980    Filed In Cases: 607
7851 KLEIN                                        Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48211
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




JOSEPH E. LINKE                                   Clm No 178981    Filed In Cases: 607
6730 MUNGER ROAD                                  Class                Claim Detail Amount         Final Allowed Amount
YPSILANTI, MI 48917
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $0.00




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  Claims Details                                                                                         2993 of 3075

JAMES MCDONALD                                    Clm No 178982    Filed In Cases: 607
1669 VINE AVENUE                                  Class                Claim Detail Amount         Final Allowed Amount
MUSKEGON, MI 49442
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




WILLIAM McKENNA                                   Clm No 178983    Filed In Cases: 607
P.O. BOX 5051                                     Class                Claim Detail Amount         Final Allowed Amount
ARIZONA CITY, AZ 85123
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




MICHELLE HAMLIN                                   Clm No 178984    Filed In Cases: 607
2053 WEST U AVENUE                                Class                Claim Detail Amount         Final Allowed Amount
SCHOOLCRAFT, MI 49087
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $0.00




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JACKIE MILLER                                    Clm No 178985    Filed In Cases: 607
5708 GIBSON ROAD                                 Class                Claim Detail Amount         Final Allowed Amount
VICKSBURG, MS 39180
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed               5-Oct-2015
  Bar Date
  Claim Face Value              $0.00




RUTH A. MIRACLE                                  Clm No 178986    Filed In Cases: 607
1656 LORAIN STREET, #301                         Class                Claim Detail Amount         Final Allowed Amount
MONROE, MI 48162
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed               5-Oct-2015
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  Claim Face Value              $0.00




JOHN MIRLING                                     Clm No 178987    Filed In Cases: 607
30107 S. STOCKTON DRIVE                          Class                Claim Detail Amount         Final Allowed Amount
FARMINGTON HILLS, MI 48336
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed               5-Oct-2015
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  Claim Face Value              $0.00




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JOHN MORGAN                                      Clm No 178988    Filed In Cases: 607
750 #2 KEENWAY CIRCLE                            Class                Claim Detail Amount         Final Allowed Amount
KALAMAZOO, MI 49003
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $0.00




ROBERT MULLINS                                   Clm No 178989    Filed In Cases: 607
11482 PORTLANCE STREET                           Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48205
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $0.00




JAMES OAKES                                      Clm No 178990    Filed In Cases: 607
15700 HIGHWAY 183                                Class                Claim Detail Amount         Final Allowed Amount
MARION, AL 36756
                                                 UNS                                $0.00

                                                                                    $0.00


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DANIEL O'DELL                                    Clm No 178991    Filed In Cases: 607
24636 PRINCETON STREET                           Class                Claim Detail Amount         Final Allowed Amount
DEARBORN, MI 48124
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $0.00




GEORGE OLIVER                                    Clm No 178992    Filed In Cases: 607
1644 N. KNIGHT ROAD                              Class                Claim Detail Amount         Final Allowed Amount
ESSEXVILLE, MI 48732
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $0.00




VALERIA D. PENN                                  Clm No 178993    Filed In Cases: 607
11748 TRAILWOOD STREET                           Class                Claim Detail Amount         Final Allowed Amount
VICTORVILLE, CA 92392
                                                 UNS                                $0.00

                                                                                    $0.00


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  Claim Face Value             $0.00




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BRYAN PETERS                                     Clm No 178994    Filed In Cases: 607
31531 CHESTER                                    Class                Claim Detail Amount         Final Allowed Amount
GARDEN CITY, MI 48135
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




NORMA J. REYES                                   Clm No 178995    Filed In Cases: 607
19255 HARLOW STREET                              Class                Claim Detail Amount         Final Allowed Amount
MELVINDALE, MI 48122
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




RENÉ C. RUSHLOW                                  Clm No 178996    Filed In Cases: 607
11660 TELEGRAPH ROAD                             Class                Claim Detail Amount         Final Allowed Amount
CARLETON, MI 48117
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




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 Claims Details                                                                                         2998 of 3075

RONALD SALADA                                    Clm No 178997    Filed In Cases: 607
21070 S. NUNNELEY                                Class                Claim Detail Amount         Final Allowed Amount
CLINTON TOWNSHIP, MI 48035
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




JUANITA SANCHEZ                                  Clm No 178998    Filed In Cases: 607
4105 ROHR ROAD                                   Class                Claim Detail Amount         Final Allowed Amount
ORION, MI 48359
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $0.00




RUTH SANKER                                      Clm No 178999    Filed In Cases: 607
106 FOREST PARK COURT                            Class                Claim Detail Amount         Final Allowed Amount
PRUDENVILLE, MI 48651
                                                 UNS                                $0.00

                                                                                    $0.00


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  Claim Face Value             $0.00




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ROBERT SHANKIE                                   Clm No 179000    Filed In Cases: 607
16500 QUARRY ROAD,APT. 155                       Class                Claim Detail Amount         Final Allowed Amount
SOUTHGATE, MI 48195
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $0.00




MICHAEL SIFTER                                   Clm No 179001    Filed In Cases: 607
35316 WEBSTER STREET                             Class                Claim Detail Amount         Final Allowed Amount
WESTLAND, MI 48185
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $0.00




MARGARET M. SMITH                                Clm No 179002    Filed In Cases: 607
3893 ORR DRIVE,APT. 1B                           Class                Claim Detail Amount         Final Allowed Amount
NORTH BRANCH, MI 48461
                                                 UNS                                $0.00

                                                                                    $0.00


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  Claim Face Value             $0.00




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WALTER SMITH                                     Clm No 179003    Filed In Cases: 607
PO BOX 79                                        Class                Claim Detail Amount         Final Allowed Amount
LUZERNE, MI 48636
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




CHARLES STABILE                                  Clm No 179004    Filed In Cases: 607
4838 NIAGARA STREET                              Class                Claim Detail Amount         Final Allowed Amount
WAYNE, MI 48184
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




LARRAINE P. STEWART                              Clm No 179005    Filed In Cases: 607
12026 SOUTHGATE DRIVE                            Class                Claim Detail Amount         Final Allowed Amount
PLAINWELL, MI 49080
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $0.00




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SHEILA L. THOMAS                                  Clm No 179006    Filed In Cases: 607
P.O. BOX 854                                      Class                Claim Detail Amount         Final Allowed Amount
DAVENPORT, OK 74026
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




STARLENE MARTZ                                    Clm No 179007    Filed In Cases: 607
16716 MANSFIELD STREET                            Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48235
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




RAMON TREVINO                                     Clm No 179008    Filed In Cases: 607
7707 SECOR ROAD                                   Class                Claim Detail Amount         Final Allowed Amount
LAMBERTVILLE, MI 48144
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $0.00




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WILLIE TURNER                                    Clm No 179009    Filed In Cases: 607
14876 CRUSE STREET                               Class                Claim Detail Amount         Final Allowed Amount
DETROIT, MI 48227
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
  Bar Date
  Claim Face Value             $0.00




MARGARET R. WAGGONER                             Clm No 179010    Filed In Cases: 607
1531 TIMBERCREST WAY                             Class                Claim Detail Amount         Final Allowed Amount
CRYSTAL RIVER, FL 34429
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $0.00




MONICA WARD                                      Clm No 179011    Filed In Cases: 607
303 DEEPWOOD LANE                                Class                Claim Detail Amount         Final Allowed Amount
AMHERST, OH 44001
                                                 UNS                                $0.00

                                                                                    $0.00


  Date Filed              5-Oct-2015
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  Claim Face Value             $0.00




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  Claims Details                                                                                         3003 of 3075

JAMES WATKINS                                     Clm No 179012    Filed In Cases: 607
11319 R DRIVE S, BOX 34                           Class                Claim Detail Amount         Final Allowed Amount
BURLINGTON, MI 49029
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




JEANETTE ROBINSON                                 Clm No 179013    Filed In Cases: 607
713 16TH STREET SOUTH                             Class                Claim Detail Amount         Final Allowed Amount
BESSEMER, AL 35020
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




PHILIP WENZEL                                     Clm No 179014    Filed In Cases: 607
2413 TWILIGHT STREET                              Class                Claim Detail Amount         Final Allowed Amount
JACKSON, MI 49203
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $0.00




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  Claims Details                                                                                         3004 of 3075

TIMOTHY L. WHEELER                                Clm No 179015    Filed In Cases: 607
14158 POND BLUFF DR                               Class                Claim Detail Amount         Final Allowed Amount
BELLEVILLE, MI 48111
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




DENNIS WIECHERT                                   Clm No 179016    Filed In Cases: 607
210 WEAVER DRIVE                                  Class                Claim Detail Amount         Final Allowed Amount
HOUGHTON LAKE, MI 48629
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




VENDETTA WILLIAMS                                 Clm No 179017    Filed In Cases: 607
48552 GLADSTONE ROAD                              Class                Claim Detail Amount         Final Allowed Amount
CANTON, MI 48188
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $0.00




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  Claims Details                                                                                         3005 of 3075

SHAR-REE A. MADDOX                                Clm No 179018    Filed In Cases: 607
5061 N. 49TH STREET                               Class                Claim Detail Amount         Final Allowed Amount
MILWAUKEE, WI 53218
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




PATRICIA D. WITHEM                                Clm No 179019    Filed In Cases: 607
303 WOODLAWN DRIVE                                Class                Claim Detail Amount         Final Allowed Amount
TIPP CITY, OH 45371
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
   Bar Date
   Claim Face Value            $0.00




DENNIE WITHERSPOON                                Clm No 179020    Filed In Cases: 607
11809 NEVINS ROAD                                 Class                Claim Detail Amount         Final Allowed Amount
MOUNDVILLE, AL 35474
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed             5-Oct-2015
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   Claim Face Value            $0.00




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  Claims Details                                                                                         3006 of 3075

JOHN A. YOUNG                                     Clm No 179021    Filed In Cases: 607
200 JAKWAY AVENUE                                 Class                Claim Detail Amount         Final Allowed Amount
BENTON HARBOR, MI 49022
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed               5-Oct-2015
   Bar Date
   Claim Face Value               $0.00




DAVID GOLD                                        Clm No 179022    Filed In Cases: 607
510 AVE J                                         Class                Claim Detail Amount         Final Allowed Amount
BROOKLYN, NY 11230
                                                  UNS                              Unknown




   Date Filed               7-Dec-2015
   Bar Date
   Claim Face Value

   Duplicate Claim No   178885




Kenneth Emmons                                    Clm No 179023    Filed In Cases: 607
119 Quiet Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Carbondale, IL 62901
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed              30-Sep-2015
   Bar Date
   Claim Face Value               $0.00




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  Claims Details                                                                                         3007 of 3075

Charles D. Koller                                 Clm No 179024    Filed In Cases: 607
294 Hamby Lane                                    Class                Claim Detail Amount         Final Allowed Amount
Walshville, IL 62091
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed            30-Sep-2015
   Bar Date
   Claim Face Value            $0.00




Leroy E. Feldman                                  Clm No 179025    Filed In Cases: 607
2716 W. Delmar Lt 3                               Class                Claim Detail Amount         Final Allowed Amount
Godfrey, IL 62035
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed            30-Sep-2015
   Bar Date
   Claim Face Value            $0.00




Terrence Barry                                    Clm No 179026    Filed In Cases: 607
718 Bull Valley                                   Class                Claim Detail Amount         Final Allowed Amount
St. Charles, MO 63304
                                                  UNS                                $0.00

                                                                                     $0.00


   Date Filed            30-Sep-2015
   Bar Date
   Claim Face Value            $0.00




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  Claims Details                                                                                                 3008 of 3075

Mr. Henry Frank Pocan                              Clm No 179027       Filed In Cases: 607
P.O. Box 8001111 North Road                        Class                  Claim Detail Amount           Final Allowed Amount
P.O. Box 800
                                                   SEC                         $87,850,895.00                             $0.00
Mauston, WI 53948-0800
                                                   PRI                         $85,269,992.00                             $0.00
                                                   UNS                          $5,223,490.47

                                                                              $178,344,377.47                             $0.00

   Date Filed                 4-Jan-2016             Objection Type                          Objection Status
   Bar Date
                                                     Different class                         Objection Granted

   Claim Face Value       $5,398,690.47



Danny Hinson                                       Clm No 179029       Filed In Cases: 607
124 E. Fleming Farm Dr.                            Class                  Claim Detail Amount           Final Allowed Amount
Youngsville, NJ 27596
                                                   UNS                               Unknown




   Date Filed                 7-Jan-2016
   Bar Date
   Claim Face Value




JEFFREY W. KING                                    Clm No 179032       Filed In Cases: 607
5602 RAINTREE RIDGE                                Class                  Claim Detail Amount           Final Allowed Amount
JEFFERSONVILLE, IN 47130
                                                   UNS                               Unknown




   Date Filed              21-Mar-2016
   Bar Date
   Claim Face Value




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  Claims Details                                                                                                3009 of 3075

NEIL J. RIORDAN, JR.                              Clm No 179212       Filed In Cases: 607
863 PLAINFIELD/NAPERVILLE ROAD                    Class                  Claim Detail Amount           Final Allowed Amount
NAPERVILLE, IL 60540
                                                  UNS                               Unknown




   Date Filed            23-Sep-2016
   Bar Date
   Claim Face Value




ELIGER TUGLER, JR.                                Clm No 179213       Filed In Cases: 607
202 LEE ST.                                       Class                  Claim Detail Amount           Final Allowed Amount
WEST MONROE, LA 71291
                                                  PRI                               $2,856.00                            $0.00
                                                  SEC                          $2,000,000.00                             $0.00
                                                  UNS                               Unknown
                                                  SEC                               Unknown                              $0.00
                                                  PRI                               Unknown                              $0.00

                                                                               $2,002,856.00                             $0.00

   Date Filed            11-Apr-2017                Objection Type                          Objection Status
   Bar Date
                                                    Different class                         Objection Granted

   Claim Face Value     $2,000,000.00

JAMES J. TENANT                                   Clm No 179214       Filed In Cases: 607
16491 E. BERRY PL.                                Class                  Claim Detail Amount           Final Allowed Amount
CENTENNIAL, CO 80015
                                                  UNS                               Unknown




   Date Filed            13-Oct-2016
   Bar Date
   Claim Face Value




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JOSEPH T. SMITH, JR                               Clm No 179215    Filed In Cases: 607
3787 TOMMY RD                                     Class                Claim Detail Amount         Final Allowed Amount
JENNINGS, LA 70546
                                                  UNS                              Unknown




   Date Filed            18-Oct-2016
   Bar Date
   Claim Face Value




OLIVER N. HARRIS III                              Clm No 179216    Filed In Cases: 607
103 JEANIE AVE                                    Class                Claim Detail Amount         Final Allowed Amount
BLACK MOUNTAIN, NC 28711
                                                  UNS                              Unknown

                                                                              $250,000.00


   Date Filed            18-Oct-2016
   Bar Date
   Claim Face Value      $250,000.00




MICHAEL W. FORTNER                                Clm No 179217    Filed In Cases: 607
166 PRIVATE DR. 2265                              Class                Claim Detail Amount         Final Allowed Amount
SOUTH POINT, OH 45680
                                                  UNS                              Unknown




   Date Filed            20-Oct-2016
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   Claim Face Value




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AUTRY EARL BARNEY PRO SE.                         Clm No 179218    Filed In Cases: 607
517 CHERRY AVENUE                                 Class                Claim Detail Amount         Final Allowed Amount
JACKSON, AL 36545
                                                  UNS                              Unknown

                                                                              $100,000.00


   Date Filed            25-Oct-2016
   Bar Date
   Claim Face Value      $100,000.00




GLEN ROBERT FLOYD                                 Clm No 179219    Filed In Cases: 607
4130 CLAY AVE                                     Class                Claim Detail Amount         Final Allowed Amount
ST. LOUIS, MO 63115
                                                  UNS                              Unknown

                                                                              $500,000.00


   Date Filed            20-Oct-2016
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   Claim Face Value      $500,000.00




JAMES WILLIAM AHERN                               Clm No 179220    Filed In Cases: 607
2925 N CAMPELL                                    Class                Claim Detail Amount         Final Allowed Amount
CHICAGO, IL 60706
                                                  UNS                              Unknown




   Date Filed            28-Oct-2016
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   Claim Face Value




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  Claims Details                                                                                                3012 of 3075

ALBERT GONZALEZ                                   Clm No 179221       Filed In Cases: 607
1003 ELM ST                                       Class                  Claim Detail Amount           Final Allowed Amount
ROSEVILLE, CA 93678
                                                  UNS                               Unknown




   Date Filed            19-Oct-2016
   Bar Date
   Claim Face Value




HENRY D. NAGLE                                    Clm No 179222       Filed In Cases: 607
P.O. BOX 164                                      Class                  Claim Detail Amount           Final Allowed Amount
WILSEYVILLE, CA 95257
                                                  UNS                               Unknown
                                                  PRI                               $3,025.00                            $0.00

                                                                                    $3,025.00                            $0.00

   Date Filed             7-Nov-2016                Objection Type                          Objection Status
   Bar Date
                                                    Different class                         Objection Granted

   Claim Face Value




NANCY OPPERMAN                                    Clm No 179223       Filed In Cases: 607
13680 HWY 28 WEST                                 Class                  Claim Detail Amount           Final Allowed Amount
VIENNA, MO 65582
                                                  PRI                               Unknown                              $0.00
                                                  UNS                               Unknown
                                                  SEC                               Unknown                              $0.00

                                                                                                                         $0.00

   Date Filed             7-Nov-2016                Objection Type                          Objection Status
   Bar Date
                                                    Different class                         Objection Granted

   Claim Face Value




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HECTOR C. TREVINO                                Clm No 179224       Filed In Cases: 607
20155 PRIEST ROAD                                Class                  Claim Detail Amount           Final Allowed Amount
ELMENDORE, TX 78112
                                                 PRI                             $21,164.00                             $0.00
                                                 UNS                               Unknown

                                                                                 $21,164.00                             $0.00

  Date Filed             10-Nov-2016               Objection Type                          Objection Status
  Bar Date
                                                   Different class                         Objection Granted

  Claim Face Value        $21,164.00




WILLIAM JOSEPH MYATT                             Clm No 179225       Filed In Cases: 607
1849 HWY 83 WEST                                 Class                  Claim Detail Amount           Final Allowed Amount
HEMPHILL, TX 75948
                                                 PRI                               Unknown                              $0.00
                                                 UNS                               Unknown

                                                                                                                        $0.00

  Date Filed             10-Nov-2016               Objection Type                          Objection Status
  Bar Date
                                                   Different class                         Objection Granted

  Claim Face Value




HENRY C. ADAMS                                   Clm No 179226       Filed In Cases: 607
655 S. SANGA RD                                  Class                  Claim Detail Amount           Final Allowed Amount
CORDOVA, TN 38018
                                                 UNS                             $10,000.00

                                                                                 $10,000.00


  Date Filed             14-Nov-2016
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  Claim Face Value        $10,000.00




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FRANK ROBERTSON, JR                               Clm No 179227    Filed In Cases: 607
1116 MAREED AVE.                                  Class                Claim Detail Amount         Final Allowed Amount
YAZOO, MS 39194
                                                  UNS                              Unknown




   Date Filed            14-Nov-2016
   Bar Date
   Claim Face Value




EDWIN P. HUBERT                                   Clm No 179228    Filed In Cases: 607
P.O. BOX 810                                      Class                Claim Detail Amount         Final Allowed Amount
BAYCLIFF, TX 77518
                                                  UNS                              Unknown




   Date Filed            14-Nov-2016
   Bar Date
   Claim Face Value




JAMES A. PIZZEY                                   Clm No 179229    Filed In Cases: 607
325 MT. CRANDELL W. #109                          Class                Claim Detail Amount         Final Allowed Amount
LETHBRIDGE, ALTA TIK-629
                                                  UNS                              Unknown
CANADA




   Date Filed            16-Nov-2016
   Bar Date
   Claim Face Value




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  Claims Details                                                                                         3015 of 3075

Tracy Rhodes                                      Clm No 179230    Filed In Cases: 607
No Address                                        Class                Claim Detail Amount         Final Allowed Amount

                                                  UNS                              Unknown




   Date Filed            28-Nov-2016
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   Claim Face Value




ROY GUY                                           Clm No 179231    Filed In Cases: 607
130 RUE DIONNE                                    Class                Claim Detail Amount         Final Allowed Amount
MATANE, QC G4W 1G6
                                                  UNS                              Unknown
CANADA
                                                                              $100,000.00


   Date Filed            22-Nov-2016
   Bar Date
   Claim Face Value      $100,000.00




ROBERT E. JOHNSON                                 Clm No 179232    Filed In Cases: 607
4550 JANCAR DRIVE                                 Class                Claim Detail Amount         Final Allowed Amount
BEAUMONT, TX 77708
                                                  UNS                              Unknown




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JOHNNIE REED                                       Clm No 179233    Filed In Cases: 607
2614 COCKRILL AVE                                  Class                Claim Detail Amount         Final Allowed Amount
PINE BLUFF, AR 71601
                                                   UNS                              Unknown




   Date Filed               28-Nov-2016
   Bar Date
   Claim Face Value




HENRY FRANK POCAN                                  Clm No 179234    Filed In Cases: 607
1111 North Road                                    Class                Claim Detail Amount         Final Allowed Amount
P.O. Box 800
                                                   UNS                              Unknown
Mauston, WI 53948-0800
                                                                           $480,000,000.00


   Date Filed               28-Nov-2016
   Bar Date
   Claim Face Value      $480,000,000.00




RAYMOND J. JASZCZAK, JR.                           Clm No 179235    Filed In Cases: 607
1091 GRABER RD                                     Class                Claim Detail Amount         Final Allowed Amount
RED HILL, PA 18076
                                                   UNS                              Unknown




   Date Filed               28-Nov-2016
   Bar Date
   Claim Face Value




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MILLER H. TABLER                                  Clm No 179236       Filed In Cases: 607
ATTN: MILLER H. TABLER                            Class                  Claim Detail Amount           Final Allowed Amount
716 ANDOVER COURT
                                                  UNS                               Unknown
WINTER SPRINGS, FL 32708




   Date Filed            29-Nov-2016
   Bar Date
   Claim Face Value




HECTOR CARRIZALES TREVINO                         Clm No 179237       Filed In Cases: 607
200 SPUR 113                                      Class                  Claim Detail Amount           Final Allowed Amount
TENGUE, TX 75860
                                                  UNS                               Unknown
                                                  PRI                             $16,200.00                             $0.00

                                                                                  $16,200.00                             $0.00

   Date Filed              1-Dec-2016               Objection Type                          Objection Status
   Bar Date
                                                    Different class                         Objection Granted

   Claim Face Value        $16,200.00




Gene Rinehart                                     Clm No 179238       Filed In Cases: 607
5106 S. Neenah Ave.                               Class                  Claim Detail Amount           Final Allowed Amount
Chicago, IL 60638
                                                  UNS                               Unknown




   Date Filed              5-Dec-2016
   Bar Date
   Claim Face Value




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  Claims Details                                                                                                3018 of 3075

CALVIN CARTER                                     Clm No 179239       Filed In Cases: 607
3443 DENVER AVE.                                  Class                  Claim Detail Amount           Final Allowed Amount
LONG BEACH, CA 90810
                                                  UNS                               Unknown




   Date Filed              1-Dec-2016
   Bar Date
   Claim Face Value




Francois Bush                                     Clm No 179240       Filed In Cases: 607
8 Sheepcamp Rd.                                   Class                  Claim Detail Amount           Final Allowed Amount
Dayton, NV 89403
                                                  PRI                               Unknown                              $0.00
                                                  UNS                             $10,000.00

                                                                                  $22,000.00                             $0.00

   Date Filed             15-Dec-2016               Objection Type                          Objection Status
   Bar Date
                                                    Different class                         Objection Granted

   Claim Face Value        $10,000.00




ROSIE L. COLEMAN                                  Clm No 179241       Filed In Cases: 607
164 SILVERVIEW CT.                                Class                  Claim Detail Amount           Final Allowed Amount
VALLEJO, CA 94951
                                                  SEC                        $300,000,000.00                             $0.00
                                                  UNS                      $9,700,000,000.00
                                                  PRI                               Unknown                              $0.00

                                                                          $10,000,000,000.00                             $0.00

   Date Filed              2-Dec-2016               Objection Type                          Objection Status
   Bar Date
                                                    Different class                         Objection Granted

   Claim Face Value   $10,000,000,000.
                                   00




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BETTY WILLIAMS                                   Clm No 179242    Filed In Cases: 607
601 BROWN ST.                                    Class                Claim Detail Amount         Final Allowed Amount
MONROE, NC 28110
                                                 UNS                              Unknown

                                                                              $20,000.00


  Date Filed              2-Dec-2016
  Bar Date
  Claim Face Value        $20,000.00




DOLORES WASHINGTON BY STAR MARTIN                Clm No 179243    Filed In Cases: 607
C/O LAW OFFICES OF DANNY E. CUPIT, PC            Class                Claim Detail Amount         Final Allowed Amount
ATTN: DANNY E. CUPIT
                                                 UNS                              Unknown
P.O. BOX 22929
JACKSON, MS 39225



  Date Filed              5-Dec-2016
  Bar Date
  Claim Face Value

  Amending Claim No 178808




TILOUS SMITH                                     Clm No 179244    Filed In Cases: 607
C/O LAW OFFICES OF DANNY E. CUPIT                Class                Claim Detail Amount         Final Allowed Amount
ATTN: DANNY E. CUPIT
                                                 UNS                              Unknown
P.O. BOX 22929
JACKSON, MS 39225


  Date Filed              5-Dec-2016
  Bar Date
  Claim Face Value

  Amend Claim No 178817




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PAUL WHITEFIELD BY MILDRED WHITFIELD              Clm No 179245    Filed In Cases: 607
C/O LAW OFFICES OF DANNY E. CUPIT                 Class                Claim Detail Amount         Final Allowed Amount
ATTN: DANNY E. CUPIT
                                                  UNS                              Unknown
P.O. BOX 22929
JACKSON, MS 39225


  Date Filed              5-Dec-2016
  Bar Date
  Claim Face Value

  Amend Claim No 178816




FLORENCE JONES BY JIMMIE JONES                    Clm No 179246    Filed In Cases: 607
C/O LAW OFFICES OF DANNY E. CUPIT, P.C.           Class                Claim Detail Amount         Final Allowed Amount
ATTN: DANNY E. CUPIT
                                                  UNS                              Unknown
P.O. BOX 22929
JACKSON, MS 39225



  Date Filed              5-Dec-2016
  Bar Date
  Claim Face Value

  Amending Claim No 178815




JAMES OLIVER BY DOROTHY OLIVER                    Clm No 179247    Filed In Cases: 607
C/O LAW OFFICES OF DANNY E. CUPIT, P.C.           Class                Claim Detail Amount         Final Allowed Amount
ATTN: DANNY E. CUPIT
                                                  UNS                              Unknown
P.O. BOX 22929
JACKSON, MS 39225


  Date Filed              5-Dec-2016
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  Claim Face Value

  Amending Claim No 178814




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JOSH MINOR                                        Clm No 179248    Filed In Cases: 607
C/O LAW OFFICES OF DANNY E. CUPIT, P.C.           Class                Claim Detail Amount         Final Allowed Amount
ATTN: DANNY E CUPIT
                                                  UNS                              Unknown
P.O. BOX 22929
JACKSON, MS 39225


  Date Filed              5-Dec-2016
  Bar Date
  Claim Face Value

  Amending Claim No 178812




NEAMIE MURRAY BY MARIE MURRAY                     Clm No 179249    Filed In Cases: 607
C/O LAW OFFICES OF DANNY E. CUPIT                 Class                Claim Detail Amount         Final Allowed Amount
ATTN: DANNY E. CUPIT
                                                  UNS                              Unknown
P.O. BOX 22929
JACKSON, MS 39225



  Date Filed              5-Dec-2016
  Bar Date
  Claim Face Value

  Amending Claim No 178813




JOHNNIE SHAW BY VICTORIA SHAW                     Clm No 179250    Filed In Cases: 607
C/O LAW OFFICES OF DANNY E. CUPIT, P.C.           Class                Claim Detail Amount         Final Allowed Amount
ATTN: DANNY E. CUPIT
                                                  UNS                              Unknown
P.O. BOX 22929
JACKSON, MS 39225


  Date Filed              5-Dec-2016
  Bar Date
  Claim Face Value

  Amending Claim No 178811




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ROBERT CARTER                                    Clm No 179251    Filed In Cases: 607
LAW OFFICES OF DANNY E. CUPIT, P.C.              Class                Claim Detail Amount         Final Allowed Amount
ATTN: DANNY E. CUPIT
                                                 UNS                              Unknown
P.O. BOX 22929
JACKSON, MS 39225


  Date Filed              5-Dec-2016
  Bar Date
  Claim Face Value

  Amending Claim No 178810




DEWEY ROWE, JR., BY DOROTHY ROWE                 Clm No 179252    Filed In Cases: 607
LAW OFFICES OF DANNY E. CUPIT, P.C.              Class                Claim Detail Amount         Final Allowed Amount
ATTN: DANNY E. CUPIT
                                                 UNS                              Unknown
P.O. BOX 22929
JACKSON, MS 39225



  Date Filed              5-Dec-2016
  Bar Date
  Claim Face Value

  Amending Claim No 178809




OLIVIA TAYLOR PULLER                             Clm No 179253    Filed In Cases: 607
12120 CHIP SHOT LANE                             Class                Claim Detail Amount         Final Allowed Amount
UPPER MARLBORO, MD 20772
                                                 UNS                              Unknown

                                                                              $10,000.00


  Date Filed              5-Dec-2016
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  Claim Face Value        $10,000.00




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OTTO GYALLAI                                     Clm No 179254       Filed In Cases: 607
716 CHIMNEY ROCK DR.                             Class                  Claim Detail Amount           Final Allowed Amount
TYLER, TX 75703
                                                 UNS                               Unknown

                                                                                 $10,000.00


  Date Filed              5-Dec-2016
  Bar Date
  Claim Face Value        $10,000.00




GARY DARNELL LADAY                               Clm No 179255       Filed In Cases: 607
135 BARRETT RD                                   Class                  Claim Detail Amount           Final Allowed Amount
CROSBY, TX 77532
                                                 UNS                               Unknown




  Date Filed              5-Dec-2016
  Bar Date
  Claim Face Value




OLIVIA E. DRAKE                                  Clm No 179256       Filed In Cases: 607
ATTN: OLIVIA E. DRAKE                            Class                  Claim Detail Amount           Final Allowed Amount
3000 CHESTNUT STREET, #42823
                                                 SEC                               Unknown                              $0.00
PHILADELPHIA, PA 19104
                                                 UNS                               Unknown
                                                 PRI                             $38,550.00                             $0.00

                                                                                $750,000.00                             $0.00

  Date Filed              8-Dec-2016               Objection Type                          Objection Status
  Bar Date
                                                   Different class                         Objection Granted

  Claim Face Value       $750,000.00




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ELAFLEX-GUMMI EHLERS GMBH                          Clm No 179257    Filed In Cases: 607
121 SCHNACKENBURGALLEE                             Class                Claim Detail Amount         Final Allowed Amount
HAMBURG, DE 22525
                                                   UNS                               $10.46
GERMANY
                                                                                     $10.46


  Date Filed                  9-Dec-2016
  Bar Date
  Claim Face Value                $10.46

  Duplicate Claim No   2613




CAROL D. RUFFIN                                    Clm No 179258    Filed In Cases: 607
1319 24TH STREET                                   Class                Claim Detail Amount         Final Allowed Amount
NEWPORT NEWS, VA 23607
                                                   UNS                              Unknown




  Date Filed              12-Dec-2016
  Bar Date
  Claim Face Value




MARIO CHARLES GUERRERO                             Clm No 179259    Filed In Cases: 607
225 YUMA ST.                                       Class                Claim Detail Amount         Final Allowed Amount
GLOBE, AZ 85501
                                                   UNS                              Unknown

                                                                               $100,000.00


  Date Filed                  9-Dec-2016
  Bar Date
  Claim Face Value        $100,000.00




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ROBERT LEE FELTON                                 Clm No 179260    Filed In Cases: 607
613 OLD MENAIR RD                                 Class                Claim Detail Amount         Final Allowed Amount
FAYETTE, MS 39069
                                                  UNS                              Unknown




   Date Filed             9-Dec-2016
   Bar Date
   Claim Face Value




GERALD E. JAWER                                   Clm No 179261    Filed In Cases: 607
808 S. WISCONSIN ST.                              Class                Claim Detail Amount         Final Allowed Amount
HOBART, IN 46342
                                                  UNS                         $100,000.00

                                                                              $100,000.00


   Date Filed            27-Feb-2017
   Bar Date
   Claim Face Value      $100,000.00




Warren Stumpf                                     Clm No 179262    Filed In Cases: 607
336 Hemingway Rd.                                 Class                Claim Detail Amount         Final Allowed Amount
New Windsor, NY 12553
                                                  UNS                              Unknown




   Date Filed            28-Feb-2017
   Bar Date
   Claim Face Value




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ROBERT WAYNE COGBURN                             Clm No 179263       Filed In Cases: 607
9209 JESKE ROAD                                  Class                  Claim Detail Amount           Final Allowed Amount
NEEDVILLE, TX 77461
                                                 UNS                               Unknown




  Date Filed             12-Dec-2016
  Bar Date
  Claim Face Value




KEVIN MOORE                                      Clm No 179264       Filed In Cases: 607
1325 KINGS PLACE                                 Class                  Claim Detail Amount           Final Allowed Amount
PHILADELPHIA, PA 19122
                                                 UNS                               Unknown




  Date Filed             12-Dec-2016
  Bar Date
  Claim Face Value




MILDRED A. COLQUITT                              Clm No 179265       Filed In Cases: 607
23 BENNING DELL DR.                              Class                  Claim Detail Amount           Final Allowed Amount
COLUMBUS, GA 31903
                                                 PRI                               Unknown                              $0.00
                                                 UNS                               Unknown

                                                                                                                        $0.00

  Date Filed             16-Dec-2016               Objection Type                          Objection Status
  Bar Date
                                                   Different class                         Objection Granted

  Claim Face Value




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RAYMOND SAGANICH                                 Clm No 179266    Filed In Cases: 607
179 W. RIDGE RD.                                 Class                Claim Detail Amount         Final Allowed Amount
NOTTINGHAM, PA 19362
                                                 UNS                              Unknown




  Date Filed              20-Dec-2016
  Bar Date
  Claim Face Value




THERESE PEDNEAULT                                Clm No 179267    Filed In Cases: 607
C/O LOUISE DESGAGNES                             Class                Claim Detail Amount         Final Allowed Amount
101-12 RUE DES JARDINS-MERICI
                                                 UNS                         $100,000.00
QUEBEC QC G1S 4Z8
CANADA                                                                       $100,000.00


  Date Filed              23-Mar-2017
  Bar Date
  Claim Face Value        $100,000.00

  Amending Claim No 179267
  Amend Claim No 179267



HENRY MAE MCCOMBS                                Clm No 179268    Filed In Cases: 607
C/O DEBRA ANN CREGGETT                           Class                Claim Detail Amount         Final Allowed Amount
3400 WHEELER CHAPEL RD.
                                                 UNS                              Unknown
PINE BLUFF, AR 71601
                                                                         $480,000,000.00


  Date Filed               5-Dec-2016
  Bar Date
  Claim Face Value     $480,000,000.00




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SHIRLEY A. SHORTER JOHNSON                       Clm No 179269    Filed In Cases: 607
6506 LITTLE DOVE DR.                             Class                Claim Detail Amount         Final Allowed Amount
PINE BLUFF, AR 71603
                                                 UNS                              Unknown




  Date Filed              28-Dec-2016
  Bar Date
  Claim Face Value




JOE P. POTTS                                     Clm No 179270    Filed In Cases: 607
591 CRAWFORD SCHOOL RD.                          Class                Claim Detail Amount         Final Allowed Amount
DECATURVILLE, TN 38329
                                                 UNS                              Unknown

                                                                           $4,800,000.00


  Date Filed              29-Dec-2016
  Bar Date
  Claim Face Value       $4,800,000.00




NATHAN H. CARPENTER                              Clm No 179271    Filed In Cases: 607
11804 E. EVANS AVENUE                            Class                Claim Detail Amount         Final Allowed Amount
N. LAS VEGAS, NV 89030
                                                 UNS                              Unknown




  Date Filed              16-Feb-2017
  Bar Date
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RAYMOND S. CORDY                                  Clm No 179272    Filed In Cases: 607
971 S. ALLENDALE AVE.                             Class                Claim Detail Amount         Final Allowed Amount
SARASOTA, FL 34237
                                                  UNS                              Unknown




   Date Filed            21-Feb-2017
   Bar Date
   Claim Face Value




DELORES PROVANCE                                  Clm No 179273    Filed In Cases: 607
C/O PENN RAKAUSKI                                 Class                Claim Detail Amount         Final Allowed Amount
ATTN: STEVEN R. PENCE, ESQ.
                                                  UNS                              Unknown
927 MAIN ST
RACINE, WI 53403


   Date Filed            21-Feb-2017
   Bar Date
   Claim Face Value




CAROL CANTWELL                                    Clm No 179274    Filed In Cases: 607
C/O PENN RAKAUSKI                                 Class                Claim Detail Amount         Final Allowed Amount
ATTN: STEVEN R. PENN, ESQ.
                                                  UNS                              Unknown
927 MAIN ST.
RACINE, WI 53403


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KEVIN FRANKLIN                                   Clm No 179275       Filed In Cases: 607
3746 BUELL STREET                                Class                  Claim Detail Amount           Final Allowed Amount
OAKLAND, CA 94619-2802
                                                 UNS                               Unknown
                                                 PRI                          $1,000,000.00                             $0.00

                                                                              $1,000,000.00                             $0.00

  Date Filed              21-Feb-2017              Objection Type                          Objection Status
  Bar Date
                                                   Different class                         Objection Granted

  Claim Face Value       $1,000,000.00




DORIS T. DAROCI                                  Clm No 179276       Filed In Cases: 607
20 BANSTEAD WAY                                  Class                  Claim Detail Amount           Final Allowed Amount
JACKSON, NJ 08527
                                                 UNS                               Unknown




  Date Filed              21-Feb-2017
  Bar Date
  Claim Face Value




JOE PERCY POTTS                                  Clm No 179277       Filed In Cases: 607
591 CRAWFORD SCHOOL RD.                          Class                  Claim Detail Amount           Final Allowed Amount
DECATURVILLE, TN 38329
                                                 UNS                          $3,000,000.00

                                                                              $3,000,000.00


  Date Filed              23-Feb-2017
  Bar Date
  Claim Face Value       $3,000,000.00




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JOSEPH RIBNICK                                   Clm No 179279    Filed In Cases: 607
19 BLUEGRASS AVE.                                Class                Claim Detail Amount         Final Allowed Amount
MIDDLEBURG, FL 32068
                                                 UNS                              Unknown




  Date Filed              7-Mar-2017
  Bar Date
  Claim Face Value




KEVIN MOORE                                      Clm No 179280    Filed In Cases: 607
1325 KINGS PLACE                                 Class                Claim Detail Amount         Final Allowed Amount
PHILADELPHIA, PA 19122
                                                 UNS                              Unknown




  Date Filed              6-Mar-2017
  Bar Date
  Claim Face Value




WAYNE CASS                                       Clm No 179281    Filed In Cases: 607
1216 29TH AVE. SE                                Class                Claim Detail Amount         Final Allowed Amount
ALBANY, OR 97322
                                                 UNS                              Unknown




  Date Filed             30-Jan-2017
  Bar Date
  Claim Face Value




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 Claims Details                                                                                         3032 of 3075

GORDON AMERUD                                    Clm No 179282    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                      Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                 UNS                              Unknown
PO BOX 1072
INTERNATIONAL FALLS, MN 56649


  Date Filed             10-Mar-2017
  Bar Date
  Claim Face Value




GARY D. WHEELOCK AS TRUSTEE                      Clm No 179283    Filed In Cases: 607
OF JOYCE WHEELOCK, DECEASED                      Class                Claim Detail Amount         Final Allowed Amount
C/O SHERMOENJAKSA LAW, PLLC
                                                 UNS                              Unknown
ATTN: MICHAEL ANTHONY JAKSA
PO BOX 1072
INTERNATIONAL FALLS, MN 56649

  Date Filed             10-Mar-2017
  Bar Date
  Claim Face Value




STEPHEN KLING, PER REP.                          Clm No 179284    Filed In Cases: 607
OF THE LOUIE WAJGEL ESTATE                       Class                Claim Detail Amount         Final Allowed Amount
C/O SHERMOENJAKSA LAW, PLLC
                                                 UNS                              Unknown
ATTN: MICHAEL ANTHONY JAKSA
PO BOX 1072
INTERNATIONAL FALLS, MN 56649

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  Claim Face Value




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ROBERT UNCINI AS TRUSTEE FOR THE HEIRS           Clm No 179285    Filed In Cases: 607
OF ALVER J. UNCINI, DECEASED                     Class                Claim Detail Amount         Final Allowed Amount
C/O SHERMOENJAKSA LAW, PLLC
                                                 UNS                              Unknown
ATTN: MICHAEL ANTHONY JAKSA
PO BOX 1072
INTERNATIONAL FALLS, MN 56649

  Date Filed             10-Mar-2017
  Bar Date
  Claim Face Value




CHERYL HANSEN, DAUGHTER AND HEIR                 Clm No 179286    Filed In Cases: 607
OF LEROY TVEIT, DECEASED WIDOWER                 Class                Claim Detail Amount         Final Allowed Amount
C/O SHERMOENJAKSA LAW, PLLC
                                                 UNS                              Unknown
ATTN: MICHAEL ANTHONY JAKSA
PO BOX 1072
INTERNATIONAL FALLS, MN 56649

  Date Filed             10-Mar-2017
  Bar Date
  Claim Face Value




JAMES TONINATO, SON AND HEIR                     Clm No 179287    Filed In Cases: 607
OF BRUNO TONIATO, SINGLE AT TIME OF DEATH        Class                Claim Detail Amount         Final Allowed Amount
C/O SHERMOENJAKSA LAW, PLLC
                                                 UNS                              Unknown
ATTN: MICHAEL ANTHONY JAKSA
PO BOX 1072
INTERNATIONAL FALLS, MN 56649

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  Claims Details                                                                                         3034 of 3075

WILLIAM TOMCZAK                                   Clm No 179288    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
PO BOX 1072
INTERNATIONAL FALLS, MN 56649


   Date Filed            10-Mar-2017
   Bar Date
   Claim Face Value




LEROY TAYLOR                                      Clm No 179289    Filed In Cases: 607
C/O SHERMOEN JAKSA LAW, PLLC                      Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649



   Date Filed            10-Mar-2017
   Bar Date
   Claim Face Value




FRANK SWENDSEN AS TRUSTEE FOR THE HEIRS           Clm No 179290    Filed In Cases: 607
OF PAUL O. SWENDSEN, DECEASED                     Class                Claim Detail Amount         Final Allowed Amount
C/O SHERMOENJAKSA LAW, PLLC
                                                  UNS                              Unknown
ATTN: MICHAEL ANTHONY JAKSA
345 6TH AVE. - PO BOX 1072
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  Claims Details                                                                                         3035 of 3075

ARLLAN SKOGSTAD                                   Clm No 179291    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649



   Date Filed            10-Mar-2017
   Bar Date
   Claim Face Value




EVA SIMONS AS SURVIVING SPOUSE OF                 Clm No 179292    Filed In Cases: 607
LEROY SIMONS, DECEASED                            Class                Claim Detail Amount         Final Allowed Amount
C/O SHERMOENJAKSA LAW, PLLC
                                                  UNS                              Unknown
ATTN: MICHAEL ANTHONY JAKSA
345 6TH AVE. - PO BOX 1072
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DERRICK SEITZ AS TRUSTEE OF THE HEIRS             Clm No 179293    Filed In Cases: 607
OF RICKY SEITZ, DECEASED                          Class                Claim Detail Amount         Final Allowed Amount
C/O SHERMOENJAKSA LAW, PLLC
                                                  UNS                              Unknown
ATTN: MICHAEL ANTHONY JAKSA
345 6TH AVE. - PO BOX 1072
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  Claims Details                                                                                         3036 of 3075

DONALD SCHMIDT                                    Clm No 179294    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649



   Date Filed            10-Mar-2017
   Bar Date
   Claim Face Value




JOHN RUELLE                                       Clm No 179295    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649


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   Bar Date
   Claim Face Value




JOHN ROSLEE                                       Clm No 179296    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
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  Claims Details                                                                                         3037 of 3075

MICHAEL ROMSLO                                    Clm No 179297    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
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DONALD POTTER                                     Clm No 179298    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
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DAVID PETERS                                      Clm No 179299    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
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  Claims Details                                                                                         3038 of 3075

JAMES PALM                                        Clm No 179300    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. PO BOX 1072
INTERNATIONAL FALLS, MN 56649


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KAREN OUSTAD TRUSTEE FOR THE HEIRS                Clm No 179301    Filed In Cases: 607
OF NORMAN OUSTAD, DECEASED                        Class                Claim Detail Amount         Final Allowed Amount
C/O SHERMOENJAKSA LAW, PLLC
                                                  UNS                              Unknown
ATTN: MICHAEL ANTHONY JAKSA
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649

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WILLIAM OLSON                                     Clm No 179302    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649


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DUANE OLSEN                                       Clm No 179303    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. PO BOX 1072
INTERNATIONAL FALLS, MN 56649


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   Bar Date
   Claim Face Value




MAURICE OHLQUIST                                  Clm No 179304    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
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KATHERINE NORDSTRAND, AS SURVIVING                Clm No 179305    Filed In Cases: 607
SPOUSE & HEIR
OF KENNETH NORDSTRAND, DECEASED                   Class                Claim Detail Amount         Final Allowed Amount
C/O SHERMOENJAKSA LAW, PLLC
                                                  UNS                              Unknown
ATTN: MICHAEL ANTHONY JAKSA
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BRUCE NESS                                        Clm No 179306    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
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   Bar Date
   Claim Face Value




ANN DAVILA, DUAGHTER & HEIR                       Clm No 179307    Filed In Cases: 607
OF SAMUEL NASH, DECEASED                          Class                Claim Detail Amount         Final Allowed Amount
C/O SHERMOENJAKSA LAW, PLLC
                                                  UNS                              Unknown
ATTN: MICHAEL ANTHONY JAKSA
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649

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   Claim Face Value




DENNIS MONREAN                                    Clm No 179308    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
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  Claims Details                                                                                         3041 of 3075

ERNEST LORENSON                                   Clm No 179309    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. PO BOX 1072
INTERNATIONAL FALLS, MN 56649



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ALBERT LONG                                       Clm No 179310    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649


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ALAN LINDHAG                                      Clm No 179311    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 566949


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JOHN C. LIND                                      Clm No 179312    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649



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NORMAN LEE                                        Clm No 179313    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
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RAYMOND LEPAGE                                    Clm No 179314    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
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ORVILLE LARSON                                    Clm No 179315    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649


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EARL LARSON                                       Clm No 179316    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649



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   Bar Date
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LELAND KRZOSKA                                    Clm No 179317    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
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LARRY KEEP                                        Clm No 179318    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
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   Bar Date
   Claim Face Value




MICHAEL KARSNIA                                   Clm No 179319    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
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PAM KARPESH, DAUGHTER AND HEIR                    Clm No 179320    Filed In Cases: 607
OF MIKE KARPESH, DECEASED                         Class                Claim Detail Amount         Final Allowed Amount
C/O SHERMOENJAKSA LAW, PLLC
                                                  UNS                              Unknown
ATTN: MICHAEL ANTHONY JAKSA
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  Claims Details                                                                                         3045 of 3075

PATRICK JAKSA                                     Clm No 179321    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. PO BOX 1072
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BRIAN D. INGALLS, TRUSTEE FOR THE HEIRS           Clm No 179322    Filed In Cases: 607
OF GEORGE INGALLS, DECEASED                       Class                Claim Detail Amount         Final Allowed Amount
C/O SHERMOENJAKSA LAW, PLLC
                                                  UNS                              Unknown
ATTN: MICHAEL ANTHONY JAKSA
345 6TH AVE. - PO BOX 1072
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MICHELLE HOLENKO, DAUGHTER & HEIR                 Clm No 179323    Filed In Cases: 607
OF JAMES HOLENKO, DECEASED WIDOWER                Class                Claim Detail Amount         Final Allowed Amount
C/O SHERMOENJAKSA LAW, PLLC
                                                  UNS                              Unknown
ATTN: MICHAEL ANTHONY JAKSA
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   Garlock Sealing Technologies LLC, et al.

  Claims Details                                                                                         3046 of 3075

MARCELLA M. HALLAN, SURVIVING SPOUSE &            Clm No 179324    Filed In Cases: 607
HEIR
OF GEORGE HALLAN                                  Class                Claim Detail Amount         Final Allowed Amount
C/O SHERMOENJAKSA LAW, PLLC
                                                  UNS                              Unknown
ATTN: MICHAEL ANTHONY JAKSA
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649

   Date Filed            10-Mar-2017
   Bar Date
   Claim Face Value




JOSEPH GOUIN                                      Clm No 179325    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649



   Date Filed            10-Mar-2017
   Bar Date
   Claim Face Value




RAYMOND GORDER                                    Clm No 179326    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649


   Date Filed            10-Mar-2017
   Bar Date
   Claim Face Value




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Woodland Hills, CA 91367
       Case 10-31607         Doc 6279-17       Filed 04/13/18 Entered 04/13/18 15:13:29 Desc Part
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JOHN GEARHART, TRUSTEE FOR THE HEIRS              Clm No 179327    Filed In Cases: 607
OF MICHAEL GEARHART, DECEASED                     Class                Claim Detail Amount         Final Allowed Amount
C/O SHERMOENJAKSA LAW, PLLC
                                                  UNS                              Unknown
ATTN: MICHAEL ANTHONY JAKSA
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649

   Date Filed            10-Mar-2017
   Bar Date
   Claim Face Value




DONALD FULTON                                     Clm No 179328    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649


   Date Filed            10-Mar-2017
   Bar Date
   Claim Face Value




KAREN ERICKSON, TRUSTEE FOR THE HEIRS             Clm No 179329    Filed In Cases: 607
OF RONALD L. ERICKSON, DECEASED                   Class                Claim Detail Amount         Final Allowed Amount
C/O SHERMOENJAKSA LAW, PLLC
                                                  UNS                              Unknown
ATTN: MICHAEL ANTHONY JASKA
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INTERNATIONAL FALLS, MN 56649

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   Claim Face Value




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  Claims Details                                                                                         3048 of 3075

PETER DION                                        Clm No 179330    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649



   Date Filed            10-Mar-2017
   Bar Date
   Claim Face Value




JOSEPH DION                                       Clm No 179331    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649


   Date Filed            10-Mar-2017
   Bar Date
   Claim Face Value




RODNEY DEHART                                     Clm No 179332    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
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  Claims Details                                                                                         3049 of 3075

JOHN CURRIER                                      Clm No 179333    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649



   Date Filed            10-Mar-2017
   Bar Date
   Claim Face Value




DONALD CROSBY                                     Clm No 179334    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
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   Claim Face Value




CLIFFORD CARLSON                                  Clm No 179335    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
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ALLAN BOQUIST                                     Clm No 179336    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
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   Date Filed            10-Mar-2017
   Bar Date
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FREDERICK BOECKERS                                Clm No 179337    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
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   Claim Face Value




BYRON BLAKE                                       Clm No 179338    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
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  Claims Details                                                                                         3051 of 3075

WILLIAM BLAIS                                     Clm No 179339    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649


   Date Filed            10-Mar-2017
   Bar Date
   Claim Face Value




CHARLES BERGSTEDT                                 Clm No 179340    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649



   Date Filed            10-Mar-2017
   Bar Date
   Claim Face Value




DONALD FRANK BELL                                 Clm No 179341    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
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  Claims Details                                                                                         3052 of 3075

LYNN BELANGER                                     Clm No 179342    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649


   Date Filed            10-Mar-2017
   Bar Date
   Claim Face Value




RAYMOND BANNERT                                   Clm No 179343    Filed In Cases: 607
C/O SHERMOENJAKSA LAW, PLLC                       Class                Claim Detail Amount         Final Allowed Amount
ATTN: MICHAEL ANTHONY JAKSA
                                                  UNS                              Unknown
345 6TH AVE. - PO BOX 1072
INTERNATIONAL FALLS, MN 56649



   Date Filed            10-Mar-2017
   Bar Date
   Claim Face Value




RONALD DEAN DURBIN                                Clm No 179344    Filed In Cases: 607
2443 PERCH DR.                                    Class                Claim Detail Amount         Final Allowed Amount
WILLITS, CA 95490
                                                  UNS                          $20,000.00

                                                                               $20,000.00


   Date Filed            10-Mar-2017
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   Claim Face Value          $20,000.00




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  Claims Details                                                                                         3053 of 3075

EDWARD F. RAINEY/FRANK EDWARD RAINEY              Clm No 179345    Filed In Cases: 607
C/O RAYBURN CORRECTIONAL CENTER                   Class                Claim Detail Amount         Final Allowed Amount
27268 HWY 21
                                                  UNS                              Unknown
ANGIE, LA 70426




   Date Filed            10-Mar-2017
   Bar Date
   Claim Face Value




MAJOREE BANKS, JR.                                Clm No 179346    Filed In Cases: 607
C/O TAMIKO DESHOND DAVIDSON                       Class                Claim Detail Amount         Final Allowed Amount
801 TWIN BUTTES DRIVE
                                                  UNS                              Unknown
PROSPER, TX 75078




   Date Filed            14-Mar-2017
   Bar Date
   Claim Face Value




FRANCIS E. NEUZIL SR. NOW DECEASED                Clm No 179347    Filed In Cases: 607
C/O RUTH NEUZIL                                   Class                Claim Detail Amount         Final Allowed Amount
1493 TURKEY CREEK DR. NE
                                                  UNS                         $144,000.00
PALM BAY, FL 32905
                                                                              $144,000.00


   Date Filed             9-Mar-2017
   Bar Date
   Claim Face Value      $144,000.00




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  Claims Details                                                                                         3054 of 3075

DEBORAH LYNN CANNON AS PERSONAL                   Clm No 179348    Filed In Cases: 607
REPRESENTATIVE
OF THE ESTATE OF DAVID E. CANNON (INJURED         Class                Claim Detail Amount         Final Allowed Amount
PARTY)
C/O RICHARDSON, PATRICK, WESTBROOK &              UNS                              Unknown
BRICKMAN
ATTN: J. DAVID BUTLER
1730 JACKSON STREET
BARNWELL, SC 29812

   Date Filed            17-Mar-2017
   Bar Date
   Claim Face Value



JOHN PATRICK TUCKER                               Clm No 179349    Filed In Cases: 607
2410 LOGAN ST.                                    Class                Claim Detail Amount         Final Allowed Amount
HARRISBURG, PA 17110
                                                  UNS                         $500,000.00

                                                                              $500,000.00


   Date Filed            20-Mar-2017
   Bar Date
   Claim Face Value      $500,000.00




DEBRA JOHNSON                                     Clm No 179350    Filed In Cases: 607
C/O PENN RAKAUSKI                                 Class                Claim Detail Amount         Final Allowed Amount
ATTN: JILL A. RAKAUSKI
                                                  UNS                              Unknown
927 MAIN STREET
RACINE, WI 53403


   Date Filed            20-Mar-2017
   Bar Date
   Claim Face Value




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 Claims Details                                                                                         3055 of 3075

RICK L. MARSHALL                                 Clm No 179351    Filed In Cases: 607
990 LITTERAL FK RD.                              Class                Claim Detail Amount         Final Allowed Amount
SALYERSVILLE, KY 41465
                                                 UNS                       $1,000,000.00

                                                                           $1,000,000.00


  Date Filed              20-Mar-2017
  Bar Date
  Claim Face Value       $1,000,000.00




WALTER JAMES MCCAINE                             Clm No 179352    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712


  Date Filed              21-Mar-2017
  Bar Date
  Claim Face Value




ROBERT W. BRASHIER                               Clm No 179353    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712


  Date Filed              21-Mar-2017
  Bar Date
  Claim Face Value




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JOHN ROBERT SCOTT                                Clm No 179354    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712


  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




HENRY COLUMBUS CHAVERS, SR.                      Clm No 179355    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712



  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




MARVIN EDWARD COTTON                             Clm No 179356    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712


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GUY TOUCHSTONE RYAN                              Clm No 179357    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712


  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




JERRY MIKE HOUSTON                               Clm No 179358    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712



  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




DONALD RAYBURN LEWIS                             Clm No 179359    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
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WACO, TX 76712


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BENNIE LEE FEARS, SR.                            Clm No 179360    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712


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  Claim Face Value




JOHN MICHAEL WOODWARD                            Clm No 179361    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712



  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




HUELON GOODEN                                    Clm No 179362    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
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FOY TINSLEY                                      Clm No 179363    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712



  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




WARREN MANFORD JOHNSON                           Clm No 179364    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712


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  Bar Date
  Claim Face Value




BOBBY EDWARD HILLERY, SR.                        Clm No 179365    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
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THOMAS WAYNE MCAFEE                              Clm No 179366    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712



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JAMES THOMAS MANN                                Clm No 179367    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712


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  Bar Date
  Claim Face Value




NORMAN LESLIE ARCHER, SR.                        Clm No 179368    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
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AVERY EARL ALLEN                                 Clm No 179369    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712



  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




JAMES DAVIS                                      Clm No 179370    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712


  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




JOHNNY MACK JENNINGS                             Clm No 179371    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
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ROBERT GERALD JERRY REED                         Clm No 179372    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712


  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




HAROLD KENNETH JOINER                            Clm No 179373    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712



  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




WILLIAM LEE TURNER                               Clm No 179374    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
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  Claim Face Value




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CHARLES LUTHER EUBANKS                           Clm No 179375    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712


  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




HENRY EUGENE WRIGHT                              Clm No 179376    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712



  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




SHELTON STANLEY PEARSON                          Clm No 179377    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
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MORRIS LOWELL MOORE                              Clm No 179378    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712


  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




EZEKIEL HORTON, JR.                              Clm No 179379    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712



  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




RONALD ANTHONY PENTON, SR.                       Clm No 179380    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
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WILLIAM DANNY COLE                               Clm No 179381    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712



  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




WILLIE GREEN BROWN                               Clm No 179382    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712


  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




WOODROW BILLY SAUCIER                            Clm No 179383    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
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FERDINAND JOSEPH JOHNSON                         Clm No 179384    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712



  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




JAMES PAYNE                                      Clm No 179385    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
PO DRAWER 21387
WACO, TX 76712


  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




DANIEL ABEL WILLIAMS, JR.                        Clm No 179386    Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                Claim Detail Amount         Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                              Unknown
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  Date Filed             21-Mar-2017
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  Claim Face Value




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MARGARET WESTMORELAND                            Clm No 179387       Filed In Cases: 607
C/O HARRISON, DAVIS, STEAKLEY, MORRISON,         Class                  Claim Detail Amount           Final Allowed Amount
P.C.
ATTN: SHEILA HODE                                UNS                               Unknown
PO DRAWER 21387
WACO, TX 76712



  Date Filed             21-Mar-2017
  Bar Date
  Claim Face Value




LORY K. BOONE                                    Clm No 179388       Filed In Cases: 607
10498 BROOKVIEW DR.                              Class                  Claim Detail Amount           Final Allowed Amount
ZEELAND, MI 49464
                                                 UNS                               Unknown
                                                 PRI                               Unknown                              $0.00

                                                                                 $20,515.00                             $0.00

  Date Filed             27-Mar-2017               Objection Type                          Objection Status
  Bar Date
                                                   Different class                         Objection Granted

  Claim Face Value        $20,515.00




DAVID K. WELCH                                   Clm No 179389       Filed In Cases: 607
1719 TROWMAN WAY                                 Class                  Claim Detail Amount           Final Allowed Amount
EMPORIA, KS 66801
                                                 UNS                               Unknown




  Date Filed             24-Mar-2017
  Bar Date
  Claim Face Value




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LAKESHA THAMES                                   Clm No 179390    Filed In Cases: 607
110 BROWN ST.                                    Class                Claim Detail Amount         Final Allowed Amount
LOUISVILLE, MS 39339
                                                 UNS                              Unknown




  Date Filed                3-Apr-2017
  Bar Date
  Claim Face Value




CENTURY INDEMNITY CORPORATION                    Clm No 179391    Filed In Cases: 607
C/O CROWELL & MORING LLP                         Class                Claim Detail Amount         Final Allowed Amount
ATTN: MARK D. PELVIN, ESQ
                                                 UNS                      $19,000,000.00
THREE EMBARCADERO CENTER, 26TH FLOOR
SAN FRANCISCO, CA 94111                                                   $19,000,000.00


  Date Filed              24-Mar-2017
  Bar Date
  Claim Face Value      $19,000,000.00




ELIGER TUGLER JR.                                Clm No 179392    Filed In Cases: 607
202 LEE ST. W. MONROE                            Class                Claim Detail Amount         Final Allowed Amount
WEST MONROE, LA 71291
                                                 UNS                     $199,997,144.00
                                                 PRI                            $2,856.00

                                                                         $200,000,000.00

  Date Filed               28-Jul-2017
  Bar Date
  Claim Face Value     $200,000,000.00




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  Claims Details                                                                                          3069 of 3075

KENNETH JOSEPH IRONS                               Clm No 179393    Filed In Cases: 607
BOYD UNIT 200 SPUR 113                             Class                Claim Detail Amount         Final Allowed Amount
TEAGUE, TX 75860
                                                   PRI                         $100,000.00

                                                                               $100,000.00


   Date Filed                28-Jul-2017
   Bar Date
   Claim Face Value         $100,000.00




ELIGER TUGLER JR.                                  Clm No 179394    Filed In Cases: 607
202 LEE ST. WEST MONROE                            Class                Claim Detail Amount         Final Allowed Amount
WEST MONROE, LA 71291
                                                   UNS                       $2,000,000.00
                                                   PRI                              Unknown

                                                                             $2,000,000.00

   Date Filed               16-Aug-2017
   Bar Date
   Claim Face Value        $2,000,000.00




Preston R. Conaway                                 Clm No 179395    Filed In Cases: 607
416 E. Fullers Cross Rd.                           Class                Claim Detail Amount         Final Allowed Amount
Winter Garden, FL 34787
                                                   UNS                              Unknown




   Date Filed               14-Aug-2017
   Bar Date
   Claim Face Value




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LARRY W. CLAUSING                                 Clm No 179396    Filed In Cases: 607
6718 S. LEWIS #706                                Class                Claim Detail Amount         Final Allowed Amount
TULSA, OK 74136-4038
                                                  UNS                              Unknown




   Date Filed            25-Aug-2017
   Bar Date
   Claim Face Value




LYLE JOSEPH SUMMERFIELD                           Clm No 179397    Filed In Cases: 607
560 LUTZKE ROAD                                   Class                Claim Detail Amount         Final Allowed Amount
SAGINAW, MI 48609
                                                  UNS                          $30,000.00

                                                                               $30,000.00


   Date Filed            22-Aug-2017
   Bar Date
   Claim Face Value       $30,000.00




RICHARD MAPP                                      Clm No 179398    Filed In Cases: 607
PO BOX 447                                        Class                Claim Detail Amount         Final Allowed Amount
RAVIA, OK 73455
                                                  UNS                              Unknown




   Date Filed            28-Aug-2017
   Bar Date
   Claim Face Value




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Roosevelt Phillips                                 Clm No 179399    Filed In Cases: 607
515 E 5th                                          Class                Claim Detail Amount         Final Allowed Amount
McGregor, TX 76657
                                                   UNS                              Unknown




   Date Filed                31-Aug-2017
   Bar Date
   Claim Face Value




RALPH DAVIS                                        Clm No 179400    Filed In Cases: 607
816 HYDE PARK RD.                                  Class                Claim Detail Amount         Final Allowed Amount
ESSEX, MD 21221
                                                   UNS                              Unknown




   Date Filed                15-Sep-2017
   Bar Date
   Claim Face Value




Mark K. Evans                                      Clm No 179401    Filed In Cases: 607
111 North Road, PO Box 800                         Class                Claim Detail Amount         Final Allowed Amount
Mauston, WI 53948-0800
                                                   UNS                     $200,000,000.00

                                                                           $200,000,000.00


   Date Filed                 1-Sep-2017
   Bar Date
   Claim Face Value      $200,000,000.00




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Joseph Teel, Jr.                                    Clm No 179402    Filed In Cases: 607
630 West State St.                                  Class                Claim Detail Amount         Final Allowed Amount
Trenton, ND 08618
                                                    UNS                              Unknown




   Date Filed                 6-Sep-2017
   Bar Date
   Claim Face Value




Marshall Saulsberry                                 Clm No 179403    Filed In Cases: 607
103 Grove Dr B1                                     Class                Claim Detail Amount         Final Allowed Amount
Jackson, AL 36545
                                                    UNS                       $1,000,000.00

                                                                              $1,000,000.00


   Date Filed                11-Sep-2017
   Bar Date
   Claim Face Value         $1,000,000.00




Dwight T. Kent                                      Clm No 179404    Filed In Cases: 607
Attn: Michael Barr                                  Class                Claim Detail Amount         Final Allowed Amount
461 Hines Blvd, Unit 218
                                                    UNS                      $10,000,000.00
Chilicothe, OH 45601
                                                                             $10,000,000.00


   Date Filed                11-Sep-2017
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   Claim Face Value        $10,000,000.00




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  Claims Details                                                                                         3073 of 3075

Hector C. Trevino                                 Clm No 179405    Filed In Cases: 607
20155 Priest Road                                 Class                Claim Detail Amount         Final Allowed Amount
Elmendorf, TX 78112
                                                  UNS                         $100,000.00
                                                  PRI                              Unknown

                                                                              $100,000.00

   Date Filed            18-Sep-2017
   Bar Date
   Claim Face Value      $100,000.00




KATHERINE A. BURTON                               Clm No 179406    Filed In Cases: 607
6707 LACKEY ROAD                                  Class                Claim Detail Amount         Final Allowed Amount
VALE, NC 28168
                                                  UNS                              Unknown




   Date Filed             2-Oct-2017
   Bar Date
   Claim Face Value




DEBORAH MCCLENDON                                 Clm No 179407    Filed In Cases: 607
1907 3RD AVE.                                     Class                Claim Detail Amount         Final Allowed Amount
PRICHARD, AL 36610
                                                  UNS                              Unknown




   Date Filed             5-Oct-2017
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KEVIN E. EVANS                                    Clm No 179408    Filed In Cases: 607
1503 W. PHILLIPS ST.                              Class                Claim Detail Amount         Final Allowed Amount
ALVIN, TX 77511
                                                  UNS                              Unknown




   Date Filed             20-Oct-2017
   Bar Date
   Claim Face Value




RICHARD A. KUNSMAN                                Clm No 179409    Filed In Cases: 607
ATTN: MICHAEL L. BARR                             Class                Claim Detail Amount         Final Allowed Amount
461 HINES BLVD, #218
                                                  UNS                      $10,000,000.00
CHILLICOTHE, OH 45601
                                                                           $10,000,000.00


   Date Filed             10-Oct-2017
   Bar Date
   Claim Face Value     $10,000,000.00




STEVEN VARNER                                     Clm No 179410    Filed In Cases: 607
1931 ALHAMBRA ST.                                 Class                Claim Detail Amount         Final Allowed Amount
NAVARRE, FL 32566
                                                  UNS                          $50,000.00

                                                                               $50,000.00


   Date Filed             23-Oct-2017
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ERNEST L. IMSAND                                   Clm No 179411    Filed In Cases: 607
C/O DAVID S. CAIN, JR. ESQ.                        Class                Claim Detail Amount         Final Allowed Amount
P.O. BOX 66705
                                                   UNS                          $11,000.00
MOBILE, AL 36660
                                                                                $11,000.00


   Date Filed             1-Dec-2017
   Bar Date
   Claim Face Value           $11,000.00




O.Z. JOHNSON                                       Clm No 179413    Filed In Cases: 607
7634 HOPE DRIVE                                    Class                Claim Detail Amount         Final Allowed Amount
FT. WAYNE, IN 46815
                                                   UNS                              Unknown




   Date Filed            22-Dec-2017
   Bar Date
   Claim Face Value




RANDELL WEATHERALL SR.                             Clm No 179414    Filed In Cases: 607
C/O LASUSA & DEB, PLLC                             Class                Claim Detail Amount         Final Allowed Amount
ATTN: GITANJALI DEB
                                                   UNS                              Unknown
6440 N. CENTRAL EXPY., SUITE 211
DALLAS, TX 75206


   Date Filed            26-Dec-2017
   Bar Date
   Claim Face Value




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